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100 BLACK MEN OF ORANGE COUNTY
5767 UPLANDER WAY #206
CULVER, CITY 90230
1000 FRIENDS OF FLORIDA
PO BOX 5948
TALLAHASSEE, FL 32314
1003 SAINT GEORGES AVENUE
ASSOCIATES LLC
JEFFREY DROGIN
27 W 67TH ST
NEW YORK, NY 10023-6258
101 TECHNOLOGYPROPERTIESCOM INC
101 FINANCIAL GROUP
143 TRIUNFO CANYON RD #227
WESTLAKE VILLAGE, CA 91361
104 SERVICE CORP
LEND USA
3901 AIRPORT FREEWAY #107
BEDFORD, TX 76021
111TH PRECINCT COMMUNITY COUNCL
45-06 215TH STREET
BAYSIDE, NY 11361

12:30 CLUB OF BAY RIDGE INC
1901 86TH ST
BROOKLYN, NY 11214
161ST STREET MERCHANTS ASSN
891 SHERIDAN AVE
BRONX, NY 10451

1-800-GIFT CERTIFICATE LLC
DBA INCENTONE
160 CHUBB AVE #203
LYNDHURST, NJ 07071

1ST AMERICAN CASH ADVANCE
10503 S WESTERN
CHICAGO, IL 60643
1ST CHOICE MRTGE LENDING GROUP
LENDXX SERVICES
669 MERCHANT ST
VACAVILLE, CA 95688
1ST EAGLE REALTY INC
200 N MARYLAND AVE #200
GLENDALE, CA 91206

1ST FEDERAL FUNDING, L.L.C.
1777 REISTERSTOWN RD. STE.
PIKESVILLE, MD 21117

1ST LIBERTY BANC
4343 HARLEM
NORRIDGE, IL 60706
1ST PREFERRED LENDERS INC
                                       Page 1
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15114 MORRISON ST
SHERMAN OAKS, CA 91403

1ST SAN FRANCISCO HOLDING INC
82 HILL ST
DALY CITY, CA 94014
1ST SERVICE SOLUTIONS
1701 W NORTHWEST HWY #100
GRAPEVINE, TX 76051
1ST WESTERN HOME LOANS INC
4125 BLACKHAWK PLAZA CIR #201
DANVILLE, CA 94506

1TRI COUNTY DENTAL SUPPLY INC
4260 N HALLMARK PKWY
SAN BERNARDINO, CA 92407
21ST CENTURY LENDING INC
405 MAIN ST
BEECH GROVE, IN 46107

23RD STREET MERCHANTS
777 23RD ST
RICHMOND, CA 94801
24 CARROTS
12882 VALLEY VIEW ST #9
GARDEN GROVE, CA 92845

264 GIRALDA LLC
DBA CARAMELO RESTAURANT
264 GIRALDA AVE
CORAL GABLES, FL 33134

29 PALMS ENTERPRISES INC
DBA SPOTLIGHT 29 CASINO
46-200 HARRISON
COACHELLA, CA 92236

3 X GOLD
DBA KURT THOMAS INVITATIONAL
2601 AVENUE OF THE STARS
FRISCO, TX 75034
300CASH.COM INC
40 E MAIN ST #222
NEWARK, DE 19711-4639
3805 SIMON PROPERTY GROUP
DBA ROLLING OAKS MALL
6909 N LOOP 1604 EAST
SAN ANTONIO, TX 78247
3MD INVESTMENTS INC
DBA DENALI ADVANCED INTEGRATION
17735 NE 65TH ST #130
REDMOND, WA 98052
3SI SECURITY SYSTEMS
PO BOX 1714
BUFFALO, NY 14240-1714
                                       Page 2
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4 ALL PROMOS
40 MAIN ST #21
CENTERBROOK, CT 06409
4322 WILSHIRE LLC
ATTN JOHANNA ESLIT
4201 WILSHIRE BLVD #350
LOS ANGELES, CA 90010

4IMPRINT INC
PO BOX 1641
MILWAUKEE, WI 53201-1641
4S REGENCY PARTNERS LLC
DBA 4S COMMONS PARTNERS LLC
PO BOX 31001-1175
PASADENA, CA 91110-1175
4S REGENCY PARTNERS LLC
REGENCY CENTERS CORP
915 WILSHIRE BLVD #2200
LOS ANGELES, CA 90017
826 SEATTLE
8414 GREENWOOD AVE N
SEATTLE, WA 98103

8TH AND PINE JOINT VENTURE
THE PARAMOUNT HOTEL
724 PINE ST
SEATTLE, WA 98101

911 ETC INC
BANK OF AMERICA BUILDING
1604 HEWITT AVE #401
EVERETT, WA 98201-3536

A & D FINANCE
2999 NE 191ST #409
AVENTURA, FL 33180

A ADRIAN RODRIQUEZ
1202 LAKEVIEW BLVD E #4
SEATTLE, WA 98102
A C S INC
PO BOX 201322
DALLAS, TX 75320-1322
A COMMUNITY OF FRIENDS
3345 WILSHIRE BLVD #1000
LOS ANGELES, CA 90010

A CONTEMPORARY THEATRE
700 UNION ST
SEATTLE, WA 98101-2330

A CORPORTION FOR ART & COMMERCE
755 WASHINGTON ST
NEW YORK, NY 10014
A D BANKER & COMPANY
                                       Page 3
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A D BANKER & COMPANY TRAINING CENTERS
8270 WOODLAND CENTER BLVD
TAMPA, FL 33614
A D BANKER & COMPANY LLC
5000 COLLEGE BLVD #120
OVERLAND PARK, KS 66211-1629
A DASH OF SALT, L.L.C.
[Address to Be Provided]
A FRANK HICKS
C/O RILE & HICKS
FORENSIC DOCUMENT EXAMINER
100 OCEANGATE #670
LONG BEACH, CA 90802-4312

A FRAZIER INC
DBA TRINITY NIGHTCLUB
111 YESLER WAY
SEATTLE, WA 98104

A G DAVI LTD
484 WASHINGTON ST #D
MONTEREY, CA 93940

A HARRINGTON & ASSOCIATES
HARRINGTON & ASSOCIATES
BLUE DRAGON COMMUNICATIONS
1500 NE IRVING #410
PORTLAND, OR 97232
A M BEST COMPANY INC
AMBEST ROAD
OLDWICK, NJ 08858-0700

A M BEST COMPANY INC
PO BOX 828806
PHILADELPHIA, PA 19182-8806
A NEW HORIZON COUNSELING SVC
A NEW HORIZON
2950 W CYPRESS CREEK RD #302
FORT LAUDERDALE, FL 33309
A PLANTSCAPE BY DESIGN
78 PARTRICK RD
WESTPORT, CT 06880

A TERRACON COMPANY DBA
ZIPPER ZEMAN ASSOCIATES
PO BOX 931277
KANSAS CITY, MO 64193-1277

A TO Z BALLOON SUPPLIES
10121 EVERGREEN WAY #158
EVERETT, WA 98204

A WORLD FIT FOR KIDS
678 S LA FAYETTE PARK PLACE
LOS ANGELES, CA 90057
A-1 PARTY
                                      Page 4
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26893 BOUQUET CANYON RD #C405
SANTA CLARITA, CA 91350

A2D LP
9220 SUNSET BLVD #315
LOS ANGELES, CA 90069
AA LABEL INC
DBA ALL AMERICAN LABEL
6958 SIERRA CT
DUBLIN, CA 94568
AAA COOK CNTY CONSOLIDATION INC
7366 N LINCOLN #101
LINCOLNWOOD, IL 60712

AAA FAIR CREDIT FOUNDATION
230 WEST 200 SOUTH #3104
SALT LAKE CITY, UT 84101

AAA MAILING SERVICE INC
3540 STONE WAY N
SEATTLE, WA 98103-8924
AAFRAM Y SELLERS PLLC
PO BOX 1062
JACKSON, MS 39215-1062

AAMA COMMUNITY
DEVELOPMENT CORPORATION
4600 GULF FRWY #170-M
HOUSTON, TX 77023

AARDVARK ENTERTAINMENT NETWORK
2230 S COLE RD #140
BOISE, ID 83709
AARON GARDNER
24551 RAYMOND WAY #190
LAKE FOREST, CA 92630

AARON KENDALL
1716-1720 NEW YORK AVE #406
UNION CITY, NY 07087
ABACUS MORTGAGE INC
130 ANDOVER PARK E #205
TUKWILA, WA 98188

ABC LEGAL SERVICES INC
633 YESLER WAY
SEATTLE, WA 98104
ABC MUSIC VIDEO AND PHOTOGRAPHY
PO BOX 36352
DENVER, CO 80236

ABC OF THE GREAT NORTHWEST
AMERICAN SOCIETY OF PENSION
C/O JEFF ROBERTS
600 UNIVERSITY ST #2812
SEATTLE, WA 98101

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ABERGEL & ASSOCIATES INC
26560 AGOURA RD #203
CALABASAS, CA 91302
ABM BUSINESS MACHINES INC
2220 EASTRIDGE AVE #P
RIVERSIDE, CA 92507
ABRAHAM KINSTLINGER
9 ATLANTIC ST
HACKENSACK, NJ 07601
ABSOLUTDATA TECHNOLOGIES INC
1320 HARBOR BAY PKWY #175
ALAMEDA, CA 94502

ABSOLUTE AIR TECHNOLOGIES LLC
3641 E LAVENDER LN
PHOENIX, AZ 85044-4537

ABSOLUTE DATA DESTRUCTION
PO BOX 4387
MANCHESTER, NH 03108
ABYSSINIAN DEVELOPMENT CORP
4 W 125TH ST
NEW YORK, NY 10027

AC APPRAISALS INC
12765 SW 34 PL
DAVIE, FL 33330
ACA INTERNATIONAL
ACA INTERNATIONAL ENTERPRISES
MEMBERSHIP DEPARTMENT
PO BOX 390106
MINNEAPOLIS, MN 55439-0106

ACA INTERNATIONAL ENTERPRISES
4040 W 70TH ST
MINNEAPOLIS, MN 55435

ACADEMY FOR URBAN
SCHOOL LEADERSHIP
3400 N AUSTIN AVE
CHICAGO, IL 60634

ACADEMY OF BUSINESS LEADERSHIP
2244 WALNUT GROVE AVE
ROOM 247 QUAD 2A
ROSEMEAD, CA 91770
ACADEMY OF LANGUAGES
216 1ST AVE S #330
SEATTLE, WA 98104-2524
ACADEMY PUBLISHING INC
210 S SEMORAN BLVD
ORLANDO, FL 32807
ACADIA ADVISORS
SUSAN R BALOGH
PO BOX 625
                                      Page 6
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ASHBURNHAM, MA 01430
ACCENTURE LLP
[Address to Be Provided]
ACCESS EMORTGAGE INC
24 CATHEDRAL PLACE #612
ST AUGUSTINE, FL 32084

ACCESS ONE
6842 EAGLE WAY
CHICAGO, IL 60678-1068
ACCESS ONE
PO BOX 5997
CAROL STREAM, IL 60197-5997

ACCION CHICAGO INC
1618 W 18TH ST #200
CHICAGO, IL 60608
ACCION NEW YORK INC
115 E 23RD ST 7TH FL
NEW YORK, NY 10010

ACCION SAN DIEGO
1250 6TH AVE #500
SAN DIEGO, CA 92101-4313

ACCION USA INC
111 SW 5TH AVE
MIAMI, FL 33130

ACCO ENGINEERED SYSTEMS
6265 SAN FERNANDO RD
GLENDALE, CA 91201-2214
ACCO ENGINEERED SYSTEMS INC
DEPT 6650 75740
LOS ANGELES, CA 90084-6650

ACCOUNT COLLECTION BUREAU INC
PO BOX 755
SPRINGFIELD, OR 97477
ACCREDITED STANDARDS COMMITTEE
X9 INC
PO BOX 890330
CHARLOTTE, NC 28289-0330
ACCU AIR GASES & EQUIPMENT
1885 N VENTURA AVE
VENTURA, CA 93001

ACCUITY
PO BOX 71690
CHICAGO, IL 60694

ACCURATE APPRAISAL SERVICE
18 SYCAMORE AVE #203
HO-HO-KUS, NJ 07423
ACCURATE BACKGROUND INC
                                      Page 7
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EDISSON SUAREZ
6 ORCHARD
LAKE FOREST, CA 92630
ACCURATE BACKGROUND INC
6 ORCHARD #200
LAKE FOREST, CA 92630
ACCURATE DOCUMENT DESTRUCTION
PO BOX 91957
ELK GROVE VILLAGE, IL 60009-1957
ACE AMERICAN INSURANCE CO.
436 WALNUT STREET
PHILADELPHIA, PA 19106

ACE PARKING MANAGEMENT
1365 6TH AVE
SAN DIEGO, CA 92101

ACE PARKING MANAGEMENT INC
DBA ACE PARKING HILTON HOTEL
750 KEARNY ST
SAN FRANCISCO, CA 94108

ACE PARKING MANAGEMENT INC
MT DIABLO PLAZA
2185 N CALIFORNIA BLVD
WALNUT CREEK, CA 94596

ACE PARKING MANAGEMENT INC
1700 CALIFORNIA STREET LLC
ONE MARKET PLAZA
SPEAR TOWER BL1 #100
SAN FRANCISCO, CA 94105

ACE PARKING MANAGEMENT INC
4352 LA JOLLA VILLAGE DR
SAN DIEGO, CA 92122
ACE PUBLISHING INC
PO BOX 16630
PHOENIX, AZ 75011-6630

ACF PARTNERS DBA
AMERICORP FUNDING
2450 COLORADO AVE #4000
SANTA MONICA, CA 90404

ACHIEVE INC
1775 EYE ST NW #410
WASHINGTON, DC 20006
ACHIEVEABILITY
21 S 61ST ST
PHILADELPHIA, PA 19139-3018

ACI BILLING SERVICES INC
PO BOX 600670
JACKSONVILLE, FL 32260-0670

ACI FKA INTRANET, INC.
[Address to Be Provided]
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ACI GIFT CARDS INC
DBA AMAZON COM CORP GIFT CARD
2646 RAINIER AVE S
SEATTLE, WA 98144

ACI WORLDWIDE INC
13594 COLLECTIONS CENTER DR
CHICAGO, IL 60693

ACL SERVICES LTD
BOX 200286
PITTSBURGH, PA 15251-0286
ACLC INC
315 N SAN JOAQUIN ST
STOCKTON, CA 95202
ACM CONSULTANTS INC
2073 WELLS ST #100
WAILUKU, HI 96793

ACME PRESS INC DBA
CALIFORNIA LITHOGRAPHERS
PO BOX 5698
CONCORD, CA 94524
ACONSEC
AVE 9 DE OCTUBRE 100 YMALECON
EDIFICIO LA PREVISORA PISO 24
OFICINA 2401-02 GUAYAQUIL
GUAYAS,   ECUADOR

ACORN HOUSING CORP
OF ILLINOIS INC
209 W JACKSON #301
CHICAGO, IL 60606

ACORN HOUSING CORPORATION
1380 W FLAGLER ST #C
MIAMI, FL 33135

ACORN INSTITUTE INC
175 MARKET ST
PATERSON, NJ 07503
ACORN INSTITUTE INC
739 8TH ST SE
WASHINGTON, DC 20003
ACOTT COLORADO INC.
[Address to Be Provided]
ACRES HOMES COMMUNITY
DEVELOPMENT CORPORATION
6719 W MONTGOMERY RD #2223
HOUSTON, TX 77091

ACRES OF LOVE
PO BOX 7656
LAGUNA NIGUEL, CA 92607
ACRYLIC IDEAS
                                       Page 9
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ROBIN C HOLT
116 HOLBROOK RD
SAN ANTONIO, TX 78218
ACS BUSINESS
PROCESS SOLUTIONS INC
PO BOX 201322
DALLAS, TX 75320-0936

ACS COMMERCIAL SOLUTIONS INC
[Address to Be Provided]
ACS IMAGE SOLUTIONS INC
PO BOX 200061
DALLAS, TX 75320-0061

ACTIMIZE INC
1250 BROADWAY 28TH FL
NEW YORK, NY 10001

ACTION COURIER & LOGISTICS LLC
PO BOX 219256
HOUSTON, TX 77218-9256
ACTION ECONOMICS LLC
5665 PENNSYLVANIA PL
BOULDER, CO 80303

ACTION ENTERTAINMENT
14033 SE 185 PL
RENTON, WA 98058
ACTIVEGROUP VENTURES INC
PO BOX 798073
ST LOUIS, MO 63179-8000

ACTUARIAL CONSULTANTS INC
2377 CRENSHAW BLVD #350
TORRANCE, CA 90501
ACTUATE CORPORATION
DEPT 05875
PO BOX 39000
SAN FRANCISCO, CA 94139-5875
ACXIOM CORP
ACXIOM
4057 COLLECTIONS CTR DR
CHICAGO, IL 60693
AD VANTAGE MARKETING INC
455 TESCONI CIRCLE
SANTA ROSA, CA 95401

ADALBERTO J TEIXEIRA
AIR UNLIMITED
206 SALINAS RD
WATSONVILLE, CA 95076
ADAM COHEN
AND ALEXANDRIA ANGELIDES COHEN
16405 BRIDLEWOOD CIRCLE
DELRAY BEACH, FL 33445
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ADAM GOODMAN 13 TRUSTEE
260 PEACHTREE ST #200
ATLANTA, GA 30303
ADAMS AVENUE BUSINESS ASSN
4649 HAWLEY BLVD
SAN DIEGO, CA 92116

ADDISON MIDDAY ROTARY
PO BOX 1385
ADDISON, TX 75001
ADDRESS N MAIL
404 E NEW HAVEN AVE
MELBOURNE, FL 32901

ADECCO USA INC
ADECCO TECHNICAL
175 BROAD HOLLOW RD
MELVILLE, NY 11747

ADELE BRODY
[Address to Be Provided]

ADELHARDT CONSTRUCTION CORP
241 W 30TH ST 4TH FLOOR
NEW YORK, NY 10001

ADELHEID LOPSON
414 SE 68TH AVE
PORTLAND, OR 97215

ADELPHIA BUSINESS SOLUTIONS INC
DBA TELCOVE JCVL
PO BOX 931843
ATLANTA, GA 31193-1843

ADELSON LORIA & WEISMAN P C
20 PARK PLAZA
BOSTON, MA 02116

ADELSON SOLUTIONS INC
94 WESTERN DR
HOWELL, NJ 07731
ADFITECH INC
3001 TECHNOLOGY DR
EDMOND, OK 73013-3734
ADIMPACT CORPORATE SIGNAGE
19772 MACARTHUR BLVD #110
IRVINE, CA 92612

ADLESON HESS & KELLY
577 SALMAR AVE 2ND FL
CAMPBELL, CA 95008

ADMINISTRADOR ASSUME
DIRECTOR SERVICIOS
BOX 71442
SAN JUAN, PR 00936-8522 PUERTO RICO

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ADNAN AHMED
24707 MAGIC MOUNTAIN PKWY
#2523
VALENCIA, CA 91355
ADOBE SYSTEMS INC
75 REMITTANCE DR #1025
CHICAGO, IL 60675-1025

ADOPT A FAMILY OF THE
PALM BEACHES INC
1712 SECOND AVE N
LAKE WORTH, FL 33460
ADORNO & YOSS
2525 PONCE DE LEON BLVD #400
MIAMI, FL 33134
ADP INC
AUTOMATIC DATA PROCESSING INC
PO BOX 78415
PHOENIX, AZ 85062-8415

ADP INC
PO BOX 9001006
LOUISVILLE, KY 40290-1006
ADR ENVIRONMENTAL GROUP INC
1760 CREEKSIDE OAKS DR #120
SACRAMENTO, CA 95833

ADR SERVICES INC
1900 AVE OF THE STARS #250
LOS ANGELES, CA 90067

ADRIANNE WALLACE
615 N BROADWAY
FRESNO, CA 93728

ADRIENNE SWANSON
DBA ADRIENNE BOUGHTER
10350 HERITAGE PARK DR #105
SANTA FE SPRINGS, CA 90670

ADS R US INC
4600 SW 9TH ST
DES MOINES, IA 50315

ADSOFT DIRECT INC
740 TUNBRIDGE RD
DANVILLE, CA 94526
ADT SECURITY SERVICES
ADT SECURITY SERVICES 310
PO BOX 371994
PITTSBURGH, PA 15250-7994

ADT SECURITY SERVICES 310
CONSOLIDATED BILLING
10405 CROSSPOINT
INDIANAPOLIS, IN 46256-3323
ADT SECURITY SERVICES 310
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JOHN SICKAFOOSE
1 TOWN CTR. RD.
BOCA RATON, FL 33486-1002
ADTECH SOLUTIONS LLC
1880 MCFARLAND RD #100
ALPHARETTA, GA 30005
ADVANCED DEBT MGMT SOLUTIONS
PO BOX 1248
SYOSSET, NY 11791
ADVANCED HOME LOANS CORP
1000 N COLLIER BLVD #13A
MARCO ISLAND, FL 34145

ADVANCED MONEY SYSTEMS INC
PO BOX 315
RAMSEY, NJ 07446-0315

ADVANCED MORTGAGE SOLUTIONS INC
312 ALMA SCHOOL RD. #10
CHANDLER, AZ 85224
ADVANTAGE MAILING INC
1633 N LESLIE WAY
ORANGE, CA 92867

ADVANTAGE PROPERTY RESOURCE AND
INVESTMENT COMPANIES INC
DBA PALADIN NOTARY SERVICES
PO BOX 3845
SAN LEANDRO, CA 94578

ADVENT PRINT RESOURCES
12620-B INTERURBAN AVE S
TUKWILA, WA 98168

ADVERTISING SERVICES INC
325 WESTLAKE AVE N
SEATTLE, WA 98109-5219

AECC INC
11931 WICKCHESTER LN #402
HOUSTON, TX 77043
AEGIS GROUP INC
REAL ESTATE APPRAISAL &CONSULT
8140 N MOPAC EXPRESSWAY
BLDG 2 #100
AUSTIN, TX 78759
AERIS INC
PO BOX 1519
SANTA ROSA, CA 95402
AEROFLIGHT EXECUTIVE SVCS INC
8555 PERIMETER RD S
SEATTLE, WA 98108
AEROTEK INC
AEROTEK COMMERCIAL STAFFING
PO BOX 198531
                                       Page 13
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ATLANTA, GA 30384-8531
AEROTEK INC
AEROTEK PROFESSIONAL SERVICES
7301 PARKWAY DR
HANOVER, MD 21076
AEW SBCO SEATTLE LLC
PIKE STREET SUITES
1011 PIKE ST
SEATTLE, WA 98101
AFFILIATED COMPUTER SERVICES, INC.
[Address to Be Provided]

AFFILIATED CREDIT SERVICE
PO BOX 58
FORT MORGAN, CO 80701
AFFINION BENEFITS GROUP INC
PROGENY MARKETING INNOVATIONS
PO BOX 415000
NASHVILLE, TN 37241-5000
AFFINITY INSURANCE SVCS INC
COMMERCIAL SERVICES
PO BOX 19220A
NEWARK, NJ 07195-0584

AFFINITY MORTGAGE INC
420 1ST ST #107
TEMPE, AZ 85281

AFFINITY VIDEONET INC
SEVEN DESOTO ROAD
ESSEX, MA 01929
AFFORDABLE COMMUNITY
ENVIRONMENTS
PO BOX 61446
VANCOUVER, WA 98666

AFFORDABLE HOUSING
CLEARINGHOUSE
23861 EL TORO RD #401
LAKE FOREST, CA 92630

AFFORDABLE HOUSING
INVESTORS COUNCIL
PO BOX 986
IRMO, SC 29063
AFFORDABLE HOUSING ASSOCIATES
1250 ADDISON ST #G
BERKELEY, CA 94702
AFFORDABLE HOUSING COALITION
OF SOUTH CAROLINA
PO BOX 1623
COLUMBIA, SC 29202-1623

AFFORDABLE HOUSING CORPORATION
OF LAKE COUNTY
                                      Page 14
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3701 W GRAND AVE #H
GURNEE, IL 60031

AFFORDABLE HOUSING FINANCE
PO BOX 3566
NORTHBROOK, IL 60065-3566
AFFORDABLE WINDOW CLEANING
COMPANY INC
10200 STATE RD 84 #208
DAVIE, FL 33324
AFRICAN AMERICAN ALLIANCE
FOR HOME OWNERSHIP
PO BOX 11531
PORTLAND, OR 97211

AFRICAN AMERICAN HERITAGE
PARADE COMMITTEE
40 CLINTON ST 7TH FL
NEWARK, NJ 07102

AFTER SCHOOL MATTERS INC
66 E RANDOLPH ST
CHICAGO, IL 60601

AG PAULSON REPORTING SVC LLC
DBA PAULSON REPORTING SERVICES
PO BOX 79509
CITY OF INDUSTRY, CA 91716-9509

AGC ENVIRONMENTAL
154 ELECTRIC AVENUE
SEAL BEACH, CA 90740

AGENCY ESCROW INC
2007 PALO VERDE AVE
LONG BEACH, CA 90815

AGENCYWORKS
ACCT RECEIVABLE
PO BOX 19402A
NEWWARK, NJ 07195-0402

AGI FINANCIAL INC
789 SUTTER AVE
PALO ALTO, CA 94303

AGNEW TECH-II
741 LAKEFIELD RD #C
WESTLAKE VILLAGE, CA 91361
AGUERO PHOTO INC
9828 61ST AVE S
SEATTLE, WA 98118
AGUERO PHOTO INC
9828 61ST AVE S
SEATTLE, WA 98118
AHEARN APPRAISAL ASSOCIATES
2 CENTRAL STR #17
IPSWICH, MA 01938
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AHEARN ELECTRIC INC
PO BOX 4058
BREMERTON, WA 98312
AHMAD ALQASIEER
AND THE MICHAEL LAW FIRM
1648 UNION ST #201
SAN FRANCISCO, CA 94123

AHWATUKEE FOOTHILLS
CHAMBER OF COMMERCE
10235 S 51ST ST #185
PHOENIX, AZ 85044

AICPA
AMERICAN INSTITUTE OF CPAS
220 LEIGH FARM RD
DURHAM, NC 27707

AIDS HOUSING OF WASHINGTON
2014 E MADISON #200
SEATTLE, WA 98122
AIDS PROJECT LOS ANGELES
3550 WILSHIRE BLVD #300
LOS ANGELES, CA 90010

AIDS SERVICE CENTER OF
LOWER MANHATTAN INC
41 EAST 11 ST 5TH FLR
NEW YORK, NY 10003

AIDS WALK SAN FRANCISCO
SAN FRANCISCO AIDS FOUNDATION
121 2ND ST 4TH FL
SAN FRANCISCO, CA 94105

AIG
175 WATER ST
NEW YORK, NY 10038

AIG ANNUITY INSURANCE COMPANY
205 E 10TH AVE
AMARILLO, TX 79101
AIG SUNAMERICA
ANCHOR NATIONAL LIFE INSU CO
21650 OXNARD ST MS 4 2
WOODLAND HILLS, CA 91367
AIM HIGH FOR HIGH SCHOOL
PO BOX 170340
SAN FRANCISCO, CA 94117
AIO ACQUISITION INC
DBA PERSONNEL CONCEPTS
PO BOX 5750
CAROL STREAM, IL 60197-5750
AIO ACQUISITION INC DBA
PERSONNEL CONCEPTS
PO BOX 9003
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SAN DIMAS, CA 91773-9998
AIR COURIER DISPATCH
CALLER SERVICES #105100
TUCKER, GA 30085-5100

AIR EXPRESS
BENNETT TULLER JOHNSON &
DEERE TRUST
3165 MILLROCK DR #500
SALT LAKE CITY, UT 84121
AIR SOURCE INDUSTRIES
3976 CHERRY AVE
LONG BEACH, CA 90807

AIRGAS EAST
PO BOX 827049
PHILADELPHIA, PA 19182-7049

AIRGAS NCN
PO BOX 7425
PASADENA, CA 91109-7425
AIRGAS NOR PAC INC
PO BOX 7427
PASADENA, CA 91109-7427

AIRGAS WEST
PO BOX 7423
PASADENA, CA 91109-7423
AIRPORT AREA
CHAMBER OF COMMERCE
600 S CENTRAL AREA #100
PO BOX 82489
ATLANTA, GA 30354-2489

AIRZIP INC
469 EL CAMINO REAL #220
SANTA CLARA, CA 95050-4372

AK RET REPORTING INC
880 TOWER III
555 N CARANCAHUA ST
CORPUS CHRISTI, TX 78478

AKAM ASSOCIATES
8 W 38TH ST #7F
NEW YORK, NY 10018
AKERMAN SENTERFIT
350 E LAS OLAS BLVD #1600
FT LAUDERDALE, FL 33301
AKERMAN SENTERFITT
AKERMAN SENTERFIT
PO BOX 4906
ORLANDO, FL 32802-4906
AL BORDE
11205 IMPERIAL HWY
NORWALK, CA 90650
                                      Page 17
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ALABAMA DEPARTMENT OF REVENUE
CORPORATE TAX SECTION
PO BOX 327435
MONTGOMERY, AL 36132-7435

ALABAMA DEPARTMENT OF REVENUE
FLORIDA DEPARTMENT OF REVENUE
PO BOX 327439
MONTGOMERY, AL 36132-7439
ALABAMA DEPARTMENT OF REVENUE
PO BOX 327431
MONTGOMERY, AL 36132-7431

ALABAMA OFFICE OF ST TREASURER
UNCLAIMED PROPERTY DIVISION
RSA UNION BLDG
100 N UNION ST #636
MONTGOMERY, AL 36104
ALAMEDA COUNTY EMPLOYEES RETIREMENT ASSOCIATION
[Address to Be Provided]
ALAMEDA COUNTY RECORDER
DONALD R WHITE
1106 MADISON ST
OAKLAND, CA 94607

ALAMEDA COUNTY SHERRIFS OFFICE
DONALD R WHITE
ALARM USER PERMIT APPLICATION
15001 FOOTHILL BLVD
SAN LEANDRO, CA 94578

ALAMEDA COUNTY SUPERIOR COURT
1221 OAKLAND ST
OAKLAND, CA 94612

ALAMO AREA DISABILITY ALLIANCE
PO BOX 790222
SAN ANTONIO, TX 78279
ALAMO MORTGAGE CORPORATION
3075 CITRUS CIR #101
WALNUT CREEK, CA 94598

ALAMO WORKFORCE
DEVELOPMENT INC
115 E TRAVIS #220
SAN ANTONIO, TX 78205
ALAN DUNCAN
DBA FIRST CALL TECHNICAL SVCS
5100 9 SUNBEAM RD
JACKSONVILLE, FL 32257

ALAN G MONTGOMERY
DBA WOODALLEN PHOTOGRAPHY
724 TIRRELL ST
HOUSTON, TX 77019
ALAN H. FISHMAN
                                      Page 18
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[Address Information Redacted]
ALAN HENRY
[Address to Be Provided]
ALAN KING & COMPANY INC
MORTGAGE BANKING SYSTEMS & CONS
12647 ALXOSTA BLVD #480
SAN RAMON, CA 94583

ALAN STEVENS ASSOCIATES INC
4090 21ST AVE SW
CEDAR RAPIDS, IA 52404
ALAN WEST GROUP
1N010 PRAIRIE PATH LN
WINFIELD, IL 60190-2039
ALARM ADMINISTRATOR
GWINNETT COUNTY POLICE DEPT
PO BOX 602
LAWRENCEVILLE, GA 30046

ALASKA DEPARTMENT OF REVENUE
TREASURY DIVISION
UNCLAIMED PROPERTY SECTION
333 WILLOUGHBY AVE 11TH FL
JUNEAU, AK 99801

ALBANY AREA CHAMBER OF COMMERCE
435 1ST AVE W
PO BOX 548
ALBANY, OR 97321

ALBANY PARTNERSHIP FOR HOUSING
AND COMMUNITY DEVELOPMENT
127 BROADALBIN ST SW #1
PO BOX 1764
ALBANY, OR 97321-2200
ALBER TO SERRA
2095 SHOREVIEN CT
BAY POINT, CA 94565

ALBERT ALLEN ALTCHECH
ALLEN ALTCHECH PHOTOGRAPHY
1714 STONER AVE
LOS ANGELES, CA 90025

ALBERT J MOGAVERO TRUSTEE
THE DUN BUILDING
110 PEARL ST 6TH FL
BUFFALO, NY 14202

ALBERTO BARRIENTOS
720 RAYMOND ST
ELGIN, IL 60120

ALBION BUSINESS ASSOCIATION
PO BOX 454
ALBION, NY 14411
ALBION CENTRAL SCHOOL DISTRICT
                                       Page 19
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ALBION HIGH SCHOOL DRAMA CLUB
302 EAST AVE
ALBION, NY 14411
ALBION EMERGENCY SQUAD INC
PO BOX 517
ALBION, NY 14411
ALBION FIRE DEPARTMENT
108 N PLATT ST
ALBION, NY 14411
ALBU & ASSOCIATES INC
1460 MINNESOTA AVE
WINTER PARK, FL 32789

ALDER & ASSOCIATES
25 E WASHINGTON #500
CHICAGO, IL 60602

ALECIA HAYES
WITH ATTORNEYS COHEN & ZWERNER
211 N RECORD
DALLAS, TX 75202

ALESEK INSTITUE
5919 N LEVEE RD E
FIFE, WA 98424

ALEX FLORAL
33 N AMERICAN ST
STOCKTON, CA 95202

ALEX INFORMATION
A S PRATT & SONS
SHESHUNOFF
PO BOX 840208
DALLAS, TX 75284-0208

ALEXANDER LENDING INC
10655 NE 4TH ST #800
BELLEVUE, WA 98004
ALEXANDER VAN & STORAGE INC
5 W 9TH ST
SANTA ROSA, CA 95401

ALFRED R BROOKS
[Address Information Redacted]
ALFRED R. BROOKS
[Address Information Redacted]
ALG REAL ESTATE SERVICES INC
AMERIFUND LENDING GROUP
8965 PECOS RD BUILDING 9
HENDERSON, NV 89074

ALHAMBRA CHAMBER OF COMMERCE
104 S 1ST ST
ALHAMBRA, CA 91801
ALIANZA DOMINICANA INC
                                      Page 20
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2410 AMSTERDAM AVE 4TH FL
NEW YORK, NY 10033

ALIASWIRE INC
10 CANAL PARK
CAMBRIDGE, MA 02141
ALICE JO YEAGER TRUSTEE
HUMPHREYS FAMILY TRUST
34791 CREEKSEDGE RD
DAVIS, CA 95616
ALICE MORRIS
80 PARK AVE #19P
NEW YORK, NY 10016

ALICIA D MCCAULEY
217 WHITESTONE DR
CANTON, GA 30115

ALIEF INDEPENDENT SCHOOL DIST
FEDERAL PROGRAMS
12302 HIGH STAR
HOUSTON, TX 77072

ALISON WATSON
[Address Information Redacted]

ALKI FOUNDATION
1301 5TH AVE #2400
SEATTLE, WA 98101-2603
ALL AHEAD
2517 HIGHWAY 35 BLDG B #303
MANASQUAN, NJ 08736

ALL AMERICAN ABSTRACT CO INC
2854 EGYPT RD
AUDUBON, PA 19403
ALL AMERICAN BALLOON SUPPLY
Mayflower Distributing Co Inc
1101 A S GRAND AVE #A
SANTA ANA, CA 92705
ALL AMERICAN CASH ADVANCE
111 S LINCOLN WAY
N AURORA, IL 60542

ALL AMERICAN CONTRACTING
1203 RIVER RD
EDGEWATER, NJ 07020
ALL AMERICAN FUNDING INC
1622 WILSHIRE BLVD #A
SANTA MONICA, CA 90403

ALL AMERICAN HOME MORTGAGE CO
ALL AMERICAN MORTGAGE BANKERS
333 EARLE OVINGTON BLVD #102
UNIONDALE, NY 11553
ALL CALIFORNIA MORTGAGE INC
                                      Page 21
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1855 GATEWAY BLVD #140
CONCORD, CA 94520

ALL CENTRAL FLORIDA TITLE
1890 S SEMORAN BLVD #385
ORLANDO, FL 32792
ALL CREDIT LENDERS
PO BOX 250
GILBERTS, IL 60136
ALL ENVIRONMENTAL INC
DBA AEI CONSULTANTS
ACCOUNTS RECEIVABLE
2500 CAMINO DIABLO #200
WALNUT CREEK, CA 94597-3940

ALL GLASS & STOREFRONT
SOLUTIONS INC
85 SHEER PLAZA
PLAINVIEW, NY 11803

ALL HALLOWS INSTITUTE
111 E 164TH ST
BRONX, NY 10452

ALL OF US INC
DBA ALL OF US TRAVEL
265 E 100 ST #300
SALT LAKE CITY, UT 84111

ALL PACIFIC FINANCIAL INC
16530 VENTURA BLVD #300
ENCINO, CA 91436

ALL SAINTS EPISCOPAL DAY SCHOOL
DBA ALL SAINTS CAPITAL CAMPAIGN
1425 CHEROKEE RD
FLORENCE, SC 29501
ALL STAR GROUP INC
2187 S GARFIELD AVE
LOS ANGELES, CA 90040

ALL STATE LEGAL DBA
ALL STATE INTERNATIONAL INC
1 COMMERCE DR
CRANFORD, NJ 07016-3571

ALL STATE TRANSPORT
739 DOGWOOD AVE
WEST HEMPSTEAD, NY 11552
ALLAN JAYE NORDING
517 N BOWDISH
SPOKANE, WA 99206

ALLEGHANY HOLDINGS GROUP/RSUI INDEMNITY
945 EAST PACES FERRY RD.
STE 1800
ATLANTA, GA 30326-1160
ALLEGHENY COUNTY
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RECORDER OF DEEDS
101 COUNTY OFFICE BLDG
542 FORBES AVE
PITTSBURGH, PA 15219
ALLEN BBQ INC
409 CENTRAL EXPRESSWAY S #A
ALLEN, TX 75013

ALLEN CHRISTIAN SCHOOL
171 10 LINDEN BLVD
JAMAICA, NY 11568
ALLEN COUNTY RECORDER
1 E MAIN ST RM 206
FT WAYNE, IN 46802

ALLEN GUTHRIE MCHUGH &
THOMAS PLLC
PO BOX 3394
CHARLESTON, WV 25333-3394

ALLEN INDUSTRIES INC
6434 BURNT POPLAR ROAD
GREENSBORO, NC 27409

ALLEN MATKINS LECK
ALLEN MATKINS LECK GAMBLE &
GAMBLE & MALLORY LLP
1900 MAIN ST 5TH FL
IRVINE, CA 92614-7321
ALLEN MATKINS LECK GAMBLE &
MALLORY LLP
515 S FIGUEROA ST #700
LOS ANGELES, CA 90071-3398
ALLEN SYSTEMS GROUP INC
PO BOX 2197
CAROL STREAM, IL 60132-2197

ALLENDALE ASSOCIATION INC
PO BOX 1088
LAKE VILLA, IL 60046
ALLIANCE CREDIT COUNSELING
PO BOX 470347
CHARLOTTE, NC 28247-0347

ALLIANCE FOR A BETTER COMMUNITY
350 S BIXEL #180
LOS ANGELES, CA 90017
ALLIANCE FOR COMMUNITY DVLPMT
OF THE SAN FRANCISCO BAY AREA
875 O FARRELL ST #107
SAN FRANCISCO, CA 94109

ALLIANCE FOR EDUCATION
509 OLIVE WY #500
SEATTLE, WA 98101
ALLIANCE FOR INTERNATIONAL
                                       Page 23
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WOMENS RIGHTS
3628 COUNTY ROUTE 9
EAST CHATHAM, NY 12060
ALLIANCE FOR MULTICULTURE
COMMUNITY SERVICES
6440 HILLCROFT #411
HOUSTON, TX 77081

ALLIANCE PROTFOLIO
4299 MACARTHUR BLVD #205
NEWPORT BEACH, CA 92660
ALLIANCE VALUATION GROUP
638 CAMINO DE LOS MARES #H130A
SAN CLEMENTE, CA 92673

ALLIANCEBANC MORTGAGE CORP
ATTN JIM OREILLY
702 ABERDEEN WAY
SOUTHLAKE, TX 76092

ALLIED HOME MORTGAGE CAPITAL
CORPORATION
3900 CAMELBACK RD
PHOENIX, AZ 85018
ALLIED HOME MORTGAGE CPTL CORP
ALLIED HOME MORTGAGE CAPITAL
21021 DEVONSHIRE ST # 201
CHATSWORTH, CA 91311
ALLIED HOME MORTGAGE CPTL CORP
ALLIED HOME MORTGAGE CAPITAL
23 ALDRIN RD
PLYMOUTH, MA 02360
ALLIED HOME MORTGAGE CPTL CORP
ALLIED HOME MORTGAGE CAPITAL
3975 UNIVERSITY DR. # 100
FAIRFAX, VA 22030

ALLIED INTERSTATE INC
PO BOX 931702
CLEVELAND, OH 44193-1810
ALLIED INTERSTATE INC
PO BOX 70947
CHARLOTTE, NC 28272
ALLIES PARTY EQUIPMENT RENTAL
130 VALLECITOS DE ORO
SAN MARCOS, CA 92069

ALLSTAR CAPITAL LLC
DBA ALLSTAR OFFICE SUPPLIES
PO BOX 2091
ADDISON, TX 75001
ALLVISTA SOLUTIONS INC
PO BOX 950
PENSACOLA, FL 32591

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ALLWELL CO
2125 S PLATTE RIVER DR
DENVER, CO 80223-4015
ALLYN BANK EQUIPMENT COMPANY
8248 LEHIGH AVE
MORTON GROVE, IL 60053-2615
ALMA FINANCIAL ASSISTANCE CORP
700 BANYAN TRAIL #200
BOCA RATON, FL 33431
ALPHA KAPPA PSI
154 W 5TH ST #126
TEMPE, AZ 85281

ALPHA MORTGAGE CORPORATION INC
665 NORTH AVE #100
LOMBARD, IL 60181

ALPINE CHAMBER OF COMMERCE
2707 ALPINE BLVD
ALPINE, CA 91901
ALPINE COMMUNITY CENTER
1830 ALPINE BLVD
ALPINE, CA 91901

ALPINE SCHOOL DISTRICT
AMERICAN FORK HIGH SCHOOL
510 N 600 EAST
AMERICAN FORK, UT 84003

ALPINE SCHOOL DISTRICT
SNOW SPRINGS ELEMENTARY
850 S 1700 W
LEHI, UT 84043

ALSCO AMERICAN LINEN
PO BOX 1280
MEDFORD, OR 97501-0234

ALSCO INC
ALSCO AMERICAN LINEN
PO BOX 21509
EUGENE, OR 97402-0400

ALSTON & BIRD LLP
PO BOX 933124
ATLANTA, GA 31193-3124
ALT CTI
1700 ENTERPRISE WAY # 109
MARIEETTA, GA 30067
ALTAMONTE SPRINGS NEWS INC
PO BOX 4083
APOPKA, FL 32704
ALTAMONTE SPRINGS POLICE DEPT
225 NEWBURYPORT AVE
ALTAMONTE SPRINGS, FL 32701-3697

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ALTERMAN LAW OFFICE
1000 SW BORADWAY #910
PORTLAND, OR 97205
ALTERMANN GALLERIES INC
225 CANYON RD
SANTA FE, NM 87501
ALTERNATIVE LIVING
FOR THE AGING INC
937 N FARIFAX AVE
WEST HOLLYWOOD, CA 90046
ALTERNATIVE RESOLUTION CENTERS
1875 CENTURY PARK E #450
LOS ANGELES, CA 90067

ALTRUSA INTERNATIONAL INC
OF LEBANON
PO BOX 571
LEBANON, OR 97355

ALVARO MAGINA
10562 CORNERSTONE CIR
STOCKTON, CA 95209

ALVIN RAY AUSTIN
1328 ELSEMERE DR
CARSON, CA 90746

ALZHEIMER'S ASSOCIATION
ALZHEIMER&#39S ASSOCIATION
7400 LOUIS PASTEUR #200
SAN ANTONIO, TX 78229

AM MORTGAGE CORPORATION
6518 LINCOLN AVE
LINCOLNWOOD, IL 60712

AM TECHNOLOGIES INC
PO BOX 75597
CLEVELAND, OH 44101-4755
AMALGAMATED CRDT COUNSELORS INC
5950 W OAKLAND PARK BLVD
SUITE #309
LAUDERHILL, FL 33313

AMANDA MCCABE
VELIKANJE HALVERSON PC
405 E LINCOLN AVE
PO BOX 22550
YAKIMA, WA 98907

AMANDA MCCUISTION
8760 GREENWOOD AVE N #206
SEATTLE, WA 98103

AMARCHAND & MANGALDAS & SURESH
A SHROFF & CO
AMARCHAND TOWERS 216
OKHLA INDUSTRIAL ESTATE PHS III
NEW DEHLI, 110020 INDIA
                                       Page 26
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AMAZING EVENTS
PO BOX 388
OLDSMAR, FL 34677
AMBIUS INC
PO BOX 95409
PALATINE, IL 60095-0409

AMCOR SUNCLIPSE NORTH AMERICA
DBA KDS PACKAGING & FULFILLMENT
1900 W UNIVERSITY DR #101
TEMPE, AZ 85281
AMCOR SUNCLIPSE NORTH AMERICA
DBA KHL INCENTIVE
DEPT 6106
LOS ANGELES, CA 90084-6106
AMCOR SUNCLIPSE NORTH AMERICA
MARK BLUMHARDT
TUNIS/INCENTIVE INNOVATIONS INC
14242 VENTURA BLVD FL 3
SHERMAN OAKS, CA 91423

AMDOCS OPENMARKET INC
DBA OPENMARKET
PO BOX 915267
DALLAS, TX 75391-5267

AME LEARNING INC
20 CONSERVATORY DR
LADERA RANCH, CA 92694

AMELIAS DELI BISTRO
55 W ANGELA ST #110
PLEASENTON, CA 94566

AMER CONSUMER CREDIT COUNSELING
130 RUMFORD AVE #202
NEWTON, MA 02466

AMER FAMILY CREDIT COUNSELING
2432 W PEORIA AVE #1325
PHOENIX, AZ 85029-4741
AMERICA ONLINE
GENERAL POST OFFICE
P.O. BOX 5696
NEW YORK, NY 10087-5696
AMERICAN ARBITRATION ASSN
6795 N PALM AVE 2ND FL
FRESNO, CA 93704
AMERICAN ARBITRATION ASSN
950 WARREN AVE
E PROVIDENCE, RI 02914
AMERICAN ARBITRATION ASSOC
AMERICAN ARBITRATION ASSN
2200 CENTURY PARKWAY #300
ATLANTA, GA 30345
                                       Page 27
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AMERICAN AUDIO VISUAL CENTER
TEAM STAGING
7434 E MONTE CRISTO
SCOTTSDALE, AZ 85260

AMERICAN BANKERS AOC
AMERICAN BANKERS ASSOCIATION
PO BOX 79152
BALTIMORE, MD 21279-0152
AMERICAN BANKERS ASSN
AMERICAN BANKERS ASSOCIATION
PO BOX 79129
BALTIMORE, MD 21279-0129

AMERICAN BANKERS ASSOCIATION
CUSTOMER SERVICE CENTER
PO BOX 79447
BALTIMORE, MD 21279-0447
AMERICAN BANKERS ASSOCIATION
PO BOX 791317
BALTIMORE, MD 21279-1317

AMERICAN BANKERS ASSOCIATION
1120 CONNECTICUT AVE NW
WASHINGTION, DC 20036

AMERICAN BANKERS ASSOCIATION
900 19TH ST NW #400
WASHINGTON, DC 20006

AMERICAN BAR ASSOCIATION
PO BOX 4745
CAROL STREAM, IL 60197-4745
AMERICAN BAR ASSOCIATION
321 N CLARK ST
CHICAGO, IL 60610

AMERICAN BENEFIT MORT INC
120 COLUMBIA DR #600
ALISO VIEJO, CA 92656
AMERICAN BLACKTOP INC
DBA SEAL IT
415 30TH ST
NEWPORT BEACH, CA 92663
AMERICAN BLDG MAINTENANCE CO
DEPT 01033 PO BOX 34936
SEATTLE, WA 98124-1936

AMERICAN BLDG MAINTENANCE CO
DEPT 30874 PO BOX 61000
SAN FRANCISCO, CA 94161

AMERICAN BUS JOURNAL PUBS
THE BUSINESS JOURNAL
DBA EAST BAY BUSINESS TIMES
PO BOX 32547
CHARLOTTE, NC 28232-2547
                                     Page 28
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AMERICAN CANCER SOCIETY
RELAY FOR LIFE
941 E 3300 S
SALT LAKE CITY, UT 84106

AMERICAN CANCER SOCIETY
AMERICAN CANCER SOCIETY INC
207 E ALPINE AVE
STOCKTON, CA 95204
AMERICAN CANCER SOCIETY
AMERICAN CANCER SOCIETY INC
300 N WILLIS
VISALIA, CA 93291

AMERICAN CANCER SOCIETY
AMERICAN CANCER SOCIETY INC
97-77 QUEENS BLVD #1110
REGO PARK, NY 11374
AMERICAN CANCER SOCIETY
AMERICAN CANCER SOCIETY INC
EASTERN DIVISION
2 LYON PL
WHITE PLAINS, NY 10601
AMERICAN CANCER SOCIETY
AMERICAN CANCER SOCIETY INC
JACKSONVILLE
1430 PRUDENTIAL DR
JACKSONVILLE, FL 32207

AMERICAN CAPITAL GROUP
GREAT HOME REALTY & FINANCING
14945 VENTURA BLVD #228
SHERMAN OAKS, CA 91403

AMERICAN CAPITAL HOME LOANS
AMERICAN CAPITAL HOME LOANS INC
1525 ESCONDIDO BLVD #A
ESCONDIDO, CA 92025
AMERICAN CLASSIFIEDS OF FRESNO
INC
4274 N BLACKSTONE AVE #101
FRESNO, CA 93726

AMERICAN COLOR LABS INC
611 WEST ADAMS ST 1ST FL
CHICAGO, IL 60661-3603
AMERICAN COMPENSATION RESOURCES
ACR INC
ACR INC
175 MAIN ST #407
WHITE PLAINS, NY 10601

AMERICAN CONSUMER SHOWS
200 OAK DR #100
SYOSSET, NY 11791-4626
AMERICAN CORPORATE COUNSEL ASSN
                                       Page 29
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PO BOX 791044
BALTIMORE, MD 21279-1044

AMERICAN CREDIT ALLIANCE INC
PO BOX 939
MORRISVILLE, PA 19067
AMERICAN CREDIT COUNSELING SVC
2 TAUNTON STREET
SUITE 1
PLAINVILLE, MA 02762
AMERICAN CREDIT COUNSELORS INC
23123 STATE RD 7 #200A
BOCA RATON, FL 33428

AMERICAN CREDIT FOUNDATION
7720 S 700 EAST
MIDVALE, UT 84047

AMERICAN DEBT COUNSELING INC
10766 WILES RD
CORAL SPRINGS, FL 33076
AMERICAN DEBT MANAGMNT SVC INC
PO BOX 1247
SYOSSET, NY 11791

AMERICAN DEBT RESOURCES INC
225 MAIN ST #200
NORTHPORT, NY 11768
AMERICAN DEBT SOLUTIONS
PO BOX 7899
DELRAY BEACH, FL 33484

AMERICAN DEVOTING VOLUNTEERS
FOR INTL CULTURE & EDUCATION
2400 W CYPRESS CREEK #202A
FORT LAUDERDALE, FL 33309

AMERICAN DIABETES ASSOCIATION
2499 S CAPITAL OF TEXAS HWY
#A 204
AUSTIN, TX 78746
AMERICAN DOCUMENT SERVICES INC
250 COMMERCE 2ND FL
IRVINE, CA 92602
AMERICAN DREAM EQUITY HOME LNS
17514 VENTURA BLVD.
ENCINO, CA 91316

AMERICAN DREAM PROPERTIES CORP
3155 KEARNEY ST   # 210
FREMONT, CA 94538

AMERICAN EQUITY
700 BLITHEDALE AVE #1
MILL VALLEY, CA 94941
AMERICAN EXPRESS
                                      Page 30
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AMERICAN EXPRESS CORP GC
4315 S 2700 W #4300
SALT LAKE CITY, UT 84184-4030
AMERICAN EXPRESS
ATTN US PAYMENT FL
2965 W CORPORATE LAKES BLVD
WESTON, FL 33331-3626

AMERICAN EXPRESS
INCENTIVE SERVICES
CASHIER OPERATIONS
4315 S 2700 W
SALT LAKE CITY, UT 84184-4030

AMERICAN EXPRESS
PO BOX 360001
FT LAUDERDALE, FL 33336-0001
AMERICAN EXPRESS
AMEX, 90096-0001

AMERICAN EXPRESS TRAVEL
AMERICAN EXPRESS
RELATED SERVICES INC
PO BOX 31556
SALT LAKE CITY, UT 84119

AMERICAN FILM INSTITUTE
2021 N WESTERN AVE
LOS ANGELES, CA 90027
AMERICAN FORK CITY
51 E MAIN
PO BOX 397
AMERICAN FORK, UT 84003
AMERICAN FOUNDATION FOR
FINANCIAL FREEDOM
PO BOX 91
SYOSSET, NY 11791

AMERICAN FREEDOM GROUP INC
1326 5TH ST #B3
MARYSVILLE, WA 98270
AMERICAN GENERAL FINANCIAL SRVC
AIG ANNUITY INSURANCE COMPANY
14419 GREENWOOD AVE N #D
SEATTLE, WA 98133
AMERICAN GENERAL FINANCIAL SVC
1826 114TH AVE #101
BELLEVUE, WA 98004
AMERICAN GENERAL FINANCIAL SVCS
AIG ANNUITY INSURANCE COMPANY
20 N CLARK ST #2600
CHICAGO, IL 60602
AMERICAN GLASS COMPANY
2467 E 57TH ST
LOS ANGELES, CA 90058
                                       Page 31
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AMERICAN HEART ASSOCIATION
MID ATLANTIC AFFILIATE
4217 PARK PL COURT
GLEN ALLEN, VA 23060

AMERICAN HEART ASSOCIATION
1 UNION ST #301
ROBBINSVILLE, NJ 08691

AMERICAN HEART ASSOCIATION
1212 W ROBINHOOD DRIVE
STE 5D
STOCKTON, CA 95207

AMERICAN HEART ASSOCIATION INC
AMERICAN HEART ASSOCIATION
122 EAST 42ND ST 18TH FLR
NEW YORK, NY 10168

AMERICAN HEART ASSOCIATION INC
AMERICAN HEART ASSOCIATION
NATIONAL CENTER
181 E EVANS ST BTC-009 #200
FLORENCE, SC 29506

AMERICAN INDIAN
BUSINESS LEADERS
GALLAGHER BUSINESS BLDG #366
MISSOULA, MT 59812

AMERICAN INDOOR AIR QUALITY
COUNCIL
PO BOX 11599
GLENDALE, AZ 85318-1599

AMERICAN INFOSOURCE LP
DEPT 422
PO BOX 4346
HOUSTON, TX 77210-4346

AMERICAN INSTITUTE OF CPAS
AICPA
ATTN MULTI PAYMENTS
PO BOX 52403
DURHAM, NC 27717-2403

AMERICAN INSTITUTE OF CPAS
AICPA
PO BOX 10069
NEWARK, NJ 07101-3069
AMERICAN LEADERSHIP FORUM
3101 RICHMOND AVE #140
HOUSTON, TX 77098
AMERICAN LIMOS & TRANSPORTATION
10821 COMPOSITE DR
DALLAS, TX 75220
AMERICAN LIST COUNSEL INC
PO BOX 32189
HARTFORD, CT 06150
                                       Page 32
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AMERICAN MAILING SERVICES
PO BOX 684080
PARK CITY, UT 84068
AMERICAN MANAGEMENT ASSOC INTL
PO BOX 27327
NEW YORK, NY 10087-7327

AMERICAN MARKETING ASSOCIATION
311 S WACKER DR #5800
CHICAGO, IL 60606-2266
AMERICAN MESSAGING
SBC PACIFIC BELL
PO BOX 5749
CAROL STREAM, IL 60197-5749
AMERICAN MORTGAGE AND INVEST
9200 BASIL CT #107
LARGO, MD 20774

AMERICAN MUTUAL FINANCIAL SER
647 N SANTA CRUZ AVE #C
LOS GATOS, CA 95030

AMERICAN NATIONAL BANK
ATTN COLLECTIONS ERIN MCCRAY
PO BOX 1940
GONALES, TX 78629

AMERICAN NATIONAL RED CROSS
AMERICAN RED CROSS
2025 E ST NW
WASHINGTON, DC 20006

AMERICAN POWER CONVERSION
5081 COLLECTIONS CTR DR
CHICAGO, IL 60693-5081
AMERICAN REALTY CONSULTANTS INC
7320 GRIFFIN RD #203
DAVIE, FL 33314-4150

AMERICAN RECOVERY SERVICE INC
555 ST CHARLES DR #100
THOUSAND OAKS, CA 91360

AMERICAN RED CRO
AMERICAN RED CROSS
SAN JOAQUIN CHAPTER
747 N PERSHING AVE
STOCKTON, CA 95203

AMERICAN RED CROSS
DALLAS AREA CHAPTER
4800 HARRY HINES BLVD
DALLAS, TX 75235
AMERICAN RED CROSS
IN ORLEANS COUNTY
421 MAIN ST
MEDINA, NY 14103
                                       Page 33
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AMERICAN RED CROSS
SPACE COAST CHAPTER
1700 CEDAR ST
ROCKLEDGE, FL 32955

AMERICAN RED CROSS
1601A W LUCAS ST
FLORENCE, SC 29501

AMERICAN RED CROSS
PO BOX 870
WEST PALM BEACH, FL 33402
AMERICAN RED CROSS NEFL
751 RIVERSIDE AVE
JACKSONVILLE, FL 32203
AMERICAN REGISTRY FOR INTERNET
PO BOX 79010
BALTIMORE, MD 21279-0010

AMERICAN RELOCATION &
LOGISTICS INC
13565 LARWIN CIR
SANTA FE SPRINGS, CA 90670
AMERICAN REPORTING CO LLC
4020 LK WASHINGTON BLVD NE #205
KIRKLAND, WA 98033

AMERICAN REPROGRAPHICS COMPANY
DBA DIGITAL PRINTING CENTER
832 W ERIE ST
CHICAGO, IL 60622

AMERICAN RESPIRATORY THERAPY
DBA AMERICAN RESPIRATORY &
HOME CARE SUPPLIES
2709 S EL CAMINO REAL
SAN CLEMENTE, CA 92672

AMERICAN RIVER COLLEGE STUDENT
ASSOCIATION BANK WEEK
4700 COLLEGE OAK DR
SACRAMENTO, CA 95841

AMERICAN SECURITY INSURANCE COMPANY
260 INTERSTATE
NORTH CIRCLE, SE
ATLANTA, GA 30339-2111
AMERICAN SOCIETY FOR TRAINING
AND DEVELOPMENT INC
PO BOX 1567
MERRIFIELD, VA 22116-1567

AMERICAN SOCIETY OF CORPORATE
EXECUTIVES
PO BOX 1049
LEBANON, PA 17042
AMERICAN SOCIETY OF PENSION
                                       Page 34
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PROFESSIONALS & ACTUARIES
PO BOX 34725
ALEXANDRIA, VA 22334-0725
AMERICAN SOCIETY OF REAL ESTATE
COUNSELORS
430 N MICHIGAN AVE
CHICAGO, IL 60611-4089

AMERICAN STERLING BANK
27422 PORTOLA PKWY #110
FOOTHILL RANCH, CA 92610
AMERICAN STOCK EXCHANGE LLC
Consolidated Tape Association
PO BOX 757510
PHILADELPHIA, PA 19175-7510
AMERICAN SUNRISE COMMUNITIES
10877 WILSHIRE BLVD #1200
LOS ANGELES, CA 90024

AMERICAN TANK INC
10101 FORD RD
DEARBORN, MI 48126

AMERICAN TECHNOLOGIES INC
AMERICAN RESTORATION
210 BAYWOOD AVE
ORANGE, CA 92865

AMERICAN TITLE COMPANY
AMERICAN TITLE INC
DBA TICOR TITLE COMPANY
103 SYCAMORE VALLEY RD WEST
DANVILLE, CA 94526
AMERICAN TITLE INC
11010 BURDETE ST
PO BOX 641010
OMAHA, NE 68164-1010

AMERICAS FINANCIAL CHOICE
10302 S HALSTED ST
CHICAGO, IL 60643
AMERICAS FIRST CAPITAL MRTG LLC
FIRST CAPITAL MORTGAGE LLC
4 WALTER FORAN BLVD #201
FLEMINGTON, NJ 08822
AMERICASBEST
4821 GOLDEN FOOTHILL PKWY #220
EL DORADO HILLS, CA 95762
AMERICASH LOANS
PO BOX 25643
CHICAGO, IL 60625
AMERICORP FINANCIAL & REALTY
SERVICES
455 ESCONDIDO BLVD
ESCONDIDO, CA 92025
                                       Page 35
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AMERICORP, INC. DBA ALTAIR GLOBAL RELOCATION
[Address to Be Provided]
AMERICOS FOODS INC
MARKS PIZZERIA
171 SOUTH CLINTON ST
ALBION, NY 14411

AMERIFLIGHT INC
PO BOX 7838
BURBANK, CA 91510-7838
AMERIHOME MORTGAGE CO LLC
770 N HALSTED STREET SUITE 5
CHICAGO, IL 60622

AMERITITLE
PO BOX 1609
505 SE MAIN ST
ROSEBURG, OR 97470

AMERITITLE
PO BOX 1804
MEDFORD, OR 97501

AMERITITLE INC
AMERITITLE
PO BOX 487
PRINEVILLE, OR 97754

AMERITITLE INC
AMERITITLE
PO BOX 51690
1650 ELK CREEK DR
IDAHO FALLS, ID 83404
AMERITITLE INC
AMERITITLE
PO BOX 798
CASCADE, ID 83611

AMERITITLE INC
AMERITITLE
PO BOX 875
BEND, OR 97709

AMERIWASTE OF TEXAS LLC
PO BOX 1351
ALVIN, TX 77512
AMES SUPPLY COMPANY
1936 -C UNIVERSITY LN
LISLE, IL 60532
AMETHYST WOMENS PROJECT
1907 MERMAID AVE
BROOKLYN, NY 11224
AMEX LITIGATION JOINT DEFENSE
TRUST ACCOUNT
C/O ROSSI DOSKOCIL FINKELSTEIN
400 OCEANGATE #1000
                                        Page 36
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LONG BEACH, CA 90802
AMIGOS DEL MUSEO DEL BARRIO
1230 5TH AVE
NEW YORK, NY 10029-4401

AMIR MORTGAGE CORPORATION
AMC LENDING GROUP
9070 IRVINE CENTER DR #135
IRVINE, CA 92618
AMMEND CREDIT COUNSELING
PO BOX 43482
CINCINNATI, OH 45243

AMMIRO MORTGAGE INC.
332 PINE ST. STE. 307
SAN FRANCISCO, CA 94104
AMODIO ASSOCIATES
12 BROADWAY
NORTH HAVEN, CT 06473

AMPCO PARKING
AMPCO SYSTEM PARKING
7 CORPORATE PARK #160
LONG BEACH, CA 92606

AMPCO SYSTEM PARKING
REPUBLIC PARKING NORTHWEST INC
ATTN WAMU RICK ROLLER
SEATTLE, WA 98121

AMPCO SYSTEM PARKING
WESTWOOD MEDICAL PLAZA
10921 WILSHIRE BLVD
LOS ANGELES, CA 90024

AMPCO SYSTEM PARKING
16830 VENTURA BLVD
ENCINO, CA 91436-1707

AMPCO SYSTEM PARKING
720 W BOONE #101
SPOKANE, WA 99201-0000
AMPCO SYSTEM PARKING
1111 3RD AVE
SEATTLE, WA 98101
AMPCO SYSTEM PARKING
15260 VENTURA BLVD
SHERMAN OAKS, CA 91403

AMPCO SYSTEM PARKING
1851 E FIRST ST #1220
SANTA ANA, CA 92705

AMPCO SYSTEM PARKING
1925 CENTURY PARK E
LOS ANGELES, CA 90067
AMPCO SYSTEM PARKING
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38 S HUDSON AVE
PASADENA, CA 91101

AMPCO SYSTEM PARKING
400 S HOPE ST L2
LOS ANGELES, CA 90071
AMPCO SYSTEM PARKING
401 E OCEAN BLVD
LONG BEACH, CA 90802
AMPCO SYSTEM PARKING
4640 ADMIRALTY WAY #701
MARINA DEL REY, CA 90292

AMPCO SYSTEM PARKING
525 14TH ST
OAKLAND, CA 94612
AMPCO SYSTEM PARKING
601 W RIVERSIDE #420
SPOKANE, WA 99201

AMPCO SYSTEM PARKING
945 W 8TH ST
LOS ANGELES, CA 90017
AMPCO SYSTEM PARKING INC
AMPCO SYSTEM PARKING
2980 MCFARLANE RD #210
MIAMI, FL 33133
AMPCO SYSTEM PARKING LANDMARK11
AMPCO SYSTEM PARKING
11766 WILSHIRE BLVD
PARKING OFFICE #401
LOS ANGELES, CA 90025-6538

AMPER POLITZINER & MATTIA LLP
750 ROUTE 202 S #500
BRIDGEWATER, NJ 08807

AMPLIFY INC
2442 NW MARKET ST #93
SEATTLE, WA 98107
AMS MORTGAGE SERVICES INC
482 NOTCH RD
WEST PATERSON, NJ 07424
AMS REAL ESTATE SERVICES
210 BARTON SPRINGS RD #550
AUSTIN, TX 78704

AMS RISK MANAGEMENT &
CONSULTING INC
265 SUNRISE HIGHWAY #48
PO BOX 170
ROCKVILLE CENTRE, NY 11571
AMWEST CAPITAL GROUP INC
17890 CASTLETON ST #398
CITY OF INDUSTRY, CA 91748
                                       Page 38
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AMY BURLEY
&THE WILLIAM A MOORE TRUST ACT
WILLIAM A MOORE
10 N CALVERT ST #542
BALTIMORE, MD 21202
ANA HERNANDEZ
SCHERR & LEGATE PLLC
109 N OREGON 12TH FLR
EL PASO, TX 79901
ANALYSIS GROUP INC
111 HUNTINGTON AVE 10TH FL
BOSTON, MA 02199

ANCHOR FINANCIAL MORTGAGE INC
1 LONSDALE AVE
PAWTUCKET, RI 02860

ANCHOR FUNDING INC
3750 CONVOY ST #320
SAN DIEGO, CA 92111
ANCIENT ARABIC ORDER OF NOBLES
MYSTIC SHRINE NA MOSLA SHRINERS
CIRCUS FUND
PO BOX 1113
FT WORTH, TX 76101-1113

ANDERSON HUNTER LAW FIRM PS
PO BOX 5397
EVERETT, WA 98206

ANDERSON TATE & CARR PC
6224 SUGARLOAF PKWY #150
DULUTH, GA 30097

ANDRE LANDSCAPE SERVICE INC
521 N VIRGINIA AVE
AZUSA, CA 91702

ANDREA MICHAELS INC
DBA EXTRAORDINARY EVENTS
13425 VENTURA BLVD #300
SHERMAN OAKS, CA 91423

ANDREA RADOSEVICH
[Address Information Redacted]
ANDREW AMICY
530 EMPIRE BLVD
BROOKLYN, NY 11225

ANDREW CUOMU
[Address to Be Provided]

ANDREW DAVIDSON & CO INC
520 BROADWAY 8TH FL
NEW YORK, NY 10012

ANDREW DYER
DONNER & DONNER ATTORNEY
                                       Page 39
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CLIENT TRUST ACCOUNT
910 HAMPSHIRE RD #R
WESTLAKE VILLAGE, CA 91361
ANDREW HSU
MORNING STAR VIDEOGRAPHY
231 MARKET PL #137
SAN RAMON, CA 94583

ANDREW L CLARK PA
620 W 3RD ST #100
LITTLE ROCK, AR 72201
ANDREW M BANGER LLC
11 COBBLESTONE COURT
CENTERPORT, NY 11721

ANDREW MADRID
13217 LA QUINTA ST
LA MIRADA, CA 90638
ANDREW S JAMES
PO BOX 612725
FORT LAUDERDALE, FL 33261

ANDRIUS MONTVILA
15 AMY LANE
HOLLISTON, MA 01746

ANDY MAIER
918 S 29TH CT
RENTON, WA 98055

ANEW AMERICA
COMMUNITY FOUNDATION
1918 UNIVERSITY AVE #3A
BERKELEY, CA 94704

ANGELA D. VEKSLER
[Address Information Redacted]

ANGELA DAY
GARTH J RIDGE TRUST ACCT
251 FLORIDA ST #301
BATON ROUGE, LA 70801
ANGELES ELECTRIC COMPANY
6481 GLOBAL DR
CYPRESS, CA 90630
ANGELICA MARTINEZ
DBA BJS PRINTING
3713 EARLE DR
HALTOM CITY, TX 76117
ANGELIQUE HANCOCK
DBA EXPERIENCE HARLEM
2214 FREDERICK DOUGLAS BVD #304
HARLEM, NY 10026
ANGELITA PUNZALAN
[Address to Be Provided]

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ANGELO SCHIANO
9904 157TH AVE
HOWARD BEACH, NY 11414
ANGELS BASEBALL LP
GROUP SALES
2000 GENE AUTRY WAY
ANAHEIM, CA 92806

ANGIE DEPOMPO COURT REPORTING
SERVICE
86 KENSICO ST
STATEN ISLAND, NY 10306
ANGOSS SOFTWARE CORPORATION
111 GEORGE ST #200
TORONTO, ON M5A 2N4 CANADA
ANIXTER INC
P O BOX 847428
DALLAS, TX 75284-7428

ANKER MANAGEMENT CORP
88 FROEHLICH FARM BLVD 4TH FLR
WOODBURY, NY 11797-2944

ANKER MANAGEMENT CORP
200 N CENTRAL AVE #340
HARTSDALE, NY 10530

ANN L REINHART
4164 SW GLENEAGLES CIRCLE
PALM CITY, FL 34990

ANNA G VAROSY
3 ASILOMAR RD
LAGUNA NIGUEL, CA 92677

ANNA GRIFFEL
[Address Information Redacted]

ANNA TIPA
444 S OCEAN AVE
PATCHOGUE, NY 11772
ANNAM COMMUNITY
DEVELOPMENT CORPORATION
8222 ANTOINE DR #104
HOUSTON, TX 77088
ANNE MARINO DBA
THE DAILY REPORT
310 H ST
BAKERSFIELD, CA 93304-2914
ANNE V FARRELL
ANNE V FARRELL
WASHINGTON MUTUAL-LEGAL DEPT
1301 2ND AVE - WMC3501
SEATTLE, WA 98101

ANNETTE THERESE WHITTINGTON
N E OREGON REAL ESTATE SOURCE
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2902 N OAK ST
LA GRANDE, OR 97850

ANNI Y YAN
5330 N MUSCATEL AVE
SAN GABRIEL, CA 91776
ANNIE TURNER
AND HER ATTORNEY MELVIN BRUNSON
63 S ROYAL ST
MOBILE, AL 36602
ANRON SERVICE CORP
440 WYANDANCH AVE
N BABYLON, NY 11704-1590

ANSCHUTZ SF NEWPAPER CO
EXAMINER
450 MISSION ST
5TH FLR FINANCE DEPT
SAN FRANCISCO, CA 94105

ANTAEAN SOLUTIONS LLC
5930 ROYAL LANE #245
DALLAS, TX 75230

ANTALGIA ENVIRONMENTAL
SOLUTIONS
520 JACOBSBURG RD
NAZARETH, PA 18064

ANTELOPE VALLEY
CHAMBER OF COMMERCE
2861 DIAMOND ST
PO BOX 365
ROSAMOND, CA 93560-0365
ANTELOPE VALLEY COLLEGE
3041 W AVE K
LANCASTER, CA 93536

ANTELOPE VALLEY NEWSPAPERS INC
DBA ANTELOPE VALLEY PRESS
PO BOX 4050-37404
PALMDALE, CA 93590-4050
ANTHONY BARR
ABOVE & BEYOND CATERING
660 4TH ST #257
SAN FRANCISCO, CA 94107
ANTHONY F LAMA REALTY SVCS INC
640 PARK AVE
HOBOKEN, NJ 07030
ANTHONY F PANTONI APC
ANTHONY F PANTONI APC
501 W BROADWAY #1370
SAN DIEGO, CA 92101
ANTHONY F PANTONI ATTY AT LAW
ANTHONY F PANTONI APC
501 W BROADWAY #1370
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SAN DIEGO, CA 92101
ANTHONY F. VUOTO
[Address Information Redacted]
ANTHONY J OFARRILL
CLIENT TRUST ACCOUNT
134 S MONTEBELLO BLVD
MONTEBELLO, CA 90640-4730

ANTHONY N BENEDOSSO
51 CHERRY ST
MILFORD, CT 06460
ANTHONY T. MEOLA
[Address Information Redacted]

ANTIOCH SCHOOL EDUCATION
FOUNDATION
3211 PIERCE CT
ANTIOCH, CA 94509

ANTOINE WEST 249 33 LP
8807 W SAM HOUSTON PKWY N #200
HOUSTON, TX 77040

ANTONIO AND JOANNE RONDINONE
MCHUGH CHAPMAN &MONTALBANO
140 WASHINGTON ST
MIDDLETOWN, CT 06457

ANWYL SCOFFIELD & STEPP LLP
2180 HARVARD ST #200
SACRAMENTO, CA 95815-3318

ANYDOC SOFTWARE INC
401 E JACKSON ST #1200
TAMPA, FL 33602

AON BERMUDA LIMITED
CUMBERLAND HOUSE 1 VICTORIA ST
PO BOX HM2020
HAMILTON HMJX,   BERMUDA

AON CONSULTING
AON CONSULTING INC
PO BOX 93736
CHICAGO, IL 60673-3736

AON CONSULTING
PO BOX 100137
PASADENA, CA 91189-0137
AON CONSULTING INC
PO BOX 905188
CHARLOTTE, NC 28290-5188

AON RE INC
DBA BOOKE SEMINARS
26182 NETWORK PL
CHICAGO, IL 60673-1261
AON RISK INSURANCE SERVICES
                                      Page 43
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WEST INC
DEPARTMENT 9832
LOS ANGELES, CA 90084-9832
AON RISK LABS
RISK LABORATORIES LLC
PO BOX 7247-7389
PHILADELPHIA, PA 19170

APACHE JUNCTION
DEVELPMENT SVCS DEPT
300 E SUPERSTITION BLVD
APACHE JUNCTION, AZ 85219
APARTMENT & OFFICE BUILDING ASN
1050 17TH ST NW #300
WASHINGTON, DC 20036
APARTMENT APPRAISERS
& CONSULTANTS
900 E LOUISIANA AVE #110
DENVER, CO 80210

APARTMENT ASSN OF
ORANGE COUNTY
12822 GARDEN GROVE BLVD #D
GARDEN GROVE, CA 92843-2010

APARTMENT ASSN OF GREATER
ORLANDO 2007
340 N MAITLAND AVE
MAITLAND, FL 32751-5786

APARTMENT ASSN OF METRO DENVER
3773 CHERRY CREEK N DR#1001
DENVER, CO 80209
APARTMENT ASSOC OF METRO DENVER
APARTMENT ASSN OF METRO DENVER
3773 CHERRY CREEK N DR #1001
DENVER, CO 80209

APARTMENT ASSOCIATION GREATER
LOS ANGELES
621 S WESTMORELAND AVE
LOS ANGELES, CA 90005

APARTMENT ASSOCIATION OF
SOUTH CENTRAL WISCONSIN
702 N HIGH POINT RD #203
MADISON, WI 53717-2240
APARTMENT MANAGEMENT MAGAZINES
15502 GRAHAM ST
HUNTINGTON BEACH, CA 92649
APEX DECOR GROUP LLC
DBA APEX WINDOW DECOR
1116 CALIFORNIA WAY SW
SEATTLE, WA 98116

APEX FINANCIAL GROUP INC
213 W BLOOMINGDALE AVE
                                       Page 44
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BRANDON, FL 33511
APEX LENDING INC
10300 49TH ST N
CLEARWATER, FL 33762

API SYSTEMS GROUP INC
2609 NATIONAL CIRCLE
GARLAND, TX 75041

APOPKA AREA CHAMBER OF COMMERCE
180 E MAIN ST
APOPKA, FL 32703
APPEAL DEMOCRAT INC
PO BOX 431
MARYSVILLE, CA 95901
APPINTELLIGENCE INC DBA
INTERTHINX
PO BOX 27985
NEW YORK, NY 10087-7985

APPLE CONSUMER CREDIT COUNSELNG
PO BOX 780
SYOSSET, NY 11791
APPLE RIDGE FUNDING LLC
C/O CARTUS CORPORATION
PO BOX 223479
PITTSBURGH, PA 15250-6287
APPLICATION SECURITY INC
575 8TH AVE 12TH FL
NEW YORK, NY 10018

APPLIED CARD BANK
ATTN LISA BETTS
PO BOX 10290
WILMINGTON, DE 19850

APPLIED DISCOVERY INC
LEXISNEXIS APPLIED DISCOVERY
13427 NE 16TH ST #200
BELLEVUE, WA 98005
APPLIED PREDICTIVE TECHNOLOGIES
ATTN ACCOUNTS RECEIVABLE
901 N STUART ST #1100
ARLINGTON, VA 22203
APPLIED REAL ESTATE ANALYSIS
914 S WABASH AVE
CHICAGO, IL 60605
APPRAISAL COM
620 MAIN ST
BUFFALO, NY 14202
APPRAISAL INSTITUTE
LONG ISLAND CHAPTER
508 FOCH BLVD
MINEOLA, NY 11501
                                       Page 45
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APPRAISAL INSTITUTE
METRO NY CHAPTER
60 E 42ND ST # 1166
NEW YORK, NY 10165

APPRAISAL INSTITUTE
SEATTLE CHAPTER
C/O HOMESTREET BANK
8050 15TH AVE NW
SEATTLE, WA 98117
APPRAISAL INSTITUTE
550 W VAN BUREN ST #1000
CHICAGO, IL 60607

APPRAISAL NET LINK CORP
3865 RALPH STREET SOUTH
SEAFORD, NY 11783

APPRAISAL PACIFIC INC
5220 CLARK AVE #205
LAKEWOOD, CA 90712
APPRAISAL RESEARCH COUNSELORS
400 E RANDOLPH #715
CHICAGO, IL 60601-7388

APPRAISAL SOLUTIONS INC
2503 N 16TH ST
PHOENIX, AZ 85006
APPRAISAL.COM
[Address to Be Provided]

APPROVED HOME LOANS INC
18008 SKYPARK CIR #125
IRVINE, CA 92614

APR ACQUISITION INC
DBA AZTEC TENTS & EVENTS
601 W 6TH ST
HOUSTON, TX 77007

APT APPRAISAL & CONSULTING LLC
2505 3RD AVE #325
SEATTLE, WA 98121

APT TRENDS TRADE SHOW ASSN
DBA DAVIS PRODUCTIONS
16520 163RD PL SE
RENTON, WA 98058
APTARA INC
14732 COLLECTIONS CTR DR
CHICAGO, IL 60693

APTARE INC
747 CAMDEN AVE #A
CAMPBELL, CA 95008

APTARE, INC.
[Address to Be Provided]
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APTOS CHAMBER OF COMMERCE
7605 OLD DOMINION CT #A
APTOS, CA 95003
AQUA TRENDS LLC
19528 VENTURA BLVD #358
TARZANA, CA 91356

AR DEPOSIT ENTRY
[Address to Be Provided]
ARA BALIKIAN ATTORNEY FOR
GOLDSTEIN INVESTMENT TRUST
99 PROSPECT ST
BELMONT, MA 02478

ARAM INC
DBA HOLDEN CUSTOM PRODUCTS
PO BOX 671147
DALLAS, TX 75267-1147

ARAMARK REFRESHMENT SERVICES
1665 TOWNHURST #160
HOUSTON, TX 77043

ARAMARK REFRESHMENT SERVICES
229 ROBBINS LN
SYOSSET, NY 11791

ARAMARK REFRESHMENT SERVICES
3777 SPINNAKER CT
FREMONT, CA 94538

ARAMARK REFRESHMENT SERVICES
3901 RAVENSWOOD RD #101
DANIA BEACH, FL 33312

ARAMARK REFRESHMENT SERVICES
5851-1B SE INTERNATIONAL WAY
MILWAUKIE, OR 97222

ARAMARK SPORTS &
ENTERTAINMENT SERVICES
800 CONVENTION PLACE
SEATTLE, WA 98101

ARAMARK UNIFORM & CAREER APPARL
ARAMARK UNIFORM SERVICES INC
PO BOX 0903
CAROL STREAM, IL 60132-0903
ARAMARK UNIFORM SERVICES INC
PO BOX 828441
PHILADELPHIA, PA 19182-8441
ARAMARK UNIFORM SERVICES INC
PO BOX 36028
DALLAS, TX 75235
ARBITRON INC
2538 COLLECTIONS CENTER DR
CHICAGO, IL 60693
                                       Page 47
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
ARBOR HOME MORTGAGE INC
1137-A PACIFIC ST
SAN LUIS OBISPO, CA 93401
ARCADIA ASSOC OF REALTORS INC
601 S 1ST AVE
ARCADIA, CA 91006

ARCADIA MORTGAGE INC
802 WINCHESTER ST #100
MURRAY, UT 84107
ARCADIA TRANSIT INC
DBA S F VALLEY SUPERSHUTTLE
7955 SAN FERNANDO RD
SUN VALLEY, CA 91352
ARCH CAPITAL GROUP
ONE LIBERTY PLAZA
53RD FLOOR
NEW YORK, NY 10006

ARCHDIOCEASAN HOUSING AUTHORITY
530 BELL ST #1000
EDMONDS, WA 98020
ARCHDIOCESAN HOUSING AUTHORITY
ARCHDIOCEASAN HOUSING AUTHORITY
1902 2ND AVE
SEATTLE, WA 98101
ARCHER & GREINER
ONE CENTENNIAL SQUARE
HADDONFIELD, NJ 08033-0968

ARCHER TECHNOLOGIES
13200 METCALF #300
OVERLAND PK, KS 66213
ARDEL CHISHOLM
LINCMEDIA
5106 171ST AVE SE
SNOHOMISH, WA 98290
ARENA EXHIBITS INC
636 POTRERO AVE
SAN FRANCISCO, CA 94110-2117

ARENA OPERATING COMPANY LTD
2555 PANTHER PKWY
SUNRISE, FL 33323
ARENSON OFFICE FURNISHINGS, A MEMBER OF THE KNOLL SMART DEALER CONSORTIUM
[Address to Be Provided]
ARGUS CONTRACTING INC
DEPT 9400
LOS ANGELES, CA 90084-9400
ARGUS INFORMATION & ADVISORY
SERVICES LLC
81 MAIN ST #124
                                       Page 48
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WHITE PLAINS, NY 10601
ARGUS RESEARCH COMPANY
HOLLY POND PLAZA
1281 E MAIN ST 1ST FLOOR
STAMFORD, CT 06902
ARGUS SOFTWARE
REALM BUSINESS SOLUTIONS INC
3050 POST OAK BLVD #900
HOUSTON, TX 77056
ARIA STYLE
144 WESTERN AVE WEST
SEATTLE, WA 98119

ARIBA INC
PNC BANK
PO BOX 642962
PITTSBURGH, PA 15264-2962
ARIBA INC
PNC BANK
PO BOX 642962
PITTSBURGH, PA 15264-2962

ARIZONA BANKERS ASSOCIATION
111 W MONROE ST #440
PHOENIX, AR 85003

ARIZONA CENTRAL CREDIT UNION
PO BOX 11650
PHOENIX, AZ 85061

ARIZONA COMMUNITY FOUNDATION
2201 E CAMELBACK RD #202
PHOENIX, AZ 85016

ARIZONA CORPORATION COMMISSION
1300 W WASHINGTON
PHOENIX, AZ 85007-2929

ARIZONA COUNCIL ON
ECONOMIC EDUCATION
6991 E CAMELBACK RD
SCOTTSDALE, AZ 85251

ARIZONA DEPARTMENT OF REVENUE
ARIZONA DEPT OF REVENUE
PO BOX 29032
PHOENIX, AZ 85038-9032
ARIZONA DEPARTMENT OF REVENUE
ARIZONA DEPT OF REVENUE
UNCLAIMED PROPERTY UNIT
1600 W MONROE
PHOENIX, AZ 85007

ARIZONA DEPT OF INSURANCE
2910 N 44TH ST #210
PHOENIX, AZ 85018
ARIZONA DEPT OF REVENUE
                                      Page 49
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PO BOX 29010
PHOENIX, AZ 85038-9010

ARIZONA HISPANIC
CHAMBER OF COMMERCE
255 E OSBORN RD #201
PHOENIX, AZ 85012
ARIZONA MORTGAGE LENDERS ASSN
27460 N CARDINAL LN
PEORIA, AZ 85383-3985
ARIZONA STATE UNIVERSITY
ASU MEMORIAL UNION RM 182
PO BOX 870901
TEMPE, AZ 85287-0901

ARJULIA NEWTON
793 MILLER RUN
ATLANTA, GA 30349
ARKANSAS CHILD SUPPORT
CLEARINGHOUSE
PO BOX 8125
LITTLE ROCK, AR 72203

ARKANSAS SECRETARY OF STATE
BUSINESS AND COMMERCIAL SVCS DI
PO BOX 8014
LITTLE ROCK, AR 72203-8014

ARLEEN R SCAVONE
1192 BROOKVIEW AVE
WESTLAKE VILLAGE, CA 91361

ARLINGTON CHAMBER OF COMMERCE
505 EAST BORDER
ARLINGTON, TX 76010

ARLINGTON HEIGHTS CHAMBER OF
COMMERCE
311 S ARLINGTON HEIGHTS
ARLINGTON HEIGHTS, IL 60004

ARMENIAN AMERICAN CHAMBER
OF COMMERCE
1141 N BRAND BLVD #309
GLENDALE, CA 91202

ARMENIAN AMERICAN MEDICAL
SOCIETY OF CALIFORNIA
PO BOX 32
GLENDALE, CA 91209

ARMENIAN CULTURAL FOUNDATION
PO BOX 10250
GLENDALE, CA 91209

ARMENIAN EYECARE PROJECT
PO BOX 5630
NEWPORT BEACH, CA 92662
ARMENIAN RELIEF SOCIETY
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WESTERN REGION
517 W GLENOAKS BLVD
GLENDALE, CA 91202
ARMOR LOCKSMITH SERVICES
35 WASHINGTON AVE
PORT RICHMOND, CA 94801
ARMORY CENTER FOR THE ARTS
145 N RAYMOND AVE
PASADENA, CA 91103
ARMSTRONG BANK
ATTN COLLECTIONS DEPT
PO BOX 435
VIAN, OK 74962-0435

ARNOLD & PORTER
555 12TH ST NW
WASHINGTON, DC 20004-1206
ARNOLD EIGER ESQ
42-19A BELL BLVD
BAYSIDE, NY 11361

ARNOLD GALLAGHER SAYDACK
PERCELL ROBERTS & POTTER PC
PO BOX 1758
EUGENE, OR 97440-1758

ARNOLD SCOTT HARRIS PC
600 W JACKSON BLVD #720
CHICAGO, IL 60661

ARNOLD SIMON
2485 HOOD DR
THOUSAND OAKS, CA 91362

ARON & ASSOCIATES PC
1615 E FT LOWELL RD
TUCSON, AZ 85719

ARON & ASSOCIATES PC
1615 E FT LOWELL RD
TUCSON, AZ 85719
ARROW FINANCIAL SERVICES LLC
5996 WEST TOUCHY AVE
NILES, IL 60714
ARROW FINANCIAL SERVICES LLC
5996 WEST TOUCHY AVE
NILES, IL 60714

ARROWHEAD MOUNTAIN SPRING WATER
OZARKA NATURAL SPRING WATER
PROCESSING CENTER
PO BOX 52237
PHOENIX, AZ 85072
ART CENTER COLLEGE OF DESIGN
1700 LIDA STREET
PO BOX 7197
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PASADENA, CA 91109-7197
ART HANDLERS LTD
1570 PACHECO ST #E2
SANTA FE, NM 87505

ART OF LIVING FOUNDATION
PO BOX 50003
SANTA BARBARA, CA 93150

ART TECHNOLOGY GROUP INC
CH 10843
PALANTINE, IL 60055-0843
ART WITH HEART
PO BOX 94402
SEATTLE, WA 98124
ARTECH INC
865 LIND AVE SW
RENTON, WA 98057

ART-FLO SHIRT & LETTERING CO
6939 W 59TH ST
CHICAGO, IL 60638

ARTHUR J GOLDSTEIN
7204 PORTER RANCH STATION
NORTHRIDGE, CA 91327

ARTHUR L PORTER
4554 HIGHLAND OAKS ST
FALLBROOK, CA 92028

ARTHUR RZAYEV DBA
WESTERN CAR SERICE
17225 NE 25 CT
REDMOND, WA 98052

ARTHUR SCHWARTZ
100 JEFFREY AVE
HOLLISTON, MA 01746
ARTISAN SERVICES INC
821 FRANKLIN AVE #303
GARDEN CITY, NY 11530

ARTISONE
6820 ORANGETHORPE AVE #F
BUENA PARK, CA 90620
ARTISTS FOR KIDS
PO BOX 3904
GLENDALE, CA 91221
ARTS HORIZONS INC
ONE GRAND AVE #7
ENGLEWOOD, NJ 07631
ARTS WEST
4714 42ND AVE SW
PO BOX 16152
SEATTLE, WA 98116
                                      Page 52
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ARTSPACE INC
230 S 500 W #235
SALT LAKE CITY, UT 84101
ARTSPACE PROJECTS INC
250 3RD AVE N #500
MINNEAPOLIS, MN 55401

ARVADA CHAMBER OF COMMERCE
7305 GRANDVIEW AVE
ARVADA, CO 80002
AS 47 JONES CYPRESS N HOUSTON
DBA NEWQUEST PROPERTIES
8807 W SAM HOUSTON PKWY #200
HOUSTON, TX 77040
ASBESTOS CONSULTANT
CERTIFICATION FUND
2211 PARK TOWN CIRCLE #1
SACRAMENTO, CA 95825

ASC OF ERIE COMMUNITY COLLEGE
4041 SW BLVD
ORCHARD PARK, NY 14127
ASHBY & GEDDES
500 DELAWARE AVE
PO BOX 1150
WILMINGTON, DE 19899
ASHLAND CHAMBER OF COMMERCE
PO BOX 1360
ASHLAND, OR 97520

ASHLAND HOME NET INC
607 SISKIYOU BLVD
ASHLAND, OR 97520-9504
ASHLEY ELLIOTT
DBA URBAN MOVERS
421 E 28TH ST
HOUSTON, TX 77008
ASHLEYS FLORIST INC
4987 W ATLANTIC AVE
DELRAY BEACH, FL 33445

ASIAN AMERICANS FOR EQUALITY
108 110 NORFOLK ST
NEW YORK, NY 10002
ASIAN AND PACIFIC ISLANDER
COMMUNITY IMPROVEMENT ASSC INC
C/O ROLLY BRIGHAM KEY BANK
1211 SW 5TH AVE #305
PORTLAND, OR 97204
ASIAN BAR ASSOCIATION OF WA
ABAW FOUNDATION
C/O MIRY KIM
REED MCCLURE 601 UNION ST #1500
                                       Page 53
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SEATTLE, WA 98101
ASIAN BAR ASSOCIATION OF WA
SCHOLARSHIP FUND
C/O ALICE WONG
524 2ND AVE #500
SEATTLE, WA 98104
ASIAN BUSINESS ASSOCIATION
SAN DIEGO
7808 CLAIREMONT MESA BLVD #A
SAN DIEGO, CA 92111
ASIAN CHAMBER OF COMMERCE
924 W COLFAX AVE
DENVER, CO 80204

ASIAN COUNSELING &
REFERRAL SERVICE INC
720 8TH AVE S #200
SEATTLE, WA 98104

ASIAN INC
1670 PINE ST
SAN FRANCISCO, CA 94109

ASIAN NEIGHBORHOOD DESIGN
1021 MISSION ST
SAN FRANCISCO, CA 94103

ASIAN PACIFIC AMERICAN
LEGAL CENTER OF SO CALIFORNIA
1145 WILSHIRE BLVD 2ND FL
LOS ANGELES, CA 90017

ASIAN PACIFIC ISLANDER
SMALL BUSINESS PROGRAM
231 E 3RD ST #G106
LOS ANGELES, CA 90012
ASIAN REAL ESTATE ASSOCIATION
OF THE EAST BAY INC
909 MARINA PKWY #144
ALAMEDA, CA 94501
ASIAN REAL ESTATE PROFESSIONALS
PO BOX 180224
AUSTIN, TX 78718

ASIC FEE INCOME
AMERICAN SECURITY INSURANCE CO
PO BOX 972522
DALLAS, TX 75397-2522

ASIS INTERNATIONAL
PO BOX 17605
BALTIMORE, MD 21279

ASP WESTWARD LP DBA
HOUSTON COMMUNITY NEWSPAPERS
523 N SAM HOUSTON PKWY E #600
HOUSTON, TX 77060-4011

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ASPA BOOK ORDER DEPT
AMERICAN SOCIETY OF PENSION
PO BOX 79918
BALTIMORE, MD 21279-0918
ASPECT COMMUNICATIONS
PO BOX 49208
SAN JOSE, CA 95161-9208

ASPEN FUNDING LLC
1222 AVENUE M #405
BROOKLYN, NY 11230
ASPEN HOME LOANS LC
826 E STATE RD #100
AMERICAN FORK, UT 84003

ASPEN PUBLISHERS INC
ASPEN PUBLISHERS
4829 INNOVATION WAY
CHICAGO, IL 60682-0048

ASPIRA INC OF NEW JERSEY
390 BROAD ST
NEWARK, NJ 07104

ASSESMENT SYSTEMS INC
C/O GEORGIA DEPT OF INSURANCE
3300 HIGHLANDS PKWY #130
SMYRNA, GA 30082

ASSET ACCEPTANCE LLC
C/O RODOLFO J MIRO
PO BOX 9065
BRANDON, FL 33509

ASSET BUILDERS COMMUNITY
DEVELOPMENT CORP
5049 W HARRISON ST
CHICAGO, IL 60644

ASSET ENGINEERING LIMITED
PO BOX 4382
GRAND JUNCTION, CO 81502
ASSISTANCE LEAGUE OF HEMACINTO
180 N GIRARD
HEMET, CA 92544

ASSN FOR ACCOUNTING MARKETING
14 W 3RD ST #200
KANSAS CITY, MO 64105
ASSN FOR MANAGEMENT INFORMATION
IN FINANCIAL SERVICES
3895 FAIRFAX COURT
ATLANTA, GA 30339

ASSN OF FUNDRAISING PROFS
GREATER LOS ANGELES CHAPTER
315 W 9TH ST #708
LOS ANGELES, CA 90015-4200

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ASSN OF OREGON COMMUNITY
DEVELOPMENT ORGANIZATIONS
PO BOX 40147
PORTLAND, OR 97240
ASSOC MARKETING ENTERPRISES INC
ATTN: SCOTT PAUL
2852 JOHNSON FERRY RD, STE 200
MARIETTA, GA 30062-6495

ASSOCIATED BUILDERS & CONTRACTR
ASSOC BUILDERS & CONTRACTORS FL
FLORIDA EAST COAST CHAPTER INC
3730 COCONUT CREEK PKWY
COCONUT CREEK, FL 33066

ASSOCIATED BUSINESS MACHINES
1552 BEACH ST #Q
EMERYVILLE, CA 94608

ASSOCIATED COURIER SYSTEMS
2081 N OXNARD BLVD #268
OXNARD, CA 93036
ASSOCIATED CREDITORS
EXCHANGE INC
PO BOX 33130
PHOENIX, AZ 85067-3130

ASSOCIATED GLOBAL SYSTEMS
PO BOX 71318
CHICAGO, IL 60694-1318

ASSOCIATED GROUP
1600 E MCFADDEN AVE
SANTA ANA, CA 92705
ASSOCIATED INDUSTRIES OF
FLORIDA
PO BOX 784
TALLAHASSEE, FL 32302-0784

ASSOCIATED LIMOUSINES INC
1398 BRYANT ST
SAN FRANCISCO, CA 94103
ASSOCIATED MINISTRIES OF
TACOMA PIERCE COUNTY
1224 S I ST
TACOMA, WA 98405
ASSOCIATED PRODUCTION MUSIC LLC
6255 SUNSET BLVD #820
HOLLYWOOD, CA 90028-9084
ASSOCIATED STUDENTS OF
GROSSMONT COLLEGE
8800 GROSSMONT COLLEGE DR
EL CAJON, CA 92020
ASSOCIATION FOR CATHOLIC
CHILDHOOD
100 23RD AVE S
                                       Page 56
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SEATTLE, WA 98144
ASSOCIATION FOR FINANCIAL
AFP CERTIFICATION PROGRAMS
PROFESSIONALS
PO BOX 64714-D
BALTIMORE, MD 21264
ASSOCIATION FOR LOS ANGELES
DEPUTY SHERIFFS INC
ALADS
2 CUPANIA CIRCLE
MONTEREY PARK, CA 91755
ASSOCIATION FOR NEIGHBORHOOD
& HOUSING DEVELOPMENT INC
PO BOX 231268
ANSONIA STATION
NEW YORK, NY 10023

ASSOCIATION FOR THE ADVANCEMENT
OF MEXICAN AMERICANS
6001 GULF FREEWAY #3624
HOUSTON, TX 77027

ASSOCIATION OF CERTIFIED
FRAUD EXAMINERS
716 WEST AVE
AUSTIN, TX 78701

ASSOCIATION OF CERTIFIED ANTI
MONEY LAUNDERING SPECIALISTS
BRICKELL BAYVIEW CENTER
80 SW 8TH ST #2350
MIAMI, FL 33130

ASSOCIATION OF LATINO PROFSNLS
ALPFA
IN FINANCE AND ACCOUNTING
801 S GRAND AVE #400
LOS ANGELES, CA 90017

ASSOCIATION OF NATIONAL
ADVERTISERS INC
708 3RD AVE
NEW YORK, NY 10017

ASSOCIATION OF THREAT
ASSESSMENT PROFESSIONALS
1215 K ST #2290
SACRAMENTO, CA 95814
ASSOCIATION UNDERWRITERS
OF WASHINGTON LLC
PO BOX 40193
BELLEVUE, WA 98015-4193

AST ONE LLC
APPLE SPICE JUNCTION
1105 REMINGTON RD #A
SCHAUMBURG, IL 60173
ASTELLA DEVELOPMENT CORPORATION
                                       Page 57
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1618 MERMAID AVE
BROOKLYN, NY 11224

ASTERIX GROUP INC
2339 3RD ST #41
SAN FRANCISCO, CA 94107
ASTOR LITTLE LEAGUE INC
2542 WESTERVELT AVE
BRONX, NY 10469
ASUC RESERVATIONS
400 ESHLEMAN HALL MC #4500
UNIVERSITY OF CALIFORNIA
BERKELEY, CA 94720-4500

ASYLUM CONCEPTS INC
2581 E MOYER DR
TERRE HAUTE, IN 47802

AT & T SERVICES INC
PO BOX 5001
CAROL STREAM, IL 60197
AT & T SERVICES INC
PO BOX 5011
CAROL STREAM, IL 60197

AT & T SERVICES INC
PO BOX 5016
CAROL STREAM, IL 60197
AT GOAL
DBA WEIGHT WATCHERS
PO BOX 12640
CHARLESTON, SC 29422-9952
AT SYSTEMS INC
PO BOX 90131
PASADENA, CA 91109-0131

AT SYSTEMS INC
PO BOX 90178
PASADENA, CA 91109-0178
AT& T
AT & T SERVICES INC
PO BOX 660324
DALLAS, TX 75266-0324
AT& T
AT & T SERVICES INC
SBC PACIFIC BELL
PO BOX 8100
AURORA, IL 60507-8100
AT& T
AT&T WIRELESS
PO BOX 13134
NEWARK, NJ 07101-5634

AT& T SERVICES INC
AT & T SERVICES INC
                                      Page 58
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SBC INTERNET SERVICES
PO BOX 910439
DALLAS, TX 75391-0439
AT& T SERVICES INC
AT & T SERVICES INC
PO BOX 13128
NEWARK, NJ 07101

AT&T
AT&T WIRELESS
PO BOX 277019
ATLANTA, GA 30384-7019
AT&T
AT&T WIRELESS
PO BOX 78114
PHOENIX, AZ 85062-8114
AT&T
AT&T WIRELESS
PO BOX 78152
PHOENIX, AZ 85062-8152
AT&T
AT&T WIRELESS
PO BOX 78225
PHOENIX, AZ 85062-8225

AT&T
AT&T WIRELESS
PO BOX 830018
BALTIMORE, MD 21283-0018

AT&T
AT&T WIRELESS
PO BOX 13148
NEWARK, NJ 07101

AT&T
FORMERLY SOUTHWESTERN BELL
PO BOX 650502
DALLAS, TX 75265-0502

AT&T
PAYMENT CENTER
SACRAMENTO, CA 95887-0001

AT&T
PO BOX 630047
DALLAS, TX 75263-0047
AT&T
PO BOX 650661
DALLAS, TX 75265-0661
AT&T
PO BOX 78522
PHOENIX, AZ 85062-8522
AT&T
PO BOX 930170
DALLAS, TX 75393-0170
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AT&T CAPITAL SERVICES INC
13160 COLLECTIONS CENTER DR
CHICAGO, IL 60693
AT&T CONSUMER LEASE SERVICES
AT&T WIRELESS
PO BOX 78973
PHOENIX, AZ 85062-8973

AT&T CORP
AT&T WIRELESS
PO BOX 78045
PHOENIX, AZ 85062-6045

AT&T CORP
AT&T WIRELESS
PO BOX 830120
BALTIMORE, MD 21283-0120

AT&T CORP
AT&T WIRELESS
PO BOX 13142
NEWARK, NJ 07101

AT&T CORPORATION
AT&T WIRELESS
PO BOX 1640
DENVER, CO 80201-1640

AT&T LONG DISTANCE
SBC LONG DISTANCE
PO BOX 660688
DALLAS, TX 75266-0688

AT&T MOBILITY
CINGULAR WIRELESS LLC
PO BOX 6463
CAROL STREAM, IL 60197-6463
AT&T MOBILITY II LLC
CINGULAR WIRELESS LLC
NATIONAL BUSINESS SERVICES
PO BOX 78405
PHOENIX, AZ 85062-8405
AT&T TELECONFERENCE SERVICES
AT&T WIRELESS
PO BOX 2840
OMAHA, NE 68103-2840
AT&T WIRELESS
PAUL SWITZER
1 AT&T WAY
BEDMINSTER, NJ 07921
ATA TITLE
2850 CUTTER GROVE AVE #205
ANOKA, MN 55303
ATASCADERO CHAMBER OF COMMERCE
6550 EL CAMINO REAL
ATASCADERO, CA 93422
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ATHLETIC AWARDS CO INC
817 REPUBLICAN
SEATTLE, WA 98109-4715
ATHLETICS INVESTMENT GROUP LLC
OAKLAND ATHLETICS BASEBALL CO
NETWORK ASSOCIATES COLISEUM
P.O. BOX 2220
OAKLAND, CA 94621
ATHOME FUNDING
2180 RINGWOOD AVE
SAN JOSE, CA 95131

ATKINSON-BAKER INC
500 N BRAND BLVD 3RD FL
GLENDALE, CA 91203-4725
ATLANTA BRAVES
755 HANK AARON DR SW
ATLANTA, GA 30315

ATLANTA BUSINESS CHRONICLE
THE BUSINESS JOURNAL
PO BOX 36609
CHARLOTTE, NC 28254-3765

ATLANTA BUSINESS LEAGUE
931 MARTIN LUTHER KING JR DR
PO BOX 92363
ATLANTA, GA 30314

ATLANTA COMMUNITY FOOD BANK INC
732 JOSEPH E LOWERY BLVD NW
ATLANTA, GA 30318
ATLANTA HOUSING ASSOC OF
NEIGHBORHOOD BASED DEVELOPERS
633 PRYOR ST
PO BOX 11387
ATLANTA, GA 30312
ATLANTA JOURNAL
CONSTITUTION & NEWS FOR KIDS
ATTN CASHIER
PO BOX 4689
ATLANTA, GA 30302-4689

ATLANTA MUTUAL HOUSING
ASSOCIATION INC
1720 PEACHTREE ST #929
ATLANTA, GA 30309

ATLANTA NEIGHBORHOOD
DEVELOPMENT PARTNERSHIP INC
235 PEACHTREE ST NE #2000
ATLANTA, GA 30303
ATLANTA PRIDE COMMITTEE INC
2300 HENDERSON MILL RD #125
ATLANTA, GA 30345

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ATLANTA TRIBUNE THE MAGAZINE
875 OLD ROSWELL RD #C-100
ROSWELL, GA 30076-1660
ATLANTA URBAN LEAGUE
100 EDGWWOOD AVE NE #600
ATLANTA, GA 30303
ATLANTA WOMEN'S NETWORK INC
ATLANTA WOMEN&#39S NETWORK INC
1188 DORBY PARK DR
ATLANTA, GA 30319
ATLANTA WORKFORCE DEVELOPMENT
BOARD INC
818 POLLARD BLVD
ATLANTA, GA 30315
ATLANTIC BONDING COMPANY INC
NOTARY DIVISION
PO BOX 11901
FT LAUDERDALE, FL 33339-9976

ATLANTIC CREDIT FOUNDATION INC
3 GLEN HILL CT
DIX HILLS, NY 11746
ATLAS & HALL LLP
ATTORNEYS AT LAW
PRFESSIONAL ARTS BLDG 818 PECAN
PO BOX 3725
MCALLEN, TX 78502-3725

ATLAS DELIVERY SERVICE
PO BOX 924153
HOUSTON, TX 77292-4153
ATLAS FINANCIAL SERVICES
PO BOX 17247
PORTLAND, OR 97217

ATLAS MEDICAL INTERNATIONAL INC
5301 N FEDERAL HIGHWAY #380
BOCA RATON, FL 33487
ATLAS VAN LINES INC
PO BOX 952340
ST LOUIS, MO 63195-2340

ATLAS WELDING SUPPLY INC
1224 SIXTH ST
BERKELEY, CA 94710
ATTA ARGHANDIWAL
2526 BERRYESSA CT
TRACY, CA 95304

ATTORNEY GENERAL OF THE STATE OF NEW YORK
[Address to Be Provided]
ATTORNEYS AT LAW BERRY HELLER &
WILSON PTR
DBA BERRY & ASSOCIATES ESCROW
                                       Page 62
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2751 BUFORD HWY #400
ATLANTA, GA 30324

AUBLE JOLICOEUR & GENTRY
107 S HOWARD #300
SPOKANE, WA 99201
AUBURN CHAMBER OF COMMERCE
108 S DIVISION ST #B
AUBURN, WA 98001-5305
AUDIO VISUAL FACTORY
8011 S 187TH ST
KENT, WA 98032

AUDIO VISUAL SERVICES GROUP
DBA PSAV PRESENTATION SERVICES
1700 E GOLF RD #400
SCHAMBURG, IL 60173

AUDITOR OF STATE-ARKANSAS
UNCLAIMED PROPERTY DIVISION
1400 W 3RD ST #100
LITTLE ROCK, AR 72201-1811

AUDREY GAILEY FORSBERG
2550 FARREL DR #305
COLUMBUS, OH 43235

AUGUSTO A YAP
GUS PARKING & COURIER SVCS
112 ABELIA WAY
E PALO ALTO, CA 94303-2617

AURIEMMA CONSULTING GROUP INC
1400 OLD COUNTRY RD #201
WESTBURY, NY 11590

AURORA CHAMBER OF COMMERCE
562 SABLE BLVD #200
AURORA, CO 80011-0809

AURORA COLLECTION BUREAU
2442 S DOWNING ST
DENVER, CO 80210
AURORA HISPANIC
CHAMBER OF COMMERCE
PO BOX 7111
AURORA, IL 60507
AURORA LEASING OF ILLINOIS INC
8704 WEST 98TH PL
PALOS HILLS, IL 60465
AUSLAN INC
DBA THE REAL ESTATE BOOK
PO BOX 4908
LANCASTER, CA 93534
AUSTIN ASIAN AMERICAN CHAMBER
OF COMMERCE
10901 N LAMAR BLVD #B206
                                      Page 63
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AUSTIN, TX 78753
AUSTIN BAR ASSOCIATION
816 CONGRESS AVE #700
AUSTIN, TX 78701

AUSTIN CHDO ROUNDTABLE
207 CHAIMERS AVE
AUSTIN, TX 78702

AUSTIN CITY LIMITS
MUSIC FESTIVAL
98 SAN JACINTO BLVD #430
AUSTIN, TX 78701

AUSTIN COMMUNITY COLLEGE
DBA ACC OFFICE OF STUDENT LIFE
1212 RIO GRANDE
AUSTIN, TX 78701

AUSTIN COMMUNITY FOUNDATION
FOR THE CAPITAL AREA
PO BOX 5159
AUSTIN, TX 78763

AUSTIN CREEK ELEM PARENTS CLUB
ATTN: SILENT AUCTION COMMITTEE
1480 SNOWY EGRET DR
SANTA ROSA, CA 95409

AUSTIN LOGISTICS INC
BOX 200237
PITTSBURGH, PA 15251-0237

AUSTIN NOTO PLANTS INC
WEST VILLAGE STATION
PO BOX 20189
NEW YORK, NY 10014-9998

AUTHOR IT SOFTWARE CORP LTD
PO BOX 300-273
ALBANY AUCKLAND,    NEW ZEALAND
AUTHORIA, INC.
[Address to Be Provided]
AUTISM SPEAKS
2 PARK AVE 11TH FL
NEW YORK, NY 10016
AUTODESK
PO BOX 894229
LOS ANGELES, CA 90189-4229

AUTOMATED BUSINESS MACHINES INC
AUTOMATED BUSINESS SERVICES
2282 ATLANTIC BLVD
PO BOX 5266
JACKSONVILLE, FL 32247-5266
AUTOMATED INTERNET
TECHNOLOGIES INC
15061 SPRINGDALE ST #201
                                       Page 64
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HUNTINGTON BEACH, CA 92649
AUTOMATED SIGNATURE TECHNOLOGY
112 OAK GROVE RD #107
STERLING, VA 20166

AUTOMATED TELLER ACCESSORIES
ATA SERVICES
LB 7329
PO BOX 9438
MINNEAPOLIS, MN 55440-9438
AUTRY MUSEUM OF
WESTERN HERITAGE
4700 WESTERN HERITAGE WAY
LOS ANGELES, CA 90027-1462

AUTSIM SPECTRUM TREATMENT AND
RESEARCH CENTER
400 BOREN AVE N
SEATTLE, WA 98109

AUTUMN INFORMATION SYSTEM INC
711B CHARCOT AVE
SAN JOSE, CA 95131

AVALON ENVIRONMENTAL
CONSULTANTS INC
131 N TUSTIN AVE #213
TUSTIN, CA 92780

AVALON MORTGAGE
4293 SUMMERHAVEN DR
NEW PALESTINE, IN 46163

AVALON TENT & PARTY
7391 LAMPSON AVE
GARDEN GROVE, CA 92841

AVANADE INC
24104 NETWORK PLACE
CHICAGO, IL 60673-1241
AVATAR FOODS INTERNATIONAL INC
AVATAR FOODS INTERNATIONAL
DBA GLOBAL GOURMET CATERING
1030 ILLINOIS STREET
SAN FRANCISCO, CA 94107

AVAYA INC
PO BOX 5125
CAROL STREAM, IL 60197-5125
AVAYA INC
PO BOX 5332
NEW YORK, NY 10087-5332

AVAYA INC
211 MOUNT AIRY RD
BASKING RIDGE
NJ, 07920 908-953-6000
AVENEL & COLONIA FIRST AID
                                      Page 65
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SQUAD
105 AVENEL ST
AVENEL, NJ 07001
AVENEL FIRE CO
PO BOX 398
AVENEE, NJ 07001
AVENTURA MARKETING COUNCIL
20900 NE 30TH AVE #410
AVENTURA, FL 33180
AVENTURA SUNNY ISLES
CHAMBER OF COMMERCE
20533 BISCAYNE BLVD #536
AVENTURA, FL 33180

AVENUE A RAZORFISH INC
DEPT CH 17444
PALANTINE, IL 60055-7444
AVENUE A RAZORFISH LLC
AVENUE A RAZORFISH INC
DEPT CH 17218
PALATINE, IL 60055-7218

AVENUE COMMUNITY DEVT CORP
2505 WASHINGTON #400
HOUSTON, TX 77007

AVERETEK INC
21520 30TH DR SE #105
BOTHELL, WA 98021

AVICODE INC
890 AIRPORT PARK RD #100
BALTIMORE, MD 21061

AVIS RENT A CAR SYSTEM INC
7876 COLLECTIONS CTR DR
CHICAGO, IL 60693

AVMETRICS LLC
650 COCHRAN ST #10
SIMI VALLEY, CA 93065
AVONDALE POLICE DEPARTMENT
ATTN ALARM COORDINATOR
11485 W CIVIC CENTER DR
AVONDALE, AZ 85323
AVOTUS INC
PO BOX 673907
DETROIT, MI 48267-3907
AWAC
27 RICHMOND RD.
PEMBROKE HM 08
HAMILTON,   BERMUDA
AWARDS & BEYOND INC
2804 JENNIE WELLS
MANSFIELD, TX 76063
                                      Page 66
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
AWARDS CO
424 NORD AVE
CHICO, CA 95926
AWS, A SUBSIDIARY OF AT & T WIRELESS
[Address to Be Provided]
AXIOM CONSTRUCTION CO INC
18205 CHISHOLM TR #A
HOUSTON, TX 77060
AXIS FINANCIAL LLC
100 W HARRISON N TOWER #270
SEATTLE, WA 98119

AZUSA POLICE DEPARTMENT
725 N ALAMEDA AVE
AZUSA, CA 91702

B & B PORTFOLIO JV LLC
200 STATE ST 5TH FLR
BOSTON, MA 02109
B & D APPRAISERS & CONSLTS INC
DBA AUCAMP DELLENBACK & WHITNEY
3998 FAU BLVD #300
BOCA RATON, FL 33431

B & H FOTO & ELECTRONICS CORP
DBA B & H PHOTO VIDEO PRO AUDIO
420 9TH AVE
NEW YORK, NY 10001

B A CONSULTANTS INC
74 5TH AVE
BROOKLYN, NY 11217

B F VAN RIJN & ASSOCIATES INC
PO BOX 859
BONSALL, CA 92003-0859

B H CENTRAL LLC
PO BOX 49993
LOS ANGELES, CA 90049
B SQUARED INC
104 W 29TH ST 7TH FL
NEW YORK, NY 10001
B&N MEDIA INC
DBA MI BARRIO LATINO MAGAZINE
1932 DREW ST #3
CLEARWATER, FL 33765
BABAD MANAGEMENT CO LLC
1531 57TH ST
BROOKLYN, NY 11219
BABES CHICKEN DINNER HOUSE
DBA BUBBAS & BABES CATERING
1006 W MAIN ST
CARROLLTON, TX 75006
                                       Page 67
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
BABYLAND FAMILY SERVICES INC
755 S ORANGE AVE
NEWARK, NJ 07106
BABYLON LIONS CLUB
PO BOX 46
BABYLON, NY 11702

BAC EDUCATION FOUNDATION
1150 S FRWY #106
FORT WORTH, TX 76104
BACALSKI & OTTOSON
402 W BROADWAY 24TH FL
PO BOX 120270
SAN DIEGO, CA 92112-0270
BACKWAGE INC
FEDERAL WAGE AND LABOR
LAW INSTITUTE
PO BOX 678123
DALLAS, TX 75267-8123
BACON BOWL CHARITIES
BACON BOWL ASSOCIATION
5242 CALIFORNIA AVE SW
SEATTLE, WA 98136

BACON EQUIPMENT COMPANY
2709 N BECKLEY
DALLAS, TX 75208

BADGER MORTGAGE SERVICES, LLC
5936 SEMINOLE CENTRE CT. ST
MADISON, WI 53711
BADHAM & BUCK LLC
2585 WACHOVIA TOWER
420 20TH ST NORTH
BIRMINGHAM, AL 35203

BAGMASTERS
PO BOX 78676
CORONA, CA 92877-0155
BAILEY PUBLISHING &
COMMUNICATION INC
10 N NEWNAN ST #B
JACKSONVILLE, FL 32202
BAINES TITLE CO INC
PO BOX 626
OKANOGAN, WA 98840
BAKER HILL
12900 NORTH MERIDIAN SUITE 200
CARMEL, IN 46032
BAKER MILLER MARKOFF & KRASNY
29 N WACKER DRIVE 5TH FL
CHICAGO, IL 60606-2840

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BAKER MILLER MARKOFF & KRASNY
29 N WACKER DR 5TH FL
CHICAGO, IL 60606
BAKER STERCHI COWDEN & RICE LLC
2400 PERSHING RD #500
KANSAS CITY, MO 64108-2533
BAKERSFIELD ASSN OF REALTORS
PO BOX 9338
4800 STOCKDALE HWY #100
BAKERSFIELD, CA 93389-9338
BAKERSFIELD CITY SCHOOL
DISTRICT EDUCATION FOUNDATION
1300 BAKER ST
BAKERSFIELD, CA 93305
BAKERSFIELD JAM
1400 NORRIS RD
BAKERSFIELD, CA 93308

BAKKA CORP
297 ACADEMY ST
JERSEY CITY, NJ 07306

BAKOS & KRITZER
147 COLUMBIA TURNPIKE
FLORHAM PARK, NJ 07932

BALANCE CONSULTING INC
1995 HIGHLAND DR
ANN ARBOR, MI 48108

BALCH & BINGHAM LLP
PO BOX 306
BIRMINGHAM, AL 35201

BALIWICK REPERTORY
1229 W BELMONT AVE
CHICAGO, IL 60657

BALL & WEED ATTORNEYS AT LAW
10001 REUNION PLACE BLVD #600
SAN ANTONIO, TX 78216
BALLARD BLOSSOM INC
PO BOX 70587
SEATTLE, WA 98107
BALLARD CHAMBER OF COMMERCE INC
2208 NW MARKET ST
SEATTLE, WA 98107

BALLARD SPAHR ANDREWS
AND INGERSOL LLP
1735 MARKET ST 51ST FL
PHILADELPHIA, PA 19103-7599
BALLOON EMPORIUM & PARTY STORE
2525 E FOOTHILL BLVD #5
PASADENA, CA 91107

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BALLOON HAVEN
13867 CENTRAL AVE
CHINO, CA 91710
BALLOONATICS
180 DILLON AVE
CAMPBELL, CA 95008
BALSZ SCHOOL DISTRICT #31
ORANGEDALE ELEMENTARY SCHOOL
5048 E OAK ST
PHOENIX, AZ 85008
BALTIMORE COUNTY MD
PO BOX 64281
BALTIMORE, MD 21264-4281

BALUSTER DOCUMENT SERVICES LLC
DBA SOUND LEGAL COPY
1418 3RD AVE #200
SEATTLE, WA 98101

BAMBERGER FOREMAN OSWALD AND
HAHN LLP
7TH FLOOR HULMAN BUILDING
PO BOX 657
EVANSVILLE, IN 47704

BAME DEVELOPMENT CORP
OF SOUTH FLORIDA
245 NW 8TH ST
MIAMI, FL 33136

BANC OF AMERICA SECURITIES LLC
ATTN: LOCKBOX COMPETITIVE
REMARKETING FILE #73852
PO BOX 6000
SAN FRANCISCO, CA 94160-3852

BANCO POPULAR
9600 W BRYN MAWR
ROSEMONT, IL 60018
BANCPLUS HOME MORTGAGE CENTER
2699 E OAKLAND PARK BLVD #C
FT LAUDERDALE, FL 33306

BANG ADVERTISING INC
101 E PARK BLVD #600
PLANO, TX 75074
BANK ADMINISTRATION INSTITUTE
6028 EAGLE WY
CHICAGO, IL 60678-1060
BANK INSURANCE & SECURITIES ASC
303 W LANCASTER AVE #2D
WAYNE, PA 19087
BANK OF AMERICA
ADJUSTMENT DEPT TX 1 945 02 01
PO BOX 830401
DALLAS, TX 75283-0401
                                       Page 70
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BANK OF AMERICA
ATTN DISPUTE RESOLUTION SRVCS
PO BOX 53137
PHOENIX, AZ 85072-9317

BANK OF AMERICA
ATTN RESEARCH & ADJTS DEPT 4090
PO BOX 3609
MAIL CODE CA9-705-05-15
LOS ANGELES, CA 90051
BANK OF AMERICA
ATTN TAMMY IANNONE
MC NY7 5010115 RETURN ITEM DEPT
5701 HORATIO ST
UTICA, NY 13502-1017
BANK OF AMERICA
401 N TRYON ST
CHARLOTTE, NC 28255-0001

BANK OF AMERICA
PO BOX 1569
COLUMBUS, OH 43216-1569

BANK OF AMERICA
1000 SAMOSET DR
MS DE5-015-01-03
WILMINGTON, DE 19884

BANK OF AMERICA
10850 WHITE ROCK RD
RANCHO CARDOVA, CA 95670

BANK OF AMERICA
500 OLIVE WAY
SEATTLE, WA 98101

BANK OF AMERICA
655 PAPER MILL RD
MAILSTOP DE5-011-01-07
NEWARK, DE 19711

BANK OF AMERICA
70 PATTERSON PARK RD
FARMINGTON, CT 06032

BANK OF AMERICA
REF 111 22JUN06
1455 MARKET ST
SAN FRANCISCO, CA 94103
BANK OF NEW YORK
THE BANK OF NEW YORK
CORP TRUST BILLING DEPT
PO BOX 19445A
NEWARK, NJ 07195-0445
BANK OF NEW YORK
THE BANK OF NEW YORK
ATTN EVEYLYN MCMILLAN
UIT 12TH FL
                                       Page 71
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
2 HANSON PL
BROOKLYN, NY 11217

BANK OF NEW YORK MELLON
[Address Information Redacted]

BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286
BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286

BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286
BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286

BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286

BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286

BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286

BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286
BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286
BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286
BANK OF NEW YORK, TRUSTEE (SUCCESSOR TO HARRIS TRUST AND SAVINGS)
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286

BANK OF NEW YORK, TRUSTEE (SUCCESSOR TO HARRIS TRUST AND SAVINGS)
CORPORATE TRUST ADMINISTRATION
                                      Page 72
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101 BARCLAY STREET, 8W
NEW YORK, NY 10286

BANK OF NEW YORK, TRUSTEE (SUCCESSOR TO HARRIS TRUST AND SAVINGS)
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286
BANK OF OKLAHOMA
RETURNED ITEMS
6242 E 41ST ST
TULSA, OK 74135
BANK OF THE WEST
JEAN-MILAN GIVADINOVITCH
180 MONTGOMERY ST #25-A
SAN FRANCISCO, CA 94104
BANKERS EXCHANGE
PO BOX 534452
ATLANTA, GA 30353-4452

BANKING SPECTRUM INC
70 W 36TH ST #604
NEW YORK, NY 10018

BANKLINK INC
FISERV SOLUTIONS INC
75 REMITTANCE DR #1743
CHICAGO, IL 60675-1743

BANKOPOL INC
806 HIGGINS RD
PARK RIDGE, IL 60068

BANKRATE INC
11760 US HWY 1 #200
N PALM BEACH, FL 33408-3003

BANKSON GROUP LTD
DBA ALAMO TEES & ADVERTISING
12814 COGBURN AVE
SAN ANTONIO, TX 78249

BANKSTON & RICHARDSON LLP
ATTORNEYS AT LAW
400 W 15TH ST #710
AUSTIN, TX 78701

BANNER BEDDING INC
DBA BANNER MATTRESS
475 PALMYRITA AVE
RIVERSIDE, CA 92507

BANNERDIRECT INC
ROCKEFELLER CENTER
630 FIFTH AVE #2109
NEW YORK, NY 10111
BANQUETS TO BARBEQUES DBA
LITTLE LOUS BBQ
15466 LOS GATOS BLVD
LOS GATOS, CA 95032
                                      Page 73
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
BANTEK WEST INC
PO BOX 712142
CINCINNATI, OH 45271-2142
BAR AOC OF SAN FRANCISCO
BAR ASSOC OF SAN FRANCISCO
ESP BASF
EARLY SETTLEMENT PROGRAM
301 BATTERY ST 3RD FL
SAN FRANCISCO, CA 94111
BARATS APPRAISAL SERVICES INC
3 MONROE PKWY #P-432
LAKE OSWEGO, OR 97035

BARBARA ALEXANDER
[Address to Be Provided]
BARBARA GARCIA
SCHERR & LEGATE PLLC
109 N OREGON 12TH FLR
EL PASO, TX 79901
BARBARA MITCHELL DBA
GUARANTEED GREEN
6155 WILD HORSE PL
PASO ROBLES, CA 93446

BARBARA ROCKER
DBA COASTLINE PROMOTIONS
201 TREDWELL AVE
ST JAMES, NY 11780

BARBARA SCOTT HANCOCK
33 TANGLEWOOD DR
DURANGO, CO 81301

BARBARA WALKER
LAW OFFICES OF DAN HOGUE
180 S LAKE AVE #238
PASADENA, CA 91101
BARBARAS OAK GLEN FLORIST
MORNING GLORY FLOWER SHOP
1822 GLENVIEW RD
GLENVIEW, IL 60025

BARBRA R JOYNER
PO BOX 568983
ORLANDO, FL 32856-8983
BARCLAY DEAN INTERIORS
PO BOX 3827
BELLEVUE, WA 98009
BARCOL FINANCIAL CORP
SADDLEBACK MORTGAGE
20532 EL TORO RD #203
MISSION VIEJO, CA 92692

BARGER & WOLEN LLP
633 W 5TH ST 47TH FL
                                     Page 74
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LOS ANGELES, CA 90071-2043
BARKLEY COURT REPORTERS
FILE NO 50217
LOS ANGELES, CA 90074-0217

BARKLEY LAW FIRM
PO BOX 55849
JACKSON, MS 39296

BARLOW RESEARCH ASSOCIATES INC
917 LILAC DR N
MINNEAPOLIS, MN 55422-4615
BARNES & COMPANY INC
6210 4TH PARALLEL RD
ELLENSBURG, WA 98926
BARNES & NOBLE INC
ATTN ACCOUNTS RECEIVABLE
76 9TH AVE 9TH FL
NEW YORK, NY 10011

BARNES & THORNBURG LLP
600 1ST SOURCE BANK CENTER
100 N MICHIGAN
SOUTH BEND, IN 46601-1632

BARNETT SIVON & NATTER PC
1155 15TH ST NW #1101
WASHINGTON, DC 20005
BARONA TRIBAL GAMING AUTHORITY
DBA BARONA VALLEY RANCH CASINO
1932 WILDCAT CANYON RD
LAKESIDE, CA 92040
BARRATT MORTGAGE COMPANY INC
A DELAWARE CORPORATION
5950 PRIESTLY DR #101
CARLSBAD, CA 92008

BARRETT BURKE WILSON CASTLE
DAFFIN & FRAPPIER
15000 SURVEYOR BLVD #100
ADDISON, TX 75001

BARRIO ACTION YOUTH & FAMILY
CENTER
200 N SPRING ST RM 465
LOS ANGELES, CA 90012
BARRIO LOGAN COLLEGE INSTITUTE
1807 MAIN ST
SAN DIEGO, CA 92113
BARRISH PELHAM & ASSOCIATES INC
3001 E ST
SACRAMENTO, CA 95816
BARRON & STADFELD PC
100 CAMBRIDGE ST #1310
BOSTON, MA 02114
                                       Page 75
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BARRON MORTGAGE GROUP INC
26 23RD ST 6TH FL
NEW YORK, NY 10010
BARRY FELDMAN
30180 TELEGRAPH RD #300
BINGHAM FARMS, MI 48025

BARRY N HIMEL
14501 33RD DR SE
MILL CREEK, WA 98012
BARRY N SUGAR
501 LINWOOD DR #2G
FORT LEE, NJ 07024

BARRY SOLOF
[Address to Be Provided]

BARTELL HOTELS
DBA THE DANA ON MISSON BAY
1710 W MISSON BAY DR
SAN DIEGO, CA 92109

BARTLETT BENDALL & KADESH LLC
ERIS GROUP
ATTN AMY BOULDIN
1101 16TH ST NW #400
WASHINGTON, DC 20036

BARTOLI RESTAURANT & PIZZA
DBA GINOS RESTAURANT
7414 5TH AVE
BROOKLYN, NY 11209

BASHAM PARKER LLP
701 UNIVERSITY AVE #220
SACRAMENTO, CA 95825
BASIC RIGHTS EDUCATION FUND
PO BOX 40625
PORTLAND, OR 97240

BASIN SUBS INC
625 MAIN ST
KLAMATH FALLS, OR 97601

BASS BERRY & SIMS PLC
AMSOUTH CENTER
315 DEADERICK ST #2700
NASHVILLE, TN 37238-3001
BASTROP COUNTY CLERK
803 PINE ST
BASTROP, TX 78602

BATTLE GROUND
CHAMBER OF COMMERCE
2210 W MAIN ST #107 BOX 345
BATTLE GROUND, WA 98604
BATZER INC
                                      Page 76
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PO BOX 4460
MEDFORD, OR 97501

BAUDVILLE INC
5380 52ND ST SE
GRAND RAPIDS, MI 49512
BAUER REED & ASSOC
DBA HEMISPHERERS
4703 BALLARD AVE NW STUDIO A
SEATTLE, WA 98107
BAUTE & TIDUS LLP
801 S FIGUEROA ST #1100
LOS ANGELES, CA 90017

BAXTER DUNN SHERIFF
ATTN CIVIL DIVISION
7000 S MICHAEL CANLIS
FRENCH CAMP, CA 95231
BAXTER TITLE COMPANY
95 EXCHANGE ST
PO BOX 7740
PORTLAND, ME 04112

BAY AREA APARTMENT ASSOCIATION
6107B MEMORIAL HWY
TAMPA, FL 33615

BAY AREA CHAMBER OF COMMERCE
145 CENTRAL AVE
COOS BAY, OR 97420

BAY AREA COUNCIL
201 CALIFORNIA ST #1450
SAN FRANCISCO, CA 94111

BAY AREA SIGN UPS INC
PO BOX 2522
MILL VALLEY, CA 94942

BAY AREA TRANSPORTATION SVCS
PO BOX 5072
WALNUT CREEK, CA 94596
BAY COLONY ELEMENTARY
101 BAY COLONY ELEMENTARY DR
LEAGUE CITY, TX 77539
BAY FINANCIAL COMPANY
VLADIMIR MOZESON
220 BALDWIN AVENUE
SAN MATEO, CA 94401
BAY SHORE UNION FREE
SCHOOL DISTRICT
75 W PARKAL ST
BAY SHORE, NY 11706
BAY VALLEY MORTGAGE GROUP
2041 MISSION COLLEGE BLVD # 110
SANTA CLARA, CA 95054
                                       Page 77
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BAY VIEW FUNDING
FOR THE ACCT OF J & V CATERING
PO BOX 881774
SAN FRANCISCO, CA 94188-1774

BAYONE REAL ESTATE INVESTMENT
1754 TECHNOLOGY DR #108
SAN JOSE, CA 95110

BAYPORTE FINANCIAL
969 E EDGEWATER BLVD
FOSTER CITY, CA 94404
BAYSIDE PLAZA
700 AIRPORT BLVD
BURLINGAME, CA 94010
BAYSIDE PRINTED PRODUCTS
430 N CANAL ST #9
SOUTH SAN FRANCISCO, CA 94080

BAYVIEW RESIDENTIAL BROKERAGE
1190 S BASCOM AVE #108
SAN JOSE, CA 95128

BB&T SIGN SERVICES
16212 BOTHELL EVERETT HWY #F239
MILL CREEK, WA 98012

BCA PUBLICATIONS LTD
1002 SHERBROOKE ST W #1600
MONTREAL, QC H3A 3L6 CANADA

BCS VALUATIONS INC
255 EXECUTIVE DR #205
PLAINVIEW, NY 11803

BEA SYSTEMS INC
7074 COLLECTION CENTER DRIVE
CHICAGO, IL 60693

BEACH CONCERTS, INC.
[Address to Be Provided]
BEALL & BIEHLER
6715 ACADEMY RD NE
ALBUQUERQUE, NM 87109

BEAR STEARNS PRICING DIRECT LLC
383 MADISON AVE
NEW YORK, NY 10179
BEARING POINT
DEPT AT 40297
ATLANTA, GA 31192-0297

BEARINGPOINT, INC.
[Address to Be Provided]
BEASLEY & WILLIAMS LLP
6935 HILLCREST AVE
DALLAS, TX 75205
                                       Page 78
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BEATRIX KASTEN
5941 MCANDREW DR
OAKLAND, CA 94611
BEAUMONT & MATTHES INC
603 HILLCREST ST
ORLANDO, FL 32803

BEAVERTON AREA
CHAMBER OF COMMERCE
12655 SW CENTER ST #140
BEAVERTON, OR 97005
BEAVERTON BAKERY INC
12375 SW BROADWAY
BEAVERTON, OR 97005
BEAVERTON POLICE DEPT
PO BOX 4755
BEAVERTON, OR 97076

BEAVEX INC
ACCOUNTS RECIEVABLE DEPT
PO BOX 52619
ATLANTA, GA 30355
BEAVEX INC
3715 NORTHSIDE PKWY
NORTH CREEK BUILDING 200 #300
ATLANTA, GA 30327
BECK & GIVEN PC
5915 SILVER SPRINGS DR BLDG 4
EL PASO, TX 79912

BECKER CPA REVIEW CORP
ATTN ROBYN WILBERG
ONE TOWER LANE #1000
OAKBROOK TERRACE, IL 60181

BEDFORD POLICE DEPARTMENT
BEDFORD FIRE DEPARTMENT
2121 L DON DODSON DR
BEDFORD, TX 76021
BEDFORD STUYVESANT
RESTORATION CORP
1368 FULTON ST
BROOKLYN, NY 11216-2635
BEELINE ACQUISITION CORP
ATTN CASH APPLICATION DEPT
1 INDEPENDENT DR #800
JACKSONVILLE, FL 32202
BEELINE GLASS CO INC
24689 MISSION BLVD
HAYWARD, CA 94544-1635
BEELING ACQUISITION CORP
[Address to Be Provided]

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BEL VINTAGE HOMEOWNERS ASSOC
C M S
PO BOX 45467
SAN FRANCISCO, CA 94145-0467
BELIN LAMSON MCCORMICK ZUMBACH
FLYNN
666 WALNUT #2000
DES MOINES, IA 50309-3989

BELIZE PARKFEST OF NEW YORK INC
436 4TH AVE
BROOKLYN, NY 11215
BELL GARDENS CHAMBER OF
COMMERCE
6006 SHULL ST
BELL GARDENS, CA 90201
BELLAQUA INC
251 PATERSON AVE
PO BOX 344
E RUTHERFORD, NJ 07073
BELLEVUE BOYS & GIRLS CLUB
209 100TH AVE NE
BELLEVUE, WA 98004

BELLEVUE PACIFIC CENTER LP
BPC GARAGE
188 106TH AVE NE #400
BELLEVUE, WA 98004

BELLEVUE SCHOOLS FOUNDATION
PO BOX 40644
BELLEVUE, WA 98105-4644
BELLINGHAM/WHATCOM CHAMBER
OF COMMERCE & INDUSTRY
PO BOX 958
BELLINGHAM, WA 98227

BELLSOUTH
BELLSOUTH TELECOMMUNICATIONS
PO BOX 105262
ATLANTA, GA 30348-5262

BELLSOUTH
BELLSOUTH TELECOMMUNICATIONS
PO BOX 70529
CHARLOTTE, NC 28272-0529
BELLSOUTH TELECOMMUNICATION INC
BELLSOUTH TELECOMMUNICATIONS
PO BOX 105503
ATLANTA, GA 30348-5503

BELLSOUTH TELECOMMUNICATIONS
AT & T PRO CABS
PO BOX 105373
ATLANTA, GA 30348
BELLSOUTH TELECOMMUNICATIONS
                                       Page 80
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
ATT GEORGIA
PO BOX 105414
ATLANTA, GA 30348
BELLSOUTH TELECOMMUNICATIONS
DBA AT&T
PO BOX 105262
ATLANTA, GA 30348

BELLSOUTH TELECOMMUNICATIONS
PO BOX 105320
ATLANTA, GA 30348-5320
BELLSOUTH TELECOMMUNICATIONS
PO BOX 33009
CHARLOTTE, NC 28243-0001

BELMONT ARTHUR LOCAL DEV CORP
660 E 183RD ST
BRONX, NY 10458
BEN D SHIRIAK ESQ
DBA SHIRIAK & TIMINS
ATTORNEYS AT LAW
101 GIBRALTAR DR #1E1
MORRIS PLAINS, NJ 07950
BEN E KING
STAND BY ME FOUNDATION
PO BOX 462
TEANECK, NJ 07666
BEN HYATT CSR LLC
DBA BEN HYATT CERTIFIED
DEPOSITION REPORTERS
17835 VENTURA BLVD #310
ENCINO, CA 91316

BEN REYNOLDS
214 EUCLID AVE
SEATTLE, WA 98122

BEN SELCHO
10227 SWALLOW AVE
FOUNTAIN VALLEY, CA 92708
BENCHMARK APPRAISAL
13240 NE 20TH ST #19B
BELLEVUE, WA 98005
BENCHMARK APPRAISAL INC
FOUNTAIN 9 MALL
2153 HWY 35
SEA GIRT, NJ 08750
BEND CHAMBER OF COMMERCE
777 NW WALL #200
BEND, OR 97701
BEND LOCK & SAFE INC
204 NE FRANKLIN AVE
BEND, OR 97701

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
BENDBROADBAND
PO BOX 7180
PASADENA, CA 91109-7180
BENEFIT RECOVERY PROGRAM
IDAHO COMMERCE AND LABOR
317 W MAIN ST
BOISE, ID 83735-0730

BENJAMIN BLAKEMAN
3055 WILSHIRE BLVD #405
LOS ANGELES, CA 90010
BENJAMIN F TURK
29 WIMBERLEY CT
DALLAS, TX 75229

BENJAMIN W TIPTON III
20 VIA MAGNALENA
LAFAYETTE, CA 94549
BENNETT TUELLER JOHNSON & DEERE
TRUST ACCOUNT
3165 MILLROCK DR #500
SALT LAKE CITY, UT 84121

BENNETTS BUSINESS SYSTEMS INC
PO BOX 6488
JACKSONVILLE, FL 32236-6488

BENNIE GRANDY
622 63RD ST
OAKLAND, CA 94609-1218

BENSONHURST WEST END COMMUNITY
COUNCIL
C/O CARMINE SANTAMARIA
2483 WEST 16TH ST
BROOKLYN, NY 11214
BENSUEN DEUTSCH & AOCIATES
BENSUSSEN DEUTSCH & ASSOC INC
15525 WOODINVILLE REDMOND RD NE
WOODINVILLE, WA 98072
BENSUSSEN DEUTSCH & ASSOCIATES
BENSUSSEN DEUTSCH & ASSOC INC
DEPT 119
PO BOX 34935
SEATTLE, WA 98124-1935
BERG TRADING INC
LIGHTHOUSE GAZETTE
PO BOX 7705
CAPISTRANO BEACH, CA 92624
BERGEN COUNTY RECORDER
ONE BERGEN COUNTY PLAZA
HACKENSACK, NJ 07601
BERGENFIELD POLICE DEPARTMENT
ALARM REGISTRATION PERMIT
198 N WASHINGTON AVE
                                       Page 82
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BERGENFIELD, NJ 07621
BERGQUIST SERVICES INC
6134 HOLLYWOOD BLVD
HOLLYWOOD, FL 33024

BERKELEY COOPERATIVE TOWERS
SECTION II CORP
52-40 39TH DR
WOODSIDE, NY 11377
BERKELEY PUBLIC
EDUCATION FOUNDATION
1835 ALLSTON WAY
BERKELEY, CA 94703

BERKELEY YACHT CLUB
1 SEAWALL DR
BERKELEY, CA 94710

BERLITZ LANGUAGE CENTER
520 112TH AVE NE #210
BELLEVUE, WA 98004
BERNADINE DUNAGAN
853 W MAYBERRY
HOMET, CA 92543

BERNAL HEIGHTS NEIGHBORHOOD CTR
515 CORTLAND AVE
SAN FRANCISCO, CA 94110
BERNARD L WEINER
CLIENT TRUST ACCOUNT
10940 WILSHIRE BLVD #1400
LOS ANGELES, CA 90024
BERNARD LILSE MATHEWS III
PO BOX 680264
HOUSTON, TX 77268-0264

BERRY H EDWARDS
PO BOX 1210
ANTHONY, TX 79821
BERT LEVY
707 N CRESCENT DR
BEVERLY HILLS, CA 90210

BESHEARS & ASSOCIATES INC
610 S ALBANY AVE
TAMPA, FL 33606
BEST BUY
PO BOX 5229
CAROL STREAM, IL 60197

BEST CREDIT SERVICES INC
PO BOX 6719
SHERWOOD, AR 72124-6719

BEST INSTRUMENTS LLC
PO BOX 501
                                       Page 83
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NICEVILLE, FL 32588
BEST OF BROOKLYN INC
209 JORALEMON ST #330
BROOKLYN, NY 11201

BEST SOFTWARE OF CALIFORNIA INC
DBA SAGE SOFTWARE
PO BOX 849887
DALLAS, TX 75284-9887
BEST TOOLS INC
PO BOX 428
BELLINGHAM, WA 98227

BEST-CAL MORTGAGE INC DBA
MORTGAGE WORLD
415 S MURPHY AVE
SUNNYVALE, CA 94086

BETA ALPHA PSI DELTA CHAPTER
UNIVERSITY OF WASHINGTON
MACKENZIE HALL
PO BOX 353200
SEATTLE, WA 98195

BETA ALPHA PSI-DELTA ETA CHPTR
SEATTLE UNIVERSITY - ASBE
900 BROADWAY
SEATTLE, WA 98122

BETH CHOULAS CONSULTING
1713 WHITE POND LANE
WAXHAW, NC 28173

BETH EL SYNAGOGUE CENTER
1324 NORTH AVE
NEW ROCHELLE, NY 10804

BETH GOLDFARB
BG DESIGN
10405 ALMAYO AVE #3
LOS ANGELES, CA 90064

BETH SMITH
HONG LAW PLC
101 2ND ST SE #600
CEDAR RAPIDS, IA 52406

BETH TORAH KOSHER CATERERS
106-06 QUEENS BLVD
FOREST HILLS, NY 11375
BETHANY CHRISTIAN SERVICES
2141B HOFFMEYER RD
FLORENCE, SC 29501-4077

BETHEL NEW LIFE
4950 W THOMAS ST
CHICAGO, IL 60651

BETSY ROSS FLAG GIRLS INC
11005 GARLAND RD
                                       Page 84
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DALLAS, TX 75218
BETTER CHINATOWN SOCIETY
315 GRAND ST #B1
NEW YORK, NY 10002

BETTER HOME LOANS INC
15332 ANTIOCH ST #193
PACIFIC PALISADES, CA 90272

BETTYE LOUISE WILKES
4807 SW GRAHAM ST
SEATTLE, WA 98136
BETZLER & COMPANY
5850 SAN FELIPE #500
HOUSTON, TX 77057
BEULAH BAPTIST CHURCH
2340 CLIFTON SPRINGS RD
DECATUR, GA 30034

BEVERLY DUANE
9416 ALEX DICKSON COVE
BARTLETT, TN 38133-0958

BEVERLY PARKER AND ANDREW L
CLARK PA
620 W 3RD ST #100
LITTLE ROCK, AR 72201

BEYOND SHELTER INC
1200 WILSHIRE BLVD #600
LOS ANGELES, CA 90017

BEYONDWORK INC
1754 TECHNOLOGY DR #227
SAN JOSE, CA 95110

BFR INC
DBA NEW AGE CONSTRUCTION SERVIC
440 TURNER RD
MCDONOUGH, GA 30252

BFT LP
DBA GREAT AMERICAN BUSINESS
PRODUCTS
PO BOX 4422
HOUSTON, TX 77210-4422
B-G FLYNN INC
DBA THE FLYNN GROUP
5354 E 2ND ST #279
LONG BEACH, CA 90803
BGI SHARED SERVICES
14297 COLLECTIONS CTR DR
CHICAGO, IL 60693
BGR ENTERPRISES INC
DBA BALLOONS OVER ATLANTA
739 TRABERT AVE NW
ATLANTA, GA 30318-4241
                                       Page 85
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BH MUSIC CENTER
BENAROYA HALL
PO BOX 21669
SEATTLE, WA 98111-3669

BHAVNA ASRANI
6507 PINE MEADOW CIRCLE
STOCKTON, CA 95219

BHR OPERATIONS LLC
BHR OPERATIONS LLC   DBA
DBA CROWNE PLAZA IRVINE
17941 VON KARMAN AVE
IRVINE, CA 92614

BI SCHOENECKERS INC
NW 5055
PO BOX 1450
MINNEAPOLIS, MN 55485-5055
BIBBY G PRODUCTIONS
DBA PARTIES THAT COOK
2109 BUSH ST
SAN FRANCISCO, CA 94105

BICKERDIKE REDEVELOPMENT CORP
2550 W NORTH AVE
CHICAGO, IL 60647

BICKERSTAFF HEATH DELGADO
ACOSTA LLP
816 CONGRESS AVE #1700
AUSTIN, TX 78701

BIDDLE CONSULTING GROUP INC
193 BLUE RAVINE RE #270
FOLSOM, CA 95630

BIEHL ET AL
CERTIFIED SHORTHAND REPORTERS
333 S ANITA DR #840
ORANGE, CA 92868

BIG BROTHERS AND BIG SISTERS
BIG BROTHERS BIG SISTERS OF
OF CENTRAL FLORIDA BREVARD
2450 MINTON RD
WEST MELBURNE, FL 32904
BIG BROTHERS BIG SISTERS
GREATER MIAMI
701 SW 27TH AVE #800
MIAMI, FL 33135
BIG BROTHERS BIG SISTERS
OF ORANGE COUNTY
14131 YORBA ST #200
TUSTIN, CA 92780
BIG BROTHERS BIG SISTERS OF
KING & PIERCE COUNTIES
1600 S GRAHAM ST
                                     Page 86
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SEATTLE, WA 98108
BIG BROTHERS BIG SISTERS OF
SOUTHWEST FLORIDA
8695 COLLEGE PKWY #230
FORT MYERS, FL 33919
BIG D CONSTRUCION CORP DBA
BIG D FASTRACK
404 W 400 S
SALT LAKE CITY, UT 84101
BIG SOLUTIONS INC
1761 W HILLSBORO BLVD #409
DEERFIELD BEACH, FL 33442-1563

BIGINK LLC
1021 6TH AVE S
SEATTLE, WA 98134

BIJOU HOLDINGS LLC
BIJOU MANAGEMENT LLC
500 FRANK BURR BLVD
TEANECK, NJ 07666

BILL EISNOR INC
14352 SW 142 AVENUE
MIAMI, FL 33186

BILL MURRAY
[Address Information Redacted]
BILL SMALL
26257 SE 162ND PL
ISSAQUAH, WA 98027

BILL STEINMETZ
[Address Information Redacted]

BILLIE HARDEE HOME FOR BOYS
PO BOX 617
DARLINGTON, SC 29540
BILLING SOLUTIONS INC
PO BOX 1136
GLENVIEW, IL 60025

BILLY D PRICE P C
5489 BLAIR RD #425
DALLAS, TX 75231
BINDVIEW CORPORATION
[Address to Be Provided]

BINGHAM MCCUTCHEN LLP
PO BOX 3486
BOSTON, MA 02241-3486

BINGHAM MCCUTCHEN LLP
PO BOX 70030
LOS ANGELES, CA 90074-0030
BINGHAM MCHALE LLP
                                      Page 87
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2210 RELIABLE PKWY
CHICAGO, IL 60686-0022

BIOHABITATS INCORPORATED
2081 CLIPPER PARK RD
BALTIMORE, MD 21211
BIOLA UNIVERSITY CAREER SVCS
13800 BIOLA AVE
LA MIRADA, CA 90639
BIRCHWOOD CREDIT SERVICES INC
PO BOX 266391
WESTON, FL 33326

BIRDIE ROSS
COXWELL & ASSOCIATES PLLC
500 N STATE ST
JACKSON, MS 39201

BISHOP ODOWD HIGH SCHOOL
9500 STEARNS AVE
OAKLAND, CA 94605
BISYS RETIREMENT SERVICES
DBA ASCENSUS
PO BOX 19020A
NEWARK, NJ 07195-0020

BIT BY BIT COMPUTER RENTALS INC
BIT-BY-BIT COMPUTERS INC
PO BOX 907
EUGENE, OR 97440

BIT-BY-BIT COMPUTERS INC
DBA SMARTSOURCE RENTALS
PAYMENT PROCESSING
PO BOX 907
EUGENE, OR 97440
BJS RESTAURANT & BREWHOUSE
11520 4TH ST
RANCHO CUCAMONGA, CA 91730

BL COMPANIES
PO BOX 845920
BOSTON, MA 02284-5920

BLACK BOARD DIRECTORS PROJECT
PO BOX 45107
PHOENIX, AZ 85064-5107
BLACK BOX CORPORATION
DBA BLACK BOX NETWORK SERVICES
21398 NETWORK PLACE
CHICAGO, IL 60673

BLACK BUSINESS ASSOCIATION
OF LOS ANGELES
PO BOX 43159
LOS ANGELES, CA 90043-9998
BLACK CAT BAR AND CAFE
                                       Page 88
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10056 MAIN ST
PENNGROVE, CA 94951

BLACK CHAMBER OF COMMERCE OF
PALM BEACH COUNTY INC
PO BOX 223356
WEST PALM BEACH, FL 33422
BLACK CHAMBER OF METROPOLITAN
FORT WORTH
1150 S FREEWAY #211
FORT WORTH, TX 76104
BLACK COLLEGE RESOURCES
750 N DIAMOND BAR BLVD #208
DIAMOND BAR, CA 91765

BLACK DIAMOND MORTGAGE INC
17W300 22ND ST
OAK BROOK, IL 60181
BLACK HILLS CHILDRENS RANCH INC
DBA PIONEER CREDIT & DEBT CONS
ATTN TIA JIRON
PO BOX 6860
RAPID CITY, SD 57709-6860
BLACK HISTORY MONTH
AWARDS COMMITTEE
PO BOX 6683
STOCKTON, CA 95206
BLACK KNIGHT SECURITY
PO BOX 791
ALLISON PARK, PA 15101

BLACK STALLION LITERACY
PROJECT INC
3081 ARABIAN NIGHTS BLVD
KISSIMMEE, FL 34747

BLACK UNITED FUND OF ILLINOIS
1809 E 71ST ST #200
CHICAGO, IL 60649
BLACKROCK FINANCIAL MGMT INC
PO BOX 533181
ATLANTA, GA 30353-3181

BLACKSTONE MORTGAGE CORP
100 CROSSWAYS PARK
W WOODBURY, NY 11797
BLANCA CONSTANTE
59 RUSSELL ST
CLIFTON, NJ 07011

BLANCA PAEZ
10000 SW 83ST
MIAMI, FL 33173

BLANK RECORD
[Address to Be Provided]
                                       Page 89
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BLANK ROME COMISKY & MCCAULEY
BLANK ROME LLP
LOCKBOX #8586
PO BOX 8500
PHILADELPHIA, PA 19178-8586
BLATT HASENMILLER LEIBSKER
& MOORE LLC
125 S WACKER DR #400
CHICAGO, IL 60606
BLAZERS YOUTH SERVICES
COMMUNITY CLUB INC
1517 W 48TH ST
LOS ANGELES, CA 90062

BLECHMAN FINANCIAL GROUP INC
NSB MORTGAGE
14362 FRNK LLYD WRGT BLVD #1000
SCOTTSDALE, AZ 85260

BLEU COTTON PHOTOGRAPHY INC
1901 NEWPORT BLVD #251E
COSTA MESA, CA 92627

BLEU ROYAL INC
LARRY ROTHMAN & ASSOC
CITY PLAZA
1 CITY BLVD WEST #850
ORANGE, CA 92868
BLICKMAN TURKUS LP
DBA TERRANOMICS RETAIL SERVICES
ATTN MIKE COSTA
1650 TECHNOLOGY DR #600
SAN JOSE, CA 95110

BLICKMAN TURKUS LP
NAI BT COMMERCIAL
ATTN ERICH SOLLMAN
1350 BAYSHORE HWY #900
BURLINGAME, CA 94010

BLISS ASSOCIATES INC
720 COMMERCE TOWER
911 MAIN ST
KANSAS CITY, MO 64105-2030

BLITT AND GAINES PC
661 GLENN AVE
WHEELING, IL 60090
BLOOM MURR & ACCOMAZZO PC
410 17TH ST #2400
DENVER, CO 80202

BLOOMBERG FINANCE LP
PO BOX 30244
HARTFORD, CT 06150-0244

BLOOMBERG LP
499 PARK AVE
                                       Page 90
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NEW YORK, NY 10022-1240
BLOOMBERG LP
PO BOX 30244
HARTFORD, CT 06150-0244

BLOOMFIELD FINANCIAL GROUP LLC
ROBERT W WARNER & ASSOCIATES
707 E MAPLE RD #102
TROY, MI 48083
BLOOMFIELD POLICE DEPT
RECORDS UNIT
1 MUNICIPAL PLAZA
BLOOMFIELD, NJ 07003

BLOOMS & BEARS
2222 MICHELSON DR #230
IRVINE, CA 92612

BLOSSOM HOUSE FLORIST
1003 EAST NEW HAVEN AVE
MELBOURNE, FL 32901
BLUE BELL FLOWER SHOPPE
1214 SKIPPACK PIKE
BLUE BELL, PA 19422

BLUE CHARLES PRODUCTIONS INC
6542 PALATINE AVE N
SEATTLE, WA 98103
BLUE COAT SYSTEMS INC
FILE 30803
PO BOX 60000
SAN FRANCISCO, CA 94160
BLUE CROSS OF CALIFORNIA
PO BOX 54010
LOS ANGELES, CA 90054-0010

BLUE CROSS OF CALIFORNIA
PO BOX 9041
OXNARD, CA 93031-9041
BLUE DOG BAKERS
6245 S PEPPERTREE AVE
BOISE, ID 83716

BLUE FIELD PRODUCTIONS
1033 N MENTOR AVE
PASADENA, CA 91104
BLUE STAR MEDIA LTD
ONE COWBOYS PKWY
IRVING, TX 75063

BLUE WATER PUBLISHERS LLC
22727 161ST AVE SE
MONROE, WA 98272

BLUE WILLIAMS LLP
3421 N CAUSEWAY BLVD 9TH FL
                                      Page 91
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METAIRIE, LA 70002-3760
BLUE WOODS MANAGEMENT GROUP INC
307 7TH AVE #604
NEW YORK, NY 10001

BLUEPRINT MORTGAGE INC
5963 LA PL CT #100
CARLSBAD, CA 92008

BLUES BY THE LAKE FOUNDATION
936B 7TH ST #351
NOVATO, CA 94945
BM REAL ESTATE SERVICES INC
PRIORITY FINANCIAL NETWORK
5016 PKWY CALABASAS #200
CALABASAS, CA 91302
BMC SOFTWARE DISTRIBUTION, INC.
[Address to Be Provided]

BMC SOFTWARE INC
PO BOX 201040
HOUSTON, TX 77216-1040

BMC SOFTWARE INC
PO BOX 201040
HOUSTON, TX 77216-1040

BMV DEBT & CREDIT COUNSELING
23123 HWY 441 #405
BOCA RATON, FL 33428

BNI
545 COLLEE COMMERCE WAY
UPLAND, CA 91786

BNI TRACY EXECUTIVES CHAPTER
3751 N TRACY BLVD
TRACY, CA 95304

BNT LLC DBA
BARS-N-TONE
550 BRYANT STREET
SAN FRANCISCO, CA 94107

BOARD CHIQUITA
DBA GET CHECKING INC FOR GA
906 CHAPMAN CIRCLE
STONE MOUNTAIN, GA 30088
BOARD OF COUNTY COMMISSIONERS
MIAMI-DADE FIRE RESCUE DEPT
9300 NW 41ST ST
MIAMI, FL 33178-2414

BOARD OF EQUALIZATION
CASHIER UNIT 450 N ST MIC 13
PO BOX 942879
SACRAMENTO, CA 94279-0013
BOARD OF EQUALIZATION
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PO BOX 942879
SACRAMENTO, CA 94279-0095

BOARD OF GOVERNORS OF THE
FEDERAL RESERVE SYSTEM
PUBLICATIONS SERVICES MS-127
WASHINGTON, DC 20551
BOARDVANTAGE INC
BOARDVANTAGE, INC.
1060 MARSH RD #110
MENLO PK, CA 94025
BOB AND DAN BOYAJIAN
DBA SAMS PARTY RENTALS
1950 BROADWAY
FRESNO, CA 93721
BOB L BURKHOLDER
131 MADISON AVE
BAINBRIDGE ISLAND, WA 98110

BODENHEIMER JONES & SZWAK LLC
TRUST ACCOUNT
509 MARKET ST #730
SHREVEPORT, LA 71101
BODMAN ATTORNEYS & COUNSELORS
6TH FL AT FORD FIELD
1901 ST ANTOINE ST
DETROIT, MI 48226
BOGUSH PLUMBING
190 MAIN AVE
WALLINGFORD, NJ 07057

BOISE BASEBALL LLC
4483 N DRESDEN PL
BOISE, ID 83714
BOISE CITY POLICE DEPARTMENT
ATTN ALARMS OFFICER
7200 BARRISTER
BOISE, ID 83704
BOISE INDEPENDENT SCHOOL DIST
BOISE SCHOOL DISTRICT
200 S LATAH
BOISE, ID 83705
BOISE METRO CHAMBER OF COMMERCE
BOISE VALLEY ECONOMIC PARTSHP
PO BOX 2368
BOISE, ID 83701
BOISE SCHOOL DISTRICT
8169 W VICTORY RD
BOISE, ID 83709
BOLLICH INC
DBA ABC AWNING & CANVAS CO
2270 AVOCADO AVE
MELBOURNE, FL 32935
                                       Page 93
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BON APPETIT MANAGEMENT CO
FILE #50196
GROUND LEVEL
1000 WEST TEMPLE STREET
LOS ANGELES, CA 90074-0196
BONDTRAC
210 PARK AVE #2200
OKLAHOMA CITY, OK 73102
BONEFISH GRILL
9310 SKOKIE BLVD
SKOKIE, IL 60077

BONITA SPRINGS AREA
CHAMBER OF COMMERCE
25071 CHAMBER OF COMMERCE DR
BONITA SPRINGS, FL 34135

BONITA SPRINGS ESTERO
ASSOCIATION OF REALTORS
25300 BERNWOOD DR #1
BONITA SPRINGS, FL 34135

BONNEVILLE BILLING & COLLECTION
PO BOX 821449
VANCOUVER, WA 98682

BONNEVILLE INTERNATIONAL CORP
DBA BONNEVILLE SEATTLE
1820 EASTLAKE AVE E
SEATTLE, WA 98102

BONNIE DEA CANNON AND
LEONARD KEY & KEY PLLC
DAVISON RUGELEY LLP
900 8TH ST #1102
WICHITA FALLS, TX 76307
BONNIE J KALEN
2525 JOPPA AVE S
MINNEAPOLIS, MN 55416

BOOKS 24X7.COM INC
PO BOX 32750
HARTFORD, CT 06150-2750

BORKOWSKI & ASSOCIATES INC
WAYNE BORKOWSKI
7548 FAIR OAKS RD SE
OLYMPIA, WA 98513
BOROUGH OF EATONTOWN
47 BROAD ST
EATONTOWN, NJ 07724

BOROUGH OF MORRIS PLAINS
TREASURERS OFFICE
531 SPEEDWELL AVE
MORRIS PLAINS, NJ 07950
BOROUGH OF QUEENS
                                       Page 94
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CHAMBER OF COMMERCE
75-20 ASTORIA BLVD #140
JACKSON HEIGHTS, NY 11370-1131
BOROUGH OF SHREWSBURY
FIRE PREVENTIOON BUREAU
PO BOX 7420
419 SYCAMORE AVE
SHREWSBURY, NJ 07702

BORROTO MULTILINGUAL
SETTLEMENTS TITLE INC
2101 GAITHER RD #150
ROCKVILLE, MD 20850

BOSFA
FL GUARANTEED LOAN PROGRAM AWG
PO BOX 277412
ATLANTA, GA 30384

BOSTONCOACH
PO BOX 33063
NEWARK, NJ 07188-0063
BOSTONCOACH
PO BOX 33063
NEWARK, NJ 07188-0063

BOTHELL POLICE DEPARTMENT
18410 101ST AVE NE
BOTHELL, WA 98011
BOTTOMLINE TECHNOLOGIES INC
PO BOX 83050
WOBURN, MA 01813-3050

BOULAND & BRUSH LLC
10025 GOV WARFIELD PKWY #400B
COLUMBIA, MD 21044
BOWE BELL & HOWELL
BOWE BELL & HOWELL MAIL AND
PO BOX 71297
CHICAGO, IL 60694
BOWE BELL & HOWELL MAIL AND
MESSAGING TECHNOLOGIES COMPANY
PO BOX 71297
CHICAGO, IL 60694-1297
BOWERS FOREMAN PLLC
1410 MARKET ST
KIRKLAND, WA 98033

BOWMAN HEINTZ BOSCIA & VICIAN
8605 BROADWAY
MERRILLVILLE, IN 46410-7033

BOWNE OF LOS ANGELES INC
BOWNE OF LOS ANGELES
PO BOX 79358
CITY OF INDUSTRY, CA 91716-9358

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
BOXLIGHT CORPORATION
PO BOX 50245
BELLEVUE, WA 98015-0245
BOXWOOD TECHNOLOGY INC
EXECUTIVE PLAZA III
11350 MCCORMICK RD #101
MAILSTOP 209252
HUNT VALLEY, MD 21031

BOY SCOUTS OF AMERICA
CHIEF SEATTLE COUNCIL
3120 RAINIER AVE S
PO BOX 440408
SEATTLE, WA 98114

BOYLE & DRAKE INC
3790 7TH TERRACE #202
VERO BEACH, FL 32960

BOYNTON BEACH
CHAMBER OF COMMERCE
639 E OCEAN AVE #108
BOYNTON BEACH, FL 33435-5011

BOYNTON BEACH FAITH BASED
COMMUNITY DEVELOPMENT CORP
2191 N SEACREST BLVD
PO BOX 337
BOYNTON BEACH, FL 33425-0337

BOYNTON BEACH MALL
801 N CONGRESS AVE #295
BOYNTON BEACH, FL 33426

BOYNTUNES INC
2212 QUEEN ANNE AVE N #310
SEATTLE, WA 98109

BOYS & GIRLS CLUB
CHALLENGERS OF METRO L A
5029 S VERMONT AVE
LOS ANGELES, CA 90037

BOYS & GIRLS CLUB OF
COLLIN COUNTY
701 S CHURCH ST
MCKINNEY, TX 75069

BOYS & GIRLS CLUB OF
PATERSON INC
264 21ST AVE
PATERSON, NJ 07501

BOYS & GIRLS CLUB OF KOORENAI
COUNTY IDAHO INC
PO BOX 3598
POST FALLS, ID 83877
BOYS & GIRLS CLUB OF SAN PEDRO
1200 S CABRILLO AVE
SAN PEDRO, CA 90731

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BOYS & GIRLS CLUBS
OF GREATER SACRAMENTO
5212 LEMON HILL AVE
SACRAMENTO, CA 95824
BOYS & GIRLS CLUBS
OF SNOHOMISH COUNTY
4322 RUCKER AVE
EVERETT, WA 98203

BOYS & GIRLS CLUBS
OF THE PEE DEE AREA INC
PO BOX 93
FLORENCE, SC 29503

BOYS & GIRLS CLUBS OF ARLINGTON
BOYS&GIRLS CLB ARLNGTN SE BRNCH
608 N ELM ST
ARLINGTON, TX 76011

BOYS AND GIRLS CLUBS
8820 TAMBERLY WAY
SANTEE, CA 92071
BOYS AND GIRLS CLUBS OF
METROPOLITAN PHOENIX INC
2645 N 24TH ST
PHOENIX, AZ 85008

BOYS CLUB OF SANTA MONICA
1238 LINCOLN BLVD
SANTA MONICA, CA 90401

BRAD KINNEY PRODUCTION
5673 W LAS POSITAS BLVD #202
PLEASANTON, CA 94588
BRAD L WEBER
17559 W 62ND PL
GOLDEN, CO 80403

BRAD NELSON
2417 NE 178TH ST
SHORELINE, WA 98155
BRADLEY ARANT ROSE & WHITE LLP
PO BOX 830709
BIRMINGHAM, AL 35283-0709

BRADLEY COUNTY REGISTER OF
DEEDS
155 N OCOEE ST RM 105
CLEVELAND, TN 37311

BRADLEY M MACE
PO BOX 21133
SEATTLE, WA 98111

BRADLEY RUHL
PROMENADE OFFICE PARK
4165 E THOUSAND OAKS BLVD #101
WESTLAKE VILLAGE, CA 91362

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BRADSHAW FOWLER PROCTOR &
FAIRGRAVE PC
801 GRAND AVE #3700
DES MOINES, IA 50309-8004
BRADY WORLDWIDE
DBA TEMTEC
36378 TREASURY CTR
CHICAGO, IL 60694-6300

BRAIDS WEAVES AND THINGS
TALIAH WAAJID
DBA BLACK EARTH PRODUCTS
1572 HWY 85 NORTH #208
FAYETTEVILLE, GA 30214

BRAILLE WORKS INTERNATIONAL INC
941 DARBY LAKE ST
SEFFNER, FL 33584

BRAINJUICER INC
HSBC BANK USA NA
452 5TH AVE LOWER LEVEL
NEW YORK, NY 10018

BRAINWAVE COMMUNICATIONS INC
ATTN ACCOUNTS RECEIVABLE
PO BOX 80668
SAN DIEGO, CA 92138-0668

BRAND NEW DAY INC
176 1ST ST
ELIZABETH, NJ 07206

BRAND SPECIAL EVENTS INC
DBA MIKE BROWN GRANDSTANDS
2300 POMONA BLVD
POMONA, CA 91768

BRANDON L. VARNADORE
[Address Information Redacted]

BRANDSNESS BRANDSNESS & RUDD PC
411 PINE ST
KLAMATH FALLS, OR 97601
BRANDY RHODES
MARK BRUMBAUGH
WALSTEAD MERTSCHING LAW FIRM
PO BOX 1549
LONGVIEW, WA 98632
BRANDYWINE OPERATING
PARTNERSHIP LP
PO BOX 8538-363
PHILADELPHIA, PA 19171

BRANNON TIRE
PO BOX 2496
STOCKTON, CA 95201

BRANSON VALUATIONS INC
714 CALIFORNIA OAKS DR
                                       Page 98
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
VISTA, CA 92081
BRANT PHOTOGRAPHERS INC
8 100TH AVE NE
BELLEVUE, WA 98004

BRATTON APPRAISAL GROUP LLC
25 NW HAWTHORNE AVE
BEND, OR 97701

BRAVO PROMOTIONAL PRODUCTS INC
569 OCCIDENTAL AVE S
SEATTLE, WA 98104
BRAYTON PURCELL LLP
FOR WILLIAM & JOYCE RANDOLL
222 RUSH LANDING RD
NOVATO, CA 94948
BRAZIL ADLONG & WINNINGHAM PLC
1315 MAIN
CONWAY, AR 72034

BREA OLINDA UNIFIED SCHOOL
DISTRICT
LAUREL ELEMENTARY SCHOOL
200 S FLOWER AVE
BREA, CA 92821

BREAKAWAY PRESS INC
9620 TOPANGA CANYON PL #A
CHATSWORTH, CA 91311

BREAKTHROUGH MARKETING INC
HOME ASSET MORTGAGE
4721 4TH ST
LA MESA, CA 91941

BRENDA BELL
7854 TERRA COTTA DR
HOUSTON, TX 77040

BRENDA FAYE ROGERS
DBA MOLLYS FLORIST
7448 OLD NICHOLS WAY
MULLINS, SC 29574

BRENDA G. ECK
[Address Information Redacted]
BRENDA K HALE
720 SANTA BARBARA AVE
FULLERTON, CA 92835

BRENT'S DELI INC
BRENT&#39S DELI INC
19565 PARTHENIA ST
NORTHRIDGE, CA 91324
BRENTWOOD CHAMBER OF COMMERCE
240 OAK ST
BRENTWOOD, CA 94513

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BRENTWOOD MEDIA GROUP
11661 SAN VICENTE BLVD #G100
LOS ANGELES, CA 90049
BRENTWOOD PRESS
248 OAK ST
BRENTWOOD, CA 94513
BRERETON ARCHITECTS INC
909 MONTGOMERY ST #260
SAN FRANCISCO, CA 94133
BRETT & SON INC
1313 WALLA WALLA AVE
WENATCHEE, WA 98801

BREVARD BUSINESS NEWS INC
4300 FORTUNE PL #D
W MELBOURNE, FL 32904

BREVARD COUNTY RECORDER
700 S PARK AVE
TITUSVILLE, FL 32780
BRIAN A NICHOLSON
NICHOLSON AND COMPANY
9515 SOQUEL DR #207
APTOS, CA 95003

BRIAN D CHENOWETH PC
DBA CHENOWETH LAW GROUP TRUST
601 SW 2ND AVE #1940
PORTLAND, OR 97204

BRIAN D PARKER
3327 145TH PL SE
MILL CREEK, WA 98012

BRIAN HAYES
& ROBIN HAYES
PO BOX 301
HUDSON, IN 46747
BRIAN L GARRETT
& ATTORNEY MARTIN M HOKANSON
6611 PORTWEST DR # 140
HOUSTON, TX 77024

BRIAN R WILLIAMS
WILLIAMS & ASSOCIATES
927 MENDOCINO AVE
SANTA ROSA, CA 95401
BRIAN ROFFE
[Address to Be Provided]
BRIARCLIFF MANOR EDUCATION FDTN
45 INGHAM RD
BRIARCLIFF MANOR, NY 10510
BRICKLEMYER SMOLKER & BOLVES PA
500 E KENNEDY BLVD #200
TAMPA, FL 33602
                                       Page 100
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BRIDGE CONSULTING GROUP LLC
15821 NE 8TH ST #110
BELLEVUE, WA 98008
BRIDGE HOUSING CORPORATION
345 SPEAR ST #700
SAN FRANCISCO, CA 94105-3901

BRIDGE MORTGAGE BANKERS INC
998 167TH ST
MIAMI, FL 33162
BRIDGE STREET DEVELOPMENT CORP
460 NOSTRAND AVE
BROOKLYN, NY 11216

BRIDGE VIEW FUNDING
847 SANSOME ST # 208
SAN FRANCISCO, CA 94111
BRIDGEFORCE INC
155 STANTON CHRISTIANA RD
NEWARK, DE 19702

BRIDGELINE CAPITAL GROUP INC
101 CALIFORNIA ST #815
SAN FRANCISCO, CA 94111

BRIDGEPORT USA
POLO CAFE AND CATERING
3322 S MORGAN ST
CHICAGO, IL 60608

BRIDGET COLLICA
20 A JULES DR
STATEN ISLAND, NY 10314

BRIDGET KELLY
AND MANCHEE &MANCHEE LLP
11115 COUNTRY RD 124
KAUFMAN, TX 75142
BRIDGET MARIE TIMBERLAKE
20252 CHAPTER DR
WOODLAND HILLS, CA 91364

BRIDGEVIEW MORTGAGE CORP
1200 HEMPSTEAD TPKE
FRANKLIN SQUARE, NY 11010
BRIDGEWATER MIDDLE SCHOOL
JP MORGAN CHASE BANK NA
5600 TINY RD
WINTER GARDEN, FL 34787
BRIGGS & MORGAN PA
PO BOX 64591
ST PAUL, MN 55164-0591
BRIGGS ELECTRIC INC
14381 FRANKLIN AVE
TUSTIN, CA 92780
                                      Page 101
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BRIGHAM CITY
PO BOX 1005
BRIGHAM CITY, UT 84302
BRIGHAM CITY AREA
BRIGHAM CITY
CHAMBER OF COMMERCE
6 N MAIN ST
BRIGHAM CITY, UT 84302
BRIGHT HOUSE NETWORKS LLC
PO BOX 30765
TAMPA, FL 33630-3765

BRIGHT PAGES LP
PO BOX 3505
NEW YORK, NY 10008-3505
BRIGHTLINE COMPLIANCE LLC
PO BOX 601444
CHARLOTTE, NC 28260-1444

BRILLIANT PROMOTIONAL PRODUCTS
10161 HARWIN DR #125
HOUSTON, TX 77036
BRINKS INCORPORATED
FILE 52005
LOS ANGELES, CA 90074-2005

BRION ENTERPRISES INC DBA
B&H COMMERCIAL SERVICES
2862 NAGLE STREET
DALLAS, TX 75220

BRITISH MOTOR COACH
770 ROY ST
SEATTLE, WA 98109
BRITISH MOTOR COACH
770 ROY ST
SEATTLE, WA 98109

BRITT CROSLEY
7979 LESLIE LANE
BAINBRIDGE ISLAND, WA 98110

BROAD & CASSEL
1 N CLEMATIS ST #500
WEST PALM BEACH, FL 33401
BROAD STREET COMMUNITY NEWSPRS
NORTHEAST TIMES STAR HOME NEWS
THE TREND
2512 METROPOLITAN DR
TREVOSE, PA 19053

BROADCAST MUSIC INC
PO BOX 406741
ATLANTA, GA 30384-6741
BROADRIDGE INVESTOR COMM SVCS
                                      Page 102
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PO BOX 23487
NEWARK, NJ 07189

BROADRIDGE INVESTOR COMM SVCS
PO BOX 23487
NEWARK, NJ 07189
BROADRIDGE SECURITIES
ADP INVESTOR COMMUNICATIONS SVC
PROCESSING SOLUTIONS INC
PO BOX 23175
NEWARK, NJ 07189
BROADRIDGE SECURITIES
ADP INVESTOR COMMUNICATIONS SVC
PROCESSING SOLUTIONS INC
PO BOX 23585
NEWARK, NJ 07189
BROADSPIRE
013659 COLLECTIONS CTR DR
CHICAGO, IL 60693

BROADWAY FORECLOSURE
INVESTMENTS LLC
KEVIN EIKENBERRY
1470 MARIA LANE #440
WALNUT CREEK, CA 94596

BROADWING TELECOMMUNICATIONS
PO BOX 790036
ST LOUIS, MO 63179-0036

BROCADE COMMUNICATIONS SYSTEMS
C/O COMERICA BANK
PO BOX 49026
SAN JOSE, CA 95161-9026

BROCKTON CONTRIBUTORY RETIREMENT FUND
[Address to Be Provided]

BRODERICK GROUP INC
10500 NE 8TH ST #900
BELLEVUE, WA 98004
BROKER AGENT MAGAZINE LLC
PO BOX 55480
PHOENIX, AZ 85078

BROKERTEC USA LLC
ATTN FINANCE GROUP
1100 PLAZA FIVE
JERSEY CITY, NJ 07311

BRONX COMMUNITY PRIDE CENTER
448 E 149TH ST
BRONX, NY 10462

BRONX COUNTY MEDICAL SOCIETY
3560 NETHERLAND AVE #2F
BRONX, NY 10463-1601
BRONX OVERALL ECONOMIC
                                        Page 103
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
DEVELOPMENT CORP
198 E 161ST ST #201
BRONX, NY 10451
BROOKER ASSOCIATES INC
2501 E CHAPMAN AVE #180
FULLERTON, CA 92831
BROOKINGS HARBOR
CHAMBER OF COMMERCE
PO BOX 940
BROOKINGS, OR 97415
BROOKLYN INFORMATION
AND CULTURE INC
647 FULTON ST
BROOKLYN, NY 11217
BROOKLYN PHILHARMONIC
SYMPHONY ORCHESTRA
189 MONTAGUE ST #200A
BROOKLYN, NY 11201

BROOKS SYSTEMS LLC
2 STATE ST
PO BOX 1150
NEW LONDON, CT 06320-1150

BROTHERS REDEVELOPMENT INC
2250 EATON ST GARDEN LEVEL #B
DENVER, CO 80214
BROWARD ALLIANCE FOR
NEIGHBORHOOD DEVELOPMENT INC
690 NE 13TH ST #101
FT LAUDERDALE, FL 33304
BROWARD COUNTY
BOARD OF COUNTY COMMISSIONERS
BOARD OF COUNTY COMMISSIONERS
115 S ANDREWS AVE RM A-240
FT LAUDERDALE, FL 33301
BROWARD COUNTY
HOUSING AUTHORITY
4405 NW 65 TERRACE
LAUDERDALE LAKES, FL 33319

BROWARD COUNTY
REVENUE COLLECTOR
115 S ANDREWS AVE RM A-100
FT LAUDERDALE, FL 33301
BROWARD COUNTY RECORDER
115 S ANDREWS AVE #119
FT LAUDERDALE, FL 33301

BROWARD EDUCATION
FOUNDATION INC
600 SE 3RD AVE 1ST FL
FT LAUDERDALE, FL 33301
BROWER TINTING & GRAPHICS
                                     Page 104
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245 SW 41ST ST #11A
RENTON, WA 98057

BROWN & ASSOCIATES LLC
1127 N PROSPECT ST
COLORADO SPRINGS, CO 80903-2642
BROWN & JAMES PC
1010 MARKET ST 20TH FL
ST LOUIS, MO 63101-2000
BROWN CASTLE INC
DBA COMMUNITY SHIELD
PO BOX 728
HURST, TX 76053

BROWN HARRIS STEVENS
RESIDENTIAL MANAGEMENT LLC
770 LEXINGTON AVE 4TH FL
NEW YORK, NY 10065
BROWN JACOBSON PC
PO BOX 391
NORWICH, CT 06360-0391

BROWN MCCARROLL LLP
111 CONGRESS AVE #1400
AUSTIN, TX 78701-4043

BROWN VALUATION SERVICES INC
1280 S POWERLINE RD #29
POMPANO BEACH, FL 33069

BROWNIE'S CENTRAL OFFICE
BROWNIE&#39S CENTRAL OFFICE
1322 V ST
SACRAMENTO, CA 95818

BROWNSTEIN HYATT FARBER SCHRECK
21 E CARRILLO ST
POST OFFICE DRAWER 720
SANTA BARBARA, CA 93102-0720
BRUCE B BAILEY
FBO BAILEY FAMILY REVOC TRUST
13610 GREENWOOD AVE N #C
SEATTLE, WA 98133

BRUCE CORNELIUS OF COUNSEL TO
BELZER HULCHIY & MURRAY
3650 MT DIABLO BLVD #130
LAFAYETTE, CA 94549
BRUCE KEMP MARSHALL #2
39-13 BELL BLVD
PO BOX 521
BAYSIDE, NY 11361-0521

BRV INC
DBA VENTURA COUNTY STAR
550 CAMARILLO CENTER DR
CAMARILLO, CA 93010

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
BRV INC DBA
BRV INC
KITSAP SUN
PO BOX 34688
SEATTLE, WA 98124-1688

BRV INC DBA VENTURA COUNTY STAR
BRV INC
PO BOX 4899
PORTLAND, OR 97208-4899
BRYAN A VAN HUYSTEE
4311 LITTLEWORTH WAY
SAN JOSE, CA 95135

BRYAN CAVE LLP
PO BOX 503089
ST LOUIS, MO 63150-3089
BSG ALLIANCE CORP
DEPT CH 17884
PALATINE, IL 60055-7884

BSI MANAGEMENT SYSTEMS AMERICA
13910 COLLECTIONS CENTER DR
CHICAGO, IL 60693
BT STORAGE INC
PO BOX 1516
BENICIA, CA 94510

BTS USA INC
300 1ST STAMFORD PLACE
STAMFORD, CT 06902-6762

BUCHANAN INGERSOLL
1 OXFORD CENTRE
301 GRANT ST 20TH FL
PITTSBURGH, PA 15219-1410
BUCK CONSULTANTS LLC
DEPT CH 14061
CHICAGO, IL 60055-4061

BUCK KEENAN GAGE LITTLE LINDLEY
700 LOUISIANA #5100
HOUSTON, TX 77002

BUCKINGHAM MORTGAGE CORP
BUCKINGHAM MORTGAGE
13 POTOMAC MANORS CT
POTOMAC, MD 20854
BUCKLEY KOLAR LLP
1250 24TH ST NW #700
WASHINGTON, DC 20037

BUCKLEY LECHEVALLIER PC
3 CENTERPOINTE DR #250
LAKE OSWEGO, OR 97035

BUDGET NOTARY SERVICES
PO BOX 5797
                                       Page 106
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TALLAHASSEE, FL 32314-5797
BUDGET RIGHT DEBT MANAGEMENT
PO BOX 299
SYOSSET, NY 11791

BUEGE REVOCABLE LIVING TRUST
727 SINGING HEIGHTS DR
EI CAJON, CA 92019

BUELL REALTIME REPORTING
1411 4TH AVE #803
SEATTLE, WA 98101
BUENA PARK CHAMBER OF COMMERCE
6601 BEACH BLVD
BUENA PARK, CA 90621
BUENZLI ENTERPRISE INC
DBA METROPOLITAN APPRAISAL GRP
746 ANNA PL
EL DORADO HILLS, CA 95762-7686

BUFFALOE & ASSOCIATES
SUNTRUST BANK BUILDING STE 1300
201 FOURTH AVENUE NORTH
NASHVILLE, TN 37219

BUILDERS ASSOCIATION OF GREATER
BOSTON
700 CONGRESS ST
QUINCY, MA 02169

BUILDERS OF HOPE COMMUNITY
DEVELOPMENT CORP
PO BOX 224723
DALLAS, TX 75222

BUILDING BLOCS FOUNDATION INC
305 BROADWAY 9TH FLR
NEW YORK, NY 10007

BUILDING CAPITAL INC
1105 GLENDON AVE
LOS ANGELES, CA 90024
BUILDING CONSULTING SERVICES
10601 GRANT RD
HOUSTON, TX 77070
BUILDING I
165 NE JUNIPER ST #200
ISSAQUAH, WA 98027

BUILDING INDUSTRY ASSOCIATION
OF CENTRAL CALIFORNIA INC
1401 F ST #200
MODESTO, CA 95354
BUILDING MAINTANCE SERVICE LLC
DBA BMS TENANT SERVICES LLC
PO BOX 27257
NEW YORK, NY 10087-7257
                                       Page 107
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BUILDING TECHNOLOGY ENGINEERS
OF NORTH AMERICA LLC
ATTN ACCOUNTING
PO BOX 29661 DEPT 2083
PHOENIX, AZ 85038-9661
BULKLEY RICHARDSON
AND GELINAS LLP
1500 MAIN ST #2700
PO BOX 15507
SPRINGFIELD, MA 01115-5507
BULLITT COUNTY CLERK AND
RECORDER
149 N WALNUT ST
SHEPARDSVILLE, KY 40165
BULLIVANT HOUSER BAILEY
300 PIONEER TOWER
888 SW 5TH AVE
PORTLAND, OR 97204

BUONASSISSI HENNING & LASH
1861 WIEHLE AVE #300
RESTON, VA 20190
BURBANK TRANSPORTATION
MANAGEMENT ORGANIZATION
3500 WEST OLIVE AVE #725
BURBANK, CA 91505
BUREAU OF COLLECTION RECOVERY
7575 CORPORATE WAY
EDEN PRAIRIE, MN 55344

BUREAU OF NATIONAL AFFAIRS INC
BUREAU OF NATIONAL AFFAIRS
PO BOX 17009
BALTIMORE, MD 21297-1009

BUREAU VERITAS N AMERICA INC
13905 COLLECTIONS CENTER DR
CHICAGO, IL 60693
BURGESS DESIGN INC
1326 5TH AVE #500
SEATTLE, WA 98101

BURKE WARREN MACKAY &
SERRITELLA P C
22ND FL IBM PLAZA
330 N WABASH AVE
CHICAGO, IL 60611-3607
BURR & FORMAN LLP
PO BOX 830719
BIRMINGHAM, AL 35283-0719
BURR PILGER & MAYER LLP
600 CALIFORNIA ST, STE 1300
SAN FRANCISCO, CA 94108

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BURTON ROSENFIELD
[Address to Be Provided]

BURTON V MCCULLOUGH
FBO SHEIKO AISO & JANET AISO
4205 ENCINAS DR
LA CANADA FLINTRIDGE, CA 91011
BUSINESS COUNCIL INC
2800 W MARCH LANE #473
STOCKTON, CA 95219-8218
BUSINESS DEVELOPMENT BOARD
OF PALM BEACH COUNTY INC
310 EVERNIA ST
W PALM BEACH, FL 33401

BUSINESS EDUCATION COMPACT
OF WASHINGTON COUNTY
12655 SW CENTER ST #430
BEAVERTON, OR 97005-1600

BUSINESS FOR SOCIAL
RESPONSIBILITY
111 SUTTER ST 12TH FL
SAN FRANCISCO, CA 94104
BUSINESS INITIATIVE CORP OF NY
198 EAST 161 ST # 201
BRONX, NY 10451

BUSINESS INTERIORS NW INC
710 PACIFIC AVE
TACOMA, WA 98402

BUSINESS LINK LLC
NEVADA BUSINESS JOURNAL
375 N STEPHANIE ST
BLDG 23 STE 2311
HENDERSON, NV 89014

BUSINESS MUSIC & COMMUNICATIONS
8450 PRODUCTION AVE #B
SAN DIEGO, CA 92121
BUSINESS OBJECTS AMERICAS
EDUCATION SERVICES DEPT
CITIBANK NA
PO BOX 2298
CAROL STREAM, IL 60132-2299
BUSINESS OBJECTS AMERICAS INC
BUSINESS OBJECTS AMERICAS
LOCKBOX 7573
7573 COLLECTIONS CENTER DR
CHICAGO, IL 60693

BUSINESS PARTNER OF COLORADO
7330 S ALTON WAY #12E
CENTENNIAL, CO 80112

BUSINESS RECORDS MANAGEMENT INC
1018 WESTERN AVE
                                       Page 109
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PITTSBURGH, PA 15233
BUSINESS RESOURCE GROUP INC
13545 HAWTHORNE BLVD #200
HAWTHORNE, CA 90250

BUSINESS WIRE
PO BOX 45348
SAN FRANCISCO, CA 94145-0348

BUSINESS WIRE INC
DEPT 34182
SAN FRANCISCO, CA 94139
BUSINESS WIRE INC
DEPT 34182
PO BOX 39000
SAN FRANCISCO, CA 94139
BUSINESSES INVEST IN GROWTH
1050 E 11TH ST #350
AUSTIN, TX 78702

BUSY BEE INC
303 S YNEZ AVE
MONTEREY PARK, CA 91754
BUTLER COUNTY RECORDER
130 HIGH ST
HAMILTON, OH 45011

BUTLER VALET INC
PO BOX 77793
SEATTLE, WA 98177

BUZWHITE SCREENPRINT INC
1910 SW STEPHENSON ST
PORTLAND, OR 97219

BWC MORTGAGE SERVICES
SIMONICH CORPORATION DBA
SIMONICH CORPORATION
4773 CAUGHLIN PKWY #B
RENO, NV 89519
BYRD & ASSOCIATES PLLC
&JOYCE &LARRY WALKER
427 E FORTIFICATION
JACKSON, MS 39202
BYRD PRODUCTIONS INC
PO BOX 2815
VASHON, WA 98070

C & H DISTRIBUTORS LLC
22133 NETWORK PL
CHICAGO, IL 60673-1133

C A PAGE COMPANY
200 OPAL AVE
NEWPORT BEACH, CA 92662
C C B ENTERPRISES INC
                                     Page 110
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DBA CRISCI BUILDERS
4518 W HACIENDA AVE
LAS VEGAS, NV 89118
C D BEAM ENTERPRISES INCORP
CD BEAM ENTERPRISES INC
MONEY MAILER OF SACRAMENTO
ROSEVILLE
970 SUNRISE AVE #125 307
ROSEVILLE, CA 95661
C E FRY CONSTRUCTION INC
286 CORPORATE WAY
UPLAND, CA 91786

C F CAPITAL FINANCE
734 W MAIN ST
MESA, AZ 85201
C I BUSINESS EQUIPMENT INC
1560 S ANAHEIM BLVD #D
ANAHEIM, CA 92805

C J M MORTGAGE CORP
223 WANAQUE AVE
POMPTON LAKES, NJ 07442
C J TAYLOR
DBA FAST SIGNS
2301 N COLLINS #112
ARLINGTON, TX 76011
C MICHAEL BOYD
6704 HILLPARK DR #302
LOS ANGELES, CA 90068

C TAYLOR JOHNSON III
INVESTMENT REALTY ADVISORS
14802 ENTERPRISE DR #52C
DALLAS, TX 75234

C W ASSOCIATES LLC
CW ASSOCIATES LLC
PO BOX 23229
NEWARK, NJ 07189
C&K MARKET
RAYS FOOD PLACE #1
615 5TH ST
BROOKINGS, OR 97415
C&S MEDIA INC
THE WYLIE NEWS
PO BOX 369
110 N BALLARD
WYLIE, TX 75098

C&S VALUATION TECHNOLOGIES INC
FIRST AMERICAN CORELOGIC INC
DBA CORELOGIC SYSTEMS
10360 OLD PLACERVILLE RD #100
SACRAMENTO, CA 95827

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C2MEDIA COM INC
PO BOX 100992
ATLANTA, GA 30384-0992
CA COMMUNITY PARTNERSHIP FOR
CALIF COMM PARTNERSHIP FOR THE
PREVENTION OF FINANCIAL ABUSE
550 MONTGOMERY ST #485
NOVATO, CA 94111

CA DEPT OF MOTOR VEHICLES
PO BOX 51061
LOS ANGELES, CA 90051-5361
CA INC
PO BOX 933316
ATLANTA, GA 31193-3316
CA INC
PO BOX 933316
ATLANTA, GA 31193-3316

CA LENDING INC DBA
FIRST RATE FINANCIAL GROUP
2625 TOWNSGATE RD STE 320
WESTLAKE VILLAGE, CA 91361
CA STATE DISBURSEMENT
PO BOX 989067
WEST SACRAMENTO, CA 95798

CA STATE UNIV LONG BEACH
LONG BEACH FOUNDATION
1250 BELLFLOWER BLVD
LONG BEACH, CA 90840

CAADM ENTERPRISES INC DBA
LEARN CPR FIRST AID & SAFETY
5313 WALZEM RD #A
SAN ANTONIO, TX 78218

CABLEVISION
PO BOX 15660
WORCESTER, MA 01615-0660
CABRILLO ECONOMIC DEVELOPMENT
CORPORATION
702 COUNTRY SQ DR
VENTURA, CA 93003
CABRILLO MORTGAGE AND
CABRILLO MRTGE & REALTY SRVCS
REALTY SERVICES
3110 CAMINO DEL RIO N #314
SAN DIEGO, CA 92108
CACTUS MEDIA GROUP
723 W SHAW AVE
FRESNO, CA 93704
CADENCE BANK NA
PO BOX 369
MABEN, MS 39750
                                      Page 112
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CADWALADER WICKERSHAM & TAFT LP
GENERAL POST OFFICE
PO BOX 5929
NEW YORK, NY 10087-5929

CAFE 225
225 W MAIN ST
VISALIA, CA 93291

CAFE EXPRESS
675 BERING DR #600
HOUSTON, TX 77057
CAFE MARE
740 FRONT ST #100
SANTA CRUZ, CA 95060
CAFRA MANUFACTURING INC
4635 MEMORY LANE
REDDING, CA 96001

CAHOLO INC
CALIFORNIA HOME LOANS
1340 TREAT BLVD #599
WALNUT CREEK, CA 94597
CAIN & CAIN INC
3307 HAMPHICK RD
BRYCEVILLE, FL 32009

CAIRNCROSS & HEMPLEMANN PS
524 2ND AVE #500
SEATTLE, WA 98104

CAL COAST DATA ENTRY INC
DBA DATA CENTER OF ARIZONA
2801 N 33RD AVE #1
PHOENIX, AZ 85009
CAL COAST FINANCIAL CORP
39355 CALIFORNIA ST #101
FREMONT, CA 94538

CAL OSHA
DEPT OF INDUSTRIAL RELATIONS
ACCOUNTING
PO BOX 420603
SAN FRANCISCO, CA 94142-0603
CAL RESCO
A DIVISION OF FALSKEN &
ASSOCIATES INC
5305 E 2ND ST #205
LONG BEACH, CA 90803
CAL SIERRA TITLE COMPANY
608 COURT ST
PO BOX 1754
SUSANVILLE, CA 96130

CALABASAS CHAMBER OF COMMERCE
23564 CALABASAS RD #101
                                       Page 113
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CALABASAS, CA 91302
CALABASAS PRIVATE LENDING
24009 VENTURA BLVD #240
CALABASAS, CA 91302

CALDWELL & ASSOC
1380 LEAD HILL BLVD #106
ROSEVILLE, CA 95661

CALDWELL CHAMBER OF COMMERCE
704 BLAINE ST
CALDWELL, ID 83605
CALEXICO CHAMBER OF COMMERCE
1100 IMPERIAL AVE
CALEXICO, CA 92231
CALIFORNIA ALLIANCE OF
AFRICAN AMERICAN EDUCATORS
PO BOX 3134
SAN JOSE, CA 95156

CALIFORNIA APARTMENT ASSOC
C/O WASHINGTON MUTUAL
PO BOX 13500
SACRAMENTO, CA 95853-3500

CALIFORNIA ASIAN PACIFIC
CHAMBER OF COMMERCE
2012 H ST #202
SACRAMENTO, CA 95814

CALIFORNIA ASSN OF REALTORS
ATTN BETTY THOMAS
525 S VIRGIL AVE
LOS ANGELES, CA 90020

CALIFORNIA ASSOCIATION
OF MORTGAGE BROKERS
950 GLENN DR #150
FOLS0M, CA 95630
CALIFORNIA ASSOCIATION FOR
BILINGUAL EDUCATION
16033 E SAN BERNARDINO RD
COVINA, CA 91722

CALIFORNIA ASSOCIATION OF
COUNTY TREASURERS &TAX COLLECT
1415 L ST #200
SACRAMENTO, CA 95814
CALIFORNIA BANKERS ASSOCIATION
LOCKBOX DEPT 44767
PO BOX 44000
SAN FRANCISCO, CA 94144-4767

CALIFORNIA BLACK CHAMBER OF
COMMERCE FOUNDATION INC
2951 SUNRISE BLVD #175
RANCHO COEDOVA, CA 95742

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CALIFORNIA BREAD II LP
PANERA BREAD
537 NEWPORT CENTER DR #375
NEWPORT BEACH, CA 92660
CALIFORNIA CHAMBER OF COMMERCE
PO BOX 526020
SACRAMENTO, CA 95852-6020

CALIFORNIA CHAMBER OF COMMERCE
PO BOX 537016
SACRAMENTO, CA 95853-7016
CALIFORNIA COALITION FOR
RURAL HOUSING PROJECT
717 K ST #400
SACRAMENTO, CA 95814
CALIFORNIA COMMUNICATIONS LLC
DBA CMC PUBLISHING
PO BOX 9077
RANCHO SANTA FE, CA 92067

CALIFORNIA COMMUNITY
ECONOMIC DEVELOPMENT ASSN
1055 WILSHIRE BLVD #1475
LOS ANGELES, CA 90017

CALIFORNIA COMMUNITY
EMPOWERMENT FOUNDATION
606 SO OLIVE ST #2400
LOS ANGELES, CA

CALIFORNIA COMMUNITY FOUNDATION
445 S FIGUEROA ST #3400
LOS ANGELES, CA 90071
CALIFORNIA CONFERENCE
FOR EQUALITY & JUSTICE
444 W OCEAN BLVD #940
LONG BEACH, CA 90802

CALIFORNIA CONSORTIUM OF
EDUCATION FOUNDATIONS
PO BOX 19290
STANFORD, CA 94309

CALIFORNIA CONSUMER CREDIT
4216 FOUNTAIN AVE
LOS ANGELES, CA 90029
CALIFORNIA CONTRACT SERVICES
18655 MAHOGONY RANCH RD
RAMONA, CA 92065
CALIFORNIA COUNCIL
ON ECONOMIC EDUCATION
5500 UNIVERSITY PKWY
SAN BERNARDINO, CA 92407
CALIFORNIA COUNCIL FOR
AFFORDABLE HOUSING
1006 FOURTH ST SIXTH FL
                                       Page 115
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SACRAMENTO, CA 95814
CALIFORNIA DEPARTMENT
OF EDUCATION
1430 N ST #5602
SACRAMENTO, CA 95814
CALIFORNIA DEPT OF INSURANCE
320 CAPITOL MALL
SACRAMENTO, CA 95814
CALIFORNIA ELECTED WOMENS
ASSN FOR EDUCATION & RESEARCH
1029 K ST #35
SACRAMENTO, CA 95814

CALIFORNIA EXPORT LINE INC
INLAND USA
17610 BEACH BLVD #40
HUNTINGTON BEACH, CA 92647
CALIFORNIA FEDERAL MORTGAGE
CAL FED MORTGAGE
22760 HAWTHORNE BLVD #209
TORRANCE, CA 90505

CALIFORNIA FEDERATION OF
WOMENS CLUBS
TUSTIN AREA WOMENS CLUB
PO BOX 3702
TUSTIN, CA 92781
CALIFORNIA FLORAL COMPANY
220 E 1ST ST
LOS ANGELES, CA 90012

CALIFORNIA FUNDING GROUP INC
17150 NORWALK BLVD #102
CERRITOS, CA 90703
CALIFORNIA HISPANIC
CHAMBER OF COMMERCE
770 L ST #900
SACRAMENTO, CA 95814
CALIFORNIA HOUSING
PARTNERSHIP CORP
369 PINE ST #300
SAN FRANCISCO, CA 94104
CALIFORNIA HOUSING FINANCE AGCY
PO BOX 4034
SACRAMENTO, CA 95812-4034

CALIFORNIA JOURNAL FOR
FILIPINO AMERICANS
PO BOX 8119
TORRANCE, CA 90504
CALIFORNIA MORTGAGE
CONSULTANTS INC
7575 EADS AVE #102
LA JOLLA, CA 92037
                                       Page 116
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CALIFORNIA MUNICIPAL
TREASURERS ASSOCIATION
1400 K ST #400
SACRAMENTO, CA 95814

CALIFORNIA NEWSPAPER
PARTNERSHIP
DBA THE MERCURY NEWS
PO BOX 5006
SAN RAMON, CA 94583-0906
CALIFORNIA NEWSPAPER
PARTNERSHIP DBA
TIMES STANDARD
PO BOX 3580
EUREKA, CA 95502
CALIFORNIA NEWSPAPERS
CALIFORNIA NEWSPAPER
PARTNERSHIP
DBA OROVILLE MERCURY REGISTER
PO BOX 9
CHICO, CA 95927-0009

CALIFORNIA NEWSPAPERS
CALIFORNIA NEWSPAPER
PARTNERSHIP
DBA DAILY NEWS GROUP
324 HIGH ST
PALO ALTO, CA 94301
CALIFORNIA NEWSPAPERS PRTNRSHP
CALIFORNIA NEWSPAPER
DBA CONTRA COSTA TIMES
PO BOX 5007
SAN RAMON, CA 94583-0507

CALIFORNIA NEWSPAPERS PRTNRSHP
CALIFORNIA NEWSPAPER
DBA SILICON VALLEY
COMMUNITY NEWSPAPERS
1095 THE ALAMEDA
SAN JOSE, CA 95126
CALIFORNIA OFFICE OF
REAL ESTATE APPRAISAL
1102 Q ST #4100
SACRAMENTO, CA 95814
CALIFORNIA REINVESTMENT
CALIF REINVESTMENT COALITION
COMMITTEE
474 VALENCIA ST #230
SAN FRANCISCO, CA 94103
CALIFORNIA RESOURCES & TRAINING
1333 BROADWAY #604
OAKLAND, CA 94612
CALIFORNIA SCIENCE CENTER FNDTN
700 STATE DR
LOS ANGELES, CA 90037-1210
                                       Page 117
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CALIFORNIA SECRETARY OF STATE
NOTARY PUBLIC SECTION
PO BOX 942877
SACRAMENTO, CA 94277-0001

CALIFORNIA SECRETARY OF STATE
PO BOX 944230
SACRAMENTO, CA 94244-2300

CALIFORNIA SELF INSURERS
SECURITY FUND
P O BOX 60000 FILE 030576
SAN FRANCISCO, CA 94160

CALIFORNIA STAMP COMPANY
ONLINE STAMP COMPUTER DIRECT
PO BOX 122432
SAN DIEGO, CA 92112

CALIFORNIA STATE CONTROLLER
DIVISION OF COLLECTIONS
BUREAU OF UNCLAIMED PROPERTY
3301 C ST #1004
SACRAMENTO, CA 95816

CALIFORNIA STATE UNIVERSITY
CAREER CENTER
NORTHRIDGE
UNIVERSITY HALL 105
18111 NORDHOFF ST
NORTHRIDGE, CA 91330-8241

CALIFORNIA STATE UNIVERSITY
CAREER CENTER
NORTHRIDGE FOUNDATION
1811 NORDHOFF ST
NORTHRIDGE, CA 91330-8275

CALIFORNIA STATE UNIVERSITY
EAST BAY FOUNDATION INC
25800 CARLOS BEE BLVD WA 908
HAYWARD, CA 94542

CALIFORNIA STUDENT AID COMMSN
PO BOX 419041
RANCHO CORDOVA, CA 95741

CALIFORNIA SUPERIOR FINANCIAL
15 ST FRANCIS SQ
DALY CITY, CA 94015
CALIFORNIA SUPPRESSION SYSTEMS
INC DBA CALPROTECTION
2505 MIRA MAR AVE
LONG BEACH, CA 90815

CALIFORNIA TITLE COMPANY
LOS ANGELES
100 N 1ST ST #404
BURBANK, CA 91502
CALIFORNIA TOOL/WELDING SUPPLY
                                      Page 118
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 60668
LOS ANGELES, CA 90060-0668

CALIFORNIA UNITED
TRUSTEES ASSOCIATION
2030 MAIN ST #1300
IRVINE, CA 92614
CALIFORNIA WELDING SUPPLY CO
PO BOX 567
817 S CENTER ST
STOCKTON, CA 95201
CALIFORNIA WOMEN LAWYERS
650 HOWE AVE #555
SACRAMENTO, CA 95825

CALIMESA CHAMBER OF COMMERCE
PO BOX 246
CALIMESA, CA 92320
CALL CENTER JOBS INC
7417 N 118TH CIRCLE
OMAHA, NE 68142

CALLIDUS SOFTWARE INC
160 W SANTA CLARA #1500
SAN JOSE, CA 95113

CALLIDUS SOFTWARE, INC.
[Address to Be Provided]
CALLISON ARCHITECTURE INC
DEPARTMENT 4010
PO BOX 34936
SEATTLE, WA 98124
CALPAC LLC
DBA TANGRAM INTERIORS
PO BOX 512206
LOS ANGELES, CA 90051-0206

CALSTAR REALTY AND MORTGAGE
300 W GLENOAKS BLVD #102
GLENDALE, CA 91202
CALVERT COMMUNICATIONS INC
DBA POMERADO PUBLISHING
PO BOX 685
POWAY, CA 92074
CALVERT COUNTY
CLERK OF THE CIRCUIT COURT
175 MAIN ST    COURTHOUSE
PRINCE FREDERICK, MD 20678
CAM TRINH NGUYEN
LIETO & GREENBERG TRUSTEE
40 REEF RD
FAIRFIELD, CT 06824

CAMARA DE COMERCIO DE SALVADOR
EL SALVADOR CHAMBER OF COMMERCE
                                       Page 119
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315 W 9TH ST
LOS ANGELES, CA 90015

CAMARA DE COMERCIO EL SALVADOR
CALIFORNIA
315 W 9TH ST #101
LOS ANGELES, CA 90015
CAMARILLO CHAMBER OF COMMERCE
2400 E VENTURA BLVD
CAMARILLO, CA 93010
CAMAS-WASHOUGAL
CHAMBER OF COMMERCE
PO BOX 919
CAMAS, WA 98607

CAMBRIA HILLS LLC
601 UNION ST #4616
SEATTLE, WA 98101
CAMBRIDGE COMMUNICATIONS GROUP
1942 BROADWAY #314
BOULDER, CO 80302

CAMBRIDGE CREDIT COUNSELING
PO BOX 1028
AGAWAM, MA 01001

CAMERON & MITTLEMAN LLP
56 EXCHANGE TER
PROVIDENCE, RI 02903

CAMERON STATE BANK
1900 MAPLEWOOD DR
SULPHUR, LA 70663
CAMERON WELDING SUPPLY
PO BOX 266
STANTON, CA 90680

CAMILLE HOPE
TRUSTEE #07-30331
111 THIRD ST
MACON, GA 31201
CAMILLE LAPLACA-POST
[Address to Be Provided]

CAMINAR LATINO INC
PO BOX 48623
DORAVILLE, GA 30362
CAMINO PRESS
4749 H BENNETT DR
LIVERMORE, CA 94551

CAMP VILLAGE INC
2450 CASCADE RD
PO BOX 110188
ATLANTA, GA 30311
CAMPBELL COMMUNICATIONS
                                      Page 120
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
2601 KLINGLE RD NW
WASHINGTON, DC 20008

CAMPBELL MOVING INC
12905 LOCKSLEY CT
HERNDON, VA 20171
CAMPBELL WOODS BAGLEY EMERSON
MCNEER & HERNDON PLLC
517 9TH ST #1000
PO BOX 1835
HUNTINGTON, WV 25719-1835
CAN INSURANCE GROUP
23825 NETWORK PLACE
CHICAGO, IL 60673-1238

CANAAN HOUSING CORP
2412 GRIFFITH AVE
LOS ANGELES, CA 90011
CANBY AREA CHAMBER OF COMMERCE
PO BOX 35
CANBY, OR 97013

CANBY TELEPHONE ASSOCIATION
PO BOX 880
CANBY, OR 97013-0880

CANDACE DE SOUZA
DBA DE SOUZA &ASSOCIATES
ONE WATERS PARK DR #180
SAN MATEO, CA 94403

CANDACE S GOODWIN
10718 RIVIERA PL NE
SEATTLE, WA 98125-6939

CANNON REPORTING INC
DBA MOBURG & ASSOCIATES
1601 5TH AVE #860
SEATTLE, WA 98101
CANON BUSINESS SOLUTIONS
WEST
PO BOX 100924
PASADENA, CA 91189-0924

CANOTECK INC
1430 FLOWER ST
GLENDALE, CA 91201
CANYON COUNTY SHERIFF'S OFFICE
CANYON COUNTY SHERIFF&#39S OFFICE
CIVIL DIVISION
1115 ALBANY
CALDWELL, ID 83605

CANYON OAKS MORTGAGE INC
5655 LINDERO CANYON RD #521
WESTLAKE VILLAGE, CA 91362
CANYON STATE CARBONIC
                                      Page 121
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827 N MARY ST #A
TEMPE, AZ 85281

CAP INDEX INC
THE COMMONS AT LINCOLN CENTER
150 JOHN ROBERT THOMAS DR
EXTON, PA 19341
CAPE CORAL ASSOCIATION
OF REALTORS INC
918 SE 46TH LN
CAPE CORAL, FL 33904
CAPE MAY COUNTY ASSOCIATION
OF REALTORS
2045 ROUTE 9 SOUTH
CLERMONT, NJ 08210-1162
CAPE PUBLICATIONS INC DBA
FLORIDA TODAY
PO BOX 340020
NASHVILLE, TN 37203-0020

CAPITAL APPRAISAL SERVICES INC
19-02 WHITESTONE EXPRESSWAY
#304
WHITESTONE, NY 11357

CAPITAL CITY AFRICAN AMERICAN
CHAMBER OF COMMERCE
5407 N IH 35 #304
AUSTIN, TX 78723

CAPITAL FUNDING MORTGAGE CO
747 N LASALLE 6TH FLR
CHICAGO, IL 60610
CAPITAL GAZETTE COMMUNICATIONS
2000 CAPITAL DR
ANNAPOLIS, MD 21401

CAPITAL MANAGEMENT SERVICES LP
726 EXCHANGE ST #700
BUFFALO, NY 14210
CAPITAL MARKET FUNDING INC
318 DIABLO RD BLDG C
DANVILLE, CA 94526

CAPITAL MORTGAGE ADVISORS LLC
501 ANGLERS DR #101
STEAMBOAT SPRINGS, CO 80847
CAPITAL MORTGAGE FUNDING INC
1509 NE 4TH AVE
FORT LAUDERDALE, FL 33304

CAPITAL NETWORK FUNDING
8383 WILSHIRE BLVD #526
BEVERLY HILLS, CA 90211

CAPITAL ONE BANK
DERRICK E MCGAVIC ATTY AT LAW
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PO BOX 10163
EUGENE, OR 97440

CAPITAL ONE FINANCIAL SERVICES
CAPITAL ONE NA
ATTN JAMIE GARTHRIGHT
4881 COX RD
GLEN ALLEN, VA 23060

CAPITAL ONE FINANCIAL SERVICES
HIBERNIA NATIONAL BANK
PO BOX 85152
RICHMOND, VA 23285-5152
CAPITAL REAL ESTATE FINCE CORP
3924 DEVON AVE # 100
LINCOLNWOOD, IL 60712
CAPITAL REALTY ANALYSTS INC
78-100 MAIN ST #201
LA QUINTA, CA 92253

CAPITOL RESOURCES INSTITUTE
1414 K ST #200
SACRAMENTO, CA 95814

CAPITOLA CHAMBER OF COMMERCE
716-G CAPITOLA AVE
CAPITOLA, CA 95010

CAR 54 COURIER SERVICE INC
PO BOX 610851
POMPANO BEACH, FL 33061

CARDINAL CONSULTING INC
2401 STANWELL DR #420
CONCORD, CA 94520

CARDS DIRECT INC
200 CHISOLM PL #220
PLANO, TX 75075

CARDTRONICS LP
3110 HAYES RD #300
HOUSTON, TX 77082
CARDWELL AGENCY INC
PO BOX 281998
ATLANTA, GA 30384
CAREER CONCEPTS USA INC
188 S NORTHWEST HWY #302A
CARY, IL 60013

CAREER RESOURCES INC
350 FAIRFIELD AVE
BRIDGEPORT, CT 06604

CAREERBUILDER LLC
13047 COLLECTION CTR DR
CHICAGO, IL 60693-0130
CAREERLINK INC
                                      Page 123
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12750 MERIT DR #1015
DALLAS, TX 75251

CARES OF WASHINGTON
1833 N 105TH ST #201
SEATTLE, WA 98133
CAREY INTERNATIONAL
CAREY LIMOUSINE SF INC
BILLING DEPT
PO BOX 631414
BALTIMORE, MD 21263-1414
CAREY LIMOUSINE SF INC
PO BOX 631414
BALTIMORE, MD 21263-1414

CAREY M. BRENNAN
[Address Information Redacted]

CARIDAD CENTER INC
8645 W BOYNTON BEACH BLVD
BOYNTON BEACH, FL 33472
CARITAS COMMUNITIES INC
150 WOOD RD #300
BRAINTREE, MA 02184

CARL HAGLUND
1019 CALIFORNIA LANE SW
SEATTLE, WA 98116
CARL SCHICKLER
1667 YORK AVE 2N
NEW YORK, NY 10128

CARLA WINTER-EVANS DBA
CW ENTERTAINMENT
224 OAK KNOLL LOOP
WALNUT CREEK, CA 94596

CARLON GUYETTE
EXCLUSIVE WINDOW CLEANING
ENTERPRISES
PO BOX 848
PEARBLOSSOM, CA 93553-0848

CARLOS E FLORES
11423 GATTERAS ST #3
NORTH HOLLYWOOD, CA 91601
CARLOS M SANCHEZ & ASSOC INC
9201 WILSHIRE BLVD #101
BEVERLY HILLS, CA 90210
CARLSBAD CHAMBER OF COMMERCE
5934 PRIESTLY DR
CARLSBAD, CA 92008
CARLSMITH BALL LLP
PO BOX 656
HONOLULU, HI 96809-0656

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CARLYLE'S CORPORATE CATERING
CARLYLE&#39S CORPORATE CATERING
PO BOX 250609
ATLANTA, GA 30325
CARMA LYNE BAILEY
10 170TH PL SE
BOTHELL, WA 98012

CARMEL CHAMBER OF COMMERCE
PO BOX 4444
CARMEL, CA 93921
CARMEL PARK II LP
11121 CARMEL COMMONS BLVD #400
CHARLOTTE, NC 28226

CARMINE GOGLIA DBA
GIFT OF FAME ENTERPRISES
1534 N MOORPARK RD
THOUSAND OAKS, CA 91360

CARNEGHI BLUM & PARTNERS INC
1602 THE ALAMEDA #205
SAN JOSE, CA 95126

CARNEGIE ARTS CENTER FOUNDATION
TURLOCK
PO BOX 2568
TURLOCK, CA 95381

CARNEY BADLEY SPELLMAN PS
701 5TH AVE #3600
SEATTLE, WA 98104-7010

CARNITAS DON RAFA RESTAURANT
4617-19 S KEDZIE AVE
CHICAGO, IL 60632

CAROL C HILE
DBA CAROUSEL PRODUCTIONS
4051 MARCASEL AVE
LOS ANGELES, CA 90066

CAROL DIESS DBA
BALLOONS N MORE
8780 19TH ST #241
ALTA LOMA, CA 91701

CAROL H WILLIAMS ADVERTISING
555 12TH ST #1700
OAKLAND, CA 94607
CAROL J CALDWELL
2410 NW PACIFIC ST
NEWPORT, OR 97365

CAROL STEAM CHAMBER OF COMMERCE
150 S GARY AVE
CAROL STREAM, IL 60188

CAROLE FERRARA ASSOCIATES INC
80 E 11TH ST
                                       Page 125
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NEW YORK, NY 10003
CAROLINA GEORGIA SOUND
PO BOX 14759
AUGUSTA, GA 30919

CAROLINA MAIL BOX
C/O BAY VIEW FUNDING
PO BOX 881774
SAN FRANCISCO, CA 94188-1774
CAROLINA MATERIALS HANDLING
SERVICES INC
PO BOX 6
COLUMBIA, SC 29202

CAROLYN HUGHES
DBA MAGIC TOUCH MASSAGE
2376 CYPRESS LANDING DR
ATLANTIC BEACH, FL 32233
CAROLYN PIETALA
101 BOYLSTON AVE E #19
SEATTLE, WA 98102

CARR ELECTRIC INC
3750 WILCOX RD
STOCKTON, CA 95215

CARREKER CORP
PO BOX 100256
ATLANTA, GA 30384-0256

CARREKER CORP
[Address to Be Provided]

CARRFOUR CORPORATION
155 S MIAMI AVE #850
MIAMI, FL 33131
CARRIER CORPORATION
PO BOX 93844
CHICAGO, IL 60673-3844

CARRUTHERS & ROTH PA
ATTORNEYS AT LAW
PO BOX 540
GREENSBORO, NC 27402

CARTERET MORTGAGE CORPORATION
46169 WESTLAKE DR #100
POTOMAC FALLS, VA 20165
CARTERET MORTGAGE CORPORATION
6211 CENTREVILLE RD. STE.
CENTREVILLE, VA 20121

CARTUS CORP
8081 ROYAL RIDGE PKWY #200
IRVING, TX 75063

CARTUS FINANCIAL CORP
CARTUS CORP
                                     Page 126
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40 APPLE RIDGE RD
DANBURY, CT 06810

CARTWHEEL CREATIVE LLC
3916 S MORGAN ST
SEATTLE, WA 98118
CARVER COMMUNICATIONS INC DBA
REAL ESTATE NEWSLINE
PO BOX 33862
SAN ANTONIO, TX 78265-3862
CARVER DARDEN KORETZKY TESSIER
FINN BLOSSMAN & AREAUX LLC
ENERGY CENTRE
1100 POYDRAS ST #3100
NEW ORLEANS, LA 70163
CARY CASAL
260 MUMBY RD
NORDLAND, WA 98358

CASA LINDA
DBA AMERICAN HERITAGE MGMT CORP
1655 FLATBUSH AVE
BROOKLYN, NY 11210
CASA MANANA INC
930 W FIRST ST #200
FORT WORTH, TX 76102

CASA OF OREGON
212 E 1ST ST
NEWBERG, OR 97132-2904

CASA SANTA BARBARA
23 E CANON PERDIDO
SANTA BARBARA, CA 93101

CASAGRANDES DELI & CATERING
1910 COUNTRY CLUB BLVD
STOCKTON, CA 95204-4822
CASCADE PROMOTION CORPORATION
1201 RADIO RD #100
REDWOOD CITY, CA 94065

CASCADE RECOVERY INC
PO BOX 17070
PORTLAND, OR 97217
CASCADE TITLE COMPANY
811 WILLAMETTE ST
EUGENE, OR 97401
CASCADIAN CHORALE
PO BOX 53292
BELLEVUE, WA 98015
CASEY EISNOR INC
34 MUTINY PLACE
KEY LARGO, FL 33037

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
CASEY M. NAULT
[Address Information Redacted]

CASEY SYSTEMS INC
209 LAFAYETTE DR
SYOSSET, NY 11791
CASH CONNECTION
11902 SE STARK ST
PORTLAND, OR 97216
CASHIN ASSOCIATES PC
1200 VETERANS MEMORIAL HWY
HAUPPAUGE, NY 11788

CASHLAND FINANCIAL SERVICE
17 TRIANGLE PARK DR
CINCINNATI, OH 45246
CASINO MAGIC PARTIES LLC
PO BOX 19159
SAN DIEGO, CA 92159

CASSEL INC
3150 RICHARDS RD #204
BELLEVUE, WA 98005
CASTAL ANGLER MAGAZINE LLC
PO BOX 373257
SATELLITE BEACH, FL 32937

CASTERLINE REPORTING SERVICES
6308 STEWART BLVD
THE COLONY, TX 75056

CASTILLO & ASSOCIATES
2400 5TH AVE #128
SAN DIEGO, CA 92101

CASTLE MEINHOLD &
STAWIARSKI INC
999 18TH ST #2201
DENVER, CO 80202

CASTLE MORTGAGE INC
6602 E 75TH ST
INDIANAPOLIS, IN 46250

CATALINA VILLAGOMEZ
2662 JEFFERSON ST
CARSON, CA 90810
CATAPULT 3
5017 GAGE ST
BOISE, ID 83706-1517
CATHARINE E. KILLIEN
[Address Information Redacted]
CATHEDRAL ARTS PROJECT INC
4063 SALISBURY RD #107
JACKSONVILLE, FL 32216

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CATHERINE MAITLAND FRAZIER
1235 N FORESTDALE PL
EAGLE, ID 83616
CATHERINE MORRISSEY
DBA FOUNDATION APPRAISAL SVS
1550 ALLEN AVE
GLENDALE, CA 91201

CATHLIC CHARITIES CRDT COUNSLNG
128 SOUTH 6TH STREET
LA CROSSE, WI 54601
CATHOLIC CHARITIES OF E VA INC
5361-A VIRGINIA BEACH BLVD
VIRGINIA BEACH, VA 23462

CATHOLIC CHARITIES OF ORLANDO
1771 N SEMORAN BLVD
ORLANDO, FL 32807
CATHOLIC CHARITIES OF ST CLOUD
1730 7TH AVE S
ST CLOUD, MN 56301

CATHOLIC COUNCL FOR THE SPANISH
SPEAKING OF THE DIOCESE
308 N CALIFORNIA ST
STOCKTON, CA 95202

CATHOLIC MEDICAL MISSION
[Address to Be Provided]

CAVE CANEM INC
TODD HEDGCOTH
2231 FIELD LANE
BEDFORD, TX 76021

CB RICHARD ELLIS
CB RICHARD ELLIS INC
DEPT 8844
LOS ANGELES, CA 90084-8844
CB RICHARD ELLIS
CB RICHARD ELLIS INC
FILE #050482 LOCATION CODE 2079
LOS ANGELES, CA 90074-0482

CB RICHARD ELLIS
CB RICHARD ELLIS INC
FILE 050482 LOCATION 2103
LOS ANGELES, CA 90074-0482
CB RICHARD ELLIS
CB RICHARD ELLIS INC
2700 POST OAK BLVD #250
HOUSTON, TX 77056

CB RICHARD ELLIS
CB RICHARD ELLIS INC
350 SANSOME ST #840
SAN FRANCISCO, CA 94104

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CB RICHARD ELLIS
CB RICHARD ELLIS INC
3696 COLLECTION CTR DR
LOC CODE 2605
CHICGO, IL 60693

CB RICHARD ELLIS
CB RICHARD ELLIS INC
DBA TORTO WHEATON RESEARCH
100 N SEPULVEDA BLVD #1100
EL SEGUNDO, CA 90245
CB RICHARD ELLIS
CB RICHARD ELLIS INC
REICHEL REALTY & INVESTMENT INC
ATTN: DAN CASEY
8845 N MILITARY TRAIL
PALM BEACH GARDENS, FL 33410
CB RICHARD ELLIS
CB RICHARD ELLIS INC
VALUATION & ADVISORY SVCS
3280 PEACHTREE RD #1100
ATLANTA, GA 30305

CB RICHARD ELLIS
CB RICHARD ELLIS INC
VALUATION AND ADVISORY SERVICES
311 S WACKER DR #400
CHICAGO, IL 60606

CB RICHARD ELLIS
VALUATION & ADVISORY SERVICES
355 S GRAND AVE #1200
LOS ANGELES, CA 90071-1549

CB RICHARD ELLIS
LOCATION CODE 2261
PO BOX 406588
ATLANTA, GA 30384-6588

CB RICHARD ELLIS INC
ATTN BULENT OZDEMIR
1301 2ND AVE 10TH FL
SEATTLE, WA 98101
CB RICHARD ELLIS INC
ATTN JAN BOTTCHER
1313 SW 5TH AVE
PORTLAND, OR 97201
CB RICHARD ELLIS INC
VAS DEPT 1225 17TH ST #1570
DENVER, CO 80202
CB RICHARD ELLIS INC
DEPT 8844
LOS ANGELES, CA 90084-8844
CB RICHARD ELLIS INC
FILE #050482 LCATION 3103
LOS ANGELES, CA 90074-0482

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CB RICHARD ELLIS INC
FILE #050482 LOCATION CODE 2053
LOS ANGELES, CA 90074-4082
CB RICHARD ELLIS INC
FILE #050482 LOCATION CODE 3103
LOS ANGELES, CA 90074-6411
CB RICHARD ELLIS INC
FILE 056411 LOCATION CODE 2074
LOS ANGELES, CA 90074-4082
CB RICHARD ELLIS INC
FILE# 056411 LOCATION 2331
LOS ANGELES, CA 90074-6411

CB RICHARD ELLIS INC
LOCATION NUMBER 4613
PO BOX 406588
ATLANTA, GA 30384-6588
CB RICHARD ELLIS INC
355 S GRAND AVE #1200
LOS ANGELES, CA 90071

CB RICHARD ELLIS INC
900 W 190TH ST #100
TORRANCE, CA 90502

CB RICHARD ELLIS INC
FILE #056411 LOCATION 2244
LOS ANGELES, CA 90074

CBC INNOVIS
CREDIT BUREAU
PO BOX 535595
PITTSBURGH, PA 15253-5595

CBC RESTAURANT CORP
DBA CORNER BAKERY CAFE
PO BOX 844288
DALLAS, TX 75284-4288
CBCINNOVIS
CREDIT BUREAU
5750 RUFE SNOW #120
NORTH RICHLAND HILLS, TX 76180

CBCINNOVIS INC
CREDIT BUREAU
875 GREENTREE RD #100
PO BOX 535595
PITTSBURGH, PA 15253

CBG OF MIAMI DADE COUNTY
AND VICINITY
PO BOX 510035
MIAMI, FL 33151
CBIZ ACCOUNTING TAX & ADVISORY
SERVICES LLC
FILE 50139
LOS ANGELES, CA 90074-0139
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CBIZ ACCOUNTING TAX & ADVISORY
SERVICES LLC
FILE 50441
LOS ANGELES, CA 90074-0441

CBJ ASSOCIATES
DBA LOS ANGELES BUSINESS JRNL
5700 WILSHIRE BLVD #170
LOS ANGELES, CA 90036-3659
CBJ LP
LOS ANGELES BUSINESS JOURNAL
DBA ORANGE CO BUSINESS JOURNAL
2600 MICHELSON DR #170
IRVINE, CA 92612

CBN CAPITAL BUSINESS NETWORK
PO BOX 12018
OLYMPIA, WA 98508
CBRE CONSULTING
CB RICHARD ELLIS
355 S GRAND AVE #1200
LOS ANGELES, CA 90071-1549

CBS RADIO
INFINITY BROADCASTING CORP
CHARLIE PALOOZA CHARITY MUSIC
FESTIVAL
9721 EXECUTIVE CENTER DR #200
ST PETERSBURG, FL 33702

CBS RADIO
KMXB FM
PO BOX 100111
PASADENA, CA 91189-0111

CBSK FINANCIAL GROUP INC
AMERICAN HOME LOANS
17991 COWAN
IRVINE, CA 92614
CC LENDING INC.
1840 GATEWAY DR STE 150
SAN MATEO, CA 94404

CCC OF SOUTHWEST GA
409 N JACKSON ST
ALBANY, GA 31702
CCCS BUREAU INC
3435 CAMINO DEL RIO S #110
SAN DIEGO, CA 92108
CCCS CRISS CROSS INC
PO BOX 1840
CLARKSBURG, WV 26302
CCCS FAMILY SERVICES
731 MAIN ST
LAFAYETTE, IN 47901

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
CCCS OF ALABAMA
777 S LAWRENCE ST #101
MONTGOMERY, AL 36104
CCCS OF ASHTABULA COUNTY
4200 PARK AVE
3RD FLOOR
ASHTABULA, OH 44004

CCCS OF AUGUSTA
CCCS OF THE CNTRL SAVANNAH RVR
1341 DRUID PARK AVE
AUGUSTA, GA 30904
CCCS OF CENTRAL ALABAMA
1401 20TH ST S STE 100
BIRMINGHAM, AL 35205-4913
CCCS OF CENTRAL NEW YORK INC
500 S SALINA ST #600
SYRACUSE, NY 13202-3394

CCCS OF DELAWARE VALLEY INC
1515 MARKET ST #1325
PHILADELPHIA, PA 19102

CCCS OF ELGIN
22 S. SPRING ST.
ELGIN, IL 60120

CCCS OF GREATER ATLANTA INC
100 EDGEWOOD AVE N.E. STE 1800
ATLANTA, GA 30303

CCCS OF GREATER NEW ORLEANS
CCCS OF NEW ORLEANS
PO BOX 53284
NEW ORLEANS, LA 70153-3284

CCCS OF GREATER SIOUXLAND
705 DOUGLAS ST
SUITE 350
SIOUX CITY, IA 51101

CCCS OF GREATER TOLEDO INC
5301 SOUTHWYCK BLVD #100
TOLEDO, OH 43614

CCCS OF IDAHO INC.
CONSUMER FINANCIAL SOLUTIONS
1090 N COLE RD
BOISE, ID 83704
CCCS OF KANAWHA VALLEY
1219 OHIO AVE
DUNBAR, WV 25064

CCCS OF LIMA
635 W SPRING ST
LIMA, OH 45801

CCCS OF LUTHERAN SOCIAL SVCS
PO BOX 89228
                                      Page 133
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
SIOUX FALLS, SD 57109
CCCS OF MCHENRY COUNTY INC
PO BOX 885
WOODSTOCK, IL 60098

CCCS OF MIDDLE GEORGIA INC
277 MLK JR BLVD #202
MACON, GA 31201

CCCS OF MID-FLORIDA INC
PO BOX 4110
OCALA, FL 34478-4110
CCCS OF MILWAUKEE
4915 S HOWELL AVE #102
MILWAUKEE, WI 53207
CCCS OF MOBILE
PO BOX 91068
MOBILE, AL 36691-1068

CCCS OF NE PENNSYLVANIA INC
1400 ABINGTON EXEC PARK
CLARKS SUMMITT, PA 18411

CCCS OF NEBRASKA INC
8805 INDIAN HILLS #105
OMAHA, NE 68114

CCCS OF NORTH CENTRAL TEXAS INC
PO BOX 299
901 N MCDONALD #600
MCKINNEY, TX 75070

CCCS OF NORTHEASTERN IOWA
1003 WEST 4TH ST
WATERLOO, IA 50702

CCCS OF NORTHERN CO & SE WY
1247 RIVERSIDE AVE
FORT COLLINS, CO 80524-3258
CCCS OF NORTHERN IDAHO INC
PO BOX 1105
1113 MAIN ST
LEWISTON, ID 83501

CCCS OF NORTHWEST INDIANA
3637 GRANT ST
GARY, IN 46408
CCCS OF OKLAHOMA
NATIONAL FOUNDATION
P.O. BOX 4450
TULSA, OK 74159-0450

CCCS OF OLYMPIC SOUTH SOUND
DBA CONSUMER COUNSELING NW
3560 BRIDGEPORT WAY W #1D
UNIVERSITY PLACE, WA 98466
CCCS OF ROCHESTER INC
                                       Page 134
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
50 CHESTNUT PLAZA
ROCHESTER, NY 14604

CCCS OF SOUTHERN NEW ENGLAND
501 CENTERVILLE RD
WARWICK, RI 02886-4320
CCCS OF SPRINGFIELD
1515 S GELNSTONE
PO BOX 10266
SPRINGFIELD, MO 65808
CCCS OF THE MID-OHIO VALLEY
BEECHWOOD PLAZA
2715 MURDOCH AVE B-4
PARKERSBURG, WV 26101

CCCS OF WSTRN PENNSYLVANIA INC
2403 SIDNEY ST #400
PITTSBURGH, PA 15203
CCCS OF YAKIMA VALLEY
NATIONAL FOUNDATION
PO BOX 511
YAKIMA, WA 98907

CCH INCORPORATED
PO BOX 4307
CAROL STREAM, IL 60197-4307

CCIM INC
ILLINOIS CCIM CHAPTER
214 N HALE ST
WHEATON, IL 60187

CCIM INSTITUTE
13644 COLLECTION CENTER DR
CHICAGO, IL 60693-0136

CCIM SAN DIEGO CHAPTER
1024 WALL ST
LA JOLLA, CA 92037
CC-OPS INC
600 CORPORATE POINTE #1010
CULVER CITY, CA 90230

CCR WENATCHEE III LLC
DBA CHERRY CREEK RADIO
231 N WENATCHEE AVE
WENATCHEE, WA 98801
CCS ADPLUS LLC
DBA INFOLURE
1705 W PARKSIDE LANE
PHOENIX, AZ 85027-1333

CCT MARKETING LLC
AS AGNT FOR CYBER CITY TELESRVS
401 HACKENSACK AVE
HACKENSACK, NJ 07601
CD AND C FOUNDATION INC
                                       Page 135
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1435 51ST ST
NORTH BERGEN, NJ 07047

CD BEAM ENTERPRISES INC
DBA MONEY MAILER OF SACRAMENTO
970 SUNRISE AVE #125-307
ROSEVILLE, CA 95661
CD CONSTRUCTION CONSULTING
2609 SAGEBRUSH #205
FLOWER MOUND, TX 75028
CD CONSTRUCTION CONSULTING INC
CD CONSTRUCTION CONSULTING
8601 FM 2222 BLDG 1 #102
AUSTIN, TX 78730

CD LIGHT LLC
DBA ZIPINFO COM
230 N TRANQUIL PATH DR
THE WOODLANDS, TX 77380

CDC ASSOC OF GREATER HOUSTON
5445 ALMEDA RD #505
HOUSTON, TX 77004

CECIL W POWELL & COMPANY
219 N NEWMAN ST
JACKSONVILLE, FL 32203

CEDAR FAIR
DBA KNOTTS BERRY FARM
8039 BEACH BLVD
BUENA PARK, CA 90620

CEDAR HILL POLICE DEPT
ALARM UNIT
285 UPTOWN BLVD BUILDING 200
CEDAR HILL, TX 75104
CEDAR PARK CHAMBER OF COMMERCE
PO BOX 805
CEDAR PARK, TX 78630

CEEDCO INC
2310 TALL PINES DR #220
LARGO, FL 33781

CEITRONICS INC
1132 N 7TH ST
SAN JOSE, CA 95112
CELEBRITY MORTGAGE LLC
200 PARK AVE #220
FLORHAM PARKL, NJ 07932
CELENT LLC
A DIVISION OF OLIVER WYMAN INC
745 BOYLSTON ST #502
BOSTON, MA 02116

CELSO H TEIXEIRA
73 FOX RUN RD
                                      Page 136
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
WATERBURY, CT 08708
CENTEK CAPITAL GROUP
9100 WILSHIRE BLVD #275E
BEVERLY HILLS, CA 90212

CENTER BROTHERS INC
4020 UNIVERSITY BLVD CT
JACKSONVILLE, FL 32217

CENTER FOR CAREER ALTERNATIVES
901 RAINIER AVE SOUTH
SEATTLE, WA 98144
CENTER FOR CHILD CARE AND
FAMILY SERVICES DBA
CCCS OF HAMPTON ROADS
PO BOX 7315
HAMPTON, VA 23666

CENTER FOR COLLABORATIVE
EDUCATION METRO BOSTON INC
1135 TREMONT ST #490
BOSTON, MA 02120

CENTER FOR ECONOMIC PROGRESS
29 E MADISON ST #910
CHICAGO, IL 60602

CENTER FOR HOUSTONS FUTURE INC
1200 SMITH ST #1150
HOUSTON, TX 77002

CENTER FOR MULTICULTURAL
WELLNESS AND PREVENTION INC
1814 W COLONIAL DR
ORLANDO, FL 32804

CENTER FOR SCIENCE TEACHING &
LEARNING INC
1 TANGLEWOOD RD
ROCKVILLE CENTRE, NY 11570
CENTER FOR THE IMPROVEMENT OF
CHILD CARING
6260 LAUREL CANYON BLVD #304
NORTH HOLLYWOOD, CA 91606

CENTER FOR THE PACIFIC
ASIAN FAMILY INC
543 N FAIRFAX AVE #108
LOS ANGELES, CA 90036
CENTER ON POLICY INITIATIVES
3727 CAMINO DEL RIO S #100
SAN DIEGO, CA 92126

CENTER THEATRE GROUP
OF LOS ANGELES
601 W TEMPLE ST
LOS ANGELES, CA 90012
CENTERLINE CONSTRUCTION
                                      Page 137
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MIAMI DADE CHAMBER
& DESIGN INC
3116 E 5TH
SPOKANE, WA 99202
CENTERPRISE SERVICES LLC
100 MANHATTANVILLE RD #11
PURCHASE, NY 10577

CENTERS OF AMERICA INC
122 AVENIDA PATERO DE ORO
SAN CLEMENTE, CA 92672
CENTRAL AREA DEVELOPMENT ASSN
2301 SOUTH JACKSON, SUITE 101-D
SEATTLE, WA 98144

CENTRAL CITY ASSOCIATION
OF LOS ANGELES
626 WILSHIRE BLVD #200
LOS ANGELES, CA 90017

CENTRAL FINANCIAL GROUP INC
9080 TELSTAR AVE #326
EL MONTE, CA 91731

CENTRAL FLORIDA SURVEYS INC
DBA TINKLEPAUGH SURVEYING SVCS
379 W MICHIGAN ST #208
ORLANDO, FL 32806

CENTRAL FLORIDA YOUNG MENS
CHRISTIAN ASSOCIATION
870 N HASTINGS ST
ORLANDO, FL 32808

CENTRAL FURNITURE MART INC
1348 N MILWAUKEE AVE
CHICAGO, IL 60622
CENTRAL ILLINOIS DEBT MANAGEMNT
& CREDIT EDUCATION INC
719 MAIN STREET
PEORIA, IL 61602
CENTRAL OHIO CREDIT CORP
SIDNEY E LEWIS
300 W ADAMS ST #300
JACKSONVILLE, FL 32202
CENTRAL PARKING CORP
FOLEYS GARAGE
1001 MCKINNEY #450
HOUSTON, TX 77002
CENTRAL PARKING CORP
475 17TH ST
DENVER, CO 80202
CENTRAL PARKING SYSTEM
CENTRAL PARKING CORP
110 WEST C ST #1711
SAN DIEGO, CA 92101
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CENTRAL PARKING SYSTEM
PO BOX 790402
ST LOUIS, MO 63179-0402
CENTRAL PARKING SYSTEM
1175 PEACHTREE ST
100 COLONY SQ
ATLANTA, GA 30361

CENTRAL PASCO CHAMBER
OF COMMERCE
PO BOX 98
LAND O LAKES, FL 34639

CENTRAL TAX BUREAU OF PA
ENFORCEMENT DIVISION
403 S 3RD ST 2ND FL #B
YOUNGWOOD, PA 15697

CENTRAL VALLEY ASSN OF REALTORS
16980 S HARLAN RD
LATHROP, CA 95330
CENTRAL VALLEY ASSOC OF REALTOR
CENTRAL VALLEY ASSN OF REALTORS
CHARITABLE FOUNDATION
16980 S HARLAN RD
LATHROP, CA 95330-8738

CENTRAL VALLEY CHAPTER
ROBERT MORRIS ASSOCIATES
RISK MANAGEMENT ASSOCIATION
2021 W MARCH LN #2D
STOCKTON, CA 95207

CENTRAL VALLEY PUBLISHING INC
DBA MERCED SUN-STAR
PO BOX 739
MERCED, CA 95341

CENTRAL VALLEY PUBLISHING INC
DBA SIERRA STAR
49165 CRANE VALLEY RD
OAKHURST, CA 93644
CENTRAL WESTERN FINANCIAL
879 190TH ST 4TH FL
GARDENA, CA 90248
CENTRO CAMPESINO FARMWORKER
CENTER INC
35801 SW 186TH AVE
PO BOX 343449
FLORIDA CITY, FL 33034
CENTRO LATINO DE
EDUCATION POPULAR
1709 W 8TH ST #A
LOS ANGELES, CA 90017

CENTRO ROMERO
6216 N CLARK
                                       Page 139
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CHICAGO, IL 60660
CENTURY EXPO LTD DBA
CENTURY EXPOSITIONS
548 LESTER AVE
PO BOX 43
OKALASKA, WI 54650
CENTURY INTERCOUNTY
TITLE AGENCY INC
71 W MAIN ST 3RD FL
FREEHOLD, NJ 07728
CENTURY PUBLICATIONS INC
6677 MANDARIN RD
SARASOTA, FL 34238

CENTURYTEL
PO BOX 4300
CAROL STREAM, IL 60197-4300
CENVEO
PO BOX 24667
SEATTLE, WA 98124-0667

CENVEO CORPORATION
JIM MALONE
CENVEO INC
339 HARBOR WAY
SOUTH SAN FRANCISCO, CA 94080-6919

CENVEO CORPORATION
PO BOX 31001-1187
PASADENA, CA 91110-1187

CENVEO CORPORATION
PO BOX 536900
ATLANTA, GA 30353-6900

CENVEO CORPORATION
PO BOX 802035
CHICAGO, IL 60680-2035
CENVEO SERVICES LLC
829 S VANDEMARK RD
SIDNEY, OH 45365

CEO TITLE AGENCY INC
399 KNOLLWOOD RD #313
WHITE PLAINS, NY 10603-1933
CEPADA MARTIN
VASES WITH FACES
2832 THE MEADOWS WAY
COLLEGE PARK, GA 30349
CERIDIAN TAX SERVICE INC
CTS
13839 COLLECTIONS CENTER DR
CHICAGO, IL 60693

CERTIFIED ABSTRACT CORP OF NJ
8 LINDA CIR
                                     Page 140
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ABERDEEN, NJ 07747
CESAR A VALENCIA
4051 MARCIA PL
BOISE, ID 83704

CFA INSTITUTE
PO BOX 3668
CHARLOTTESVILLE, VA 22903-0668

CFM PARTNERS INC
4435 MACOMB STREET NW #100
WASHINGTON, DC 20016
CGI - AMS INC.
[Address to Be Provided]

CGI TECHNOLOGIES AND SOLUTION
15038 COLLECTIONS CENTER DR
CHICAGO, IL 60693
CH DEVELOPMENT ASSOCIATION
146 10TH AVE #101
SEATTLE, WA 98122

CHACON CONSTRUCTION SVC INC
19501 BUSINESS CENTER DR
NORTHRIDGE, CA 91324

CHAKA KHAN FOUNDATION
9100 WILSHIRE BLVD #515
EAST TOWER
BEVERLY HILLS, CA 90212

CHALLENGE AIR FOR
CHALLENGE AIR FOR KIDS &
KIDS & FRIENDS INC
8008 CEDAR SPRIGNS RD LB24
DALLAS, TX 75235
CHAMBER OF COMMERCE
OF THE PALM BEACHES
401 N FLAGLER DR
W PALM BEACH, FL 33401
CHAMBER OF MEDFORD/JACKSON CO
101 E 8TH ST
MEDFORD, OR 97501

CHANA SCHELLER
[Address to Be Provided]
CHANCELLOR TITLE AGENCY INC
353 C RT 46 W #211
FAIRFIELD, NJ 07004
CHANDLER POLICE DEPARTMENT
ALARM ADMINISTRATOR
250 E CHICAGO ST
PO BOX 4008 MAIL STOP 303
CHANDLER, AZ 85244-4008
CHANDLER UNIFIED SCHOOL DIST
                                      Page 141
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HARTFORD SYLVIA ENCINAS
ELEMENTARY SCHOOL
700 N HARTFORD ST
CHANDLER, AZ 85225-7211
CHANNEL M
ATTN ACCOUNTS RECEIVABLE
2015 S WESTGATE AVE
LOS ANGELES, CA 90025

CHAPMAN AND CUTLER
PO BOX 71291
CHICAGO, IL 60694
CHAPMAN MORTGAGE GROUP INC
9727 GREENSIDE DR
COCKEYSVILLE, MD 21030
CHAPTER 13 TRUSTEE
PO BOX 2139
MEMPHIS, TN 38101-2139

CHAPTER 13 TRUSTEE-SEATTLE
600 UNIVERSITY ST #2200
SEATTLE, WA 98101-4100

CHAPTER 13 TRUSTEE-TIM TRUMAN
PO BOX 961076
FT WORTH, TX 76161-1076

CHAPTER 13 TRUSTEE-TOM VAUGHN
PO BOX 588
MEMPHIS, TN 38101-0588

CHARITIES HOUSING
465 S 1ST ST
SAN JOSE, CA 95113-2816

CHARLES AYERS
BILL MERRIMAN PLLC
625 MARKET ST
PARKERSBURG, WV 26101
CHARLES BOYD COLEMAN
AND TERRY LEE POTTER
8 S BLUFF RD
ELDER MOUNTAIN, TN 37419

CHARLES D MILLER
SEPARATE PROP AC0248010241
150 N ORANGE GROVE BLVD
PASADENA, CA 91103
CHARLES D MILLER
SEPARATE PROP AC0248010241
PASADENA, CA 91103

CHARLES D ROSE
EXECUTIVE MRTGE & FINANCIAL SRV
310 STATE ST # 202
LAKE OSWEGO, OR 97034
CHARLES DARROH & ASSOCIATES
                                       Page 142
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99 INCA ST
DENVER, CO 80223

CHARLES E MARTIN
4563 N 35TH ST
MILWAUKEE, WI 53209
CHARLES E. SMITH III
[Address Information Redacted]

CHARLES GREENTHAL MANAGEMENT
CHARLES H GREENTHAL MANAGEMENT
5 MACDONALD AVE
ARMONK, NY 10504

CHARLES H GREENTHAL MANAGEMENT
88 FROEHLICH FARM BLVD 4TH FLR
WOODBURY, NY 11797
CHARLES L CLARK
DBA CLARK & COMPANY
150 WHITE ST
BELMONT, MA 02478
CHARLES LAKE
1524 88TH AVE NE
LAKE STEVENS, WA 98258

CHARLES M LILLIS
WASHINGTON MUTUAL LEGAL DEPT
1301 2ND AVE - WMC3501
SEATTLE, WA 98101

CHARLES M LILLIS
WASHINGTON MUTUAL LEGAL DEPT
[Address to Be Provided]
SEATTLE
WA, 98101

CHARLES M. LILLIS
[Address Information Redacted]

CHARLES P CORREIA
2165 TWIN SISTERS RD
FAIRFIELD, CA 94534
CHARLES R CHAVEZ
1 CHURCH ST #206
SAN FRANCISCO, CA 94114
CHARLES R PEYTON
240 NEWPORT CENTER DR #203
NEWPORT BEACH, CA 92660

CHARLES R STARK
PO BOX 51
SANTA ROSA, CA 95402

CHARLES ROUSSIN
7221 CHESAPEAKE CIR
BOYNTON BEACH, FL 33462
CHARLES W SEMBLER
                                      Page 143
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INDIAN RIVER COUNTY TAX
TAX COLLECTOR
PO BOX 1509
VERO BEACH, FL 32961-1509
CHARLETTE SNEED
2402 W CULLIVAN ST
INGLEWOOD, CA 90303

CHARLIE BAME ALDRED
4 CHARLIE BAME ALDRED
BOSTON, MA 02215
CHARLOTTE C ROCHE
DBA BAY AREA COURT REPORTING
21573 FOOTHILL BLVD #212
HAYWARD, CA 94541
CHARLOTTE K ELLIS
199 RENO CUTOFF RD
WOODLAND, WA 98674

CHARO COMMUNITY DEVELOPMNT CORP
4301 E VALLEY BLVD
LOS ANGELES, CA 90032

CHARTERED MARKETING SERVICES, INC. AND INTERSECTIONS, INC.
[Address to Be Provided]

CHASE ABSTRACT LLC
1411 PRESIDENT ST #2
BROOKLYN, NY 11213

CHASE BANK
JP MORGAN CHASE BANK NA
2500 WESTFIELD DR II1-6159
ELGIN, IL 60123

CHASE BANK
JP MORGAN CHASE BANK NA
NATIONAL ENTERPRISE OPERATIONS
SW REGION RESEARCH ADJUSTMENTS
14800 FRYE RD TX1 0054
FORT WORTH, TX 76161
CHASE MCMILLIN APPRAISAL INC
8260 E RAINTREE DR
SCOTTSDALE, AZ 85260

CHASES DOWNTOWN FLORIST
1201 3RD AVE #350
SEATTLE, WA 98101-3000
CHATEAU FINANCIAL SERVICES LLC
8101 E PRENTICE AVE #815
GREENWOOD VILLAGE, CO 80111

CHATFIELD POWER EQUIPMENT
190 MAIN ST S
SOUTHBURY, CT 06488

CHAU TRAN
2233 STRANAHAN DR
                                       Page 144
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ALHAMBRA, CA 91803
CHAYA
PO BOX 22291
SEATTLE, WA 98122-0291

CHC INSTITUTE
369 PINE ST #310
SAN FRANCISCO, CA 94104

CHECK PRINTERS
DBA AN RR DONNELLEY COMPANY
BOX 305112
NASHVILLE, TN 37230-5112

CHECK PRINTERS INC
CHECK PRINTERS
RR DONNELLEY
1530 ANTIOCH PIKE
ANTIOCH, TN 37013
CHECK PRINTERS INC
RR DONNELLEY
1530 ANTIOCH PIKE
ANTIOCH, TN 37013

CHECK STRIP MASTERS
1704 LLANO ST #334 B
SANTA FE, NM 87505

CHECKERS CATERING
83 WRIGHT BROTHERS AVE
LIVERMORE, CA 94551-9473

CHECKFREE
CHECKFREE CORPORATION
RETURN PAYMENTS
PO BOX 102594
ATLANTA, GA 30368-2594
CHECKFREE CORP
CHECKFREE CORPORATION
6000 PERIMETER DR
DUBLIN, OH 43017
CHECKFREE CORP ABT RETURNS
CHECKFREE CORPORATION
PO BOX 102657
ATLANTA, GA 30368-2657
CHECKFREE CORPORATION
BANKS NEIL
4411 E JONES BRIDGE RD
NORCROSS, GA 30092-1615
CHECKFREE CORPORATION
100 SOUTH CREST DR
STOCKBRIDGE, GA 30281
CHECKFREE SERVICES CORP
CHECKFREE CORPORATION
PO BOX 409287
ATLANTA, GA 30384-9287
                                     Page 145
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CHEDER OHR MENACHEM
1729 PRESIDENT STREET
BROOKLYN, NY 11213
CHEETAHMAIL
22807 NETWORK PL
CHICAGO, IL 60673-1228

CHEROKEE COUNTY
90 N ST #310
CANTON, GA 30114
CHEROKEE COUNTY CHAMBER OF
COMMERCE & AGRICULTURE INC
PO BOX 4998
3605 MARIETTA HWY
CANTON, GA 30114
CHERRY CREEK MORTGAGE
APPRAISAL AUTHORITY
7600 E ORCHARD RD #250 N
GREENWOOD VILLAGE, CO 80111
CHERYL FELTGEN
LAW OFFICE OF
DONALD W HEYRICH PLLC
701 5TH AVE
SEATTLE, WA 98168

CHERYL MASILANG
DBA MUNCHIES
274 SUNSET AVE
SUISUN CITY, CA 94585

CHESAPEAKE CIRCUIT COURT CLERK
GENERAL DISTRICT
307 ALBEMARLE DR #300A
CHESAPEAKE, VA 23322-5579
CHESTER MTN DISTRIBUTORS INC
DBA CHESTER MOUNTAIN NATURAL
SPRING WATER
5 SIDNEY CT
LINDENHURST, NY 11757-1011
CHESTNUT HEALTH SYSTEMS INC DBA
CCCS NCNTRL IL CHESTNUTHLTHSVCS
1003 MARTIN LUTHER KING DR
BLOOMINGTON, IL 61701
CHEVRON & TEXACO BUSINESS
CARD SERVICES
PO BOX 70887
CHARLOTTE, NC 28272-0887
CHEX SYSTEMS INC
LOSS CONTROL SOLUTIONS
DEPT 2634
LOS ANGELES, CA 90084-2634

CHEYENNE MOUNTAIN ZOO
4250 CHEYENNE MOUNTAIN ZOO RD
                                       Page 146
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COLORADO SPRINGS, CO 80906
CHI GAMMA GAMMA FOUNDATION INC
PO BOX 71507
MARIETTA, GA 30007-1507

CHICAGO AREA GAY & LESBIAN
CHAMBER OF COMMERCE
3656 N HALSTED
CHICAGO, IL 60613
CHICAGO CARES
300 W ADAMS ST #300
CHICAGO, IL 60606

CHICAGO CARIBBEAN JERKFEST
CARIBBEAN ASSOCIATION OF
MIDWEST AMERICA
7547 N ROGERS AVE
CHICAGO, IL 60626
CHICAGO CITY TREASURER
121 N LASALLE RM 106
CHICAGO, IL 60602

CHICAGO COMMUNITY LOAN FUND
29 E MADISON #1700
CHICAGO, IL 60602

CHICAGO COMMUNITY VENTURES
700 N SACRAMENTO BLVD #130
CHICAGO, IL 60612

CHICAGO DEFENDER CHARITIES INC
700 E OAKWOOD BLVD 5TH FL
CHICAGO, IL 60653
CHICAGO FOUNDATION FOR EDUCATN
400 N MICHIGAN AVE RM 311
CHICAGO, IL 60611

CHICAGO INTERFACE GROUP INC
1107 KEY PLAZA #185
KEY WEST, FL 33040
CHICAGO LEGAL CLINIC INC
2938 E 91ST ST
CHICAGO, IL 60617

CHICAGO MAGAZINE
435 N MICHIGAN AVE
CHICAGO, IL 60611
CHICAGO NATL LEAGUE BALL CLUB
CHICAGO CUBS COLLECTION ACCOUNT
PO BOX 98537
CHICAGO, IL 60693-8537

CHICAGO REHABILITATION NETWORK
53 W JACKSON BLVD
CHICAGO, IL 60604
CHICAGO RUNNING & SPECIAL
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EVENT MANAGEMENT
DBA SPECIAL EVENTS MANAGEMENT
2221 W 43RD ST
CHICAGO, IL 60609
CHICAGO SOFT
6232 N PULASKI RD #402
CHICAGO, IL 60646-5131

CHICAGO TITLE
CHICAGO TITLE INSURANCE CO
DBA LSI APPRAISAL
ATTN KARLA PACKARD
2550 N RED HILL AVE
SANTA ANA, CA 92705

CHICAGO TITLE CO-ISLAND DIV
CHICAGO TITLE COMPANY
770 NE MIDWAY BLVD
PO BOX 1050
OAK HARBOR, WA 98277-1050

CHICAGO TITLE COMPANY
ATTN MICHAEL SHARPE
1315 CORONA POINTE CT
CORONA, CA 92879
CHICAGO TITLE COMPANY
500 E ESPLANADE DR #102
OXNARD, CA 93036

CHICAGO TITLE DBA
CHICAGO TITLE INSURANCE CO
LSI
700 CHERRINGTON PKWY
CORAPOLIS, PA 15108
CHICAGO TITLE INSURANCE
CHICAGO TITLE INSURANCE CO
10135 SE SUNNYSIDE RD
CLACKAMAS, OR 97015

CHICAGO TITLE INSURANCE
CHICAGO TITLE INSURANCE CO
1111 MAIN ST #200
VANCOUVER, WA 98660

CHICAGO TITLE INSURANCE
CHICAGO TITLE INSURANCE CO
3030 HOYT AVE
EVERETT, WA 98201
CHICAGO TITLE INSURANCE CO
ATTN TONYA KING
2001 BRYAN ST #1700
DALLAS, TX 75201

CHICAGO TITLE INSURANCE CO
171 N CLARK
CHICAGO, IL 60601-3294

CHICAGO TITLE INSURANCE CO
2828 TRINITY MISSION RD #221
                                     Page 148
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CAROLLTON, TX 75006
CHICAGO TITLE INSURANCE CO
8821 W 87TH ST
HICKORY HILLS, IL 60457

CHICAGO TITLE INSURANCE COMPANY
CHICAGO TITLE INSURANCE CO
330 GRANT ST #920
PITTSBURGH, PA 15219
CHICAGO TITLE INSURANCE COMPANY
CHICAGO TITLE INSURANCE CO
701 5TH AVE #3400
SEATTLE, WA 98104

CHICAGO TITLE INSURANCE COMPANY
CHICAGO TITLE INSURANCE CO
SERVICE LINK DIVISION
4000 INDUSTRIAL BLVD
ALLQULPPA, PA 15001

CHICAGO TRIBUNE
14889 COLLECTIONS CENTER DR
CHICAGO, IL 60693-0148

CHICAGO UNITED FUTBOL CLUB LLC
1433 S PRAIRIE AVE #G
CHICAGO, IL 60605

CHICAGO URBAN LEAGUE
4510 S MICHIGAN AVE
CHICAGO, IL 60653

CHICAGOFIRST
C/O BRIAN TISHUK
ONE N WACKER DR #400
CHICAGO, IL 60606

CHICAGOLAND APARTMENT ASSN
9950 W LAWRENCE AVE #119
SCHILLER PARK, IL 60176
CHICAGOLAND CHAMBER OF COMMERCE
200 E RANDOLPH ST #2200
CHICAGO, IL 60601

CHICAGOS CHINATOWN
CHAMBER OF COMMERCE
2169B S CHINA PL
CHICAGO, IL 60616
CHICANO FEDERATION OF
SAN DIEGO COUNTY INC
3180 UNIVERSITY AVE #317
SAN DIEGO, CA 92104

CHICANOS INDUSTRIAS INC
THE VICTORIA FOUNDATION
1112 E BUCKEYE RD
PHOENIX, AZ 85034
CHICANOS POR LA CAUSA INC
                                       Page 149
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1112 E BUCKEYE RD
PHOENIX, AZ 85034

CHICO ASSN OF REALTORS INC
1160 E 1ST AVE
CHICO, CA 95926-2404
CHICO CHAMBER OF COMMERCE
300 SALEM ST
CHICO, CA 95928
CHIEF APPRAISAL SERVICES INC
400 MAITLAND AVE
ALTAMONTE SPRINGS, FL 32701

CHIEF SEATTLE CLUB
113 CHERRY ST
SEATTLE, WA 98104
CHIEFTAIN CONSTRUCTION
1743 S DOUGLASS RD #D
ANAHEIM, CA 92806

CHIEN LIAO
DBA STEVEN CHIEN LIAO
10535 CYPRESS CT
CUPERTINO, CA 95014

CHILD & FAMILY SERVICES OF E VA
222 W 19TH ST
NORFOLK, VA 23517
CHILD EDUCATIONAL CENTER
CALTECH JPL COMMUNITY
140 FOOTHILL BLVD
LA CANADA, CA 91011
CHILD MORTGAGE CORPORATION
14269 87TH ST # 201
SCOTTSDALE, AZ 85260

CHILD SUPPORT ENFORCEMENT 3-035
IL DEPT OF REVENUE
ATTN SCOTT BOASTICK
PO BOX 19085
SPRINGFIELD, IL 62794-9085

CHILD SUPPORT ENFORCEMENT AGCY
STATE DISBURSEMENT UNIT
PO BOX 1860
HONOLULU, HI 96805-1860
CHILD SUPPORT ENFORCEMENT DIV
PO BOX 25109
SANTA FE, NM 87504
CHILD SUPPORT ENFORCEMENT FSR
PO BOX 105730
ATLANTA, GA 30348
CHILD SUPPORT SERVICES ORS
PO BOX 45011
SALT LAKE CITY, UT 84145-0011
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CHILDHAVEN
316 BROADWAY
SEATTLE, WA 98122-5325
CHILDRENS ADVOCACY
YOUNG MENS CHRISTIAN ASSOCIATN
YMCA FAMILY CENTER
1280 SW 36TH AVE #104
POMPANO BEACH, FL 33071
CHILDRENS AID SOCIETY
885 COLUMBUS AVE
NEW YORK, NY 10025

CHILDRENS BENEFIT FOUNDATION
6619 132ND AVE NE #160
KIRKLAND, WA 98033
CHILDRENS BUREAU OF
ORANGE COUNTY
1910 MAGNOLIA AVE
LOS ANGELES, CA 90007
CHILDRENS BUREAU OF
SOUTHERN CALIFORNIA
50 S ANAHEIM BLVD #240
ANAHEIM, CA 92805-2908

CHILDRENS FIRST FUND
THE CHICAGO PUBLIC SCHOOL FDTN
125 S CLARK ST 12TH FL
CHICAGO, IL 60603

CHILDRENS HOPE INDIA INC
7 EDGEMERE DR
SEARINGTOWN, NY 11507

CHILDRENS HOSPITAL AND
HEALTH CENTER
3020 CHILDRENS WAY
SAN DIEGO, CA 92123-4282
CHILDRENS MIRACLE NETWORK
1687 PULLIE CIRCLE
ATLANTA, GA 30329

CHILDRENS MUSEUM INC
1500 BINZ
HOUSTON, TX 77004
CHILDRENS NEUROBLASTOMA
CANCER FOUNDATION
ATTN ALLIE & FRIENDS
PO BOX 6635
BLOOMINGTON, IL 60108

CHILDRESS DUFFY GOLDBLATT LTD
515 N STATE ST #2200
CHICAGO, IL 60610

CHINA BASIN BALLPARK COMPANY LLC
[Address to Be Provided]
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CHINATOWN COMMUNITY
DEVELOPMENT CENTER
1525 GRANT AVE
SAN FRANCISCO, CA 94133-3323

CHINESE AMERICAN PLANNING
COUNCIL
150 ELIZABETH ST
NEW YORK, NY 10012
CHINESE COMMUNITY CENTER INC
9800 TOWN PARK
HOUSTON, TX 77036

CHINESE CONSUMER WEEKLY INC
265 CANAL ST #408
NEW YORK, NY 10013
CHINESE MUTUAL AID ASSOC INC
1016 W ARGYLE ST
CHICAGO, IL 60640

CHINESE NEW YEAR PARADE
KTVU FOX 2
PO BOX 22222
OAKLAND, CA 94623

CHINESE PERFORMING ARTISTS
OF SAN JOSE
6148 BOLLINGER RD
SAN JOSE, CA 95129

CHINESE REAL ESTATE
ASSN OF AMERICA INC
4130 GEARY BLVD
SAN FRANCISCO, CA 94118

CHISPA INC
295 MAIN ST #100
SALINA, CA 93901

CHOATE CONSTRUCTION COMPANY
FED EX OV #1298 1461 6
8200 ROBERTS DR #600
ATLANTA, GA 30350-4147

CHOICE MORTGAGE INC
9933 N LAWLER AVE #41
SKOKIE, IL 60077
CHOICEPOINT PUBLIC RECORDS INC
PO BOX 945664
ATLANTA, GA 30394-5664
CHOICEPOINT SERVICES INC
PO BOX 105186
ATLANTA, GA 30348
CHRIS CONROY
PHOTOGRAPHY
1220 PEAR AVE
MOUNTAINVIEW, CA 94043
                                      Page 152
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
CHRIS JACKSON LAW LLC
8555 CEDAR PL DR #111 A
INDIANAPOLIS, IN 46240
CHRIS SUNGDUK LIM
DBA BESTWAY MORTGAGE
6131 ORANGETHORPE AVE #495
BUENA PARK, CA 90620

CHRISTEN L. ZZ-BLUNT
[Address Information Redacted]
CHRISTENSEN AND JENSEN PC
15 W S TEMPLE #800
SALT LAKE CITY, UT 84101

CHRISTIAN ASSET RCRS ED SVC DBA
CHRISTIAN CREDIT COUNSELING SVC
6705 E. 81ST STREET, STE 152
TULSA, OK 74133

CHRISTIAN COMMUNITY ACTION
200 S MILL ST
LEWISVILLE, TX 75057

CHRISTIAN CREDIT COUNSELING
PO BOX 144
BULVERDE, TX 78163

CHRISTIAN CREDIT COUNSELORS INC
8475 S EASTERN AVE #100
LAS VEGAS, NV 89123

CHRISTIAN CREDIT COUNSELORS INC
PO BOX 131688
CARLSBAD, CA 92008

CHRISTIAN CREDIT ONE INC
6730 ROOSEVELT AVE#401
FRANKLIN, OH 45005

CHRISTIAN FINANCIAL MINISTRIES
CHRISTIAN FINANCIAL
302 OLD CLAY ST #5
MARIETTA, GA 30060

CHRISTIAN T WILLIAMSON
ENGINEERS INC
DBA CTW ENGINEERS INC
3400 AIRPORT AVE BLDG E
SANTA MONICA, CA 90405
CHRISTIANA BANK & TRUST COMPANY
CHRISTIANA CORPORATE SVCS INC
300 DELAWARE AVE #714
PO BOX 113
WILMINGTON, DE 19899
CHRISTIANS IN ACTION
TRADE SHOW INT INC
8400 NORTH UNIVERSITY DR #207
TAMARAC, FL 33321
                                       Page 153
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CHRISTIN GITTHENS
DBA ITS THE TOUCH
62020 TORKELSON
BEND, OR 97701

CHRISTINA SEYBOLD
724 VINCENT ST
REDONDO BEACH, CA 90277

CHRISTINA SHERROCK
331 COCHRAN PL
VALLEY STREAM, NY 11581
CHRISTINA WESTON
DBA CUCINA CHRISTINA
12399 MADISON CT
DENVER, CO 80241
CHRISTINE A CAMPBELL
3965 WILLOW CREEK LN
MOORPARK, CA 93021

CHRISTINE PAU
DBA CHRISTINE L BONARDI
324 TAFT RD
RIVER EDGE, NJ 07661

CHRISTINE WEIL AND
FRANKLIN W SHOICHET HER ATNY
0NE UNION SQUARE
600 UNIVERSITY ST #2100
, 98101

CHRISTOPHER B TURCOTTE PC
LAW OFFICE
575 MADISON AVE #1006
NEW YORK, NY 10022

CHRISTOPHER BARRAGAN
FINE BOGGS & PERKINS LLP
2450 S CABRILLO HWY #100
HALF MOON BAY, CA 94019

CHRISTOPHER CUMMING PHOTOGRAPHY
6209 S FOUNTAIN ST
SEATTLE, WA 98178

CHRISTOPHER J MOSER TRUSTEE FOR
THE BANKRUPTCY FOR THE ESTATE
OF DEBORAH K LIEF
2001 BRYAN ST #1800
DALLAS, TX 75201

CHRISTOPHER J. BELLAVIA
[Address Information Redacted]

CHRISTOPHER KRAUS
9245 MAYNARD
ALGONAC, MI 48001

CHRISTOPHER MARINO
ECS MORTGAGE
                                       Page 154
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945 MOUTON CIR
PALO ALTO, CA 94303

CHRISTOPHER NOLLAND
ATTORNEY
1717 MAIN ST #5550
DALLAS, TX 75201-4639
CHRISTOPHER SCHLAGEL
DBA BBL MARKETING & DESIGN
5434 4TH ST
ROCKLIN, CA 95677
CHRISTOPHER ST WEST ASSOC INC
7551 W SUNSET BLVD #201
LOS ANGELES, CA 90046-3442

CHRISTOPHER W IRWIN
SPICE OF LIFE
PO BOX 7229
ROUND ROCK, TX 78683

CHS INC.
[Address to Be Provided]

CHUBB
55 WATER ST
29TH-30TH FLOORS
NEW YORK, NY 10041-2899

CHUCK ARGON
PO BOX 402
BOISE, ID 83701-0402

CHULA VISTA CHAMBER OF COMMERCE
233 4TH AVE
CHULA VISTA, CA 91910

CHULA VISTA ELEMENTARY SCHOOL
84 E J ST
CHULA VISTA, CA 91910

CHUN RAIR & YOSHIMOTO LLP
1000 BISHOP ST #1000
HONOLULU, HI 96813
CHURCH AVENUE MERCHANTS
BLOCK ASSOCATION INC
1720 CHURCH AVE
BROOKLYN, NY 11226
CHURCH COUNCIL OF
CHURCH COUNCIL OF GRTR SEATTLE
GREATER SEATTLE
4 NICKERSON ST #300
SEATTLE, WA 98109

CHURCH OF ST LUCY
SAINT LUCYS SCHOOL
830 MACE AVE
BRONX, NY 10467
CHURTON & ASSOCIATES
                                       Page 155
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
1101 VICENTE STREET
SAN FRANCISCO, CA 94116

CIBAR
4575 HILTON PKWY #201
COLORADO SPRINGS, CO 80907
CIC VALUATION GROUP INC
2101 112TH AVE NE #200
BELLEVUE, WA 98004
CIC WORKS INC
APARTADO 0819 08684 EL DORADO
PANAMA CITY,   PANAMA

CIG CORP
1350 OLD BAYSHORE HWY #150
BURLINGAME, CA 94010
CIM OAKLAND CITY CENTER LLC
OAKLAND RENASSIANCE ASSOC DBA
DBA OAKLAND MARRIOTT CITY CTR
1001 BROADWAY
OAKLAND, CA 94607

CINCINNATI BELL TELEPHONE CO
PO BOX 748003
CINCINNATI, OH 45274-8003

CINCINNATI CRDT CNSLING SVC INC
1811 LOSANTIVILLE AVE #170
CINCINNATI, OH 45237

CINDY BOUDLOCHE
TRUSTEE # 02 70626
555 N CARANCAHUA #600
CORPUS CHRISTI, TX 78478

CINDY KURIMURA DOTY
10610 NE 9TH PL UNIT 2200
BELLEVUE, WA 98004

CINGULAR INTERACTIVE
[Address to Be Provided]
CINGULAR WIRELESS
AT&T
PO BOX 60017
LOS ANGELES, CA 90060-0017
CINTAS DOCUMENT MANAGEMENT
PO BOX 633842
CINCINNATI, OH 45263-3842

CINZIA A. KELLER
[Address Information Redacted]

CIRCUIT CLERK MOBILE COUNTY
CIVIL DIVISION
205 GOVERNMENT ST
MOBILE GOVERNMENT PLAZA RM C936
MOBILE, AL 36644

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
CIRCUIT COURT OF OREGON
LANE COUNTY
125 E 8TH AVE
EUGENE, OR 97401
CIRRO ENERGY SERVICES, INC.
[Address to Be Provided]
CISCO SYSTEMS CAPITAL CORP
CISCO NETWORKERS
FILE NO 73226
PO BOX 60000
SAN FRANCISCO, CA 94160-3230
CISION US INC
PO BOX 98869
CHICAGO, IL 60693-8869
CIT TECHNOLOGIES CORP DBA
CIT TECHNOLOGIES CORP
CIT SYSTEMS LEASING
GPO DRAWER 67-865
DETROIT, MI 48267
CIT TECHNOLOGY FIN SERV INC
PO BOX 33076
NEWARK, NJ 07188-0076

CITADEL BROCASTING CO
CITADEL COMMUNICATIONS CORP
SPOKANE
1601 E 57TH ST
SPOKANE, WA 99223

CITI PARK PARKING
ATTN ACCTS PAYABLE
325 5TH ST
SAN FRANCISCO, CA 94107

CITIBANK
CITIBANK (NEVADA) NA
SECURITY SERVICES
PO BOX 45166
JACKSONVILLE, FL 32231-5166
CITIBANK
CITIBANK (NEVADA) NA
CREDIT FRAUD DEPT
PO BOX 6090
SIOUX FALLS, SD 57117
CITIBANK (NEVADA) NA
ATTN BETTY MAYO
PO BOX 6000
THE LAKES, NV 89163
CITIBANK NA
CITIBANK (NEVADA) NA
ATTN INDEMNITY UNIT MGR MS 3260
701 E 60TH ST N
SIOUX FALLS, SD 57117
CITIBANK NA
                                       Page 157
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CITIBANK (NEVADA) NA
CLIENT RESEARCH BILL PAYMENT
100 CITIBANK DR BLDG 1 FL 1
SAN ANTONIO, TX 78245
CITIBANK NA
FBO TBS COURIERS INC
RECEIVABLES CONTROL CORP
PO BOX 9658
MINNEAPOLIS, MN 55440
CITIBANK NA
RE SHORTFALL FEES REF: 1712322
PO BOX 4037
BUFFALO, NY 14240-4037

CITICASH LOANS
7756 MADISON ST
RIVER FORREST, IL 60305

CITICORP NORTH AMERICA
DBA CITIBANK NA
PO BOX 7247-8614
PHILADELPHIA, PA 19170-8614

CITICOURIERS
PO BOX 130377
HOUSTON, TX 77219-0377

CITIGATE DEWE ROGERSON
ROGER W BOWDEN
CAPITALBRIDGE
PO BOX 10754
NEWARK, NJ 07193-0754

CITIGROUP GLOBAL MARKETS REALTY
388 GREENWICH ST
NEW YORK, NY 10013

CITIHOME MORTGAGE CORP
1634 CENTER AVE
FORT LEE, NJ 07024
CITIMORTGAGE
CITIMORTGAGE INC
1000 TECHNOLOGY DR
OFALLON, MO 63368

CITINET MORTGAGE INC
1 CENTER POINT DR #370
LA PALMA, CA 90623
CITITEC ASSOCIATES LTD
RBSCS SMITH HOUSE
PO BOX 50 ELMWOOD AVE
FELTHAM, MIDDLESEX TW13 7QD GREAT BRITAIN

CITIZEN SCHOOLS INC
MUSEUM WHARF 308 CONGRESS ST
BOSTON, MA 02210

CITIZEN SCHOOLS INC NEW JERSEY
CITIZEN SCHOOLS INC
                                       Page 158
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46 BAYARD ST #303
NEW BRUNSWICK, NJ 08901

CITIZENS BANK MINNESOTA
105 N MINNESOTA ST
NEW UIM, MN 56073
CITIZENS BANK OF ADA
ATTN AMY JACKSON
PO BOX 1468
ADA, OK 74820
CITIZENS HOUSING AND
PLANNING COUNCIL OF NEW YORK
42 BROADWAY #2010
NEW YORK, NY 10004

CITIZENS TELECOMMUNICATIONS
OF CALIFORNIA INC
FRONTIER COMMUNICATIONS
PO BOX 20550
ROCHESTER, NY 14602-0550

CITIZENS TELECOMMUNICATIONS CO
CITIZENS TELECOMMUNICATIONS
FRONTIER CITIZENS COMMUNICATION
PO BOX 92833
ROCHESTER, NY 14692-8933

CITIZENS UNION FOUNDATION INC
OF THE CITY OF NEW YORK
299 BROADWAY #700-702
NEW YORK, NY 10007

CITRIX SYSTEMS INC
PO BOX 931686
ATLANTA, GA 31193-1686

CITRIX SYSTEMS, INC.
[Address to Be Provided]

CITRUS CLUB
255 S ORANGE AVE #105
ORLANDO, FL 32801
CITRUS HEIGHTS ELEMENTARY SCHL
RALPH RICHARDSON SCHOOL
7085 AUBURN BLVD
CITRUS HEIGHTS, CA 95621
CITRUS VALLEY ASSN OF REALTORS
655 W ARROW HWY
SAN DIMAS, CA 91773

CITY & COUNTY OF DENVER
TREASURY DIVISION
MCNICHOLS CIVIC CTR BLDG #100
144 W COLFAX
DENVER, CO 80202-5391
CITY & COUNTY OF SAN FRANCISCO
MAYORS OFFICE OF HOUSING
1 SOUTH VAN NESS AVE 5TH FL
                                       Page 159
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SAN FRANCISCO, CA 94103
CITY & COUNTY OF SAN FRANCISCO
TREASURER & TAX COLLECTOR
1 DR CARLTON B GOODLETT PL #140
SAN FRANCISCO, CA 94102-4639
CITY AND COUNTY OF DENVER
ALARM SECTION
201 W COLFAX AVE DEPT 206
DENVER, CO 80202
CITY BUSINESS USA INC
THE BUSINESS JOURNAL
DBA SACRAMENTO BUSINESS JOURNAL
FILE 30609
PO BOX 60000
SAN FRANCISCO, CA 94160
CITY CENTER 55TH ST
THEATER FOUNDATION INC
130 W 56TH ST
NEW YORK, NY 10019
CITY HEIGHTS COMMUNITY DEV CORP
4283 EL CAJON BLVD #220
CITY HEIGHTS, CA 92105

CITY NATIONAL BANK
400 N ROXBURY DR
BEVERLY HILLS, CA 90210
CITY OF COOPER CITY
PO BOX 290910
COOPER CITY, FL 33329-0910

CITY OF CULVER CITY
BUSINESS TAX COLLECTOR
9770 CULVER BLVD
CULVER CITY, CA 90232-0507

CITY OF EDGEWATER
2401 SHERIDAN BLVD
EDGEWATER, CO 80214
CITY OF ENCINITAS
505 S VULCAN AVE
ENCINITAS, CA 92024

CITY OF FRESNO
CITY OF FRESNO POLICE DEPT
POLICE DEPARTMENT
2323 MARIPOSA MALL
PO BOX 1271
FRESNO, CA 93715-1271
CITY OF GLENDALE
5850 W GLENDALE AVE
GLENDALE, AZ 85301-2599
CITY OF MISSOURI
CITY FINANCE DEPARTMENT
1522 TEXAS PARKWAY
                                       Page 160
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
MISSOURI CITY, TX 77489
CITY OF MOSES LAKE
S 321 BALSAM ST
PO BOX 1579
MOSES LAKE, WA 98837-0244
CITY OF ORANGE
CITY OF ORANGE
PO BOX 11024
ORANGE, CA 92856-8124
CITY OF SHORELINE
17544 MIDVALE AVE N
SHORELINE, WA 98133

CITY OF ABERDEEN
FINANCE DEPARTMENT
200 E MARKET ST
ABERDEEN, WA 98520-5207
CITY OF ACWORTH
4375 SENATOR RICHARD RUSSELL SQ
ACWORTH, GA 30101

CITY OF AGOURA HILLS
30001 LADYFACE COURT
AGOURA HILLS, CA 91301

CITY OF ALAMEDA
ACCOUNTS RECEIVABLE
2263 SANTA CLARA AVE RM 220
ALAMEDA, CA 94501

CITY OF ALBANY
ALARM PERMIT ALBANY POLICE DEPT
1117 JACKSON ST SE
ALBANY, OR 97322

CITY OF ALEXANDRIA
PO BOX 34715
ALEXANDRIA, VA 22334-0715
CITY OF ALHAMBRA
111 S 1ST ST
PO BOX 351
ALHAMBRA, CA 91802

CITY OF ALLEN
POLICE DEPARTMENT
ALARM PROGRAM
PO BOX 630207
IRVING, TX 75063-0207

CITY OF ALLEN
PO BOX 630207
IRVING, TX 75063

CITY OF ALTAMONTE SPRINGS
225 NEWBURYPORT AVE
ALTAMONTE SPRINGS, FL 32701-3697
CITY OF AMMON
                                        Page 161
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
2135 S AMMON RD
AMMON, ID 83406

CITY OF ANAHEIM
BUSINESS LICENSE DIVISION
PO BOX 61042
ANAHEIM, CA 92803
CITY OF ANAHEIM
DIVISION OF COLLECTION
201 S ANAHEIM BLVD
PO BOX 3222
ANAHEIM, CA 92805
CITY OF ANTIOCH
ANTIOCH POLICE DEPARTMENT
ATTN AR DIVISION
PO BOX 5007
ANTIOCH, CA 94531-5007

CITY OF APOPKA
PO BOX 1229
APOPKA, FL 32704-1229
CITY OF ARLINGTON
CLERK/POLICE DEPT
PO BOX 1065
ARLINGTON, TX 76004-1065

CITY OF ARLINGTON
238 N OLYMPIC
ARLINGTON, WA 98223

CITY OF ARROYO GRANDE
POLICE DEPT
200 N HALCYON RD
ARROYO GRANDE, CA 93420

CITY OF ARVADA
PO BOX 8101
ARVADA, CO 80001-8101

CITY OF ASHLAND
20 E MAIN ST
ASHLAND, OR 97520-1949
CITY OF ATLANTA
BUSINESS LICENSE TAX
BUREAU OF TREASURY
55 TRINITY AVE #1350
ATLANTA, GA 30335
CITY OF AUBURN
25 W MAIN ST
AUBURN, WA 98001
CITY OF AURORA
TAX & LICENSE DIVISION
PO BOX 33001
AURORA, CO 80041-3001

CITY OF AURORA
44 E DOWNER PL
                                     Page 162
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
AURORA, IL 60507-2067
CITY OF AUSTIN
AUSTIN POLICE DEPT-ALARM UNIT
PO BOX 684279
AUSTIN, TX 78768-4279
CITY OF AVENTURA
19200 W COUNTRY CLUB DR
AVENTURA, FL 33180
CITY OF AVONDALE
SALES TAX DEPARTMENT
11465 W CIVIC CTR DR #270
AVONDALE, AZ 85323-6808

CITY OF AVONDALE
11485 W CIVIC CENTER DR
AVONDALE, AZ 85323

CITY OF BAINBRIDGE ISLAND
280 MADISON AVE N
BAINBRIDGE ISLAND, WA 98110
CITY OF BAKERSFIELD
PO BOX 2057
BAKERSFIELD, CA 93303-2057

CITY OF BEAVERTON
4755 SW GRIFFITH DR
PO BOX 4755
BEAVERTON, OR 97076-4755

CITY OF BELL
6330 PINE AVE
BELL, CA 90201-6211
CITY OF BELLEVUE
TAX OFFICE
PO BOX 90012
BELLEVUE, WA 98009-9012

CITY OF BELLEVUE
PO BOX 34372
SEATTLE, WA 98124-1372
CITY OF BELLINGHAM
PO BOX V
BELLINGHAM, WA 98227
CITY OF BEND
BUSINESS LICENSE RENEWAL
PO BOX 1348
BEND, OR 97709-1348
CITY OF BENICIA
250 E L ST
BENICIA, CA 94510
CITY OF BERKELEY
ATTN: FALSE ALARM
FINANCE REVENUE COLLECTION
1947 CENTER ST
                                     Page 163
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
BERKELEY, CA 94704
CITY OF BEVERLY HILLS
FINANCE ADMINISTRATION
BUSINESS TAX REGISTRATION
455 N REXFORD DR #240
BEVERLY HILLS, CA 90210-4817
CITY OF BOCA RATON
FINANCIAL SERVICES DEPT
201 W PALMETTO PARK RD
BOCA RATON, FL 33432-3795
CITY OF BOCA RATON
LICENSE PROCESSING CENTER
PO BOX 862236
ORLANDO, FL 32886-2236
CITY OF BONNEY LAKE
PO BOX 7380
19306 BONNEY LAKE BLVD
BONNEY LAKE, WA 98391

CITY OF BOTHELL
18305 101ST AVE NE
BOTHELL, WA 98011
CITY OF BOULDER
SALES TAX
DEPT 1128
DENVER, CO 80263-1128
CITY OF BOUNTIFUL
PO BOX 369
BOUNTIFUL, UT 84011-0369

CITY OF BOYNTON BEACH
BOYNTON BEACH POLICE DEPARTMENT
PO BOX 310
BOYNTON BEACH, FL 33435

CITY OF BOYNTON BEACH
FINANCE DEPARTMENT
INSPECTION FEES
PO BOX 310
BOYNTON BEACH, FL 33425-0310

CITY OF BRADENTON
101 OLD MAIN ST
CITY HALL
BRADENTON, FL 34205
CITY OF BREA
FINANCE DEPT
1 CIVIC CENTER CIRCLE
BREA, CA 92821

CITY OF BREMERTON
345 6TH ST #600
BREMERTON, WA 98337-1873

CITY OF BROOKINGS
898 ELK DR
                                       Page 164
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BROOKINGS, OR 97415
CITY OF BUENA PARK
FINANCE DEPT
6650 BEACH BLVD
PO BOX 5009
BUENA PARK, CA 90622
CITY OF BURBANK
6530 W 79TH ST
BURBANK, IL 60459
CITY OF BURIEN
PO BOX 314
SEAHURST, WA 98062

CITY OF BURLINGAME
PO BOX 191
BURLINGAME, CA 94011

CITY OF BURLINGTON
833 S SPRUCE ST
BURLINGTON, WA 98233
CITY OF CALABASAS
26135 MUREAU RD
CALABASAS, CA 91302

CITY OF CALEXICO
608 HEBER AVE
CALEXICO, CA 92231
CITY OF CANBY
POLICE DEPT
122 N HOLLY AVE
CANBY, OR 97013
CITY OF CANBY
PO BOX 930
CANBY, OR 97013

CITY OF CARLSBAD
ACCOUNTS RECEIVABLE
FALSE ALARM SYSTEM ACTIVATION
1635 FARADAY AVE
CARLSBAD, CA 92008-7314

CITY OF CARLSBAD
CARLSBAD FIRE DEPARTMENT
2560 ORION WAY
CARLSBAD, CA 92010
CITY OF CARMEL-BY-THE-SEA
POLICE DEPT
PO BOX 600
CARMEL, CA 93921

CITY OF CARROLLTON
ALARM PERMITS SECTION
2025 E JACKSON RD
CARROLLTON, TX 75006
CITY OF CARSON
                                     Page 165
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 6234
CARSON, CA 90749

CITY OF CASSELBERRY
ATTN FINANCE DEPT
95 TRIPLET LAKE DR
CASSELBERRY, FL 32707-3252
CITY OF CENTRAL POINT
140 S THIRD ST
CENTRAL POINT, OR 97502
CITY OF CHAMBLEE
5468 PEACHTREE RD
CHAMBLEE, GA 30341

CITY OF CHANDLER
MAIL STOP 701
PO BOX 15001
CHANDLER, AZ 85244-5001
CITY OF CHANDLER
MS 701 PO BOX 4008
CHANDLER, AZ 85244-4008

CITY OF CHEHALIS
1321 S MARKET BLVD
CHEHALIS, WA 98532

CITY OF CHICAGO
CHICAGOLAND APARTMENT ASSN
CAPS IMPLEMENTATION OFFICE
333 S STATE ST #500
CHICAGO, IL 60604

CITY OF CHICAGO
DEPARTMENT OF REVENUE
FALSE BURGLAR ALARM UNIT
PO BOX 4956
CHICAGO, IL 60680-4956

CITY OF CHICAGO
DEPARTMENT OF REVENUE
22149 NETWORK PLACE
CHICAGO, IL 60673-1221
CITY OF CHICAGO
DEPARTMENT OF REVENUE
8108 INNOVATION WAY
CHICAGO, IL 60682-0081
CITY OF CHICAGO
233 SO WACKER RD #4030
CHICAGO, IL 60606
CITY OF CHICO FINANCE DEPT
ATTN ALARM PERMITS
PO BOX 3420
CHICO, CA 95927-3420
CITY OF CITRUS HEIGHTS
POLICE DEPT
6315 FOUNTAIN SQUARE DR
                                     Page 166
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CITRUS HEIGHTS, CA 95621
CITY OF CLEARWATER
100 S MYRTLE AVE #210
PO BOX 4748
CLEARWATER, FL 33758-4748
CITY OF CLEARWATER POLICE DEPT
ALARM UNIT
645 PIERCE ST
CLEARWATER, FL 33756
CITY OF CLERMONT
PO BOX 120219
CLERMONT, FL 34712-0219

CITY OF COCOA
603 BREVARD AVE
COCOA, FL 32922

CITY OF COCONUT CREEK
4800 W COPANS RD
COCONUT CREEK, FL 33063-9221
CITY OF COLORADO SPRINGS
SALES & USE TAX DIV
DEPT 2408
DENVER, CO 80256-0001

CITY OF COMMERCE
SALES USE TAX RETURN
5291 E 60TH AVE
COMMERCE CITY, CO 80022

CITY OF CONROE
300 W DAVIS
PO BOX 3066
CONROE, TX 77305

CITY OF CONYERS
1184 SCOTT ST
CONYERS, GA 30012
CITY OF COPPELL
COPPELL POLICE DEPARTMENT
130 TOWN CENTER BLVD
COPPELL, TX 75019

CITY OF CORAL GABLES
BUILDING AND ZOMING DEPARTMENT
PO BOX 141549
CORAL GABLES, FL 33114-1549
CITY OF CORAL GABLES
PO BOX 141549
CORAL GABLES, FL 33114-1549

CITY OF CORAL SPRINGS
CORAL SPRINGS POLICE DEPT
2801 CORAL SPRINGS DRIVE
CORAL SPRINGS, FL 33065
CITY OF CORAL SPRINGS
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CORAL SPRINGS POLICE DEPT
FIRE DEPARTMENT
2801 CORAL SPRINGS DR
CORAL SPRINGS, FL 33065
CITY OF CORAL SPRINGS
OCCUPATIONAL LICENSING
9551 W SAMPLE RD
CORAL SPRINGS, FL 33065

CITY OF CORONA
CORONA POLICE DEPARTMENT
849 W SIXTH STREET
CORONA, CA 92882

CITY OF CORONA
FINANCE DEPARTMENT
PO BOX 940
CORONA, CA 92878-0940

CITY OF CORVALLIS
ATTN FINANCE ACCTS RECEIVABLE
PO BOX 1083
CORVALLIS, OR 97339-1083

CITY OF COSTA MESA
FINANCE DEPARTMENT
77 FAIR DRIVE 1ST FL
COSTA MESA, CA 92626

CITY OF COTTONWOOD HEIGHTS
1265 E FORT UNION BLVD #250
COTTONWOOD HEIGHTS, UT 84047

CITY OF CRESCENT CITY
377 J ST
CRESENT CITY, CA 95531

CITY OF CREST HILL
CITY CLERKS OFFICE
1610 PLAINFIELD RD
CREST HILL, IL 60435
CITY OF CUPERTINO
10300 TORRE AVE
CUPERTINO, CA 95014-3255

CITY OF DALLAS
SPECIAL COLLECTION DIVISION
SECURITY ALARMS
PO BOX 139076
DALLAS, TX 75313-9076
CITY OF DALLAS
1500 MARILLA RM 2BN
DALLAS, TX 75201

CITY OF DALY CITY
333 90TH ST
DALY CITY, CA 94015-1895

CITY OF DANIA BEACH
100 W DANIA BEACH BLVD
                                     Page 168
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DANIA BEACH, FL 33004
CITY OF DAVIS
FINANCE DEPT
23 RUSSELL RD
DAVIS, CA 95616
CITY OF DEER PARK
2911 CENTER ST
PO BOX 700
DEER PARK, TX 77536-0700
CITY OF DEERFIELD BEACH
150 NE 2ND AVE
DEERFIELD BEACH, FL 33441

CITY OF DELAND
120 S FLORIDA AVE
DELAND, FL 32720

CITY OF DELRAY BEACH FLORIDA
ATTN FINANCE DEPT
100 NW FIRST AVE
DELRAY BEACH, FL 33444

CITY OF DES MOINES
DES MOINES POLICE DEPARTMENT
21900 11TH AVE S
DES MOINES, WA 98198-6319

CITY OF DES MOINES
21630 11TH AVE S
DES MOINES, WA 98198

CITY OF DES MOINES B&O TAX
PO BOX 314
SEAHURST, WA 98062

CITY OF DES PLAINES
1420 MINOR ST
DES PLAINES, IL 60016

CITY OF DESOTO
211 E PLEASANT RUN RD
DESOTO, TX 75115
CITY OF DORAL
OCCUPATIONIAL LICENSE
8300 NW 53RD ST #200
DORAL, FL 33166
CITY OF DOUGLASVILLE
PO BOX 219
DOUGLASVILLE, GA 30133
CITY OF DRAPER CITY
1020 E PIONEER RD
DRAPER, UT 84020
CITY OF DUARTE
1600 HUNTINGTON DR
DUARTE, CA 91010

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CITY OF DUBLIN
ATTN FINANCE DEPT
100 CIVIC PLAZA
DUBLIN, CA 94568
CITY OF DULUTH
3578 W LAWRENCEVILLE ST
DULUTH, GA 30096

CITY OF DUNCANVILLE
ALARM PROGRAM
PO BOX 630124
IRVING, TX 75063-0124
CITY OF EAGLE POINT
PO BOX 779
EAGLE POINT, OR 97524
CITY OF EAST WENATCHEE
271 9TH ST NE
EAST WENATCHEE, WA 98802

CITY OF EDGEWATER
DEPT OF FINANCE
DEPT #0890
DENVER, CO 80263-0890
CITY OF EDMONDS
CITY CLERK DIVISION
121 5TH AVE N
EDMONDS, WA 98020
CITY OF EL MONTE
11333 VALLEY BLVD
EL MONTE, CA 91731

CITY OF ELK GROVE
EGPD ALARM BUREAU
8400 LAGUNA PALMS WAY
ELK GROVE, CA 95758

CITY OF ELLENSBURG/CITY CLERK
501 N ANDERSON ST
ELLENSBURG, WA 98926
CITY OF ELMHURST
CITY CLERK
209 N YORK
ELMHURST, IL 60126
CITY OF EMERYVILLE
1333 PARK AVE
EMERYVILLE, CA 94608

CITY OF EPHRATA
121 ALDER SW
EPHRATA, WA 98823-1899

CITY OF ESCONDIDO
FALSE ALARM BILLING
201 N BROADWAY
ESCONDIDO, CA 92025

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CITY OF ESCONDIDO
201 N BROADWAY
ESCONDIDO, CA 92025-2798
CITY OF EULESS
EULESS POLICE DEPARTMENT
1102 W EULESS BLVD
EULESS, TX 76040

CITY OF EUSTIS
PO DRAWER 68
EUSTIS, FL 32727
CITY OF EVANSTON
2100 RIDGE AVE
EVANSTON, IL 60201

CITY OF EVERETT
FINANCE DEPT
2930 WETMORE AVE
EVERETT, WA 98201-4044

CITY OF FAIRFIELD
ATTN BUSINESS SERVICES
1000 WEBSTER ST
FAIRFIELD, CA 94533
CITY OF FAIRFIELD
1000 WEBSTER ST
FAIRFIELD, CA 94533

CITY OF FAYETTEVILLE
240 GLYNN ST S
FAYETTEVILLE, GA 30214

CITY OF FEDERAL WAY
PO BOX 9718
FEDERAL WAY, WA 98063-9718

CITY OF FONTANA
FONTANA POLICE DEPARTMENT
17005 UPLAND AVE
FONTANA, CA 92335

CITY OF FONTANA
8353 SIERRA AVE
FONTANA, CA 92335

CITY OF FORT COLLINS
DEPT OF FINANCE
SALES AND USE TAX DIV
PO BOX 440
FORT COLLINS, CO 80522-0439

CITY OF FORT LAUDERDALE
TREASURY ALARM SERVICE
PO BOX 31687
TAMPA, FL 33631-3687
CITY OF FORT PIERCE
PO BOX 1480
FORT PIERCE, FL 34954-1480

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CITY OF FORT WORTH TEXAS
FT WORTH POLICE DEPT ALARM UNIT
4200 SOUTH FREEWAY #2645
FORT WORTH, TX 76115
CITY OF FOSTER CITY
610 FOSTER CITY BLVD
FOSTER CITY, CA 94404

CITY OF FOUNTAIN VALLEY PERMIT
10200 SLATER AVE
FOUNTAIN VALLEY, CA 92708
CITY OF FREMONT
POLICE DEPARTMENT
PO BOX 5007
FREMONT, CA 94537-5007
CITY OF FT LAUDERDALE
BUSINESS TAX DIVISION
PO BOX 31689
TAMPA, FL 33631-3689

CITY OF FULLERTON
303 W COMMONWEALTH AVE
FULLERTON, CA 92832-1775
CITY OF GARDEN GROVE
ALARM COORDINATORS OFFICE
PO BOX 3070
GARDEN GROVE, CA 92842
CITY OF GARDEN GROVE
PO BOX 3070
GARDEN GROVE, CA 92842

CITY OF GARDENA
1700 W 162ND ST
GARDENA, CA 90247
CITY OF GARLAND
GARLAND POLICE DEPT
ALARM ENFORCEMENT CLERK
PO BOX 469002
GARLAND, TX 75046-9002
CITY OF GARLAND
MUNICIPAL COURT
PO BOX 469002
GARLAND, TX 75046-9002
CITY OF GLENDALE
POLICE DEPT - ALARM DESK
131 N ISABEL ST
GLENDALE, CA 91206-4314
CITY OF GLENDALE
PO BOX 800
GLENDALE, AZ 85311-0800
CITY OF GLENDALE
613 E BROADWAY #110
GLENDALE, CA 91206
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CITY OF GOLD HILL
PO BOX 308
GOLD HILL, OR 97525
CITY OF GOLDEN
PO BOX 5885
DENVER, CO 80217-5885

CITY OF GRANDVIEW
207 W 2ND ST
GRANDVIEW, WA 98930
CITY OF GRANTS PASS
101 NW A ST
GRANTS PASS, OR 97526-2091

CITY OF GRASS VALLEY
125 E MAIN ST
GRASS VALLEY, CA 95945
CITY OF GREENACRES
5800 MELALEUCA LANE
GREENACRES, FL 33463

CITY OF GREENWOOD VILLAGE
6060 S QUEBEC ST
GREENWOOD VILLAGE, CO 80111-4591

CITY OF GRESHAM
FINANCE DEPT
1333 NW EASTMAN PKWY
GRESHAM, OR 97030

CITY OF GRIFFIN
PO BOX T
GRIFFIN, GA 30224

CITY OF HAINES CITY
PO BOX 1507
HAINES CITY, FL 33845

CITY OF HANFORD
POLICE DEPT
425 N IRWIN ST
HANFORD, CA 93230

CITY OF HARRISVILLE
363 W INDEPENDENCE BLVD
HARRISVILLE, UT 84404
CITY OF HAWTHORNE
DEPARTMENT OF LICENSING
4455 W 126TH ST
HAWTHORNE, CA 90250
CITY OF HAWTHORNE
REVENUE & COLLECTIONS
4455 W 126TH ST
HAWTHORNE, CA 90250

CITY OF HAYWARD
ACCOUNTING DIVISION
                                        Page 173
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777 B ST
HAYWARD, CA 94541-5007

CITY OF HAYWARD
POLICE DEPT - ALARM DESK
300 W WINTON AVE
HAYWARD, CA 94544
CITY OF HEMET
450 E LATHAM AVE
HEMET, CA 92543
CITY OF HENDERSON
PO BOX 95007
HENDERSON, NV 89009-5007

CITY OF HIALEAH
BUSINESS LICENSE DIVISION
PO BOX 918661
ORLANDO, FL 32891-8661
CITY OF HIALEAH FIRE PREVENTION
PO BOX 919000
ORLANDO, FL 32891-9000

CITY OF HICKORY HILLS
8652 W 95TH ST
HICKORY HILLS, IL 60457

CITY OF HILLSBORO
150 E MAIN ST
HILLSBORO, OR 97123-4028

CITY OF HIRAM
217 MAIN ST
HIRAM, GA 30141
CITY OF HOLLY SPRINGS
PO BOX 990
HOLLY SPRINGS, GA 30142

CITY OF HOLLYWOOD
COLLECTIONS AND LIENS
2600 HOLLYWOOD BLVD #103
HOLLYWOOD, FL 33020
CITY OF HOLLYWOOD
2600 HOLLYWOOD BLVD
ROOM 103
HOLLYWOOD, FL 33020
CITY OF HOLLYWOOD FLORIDA
TREASURY DIVISION
PO BOX 229045
HOLLYWOOD, FL 33022-9045
CITY OF HOMESTEAD
POLICE DEPT
4 S KROME AVE
HOMESTEAD, FL 33030

CITY OF HOMESTEAD
790 N HOMESTEAD BLVD
                                       Page 174
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HOMESTEAD, FL 33030
CITY OF HOPE
CITY OF HOPE SINGLES FOR HOPE
1055 WILSHIRE BLVD 12TH FL
LOS ANGELES, CA 90017
CITY OF HOPE MINISTRIES INC
2778 SNAPFINGER RD
DECATUR, GA 30034
CITY OF HOUSTON
GOVERNMENT PROCUREMENT
THE HOUSTON DEPT OF HEALTH
AND HUMAN SRVCS AIM PROJECT
PO BOX 1562
HOUSTON, TX 77251
CITY OF HOUSTON
MUNICIPAL COURTS
1400 LUBBOCK ST
HOUSTON, TX 77002-1553

CITY OF HOUSTON
SIGN ADMINISTRATION
PO BOX 61167
HOUSTON, TX 77208-1167

CITY OF HOUSTON POLICE DEPT
ALARM DETAIL
PO BOX 741052
HOUSTON, TX 77274-1052

CITY OF HOUSTON POLICE DEPT
HOUSTON POLICE DEPARTMENT
1200 TRAVIS
HOUSTON, TX 77002

CITY OF HUNTINGTON BEACH
ALARM OFFICE HUNTINGTON BEACH
POLICE DEPT
2000 MAIN ST
HUNTINGTON BEACH, CA 92648

CITY OF HUNTINGTON BEACH
PO BOX 711
HUNTINGTON BEACH, CA 92648

CITY OF HUNTINGTON PARK
PO BOX 2219
HUNTINGTON PARK, CA 90255-1568
CITY OF IDAHO FALLS
POLICE DEPARTMENT
PO BOX 50220
IDAHO FALLS, ID 83402

CITY OF INDIAN HARBOUR BEACH
2055 S PATRICK DR
INDIAN HARBOUR BEACH, FL 32937

CITY OF INGLEWOOD
FINANCE DEPARTMENT
                                      Page 175
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 6500
INGLEWOOD, CA 90312-6500

CITY OF IRVINE
FINANCE DEPT
PO BOX 19575
IRVINE, CA 92623-9575
CITY OF IRVING
PO BOX 840534
DALLAS, TX 75284-0534
CITY OF ISSAQUAH
PO BOX 1307
ISSAQUAH, WA 98027-1307

CITY OF JACKSONVILLE
110 MAIN ST
PO BOX 7
JACKSONVILLE, OR 97530
CITY OF JERSEY CITY
DEPARTMENT OF HED&C
COMMERCE DIVISION
382 MLK DR
JERSEY CITY, NJ 07304
CITY OF JOHNS CREEK
MUNICIPAL COURT
11445 JOHNS CREEK PKWY 2ND FL
JOHNS CREEK, GA 30097
CITY OF JOHNS CREEK
12000 FINDLEY RD #400
JOHNS CREEK, GA 30097

CITY OF JOLIET COLLECTORS OFFCE
150 W JEFFERSON ST
JOLIET, IL 60432
CITY OF KENNEWICK
710 S DAYTON ST
PO BOX 6108
KENNEWICK, WA 99336-0108
CITY OF KENT
220 4TH AVE S
KENT, WA 98032

CITY OF KIRKLAND
123 5TH AVE
KIRKLAND, WA 98033-6189
CITY OF LA MESA
8130 ALLISON AVE
LA MESA, CA 91941

CITY OF LA MIRADA
13700 LA MIRADA BLVD
LA MIRADA, CA 90638

CITY OF LACEY
PO BOX 3400
                                       Page 176
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
LACEY, WA 98509-3400
CITY OF LAKE FOREST PARK
17425 BALLINGER WAY NE
LAKE FOREST, WA 98155

CITY OF LAKE OSWEGO
PO BOX 369
LAKE OSWEGO, OR 97034

CITY OF LAKE WALES
PO BOX 1320
LAKE WALES, FL 33859
CITY OF LAKE WORTH
7 N DIXIE HWY
LAKE WORTH, FL 33460-3787
CITY OF LAKELAND
BUSINESS TAX OFFICE
228 S MASSACHUSETTTS AVE
LAKELAND, FL 33801

CITY OF LAKEWOOD
COMMUNITY DEVELOPMENT
6000 MAIN ST SW
LAKEWOOD, WA 98499

CITY OF LAKEWOOD
DIVISION OF WATER WWC
PO BOX 94765
CLEVELAND, OH 44101-4765

CITY OF LAKEWOOD
PO BOX 261450
LAKEWOOD, CO 80226-9450
CITY OF LANCASTER
44933 N FERN AVE
LANCASTER, CA 93534

CITY OF LARGO
PO BOX 296
LARGO, FL 33779-0296
CITY OF LAS VEGAS
400 STEWART AVE
LAS VEGAS, NV 89101

CITY OF LAWRENCEVILLE
TAX COMMISSIONER
PO BOX 2200
LAWRENCEVILLE, GA 30046

CITY OF LAYTON
437 N WASATCH DR
LAYTON, UT 84041

CITY OF LEAGUE CITY
300 WEST WALKER
LEAGUE CITY, TX 77573-3898
CITY OF LEWISVILLE
                                     Page 177
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
ALARM DIVISION
PO BOX 299002
LEWISVILLE, TX 75029-9002
CITY OF LILBURN
OCCUPATION TAX DEPT
76 MAIN STREET
LILBURN, GA 30047

CITY OF LINCOLN
PO BOX 140876
IRVING, TX 75014
CITY OF LODI
ALARM PROGRAM
215 W ELM ST
LODI, CA 95240
CITY OF LOGAN
255 N MAIN
LOGAN, UT 84321

CITY OF LONG BEACH
DEPT OF FINANCIAL MGMT
333 W OCEAN BLVD - LOBBY
LONG BEACH, CA 90802-4604
CITY OF LONG BEACH
PO BOX 630
LONG BEACH, CA 90842-0001

CITY OF LONGMONT
CIVIC CENTER
LONGMONT, CO 80501

CITY OF LONGVIEW
PO BOX 128
LONGVIEW, WA 98632

CITY OF LONGWOOD
175 W WARREN AVE
LONGWOOD, FL 32750
CITY OF LOS ALAMITOS
3201 KATELLA AVE
LOS ALAMITOS, CA 90720

CITY OF LOS ANGELES
DEPT OF DISABILITY
333 S SPRING ST #D2
LOS ANGELES, CA 90013
CITY OF LOS ANGELES
OFFC OF FINANCE REV MGMT DIV
NICOLE LAWRENCE REU-WILSHIRE
PO BOX 53320
LOS ANGELES, CA 90053-0320

CITY OF LOS ANGELES
OFFICE OF FINANCE
TAX & PERMIT
FILE 55604
LOS ANGELES, CA 90074-5604
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CITY OF LOS ANGELES
OFFICE OF FINANCE
FILE 55357
LOS ANGELES, CA 90074-5357

CITY OF LOS ANGELES
OFFICE OF FINANCE
FILE 57059
LOS ANGELES, CA 90074-7059
CITY OF LOS ANGELES
OFFICE OF FINANCE
PO BOX 53233
LOS ANGELES, CA 90053-0233

CITY OF LOS ANGELES
OFFICE OF FINANCE
REVENUE MGT DIVISION
6262 VAN NUYS BLVD #110
VAN NUYS, CA 91401

CITY OF LOS ANGELES
OFFICE OF THE CITY CLERK
TAX & PERMIT DIVISION
PO BOX 53200
LOS ANGELES, CA 90053-0200

CITY OF LOS ANGELES CITY CLERK
ATTN SPECIAL ASSESSMENTS SECTN
200 N SPRING ST #224 CITY HALL
LOS ANGELES, CA 90012

CITY OF LYNNWOOD
19100 44TH AVE W
PO BOX 5008
LYNNWOOD, WA 98046-5008

CITY OF MADERA
PARKING AND BUISNESS DISTRICT
205 W 4TH ST
MADERA, CA 93637
CITY OF MAITLAND
1776 INDEPENDENCE LANE
MAITLAND, FL 32751

CITY OF MALIBU
23815 STUART RANCH RD
MALIBU, CA 90265-4861
CITY OF MANHATTAN BEACH
BUSINESS LICENSE DIVISION
1400 HIGHLAND AVE
MANHATTAN BEACH, CA 90266
CITY OF MANHATTAN BEACH
FINANCE DEPARTMENT
ALARM PERMITS
1400 HIGHLAND AVE
MANHATTAN BEACH, CA 90266-4795
CITY OF MARIETTA
                                      Page 179
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FINANCE DEPT
205 LAWRENCE ST
MARIETTA, GA 30060
CITY OF MCDONOUGH
136 KEYS FERRY ST
MCDONOUGH, GA 30253
CITY OF MCKINNEY
MCKINNEY POLICE DEPT
PO BOX 140549
IRVING, TX 75014-0549
CITY OF MEDFORD
FINANCE DEPT
411 W 8TH ST
MEDFORD, OR 97501-3188
CITY OF MELBOURNE
900 E STRAWBRIDGE AVE
MELBOURNE, FL 32901

CITY OF MERCER ISLAND
9611 SE 36TH ST
MERCER ISLAND, WA 98040

CITY OF MESA
PO BOX 1466
MESA, AZ 85211-1466

CITY OF MESA
PO BOX 16350
MESA, AZ 85211-6350

CITY OF MESA
55 N CENTER ST
MESA, AZ 85201

CITY OF MIAMI
MIAMI POLICE DEPT ALARM UNIT
400 NW 2 AVE #208
MIAMI, FL 33128
CITY OF MIAMI
PO BOX 105206
ATLANTA, GA 30348-5206

CITY OF MIAMI
444 SW 2ND AVE
MIAMI, FL 33130
CITY OF MIAMI GARDENS
1515 NW 167 ST
BLDG 5 #200
MIAMI GARDENS, FL 33169
CITY OF MIAMI SPRINGS
FINANCE DEPT
201 WESTWARD DR
MIAMI, FL 33166

CITY OF MIAMIBEACH
OCCUPATIONAL LICENSES
                                     Page 180
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 116649
ATLANTA, GA 30368-6649

CITY OF MILPITAS
DEPT OF FINANCIAL SERVICES
455 E CALAVERAS BLVD
MILIPITAS, CA 95035
CITY OF MILTON
115 PERIMETER CENTER PL NE #785
ATLANTA, GA 30346
CITY OF MILWAUKIE
10722 SE MAIN ST
MILWAUKIE, OR 97222

CITY OF MIRAMAR
ATTN FALSE ALARM PAYMENTS
2300 CIVIC CTR PL
MIRAMAR, FL 33025
CITY OF MIRAMAR
OCCUPATIONAL LICENSE OFFICE
2300 CIVIC CENTER PL
, 33025

CITY OF MONROVIA
415 S IVY AVE
MONROVIA, CA 91016

CITY OF MONTEBELLO
CRIME PREVENTION UNIT
MONTEBELLO POLICE DEPT
1600 W BEVERLY BLVD
MONTEBELLO, CA 90640-3932

CITY OF MONTEBELLO
1600 W BEVERLY BLVD
MONTEBELLO, CA 90640
CITY OF MONTEREY
CITY HALL
REVENUE DIVISION
MONTEREY, CA 93940
CITY OF MORENO VALLEY
FINANCE DEPT
PO BOX 88005
MORENO VALLEY, CA 92552-0805
CITY OF MOUNT VERNON
PO BOX 809
MOUNT VERNON, WA 98273

CITY OF MOUNTAIN VIEW
POLICE DEPARTMENT
1000 VILLA ST
MOUNTAIN VIEW, CA 94041
CITY OF MURRAY
5025 S STATE ST #113
PO BOX 57520
MURRAY, UT 84157-0520
                                       Page 181
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
CITY OF NEW YORK
DEPT OF FINANCE
OFFICE AUDIT UNIT
210 JORALEMON ST
BROOKLYN, NY 11201
CITY OF NEW YORK
DEPT OF FINANCE
59 MAIDEN LANE
NEW YORK, NY 10038
CITY OF NEWBERG
PO BOX 970
NEWBERG, OR 97132

CITY OF NEWCASTLE
13020 NEWCASTLE WAY
NEWCASTLE, WA 98059

CITY OF NEWPORT
169 SW COAST HWY
NEWPORT, OR 97365
CITY OF NEWPORT BEACH
BUSINESS IMPROVEMENT DIST ADMIN
PO BOX 2295
NEWPORT BEACH, CA 92659-2295

CITY OF NEWPORT BEACH
REVENUE DIVISION
PO BOX 1768
NEWPORT BEACH, CA 92658-8915

CITY OF NORCO
2870 CLARK AVE
NORCO, CA 92860-1903

CITY OF NORTH BEND
PO BOX 896
NORTH BEND, WA 98045

CITY OF NORTH LAS VEGAS
2200 CIVIC CENTER DR
NORTH LAS VEGAS, NV 89030
CITY OF NORTH LAUDERDALE
701 SW 71 AVE
N LAUDERDALE, FL 33068
CITY OF NORTH MIAMI
PARKS AND RECREATION
BACK TO SCHOOL HEALTH FAIR
810 NE 125THS ST
NORTH MIAMI, FL 33161
CITY OF NORTH MIAMI
PO BOX 610850
NORTH MIAMI, FL 33261-0850
CITY OF NORTH RICHLAND HILLS
PO BOX 840552
DALLAS, TX 75284-0552
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CITY OF NORTHGLENN
11701 COMMUNITY CENTER DR
PO BOX 330061
NORTHGLENN, CO 80233-8061

CITY OF NOVATO
ATTN FINANCIAL DIVIDION BID
75 ROWLAND WY #200
NOVATO, CA 94945
CITY OF OAKBROOK TERRACE
17 W 275 BUTTERFIELD RD
OAKBROOK TERRACE, IL 60181

CITY OF OAKLAND
250 FRANK H OGAWA PLAZA
OAKLAND, CA 94612
CITY OF OAKLAND PARK
3650 NE 12TH AVE
OAKLAND PARK, FL 33334-4597

CITY OF OCEANSIDE
3855 MISSION AVE
OCEANSIDE, CA 92054
CITY OF OCOEE
150 N LAKESHORE DR
OCOEE, FL 34761

CITY OF OJAI
OJAI RECREATION DEPT
PO BOX 1570
OJAI, CA 93024

CITY OF OLYMPIA
PO BOX 1967
OLYMPIA, WA 98507
CITY OF ONTARIO
POLICE DEPT
2500 S ARCHIBALD AVE
ONTARIO, CA 91761
CITY OF ORANGE
300 E CHAPMAN AVE
PO BOX 11024
ORANGE, CA 92856-8124
CITY OF ORANGE
205 E GRAVES AVE
ORANGE CITY, FL 32763

CITY OF OREM
56 N STATE ST
OREM, UT 84057

CITY OF ORLANDO
FISCAL MANAGEMENT
PO BOX 913
ORLANDO, FL 32802-0913

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CITY OF ORLANDO
400 S ORANGE AVE 1ST FL
PO BOX 4990
ORLANDO, FL 32802-4990
CITY OF OVIEDO
400 ALEXANDRIA BLVD
OVIEDO, FL 32765

CITY OF OXNARD
305 W 3RD ST
OXNARD, CA 93030
CITY OF PACIFIC GROVE
300 FOREST AVE
PACIFIC GROVE, CA 93950

CITY OF PALM BAY
OCCUPATIONAL LICENSE
120 MALABAR RD SE
PALM BAY, FL 32907

CITY OF PALM BEACH GARDENS
10500 N MILITARY TRAIL
PALM BCH GRDNS, FL 33410

CITY OF PALM SPRINGS
POLICE DEPARTMENT
PO BOX 3294
PALM SPRINGS, CA 92263-3294

CITY OF PALMDALE
CODE ENFORCEMENT DIVISION
38250 N SIERRA HWY
PALMDALE, CA 93550

CITY OF PALO ALTO
PALO ALTO POLICE DEPARTMENT
300 HAMILTON AVE
PALO ALTO, CA 94301

CITY OF PALO ALTO
PALO ALTO POLICE DEPARTMENT
ATTN REVENUE COLLECTIONS
PO BOX 10250
PALO ALTO, CA 94303

CITY OF PARK RIDGE
505 BUTLER PLACE
PARK RIDGE, IL 60068
CITY OF PASADENA
ACCTS REC MODULAR COMPLEX
280 RAMONA ST
PO BOX 7115
PASADENA, CA 91109-7215

CITY OF PASADENA
ATTN ACCOUNTS RECEIVABLE
100 N GARFIELD AVE RM N123
PO BOX 7115
PASADENA, CA 91109-7215

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CITY OF PASADENA
PASADENA POLICE DEPT
CODE ENFORCEMENT DIV
1114 JEFF GINN MEMORIAL DR
PASADENA, TX 77506

CITY OF PASADENA
PERMIT DEPARTMENT
SIGN DIVISION
901 E CURTIS
PASADENA, TX 77502
CITY OF PASCO
PO BOX 293
PASCO, WA 99301

CITY OF PEACHTREE CITY
151 WILLOWBEND RD
PEACHTREE CITY, GA 30269

CITY OF PEARLAND
2947 E BROADWAY #300
PEARLAND, TX 77581
CITY OF PEMBROKE PINES
10100 PINES BLVD
PEMBROKE PINES, FL 33026

CITY OF PEORIA
SALES AND USE TAX LICENSE DIV
8401 W MONROE ST
PEORIA, AZ 85345

CITY OF PEORIA
8401 W MONROE ST
PEORIA, AZ 85345
CITY OF PHILADELPHIA
DEPT OF RECORDS
1301 JFK BLVD CITY HALL RM 154
PHILADELPHIA, PA 19107

CITY OF PHILADELPHIA
DEPT OF REVENUE
PO BOX 1630
PHILADELPHIA, PA 19105

CITY OF PHILADELPHIA BOARD OF PENSIONS AND RETIREMENT
[Address to Be Provided]
CITY OF PHOENIX
CITY TREASURER
PO BOX 29690
PHOENIX, AZ 85038-9690
CITY OF PHOENIX
PO BOX 2005
PHOENIX, AZ 85001-2005
CITY OF PHOENIX
PO BOX 78815
PHOENIX, AZ 85062-8815

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CITY OF PHOENIX POLICE DEPT
ALARM PERMIT SUBSCRIBER APPLIC
PO BOX 52681
PHOENIX, AZ 85072-2681
CITY OF PICO RIVERA
6615 PASSONS BLVD
PO BOX 1016
PICO RIVERA, CA 90660-1016

CITY OF PINELLAS PARK
PO BOX 1100
PINELLAS PARK, FL 33780-1100
CITY OF PLANO POLICE DEPT
PO BOX 860358
PLANO, TX 75086-0358
CITY OF PLANTATION
DEPT OF FINANCIAL SERVICES
PO BOX 79656
BALTIMORE, MD 21279-0656

CITY OF PLANTATION
PO BOX 19270
PLANTATION, FL 33318-9270
CITY OF PLEASANT HILL
POLICE DEPARTMENT
100 GREGORY LN
PLEASANT HILL, CA 94523-3323
CITY OF PLEASANTON
UTILITY
PO BOX 520
PLEASANTON, CA 94566-0802
CITY OF PLEASANTON
PO BOX 520
PLEASANTON, CA 94566

CITY OF POMPANO BEACH
ATTN ALARM BILLING
PO DRAWER 1300
POMPANO BEACH, FL 33061
CITY OF POMPANO BEACH
ATTN OCCUPATIONAL LICENSE DEPT
PO DRAWER 1300
POMPANO BEACH, FL 33061
CITY OF POMPANO BEACH
100 W ATLANTIC BLVD
POMPANO BEACH, FL 33060
CITY OF PORT ANGELES
PO BOX 1150
PORT ANGELES, WA 98362
CITY OF PORT ST LUCIE
OCCUPATIONAL LICENSING DIVISION
121 SW PORT ST LUCIE BLVD
PORT ST LUCIE, FL 34984-5099
                                       Page 186
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CITY OF PORT ST LUCIE
PARKS AND RECREATION
2195 SW ARIOSO BLVD
PORT SAINT LUCIE, FL 34984

CITY OF PORT TOWNSEND
250 MADISON ST #101
PORT TOWNSEND, WA 98368

CITY OF PORTLAND
BUREAU OF LICENSES
111 SW COLUMBIA #600
PORTLAND, OR 97201-5840

CITY OF PORTLAND
C/O STAR PARK LLC
610 SW ALDER #1221
PORTLAND, OR 97205

CITY OF PORTLAND OREGON
CITY OF PORTLAND
TREASURER
1300 SE GIDEON ST
PORTLAND, OR 97202-2419

CITY OF POST FALLS
408 N SPOKANE ST
POST FALLS, ID 83854

CITY OF POULSBO
PO BOX 98
POULSBO, WA 98370

CITY OF POWAY
MUNICIPAL ALARM TRACKING
PO BOX 2490
VALLEY CENTER, CA 92082

CITY OF POWDER SPRINGS
TAX COMMISSIONER
PO BOX 46
POWDER SPRINGS, GA 30127

CITY OF PUYALLUP
PO BOX 314
SEAHURST, WA 98062

CITY OF RAHWAY
RAHWAY POLICE DEPARTMENT
RECORDS BUREAU
ONE CITY HALL PLAZA
RAHWAY, NJ 07065

CITY OF REDLANDS
CITY TREASURERS OFFICE
35 CAJON ST #15B
REDLANDS, CA 92373
CITY OF REDMOND
BUSINESS LICENSES
PO BOX 3745
SEATTLE, WA 98124-3745
                                    Page 187
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CITY OF REDMOND
REDMOND POLICE DEPARTMENT
MAILSTOP 3NFN CASHIER
PO BOX 97010
REDMOND, WA 98073-9710
CITY OF REDMOND
559 SW 77TH ST
REDMOND, OR 97756-2709
CITY OF REDONDO BEACH
TREASURERS OFFICE
PO BOX 270
REDONDO BEACH, CA 90277-0270

CITY OF REEDLEY
845 G ST
REEDLEY, CA 93654

CITY OF RENO
PO BOX 1900
RENO, NV 89505
CITY OF RENTON
FINANCE DIVISION
1055 S GRADY WAY
RENTON, WA 98057

CITY OF RENTON
LICENSING DIVISION
1055 S GRADY WAY
RENTON, WA 98057

CITY OF RIALTO
150 S PALM AVE
RIALTO, CA 92376

CITY OF RICHARDSON
FALSE ALARM PROGRAM
PO BOX 630008
IRVING, TX 75063
CITY OF RIVERDALE
TAX DEPARTMENT
6690 CHURCH ST
RIVERDALE, GA 30274

CITY OF RIVERDALE
4600 S WEBER RIVER DR
RIVERDALE, UT 84405
CITY OF RIVERSIDE
CENTRAL CASHIERING
CITY HALL - PLAZA LEVEL
3900 MAIN ST
RIVERSIDE, CA 92522

CITY OF ROCKLEDGE
1600 HUNTINGTON LN
ROCKLEDGE, FL 32955
CITY OF ROLLING MEADOWS
                                       Page 188
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3600 KIRCHOFF RD
ROLLING MEADOWS, IL 60008

CITY OF ROSWELL
38 HILL ST
ROSWELL, GA 30075
CITY OF SACRAMENTO
SACRAMENTO POLICE ALARM UNIT
5770 FREEPORT BL #100
SACRAMENTO, CA 95822-3516
CITY OF SAGINAW
PO BOX 79070
SAGINAW, TX 76179

CITY OF SALEM
ACCTS RECEIVABLE
PO BOX 3256
PORTLAND, OR 97208-3256
CITY OF SALINAS
200 LINCOLN AVE
SALINAS, CA 93901

CITY OF SAN ANTONIO
PO BOX 839966
SAN ANTONIO, TX 78283-3966

CITY OF SAN ANTONIO PARKING DIV
CITY OF SAN ANTONIO
243 N CNTR ST #200
SAN ANTONIO, TX 78202

CITY OF SAN BERNARDINO
ALARM COMPLIANCE UNIT
PO BOX 1559
SAN BERNARDINO, CA 92401-1559

CITY OF SAN BUENAVENTURA
ALARM COORDINATOR
1425 DOWELL DR
VENTURA, CA 93003

CITY OF SAN CLEMENTE
100 AVENIDA PRESIDIO
SAN CLEMENTE, CA 92672

CITY OF SAN FERNANDO
117 MACNEIL ST
SAN FERNANDO, CA 91340
CITY OF SAN GABRIEL
PO BOX 130
SAN GABRIEL, CA 91778-0130
CITY OF SAN JOSE
TREASURY
200 E SANTA CLARA ST
SAN JOSE, CA 95113

CITY OF SAN JOSE
1290 PARKMOOR AVE
                                       Page 189
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SAN JOSE, CA 95126
CITY OF SAN JOSE BUSINESS TAX
PO BOX 45710
SAN FRANCISCO, CA 94145-0710

CITY OF SAN MATEO
FINANCE DEPT
330 W 20TH AVE
SAN MATEO, CA 94403
CITY OF SAN RAFAEL
1400 5TH AVE
SAN RAFAEL, CA 94901

CITY OF SAN RAMON
ATTN ACCOUNTS RECEIVABLE
2228 CAMINO RAMON
SAN RAMON, CA 94583

CITY OF SANDY
39250 PIONEER BLVD
SANDY, OR 97055
CITY OF SANDY SPRINGS
7840 ROSWELL RD BUILDING 500
SANDY SPRINGS, GA 30350

CITY OF SANFORD
PO BOX 1788
SANFORD, FL 32772-1788
CITY OF SANTA ANA
FINANCE DEPT M13
20 CIVIC CTR PLAZA
PO BOX 1988
SANTA ANA, CA 92702

CITY OF SANTA BARBARA
BUSINESS LICENSE
PO BOX 1990
SANTA BARBARA, CA 93102
CITY OF SANTA CLARITA
ADMINSTRATIVE SRVS DEPT
23920 VALENCIA BLVD #300
SANTA CLARITA, CA 91355

CITY OF SANTA CRUZ
POLICE DEPT
155 CENTER ST
SANTA CRUZ, CA 95060
CITY OF SANTA MARIA
222 E COOK ST
SANTA MARIA, CA 93454

CITY OF SANTA MONICA
AMPCO SYSTEM PARKING
WTP TRANSPORATATION MGMT OFFICE
1685 MAIN ST RM 115
PO BOX 2200
SANTA MONICA, CA 90407-2200
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CITY OF SANTA MONICA
AMPCO SYSTEM PARKING
POLICE DEPT
333 OLYMPIC DR
SANTA MONICA, CA 90401
CITY OF SANTA ROSA
SANTA ROSA POLICE DEPT
ALARMS
965 SONOMA AVE
SANTA ROSA, CA 95404
CITY OF SARASOTA
OCCUPATIONAL LICENSING
PO BOX 1058
SARASOTA, FL 34230
CITY OF SARATOGA
13777 FRUITVALE AVE
SARATOGA, CA 95070

CITY OF SCAPPOOSE
33568 E COLUMBIA AVE
SCAPPOOSE, OR 97056

CITY OF SCOTTS VALLEY
1 CIVIC CENTER DR
SCOTTS VALLEY, CA 95066

CITY OF SCOTTSDALE
BUSINESS OCCUPATIONAL
PROFESSIONAL LICENSING
PO BOX 1929
SCOTTSDALE, AZ 85252-1586

CITY OF SCOTTSDALE
TAX & LICENSE
PO BOX 1929
SCOTTSDALE, AZ 85252-1929

CITY OF SCOTTSDALE
PO BOX 1949
SCOTTSDALE, AZ 85252-1949
CITY OF SCOTTSDALE
7447 E INDIAN SCHOOL RD #110
SCOTTSDALE, AZ 85251

CITY OF SEAL BEACH
PO BOX 11370
SANTA ANA, CA 92711
CITY OF SEATAC
4800 S 188TH ST
SEATAC, WA 98188-8605

CITY OF SEATTLE
REVENUE AND CONSUMER AFFAIRS
PO BOX 34904
SEATTLE, WA 98124
CITY OF SEATTLE
                                    Page 191
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SEATTLE OFFICE FOR CIVIL RIGHTS
810 3RD AVE #750
SEATTLE, WA 98104-1627
CITY OF SEATTLE
PO BOX 34214
SEATTLE, WA 98124-4214
CITY OF SEATTLE
PO BOX 34907
SEATTLE, WA 98124-1907
CITY OF SEATTLE
700 5TH AVE #4250
PO BOX 34214
SEATTLE, WA 98124

CITY OF SEQUIM
152 W CEDAR ST
SEQUIM, WA 98382
CITY OF SHADY COVE
PO BOX 1210
SHADY COVE, OR 97539

CITY OF SHERWOOD
22560 SW PINE ST
SHERWOOD, OR 97140

CITY OF SILVERTON
306 S WATER
SILVERTON, OR 97381

CITY OF SMYRNA
PO BOX 1226
SMYRNA, GA 30081
CITY OF SNELLVILLE
2342 OAK RD 2ND FL
SNELLVILLE, GA 30078-2361

CITY OF SNOHOMISH
116 UNION AVE
SNOHOMISH, WA 98290
CITY OF SOUTH JORDAN
1600 W TOWNE CENTER DR
S JORDAN, UT 84095

CITY OF SOUTH MIAMI
FINANCE DEPARTMENT
6130 SUNSET DR
SOUTH MIAMI, FL 33143

CITY OF SPOKANE
BUSINESS IMPROVEMENT DISTRICT
808 W SPOKANE FALLS BLVD
SPOKANE, WA 99201-3306
CITY OF SPOKANE
POLICE DEPT
FALSE ALARM REDUCTION PROGRAM
PO BOX 2300
                                     Page 192
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SPOKANE, WA 99210-2300
CITY OF SPOKANE
W 808 SPOKANE FALLS BLVD
SPOKANE, WA 99201-3305

CITY OF ST CLOUD
1300 9TH ST
ST CLOUD, FL 34769

CITY OF ST GEORGE
175 E 200 N
ST GEORGE, UT 84770
CITY OF ST PETERSBURG
POLICE DEPT ALARM DIVISION
1300 1ST AVE N
ST PETERSBURG, FL 33705
CITY OF ST PETERSBURG
PO BOX 2842
ST PETERSBURG, FL 33731

CITY OF STOCKBRIDGE
4545 N HENRY BLVD
STOCKBRIDGE, GA 30281
CITY OF STOCKTON
POLICE DEPARTMENT
ALARM REDUCTION UNIT
22 E MARKET ST
STOCKTON, CA 95202

CITY OF STUART
121 SW FLAGLER AVE
STUART, FL 34994-2139
CITY OF SUGAR LAND
TREASURY DEPARTMENT
PO BOX 5029
SUGAR LAND, TX 77487-5029

CITY OF SUNNY ISLES BEACH
18070 COLLINS AVE
SUNNY ISLES BCH, FL 33160
CITY OF SUNRISE
FINANCE DEPT-FALSE ALARMS
PO BOX 452048
SUNRISE, FL 33345-9998
CITY OF SUNRISE
OCCUPATIONAL LICENSE DIVISION
1607 NW 136 AVE BLDG B
SUNRISE, FL 33323
CITY OF SURPRISE
12425 W BELL RD #D100
SURPRISE, AZ 85374
CITY OF TACOMA
TAX & LICENSE DIVISION
PO BOX 11640
                                     Page 193
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TACOMA, WA 98411-6640
CITY OF TACOMA
733 MARKET ST RM 21
TACOMA, WA 98402-3770

CITY OF TAMARAC
BUSINESS REVENUE DIVISION
7525 NW 88 AVE
TAMARAC, FL 33321-2401
CITY OF TAMPA
BUSINESS TAX DIVISION
PO BOX 2200
TAMPA, FL 33601-2200

CITY OF TAMPA CASHIERING POLICE
2105 N NEBRASKA AVE GROUND FL
PO BOX 2200
TAMPA, FL 33602
CITY OF TARPON SPRINGS
BUILDING DEPT
PO BOX 5004
TARPON SPRINGS, FL 34688-5504

CITY OF TEMECULA
PO BOX 9033
TEMECULA, CA 92589-9033

CITY OF TEMPE
POLICE DEPARTMENT ALARM UNIT
PO BOX 5002
TEMPE, AZ 85280

CITY OF TEMPE
TAX & LICENSE DIVISION
PO BOX 5002
TEMPE, AZ 85280
CITY OF TEMPE
TAX AND LICENSE OFFICE
PO BOX 29618
PHOENIX, AZ 85038-9618
CITY OF THORNTON
SALES & USE TAX DIVISION
DEPT 222
DENVER, CO 80291-0222
CITY OF THOUSAND OAKS
ATTN FINANCE ALARM DESK
2100 THOUSAND OAKS BLVD
THOUSAND OAKS, CA 91362
CITY OF TIGARD
13125 SW HALL BLVD
TIGARD, OR 97223
CITY OF TITUSVILLE
PO BOX 2806
TITUSVILLE, FL 32781-2806

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CITY OF TORRANCE
FINANCE DEPT BUSINESS LICENSE
3031 TORRANCE BLVD
TORRANCE, CA 90503
CITY OF TORRANCE
REVENUE DIVISION
3031 TORRANCE BLVD
TORRANCE, CA 90503

CITY OF TORRANCE
TREASURERS OFFICE
3031 TORRANCE BLVD
TORRANCE, CA 90503-5059

CITY OF TUALATIN
BUSINESS LICENSE DEPT
18880 SW MARTINAZZI AVENUE
TUALATIN, OR 97062

CITY OF TUALATIN
POLICE DEPT
8650 SW TUALATIN RD
TUALATIN, OR 97062

CITY OF TUCSON
FINANCE DEPARTMENT
255 W ALAMEDA
TUCSON, AZ 85701

CITY OF TUKWILA
FINANCE DEPARTMENT
6200 SOUTHCENTER BLVD
TUKWILA, WA 98188-2599

CITY OF TUMWATER
555 ISRAEL ROAD SW
TUMWATER, WA 98501-6558

CITY OF TUSTIN
300 CENTENNIAL WAY
TUSTIN, CA 92780
CITY OF UNION CITY POLICE
DEPARTMENT
ATTN ALARM OFFICER
34009 ALVARADO NILES RD
UNION CITY, CA 94587

CITY OF UNIVERSITY PLACE
POLICE DEPARTMENT
3631 74TH AVE W #A
UNIVERSITY PLACE, WA 98466

CITY OF VACAVILLE
660 MERCHANT ST
VACAVILLE, CA 95688

CITY OF VANCOUVER
BUSINESS LICENSE RENEWAL
PO BOX 8995
VANCOUVER, WA 98668-8995

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CITY OF VANCOUVER
FINANCIAL AND MGMT SERVICES
PO BOX 8995
VANCOUVER, WA 98668-8995
CITY OF VENICE
401 W VENICE AVE
VENICE, FL 34285

CITY OF VERO BEACH
PO BOX 1389
VERO BEACH, FL 32961
CITY OF VISALIA
PO BOX 3464
VISALIA, CA 93278-3464

CITY OF VISALIA POLICE DEPT
ALARM OFFICER
303 SOUTH JOHNSON ST
VISALIA, CA 93291-6135

CITY OF WALNUT CREEK
WALNUT CREEK POLICE DEPT
1666 N MAIN ST
WALNUT CREEK, CA 94596
CITY OF WALNUT CREEK
PO BOX 8039
WALNUT CREEK, CA 94596

CITY OF WASHOUGAL
1701 C ST
WASHOUGAL, WA 98671

CITY OF WATSONVILLE
WATSONVILLE POLICE DEPARTMENT
215 UNION ST
PO BOX 1930
WATSONVILLE, CA 95077

CITY OF WATSONVILLE
PO BOX 149
WATSONVILLE, CA 95077-0149
CITY OF WENATCHEE TREASURER
PO BOX 519
WENATCHEE, WA 98807-0519

CITY OF WEST COVINA
FINANCE DEPARTMENT
PO BOX 1440
WEST COVINA, CA 91793

CITY OF WEST JORDAN
8000 S REDWOOD RD
WEST JORDAN, UT 84088

CITY OF WEST LINN
POLICE DEPT
22825 WILLAMETTE DR
WEST LINN, OR 97068

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CITY OF WEST MELBOURNE
2285 MINTON RD
W MELBOURNE, FL 32904-4928
CITY OF WEST PALM BEACH
LICENSING DEPT
PO BOX 3147
WEST PALM BEACH, FL 33402

CITY OF WEST PALM BEACH
POLICE DEPT ALARM DIVISION
PO BOX 3366
W PALM BEACH, FL 33402
CITY OF WEST PALM BEACH
POLICE DEPT ALARM REGISTRATION
PO BOX 1390
WEST PALM BEACH, FL 33402
CITY OF WEST PALM BEACH
200 2ND ST
PO BOX 3366
W PALM BEACH, FL 33402-3366
CITY OF WESTMINSTER
FINANCE DEPARTMENT
8200 WESTMINSTER BLVD
WESTMINSTER, CA 92683

CITY OF WESTMINSTER
PO BOX 17107
DENVER, CO 80217-7107

CITY OF WESTON
17200 ROYAL PALM BLVD
WESTON, FL 33326
CITY OF WHEAT RIDGE COLORADO
SALES & USE TAX DIV
7500 W 29TH AVE
WHEAT RIDGE, CO 80033

CITY OF WHEATRIDGE S&U TAX DIV
PO BOX 248
WHEATRIDGE, CO 80034-0248
CITY OF WHITTIER
13230 E PENN ST
WHITTIER, CA 90602
CITY OF WILSONVILLE
PO BOX 765
WILSONVILLE, OR 97070

CITY OF WINTER GARDEN
300 W PLANT ST
WINTER GARDEN, FL 34787

CITY OF WINTER HAVEN
PO BOX 2277
WINTER HAVEN, FL 33883
CITY OF WINTER PARK
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PERMITS & LICENSING DEPT
401 S PARK AVE
WINTER PARK, FL 32789
CITY OF WINTER SPRINGS
1126 E STATE RD 434
WINTER SPRINGS, FL 32708
CITY OF WOOD VILLAGE
2055 NE 238TH DR
WOOD VILLAGE, OR 97060-1095
CITY OF WOODBURN
270 MONTGOMERY ST
WOODBURN, OR 97071

CITY OF YAKIMA
FINANCE DEPARTMENT
129 N 2ND ST
YAKIMA, WA 98901
CITY OF YONKERS
CITY CLERKS OFFICE
CITY HALL #107
YONKERS, NY 10701

CITY OF YONKERS
COMMERCE MIDDLE SCHOOL
SANDRA PIACENTE
201 PALLISADE AVE
YONKERS, NY 10701
CITY OF YONKERS
YONKERS BUSINESS WEEK
CITY HALL
40 S BROADWAY #416
YONKERS, NY 10701

CITY OF&FRISCO ALARM PERMIT
APPLICATION
7680 PRESTON RD
FRISCO, TX 75035
CITY PARKING OF FLORIDA INC
12973 SW 112TH ST #362
MIAMI, FL 33186

CITY PARKING USA INC
6538 COLLINS AVE #282
MIAMI, FL 33141
CITY PARKS FOUNDATION
830 5TH AVE
NEW YORK, NY 10021
CITY SCHOLARS FOUNDATION
900 WILSHIRE BLVD #1518
LOS ANGELES, CA 90017
CITY TREASURER
PO BOX 182158
COLUMBUS, OH 43218-2158

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CITY WIDE COMMUNITY DVLPMT CORP
3440 S POLK #B
DALLAS, TX 75232
CITYWIDE MORTGAGE OF AMERICA
4305 W. IRVING PARK RD.
CHICAGO, IL 60641
CIVIC CENTER BARRIO
HOUSING CORP
980 W 17TH ST #E
SANTA ANA, CA 92706
CIVIC RESEARCH INSTITUTE
DELTA HEDGE PUBLICATIONS
4478 US ROUTE 27 - PO BOX 585
KINGSTON, NJ 08528
CK CONSTRUCTION & SERVICES CORP
4370 W 2560 NORTH
OGDEN, UT 84404

CKG CREDITORS TRUST
PO BOX 684903
AUSTIN, TX 78768

CLACKAMAS COMMUNITY COLLEGE
FOUNDATION
19600 S MOLALLA AVE
OREGON CITY, OR 97045

CLACKAMAS COMMUNITY COLLEGE
STUDENT ACTIVITES
19600 MOLALLA AVE
OREGON CITY, OR 97045

CLACKAMAS COMMUNITY LAND TRUST
2316 SE WILLARD ST
MILWAUKIE, OR 97222-7740
CLACKAMAS COUNTY SHERIFF
CLACKAMAS COUNTY TAX COLLECTOR
ALARM ORDINANCE COORDINATOR
2223 S KAEN RD
OREGON CITY, OR 97045
CLACKAMAS WOMENS SERVICES
PO BOX 22547
MILWAUKIE, OR 97269
CLAIM JUMPER RESTAURANTS LLC
29370 RANCHO CALIFORNIA RD
TEMECULA, CA 92591

CLAIMS RECOVERY FINANCIAL
SERVICES LLC
6560 GREENWOOD PLAZA BLVD #100
ENGLEWOOD, CO 80111-4980
CLAIMS RECOVERY FINANCIAL
SERVICES LLC
12 N MAIN ST
ALBION, NY 14411
                                       Page 199
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CLALLAM TITLE COMPANY
PO BOX 248
PORT ANGELES, WA 98362
CLAREL BENOIT CHAMBERS
LEVEL 6 ONE CATHEDRAL SQUARE
PORT LOUIS MAURITIUS,

CLARENDON VALUATION ADVISORS
8 FANEUIL HALL MARKET PLC FLR 3
BOSTON, MA 02109
CLARETIAN ASSOCIATES INC
9108 S BRANDON AVE
CHICAGO, IL 60617

CLARION CONSTRUCTION INC
58 EISENHOWER LN
LOMBARD, IL 60148
CLARION CREDIT MANAGEMENT
CONSUMER EDUCATION SERV INC
DEPT 112
P. . BOX 30367
CHARLOTTE, NC 28230-0367
CLARION MORTGAGE CAPITAL INC
100 DRAKES LANDING #155
GREENBRAE, CA 94904

CLARITAS INC
PO BOX 533028
ATLANTA, GA 30353-2028

CLARK & TREVITHICK
ATTN ACCOUNTING
800 WILSHIRE BLVD 12TH FL
LOS ANGELES, CA 90017
CLARK COUNTY
BUSINESS LICENSE
500 S GRAND CENTRAL PKWY
PO BOX 551810
LAS VEGAS, NV 89155-1810
CLARK COUNTY
PO BOX 9808
VANCOUVER, WA 98666-9808
CLARK COUNTY CHAMBER
OF COMMERCE
PO BOX 2947
VANCOUVER, WA 98668-2947
CLARK COUNTY CLERK
REGIONAL JUSTICE CENTER 5TH FL
200 LEWIS AVE
LAS VEGAS, NV 89101
CLARK COUNTY PUBLIC
EDUCATION FOUNDATION INC
3360 W SAHARA BLVD #160
                                       Page 200
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LAS VEGAS, NV 89102
CLARK COUNTY RECORDER
PO BOX 551510
LAS VEGAS, NV 89155-1510

CLARK COUNTY SCHOOL DISTRICT
ARBOR VIEW HIGH SCHOOL
DBA CCSD COLLEGE FAIR PLUS
ATTN COOKIE SENA
700 COLLEGE DR
HENDERSON, NV 89015
CLARK HILL PLC
ATTORNEYS AT LAW
500 WOODWARD AVE #3500
DETROIT, MI 48226-3435
CLASSIC RESTAURANT CONCEPTS LLC
30 WORCESTER RD
FRAMINGHAM, MA 01701

CLASSIC SETTLEMENTS INC
10801 LOCKWOOD DR
SILVER SPRING, MD 20901-1556

CLAUDE LEFEBVRE
CHRISTOPHER M LEFEBVRE PC
2 DEXTER ST
PO BOX 479
PAWTUCKET, RI 02862
CLAUDIA TOMLINSON
JOHNNYS LOCK & SAFE
DBA JOHNNYS LOCK & SAFE
1224 MANGROVE AVE #1
CHICO, CA 95926

CLAUDINE VO
3680 SANDPIPER WAY
BREA, CA 92823

CLAY CHAPMAN CRUMPTON IWAMURA
& PULICE
700 BISHOP ST #2100
HONOLULU, HI 96813

CLAYTON COUNTY
CLAYTON COUNTY RECORDER
CLERK OF SUPERIOR COURT
9151 TARA BLVD
JONESBORO, GA 30236
CLAYTON COUNTY
TAX COMMISSIONERS OFFICE
ADMINISTRATION ANNEX 3 2ND FL
121 S MCDONOUGH ST
JONESBORO, GA 30236
CLAYTON COUNTY RECORDER
9151 TARA BLVD
JONESBORO, GA 30236

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CLAYTON COUNTY UNAUTHORIZED
ALARM DIVISION
PO BOX 934042
ATLANTA, GA 31193-4042
CLAYTON ROPER & MARSHALL
246 N WESTMONTE DR
ALTAMONTE SPRINGS, FL 32714

CLAYTON SERVICES INC
2 CORPORATE DR 8TH FL
SHELTON, CT 06484
CLEAR CAPITAL.COM INC
10875 PIONEER TRAIL 2ND FL
TRUCKEE, CA 96161

CLEAR CHANNEL BRDCSTING INC
CLEAR CHANNEL
3885 COLLECTIONS CENTER DR
CHICAGO, IL 60693

CLEAR CHANNEL BROADCASTING
CLEAR CHANNEL
ATTN RAY WONG
340 TOWNSEND ST
SAN FRANCISCO, CA 94107

CLEAR CHANNEL BROADCASTING INC
CLEAR CHANNEL
AUSTIN TX MARKET
PO BOX 847117
DALLAS, TX 75284-7117

CLEAR CHANNEL BROADCASTING INC
CLEAR CHANNEL
PO BOX 847654
DALLAS, TX 75284-7654

CLEAR LAKE AREA
CHAMBER OF COMMERCE
1201 NASA PKWY
HOUSTON, TX 77058

CLEAR TITLE LLC
13037 BEL RED RD #100
BELLEVUE, WA 98005

CLEARADEBT INC
CLEAR A DEBT INC
2500 E HALLANDALE BEACH BLVD
SUITE 611
HALLANDALE, FL 33009

CLEAREDGE PARTNERS INC
8 PLEASANT ST B3
SOUTH NATICK, MA 01760

CLEARING HOUSE ASSN OF FLORIDA
C/O LARRY CARSON FL0094
WACHOVIA BANK NA OF FLORIDA
PO BOX 2080
JACKSONVILLE, FL 32231-0010
                                      Page 202
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CLEARINGHOUSE PIMA CTY AZ
PO BOX 52107
PHOENIX, AZ 85072
CLEARPOINT FINANCIAL SOLUTIONS
CCCS OF ST. LOUIS
DBA CONSUMER CREDIT COUNSELING
SERVICE OF VIRGINIA
8000 FRANKLIN FARMS DR
RICHMOND, VA 23229-5004
CLEARVIEW FESTIVAL PRODUCTIONS
80 EIGHTH AVE #412
NEW YORK, NY 10011

CLEARWATER NEIGHBORHOOD SERVICE
608 N GARDEN AVE
CLEARWATER, FL 33755

CLERK KC SUPERIOR COURT
516 3RD AVE RM E 609
KING COUNTY COURTHOUSE
ATTN CIVIL CLERK
SEATTLE, WA 98104

CLERK OF CIRCUIT COURT
PO BOX 3249
TAMPA, FL 33601

CLERK OF COURT
LEVY COUNTY RECORDER
PO BOX 610
BRONSON, FL 32621

CLERK OF COURT
PO BOX 1991
BATON ROUGE, LA 70821

CLERK OF COURT (SC)
PO BOX 1220
DILLON, SC 29536
CLERK OF COURT LA COUNTY
SUPERIOR COURT
111 NORTH HILL STREET
LOS ANGELES, CA 90012

CLERK OF COURT VERNON PARISH
PO BOX 40
LEESVILLE, LA 71496
CLERK OF SUPERIOR COURT
FULTON COUNTY CLERK OF SUPERIOR COURT
FULTON COUNTY
136 PRYOR ST
ATLANTA, GA 30303

CLERK OF THE CIRCUIT COURT
REAL ESTATE RECORDING
PO BOX 511687
PUNTA GORDA, FL 33951-1687

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
CLERK OF THE STATE COURT
GWINNETT COUNTY
GWINNETT COUNTY GEORGIA
75 LANGLEY DR
LAWRENCEVILLE, GA 30045-6935

CLERK OF THE SUPERIOR COURT
COUNTY OF LOS ANGELES
111 N HILL ST
LOS ANGELES, CA 90012
CLERK OF THE SUPERIOR COURT
10 EAST PARK SQUARE
MARIETTA, GA 30090

CLERK OF THE SUPREME COURT
PO BOX 150
JEFFERSON CITY, MO 65102
CLERK SNOHOMISH COUNTY
EVERGREEN DISTRICT COURT
PO BOX 625
MONROE, WA 98272
CLERK US BANKRUPTCY COURT
197 S MAIN ST
WIKES BARRE, PA 18701

CLERK US DISTRICT COURT
PO BOX 918960
ORLANDO, FL 32891-8960
CLIC COMMUNICATIONS INC
DBA GEORGIA LATINO NEWS
5720 BUFORD HWY #208
NORCROSS, GA 30071
CLIFF FRAD FRANK FREED SUBIT &
FRANK FREED SUBIT & THOMAS LLP
THOMAS LLP
705 SECOND AVE #1200
SEATTLE, WA 98104-1798
CLIFFORD CHANCE US LLP
31 W 52ND ST
NEW YORK, NY 10019-6131

CLINTON CITY
1906 W 1800 N
CLINTON, UT 84015
CLISHAM SATRIANA & BISCAN LLC
1512 LARIMER ST #400
DENVER, CO 80202
CLOBUS MCLEMORE & DUKE INC
2860 MARINA MILE #109
FORT LAUDERDALE, FL 33312-4804
CLOVER RIDGE ELEMENTARY SCHOOL
GREATER ALBANY SCHOOL DSTRCT 8J
2963 NE CLOVER RIDGE RD
ALBANY, OR 97322
                                       Page 204
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CLOVIS CHAMBER OF COMMERCE
325 POLLASKY AVE
CLOVIS, CA 93612
CLS WORLDWIDE CHAUFFEURED SRVS
PO BOX 826152
PHILADELPHIA, PA 19182-6152

CLUB HISPANO DE LAKELAND INC
PO BOX 5593
LAKELAND, FL 33813
CLYNE & ASSOCIATES PA
2600 DOUGLAS RD #1100
CORAL GABLES, FL 33134

CNA
CCC RISK MANAGEMENT
LOCKBOX NUMBER 23520
23520 NETWORK PLACE
CHICAGO, IL 60673-1235

CNS INC
DBA COMMERCIAL NEWSPAPER SVC
136 E IDAHO ST
PO BOX 487
MERIDIAN, ID 83680-0487

CNSLIDATED AMERICAN LITHOGRAPHS
AMERICAN LITHOGRAPHERS INC
ATTN: CONTROLLER
2629 FIFTH STREET
SACRAMENTO, CA 95818

CNSLIDATED AMERICAN LITHOGRAPHS
AMERICAN LITHOGRAPHERS INC
21062 FORBES AVE
HAYWARD, CA 94545
COACHELLA VALLEY HOUSING
COALITION
45-701 MONROE ST #G
INDIO, CA 92201
COACHELLA VALLEY MEXICAN
AMERICAN CHAMBER OF COMMERCE
PO BOX 1874
INDIO, CA 92202
COALITION FOR HUMANE IMMIGRANT
RIGHTS OF LOS ANGELES
2533 W THIRD ST #101
LOS ANGELES, CA 90057
COALITION FOR RESPONSIBLE
COMMUNITY DEVELOPMENT
3101 S GRAND AVE
LOS ANGELES, CA 90007
COALITION FOR RURAL PUEBLOS
ECONOMIC DEVELOPMENT
PO BOX 1744
                                       Page 205
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FRESNO, CA 93717-1744
COALITION OF ESSENTIAL SCHOOLS
NORTHWEST CENTER
7900 E GREENLAKE DR N #212
SEATTLE, WA 98103
COAST CAPITAL GROUP INC
1601 PACIFIC COAST HWY # 245
HERMOSA BEACH, CA 90254
COAST FITNESS REPAIR SHOP
12152 SEVERN WAY
RIVERSIDE, CA 92503

COAST TO COAST MORTGAGE CORP
10829 DOWNEY AVE
DOWNEY, CA 90241
COASTAL CORPORATE TRAINING INC
DBA NEW HORIZONS COMPUTER
LEARNING OF JACKSONVILLE FL
7020 A C SKINNER PKWY #180
JACKSONVILLE, FL 32256

COBB COUNTY
BUSINESS LICENSE DIVISION
191 LAWRENCE ST
MARIETTA, GA 30060-1692

COBB COUNTY SCHOOL DISTRICT
LINDLEY MIDDLE SCHOOL
6TH GRADE ACADEMY
1550 PEBBLEBROOK CIRCLE SE
MABLETON, GA 30126

COBRA ROOFING SERVICES INC
PO BOX 19068
SPOKANE, WA 99219
COCHRAN & OWEN LLC
8000 TOWERS CRESCENT DR #160
VIENNA, VA 22182

COCHRAN INC
PO BOX 33524
SEATTLE, WA 98133

COEUR D'ALENE ASSN OF REALTORS
COEUR D&#39ALENE ASSN OF REALTORS
409 W NEIDER #A
COEUR D'ALENE, ID 83815
COGNIZANT TECHNOLOGY SOLUTIONS
RAJESH AYYAPPAN
500 GLENPOINTE CENTRE W
TEANECK, NJ 07666-6804

COGNIZANT TECHNOLOGY SOLUTIONS
PO BOX 822347
PHILADELPHIA, PA 19182-2347
COGNOS CORPORATION
                                      Page 206
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX D3923
BOSTON, MA 02241-3923

COHAN FAMILY PARTNERSHIP
DBA 18801 VENTURA PARTNERSHIP
15490 VENTURA BLVD #200
SHERMAN OAKS, CA 91403
COHEN & WARREN PC
80 MAPLE AVE
PO BOX 768
SMITHTOWN, NY 11787
COHEN & ZWERNER LLP
FBO ALECIA HAYES
211 N RECORD
DALLAS, TX 75202
COIN CURRENCY & DOCUMENT
SYSTEMS INC
12811 N NEBRASKA AVE #O
TAMPA, FL 33612-4401

COIT STAFFING INC
500 SANSOME ST #510 5TH FLOOR
SAN FRANCISCO, CA 94111
COLBERT MATZ ROSENFELT INC
2835 SMITH AVE #G
BALTIMORE, MD 21209

COLDSPARK INC
10901 W 120TH AVE #150
BROOMFIELD, CO 80021

COLIN ECCLES
[Address Information Redacted]

COLLATERAL RISK SOLUTIONS INC
8989 RIO SAN DIEGO DR #100
SAN DIEGO, CA 92108

COLLATERAL SPECIALISTS INC
250 BEL MARIN KEYS BLVD #G2
NOVATO, CA 94949
COLLECTCORP CORP
455 N 3RD ST #260
PHOENIX, AZ 85004
COLLECTION SERVICES CENTER
PO BOX 9125
DES MOINES, IA 50306

COLLEGE BOUND
DOLLARS FOR ACHIEVERS
17777 CENTER COURT DR #750
CERRITOS, CA 90703
COLLEGE IN REAL INC
411 HARTZ AVE #200
DANVILLE, CA 94526

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COLLEGE SUMMIT INC
5601 W SLAUSON AVE #265
CULVER CITY, CA 90230
COLLIERS INTERNATIONAL
ATTN PHIL WISE
4660 LA JOLLA VILLAGE DR #200
SAN DIEGO, CA 92122

COLLIERS SEELEY INTERNATIONAL
865 S FIGUEROA ST #3500
LOS ANGELES, CA 90071
COLONIAL BANK NA
100 COLONIAL BANK BLVD
MONTGOMERY, AL 36117

COLORADO ASSOCIATION OF
NONPROFIT ORGANIZATIONS
455 SHERMAN ST #207
DENVER, CO 80203

COLORADO BLACK CHAMBER OF
COMMERCE
410 17TH ST #220
DENVER, CO 80202
COLORADO DEPARTMENT OF REVENUE
TAX COMPLIANCE SECTION RM 101
1375 SHERMAN ST
DENVER, CO 80261-0004
COLORADO DEPARTMENT OF REVENUE
DENVER CO, CO 80261-0008

COLORADO DEPT OF TREASURY
UNCLAIMED PROPERTY SECTION
1120 LINCOLN ST #1004
DENVER, CO 80203-2136
COLORADO DIVISION OF
FINANCIAL SERVICES
1560 BROADWAY #1520
DENVER, CO 80202
COLORADO DIVISION OF INSURANCE
COLORADO DIVISION OF
STATE OF COLORADO DIV OF INSRN
1560 BROADWAY #850
DENVER, CO 80202
COLORADO FAMILY
SUPPORT REGISTRY
PO BOX 2171
DENVER, CO 80201-2171
COLORADO LOAN CONSULTANTS LLC
2147 EAGLE DR
PAGOSA SPRINGS, CO 81147
COLORADO RURAL HOUSING
DEVELOPMENT CORPORATION
3621 W 73RD AVE #C
                                      Page 208
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WESTMINSTER, CO 80030-4810
COLORADO SECRETARY OF STATE
1700 BROADWAY #200
DENVER, CO 80290

COLORADO SPRINGS
CHAMBER OF COMMERCE
2 N CASCADE AVE #110
COLORADO SPRINGS, CO 80903
COLORADO TRAVEL SOLUTIONS LLC
16986 E 106TH AVE
DENVER, CO 80022

COLORGRAPHICS INC
PO BOX 31001-1283
PASADENA, CA 91110-1283
COLTON EMERSON MARQUARDT
4606 BRYSON TERRACE
SAN DIEGO, CA 92037

COLUMBIA REAL ESTATE GROUP
701 5TH AVE #7340
SEATTLE, WA 98104
COLUMBIA RESOURCE GROUP
ATTN ACCOUNTS RECEIVABLE
2200 ALASKAN WAY #300
SEATTLE, WA 98121
COLUMBIA TITLE COMPANY LLC
526 MAIN ST
COLVILLE, WA 99114

COLUMBIA VALUATION
GROUP - SEATTLE INC
2402 NW 195TH PLACE
SHORELINE, WA 98177

COLUMBUS APARTMENT ASSOCIATION
1225 DUBLIN RD
COLUMBUS, OH 43215
COLUMBUS DEPOT EQUIPMENT CO
DBA TSYS
PO BOX 2785
COLUMBUS, GA 31902-2785
COMBINDED LA WESTSIDE MLS INC
THE MLS
822 S ROBERTSON BLVD #202
LOS ANGELES, CA 90035
COMCAST
COMCAST INC
PO BOX 3005
SOUTHEASTERN, PA 19398-3005
COMCAST
PO BOX 105257
ATLANTA, GA 30348-5257
                                      Page 209
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COMCAST
PO BOX 1577
NEWARK, NJ 07101-1577
COMCAST
PO BOX 34744
SEATTLE, WA 98124-1744

COMCAST INC
PO BOX 34227
SEATTLE, WA 98124-1227
COMMAND FINANCIAL PRESS CORP
ROSENBAUM & CO
75 VARICK ST
NEW YORK, NY 10013
COMMERCE BANK
ATTN DOMESTIC COLLECTIONS
PO BOX 419248 EP2-2
KANSAS CITY, MO 64141-6248

COMMERCE PLAZA INC
75 GRAND AVE
MASSAPEQUA, NY 11758
COMMERCIAL ASSOCIATION
OF REALTORS
12300 W CENTER ST #150
MILWAUKEE, WI 53222
COMMERCIAL BROKERS ASSOCIATION
12131 113TH AVE NE #100
KIRKLAND, WA 98034

COMMERCIAL CLOSET ASSOCIATION
29 AVE B #3H
NEW YORK, NY 10009
COMMERCIAL ENVELOPE
MANUFACTURERS INC
PO BOX 822721
PHILADELPHIA, PA 19182-2721
COMMERCIAL FINANCIAL CORP
5909 6TH AVE A
KENOSHA, WI 53140

COMMERCIAL INTERIORS WEST INC
5304 ROSEVILLE RD #N
NORTH HIGHLANDS, CA 95660
COMMERCIAL MORTGAGE
SECURITIES ASSN
ATTN DEK BENEDICT
30 BROAD ST 28TH FL
NEW YORK, NY 10004-2304
COMMERCIAL OFFICE INTERIORS
FILE 30857
PO BOX 60000
SAN FRANCISCO, CA 94160
                                      Page 210
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COMMISSIONER OF
TAXATION & FINANCE
PO BOX 530
ALBANY, NY 12201-0530

COMMISSIONER OF
TAXATION AND FINANCE
PO BOX 4127
BINGHAMTON, NY 13902-4127
COMMISSIONER OF REVENUE SERVICE
DEPT OF REVENUE SERVICES
PO BOX 2974
HARTFORD, CT 06104

COMMISSIONER OF REVENUE SVCS
DEPT OF REVENUE SERVICES
PO BOX 2965
HARTFORD, CT 06104-2965
COMMITTEE TO ENCOURAGE
CORPORATE PHILANTHROPY
110 WALL ST #2-1
NEW YORK, NY 10005

COMMNTY COALITION FOR SUBSTANCE
ABUSE PREVENTION & TREATMENT
8101 S VERMONT AVE
LOS ANGELES, CA 90044

COMMON GROUND COMMUNITY HOUSING
DEVELOPMENT FUND CORP INC
THE PRINCE GEORGE
14 E 28TH ST PENTHOUSE
NEW YORK NY, NY 10018
COMMONWEALTH CATHOLIC CHARITIES
PO BOX 6565
RICHMOND, VA 23230-0565

COMMONWEALTH LAND & TITLE CO
LANDAMERCIA COMMONWEALTH
655 N CENTRAL AVE #2200
GLENDALE, CA 91203
COMMONWEALTH LAND TITLE INS CO
LANDAMERCIA COMMONWEALTH
14450 NE 29TH PL #200
BELLEVUE, WA 98007-3697
COMMONWEALTH OF MA
COMMONWEALTH OF MASSACHUSETTS
DEPARTMENT OF TREASURER
ABANDONED PROPERTY DIVISION
1 ASHBURTON PL 12TH FL
BOSTON, MA 02108-1608

COMMONWEALTH OF MASSACHUSETTS
DEPARTMENT OF REVENUE
PO BOX 7046
BOSTON, MA 02204

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COMMONWEALTH OF MASSACHUSETTS
MASS DEPT OF REVENUE
PO BOX 7005
BOSTON, MA 02204
COMMONWEALTH OF MASSACHUSETTS
MASSACHUSETTS DEPT OF REVENUE
PO BOX 7065
BOSTON, MA 02204-7065

COMMONWEALTH OF MASSACHUSETTS
ONE ASHBURTON PL 12TH FL
BOSTON, MA 02108
COMMONWEALTH OF PENNSYLVANIA
BUREAU OF UNCLAIMED PROPERTY
WACHOVIA BANK LOCKBOX CLIENT
401 MARKET ST PA 4218
PHILADELPHIA, PA 19106

COMMONWEALTH OF PENNSYLVANIA
DEPARTMENT OF REVENUE
BUREAU OF CORPORATION TAXES
DEPT 280701
HARRISBURG, PA 17128-0701

COMMONWEALTH OF PENNSYLVANIA
STATE BOARD OF REAL ESTATE
APPRAISERS
2601 N THIRD ST
HARRISBURG, PA 17110
COMMONWEALTH OF VIRGINIA
DEPARTMENT OF TAXATION
PO BOX 26626
RICHMOND, VA 23261-6626
COMMONWEALTH VALUATION GROUP
300 BEAR HILL ROAD
WALTHAM, MA 02451

COMMUNICATIONS DIRECT INC
735 HUNTER DRIVE UNIT F
BATAVIA, IL 60510
COMMUNICATOR INC
ATTN ACCOUNTS PAYABLE
360 HAMILTON AVE 2ND FL
WHITE PLAINS, NY 10601
COMMUNITIES IN SCHOOLS DALLAS
INC
2804 SWISS AVE
DALLAS, TX 75204-5955
COMMUNITIES IN SCHOOLS OF
ATLANTA INC
600 W PEACHTREE ST NW #1250
ATLANTA, GA 30308
COMMUNITIES IN SCHOOLS OF
WASHINGTON STATE
1904 3RD AVE #435
                                     Page 212
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SEATTLE, WA 98101
COMMUNITY ACTION AGENCY INC OF
COLUMBIANA COUNTY
7880 LINCOLE PL
LISBON, OH 44432
COMMUNITY ACTION ORGANIZATION
1001 SW BASELINE STREET
HILLSBORO, OR 97123
COMMUNITY ACTION SERVICES
815 S FREEDOM BLVD #100
PROVO, UT 84601

COMMUNITY ADVOCATES INC
PO BOX 424
ROSLYN HEIGHTS, NY 11577
COMMUNITY AND ECONOMIC
DEVELOPMENT ASSOCIATION OF
COOK COUNTY INC
208 S LASALLE ST #1900
CHICAGO, IL 60604

COMMUNITY ASSN UNDERWRITERS
OF AMERICA INC
2 CAUFIELD PL
NEWTOWN, PA 18940

COMMUNITY BUILD INC
4305 DEGNAN BLVD #105
LOS ANGELES, CA 90008

COMMUNITY CARE DEVELOPMENT
PROJECT INC
97-11 SPRINGFIELD BLVD
QUEENS VILLAGE, NY 11429-1328

COMMUNITY CREDIT
COUNSELING CORP
5 PROFESSIONAL CIRCLE RT 34
COLTS NECK, NJ 07722

COMMUNITY CREDIT COUNSELNG SVCS
1805 KIPLING ST #111
LAKEWOOD, CO 80215

COMMUNITY DEVELOPMENT
CORP OF LONG ISLAND
2100 MIDDLE COUNTRY RD #300
CENTEREACH, NY 11720-3576
COMMUNITY DEVELOPMENT
TECHNOLOGIES CENTER
520 W 23RD ST
LOS ANGELES, CA 90007

COMMUNITY DEVELOPMENT LOAN
FUND INC
225 W POPLAR
SAN ANTONIO, TX 78212

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
COMMUNITY DEVELOPMENT NETWORK
OF MULTNOMAH COUNTY
847 NE 19TH AVE #150
PORTLAND, OR 97232
COMMUNITY FOR YOUTH
999 3RD AVE #1570
SEATTLE, WA 98104

COMMUNITY FOUNDATION
OF BROWARD INC
1401 E BROWARD BLVD #100
FT LAUDERDALE, FL 33301
COMMUNITY FOUNDATION FOR THE
NATIONAL CAPITAL REGION
FREDDIE MACS HOOPS FOR HOMELESS
104 HUME AVE
ALEXANDRIA, VA 22301

COMMUNITY FRAMEWORKS
315 W MISSION AVE #100
SPOKANE, WA 99201
COMMUNITY HAVEN
4405 DESOTO RD
SARASOTA, FL 34235

COMMUNITY HOUSING
COUNCIL OF FRESNO
3602 N BLACKSTONE AVE G 131
FRESNO, CA 93726

COMMUNITY HOUSING
RESOURCES OF ARIZONA
4020 N 20TH ST #220
PHOENIX, AZ 85016

COMMUNITY HOUSING ASSOCIATION
OF DUPAGE
35-C WEST CHARLES RD
VILLA PARK, IL 60181
COMMUNITY HOUSING DEVELOPMENT
CORPORATION OF N RICHMOND
1535 A 3RD ST
RICHMOND, CA 94801

COMMUNITY HOUSING FUND
3700 SW MURRAY BLVD #190
BEAVERTON, OR 97005
COMMUNITY HOUSING IMPROVEMENT
PROGRAM
377 BROADWAY 3RD FL
NEW YORK, NY 10013

COMMUNITY HOUSING INITIATIVE
PO BOX 410522
MELBOURNE, FL 32941-0522

COMMUNITY HOUSING RESOURCE CTR
2700 NE ANDERSEN RD #D3
                                       Page 214
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VANCOUVER, WA 98661
COMMUNITY HOUSING WORKS
1820 S ESCONDIDO BLVD #101
ESCONDIDO, CA 92025

COMMUNITY INK INC
PO BOX 9404
TRUCKEE, CA 96162

COMMUNITY MAGAZINE LLC
NEWTON MAGAZINE
3 GLENWOOD AVE
NEWTON, MA 02459

COMMUNITY MORTGAGE CORP
4165 E THOUSAND OAKS BLVD #260
WESTLAKE VILLAGE, CA 91362
COMMUNITY NEWSPAPERS INC
LAKE OSWEGO REVIEW
PO BOX 22109
PORTLANDN, OR 97269
COMMUNITY ONE HOME LOANS AND
REALTY INC
9171 TOWN CENTRE DR
SAN DIEGO, CA 92122

COMMUNITY PARTNERS
COMMUNITY PARTNERS INC
MILLION TREES LOS ANGELES(MTLA)
200 N SPRING ST RM M125
LOS ANGELES, CA 90012

COMMUNITY PARTNERS FOR
AFFORDABLE HOUSING INC
PO BOX 23206
TIGARD, OR 97281-3206
COMMUNITY PARTNERSHIP
FOR THE HOMELESS INC
823 CONGRESS AVE #P2
AUSTIN, TX 78701
COMMUNITY REINVESTMENT FUND INC
801 NICOLLET MALL #1800
MINNEAPOLIS, MN 55402

COMMUNITY RESOURCE CENTER
655 BROADWAY #300
DENVER, CO 80203-3426
COMMUNITY RESOURCES FOR SCIENCE
1375 ADA ST
BERKELEY, CA 94702

COMMUNITY RESOURCES INC
3051 S ELM ST
DENVER, CO 80222

COMMUNITY SERVICE FOUNDATION
925 LAKEVIEW RD
                                       Page 215
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CLEARWATER, FL 33756
COMMUNITY VISION INC
1502-B VILLAGE OAK LANE
KISSIMMEE, FL 34746

COMMUNITY VISION INC
1750 SW SKYLINE BLVD #102
PORTLAND, OR 97221

COMMVAULT SYSTEMS INC
ATTN FINANCE DEPT
2 CRESCENT PLACE BLDG B
OCEANPORT, NJ 07757-0900

COMPANION SYSTEMS
PO BOX 511591
SALT LAKE CITY, UT 84151
COMPASS COMMUNITY SERVICES
995 MARKET ST 5TH FL
SAN FRANCISCO, CA 94103

COMPASS GROUP
DBA FLIK INTERNATIONAL
314 RECKSON PLAZA
UNIONDALE, NY 11556

COMPASS GROUP USA INC
COMPASS GROUP INC DBA
BON APPETIT
BANK OF AMERICA ILLINOIS
PO BOX 91337
CHICAGO, IL 60693-1337

COMPASS GROUP USA INC
COMPASS GROUP INC DBA
DBA CANTEEN VENDING SERVICES
PO BOX 91337
CHICAGO, IL 60693-1337

COMPASS GROUP USA INC
COMPASS GROUP INC DBA
DBA EUREST DINING SERVICES
91337 COLLECTIONS DR
PO BOX 91337
CHICAGO, IL 60693-1337

COMPASS GROUP USA INC
COMPASS GROUP INC DBA
DBA EUREST DINING SERVICES
FILE #50196 GROUND LEVEL
LOS ANGELES, CA 90074-0196

COMPASS GROUP USA INC
COMPASS GROUP INC DBA
PO BOX 91337
CHICAGO, IL 60693-1337
COMPASS GROUP USA INC
COMPASS GROUP INC DBA
8060 SPENCER HWY
PASADENA, TX 77586
                                     Page 216
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COMPASS INC
7600 S DIXIE HWY
WEST PALM BEACH, FL 33405
COMPASS OF CAROLINA INC
1100 RUTHERFORD RD
GREENVILLE, SC 29609

COMPENSATION TECHNOLOGIES LLC
8155 E INDIAN BEND RD #109
SCOTTSDALE, AZ 85250
COMPETITIVE MEDIA REPORTING LLC
DBA TNS MEDIA INTELLIGENCE
PO BOX 7247-9301
PHILADELPHIA, PA 19170-9301
COMPETITRACK INC
PO BOX 826209
PHILADELPHIA, PA 19182-6209

COMPEX LEGAL SERVICES INC
PO BOX 2738
TORRANCE, CA 90509-2738

COMPLEAT SPORTSWEAR INC
6363 7TH AVE S #222
SEATTLE, WA 98108

COMPLETE SECURITY INC
23 STEVENSON ST
SAN FRANCISCO, CA 94105-2706

COMPLETE WELDERS SUPPLY
PO BOX 2516
NAPA, CA 94558

COMPLIANCE COACH
4370 LA JOLLA VILLAGE DR #400
SAN DIEGO, CA 92122

COMPREHENSIVE APPRAISAL CORP
1016 STATE ROUTE 33
FREEHOLD, NJ 07728
COMPS INC
3 SCHOOL ST #101B
GLEN COVE, NY 11542
COMPTROLLER OF MARYLAND
REVENUE ADMINISTRATION DIVISION
PO BOX 17405
BALTIMORE, MD 21297-1405
COMPTROLLER OF MARYLAND
REVENUE ADMINISTRATION DIVISION
ANNAPOLIS, MD 21411-0001
COMPTROLLER OF PUBLIC ACCOUNTS
111 E 17TH ST
AUSTIN, TX 78774-0100

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COMPU SHARE INC
CONETRIX
PO BOX 64610
LUBBOCK, TX 79464-4610
COMPUCOM SYSTEMS INC
JOHN BENDER
7171 FOREST LN
DALLAS, TX 75230-2306

COMPUCOM SYSTEMS INC
PO BOX 79335
CITY OF INDUSTRY, CA 91716-9335
COMPUCOM SYSTEMS INC DBA
COMPUCOM SYSTEMS INC
EXCELL DATA CORPORATION
PO BOX 31001-1155
PASADENA, CA 91110-1155

COMPUTER AOCIATES INC
CA INC
BOX 3591
PO BOX 8500
PHILADELPHIA, PA 19178-3591

COMPUTER MENTORS GROUP INC
2802 E DR MARTIN LUTHER KING
JR BLVD #F
TAMPA, FL 33610

COMPUTER NETWORK TECHNOLOGY
[Address to Be Provided]

COMPUTER SCIENCE CORPORATION
LOCKBOX 52298
PO BOX 8500
PHILADELPHIA, PA 19178-2298

COMPUTROL LLC
12935 N FORTY DR #214
ST LOUIS, MO 63141
COMPUWARE CORPORATION
DRAWER #64376
DETROIT, MI 48264-0376

COMRADE US INC
22348 MCCLELLAN RD
CUPERTINO, CA 95014
COMSCORE NETWORKS INC
14140 COLLECTIONS CENTER DR
CHICAGO, IL 60693
COMSYS INFORMATION
TECHNOLOGY SERVICES
4400 POST OAK PKWY #1800
HOUSTON, TX 77027
CONAGRA CORPORATE PDL-490
CONAGRA FOODS INC
1 CONAGRA DR CC 270
                                       Page 218
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OMAHA, NE 68102
CONCEPCION SEXTON & MARTINEZ
355 ALHAMBRA CIRCLE #1250
CORAL GABLES, FL 33134

CONCEPTS OFFICE FURNISHINGS INC
800 HUYLER ST
TETERBORO, NJ 07608

CONCHA ESTRADA ATENCIO
1435 EAST L ST
WILMINGTON, CA 90744
CONCORD VILLAGE OWNERS INC
215 ADAMS ST
BROOKLYN, NY 11201
CONCORDIA UNIVERSITY
3400 INTERSTATE 35 NORTH
AUSTIN, TX 78705-2799

CONCUR TECHNOLOGIES INC
ATTN ACCOUNTS RECEIVABLE
PO BOX #7555
SAN FRANCISCO, CA 94120
CONDOCERTS
PO BOX 61390
PHOENIX, AZ 85082-1390

CONF ON CONSUMER FINANCE LAW
C/O OKLAHOMA CITY UNIVERSITY
SCHOOL OF LAW
2501 N BLACKWELDER BOX 117-A
OKLAHOMA CITY, OK 73106
CONFEDERATED TRIBES OF SILETZ
INDIANS
PO BOX 21773
KEIZER, OR 97307

CONFERENCE BOARD INC
845 THIRD AVE
NEW YORK, NY 10022-6679
CONFERENCE OF CONSULTING
ACTUARIES
3880 SALEM LAKE DR #H
LONG GROVE, IL 60047-6400
CONGREGATION SHAAR HASHALOM
ART AUCTION
16020 EL CAMINO REAL
HOUSTON, TX 77062
CONGRESSIONAL BLACK
CAUCUS FOUNDATION INC
1720 MASSACHUSETTS AVE NW
WASHINGTON, DC 20036

CONGRESSIONAL HISPANIC
CAUCUS INSTITUTE INC
                                       Page 219
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911 2ND ST NE
WASHINGTON, DC 20002

CONGRUENT SOFTWARE SOLUTIONS
4205 148TH AVE NE #100
BELLEVUE, WA 98007
CONN COMP SALES DATA INC
84 ROUTE 6
PO BOX 211
ANDOVER, CT 06232
CONNECTICUT CENTRALIZED
CHILD SUPPORT PROCESSING CENTER
PO BOX 990032
HARTFORD, CT 06199-0032

CONNECTICUT COMMISSIONER OF
REVENUE SERVICES
PO BOX 5089
HARTFORD, CT 06102-5089

CONNECTICUT CORPORATE SERVICES
PO BOX 320119
FAIRFIELD, CT 06825

CONNECTICUT GENERAL LIFE INS
CIGNA INTERNATIONAL
13680 COLLECTION CENTER DR
CHICAGO, IL 60693

CONNECTICUT GENERAL LIFE INS
CORPORATE INSURANCE
PO BOX 360709
PITTSBURGH, PA 15251-6709

CONNECTICUT POST
BROOKS COMMUNITY NEWSPAPERS
PO BOX 31071
HARTFORD, CT 06151-1071

CONNECTICUT POST NEWSPAPER
CONNECTICUT POST
BROOKS COMMUNITY NEWSPAPERS
542 WESTPORT AVE
NORWALK, CT 06851

CONNECTICUT STATE TREASURER
INSURANCE DEPT
153 MARKET ST
HARTFORD, CT 06103
CONNECTION REALTY
39560 STEVENSON PL #119
FREMONT, CA 94539
CONNELLAN GROUP INC
DBA KENNEDY PRESS
1163 S MAIN ST #306
CHELSEA, MI 48118

CONNIE R BELL CLERK OF COURT
FM CT 180 N IRBY ST MSC-I
                                       Page 220
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FLORENCE, SC 29501
CONNOLLY BOVE LODGE & HUTZ LLP
1007 N ORANGE ST
WILMINGTON, DE 19801

CONSENSES ECONOMICS INC
53 UPPER BROOK ST
LONDON, W1K 2LT UK

CONSOLIDATED COMMUNICATIONS OF
TEXAS COMPANY
PO BOX 66523
ST LOUIS, MO 63166-6523

CONSOLIDATED CONSULTING GRP LLC
1904 INDUSTRIAL BLVD #107
COLLEYVILLE, TX 76034
CONSOLIDATED CREDIT COUNSELING
SERVICES INC
5701 W SUNRISE BLVD
FORT LAUDERDALE, FL 33313
CONSOLIDATED MULTIPLE
LISTING SERVICE INC
GREATER FAIRFIELD CNTY CMLS
101 MERRITT 7 CORP PARK #212
NORWALK, CT 06851-6216

CONSOLIDATED REALTY BOARD
PO BOX 8776
3725 DON FELIPE DR
LOS ANGELES, CA 90008

CONSOLIDATED RESTAURANT
OPERATIONS INC
12200 STEMMONS FREEWAY #100
DALLAS, TX 75234
CONSOLIDATED TAPE ASSOCIATION
DBA AMERICAN STOCK EXCHANGE LLC
BOX 757510
PHILADELPHIA, PA 19175-7510
CONSTABLE
309 S 3RD ST
LAS VEGAS, NV 89155

CONSTANCE DANIELS
JOHN MCILROY ATTNY AT LAW
617 S OLIVE ST #607
LOS ANGELES, CA 90014

CONSTANCE L HEAGY
430 ENCINAL CANYON RD
MALIBU, CA 90265

CONSTANCE THOMAS
PO BOX 961025
EL PASO, TX 79996
CONSTRUCTION INSPECTION SERVICE
                                       Page 221
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ATTN KEN COLLINS
3047 TIDEWATER CR
MADISON, MS 39110
CONSTRUCTION LOAN CONSULTANTS
6700 VERNON WOODS DR #100
ATLANTA, GA 30328
CONSTRUCTWARE
[Address to Be Provided]
CONSULTING PSYCHOLOGIST PRESS
DAVIES-BLACK PUBLISHING
PO BOX 49156
SAN JOSE, CA 95161-9156

CONSULTING SOLUTIONS INC
2015 S ARLINGTON HTS RD #110
ARLINGTON HEIGHTS, IL 60005

CONSUMER BANKERS ASSOCIATION
1000 WILSON BLVD #2500
ARLINGTON, VA 22209-3912
CONSUMER BUDGET COUNSELING INC
4055 TAMIAMI TRAIL #23
PORT CHARLOTTE, FL 33952

CONSUMER CREDIT
MANAGEMENT SERVICES
PO BOX 45
TWIN FALLS, ID 83303-0045

CONSUMER CREDIT & BUDGET
COUNSELING INC
PO BOX 866
299 S SHORE RD US RTE 9
MARMORA, NJ 08223-0866

CONSUMER CREDIT & DEBT
COUNSELING SERVICES
PO BOX 1183
PORT TOWNSEND, WA 98368

CONSUMER CREDIT CONSULTANTS
8220 E FLORENCE AVE #100
DOWNEY, CA 90240

CONSUMER CREDIT COUNSELING
CCCS OF GREATER ATLANTA INC
SERVICE OF GREATER ATLANTA INC
700 S DIXIE HWY #103
WEST PALM BEACH, FL 33401

CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
SERVICE OF GREATER DALLAS INC
8737 KING GEORGE DR #200
DALLAS, TX 75235-2273
CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
SERVICE OF LOS ANGELES
                                       Page 222
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PO BOX 910905
LOS ANGELES, CA 90091-0905

CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
SERVICE OF NEW JERSEY INC
185 RIDGEDALE AVE
CEDAR KNOLLS, NJ 07927-1812

CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
SERVICE OF ORANGE COUNTY
PO BOX 11330
SANTA ANA, CA 92711-1330

CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
SERVICE OF PUERTO RICO
1603 PONCE DE LEON AVE #GM-09
SANTURCE, PR 00910-0908
CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
OF GARDEN STATE INC
225 WILLOWBROOK RD
FREEHOLD, NJ 07728
CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
OF NORTHEASTERN INDIANA
PO BOX 11403
FORT WAYNE, IN 46858

CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
SERVICE OF ALASKA
208 EAST 4TH AVE
ANCHORAGE, AK 99501

CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
SERVICE OF CENTRAL OHIO
4500 E BROAD ST #100
COLUMBUS, OH 43213
CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
SERVICE OF DOUGLAS COUNTY
PO BOX 1011
ROSEBURG, OR 97470
CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
SERVICE OF HAWAII
1164 BISHOP ST #1614
HONOLULU, HI 96813

CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
SERVICE OF JOSEPHINE COUNTY
1314 NE FOSTER WAY
GRANTS PASS, OR 97526

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CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
SERVICE OF SAVANNAH AREA
7505 WATERS AVE #C11
SAVANNAH, GA 31406

CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
SERVICE OF SOUTHERN NEVADA
2650 S JONES
LAS VEGAS, NV 89146
CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
SERVICE OF SOUTHERN OREGON
830 CRATER LAKE AVE #202
MEDFORD, OR 97504
CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
SERVICE OF THE NORTH COAST
1309 11TH ST #104
ARCATA, CA 95521
CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
SERVICES OF SOUTH TEXAS
1706 SOUTH PADRE ISLAND DR
CORPUS CHRISTI, TX 78416

CONSUMER CREDIT COUNSELING
NATNL FNDTN FOR CREDIT CSLG INC
SVC OF NORTHERN NEVADA
575 E PLUMB LN #101
RENO, NV 89502

CONSUMER CREDIT COUNSELING
SERVICES OF BUFFALO INC
40 GARDENVILLE PKWY #300
WEST SENECA, NY 14224

CONSUMER CREDIT COUNSELING
SERVICES OF FAYETTEVILLE
PO BOX 10290
FAYETTEVILLE, AR 72703
CONSUMER CREDIT COUNSELING OF
NATNL FNDTN FOR CREDIT CSLG INC
GREATER SAN ANTONIO INC
6851 CITIZENS PKWY #100
SAN ANTONIO, TX 78229
CONSUMER CREDIT COUNSELING SVC
NATNL FNDTN FOR CREDIT CSLG INC
CCCS OF GREATER DENVER INC
PO BOX 378050
DENVER, CO 80237-8050

CONSUMER CREDIT COUNSELING SVC
NATNL FNDTN FOR CREDIT CSLG INC
OF CENTRAL FLORIDA/SUNCOAST
PO BOX 4963
ORLANDO, FL 32802-4963
                                       Page 224
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CONSUMER CREDIT COUNSELING SVC
NATNL FNDTN FOR CREDIT CSLG INC
OF MARYLAND & DELAWARE INC
757 FREDERICK RD 2ND FL
BALTIMORE, MD 21228-3317
CONSUMER CREDIT COUNSELING SVC
NATNL FNDTN FOR CREDIT CSLG INC
PO BOX 1789
BETHANY, OK 73008-1789
CONSUMER CREDIT COUNSELING SVC
NATNL FNDTN FOR CREDIT CSLG INC
214 E FRANKLIN BLVD
GASTONIA, NC 28052

CONSUMER CREDIT COUNSELING SVC
NATNL FNDTN FOR CREDIT CSLG INC
OF KERN & TULARE COUNTIES INC
5300 LENNOX AVE #200
BAKERSFIELD, CA 93309

CONSUMER CREDIT COUNSELING SVC
NATNL FNDTN FOR CREDIT CSLG INC
OF MID-WILLAMETTE VALLEY INC
1564 COMMERCIAL ST SE
SALEM, OR 97302

CONSUMER CREDIT COUNSELING SVC
NATNL FNDTN FOR CREDIT CSLG INC
OF MONTANA INC
PO BOX 2326
GREAT FALLS, MT 59403

CONSUMER CREDIT COUNSELING SVC
NATNL FNDTN FOR CREDIT CSLG INC
OF SANTA CLARA & VENTURA CNTY
80 N WOOD RD #312
CAMARILLO, CA 93010

CONSUMER CREDIT COUNSELING SVC
NATNL FNDTN FOR CREDIT CSLG INC
OF THE TRI CITIES INC
PO BOX 6551
401 N MORAIN
KENNEWICK, WA 99336

CONSUMER CREDIT MANAGEMENT
28124 ORCHARD LAKE RD #102
FARMINGTON HILLS, MI 48334
CONSUMER CREDIT MANAGEMENT SVCS
315 NE 2ND AVE
DELRAY BEACH, FL 33444
CONSUMER CREDIT OF DES MOINES
6129 SW 63RD ST
DES MOINES, IA 50321
CONSUMER CREDIT USA INC
11711 WOODRUFF AVE #200
DOWNEY, CA 90241
                                       Page 225
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
CONSUMER CREDIT&DEBT COUNSELING
PO BOX 38
GIBBSBORO, NJ 08026
CONSUMER DEBT COUNSELORS INC
222 S PENSYLVANIA AVE #100
WINTER PARK, FL 32789

CONSUMER DEBT SERVICES INC
4555 E 3RD ST #11
LOS ANGELES, CA 90022
CONSUMER EDUCATION SERV INC
PO BOX 2579
COLUMBIA, MD 21045-2579

CONSUMER EDUCATION SERVICES INC
CONSUMER EDUCATION SERV INC
DEPT 162
PO BOX 31741
CHARLOTTE, NC 28231-1741

CONSUMER FEDERATION OF AMERICA
1620 I ST NW #200
WASHINGTON, DC 20006
CONSUMER FINANCIAL
SERVICE CORPORATION
1500 PARK AVE #116
EMERYVILLE, CA 94608
CONSUMER JUSTICE CENTER
TRUST ACCOUNT #8412
THOMAS J LYONS ESQ
367 COMMERCE CT
VADNAIS HEIGHTS, MN 55127

CONSUMER MORTGAGE COALITION
101 CONSTITUTION AVE NW
9TH FLOOR W
WASHINGTON, DC 20001
CONSUMER OPINION SERVICES INC
12825 1ST AVE S
SEATTLE, WA 98168-2693

CONSUMERS CREDIT COUNSELING
SERVICE OF VERMONT
105 LOUDON ROAD
PO BOX 818
CONCORD, NH 03302
CONSUMR CREDT COUNSELNG SVC INC
PO BOX 843
SALINA, KS 67402-0843

CONTACT MANAGEMENT SYSTEMS LLC
PO BOX 340543
SACRAMENTO, CA 95834-0543

CONTEMPORARY INFO CORP
42913 CAPITAL DR #101
                                       Page 226
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LANCASTER, CA 93535
CONTINENTAL CREDIT
2743 W 36TH PL
CHICAGO, IL 60632

CONTINENTAL SHIPPING LINE LLC
34 MARDI GRAS RD
CORONADO, CA 92118

CONTINUANT INC
2001 48TH AVE COURT E
FIFE, WA 98424
CONTOURAL INC
DEPT 1494
DENVER, CO 80291-1494
CONTRA COSTA COUNTY
PO BOX 2399
MARTINEZ, CA 94553

CONTRA COSTA NEWSPAPERS INC
PO BOX 4147
WALNUT CREEK, CA 94596-0147

CONTRA COSTA REALTORS IN MOTION
PO BOX 4594
WALNUT CREEK, CA 94596

CONTRACTORS ASSOCIATION
OF TRUCKEE TAHOE
PO BOX 10570
TRUCKEE, CA 96162-0570

CONTROL POINT SOLUTIONS INC
PO BOX 34931
NEWARK, NJ 07189-4831

CONVENT HDFC
64 HAVEMEYER ST #3A
BROOKLYN, NY 11211
CONVENT OF THE GOOD SHEPHERD
SHELTER OF LOS ANGELES
PO BOX 19487
LOS ANGELES, CA 90019

CONVERGEDIRECT LLC
100 S BEDFORD RD #320
MT KISCO, NY 10549
CONVEY COMPLIANCE SYSTEMS INC
3650 ANNAPOLIS LANE #190
PLYMOUTH, MN 55447
CONYERS ROCKDALE
CHAMBER OF COMMERCE
PO BOX 483
CONYERS, GA 30012

COOK COUNTY RECORDER
COOK COUNTY DEPT OF
                                       Page 227
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118 N CLARK ST RM 120
CHICAGO, IL 60602

COOK COUNTY RECORDERS OFFICE
COOK COUNTY DEPT OF
27775 DIEHL RD
WARRENVILLE, IL 60555
COOLERSOFT
ATTN ACCOUNTS RECEIVABLE
151 WARM CREEK DR
VICTOR, ID 83455
COOLIDGE PARENTS FOR
EDUCATIONAL ENRICHMENT FOUNDTN
504 MILTON DR
SAN GABRIEL, CA 91775
COONEY BOVASSO REALTY ADV INC
71 UNION AVE #205
RUTHERFORD, NJ 07070

COOPER CHRISTENSEN LAW FIRM LLP
820 S VALLEY VIEW BLVD
LAS VEGAS, NV 89107

COOPER CONSULTING ENGINEERS INC
8891 SE BRIDGE ROAD
HOBE SOUND, FL 33455

COOPER SQUARE REALTY INC
6 E 43RD ST
NEW YORK, NY 10017

COOPERATIVE RESOURCE
CENTER INC
191 EDGEWOOD AVE SE
ATLANTA, GA 30303

COOS BAY SANITARY SERVICE
PO BOX 1078
COOS BAY, OR 97420
COPE CENTER INC
104 BLOOMFIELD AVE
MONTCLAIR, NJ 07042

COPELAND COOK TAYLOR & BUSH
PO BOX 6020
RIDGELAND, MS 39158
COPIAGUE CHAMBER OF COMMERCE
PO BOX 8
COPIAGUE, NY 11726
COPPELL PIZZA LP
DBA I FRATELLI PIZZA COPPELL
110 W SANDY LAKE #106
COPPELL, TX 75019
COPY STATION INC
COPYSTATION INC
6601 OWENS DR #135
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PLEASANTON, CA 94588
COPYPAGE INC
5418 MCCONNELL AVE
LOS ANGELES, CA 90066

COPYRIGHT CLEARANCE CENTER INC
DEPT 001
PO BOX 843006
BOSTON, MA 02284-3006
COQUINA KEY ADVERTISING
3850 POMPANO DR SE
ST PETERSBURG, FL 33705

COR O VAN
RECORDS MANAGEMENT INCORPORATED
DEPT 2638
LOS ANGELES, CA 90084-2638

CORAL GABLES BAR ASSOCIATION
901 PONCE DELEON BLVD PENTHOUSE
CORAL GABLES, FL 33134
CORAL SPRINGS POLICE DEPT
FINANCIAL SERVICES PD ALARMS
2801 CORAL SPRINGS DR
CORAL SPRINGS, FL 33065

CORBIS CORPORATION
710 SECOND ST #200
SEATTLE, WA 98104-1742

CORBIS CORPORATION
13159 COLLECTIONS CENTER DR
CHICAGO, IL 60693
CORE DESIGN INC
14711 NE 29TH PL #101
BELLEVUE, WA 98007

CORENET GLOBAL INC
260 PEACHTREE NW #1500
ATLANTA, GA 30303
CORESTAFF SERVICES
1775 SAINT JAMES PL #300
HOUSTON, TX 77056-3416

CORILLIAN CORPORATION
ALEX P. HART
3400 NW JOHN OLSEN PL
HILLSBORO, OR 97124

CORILLIAN CORPORATION
PO BOX 100893
ATLANTA, GA 30384-0893

CORLISS MOORE
ON THIS ROCK INC
1030 MARTIN ST SE
ATLANTA, GA 30315

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
CORNELL UNIVERSITY
ILR CORNELL UNIVERSITY
PAYROLL OFFICE
OFC OF INSTITUTIONAL ADVNCMNT
1300 YORK AVE BOX 314
NEW YORK, NY 10065
CORNERSTONE CRDT COUNSELORS INC
PO BOX 25847
COLORADO SPRINGS, CO 80936
CORNERSTONE RESEARCH INC
353 SACRAMENTO ST 19TH FL
SAN FRANCISCO, CA 94111-3656

CORNISH & CAREY COMMERCIAL
CORNISH & CAREY INTERNATIONAL
2804 MISSION COLLEGE BLVD #120
SANTA CLARA, CA 95054

CORONA CHAMBER OF COMMERCE
904 E 6TH ST
CORONA, CA 92879
CORONA NORCO UNIFIED SCHL DIST
NORCO HIGH SCHOOL
2065 TEMESCAL AVE
NORCO, CA 92860

CORONADO CHAMBER OF COMMERCE
875 ORANGE AVE #102
CORONADO, CA 92118

CORPORATE AWARDS INC
1582 DEERE #B
IRVINE, CA 92606
CORPORATE BUSINESS INTERIORS
905 COLUMBIA ST
BREA, CA 92821

CORPORATE CONCEPTS
39129 TREASURY CTR
CHICAGO, IL 60694-9100
CORPORATE CONSTRUCTION SVCS INC
CSLB #826872
5061 24TH STREET
SACRAMENTO, CA 95822
CORPORATE COUNCIL FOR THE ARTS
PO BOX 19780
SEATTLE, WA 98109

CORPORATE ENVIRONMENTS OF GA
PO BOX 101615
ATLANTA, GA 30392

CORPORATE EXECUTIVE BOARD
[Address to Be Provided]

CORPORATE EXPRESS
CORPORATE EXPRESS IMAGING
                                       Page 230
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 71217
CHICAGO, IL 60694-1217

CORPORATE EXPRESS IMAGING
& COMPUTER GRAPHIC SUPPLIES
PO BOX 95230
CHICAGO, IL 60694
CORPORATE EXPRESS SOUTHWEST
CORPORATE EXPRESS IMAGING
PO BOX 95708
CHICAGO, IL 60694-5708
CORPORATE INSIGHT
675 THIRD AVE 27TH FL
NEW YORK, NY 10017

CORPORATE PSYCHOLOGY RESOURCES
DBA TALENTQUEST
75 5TH ST NW #300
ATLANTA, GA 30308-1030

CORPORATE RESOURCE GROUP INC
7061 DEEPAGE DR #104
COLUMBIA, MD 21045

CORPORATE SERVICES INC
ATTN ACCOUNTS RECEIVABLES
5681 W CLEVELAND RD
SOUTH BEND, IN 46628

CORPORATION ESTIMATE PROCESSING
FLORIDA DEPARTMENT OF REVENUE
IOWA D O R
PO BOX 10468
DES MOINES, IA 50306-0468
CORPORATION FOR
SUPPORTIVE HOUSING
1330 BROADWAY #601
OAKLAND, CA 94612

CORPORATION SERVICE COMPANY
PO BOX 13397
PHILADELPHIA, PA 19101-3397
CORPORATION SERVICE COMPANY
PO BOX 13397
PHILADELPHIA, PA 19101-3397
CORPORATION TO DEVELOP
COMMUNITIES OF TAMPA INC
PO BOX 310385
TAMPA, FL 33610
CORR CRONIN MICHELSON
BAUMGARDNER &PREECE LLP
1001 4TH AVE #3900
SEATTLE, WA 98154-1051
CORT FURNITURE RENTAL
19360 CABOT BLVD
HAYWARD, CA 94545
                                       Page 231
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CORT TRADE SHOW FURNISHINGS
CORT FURNITURE RENTAL
3455 W SUNSET RD #A
LAS VEGAS, NV 89118

CORVALLIS AREA CHAMBER OF COMM
CHAMBER OF COMMERCE
420 NW 2ND ST
CORVALLIS, OR 97330
CORVALLIS NEIGHBORHOOD
HOUSING SERVICES INC
257 SW MADISON AVE #113
CORVALLIS, OR 97333

COSTA MESA CHAMBER OF COMMERCE
1700 ADAMS AVE #101
COSTA MESA, CA 92626

COSTAR REALTY INFORMATION INC
2 BETHESDA METRO CTR FL 10
BETHESDA, MD 20814
COSTCO WHOLESALE
COSTCO
7850 SW DARTMOUTH ST
TIGARD, OR 97223

COTTAGES & GARDENS PUBLICATIONS
535 5TH AVE #203
NEW YORK, NY 10017

COTTER & DEL CARLO
AND ELIZABETH ZUT
4610 MISSION ST #203
SAN FRANCISCO, CA 94112

COUCH WHITE LLP
PO BOX 22222
ALBANY, NY 12201

COUNCIL BARADEL KOSMERL & NOLAN
PO BOX 2289
ANNAPOLIS, MD 21404-2289
COUNCIL FOR EDUCATIONAL CHANGE
3265 MERIDIAN PKWY #1308
WESTON, FL 33331
COUNCIL OF COMMUNITY SERVICES
OF NEW YORK STATE INC
700 VIGINIA ST #400
SEATTLE, WA 98101
COUNCIL OF JEWISH ORGANIZATIONS
OF FLATBUSH INC
1550 CONEY ISLAND AVE
BROOKLYN, NY 11230-4716
COUNCIL ON EMPLOYEE BENEFITS
1311 KING ST
ALEXANDRIA, VA 22314
                                       Page 232
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COUNCIL ON STATE TAXATION
122 C ST NW #330
WASHINGTON, DC 20001-2109
COUNSELORLIBRARY.COM LLC
7250 PARKWAY DR 5TH FL
HANOVER, MD 21076

COUNT ME IN FOR WOMENS
ECONOMIC INDEPENDENCE
240 CENTRAL PARKS #7H
NEW YORK, NY 10019
COUNTDOWN COURIER
PO BOX 803474
DALLAS, TX 75380
COUNTRY CATERING AND
SPECIAL EVENTS INC
PO BOX 8762
STOCKTON, CA 95208

COUNTRY COUSINS FLOWER SHOP
841 E WHITTIER BLVD #B
LA HABRA, CA 90631
COUNTRY EVENTS & ENTERTNMT LLC
DBA REMLINGER FARMS
PO BOX 177
CARNATION, WA 98014
COUNTRYSIDE MANAGEMENT SVC CORP
414 CLARENDON CT
CLARENDON HILLS, IL 60514

COUNTY CLERK
500 S GRAND CENTRAL PKWY
LAS VEGAS, NV 89155
COUNTY COURT RETRIEVERS
718 ESTHER WAY
REDLANDS, CA 92373

COUNTY OF BEXAR
SMALL MINORITY AND WOMEN
OWNED BUSINESS ENTERPRISE PRGRM
HERITAGE PLAZA 400 S MAIN
SAN ANTONIO, TX 78204
COUNTY OF FAIRFAX
DEPARTMENT OF TAX ADMIN
PO BOX 10203
FAIRFAX, VA 22035-0203
COUNTY OF LOS ANGELES
LOS ANGELES COUNTY COMMISSION
OFFICE OF PROTOCOL
500 W TEMPLE ST #375
LOS ANGELES, CA 90012

COUNTY OF LOS ANGELES
OFFICE OF THE SHERIFF
                                       Page 233
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CIVIL DIVISION
10025 E FLOWER ST
BELLFLOWER, CA 90706
COUNTY OF LOS ANGELES SOUTHEAST
CLERK OF THE COURT
12720 NORWALK BLVD
NORWALK, CA 90650

COUNTY OF ORANGE
AUDITOR CONTROLLER
12 CIVIC CENTER PLAZA RM 225
SANTA ANA, CA 92702-1198
COUNTY OF ORANGE
AUDITOR CONTROLLER
PO BOX 567
SANTA ANA, CA 92702
COUNTY OF SAN BERNARDINO
157 W 5TH ST 3RD FL
SAN BERNARDINO, CA 92415-0465

COUNTY OF SAN JOAQUIN
SAN JOAQUIN COUNTY SHERIFFS OFF
MGMT SVCALARM REDUCTION PROGRAM
7000 MICHAEL N CANLIS BLVD
FRENCH CAMP, CA 95231-9781

COUNTY OF VOLUSIA
123 W INDIANA AVE
DELAND, FL 32720

COUNTY TREASURER
DEAN FOWLER JR
PO BOX 100501
FLORENCE, SC 29501-0501

COUPONS AND MORE OF CAMARILLO
2510 G LAS POSAS RD
PMB 121
CAMARILLO, CA 93010
COURIER LIFE INC
1733 SHEEPSHEAD BAY RD
BROOKLYN, NY 11235

COURIER PUBLISHING CO
GRANTS PASS DAILY COURIER
PO BOX 1468
GRANTS PASS, OR 97528-0330
COURIER SOLUTIONS
PO BOX 541566
DALLAS, TX 75354-1566
COURIER SOLUTIONS OF AMERICA
Action Courier & Logistics LLC
PO BOX 219256
HOUSTON, TX 77218

COURT CLERK FOR PIERCE
COUNTY SUPERIOR COURT
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930 TACOMA AVE S RM 110
TACOMA, WA 98402-2177

COURT OFFICER CHARLES DEFEO
PO BOX 151
CLIFTON, NJ 07015
COURT OFFICER DEGUILO
SOMERSET COURT OFFICERS LLC
PO BOX 7006
GREEN BROOK, NJ 08812-7006
COURT REPORTERS
CLEARINGHOUSE INC
4545 POST OAK PLACE #350
HOUSTON, TX 77027-3124

COURT TRUSTEE LOS ANGELES
PO BOX 513544
LOS ANGELES, CA 90051
COURTCALL LLC
6383 ARIZONA CIRCLE
LOS ANGELES, CA 90045

COURTHOUSEDIRECT.COM
PO BOX 70558
HOUSTON, TX 77270

COURTLINK
PO BOX 72476882
PHILADELPHIA, PA 19170-6882

COUTS HEATING & COOLING INC
1693 RIMPAU AVE
CORONA, CA 92881-3202
COVAD COMMUNICATIONS
DEPARTMENT 33408
PO BOX 39000
SAN FRANCISCO, CA 94139-0001

COVANSYS
KRISH RENGASAMY
32605 W 12 MILE RD STE 250
FARMINGTON HILLS, MI 48334-3388

COVANSYS
PO BOX 100177
PASADENA, CA 91189-0177
COVANSYS CORPORATION
[Address to Be Provided]

COVINA CHAMBER OF COMMERCE
935 W BADILLO ST
COVINA, CA 91722

COVINGTON RENTAL CENTER
7101 TURNER LAKE CIRCLE
COVINGTON, GA 30014
COX COMMUNICATIONS
                                       Page 235
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 53285
PHOENIX, AZ 85072-3285

COX COMMUNICATIONS INC
COX COMMUNICATIONS
PO BOX 2000
HERNDON, VA 20171-0200
COX COMMUNICATIONS INC
COX COMMUNICATIONS
PO BOX 53262
PHOENIX, AZ 85072-3262
COX EVENTS GROUP
COX RADIO INC DBA KISS/KSMG
4192 JOHN YOUNG PKWY
ORLANDO, FL 32804
COX RADIO GROUP
COX RADIO INC DBA KISS/KSMG
1601 W PEACHTREE ST NE
ATLANTA, GA 30309

COX RADIO INC DBA
COX RADIO INC DBA KISS/KSMG
WHQT HOT 105 RADIO
2741 N 29TH AVE
HOLLYWOOD, FL 33020

COX RADIO INC MIAMI
COX RADIO INC DBA KISS/KSMG
DBA WEDR 99JAMZ
2741 N 29TH AVE
HOLLYWOOD, FL 33020

COX TEXAS NEWSPAPERS LP
COX RADIO INC DBA KISS/KSMG
DBA AUSTIN AMERICAN STATESMAN
PO BOX 1231
SAN ANTONIO, TX 78294-1231

CPI CARD GROUP COLORADO INC DBA
CPI CARD GROUP NEVADA INC
COLORADO PLASTICARD
10368 W CENTENNIAL ROAD
PO BOX 277003
LITTLETON, CO 80127-7003

CPP NORTH AMERICA LLC
5100 GAMBLE DR #600
ST LOUIS PARK, MN 55416
CPR & CDR TECHNOLOGIES INC
6280 SAN IGNACIO AVE #A
SAN JOSE, CA 95119-1365
CPS PUBLISHING
DW PUBLISHING
2193 PORTOLA RD
VENTURA, CA 93003

CQ COMPUTER COMMUNICATIONS INC
570 PEACHTREE PKWY
                                       Page 236
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
CUMMING, GA 30041-6820
CRAIG BASSHIM
DBA HUGHES INVESTIGATION AGENCY
PO BOX 7235
RIVERSIDE, CA 92513
CRAIG CASEY
12732 VIA NIEVE
SAN DIEGO, CA 92130
CRAIG E KING
DBA KINGDOM PRESS
52 MONTVIEW COURT
RINGGOLD, GA 30736

CRAIG E TALL
[Address Information Redacted]
CRAIG E. TALL
[Address Information Redacted]

CRAIG F ARDOLINO NOTARY PUBLIC
795 PAR DR
POMPANO BEACH, FL 33069

CRAIG P QUINN
2824 S ADAMS
SEATTLE, WA 98108

CRAIN CATON & JAMES P C FOR THE
OF BENEFIT OF KAREN DUKE ADMIN
1401 MCKINNEY 17TH FL
HOUSTON, TX 77010

CRANEL INC
7564 RELIABLE PKWY
CHICAGO, IL 60686

CRANER SATKIN SCHEER SCHWARTZ
& ARNOLD
320 PARK AVE
PO BOX 367
SCOTCH PLAINS, NJ 07076-0367
CRAWLEY DELOACHE PLLC
PO BOX 8546
HOT SPRINGS VLG, AR 71910

CREATIVE CREDIT COUNSELORS
208-07 HILLSIDE AVE
QUEENS VILLAGE, NY 10201
CREATIVE EVENT SERVICES INC
269 MECHANIC ST
MARLBOROUGH, MA 01752

CREATIVE PLANT DESIGNS
5613 ADAMS AVE
AUSTIN, TX 78756

CREATIVE PLANT DESIGNS
PO BOX 660631
                                       Page 237
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SACRAMENTO, CA 95866
CREATIVE SERVICES GROUP INC
24325 CRENSHAW BLVD #250
TORRANCE, CA 90505

CREATIVETECHS
500 AURORA AVE N #305
SEATTLE, WA 98109

CREATORS ENTERPRISES
2037 IRVING ST #218
SAN FRANCISCO, CA 94122
CREDIT & DEBIT ASSISTANCE
CREDIT AND DEBT ASSISTANCE
CENTER OF AMERICA
27132 B PASEO ESPADA #1223
SAN JUAN CAPISTRANO, CA 92675

CREDIT ADVISORS FOUNDATION
1818 S 72ND ST
OMAHA, NE 68124
CREDIT ADVOCATE COUNSELING CORP
PO BOX 2624
NEW YORK, NY 10009

CREDIT AND DEBT ASSISTANCE
CENTER OF AMERICA
22342 AVENIDA EMPRESA #235
RANCHO SANTA MARGARITA, 92688

CREDIT CARD MANAGEMENT SERVICES
4611 OKEECHOBEE BLVD
STE 114
WEST PALM BEACH, FL 33417

CREDIT COALITION
3300 LYONS AVE #203A
HOUSTON, TX 77020

CREDIT CONSULTING SERVICES INC
PO BOX 5879
SALINAS, CA 93915-5879
CREDIT COUNSELING & DEBT
MANAGEMENT OF EASTERN IOWA
4403 1ST AVE SE #402
CEDAR RAPIDS, IA 52402
CREDIT COUNSELING ADVOCATES
3103 ALMA HWY
VAN BUREN, AR 72956-5027
CREDIT COUNSELING CENTER
832 SECOND ST PIKE
OFFICE #1
RICHBORO, PA 18954
CREDIT COUNSELORS N AMERICA INC
3317 NW 10TH TERRACE #408
FORT LAUDERDALE, FL 33309
                                       Page 238
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CREDIT FOUNDATION OF AMERICA
23101 LAKE CENTER DR #345
LAKE FOREST, CA 92630
CREDIT GUARD OF AMERICA INC
5301 N FEDERAL HWY #230
BOCA RATON, FL 33487

CREDIT MANAGEMENT & CONSULTING
SERVICES INC
PO BOX 480
SICKLERVILLE, NJ 08081
CREDIT MANAGEMENT OF IOWA INC
3719 BRIDGE AVE #2 & #3
DAVENPORT, IA 52807-1807
CREDIT MEDIATORS INC
414 SANSOM ST
UPPER DARBY, PA 19082

CREDIT NETWORK INC
PO BOX 305
SYOSSET, NY 11791

CREDIT NORTHWEST CORPORATION
PO BOX 105835
ATLANTA, GA 30348-5835

CREDIT SERVICES OF OREGON INC
PO BOX 1208
ROSENBURG, OR 97470

CREDIT SUISSE FIRST BOSTON
ATTN DANIEL DIETERICH
11 MADISON AVE 4TH FL
NEW YORK, NY 10010-3629

CREDITORS ADJUSTMENT BUREAU INC
KENNETH J FREED
14226 VENTURA BLVD
SHERMAN OAKS, CA 91413

CREDITSIGHTS INC
ATTN ACCOUNTS RECEIVABLE
470 PARK AVE S 12TH FL
NEW YORK, NY 10016

CREDT COUNSELNG CNTRS OF AMERCA
CREDIT COUNSELING CENTERS
P O BOX 798039
DALLAS, TX 75379

CRENSHAW CHAMBER OF COMMERCE
PO BOX 8193
LOS ANGELES, CA 90008

CRENULATED COMPANY LTD
NEW SETTLEMENT APARTMENTS
1512 TOWNSEND AVE
BRONX, NY 10452

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CRESAPARTNERS CINCINNATI INC
ATTN LAUREN HODGIN
7475 WISCONSIN AVE #1000
BETHESDA, MD 20814
CRESCENT CITY-DEL NORTE COUNTY
CHAMBER OF COMMERCE
1001 FRONT ST
CRESCENT CITY, CA 95531-4133

CRESCENT MORTGAGE LLC
1755 PROSPECTOR AVE #201
PARK CITY, UT 84060
CRESSNER & ASSOCIATES INC
C/O AEROFUND FINANCIAL INC
DEPT 33790
PO BOX 39000
SAN FRANCISCO, CA 94139

CRESTVIEW ELEMENTARY SCHOOL
MIAMI DADE COUNTY
2201 NW 187TH ST
MIAMI GARDENS, FL 33056

CREW-SEATTLE
PO BOX 2016
EDMONDS, WA 98020-9516

CRIMSON SECURITY INC
380 TOWNLINE RD #110
HAUPPAUGE, NY 11788

CRIMSON SECURITY INC
380 TOWNLINE RD #110
HAUPPAUGE, NY 11788
CROSS & SIMON LLC
913 N MARKET ST 11TH FL
PO BOX 1380
WILMINGTON, DE 19899-1380

CROSS BROTHERS INC
DBA LEE BUILT CONSTRUCTION
PO BOX 25557
EUGENE, OR 97402

CROSS MATCH TECHNOLOGIES INC
CROSS MATCH TECHNOLOGIES
3950 RCA BLVD #5001
PALM BEACH GARDENS, FL 33410
CROSSCOUNTRY MORTGAGE INC
12000 SNOW RD UNIT 9
PARMA, OH 44130
CROSSMARK FINANCIAL CORP
1601 DOVE ST #199
NEWPORT BEACH, CA 92660
CROSSROADS FOUNDATION
2594 4TH AVE
SAN DIEGO, CA 92103
                                      Page 240
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CROW CANYON ARCHAEOLOGICAL CNTR
23390 ROAD K
CORTEZ, CO 81321
CROWLEY BARRETT & KARABA LTD
20 S CLARK ST #2310
CHICAGO, IL 60603-1806

CROWN BUILDING MAINTENACE CO
DBA ABLE BLDG MAINTENANCE CO
868 FOLSOM ST
SAN FRANCISCO, CA 94107
CROWN DEVELOPMENT
7502 GREENVILLE AVE #415
DALLAS, TX 75231
CROWN LIFE
DEPARTMENT 1540
DENVER, CO 80291-1540

CROWN TROPHY
3790 RIVERDALE RD
OGDEN, UT 84405

CROWNMARK MORTGAGE INC
11649 FISHERS STATION DR
FISHERS, IN 46038

CRT FINANCIAL GROUP INC
ATTN TUCKER GROUP
8400 S SANGRE RD
STILLWATER, OK 74074

CRY CHILD RIGHTS AND YOU
AMERICA INC
PO BOX 850948
BRAINTREE, MA 02185
CS FINANCIAL INC
9595 WILSHIRE BLVD #801
BEVERLY HILLS, CA 90212

CSC CORPORATE DOMAINS INC
2711 CENTERVILLE RD #400
WILMINGTON, DE 19808

CSC FINANCIAL SERVICES
COMPUTER SCIENCE CORPORATION
PO BOX 951574
DALLAS, TX 75395-1574
CSI LEASING INC
FIRST BANK OF HIGHLAND PARK
LEASE FINANCE GROUP
PO BOX 1005
HIGHLAND PARK, IL 60035-1005
CSI LEASING INC
FIRST BANK OF HIGHLAND PARK
ATTN ACCOUNTS RECEIVABLE
PO BOX 775485
                                       Page 241
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ST LOUIS, MO 63177-5485
C-STEM TEACHER AND STUDENT
SUPPORT SERVICES
3226 ALABAMA ST
HOUSTON, TX 77004
CSULA AUXILIARY SERVICES INC
5151 STATE UNIVERSITY DR
LOS ANGELES, CA 90032
CT CORPORATION SYSTEM
DBA UCC DIRECT SERVICES
PO BOX 200824
HOUSTON, TX 77216-0824

CT CORPORATION SYSTEM
PO BOX 4349
CAROL STREAM, IL 60197-4349

CTX MORTGAGE CO LLC
CTX APPRAISAL
15601 DALLAS PKWY #500
ADDISON, TX 75001

CTX MORTGAGE COMPANY, LLC
CTX APPRAISAL
2527 CAMINO RAMON STE. 170
SAN RAMON, CA 94583

CUBAN AMERICAN NATL COUNCIL INC
1223 SW 4TH ST
MIAMI, FL 33135-2407

CULINARY COURIERS INC
RESTAURANTSTOGO
711 6TH AVE N #100
SEATTLE, WA 98109

CULLEN AND DYKMAN
BLEAKLEYPLATT LLP
100 QUENTIN ROOSEVELT BLVD
GARDEN CITY, NY 11530-4850

CULVER CITY CHAMBER OF COMMERCE
4249 OVERLAND AVE
CULVER CITY, CA 90230

CULVER CITY EDUCATION
FOUNDATION
PO BOX 4178
CULVER CITY, CA 90231-4178
CULVER CITY TREASURER
PO BOX 507
CULVER CITY, CA 90232-0507

CULVER CITY UNIFIED SCHL DISTR
4034 IRVING PL
CULVER CITY, CA 90232

CUMBERLAND COMMUNITY ACTION INC
DBA CCCS OF FAYETTEVILLE
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PO BOX 2009
FAYETTEVILLE, NC 28302

CUMMINS-ALLISON CORPORATION
PO BOX 339
MT PROSPECT, IL 60056
CUPERTINO CHAMBER OF COMMERCE
20455 SILVERADO AVE
CUPERTINO, CA 95014
CURRENCY MANAGEMENT CO LTD
LESLIE A BLAU
140 S DEARBORN ST #1610
CHICAGO, IL 60603

CURRY COUNTY REPORTER
PO BOX 766
29822 ELLENSBURG AVE
GOLD BEACH, OR 97444-0766
CURRY PUBLIC LIBRARY DISTRICT
94341 3RD ST
GOLD BEACH, OR 97444

CURT BROUWER
[Address Information Redacted]

CURTIS ROSENTHAL INC
5959 W CENTURY BLVD #1010
LOS ANGELES, CA 90045
CURTIS STREET
JANICE M STREET
1865 N LAVA FLOW
ST GEORGE, UT 84770
CUSHMAN & WAKEFIELD
CUSHMAN & WAKEFIELD OF WA INC
RAY HOWDEN
21700 OXNARD ST #1450
WOODLAND HILLS, CA 91367
CUSHMAN & WAKEFIELD
601 S FIGUEROA ST 47TH FL
LOS ANGELES, CA 90017

CUSHMAN & WAKEFIELD OF
NEW JERSEY INC
VALUATION SERVICES
ONE MEADOWLANDS PLAZA 7TH FL
EAST RUTHERFORD, NJ 07073
CUSHMAN & WAKEFIELD OF NJ INC
ONE MEADOWLANDS PLAZA #1100
E RUTHERFORD, NJ 07073

CUSHMAN & WAKEFIELD OF TEXAS
1330 POST OAK BLVD #2700
HOUSTON, TX 77056

CUSTOM HOUSE HOTEL LP
DBA PORTOLA PLAZA HOTEL AT
                                      Page 243
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MONTEREY BAY
2 PORTOLA PLAZA
MONTEREY, CA 93940
CUSTOM INVESTIGATIVE SERVICES
2240 ARABIAN TRAIL
ELIZABETH, CO 80107
CUSTOM LENDING GROUP INC
1529 FOURTH ST
NAPA, CA 94559
CUSTOMER COMMUNICATIONS GROUP
INC
12600 WEST CEDAR DR
DENVER, CO 80228

CUSTOMER GROWTH
BLAU MORITZ KLANG INC
37 FRANKLIN ST #201
WESTPORT, CT 06880

CUTRO & ASSOCIATES
1025 YALE DR
HOLLYWOOD, FL 33021

CVM SOLUTIONS LLC
1815 S MEYERS RD #820
OAKBROOK TERRACE, IL 60181

CYBERU INC
DBA CORNERSTONE ONDEMAND INC
1601 CLOVERFIELD BLVD #620
SANTA MONICA, CA 90404

CYNDI L DYSON
1880 MISTY LAKE DR
JUPITER, FL 33458-3704

CYNERGY CYCLES
DOUG PETERSON
2300 SANTA MONICA BLVD
SANTA MONICA, CA 90404

CYNTHIA LASKER
523 S WESTGATE AVE
LOS ANGELES, CA 90049

CYOTA, AN RSA SECURITY COMPANY
[Address to Be Provided]
CYPRESS CHAMBER OF COMMERCE
5550 CERRITOS AVE #D
CYPRESS, CA 90630
CYPRESS FAIRBANKS INDEPENDENT
GOODSON MIDDLE SCHOOL LIBRARY
SCHOOL DISTRICT
10300 JONES ROAD
HOUSTON, TX 77065

CYPRESS HILLS LOCAL DVLPMT CORP
625 JAMAICA AVE
                                       Page 244
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BROOKLYN, NY 11208-1203
CYSTIC FIBROSIS FOUNDATION
NORTHEAST TEXAS CHAPTER
1008 WINSCOTT RD #B
BENBROOK, TX 76126
CYSTIC FIBROSIS FOUNDATION
6931 ARLINGTON RD
WILSON, NC 27894
CYVEILLANCE INC
1555 WILSON BLVD #404
ARLINGTON, VA 22209

D HOLDER INC
BRITTANY FLOWERS OF KIRKLAND
10637 NE 68TH ST
KIRKLAND, WA 98033

D LLOYD GOODLETT
1310 NW 35TH AVE
CAMAS, WA 98607
D R MYERS DISTRIBUTING CO INC
DBA US IDENTIFICATION MANUAL
DRIVERS LICENSE GUIDE CO
1492 ODDSTAD STA
REDWOOD CITY, CA 94063

D& E A FINANCIAL EDUCATION
D&E A FINANCIAL EDUCATION
&TRAIN
4532 JONESBORO RD 2ND FL
FOREST PARK, GA 30297

D&T PRODUCTS CO LLC
DELOITTE & TOUCHE LLP
PO BOX 7247-6446
PHILADELPHIA, PA 19170-6446

DADD AND NELSON
11 EXCHANGE ST
ATTICA, NY 14011
DADE COUNTY CLERK
CODE ENFORCEMENT DIVISION
111 NW 1ST ST #1750
MIAMI, FL 33128-1981
DADE COUNTY CLERK OF COURT
MIAMI DADE COUNTY RECORDER
22 NW 1ST ST
MIAMI, FL 33128
DAILY JOURNAL CORPORATION
THE DAILY JOURNAL CORP
915 E FIRST STREET
LOS ANGELES, CA 90012
DAILY NEWS LP
125 THEODORE CONRAD DR
JERSEY CITY, NJ 07305
                                     Page 245
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DALE A TYVAND
21016 21ST AVE W
LYNNWOOD, WA 98036
DALLAS BLACK CHAMBER
OF COMMERCE
2838 MLK JR BLVD
DALLAS, TX 75215

DALLAS COUNTY
DAVID CHILDS
TAX ASSESSOR COLLECTOR
PO BOX 139066
DALLAS, TX 75313-9066

DALLAS COUNTY COMMUNITY
COLLEGE DISTRICT FOUNDATION INC
1402 CORINTH ST
DALLAS, TX 75215
DALLAS COUNTY RECORDER
509 N MAIN ST 2ND FL
DALLAS, TX 75202

DALLAS INDEPENDENT SCHOOL DIST
C F CARR ELEMENTARY SCHOOL
1952 BAYSIDE ST
DALLAS, TX 75203

DALLAS SUMMER MUSICALS
DEVELOPMENT OFFICE
PO BOX 710336
DALLAS, TX 75371-0336

DALLIS HIGDON & ASSOCIATES
4664 AMERICAN AVE
BAKERSFIELD, CA 93309

DAMATO CONVERSANO INC
DBA DCI ENGINEERS
10900 NE 4TH ST #1200
BELLEVUE, WA 98004

DAMION TOLLIVER
TEXAS CSDU
PO BOX 659791
SAN ANTONIO, TX 78265-9791

DAMIR PEKUSIC
[Address Information Redacted]
DAN FALLER & ASSOCIATES
APARTMENT OWNERS ASSOCIATION
OF SOUTHERN CALIFORNIA
6445 SEPULVEDA BLVD #300
VAN NUYS, CA 91411

DAN HOGUE ESQ
LAW OFFICES OF DAN HOGUE
180 S LAKE AVE #238
PASADENA, CA 91101

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DAN RYAN JR
DBA THREE D COMPANY
4190 DIXIE SCHOOL RD
NOCONA, TX 76255
DANA KATHRYN BIDLE
7416 121ST AVE SE
NEWCASTLE, WA 98056

DANA MARRA
[Address to Be Provided]
DANA N. GREEN
[Address Information Redacted]

DANA POINT CHAMBER OF COMMERCE
PO BOX 12
DANA POINT, CA 92629
DANA-FARBER CANCER INSTITUTE
44 BINNEY STREET
BOSTON, MA 02115

DANBURY CHAMBER OF COMMERCE
39 W ST
DANBURY, CT 06810
DANCE THEATRE OF HARLEM
466 W 152ND ST
NEW YORK, NY 10031

DANIEL H BRUNNER
CHAPTER 13 TRUSTEE
PO BOX 1003
MEMPHIS, TN 38101-1003

DANIEL J EDELMAN INC
JPMORGAN CHASE BANK NA
21992 NETWORK PLACE
CHICAGO, IL 60673-1219

DANIEL J EVANS
5215 NE 45TH ST
SEATTLE, WA 98105
DANIEL J KORDIK
276 N ADDISON AVE
ELMHURST, IL 60126

DANIEL M RANSHAW
JASON L HARR P A ATTORNEY
TRUST
1326 S RIDGEWOOD AVE #1
DAYTONA BEACH, FL 32114
DANIEL MORA
236 S 11 ST
SANTA PAULA, CA 93060
DANIEL P. LEARY
[Address Information Redacted]
DANIEL PEWZNER DBA
                                      Page 247
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ZIPCON
6910 ROOSEVELT WAY NE PMB 122
SEATTLE, WA 98115
DANIEL THOMAS
ROBIN THOMAS
BARBER & BARBER
107 BEARD ST
POTEAU, OK 74953

DANIEL TODD WARD
5540 GREGG ST
FERNANDINA BEACH, FL 32034
DANIEL TRUZINSKI
15426 WILLMAGLENN DR
WHITTIER, CA 90604
DAPEER ROSENBLIT & LITVAK LLP
11500 W OLYMPIC BLVD #550
LOS ANGELES, CA 90064

DARLENE MITCHELL
[Address to Be Provided]

DARLING INTERNATIONAL INC
PO BOX 552210
DETROIT, MI 48255-2210

DART COURIERS INC
PO BOX 1283
GRAPEVINE, TX 76099

DARYL D DAVID
[Address Information Redacted]

DARYL D. DAVID
[Address Information Redacted]

DAS ACQUISITION COMPANY LLC
12140 WOODCREST EXECUTIVE
ST LOUIS, MO 63141
DASH DELIVERY INC
PO BOX 4334
MEDFORD, OR 97501

DATA ANALYSIS INTERNATIONAL, LLC
[Address to Be Provided]
DATA MAIL INC
ATTN JOHN MINZE
PO BOX 1569
HARTFORD, CT 06144-1569
DATA SAVERS OF JACKSONVILLE
888 SUEMAC RD
JACKSONVILLE, FL 32254
DATA TRACE PUBLISHING COMPANY
PO BOX 1239
BROOKLANDVILLE, MD 21022-9978

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DATAFLUX CORPORATION LLC
940 NW CARY PKWY #201
CARY, NC 27513
DATAFUSION CONSULTING GROUP
295 PHILLIPS AVE
CLAWSON, MI 48017
DATAMENTORS INC
2319-104 OAK MYRTLE LN
WESLEY CHAPEL, FL 33544
DATAQUICK INFORMATION SYSTEMS
FILE 50261
LOS ANGLES, CA 90074-0261

DATASTARUSA INC
PO BOX 849756
DALLAS, TX 75284-9756

DATATREE
PO BOX 849710
DALLAS, TX 75284-9710
DATAVERIFY INC
16100 CHESTERFIELD PKWY W #200
CHESTERFIELD, MO 63017-4817

DAUGHETRY SYSTEMS
[Address to Be Provided]

DAVE & BUSTERS INC
DAVE & BUSTERS
4821 MILLS CIRCLE
ONTARIO, CA 91764

DAVE & BUSTERS INC
DAVE & BUSTERS
71 FORTUNE DRIVE #960
IRVINE, CA 92618

DAVE LINDEN GROUP INC
ORANGE COUNTYS LARGEST MIXER
PO BOX 36054
LOS ANGELES, CA 90036
DAVE RIDDLE ELECTRIC CO
1510 RANDOLPH #608
CARROLLTON, TX 75006
DAVE WALDRON
DBA WALDRON LANDSCAPING
PO BOX 938
SONOMA, CA 95476
DAV-EL
RESERVATION SYSTEMS INC
200 2ND STREET
CHELSEA, MA 02150-1802
DAVENPORT EVANS
HURWITZ & SMITH LLP
513 S MAIN AVE
                                      Page 249
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 1030
SIOUX FALLS, SD 57101-1030

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MICHELLE ROZOVICS
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CRYSTAL LAKE, IL 60014
DAVID AXELROD
ATTORNEY FOR PLAINTIFF
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HIGHLAND PARK, IL 60035
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SIMI VALLEY, CA 93065

DAVID BAUER
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LAKEWOOD, CO 80227

DAVID BECK
[Address Information Redacted]

DAVID BONDERMAN
[Address Information Redacted]
DAVID BONDERMAN
301 COMMERCE ST #3300
FORT WORTH, TX 76102

DAVID BONDERMAN
301 COMMERCE ST #3300
FORT WORTH, TX 76102
DAVID BRADLEY
DOUGLAS M FELLOWS
6110 SW LESSER WAY
PORTLAND, OR 97219
DAVID BRADLEY CHOCOLATIER
PO BOX 504
WINDSOR, NJ 08561-0504

DAVID C SCHNEIDER
[Address Information Redacted]
DAVID C. SCHNEIDER
[Address Information Redacted]
DAVID DALTON
MURRAY & MURRAY CO LPA
111 E SHORELINE DR
SANDUSKY, OH 44870-2517
DAVID F CAMP
17018 SE 38TH CIRCLE
VANCOUVER, WA 98683
                                      Page 250
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DAVID F WURST
PO BOX 610
MEDFORD, OR 97501
DAVID G GRAY TRUSTEE
81 CENTRAL AVE
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DAVID G PEAKE TRUSTEE
STANDING TRUSTEE
PO BOX 2158
MEMPHIS, TN 38101-2158
DAVID G VELDE
TRUSTEE
1118 BROADWAY
ALEXANDRIA, MN 56308
DAVID G. MURPHY
[Address Information Redacted]

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FRANKLIN B REYNOLDS
389 MAIN ST
WASHINGTON, VA 22747
DAVID I KARP
13818 CUMPSTON ST
VAN NUYS, CA 91401-5818

DAVID J BARON
BARON & BARON
118-21 QUEENS BLVD
FOREST HILLS, NY 11375

DAVID J TESTER
DBA JON CARSON PRODUCTIONS
808 W COLBERT ST
MERIDIAN, ID 83646

DAVID JACOBSEN
LEWIS HACKMAN SHAPIRO
MARSHALL & HARLAN
16633 VENTURA BLVD 11TH FLR
ENCINO, CA 91436

DAVID K SERGI & ASSOCIATES
DBA DONNA KAY BERNHARDT AND
DAVID K SERGI
109 E HOPKINS #200
SAN MARCOS, TX 78666
DAVID KUN
30833 36TH ST CT SW
FEDERAL WAY, WA 98023

DAVID L OLEKSOW
591 CAMINO DE LA REINA #1205
SAN DIEGO, CA 92108

DAVID L PALLANTE & ASSOC LLC
DBA EVERGEEN VALUATION SERVICES
                                       Page 251
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7062B LAKEVIEW HAVEN #116
HOUSTON, TX 77095

DAVID LANNING DBA
IDEALSIGNS & RUBBER STAMPS
PO BOX 877
MURRIETA, CA 92564
DAVID LODDER
DL DIRECT LOANS
411 SYCAMORE VALLEY RD WEST
DANVILLE, CA 94526
DAVID M HOWE
CHAPTER 13 TRUSTEE
PO BOX 120
MEMPHIS, TN 38101-0120
DAVID M TIDWELL
PO BOX 4163
ARCATA, CA 95518

DAVID M. COULTAS
[Address Information Redacted]

DAVID P HAMILTON MAI
REAL ESTATE APPRAISER & CNSLTNT
7638 NORTH INGRAM AVE #201
FRESNO, CA 93711

DAVID P RYAN P A TRUST ACCOUNT
2977 MC FARLANE RD #301
COCONUT GROVE, FL 33133

DAVID REAVES TRUSTEE # 07 01932
1440 E MISSOURI AVE C 170
PHOENIX, AZ 85014

DAVID STEADMAN
6247 S PULASKI
CHICAGO, IL 60629

DAVID STEWART ATTORNEY FOR
DONALD G O KEEFE
300 S COLLEGE ST
WINCHESTER, TN 37398

DAVID VANDERWAL
17113 SE 149TH ST
RENTON, WA 98059
DAVIESS COUNTY CLERK
RECORDING DEPARTMENT
PO BOX 609
OWENSBORO, KY 42302
DAVIS & GILBERT LLP
1740 BROADWAY
NEW YORK, NY 10019
DAVIS CHAMBER OF COMMERCE
450 SOUTH SIMMONS WAY #220
KAYSVILLE, UT 84037
                                       Page 252
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DAVIS HEARN SALADOFF & BRIDGES
ATTORNEYS AT LAW
515 5 MAIN ST
ASHLAND, OR 97520

DAVIS LAW GROUP PC
516 BAYLER COURT
CHESAPEAKE, VA 23320

DAVIS SANDS & COLLINS P C &
RAY E COMPO
911 MAIN ST #1720
KANSAS CITY, MO 64105

DAVIS SCHOOL DISTRICT BLUFF
RIDGE ELEMENTARY
2680 S BLUFF RIDGE DR
SYRACUSE, UT 84075

DAVIS SCHOOL DISTRICT HANNAH
DAVIS SCHOOL DISTRICT BLUFF
HOLBROOK ELEMENTARY SCHOOL
1018 E 250 N
BOUNTIFUL, UT 84010

DAVIS SCHOOL DISTRICT KAYSVILLE
DAVIS SCHOOL DISTRICT BLUFF
ELEMENTARY SCHOOL
50 N 100 E
KAYSVILLE, UT 84037
DAVIS SCHOOL DISTRICT SUNSET
DAVIS SCHOOL DISTRICT BLUFF
ELEMENTARY SCHOOL
2014 N 250 W
SUNSET, UT 84015

DAVIS VALUATION GROUP LLC
430 E SOUTHERN AVENUE
TEMPE, AZ 85282

DAVIS WRIGHT TREMAINE LLP
1201 THIRD AVE #2200
SEATTLE, WA 98101-3045
DAVIS WRIGHT TREMAINE LLP
1201 THIRD AVE #2200
SEATTLE, WA 98101-3045
DAVIS WRIGHT TREMAINE LLP
2300 WELLS FARGO CENTER
1300 SW 5TH AVE
PORTLAND, OR 97201
DAVISON RUGELEY & SPURGERS LLP
900 EIGHTH ST #1102
PO DRAWER 99
WICHITA FALLS, TX 76307-0099
DAWDA MANN MULCAHY & SADLER PLC
39533 WOODWARD AVE #200
BLOOMFIELD HILLS, MI 48304-5103
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DAWN CRICHTON DBA
DESIGN 101
9302 E FLATHORN DR
SCOTTSDALE, AZ 85255

DAYPERKS INC
ONE HOUR PARTIES
10215 LAKE CITY WAY NE #D
SEATTLE, WA 98125
DAY-TIMERS INC
PO BOX 27013
LEHIGH VALLEY, PA 18002-7013

DB PROFESSIONALS INC
620 SW 5TH AVE #610
PORTLAND, OR 97204
DB RONK & COMPANY INC
2600 X ST
SACRAMENTO, CA 95818

DBAC INC
101 SHIPYARD WAY #A
NEWPORT BEACH, CA 92663
DBP COMMUNICATIONS
DBA DBP CHICAGO
656 W RANDOLPH #4W
CHICAGO, IL 60661
DBR CHAMBER OF COMMERCE
601 DEERFIELD RD #200
DEERFIELD, IL 60015

DBR PIZZA INC
DBA STRAW HAT PIZZA
1653 INDUSTRIAL PKWY
HAYWARD, CA 94544

DBRS INC
140 BROADWAY 35TH FLR
NEW YORK, NY 10005
DC SHEPHERD LP
1330 POST OAK BLVD #2190
HOUSTON, TX 77056

DC TREASURER
DC OFF OF FINANCE & TREASURY
UNCLAIMED PROPERTY UNIT
1275 K ST NW #500B
WASHINGTON, DC 02005
DC TREASURER
DEPT OF CONSUMER & REGULATORY
AFFAIRS BSNS & PRO LNSNG ADMIN
PO BOX 92300
WASHINGTON, DC 20090

DC TREASURER
OFFICE OF TAX AND REVENUE
                                      Page 254
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PO BOX 96019
WASHINGTON, DC 20090-6019

DC TREASURER
PO BOX 96384
WASHINGTON, DC 20090
DCG HOME LOANS INC
8001 IRVINE CTR DR #200
IRVINE, CA 92618
DDB DIRECT
1000 2ND AVE #1000
SEATTLE, WA 98104

DDI LEASING, INC.
221 SOMERVILLE RD
BEDMINSTER, NJ 07921
DE LA RUE CASH SYSTEMS INC
TALARIS
PO BOX 116963
ATLANTA, GA 30368-6963
DE VRIES LAW GROUP
THE LAS PUERTAS BUILDING
53 MUCKELEMI ST
SAN JUAN BATISTA, CA 95045

DE ZAVALA FLORIST
5999 DE ZAVALA RD #140
SAN ANTONIO, TX 78249

DEACONS
5TH FLR ALEXANDRA HOUSE
18 CHARTER RD
CENTRAL HONG KONG,   CHINA

DEAL MORTGAGE
DEAL MORTGAGE CORP
5105 200TH ST SW #100
LYNWOOD, WA 98036
DEALER TAG SERVICES INC
3130 M FRY RD #800
KATY, TX 77449

DEAN MORRIS LLP
1505 N 19TH ST
MONROE, LA 71207-2867
DEAN MORRIS LLP
[Address to Be Provided]

DEANNE FARHANG
1420 E ROSEVILLE PKWY #140
PMB 242
ROSEVILLE, CA 95661
DEARBORN FINANCIAL SERVICE DBA
DF INSTITUTE
KAPLAN FINANCIAL
PO BOX 91619
                                      Page 255
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CHICAGO, IL 60693
DEB CONSTRUCTION INC
2230 E WINSTON RD
ANAHEIM, CA 92806

DEBBIE CODY
C/O THE GIBSON LAW FIRM PLLC
447 NORTHPARK DR
RIDGELAND, MS 39157
DEBORA D. HORVATH
[Address Information Redacted]
DEBORA HORVATH
[Address Information Redacted]

DEBORAH BEDWELL
7450 HILL RD
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DEBORAH B LANGEHENNIG TRUSTEE
PO BOX 298
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DEBORAH BRIGNAC
[Address Information Redacted]

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CORPUS CHRISTI, TX 78475
DEBORAH KRUSCHE BRUCK
BRUCK LAW OFFICES SC
6TH FL 322 E MICHIGAN ST
MILWAUKEE, WI 53202
DEBORAH L RAYMOND
445 MARINE VIEW AVE #305
DEL MAR, CA 92014

DEBORAH RENEE SKAU
DBA SAFE DEPOSIT SERVICES
862 DOVER CIRCLE
BENICIA, CA 94510
DEBRA J SATTERWHITE
DBA IN TOUCH ENTERPRISES
14065 YAMA WAY
GRASS VALLEY, CA 95945
DEBRA L STOVER
240 I STREET
CRESCENT CITY, CA 95531
DEBRA M DRISCOLL
1825 CAPITAL DR
BRENTWOOD, CA 94513
DEBRA S HELLMAN INC
DBA SCHLESINGER ASSOCIATES
10880 WILSHIRE BLVD #1100
LOS ANGELES, CA 90024
                                      Page 256
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DEBT ADVOCATES OF AMERICA INC
2201 S WS YOUNG DR #103 B
KILLEEN, TX 76543
DEBT COUNSELING CORP
3033 EXPRESSWAY DR N
HAUPPAUGE, NY 11749

DEBT FREE AMERICA
8355 AERO DR #200
SAN DIEGO, CA 92123
DEBT MANAGEMENT CORP
1677 WELLS RD STE E
ORANGE PARK, FL 32073

DEBT MANAGEMENT GROUP, INC.
DMG (AMERIX)
P O BOX 30428
DEPT CODE 232
CHARLOTTE, NC 28230

DEBT MGMT CREDT COUNSELING CORP
700 BANYAN TRAIL #300
BOCA RATON, FL 33431
DEBT REDUCTION SERVICES INC
6213 N CLOVERDALE RD #100
BOISE, ID 83713

DEBT WAVE CREDIT COUNSELING INC
8665 GIBBS DR #100
SAN DIEGO, CA 92123

DEBTICATED CNSUMR COUNSLNG INC
P O BOX 184
SYOSSET, NY 11791

DEBTSCAPE INC
1304 CONCOURSE DR #100
LINTHICUM, MD 21090
DEBTSERVE
1802 N UNIVERSITY DR #102-250
PLANTATION, FL 33322

DECHERTLLP
PO BOX 7247-6643
PHILADELPHIA, PA 19170-6643
DECKER COMMUNICATIONS INC
575 MARKET ST #1925
SAN FRANCISCO, CA 94105
DECLAND TITLE AGENCY LLC
444 MERRICK RD #106
LYNBROOK, NY 11563
DEER PARK CHAMBER OF COMMERCE
110 CENTER ST
DEER PARK, TX 77536

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DEERFIELD POLICE DEPARTMENT
ATTN RECORDS SECTION
850 WAUKEGAN RD
DEERFIELD, IL 60015
DEIDRE H WILLIAMS
2101 BAY AVE
OCEAN PARK, WA 98640

DEKALB CHAMBER OF COMMERCE
100 CRESCENT CENTRE PKWY #680
TUCKER, GA 30084
DEKALB COUNTY BUSINESS LICENSE
INTERNAL AUDIT & LICENSING
PO BOX 100020
DECATUR, GA 30031-7020
DEKALB COUNTY CLERK
OF THE SUPERIOR COURT
566 N MCDONOUGH ST
DECATUR, GA 30030

DEKALB FAMILY RESOURCES INC
178 SAMS ST
DECATUR, GA 30030
DEKALB WORKFORCE DEVELOPMENT
320 CHURCH ST
DECATUR, GA 30030

DEL MAR FRENCH LAUNDRY INC
508 DEL MONTE AVE
MONTEREY, CA 93940

DEL NORTE NEIGHBORHOOD
DEVELOPMENT CORP
2926 ZUNI ST #202
DENVER, CO 80211
DEL SOLE & DEL SOLE LLP
46 S WHITTLESEY AVE
WALLINGFORD, CT 06492

DELAND AREA CHAMBER OF COMMERCE
336 N WOODLAND BLVD
DELAND, FL 32720

DELANEY HARTBURG & ROTH LLP
PO BOX 269
HUNTINGTON, IN 46750-0269
DELAWARE ATTORNEY GENERAL'S OFFICE
ATTN BANKRUPTCY DEPARTMENT
CARVEL STATE OFFICE BLDG., 820 N. FRENCH ST., 8TH FLOOR
WILMINGTON
DE, 19801

DELAWARE REAL ESTATE ADVISOR
DBA INTEGRA REALTY RESOURCES
OF WILMINGTON DE
1013 CENTRE RD #201A
WILMINGTON, DE 19805-1265
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DELAWARE SECRETARY OF STATE
401 FEDERAL ST #4
DOVER, DE 19901
DELI MANAGEMENT INC
DBA JASONS DELI
DEPT #271 PO BOX 4869
HOUSTON, TX 77210-4869

DELI TIME LLC
1501 E WOODFIELD RD #103E
SCHAUMBURG, IL 60173
DELL FINANCIAL SERVICES LP
DELL BUSINESS CREDIT PAYMENT
PROCESSING CENTER
PO BOX 5275
CAROL STREAM, IL 60197-5275

DELL MARKETING LP
C/O DELL USA LP
PO BOX 802816
CHICAGO, IL 60680-2816

DELOITTE & TOUCHE
PO BOX 7247
PHILADELPHIA
PA, 19170 206-292-1800

DELOITTE & TOUCHE LLP
PO BOX 7247 6446
PHILADELPHIA, PA 19170-6446

DELOITTE TAX LLP
PO BOX 2079
CAROL STREAM, IL 60132-2079

DELRAY BEACH COMMUNITY
DEVELOPMENT CORPORATION
401 W ATLANTIC AVE #O16
DELRAY BEACH, FL 33444
DELRIDGE NEIGHBORHOODS
DEVELOPMENT ASSOCIATION
5411 DELRIDGE WAY SW
SEATTLE, WA 98106

DELSON PROPERTIES
DBA HERITAGE
PO BOX 1457
EL RENO, OK 73036
DELTA EXECUTIVE LEARNING CENTER (ELF), A UNIT OF DELTA ORGANIZATION & LEADERSHIP
F/K/A DELTA MERCER
[Address to Be Provided]

DELTA HOME LOANS INC
WINDSOR FUNDING GROUP
6420 WILSHIRE BLVD 19TH FL
LOS ANGELES, CA 90048
DELTA LENDING GROUP
                                     Page 259
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2755 LONE TREE WAY
ANTIOCH, CA 94509

DELUXE BUSINESS CHECKS
AND SOLUTIONS
PO BOX 742572
CINCINNATI, OH 45274-2572
DELUXE BUSINESS FORMS
& SUPPLIES
PO BOX 742572
CINCINNATI, OH 45274-2572
DELUXE SMALL BUSINESS SALES INC
DBA NEW ENGLAND BUSINESS SRV
3680 VICTORIA ST N
SHOREVIEW, MN 55126
DEMETRIUS HUGHES
C/O THE GIBSON LAW FIRM PLLC
447 NORTHPARK DR
RIDGELAND, MS 39157

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HAYWARD, CA 94542
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ATTORNEYS AT LAW
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DENISE V ESTELLE
ESTELLE & ASSOCIATES
ESTELLE FOR HUMANITY
PO BOX 47621
LOS ANGELES, CA 90047

DENISON PARKING INC
SHOPS AT SUNSET PLACE
5701 SUNSET DR #5747
S MIAMI, FL 33143

DENNIS A JUELL
DBA FASTSIGNS
1182 E THOUSAND OAKS BLVD #B
THOUSAND OAKS, CA 91362
DENNIS CLARK
DBA ORGANIZATIONAL DIRECTIONS
725 WASHINGTON ST #215
OAKLAND, CA 94607

DENNIS DEAN KELSALL
15000 WILDWOOD RD
BURNSVILLE, MN 55306

DENNIS GREEN
459 COLUMBUS AVE 346
                                       Page 260
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NEW YORK, NY 10024
DENNIS KOESTERER
[Address to Be Provided]
DENNIS L RICHARD ESQ
85 NE LOOP 410 #200
EI PASO, TX 78216

DENNIS M OWEN DBA
OWEN ASSOCIATES
12716 MANOR DR
AUBURN, CA 95603
DENNIS NOTO & ASSOCIATES INC
1423 S HOWARD AVE
TAMPA, FL 33606
DENNIS P WALSH
4 IRIS CT
PASCO, WA 99301

DENNY MOES SUPERSTAR BARBERSHOP
2496 FREDERICK DOUGLASS BLVD
NEW YORK, NY 10030

DENSHO
1416 S JACKSON ST
SEATTLE, WA 98144

DENVER COUNTY RECORDER
201 W COLFAX AVE DEPT 101
DENVER, CO 80202

DENVER MANAGER OF REVENUE
DEPT OF EXCISE & LICENSES
ALARM SYSTEMS PERMITS
201 W COLFAX AVE DEPT 206
DENVER, CO 80202
DENVER METRO CHAMBER FOUNDATION
1445 MARKET ST
DENVER, CO 80202

DENVER METRO CHAMBER OF
DENVER METRO CHAMBER FOUNDATION
COMMERCE
PO BOX 5751
DENVER, CO 80217
DENVER METROPOLITAN COMM ASSOC
2007 EXPO SHAYNA BRAUNSTEIN
FRANKLIN L BURNS SCHL OF R E
2101 S UNIVERSITY BLVD #380
DENVER, CO 80208
DENVER NEWSPAPER LLP
DENVER NEWSPAPER AGENCY
LAW OFFICES OF PERRY GOORMAN
5290 DTC PKWY #170
GREENWOOD VILLAGE, CO 80111
DENVER PUBLIC SCHOOLS
                                       Page 261
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EDUCATIONAL FOUNDATION
900 GRANT ST #503
DENVER, CO 80203
DEONE C SMITH
TEAM EXSELL
1491 E RIDGELINE DR #330
SOUTH OGDEN, UT 84405

DEPARTMENT OF CHILD SUPPT SVC
PO BOX 50
STOCKTON, CA 95201
DEPARTMENT OF CONSUMER
AND BUSINESS SERVICES
350 WINTER ST NE #440-3
SALEM, OR 97301-3838
DEPARTMENT OF EDUCATION
PO BOX 371584
PITTSBURGH, PA 15251-7584

DEPARTMENT OF HUMAN SERVICES
OVERPAYMENT RECOVERY UNIT
PO BOX 14150
SALEM, OR 97309
DEPARTMENT OF JUSTICE
CENTRAL SERVICES REGION
PO BOX 14506
SALEM, OR 97309
DEPARTMENT OF JUSTICE
FIREARMS PROGRAM
PO BOX 95798 1118
SACRAMENTO, CA 95798-1118
DEPARTMENT OF REVENUE SERVICE
STATE OF CONNECTICUT
PO BOX 2990
HARTFORD, CT 06104-2990

DEPARTMENT OF SOCIAL SERVICES
PO BOX 260222
BATON ROUGE, LA 70826
DEPARTMENT OF STATE
DIVISION OF CORPORATIONS
41 STATE ST
ALBANY, NY 12231-0002
DEPARTMENT OF STATE
NYS DEPT OF STATE
LICENSING SERVICES
PO BOX 22001
ALBANY, NY 12201

DEPARTMENT OF TAXATION
OAHU DISTRICT OFFICE
PO BOX 1425
HONOLULU, HI 96806-1425
DEPOSITORY TRUST COMPANY
                                     Page 262
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TREASURERS DEPARTMENT
PO BOX 27590
NEW YORK, NY 10087-7590
DEPT OF BANKING AND FINANCE
ATTN ADMINISTRATION DIVISION
2990 BRANDYWINE RD #200
ATLANTA, GA 30341

DEPT OF HEALTH & HUMAN SERVICES
CTR FOR MEDICARE & MEDICAID SVS
SECONDARY PAYER RECOVERY
PO BOX 33829
DETROIT, MI 48232-3829

DEPT OF HUMAN SERVICES
OK CENTRALIZED SUPPORT REGISTRY
PO BOX 268809
OKLAHOMA CITY, OK 73126-8809

DEPT OF MOTOR VEHICLES
PO BOX 825339
SACRAMENTO, CA 94232-5339
DEPT OF TAX ADMINISTRATION
12000 GOVERNMENT CENTER PK
FAIRFAX, VA 22035

DERIVATIVE SOLUTIONS INC
311 S WACKER DR 62ND FL
CHICAGO, IL 60606
DERMER MANAGEMENT
10 E 40TH ST 45TH FL
NEW YORK`, NY 10016

DESCHUTES COUNTY TITLE CO INC
397 SW UPPER TERRACE DR
BEND, OR 97702
DESERT FOUNTAIN GAS SUPPLY
3591 N INDIAN CANYON UNIT #B
PALM SPRINGS, CA 92262

DESERT HOT SPRINGS
CHAMBER OF COMMERCE
11-711 WEST DR
DESERT HOT SPRINGS, CA 92240

DESIGN PERFECT INC
12842 NE 15TH PLACE
BELLEVUE, WA 98005
DESIGNED LEARNING INC
10677 GREENWICH LANE
WILLINGTON, FL 33414

DESIGNER WATER USA INC
827 AVE H E #210
ARLINGTON, TX 76011

DESTINATION HOME LLC
G - 5265 W PIERSON RD
                                       Page 263
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FLUSHING, MI 48433
DETAIL MARKETING GROUP INC
10512 NE 68TH ST #203
KIRKLAND, WA 98033

DEUTSCHE BANK
DEUTSCHE BANK TRUST CO AMERICAS
LEGAL DPT ATTN MICHAEL L KADISH
60 WALL ST MAIL STOP NYC60-3615
NEW YORK, NY 10005
DEUTSCHE BANK
1761 E ST ANDREW PL
SANTA ANA, CA 92705-4934

DEUTSCHE BANK TRUST CO AMERICAS
CORPORATE TRUST & AGENCY SVCS
PO BOX 1757
CHURCH STREET STATION
NEW YORK, NY 10008

DEUTSCHE BANK TRUST CO AMERICAS
ELIZABETHAN SQUARE 3RD FL
PO BOX 1984
GEORGETOWN,   CAYMAN ISLANDS
DEUTSCHE BANK TRUST CO DELAWARE
1011 CENTRE RD #200
WILMINGTON, DE 19805

DEVELOPMENT SPECIALISTS INC
THREE FIRST NATIONAL PLAZA
70 WEST MADISON ST #2300
CHICAGO, IL 60602-4250

DEVERI M. RAY
[Address Information Redacted]

DEVIN TANI
2550 CASTELLO ST
OAKLAND, CA 94602
DEWONE WESTERFIELD
[Address to Be Provided]
DEX MEDIA WEST LLC
PO BOX 79167
PHOENIX, AZ 85062-9167
DEXON COMPUTER INC
9201 E BLOOMINGTON FRY #BB
MINNEAPOLIS, MN 55420

DEXTY INC
NATIONAL FINANCIAL SVCS CORP
DBA NEWSPAPER CHART SERVICES
218 WILLOWBROOK LN
WEST CHESTER, PA 19382
DF INSTITUTE
KAPLAN SCHWESER EDUCATIONAL
PROGRAMS
                                       Page 264
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835 MARKET ST 6TH FL
SAN FRANCISCO, CA 94103-1901

DHL EXPRESS
PO BOX 277290
ATLANTA, GA 30384-7290
DHL EXPRESS
FILE 30688
PO BOX 60000
SAN FRANCISCO, CA 94160
DHL EXPRESS
FILE 30692
PO BOX 60000
SAN FRANCISCO, CA 94160

DHL EXPRESS INC
DHL EXPRESS
PO BOX 277264
ATLANTA, GA 30384-7264

DHL EXPRESS USA INC
DHL EXPRESS
PO BOX 415099
BOSTON, MA 02241-5099
DHL EXPRESS USA INC
DHL EXPRESS
PO BOX 844894
DALLAS, TX 75284-4894
DHR CHILD SUPT UNIT SALEM
PO BOX 14506
SALEM, OR 97309

DIABLO FUNDING GROUP INC
DIABLO FUNDING GROUP, INC.
3189 DANVILLE BLVD #130
ALAMO, CA 94507

DIABLO FUNDING GROUP INC
DIABLO FUNDING GROUP, INC.
3697 MT DIABLO BLVD #175
LAFAYETTE, CA 94549
DIABLO FUNDING GROUP INC
DIABLO FUNDING GROUP, INC.
4185 BLACKHAWK PLAZA CIR #101
DANVILLE, CA 94506
DIABLO FUNDING GROUP INC
DIABLO FUNDING GROUP, INC.
TEAMWORK MORTGAGE
519 ENCINITAS BLVD. #100
ENCINITAS, CA 92024

DIABLO FUNDING GROUP, INC.
100 PARK PLACE STE. 200
SAN RAMON, CA 94583

DIABLO FUNDING GROUP, INC.
5990 STONERIDGE DR STE 112
                                     Page 265
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PLEASANTON, CA 94588
DIABLO FUNDING INC DBA
DIABLO FUNDING GROUP, INC.
PACIFIC CAPITAL MORTGAGE
ATTN EVA
11452 EL CAMINO REAL #100
SAN DIEGO, CA 92130

DIABLO REGIONAL ARTS ASSOC
1601 CIVIC DR
WALNUT CREEK, CA 94596
DIALOGIC COMMUNICATIONS CORP
730 COOL SPRINGS BLVD #300
FRANKLIN, TN 37067

DIALOGIC COMMUNICATIONS CORPORATION
[Address to Be Provided]

DIAMOND ESSENTIALS INC
DIAMOND CONSULTING GROUP
27450 YNEX RD #300
TEMECULA, CA 92591

DIAMOND PARKING INC
ATTN SCRIP & VALIDATION DEPT
4739 UNIVERSITY WAY NE #1646
SEATTLE, WA 98105

DIAMOND PARKING INC
1201 3RD AVE #2740
SEATTLE, WA 98101

DIANA DYKES TRUSTEE
THE DYKES FAMILY TRUST
UA 110405
1737 EARLMONT AVE
LA CANADA, CA 91011
DIANE J HOLMES
3769 NW 121ST AVE
SUNRISE, FL 33323

DIANE L KELLEHER
10710 MARINE VIEW DR SW
SEATTLE, WA 98146

DIANE M SMITH
2907 N 17TH ST
MACO, TX 76705
DIANE OPPERMANN
1122 FENTON PARK
FENTON, MO 63026
DIEBOLD INC
PO BOX 643543
PITTSBURGH, PA 15264-3543
DIEGO OQUENDO
13305 SW 59TH TER
MIAMI, FL 33183
                                      Page 266
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
DIFAZIO ELECTRIC INC
711 GRAND BLVD
PO BOX 768
DEER PARK, NY 11729-0768

DIGIACOMO GROUP INC
ATTN STEPHEN DIGIACOMO
1324 NW 84TH AVE
MIAMI, FL 33126
DIGITAL DRAW NETWORK
ATTN ACCOUNTS RECEIVABLE DEPT
PO BOX 708146
SANDY, UT 84070-8146

DIGITAL HARBOR NKA NORKOM TECHNOLOGIES
[Address to Be Provided]
DIGITAL INSIGHT CORPORATION
PO BOX 515306
LOS ANGELES, CA 90051-6606

DIGITAL LAKESIDE LLC
13757 COLLECTIONS CENTER DR
CHICAGO, IL 60693
DILKS & KNOPIK LLC
PO BOX 2728
ISSAQUAH, WA 98027

DIMENSIONAL COMMUNICATIONS INC
1220 ANDERSON RD
MOUNT VERNON, WA 98274

DIRECT A MARKETING SVC COMPANY
7550 CORPORATE WAY
EDEN PRAIRIE, MN 55344

DIRECT ACTION & RESEARCH
TRAINING CENTER INC
314 NE 26TH TERRACE
PO BOX 370791
MIAMI, FL 33137-0791
DIRECT CHECKS UNLIMITED LLC
ATTN FINANCE DEPT
8245 N UNION BLVD
COLORADO SPRINGS, CO 80920
DIRECT EMPLOYERS
9002 N PURDUE RD QUAD III #100
INDIANAPOLIS, IN 46268

DIRECT EXPRESS MARKETING INC
2225 1ST ST #106
SIMI VALLEY, CA 93065

DIRECT FINANCE CORPORATION
439 COLUMBIA RD
HANOVER, MA 02339
DIRECT FREIGHT EXPRESS LTD
                                      Page 267
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1420 WILLOW AVE
HOBOKEN, NJ 07030

DIRECT MARKETING ASSCIATION INC
P O BOX 26038
NEW YORK, NY 10087-9814
DIRECT MARKETING SOLUTIONS
8534 NE ALDERWOOD RD
PORTLAND, OR 97220-1347
DIRECTV
P.O. BOX 60036
LOS ANGELES, CA 90060-0036

DISABILITY MANAGEMENT EMPLOYER
COALITION
5173 WARING RD #134
SAN DIEGO, CA 92120-2705

DISASTER RECOVERY SERVICES
10336 SOUTHERN LOOP BLVD
PINEVILLE, NC 28134
DISCIPLANRY BOARD OF THE
SUPREME COURT OF PENNSYLVANIA
DBA LAWYER ASSESSMENT
PO BOX 46
CAMP HILL, PA 17001-0046

DISCOUNT MEDIA PRODUCTS
DBA THE TAPE COMPANY
PO BOX 95169
PALATINE, IL 60095-0169

DISCOUNT MORT WAREHOUSE INC
DBA GLOBELEND MORTGAGE
17046 COLLINS AVE
SUNNY ISLES BEACH, FL 33160
DISCOVERY ECONOMICS
333 S GRAND AVE #3700
LOS ANGELES, CA 90071

DISH NETWORK
DEPT 0063
PALATINE, IL 60055-0063

DISTINCTIVE HOMES OF
SOUTH FLORIDA
401 MARKET AVE N 3RD FL
CANTON, OH 44702
DISTRICT 7 DECA
6417 LANGE CIRCLE
DALLAS, TX 75214

DISTRICT ATTORNEY ORANGE CTY
FAMILY SUPPORT DIVISION
PO BOX 448
SANTA ANA, CA 92702
DIVERSIFIED BAY MORTGAGE INC
                                       Page 268
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2610 SAN RAMON VALLEY BLVD
SAN RAMON, CA 94583

DIVERSIFIED COLLECTION SVC INC
PO BOX 9063
PLEASANTON, CA 94566-9063
DIVERSIFIED INFORMATION
TECHNOLOGIES INC
123 WYOMING AVE
SCRANTON, PA 18503
DIVERSIFIED SCRTY SLTNS INC DBA
HENRY BROTHERS ELECTRONICS &
NATIONAL SAFE
PO BOX 53023
NEWARK, NJ 07101-5323
DIVERSIFIED VALUATION GROUP
60 E 42ND ST #1446
NEW YORK, NY 10165

DIVERSITY FOUNDATION INC
1133 BROADWAY #1125
NEW YORK CITY, NY 10010

DIVERSITY MSP INC
ENSEMBLE CHIMES
5800 WILSHIRE BLVD
LOS ANGELES, CA 90036

DIXIELINE BUILDERS FUND
CONTROL INC
7700 RONSON RD #101
SAN DIEGO, CA 92111-1514

DIXIELINE LUMBER COMPANY
PO BOX 85307
SAN DIEGO, CA 92186-5307
DIXON LAW CORPORATION
34145 PACIFIC COAST HWY #221
DANA POINT, CA 92629

DLA PIPER RUDNICK
GRAY CARY US LLP
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BALTIMORE, MD 21264-4029

DMD SYSTEMS RECOVERY INC
1315 E GIBSON LANE BLDG E
PHOENIX, AZ 85034
DMD SYSTEMS RECOVERY INC
1315 E GIBSON LANE BLDG E
PHOENIX, AZ 85034

DMX INC
PO BOX 660557
DALLAS, TX 75266-0557

DNA PUBLISHING LLC DBA
JANE AND JANE MAGAZINE
                                       Page 269
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 163708
SACRAMENTO, CA 95816

DNC SERVICES CORP
DEMOCRATIC NATIONAL COMMITTEE
ATTN: DEB BURGER
430 S CAPITOL ST SE
WASHINGTON, DC 20003

DNJ REALTY SERVICES INC
DNJ MORTGAGE
300 N SAN DIMAS AVE
SAN DIMAS, CA 91773
DOBSON EQUIPMENT RENTAL INC
4026 KIRKWOOD
ORANGE, CA 92869
DOCUMENT COPY SERVICE INC
701 MARKET ST #125
ST LOUIS, MO 63101

DOCUMENT FULFILLMENT SVCS INC
DOCUMENT FULFILLMENT GROUP
910 RIVERSIDE PKWY #40
WEST SACRAMENTO, CA 95605
DOCUMENT STORAGE CORPORATION
2020 E ELM CT
ONTARIO, CA 91761

DODGE COUNTY RECORDER
127 E OAK ST
JUNEAU, WI 53039

DODGER TICKETS LLC
ATTN AFTON KURTH
1000 ELYSIAN PARK AVE
LOS ANGELES, CA 90012
DOE FUND INC
232 EAST 84TH ST
NEW YORK, NY 10028

DOLLAR SAVER MONTHLY INC
PO BOX 247
OXFORD, GA 30054

DOMENICK CASTELLUCCI
SUPERIOR COURT OF NJ
804 BROADWAY
BAYONNE, NJ 07002
DOMINICAN SUNDAY INC
175 WEST 107TH ST
NEW YORK, NY 10025

DOMINICAN WOMENS
DEVELOPMENT CENTER
519 W 189 ST
GROUND FLOOR
NEW YORK, NY 10040

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DOMINION ENTERPRISES
DBA THE JACKSONVILLE EMPLOYMENT
GUIDE
PO BOX 7162
CHARLOTTE, NC 28241-7162

DOMINION REALTY ADVISORS INC
5360 ROBIN HOOD RD #101
NORFOLK, VA 23513

DOMTAR LLC
DBA ENTERPRISE GROUP
14544 COLLECTIONS CENTER DR
CHICAGO, IL 60693

DON BELL
4584 JONQUIL AVE
SAN JOSE, CA 95136
DON CONNELLY & ASSOCIATES
6900 SHETLAND WAY
SARASOTA, FL 34241

DON L RIGSBEE
2475 AQUASANTA
TUSTIN, CA 92782
DON L. RIGSBEE
[Address Information Redacted]

DON RHYNE PAINTING CO
19800 SE DAMASCUS LANE
BORING, OR 97089

DONALD ALLEN HOLLAND
7509 129TH ST COURT E
PUYALLUP, WA 98373

DONALD EDWARD ELLERTSON
3503 SE 144TH CT
VANCOUVER, WA 98683

DONALD G O KEEFE
DAVID STEWART
300 S COLLEGE ST
WINCHESTER, TN 37398

DONALD M HEMMER ESQ
HEMMBER PANGBURN DEFRANK PLLC
250 GRANDVIEW DR #200
FL MITCHELL, KY 41017
DONALD MARVIN
524 INDEPENDENCE RD
STROUDSBERG, PA 18031
DONALD MOLOSKY
[Address to Be Provided]
DONALD R WALTERS ESQ
JOHNSON ZIPPAY & WALTERS PA
1401 N UNIVERSITY DR #301
CORAL SPRINGS, FL 33071
                                      Page 271
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DONALD RAY HAMILL
DBA RAINBOWS FESTIVAL
PO BOX 25012
PHOENIX, AZ 85002

DONNA BINETTI
C/O SANFORD WITTELS &HEISLER
950 3RD AVE 10TH FL
NEW YORK, NY 10022
DONNA DERASMO
AND ROBERT BANFELDER
141 RIVERSIDE DR
RIVERHEAD, NY 11901

DONNA SALVIN
1 MORNING BEACH DR #13
BELLINGHAM, WA 98229

DONNELL ABERNETHY & KIESCHNICK
PO BOX 2624
CORPUS CHRISTI, TX 78403-2624
DONNELL SYSTEMS INC
PO BOX 2574
FORT WAYNE, IN 46801-2574

DONNELLEY RECEIVABLES INC
R R DONNELLEY RECEIVABLES INC
DBA RR DONNELLEY
ATTN AMY DECKER
999 3RD AVE #3201
SEATTLE, WA 98104

DONNELLY MECHANICAL CORP
96-59 222ND ST
QUEENS VILLAGE, NY 11429-1313

DONNER & DONNER ATTORNEY CLIENT
TRUST ACCOUNT
910 HAMPSHIRE RD #R
WESTLAKE VILLAGE, CA 91361

DORADO CORPORATION
ATTN ACCOUNTING
PO BOX 49141
SAN JOSE, CA 95161-9141

DORADO NETWORK SYSTEMS CORPORATION
[Address to Be Provided]
DORCHESTER BAY ECONOMIC
DEVELOPMENT CORP
594 COLUMBIA RD #302
DORCHESTER, MA 02125

DORE CURRY MARSHALL & WEBB INC
DBA INTEGRA REALTY RESOURCES
29811 SANTA MARGARITA PKY #300
RANCHO SANTA MARGARITA, CA 92688
DOREEN A. LOGAN
                                        Page 272
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
[Address Information Redacted]
DORIE BUCK
159 E 216TH ST
CARSON, CA 90745

DORIS HIRSCH
7953 LA ROSE COURT
LAKE WORTH, FL 33467

DOROTHY AMYX
227 E ANAPAMU ST #101
SANTA BARBARA, CA 93101
DOROTHY PORTER
C/O THE GIBSON LAW FIRM PLLC
447 NORTHPARK DR
RIDGELAND, MS 39157
DORSEY & WHITNEY LLP
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MINNEAPOLIS, MN 55480-1680

DOTTIE J. JENSEN
[Address Information Redacted]

DOUBLEDAY ENTERTAINMENT LLC
501 FRANKLIN AVENUE
GARDEN CITY, NY 11530

DOUGLAS COFFIN
128 ALDEN AVE
NEW HAVEN, CT 06515

DOUGLAS COUNTY
REGISTER OF DEEDS
1819 FARNAM ST #9
HENRY ST LEVEL
OMAHA, NE 68183
DOUGLAS COUNTY
TAX COMMISSIONER
8700 HOSPITAL DR
PO BOX 1177
DOUGLAVILLE, GA 30133
DOUGLAS COUNTY FAIRGROUNDS
2110 SW FREAR ST
ROSEBURG, OR 97471
DOUGLAS G. WISDORF
[Address Information Redacted]
DOUGLAS L BROOKS PC
PO BOX 8477
ATLANTA, GA 31106

DOUGLAS M FELLOWS
6110 SW LESSER WAY
PORTLAND, OR 97219

DOUGLAS PARKING LLC
1721 WEBSTER ST
                                      Page 273
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OAKLAND, CA 94612
DOUGLAS PAUL BEIGHLE
4548 W SHERIDAN ST
SEATTLE, WA 98199

DOUGLAS PAUL BEIGHLE
4548 W SHERIDAN ST
SEATLE, WA 98199

DOUGLAS RITCHIE AND
MARLEEN RITCHIE
1000 IRONWOOD DR
LAS VEGAS, NV 89108

DOUGLAS SARGENT
1129 LASSEN PEAK PL
CHULA VISTA, CA 91913
DOUGLAS W NEWAY
CHAPTER 13 TRUSTEE
PO BOX 2079
MEMPHIS, TN 38101-2079
DOVER DIXON HORNE PLLC
425 W CAPITOL AVE 37TH FL
LITTLE ROCK, AR 72201

DOW JONES & CO
DBA THE WALL STREET JOURNAL
SUBSCRIPTION ACCOUNTING
200 BURNETT RD
CHICOPEE, MA 01020

DOW JONES & CO
WALL ST JRNL OR BARRONS
PO BOX 4137
NEW YORK, NY 10261

DOW JONES & CO INC
DOW JONES & CO
CUSTOMER RELATIONS DEPARTMENT
200 BURNETT RD
CHICOPEE, MA 01021
DOW JONES MARKETWATCH
PO BOX 6368
NEW YORK, NY 10261-6368

DOW JONES NEWS SERVICE
DOW JONES & CO
OCR ACCOUNTING
PO BOX 30
CHICOPEE, MA 01021-0030
DOWD & DOWD PC
ATTORNEYS AT LAW
100 N BROADWAY #1600
ST LOUIS, MO 63102-2707
DOWLING AARON & KEELER
8080 N PALM AVE THIRD FL
FRESNO, CA 93711
                                     Page 274
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DOWLING COLLEGE
150 IDLE HOUR BLVD
OAKDALE, NY 11769
DOWNEY CHAMBER OF COMMERCE
11131 BROOKSHIRE AVE
DOWNEY, CA 90241

DOWNS RACHLIN & MARTIN PLLC
90 PROSPECT ST
PO BOX 99
ST JOHNSBURY, VT 05819-0099
DOWNTOWN CENTER BUSINESS
IMPROVEMENT DISTRICT
626 WILSHIRE BLVD #200
LOS ANGELES, CA 90017
DOWNTOWN CHICO BUSINESS ASSOC
330 SALEM ST
CHICO, CA 95928

DOWNTOWN FT WORTH INITIATIVES
777 TAYLOR ST #100
FT WORTH, TX 76102-4908
DOWNTOWN SEATTLE ASSOCIATION
LOGAN BLDG
500 UNION ST #300
SEATTLE, WA 98101
DOWNTOWN STOCKTON ALLIANCE
343 E MAIN ST 1ST FL
STOCKTON, CA 95202

DOYLE LEGAL CORPORATION PC
135 N PENNSYLVANIA ST #2000
INDIANAPOLIS, IN 46204-2456
DOYLE RESTREPO HARVIN &
ROBBINS LLP
600 TRAVIS ST #4700
HOUSTON, TX 77002
DPC GENERAL CONTRACTORS INC
1860 NW 21 TERRACE
MIAMI, FL 33142

DPN INC
2021 70TH AVE W
TACOMA, WA 98466
DR FUNDING OF ILLINOIS INC
401 MILWAUKEE AVE # 160
WHEELING, IL 60090

DR JULIE P MILLER
BUSINESS WRITING THAT COUNTS
15401 NE 177TH DR
WOODINVILLE, WA 98072
DR LYNDA FALKENSTEIN
                                     Page 275
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839 SW REGENCY PL
PORTLAND, OR 97225

DR MAGDY WAHBA
AND KLEIN & RADOL LLC
15 ENGLE ST #102
ENGLEWOOD, NJ 07631
DR RAMIN FARZAM
2210 SANTA MONICA BLVD #B
SANTA MONICA, CA 90404
DRA CRT BAYMEADOWS CENTER LLC
COLONIAL PROPERTIES TRUST
8375 DIX ELLIS TRAIL #210
JACKSONVILLE, FL 32256

DRAMATIC IMPACT LLC
DBA DENNIS MCINTEER LLC
PO BOX 961
SEAHURST, WA 98062

DRAMATIC RESULTS
3308 LIME AVE
SIGNAL HILL, CA 90755

DRAPER AND KRAMER MORTGAGE CORP
100 W 22ND ST #101
LOMBARD, IL 60148

DRATFIELD ANALYTICS INC
345 HUDSON ST
NEW YORK, NY 10014

DREAMCASA INC
2400 DEL PASO RD
SACRAMENTO, CA 95834

DRESS FOR SUCCESS
GREATER ORLANDO
901 W WEBSTER AVE #35
WINTER PARK, FL 32789
DRISKELL & GORDON
180 N GLENDORA AVE #201
GLENDORA, CA 91741-3341

DRIVERS LICENSE GUIDE COMPANY
D R MYERS DISTRIBUTING CO INC
ID CHECKING GUIDE
1492 ODDSTAD DR
REDWOOD CITY, CA 94063
DRIVERSHIELD ADS CORPORATION
3200 W WILSHIRE BLVD
OKLAHOMA CITY, OK 73116

DS FREEMAN CO LLC
DBA WIRELESS MOBILEDATA
PO BOX 1088
EL GRANADA, CA 94018
DT HELMET CLUB
                                       Page 276
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PO BOX 615
DELANO, CA 93216-0615

DTC GRIP & ELECTRIC INC
935 SE ANKENY
PORTLAND, OR 97214
DTMARSHALL COMPANY
8675 154TH AVE NE
REDMOND, WA 98052
DUANE MORRIS LLP
ATTN PAYMENT PROCESSING
30 S 17TH ST
PHILADELPHIA, PA 19103-4196

DUBLIN CHAMBER OF COMMERCE
7080 DONLON WAY #110
DUBLIN, CA 94568

DUBLIN PARTNERS IN
EDUCATION
PO BOX 2037
DUBLIN, CA 94568

DUBLIN TROPHY HOUSE
7030 VILLAGE PKWY
DUBLIN, CA 94568

DUBS INC
1601 2ND AVE #400
SEATTLE, WA 98101

DUDLEY AND SMITH PA
101 E 5TH ST #2602
ST PAUL, MN 55101
DUDLEY CLARK & CHAN
9720 ESTATE THOMAS
ST THOMAS, 00802 VI

DUFF & PHELPS LLC
2397 PAYSPHERE CIRCLE
CHICAGO, IL 60674
DUFF & PHELPS LLC
2397 PAYSPHERE CIRCLE
CHICAGO, IL 60674

DUKE T NODURA DBA
CITY OF COMMERCE FLOWERS
2340 S ATLANTIC BLVD
COMMERCE, CA 90040

DULAKIS PAINTING INC
226 CRESS RUN W#1008
OVIEDO, FL 32765

DUMONT PRINTING
PO BOX 12726
FRESNO, CA 93779
DUN & BRADSTREET
                                     Page 277
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DUNN & BRADSTREET
P.O. BOX 75434
CHICAGO, IL 60675-5434
DUNBAR ARMORED INC
PO BOX 64115
BALTIMORE, MD 21264-4115
DUNCAN & BROWN INC
260 W 12TH AVE
EUGENE, OR 97401
DUNN & BRADSTREET
PO BOX 75542
CHICAGO, IL 60675-5542

DUNNWRIGHT SERVICES INC
2520 CORAL WAY #109
MIAMI, FL 33145-3438

DUPAGE COUNTY RECORDER
421 N COUNTY FARM RD
WHEATON, IL 60189
DUPAGE HOMEOWNERSHIP CENTER
1333 N MAIN ST
WHEATON, IL 60187

DUPRE & SCOTT APARTMENT
ADVISORS INC
4300 SW HOLLY ST
SEATTLE, WA 98136-1711

DURAND & ASSOCIATES
PROPERTY MANAGEMENT INC
222 GRAND AVE W
SOUTH ST PAUL, MN 55075

DURHAM JONES & PINEGAR
PO BOX 4050
SALT LAKE CITY, UT 84110

DUTCHESS COUNTY CLERK
22 MARKET STREET
RECORDS ROOM 2ND FL
POUGHKEEPSIE, NY 12601

DUTTON APPRAISAL OFFICE
115 FOSS CREEK CIRCLE
HEALDSBURGE, CA 95448
DUVAL COUNTY TAX COLLECTOR
MIKE HOGAN
231 E FORSYTHE ST
JACKSONVILLE, FL 32202-3345
DW PUBLISHING
DBA HOMES & LAND MAGAZINE
2193 PORTOLA RD
VENTURA, CA 93003

DWC MAILING SYSTEMS
1201 S BOYLE AVE
                                     Page 278
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LOS ANGELES, CA 90023
DYKEMA GOSSETT PLLC
6904 PAYSPHERE CIRCLE
CHICAGO, IL 60674

DYMENT & FISHER AND
BRENDA BELL
10900 NW FRWY #230
HOUSTON, TX 77092
DYNAMEX INC
PO BOX 803496
DALLAS, TX 75380

DYNAMIC CARD SOLUTIONS LLC
1 INVERNESS DR E
ENGLEWOOD, CO 80112
DYNAMIC SYSTEMS INC
15331 NE 90TH ST
REDMOND, WA 98052

DYNAMIC URBAN OPPORTUNITIES
PO BOX 28656
SEATTLE, WA 98118
E COMMERCE GROUP PRODUCTS INC
PO BOX 2124
ENGLEWOOD, CO 80150-2124

E F COUVRETTE CO INC
565 ELECTRIC RD
SALEM, VA 24153

E L FISHER CONSTRUCTION INC
22755 LA PALMA AVE
YORBA LINDA, CA 92887-4772

E TAJIMA CREATIVE INC
AUDREY STEWART MERRITT
1700 EL CAMINO REAL
MENLO PARK, CA 94027

E TAJIMA CREATIVE INC
1700 EL CAMINO REAL
MENLO PARK, CA 94025

E&D WEB INC
4633 W 16TH ST
CICERO, IL 60804
E2C INC
ENVIRONMENTAL ENGINEERING
CONSULTANT
382 MARTIN AVE
SANTA CLARA, CA 95050-3112

E3 EMPLOYERS FOR EDUCATION
EXCELLENCE
1100 SW 6TH AVE
STANDARD PLAZA #1625
PORTLAND, OR 97204-1090
                                     Page 279
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EAGLE CAPITAL CORP
4377 1ST ST #B
PLEASANTON, CA 94566
EAGLE ENERGY PARTNERS I, LP
[Address to Be Provided]
EAGLE INTERIORS INC
EAGLE TECH SERVICES
85 TOLEDO ST
FARMINGDALE, NY 11735
EAGLE LOAN SERVICES INC
32532 TRENMAR DR
ACTON, CA 93510

EAGLES ECONOMIC COMMUNITY
DEVELOPMENT CORP
11934 SENOIA RD #A6
TYRONE, GA 30290

EAGLES FLIGHT
CREATIVE TRAINING EXCELLENCE
116 FOUNTAIN ST EAST
GUELPH, ON N1H 3N6 CANADA
EAGLES FLIGHT OF AMERICA INC
KICK & HALLER INC
36138 TREASURY CENTER
CHICAGO, IL 60694-6100
EAI FINANCIAL GROUP INC
50 RESNIK STE 103
PLYMOUTH, MA 02360

EAM LAND SERVICES INC
6901 JERICHO TURNPIKE
SYOSSET, NY 11791
EAPPRAISEIT LLC
ATTN ANTHONY PALMERI
12395 FIRST AMERICAN WAY
POWAY, CA 92064
EARLY AUTUMN PICTURES CORP
PO BOX 336260
NORTH LAS VEGAS, NV 89033

EARLY WARNING SERVICES LLC
8777 E HARTFORD DR #200
SCOTTSDALE, AZ 85255
EARNED ASSETS RESOURCE NETWORK
235 MONTGOMERY ST
SAN FRANCISCO, CA 94104

EARNEST IMAGES LLC
835 SE STEPHENS ST #100
PORTLAND, OR 97214

EARNESTINE SHUEMAKE
3174 BEACH DR
                                      Page 280
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EAST POINT, GA 30344
EARNING BY LEARING OF DALLAS
2904 FLOYD ST A1
DALLAS, TX 75204-1644

EARTH DECO
DBA FLOWERS BY BERNARD
1439 HYLAN BLVD
STATEN ISLAND, NY 10305
EARTH TECH INC
C/O MELLON BANK
DEPT AT 40164
ATLANTA, GA 31192-0164

EASLEY & ASSOCIATES
100 CHAPARRAL COURT #226
ANAHEIM HILLS, CA 92808

EAST BAY ASIAN LOCAL
DEVELOPMENT CORPORATION
310 8TH ST #200
OAKLAND, CA 94607

EAST BAY FOODS INC
DBA ROUND TABLE PIZZA
398 GRAND AVE
OAKLAND, CA 94610

EAST BAY HOUSING ORGANIZATIONS
538 9TH ST #200
OAKLAND, CA 94607

EAST BAY WELDING SUPPLY INC
PO BOX 27185
CONCORD, CA 94527

EAST CENTRAL BOARD OF REALTORS
PO BOX 175
HEBRON, CT 06248

EAST COAST DISTRICT
DENTAL SOCIETY INC
S FOLRIDA DISTRICT DENTAL ASSO
420 S DIXIE HWY #2E
CORAL GABLES, FL 33146

EAST COUNTY ECONOMIC
DEVELOPMENT COUNCIL FOUNDATION
1870 CORDELL COURT #202
EI CAJON, CA 92020
EAST DALLAS COMMUNITY
ORGANIZATION
PO BOX 720307
DALLAS, TX 75372

EAST LA CLASSIC THEATRE
2168 S ATLANTIC BLVD
PMB 378
MONTEREY PARK, CA 91754

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EAST LA COMMUNITY CORPORATION
530 S BOYLE AVE
LOS ANGELES, CA 90033
EAST OAKLAND COMMUNITY PROJECT
5725 INTERNATIONAL BLVD
OAKLAND, CA 94621
EAST OREGON PUBLISHING CO
E OREGON RE & HOMEBUILDERS GDE
PO BOX 1089
PENDLETON, OR 97801
EAST ORLANDO CHAMBER OF COMMER
10111 E COLONIAL DR
ORLANDO, FL 32817-4370

EAST WEST CENTER LLC
C/O BCPM INC
PO BOX 980370
PARK CITY, UT 84098

EAST WEST MORTGAGE CO
THE MONEY TREE FINANCIAL CORP
ATTN JC JIMENEZ
1568 SPRING HILL RD #100
MCLEAN, PA 22102

EAST WEST MORTGAGE COMPANY INC
EAST WEST MORTGAGE CO
1604 SPRING HILL ROAD
VIENNA, VA 22182

EASTCOAST PUBLICATIONS INC DBA
NEW YORK REAL ESTATE JOURNAL
PO BOX 55
ACCORD, MA 02018

EASTERN FINANCIAL HOME LNS CORP
EASTERN FINANCIAL HOME LOANS
PACIFIC DIRECT LENDING
10305 41ST ST #215
MIAMI, FL 33178

EASTERN FINANCIAL HOME LNS CORP
EASTERN FINANCIAL HOME LOANS
PACIFIC DIRECT LENDING
2500 NW 79 AVE #264
MIAMI, FL 33172
EASTLAKE EDUCATIONAL FOUNDATION
PO BOX 210004
CHULA VISTA, CA 91921

EASTMAN KODAK COMPANY
1778 SOLUTIONS CTR
CHICAGO, IL 60677-1007

EASTMAN KODAK COMPANY
343 STATE ST BLDG 20
ROCHESTER, NY 14650-1177
EASTSIDE GLASS
                                       Page 282
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 2429
KIRKLAND, WA 98083

EASTSIDE REAL TOURS
PO BOX 175
GRESHAM, OR 97030
EASYCHAIR MEDIA LLC
DBA EASYCHAIR MAGAZINE 101
800 3RD ST
WINDSOR, CO 80550
EASYSOFT INC
THORP ARCH GRANGE
THORPE ARCH
WETHERBY, SL23 7BA UK

EBERLE BERLIN KADING TURNBOW
MCKLVEEN & JONES
1111 W JEFFERSON ST #530
PO BOX 1368
BOISE, ID 83701

ECHO COMMUNICATIONS
924 CHAPALA ST #D
SANTA BARBARA, CA 93101
ECHOSTAR SATELLITE CORP
DISH NETWORK
DBA DISH NETWORK
DEPT 9235
PALATINE, IL 60055-9235

ECMC
LOCK BOX 7096
PO BOX 75848
ST PAUL, MN 55175

ECO SECURITIES CONSULTING LTD
529 SE GRAND AVE #300
PORTLAND, OR 97214

ECO SECURITIES CONSULTING LTD
529 SE GRAND AVE #300
PORTLAND, OR 97214
ECOMPANYSTORE
PO BOX 1070
CHARLOTTE, NC 28201-1070
ECONOMIC ALLIANCE HOUSTON PORT
REGION
908 W MAIN ST
LA PORTE, TX 77571
ECONOMIC ALLIANCE OF
THE SAN FERNANDO VALLEY
5121 VAN NUYS BLVD #200
SHERMAN OAKS, CA 91403
ECONOMIC COUNCIL OF
PALM BEACH COUNTY
1555 PALM BEACH LAKES BLVD #400
                                       Page 283
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W PALM BEACH, FL 33401
ECONOMIC EMPOWERMENT
INITIATIVE INC
250 GEORGIA AVE #203
ATLANTA, GA 30312
ECONOMIC LITERACY COALITION
1061 ATLANTIC AVE
BROOKLYN, NY 11238
ECONOMIC OPPORTUNITY COMMISSION
OF NASSAU CNTY DR MKL SCHLRSP
134 JACKSON ST
HEMPSTEAD, NY 11550

ECONOMIC RESEARCH INSTITUTE
8575 164TH AVE NE #100
REDMOND, WA 98052

ED BECK & ASSOCIATES, INC.
[Address to Be Provided]

ED GREEN CONSTRUCTION CO
JEFFREY JAMES COLERICK PC
6 S TEJON #500
COLORADO SPRINGS, CO 80903

EDDIE DEEN & COMPANY INC
PO BOX 1022
TERRELL, TX 75160
EDELMAN COMBS
LATTURNER & GOODWIN
120 S LASALLE ST 18TH FL
CHICAGO, IL 60603
EDEN HOUSING INC
409 JACKSON ST
HAYWARD, CA 94544

EDFUND
AWG UNIT
PO BOX 419040
RANCHO CORDOVA, CA 95741-9040
EDGAR C SMITH ESQ
850 E BONNEVILLE AVE
LAS VEGAS, NV 89101
EDGAR DUNN & COMPANY
HILLS PLAZA
TWO HARRISON ST #310
SAN FRANCISCO, CA 94105
EDGAR ONLINE INC
88747 EXPEDITE WAY
CHICAGO, IL 60695-1700
EDGEBROOK SAUGANASH
ATHLETIC ASSOC
5431 N KILDARE
CHICAGO, IL 60630
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EDGEWATER PARK OWNERS
COOPERATIVE INC
1 CENTRE EDGEWATER PARK DR
BRONX, NY 10465

EDGEWOOD INDEPENDENT
SCHOOL DISTRICT
5358 W COMMERCE
SAN ANTONIO, TX 78237
EDISON MORTGAGE DECISIONING
SOLUTIONS LLC
ATTN ACCOUNTING DEPT
200 METROPLEX DR #102
EDISON, NJ 08817

EDMONDS SCHOOL DISTRICT
20420 68TH AVE W
LYNNWOOD, WA 98036
EDMUND J FLYNN COMPANY
5100 WISCONSIN AVE NW #514
WASHINGTON, DC 20016

EDS DELI INC
12817 PRESTON RD #129
DALLAS, TX 75230

EDUARDO GUAJARDO
AND OCTAVIO GUAJARDO
LAW OFFICE OF ARNOLD LEVEY
11103 SAN PEDRO AVE #103
SAN ANTONIO, TX 78216

EDUCATESUCCESS
11002 SE 176TH ST UNIT E204
RENTON, WA 98055

EDUCATION ASSISTANCE CORP
115 1ST AVE SW
ABERDEEN, SD 57401
EDUCATION FOUNDATION
OF HARRIS COUNTY
6300 IRVINGTON BLVD
HOUSTON, TX 77022-5618

EDUCATION FOUNDATION OF
PALM BEACH COUNTY
3300 FOREST HILL BLVD #E50-116
WEST PALM BEACH, FL 33406
EDUCATION IS COOL GET ONE INC
1314 N PINE HILLS
ORLANDO, FL 32808

EDUCATION TRUST INC
1250 H ST NW #700
WASHINGTON, DC 20005

EDUCATIONAL FOUNDATION OF
ORINDA
                                      Page 285
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21 C ORINDA WAY #123
ORINDA, CA 94563

EDWARD BOST
955 MONTEREY ST RM 412
SAN LUIS OBISPO, CA 93401
EDWARD DE VOS
458 NEPTUNE AVE APT #10G
BROOKLYN, NY 11224
EDWARD E BERRETH
909 12TH AVE
DELANO, CA 93215

EDWARD F. BUKATY III
LAW OFFICE OF EDWARD BUKATY III
ONE GALLERIA BLVD #1810
METAIRIE, LA 70001

EDWARD G IRVIN FOUNDATION
MELVIN C HOPSON
1515 S PRAIRIE AVE #513
CHICAGO, IL 60605

EDWARD J WYNNE LLP
50 BON AIR CTR
GREENBRAE, CA 94904

EDWARD MACKEY
DBA EYEDENTITY GRAGHICS
880 CALLE PL #B
CAMARILLO, CA 93012

EDWARD N BRADY
1834 S 229TH ST
DES MOINES, WA 98198

EDWARDS ANGELL PALMER & DODGE
PO BOX 40956
HARTFORD, CT 06150-0956

EDWARDS RECRUITMENT INC
5177 WILLOWBROOK DR
CLARENCE, NY 14031
EDWIN B PARRY PC
PO BOX 816
BOUNTIFUL, UT 84011
EDWIN J PETERSON
245 WINTER ST SE
SALEM, OR 97301

EF LOAN
ATTN HONG J LEE
520 N BROOKHURST STREET #230
ANAHEIM, CA 92801
EFUNDS CORP AND WILDCARD SYSTEMS, INC, DBA EFUNDS PREPAID SOLUTIONS
[Address to Be Provided]
EGAN JONES RATINGS COMPANY
                                       Page 286
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61 STATION RD
HAVERFORD, PA 19041

EGL EAGLE GLOBAL BROKERAGE
COMPLIANCESOURCE
ATTN ZAINAB NASSER
55 JOHNSON RD
LAWRENCE, NY 11559

EGL EAGLE GLOBAL LOGISTICS
EGL EAGLE GLOBAL BROKERAGE
PO BOX 844650
DALLAS, TX 75284-4650
EGNEWS INC
5310 SHERBROOK WAY
ANTELOPE, CA 95843
EIGHTY EIGHT MORTGAGE
1601 BAYSHORE HWY #340
BURLINGAME, CA 94010

EILRAI INC
DBA EDDIES PIZZA CAFE
PO BOX 6098
STOCKTON, CA 95206
EJCM LLC
111 KALAMATH
DENVER, CO 80223-1436

EKESHIA PITTMAN
DBA SWEET EXPRESSIONS DESSERTS
3008 PORTRAIT WAY
SACRAMENTO, CA 95826

EL CAJON COMMUNITY
DEVELOPMENT CORPORATION
168 E MAIN ST
SAN DIEGO, CA 92020

EL CAMINO COLLEGE FOUNDATION
FOR HIGHER EDUCATION
ARTS AND ATHLETICS
16007 CRENSHAW BLVD
TORRANCE, CA 90506

EL CENTRO CHAMBER OF COMMERCE
1095 S 4TH ST
PO BOX 3006
EL CENTRO, CA 92244-3006
EL CENTRO DE ACCION SOCIAL
37 EAST DEL MAR BLVD
PASADENA, CA 91105
EL CLASIFICADO
1125 GOODRICH BLVD
LOS ANGELES, CA 90022
EL CLUB DEL BARRIO INC
25 PENNSYLVANIA AVE
NEWARK, NJ 07114
                                      Page 287
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EL DORADO COUNTY
ASSOCIATION OF REALTORS INC
4096 MOTHER LODE DR
PO BOX 627
SHINGLE SPRINGS, CA 95682
EL DORADO COUNTY
SHERIFFS OFFICE
CENTRAL DISPATCH ALARMS
300 FAIR LN
PLACERVILLE, CA 95667
EL DORADO HOLDING COMPANY
6806 FALLSBROOK COURT #1
GRANITE BAY, CA 95746

EL JEBEL SHRINE CIRCUS
4625 W 50TH AVE
DENVER, CO 80212-2997
EL MONTE SOUTH EL MONTE
CHAMBER OF COMMERCE
PO BOX 5866
EL MONTE, CA 91734-1866

EL NUEVO DIAORLANDO INC
4780 N ORANGE BLOSSOM TRAIL
ORLANDO, FL 32810

EL PASO COUNTY RECORDER
EL PASO COUNTY TREASURER
200 S CASCADE AVE
COLORADO SPRINGS, CO 80903

EL TORITO
EL TORITO RESTAURANT
3680 INLAND EMPIRE BLVD
ONTARIO, CA 91764
ELAINE GUREVITZ
627 CAMEO DR
PALM SPRINGS, CA 92264

ELAINE L KILLIAN TRUSTEE
ELAINE L KILLIAN LIVING TRUST
1711 SERENO DR
VALLEJO, CA 94589

ELAN
1144F WALKER RD
GREAT FALLS, VA 22066
ELBERT COUNTY RECORDER
215 COMANCHE ST
KIOWA, CO 80117

ELDER AND ADULT DAY SERVICES
12831 NE 21ST PLACE
BELLEVUE, WA 98005

ELDERHEALTH NORTHWEST
800 JEFFERSON ST
                                     Page 288
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SEATTLE, WA 98104
ELEAZAR G SANCHEZ
1112 S INGLEWOOD #4
INGLEWOOD, CA 90301

ELECTRIC PICTURE CO INC
DBA TAPEONLINE.COM
PO BOX 291342
NASHVILLE, TN 37229
ELECTRICAL CONSTRUCTION CO
OF OREGON
PO BOX 10286
PORTLAND, OR 97296

ELECTRONIC FINANCIAL
SERVICES COUNCIL
DBA SPERS
1250 24TH ST NW
WASHINGTON, DC 20037

ELGIN CONTINENTAL LITTLE LEAGUE
DBA ECLL
PO BOX 422
ELGIN, IL 60121
ELIJAHS PROMISE
211 LIVINGSTON AVE
NEW BRUNSWICK, NJ 08901

ELIMIDEBT MANAGEMENT
SYSTEMS INC
PO BOX 1217
SYOSSET, NY 11791

ELIRAN SHIMON
DBA RONNIES LUXURY TRNSPRTN SVC
920 166 ST #7A
WHITESTONE, NY 11357

ELIST DBA BLUE BOOK
PO BOX 3
MANCHESTER, NH 03105-0003
ELITE FIRE PROTECTION INC
252 EASTERN PKWY
FARMINGDALE, NY 11735

ELITE LIMOUSINE PLUS INC
PO BOX 1588
LONG ISLAND CITY, NY 11101
ELITE MORTGAGE COMPANY INC
10502 PARKER RD
PARKER, CO 80134

ELITIGATION SOLUTIONS INC
40087 MISSION BLVD #354
FREMONT, CA 94539

ELITIGATION SOLUTIONS INC
40087 MISSION BLVD #354
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FREMONT, CA 94539
ELIXIR TECHNOLOGIES CORPORATION
DEPT 8059
LOS ANGELES, CA 90084-8059

ELIZABETH A. PROCTOR
[Address Information Redacted]

ELIZABETH ARAMBULA
2737 N ST LOUIS
CHICAGO, IL 60647
ELIZABETH LOFTUS
UNIVERSITY OF CALIFORNIA IRVINE
SOCIAL ECOLOGY II #2393
IRVINE, CA 92697-7085
ELIZABETH MCGLINCEY
DBA NOR EAST GRAPHIC SERVICES
469 TWOMBLEY RD
SANFORD, ME 04073

ELIZABETH MOLOSKY
[Address to Be Provided]

ELIZABETH PEPPER
[Address Information Redacted]

ELIZONDO & HAYES PC
2524 MONTANA
EL PASO, TX 79903

ELK GROVE FOOD BANK
8820 ELK GROVE BLVD
ELK GROVE, CA 95624
ELLEN C MEPHAM
5 SADDLEBOW LN
ROLLING HILLS ESTATES, CA 90274

ELLEN CROSBY TRUSTEE 02-51529
PO BOX 20016
BALTIMORE, MD 21284
ELLEN ISSENBERG
21155 W GREEN ST
BUCKEYE, AZ 85396-7603

ELLEN W COSBY TRUSTEE
PO BOX 1838
MEMPHIS, TN 38101
ELLENSBURG TELEPHONE COMPANY
C/O FAIRPOINT COMMUNICATIONS
PO BOX 70994
CHARLOTTE, NC 28272

ELLIE MAE INC
PO BOX 49035
SAN JOSE, CA 95161-9035
ELLIOTT CATHEY
                                       Page 290
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ROTHSCHILD & ASSOCIATES PLLC
1222 16TH AVE S #12
NASHVILLE, TN 37212-2926
ELLIS COLEMAN POIRIER LA VOIE &
STEINHEIMER
555 UNIVERSITY AVE #200
SACRAMENTO, CA 95825

ELLIS GROUP INC
DBA INTEGRA REALTY RESOURCES
LOS ANGELES
20720 VENTURA BLVD #240
WOODLAND HILLS, CA 91364-6264

ELLIS LAWHORNE & SIMS INC
PO BOX 2285
COLUMBIA, SC 29202
ELLSWORTH BUILDERS INC
8425 219TH ST SE #100
WOODINVILLE, WA 98072

ELMER AND CLAIRE MILLER
35559 6TH AVE
GOBLES, MI 49055
ELMHURST CHAMBER OF COMMERCE
113 ADELL PL
PO BOX 752
ELMHURST, IL 60126
ELOISE A GUZMAN
8866 GULF FREEWAY #130
HOUSTON, TX 77017

ELOYALTY CORPORATION
6466 PAYSPHERE CIRCLE
CHICAGO, IL 60674
ELSTON ENTERPRISES INC
DBA PACIFIC R E APPRAISAL
10 HUGHES #A203
IRVINE, CA 92618-1901
ELYNX LTD
PO BOX 643292
CINCINNATI, OH 45264-3292

EMBARCADERO TECHNOLOGIES INC
PO BOX 45162
SAN FRANCISCO, CA 94145-0162
EMBARQ MISSOURI INC
PO BOX 219100
KANSAS CITY, MO 64121-9100

EMBRACE FOUNDATION INC
18520 NW 67TH AVE #340
MIAMI LAKES, FL 33015

EMBS INC
16057 TAMPA PALMS BLVD W #222
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TAMPA, FL 33647-2001
EMC CORPORATION
176 SOUTH ST
MAIL CODE B1 B45
HOPKINTON, MA 01748
EMC CORPORATION
ATTN KRISTI SALISBURY
35 PARKWOOD DR
HOPKINTON, MA 01748
EMC CORPORATION
4246 COLLECTIONS CENTER DR
CHICAGO, IL 60693

EMCOR SERVICE
MESA ENERGY SYSTEMS INC
5 VANDERBILT
IRVINE, CA 92618
EMERALD TITLE SERVICES INC
8755 NW 57TH ST
TAMARAC, FL 33351

EMERGING INFORMATION
SYSTEMS INC
500 330 ST MARY AVE
WINNIPEG, MB R3C 3Z5 CANADA

EMERGING MARKETS INC
1024 N ORANGE DR #120
LOS ANGELES, CA 90038

EMERLD PUBLICATIONS INC DBA
THE REAL ESTATE BOOK
OF CENTRAL OREGON
384 SW UPPER TERRACE #103
BEND, OR 97702
EMERY FINANCIAL INC
2010 CROW CANYON PL #190
SAN RAMON, CA 94583

EMG ENTERPRISE
5017 CHESLEY AVE
LOS ANGELES, CA 90043

EMG MEDIA GROUP INC
28 E 28TH ST #9N
NEW YORK, NY 10016-7922
EMIKO IDE
3817 S RIDGELY DR
LOS ANGELES, CA 90008
EMILILIA BIZARRON
1005 W PAPEETE ST
WILMINGTON, CA 90744
EMMANUEL ASMAH
MANCHEE & MANCHEE
12221 MERIT DR #950
                                     Page 292
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DALLAS, TX 75251
EMMET MARVIN & MARTIN LLP
120 BROADWAY
NEW YORK, NY 10271

EMMIS RADIO BROADCASTING CO LP
8309 N IH 35
AUSTIN, TX 78753

EMPEREX
5945 AIRPORT RD #152
MISSISSAUGA, ON L4V 1R9 CANADA
EMPIRE EQUITY GROUP INC
EMPIRE EQUITY GROUP INC DBA
DBA 1ST METROPOLITAN MORTGAGE
ATTN WILLIAM HOGARTY PER/CONFDL
7139 KOLL CENTER PKWY #100
PLEASANTON, CA 94566
EMPIRE MORTGAGE SVCS INC
285 DAVIDSON AVE #503
SOMERSET, NJ 08873

EMPLOYEE RELOCATION COUNCIL
DBA WORLDWIDE ERC & MOBILITY MA
7701 WILSON BLVD #510
ARLINGTON, VA 22203

EMPLOYMENT SECURITY DEPT
BENEFIT PAYMENT CONTROL
PO BOX 24928
SEATTLE, WA 98124-0928

EMPOWERMENT MINISTRIES CHURCH
PO BOX 555914
ORLANDO, FL 32855

EMPSIGHT INTERNATIONAL LLC
ATTN JEREMY FEINSTEIN
MURRAY HILL STATION
PO BOX 885
NEW YORK, NY 10156
EN POINTE TECHNOLOGIES
AMBER JAMISON
100 N SEPULVEDA BLVD
EL SEGUNDO, CA 90245
EN POINTE TECHNOLOGIES
PO BOX 514429
LOS ANGELES, CA 90051-4429

ENCINITAS CHAMBER OF COMMERCE
1106 SENCOND ST #112
ENCINITAS, CA 92024

ENCOMPASS
1407 BOALCH AVE NW
NORTH BEND, WA 98045
ENCORE ENTERPRISES INC
                                       Page 293
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ENCORE ENTERPRISES
DBA CREATIVE SAFETY PRODUCTS
57 LEUNING ST
SOUTH HACKENSACK, NJ 07606
ENERCON SERVICES INC
PO BOX 269031
OKLAHOMA CITY, OK 73126-0706

ENRIGHT & COMPANY INC
730 POLHEMUS RD #202
SAN MATEO, CA 94402
ENRIQUE A GONZALEZ
5759 N CAMPBELL AVE
TUCSON, AZ 85718

ENRIQUE HERNANDEZ JR
910 SAN RAFAEL AVE
PASADENA, CA 91105
ENRIQUE HOGAN
3100 1/2 VINCENT RD
WEST PALM BEACH, FL 33405

ENSIGNS PATTISON SIGN GROUP
[Address to Be Provided]

ENTERCOM RADIO PORTLAND
ENTERCOM SEATTLE
DBA KMTT FM
1100 OLIVE WAY #1650
SEATTLE, WA 98101

ENTERPRISE COMMUNITY PARTNERS
AMERICAN CITY BUILDING
10227 WINCOPIN CIRCLE #500
COLUMBIA, MD 21044

ENTERPRISE COMMUNITY PARTNERS
80 5TH AVE 7TH FLOOR
NEW YORK, NY 10011-8002
ENTERPRISE COMMUNITY PARTNERS
100 N CENTRAL EXPRESSWAY #1299
DALLAS, TX 75201

ENTERPRISE COMMUNITY PARTNERS
1801 WILLIAMS ST #200
DENVER, CO 80218
ENTERPRISE COMMUNITY PARTNERS
315 W 9TH #801
LOS ANGELES, CA 90015
ENTERPRISE COMMUNITY PARTNERS
34 PEACHTREE ST #2350
ATLANTA, GA 30303
ENTERPRISE COMMUNITY PARTNERS
520 SW 6TH AVE #700
PORTLAND, OR 97204

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ENTERPRISE CONTROL SYSTEMS
PO BOX 68310
SEATTLE, WA 98168-0310
ENTERPRISE EVENTS GROUP INC
TALEO WORLD 2007
950 NORTHGATE DR
SAN RAFAEL, CA 94903

ENTERPRISE RENT-A-CAR
9774 B SAN JOSE BLVD
JACKSONVILLE, FL 32257
ENTERPRISESEATTLE
1301 5TH AVE #2500
SEATTLE, WA 98101

ENTERTAINMENT PUBLICATIONS INC
PO BOX 7067
TROY, MI 48007-7067
ENTREPRENEURS UNIVERSITY
FOUNDATION INC
PO BOX 636
CRETE, IL 60417

ENVIROBUSINESS INC
PO BOX 746
MEDFORD, MA 02155-0008

ENVIROCHECK SOLUTIONS
7825 HIGHLAND VILLAGE PL #622
SAN DIEGO, CA 92129

ENVIRONMENTAL BANKERS ASSN
510 KING ST #410
ALEXANDRIA, VA 22314

ENVIRONMENTAL DATA
RESOURCES INC
440 WHEELERS FARMS RD
MILFORD, CT 06461
ENVIRONMENTS PLUS
2150 ANCHOR CT #B
NEWBURY PARK, CA 91320-1610

ENVISION LENDING GROUP INC
10813 RIVER FRONT PKWY #300
SOUTH JORDAN, UT 84095
ENVISION TELEPHONY INC
520 PIKE ST #1600
SEATTLE, WA 98101
EOI DIRECT LLC
412 E PARKCENTER BLVD #315
BOISE, ID 83706
EPERFORMAX CENTERS INC
8001 CENTERVIEW PKWY 3RD FL
CORDOVA, TN 38018

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EPICENTER TECHNOLOGIES PVT LTD
10TH FL SIGMA TECHNOLOGY ST
HIRANDANANI GARDENS
POWAI MUMBAI MAHARASHTRA, 400076 INDIA
EPISCOPAL COMMUNITY SERVICES
OF SAN FRANCISCO
165 8TH ST 3RD FL
SAN FRANCISCO, CA 94103

EPPING FOREST YACHT CLUB
PO BOX 40505
JACKSONVILLE, FL 32203-0505
EPRIZE
DEPT CH 17698
PALATINE, IL 60055-7698
EPROPERTY TAX INC
[Address to Be Provided]
EPSILON DATA MANAGEMENT
L-2751
COLUMBUS, OH 43260

EPSTEIN BROWN & GIOIA LLC
245 GREEN VILLAGE RD
CHATHAM TOWNSHIP, NJ 07928-0901

EQECAT INC
ABSG CONSULTING INC
PO BOX 915094
DALLAS, TX 75391-5098

EQTX
EQUALITY TEXAS FOUNDATION
DBA EQUALITY TEXAS FOUNDATION
PO BOX 2340
AUSTIN, TX 78768-2340
EQUALITY ARIZONA
PO BOX 25044
PHOENIX, AZ 85002

EQUALITY CALIFORNIA INSTITUTE
2801 HYPERION AVE #103
LOS ANGELES, CA 90027

EQUIFAX AUTHENTICATION SVCS
EQUIFAX CONSUMER SERVICES
PO BOX 105835
ATLANTA, GA 30348-5835
EQUIFAX CONSUMER SERVICES
LINDA BLACKERBY
PO BOX 4472
ATLANTA, GA 30302

EQUIFAX CONSUMER SERVICES
PO BOX 934166
ATLANTA, GA 31193-4166
EQUIFAX CREDIT INFO SVCS INC
                                       Page 296
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DBA EQUIFAX MARKETING SERVICES
PO BOX 945510
ATLANTA, GA 30394-5510
EQUIFAX CREDIT INFO SVCS INC
LINDA BLACKERBY
1550 PEACHTREE ST NW
ATLANTA, GA 30309-2639

EQUIFAX DIRECT MARKETING
SOLUTIONS LLC
DBA EQUIFAX MARKETING SERVICES
PO BOX 403495
ATLANTA, GA 30384-3495

EQUILAR INC
303 TWIN DOLPHIN DR #201
REDWOOD SHORES, CA 94065
EQUIMAX MORTGAGE & LOAN
12121 WILSHIRE BLVD#1400
LOS ANGELES, CA 90025

EQUIPOINT FINANCIAL NETWORK INC
EQUIPOINT FINANCIAL NETWRK INC
723 AVE D #1
SNOHOMISH, WA 98290

EQUITAS CAPITAL INC
1050 S BASCOM WAY #100
SAN JOSE, CA 95128
EQUITY CORPORATE HOUSING
6525 MORRISON BLVD #212
CHARLOTTE, NC 28211-3532

EQUITY FIRST INC
2552 WALNUT AVE PARK #220
TUSTIN, CA 92780
EQUITY FOUNDATION
PO BOX 5696
PORTLAND, OR 97228

EQUITY FREEDOM CORP
2715 CONEY ISLAND
BROOKLYN, NY 11235

EQUITY FUND GROUP INC
20944 SHERMAN WY #115
CANOGA PARK, CA 91303
EQUITY LEADERSHIP MORTGAGE
GROUP INC
555 SUN VALLEY DR #F2
ROSWELL, GA 30076

EQUITY MAX MTG
1011 CAMINO DEL MAR #240
DEL MAR, CA 92014

EQUITY SOLUTIONS TEAM INC
300 4TH ST
                                       Page 297
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OAKLAND, CA 94607
EQUITY SOURCE HOME LOANS LLC
1116 CAMPUS DR WEST
MORGANVILLE, NJ 07751

ER SOLUTIONS INC
PO BOX 9004
RENTON, WA 98057

ERASE RACISM INC
6800 JERICHO TURNPIKE #109W
SYOSSET, NY 11791
ERASMUS NEIGHBORHOOD FEDERATION
814 ROGERS AVE
BROOKLYN, NY 11226
E-REALTYHOMES.COM INC
18850 VENTURA BLVD #130
TARZANA, CA 91356

EREB FOUNDATION INC
686 JOSEPH E LOWERY BLVD SW
ATLANTA, GA 30310

ERETZ FUNDING LTD
5916 18TH AVE
BROOKLYN, NY 11204

E-REWARDS INC
PO BOX 974063
DALLAS, TX 75397-4063

ERIC A BLAKEY
DAVID P RYAN P A TRUST ACCOUNT
2977 MC FARLANE RD #301
COCONUT GROVE, FL 33133

ERIC A MILDEBERGER
PO BOX 239
MERCER ISLAND, WA 98040
ERIC B CHRISTIERSON ENTERPRISES
BEC APPRAISAL & CONSULTING
308 NATOMA ST #100
FOLSOM, CA 95630

ERIC BURGESS
DBA BLACK TIE EVENTS
1571 S SUNKIST ST #E
ANAHEIM, CA 92806
ERIC JAMES
DEANNA C STARKOSKI
8480 STAGECOACH CIRCLE
FREDERICK, MD 21701

ERIC SIMONSON
30001 CROWN VALLEY PKWY
LAGUNA NIGUEL, CA 92677-1723
ERICA P BIGELOW PC
                                       Page 298
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275 WYMAN ST #140
WALTHAM, MA 02451-1200

ERICA VOOGD PHILLIPS
APPRAISALS
450 S FAIRVIEW ST
BURBANK, CA 91505
ERICK RAMIREZ
20601 CRESCENT WAY
GROVELAND, CA 95321
ERIK E STROM
[Address Information Redacted]

ERIK E. STROM
[Address Information Redacted]
ERIN GRUWELL EDUCATION PROJECT
FREEDOM WRITERS FOUNDATION
PO BOX 41505
LONG BEACH, CA 90853

ERNA GIESBRECHT
ELLIS COLEMAN POIRIER
LA VOIE & STEINHEIMER
6948 BURNHAM DR
CITRUS HEIGHTS, CA 95621

ERNESTO FERRER ABALOS
376 FIRECREST AVE
PACIFIC, CA 94044

ERNST & YOUNG LLP
BANK OF AMERICA CHIC 96550
PO BOX 96550
CHICAGO, IL 60693

ERNST & YOUNG LLP
DEPT 6793
LOS ANGELES, CA 90084-6793

ERNST & YOUNG LLP
1 MORE LONDON PL
LONDON, SE1 2AF UK
ERNST & YOUNG PRODUCT SALES LLC
ERNST & YOUNG LLP - 072
3418 COLLECTION CENTER DR
CHICAGO, IL 60693
ERNST PUBLISHING COMPANY
PO BOX 318
CLARKSVILLE, NY 12041
ESKANOS & ADLER PC
ATTORNEYS AT LAW
2325 CLAYTON ROAD
CONCORD, CA 94520
ESPERANZA COMMUNITY
HOUSING CORPORATION
2337 S FIGUEROA ST
                                       Page 299
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LOS ANGELES, CA 90007
ESPN
935 MIDDLE ST
BRISTOL, CT 06010-7454

ESPN INC
ESPN
ADVERTISING SALES
13039 COLLECTIONS CENTER DR
CHICAGO, IL 60693
ESQUIRE DEPOSITION SERVICES LLC
PO BOX 785751
PHILADELPHIA, PA 19178-5751

ESSELMAN CORPORATION
DBA SAN DIEGO FACILITY SOLUTION
9195 CHESAPEAKE DR
SAN DIEGO, CA 92123
ESSENTIAL FUNDING CO INC
2860 S CIRCLE DR #300
COLORADO SPRINGS, CO 80906

ESSENTIAL2LIFE INC
1330 W PEACHTREE ST NW
ATLANTA, GA 30309

ESSEX COUNTY CLERK
7559 COURT ST
ELIZABETHTOWN, NY 12932

ESTATE ETHEL CONSTANCE BODMAN
MARTIN KAREN DUKE ADMIN
CRAIN CATON & JAMES P C
1401 MCKINNEY 17TH FL
HOUSTON, TX 77010

ESTATE OF DOROTHY J WALTON
GENE RUSSELL AS PERSONAL REP
10529 WHITMAN AVE N
SEATTLE, WA 98133

ESTATE OF EUGENE GROSS
16305 SW KING CHARLES AVE
KING CITY, OR 97224

ESTATE OF JOHN OROURKE
320 NE 24TH ST
BOCA RATON, FL 33431
ESTHER F SCHWARTZ
CAPITOL REPORTERS
1300 ETHAN WAY #225
SACRAMENTO, CA 95825

ETHEL JONES JAMES
1613 E DIAMONDALE DR
CARSON, CA 90746

ETI-NET INC
PO BOX 923
                                       Page 300
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VERCHERES, QC J0L 2R0 CANADA
ETS ACQUISITION LLC
ELECTRONIC TRACKING SYSTEMS
PO BOX 678498
DALLAS, TX 75267-8498
ETS CONTRACTING INC
160 CLAY STREET
BROOKLYN, NY 11222
EUGENE AREA CHAMBER OF COMMERCE
PO BOX 1107
EUGENE, OR 97440

EUGENE WELDERS SUPPLY
DBA INDUSTRIAL SOURCE
PO BOX 2330
EUGENE, OR 97402

EUGENE ZEMP DUBOSE PC
3303 LEE PKWY #210
DALLAS, TX 75219
EUGENIO MARIA DE HOSTOS
COMMUNITY COLLEGE FOUNDATION
475 GRAND CONCOURSE
BRONX, NY 10451

EUNHEE C. SUMNER
[Address Information Redacted]
EUNICE C DALE
C/O BUSCARENO
34 KANES LANE
HUNTINGTON, NY 11743
EURO BROKERS
BGC BROKERS INC
ONE SEAPORT PLAZA 19TH FL
NEW YORK, NY 10038

EVA M BINDER
2471 CALVERT ST
STOCKTON, CA 95210
EVANS & SON INC
PO BOX 220278
NEWHALL, CA 91322-0278
EVANS APPRAISAL SERVICE INC
PO BOX 863
CHICO, CA 95927

EVANS LAWRENCE NASH LTD
1605 5TH AVE N 403
SEATTLE, WA 98109

EVELYN STREETER
STROUDS PLAZA
7284 SAN RAMON RD
DUBLIN, CA 94568

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
EVELYN WEINGARTEN
[Address to Be Provided]

EVENT MANAGEMENT PRODUCTIONS
11506 E TELEGRAPH RD #218
SANTA FE SPRINGS, CA 90670
EVENT SOLUTIONS & PRODUCTIONS
PO BOX 5924
FLORENCE, SC 29502-5924
EVENTFORCE INC
8806 116TH AVE NE
KIRKLAND, WA 98033

EVENTOS Y FERIAS
INTERNACIONALES SOCIEDAD ANONMA
7A AVE 14 57 ZONE 10
SANTA CLARA,   UK

EVENTUS MARKETING INC
4906 SW 72ND AVE
MIAMI, FL 33155
EVERGREEN MONEYSOURCE MRTGE CO
2265 FIRST AVE. SOUTH
SEATTLE, WA 98134

EVERGREEN PLANTSCAPES LLC
550 SW INDUSTRIAL WY #26
PO BOX 84
BEND, OR 97709

EVERGREEN POWER SYSTEMS INC
3849 1ST AVE S
SEATTLE, WA 98134
EVERGREEN PRINTING & GRAPHICS
10530 19TH AVE SE #103
EVERETT, WA 98208

EVERGREEN PROFESSNL RECOVERIES
PO BOX 666
BOTHELL, WA 98011
EVERSON HUBER & DRIGGER LC
3535 ROSWELL RD #55
MARIETTA, GA 30062

EVERY CHILD CAN LEARN FOUNDATN
114 SANSOME ST #800
SAN FRANCISCO, CA 94104
EVERYTHING GOES INC DBA
GOURMET TO GO
PO BOX 2012
ENGLEWOOD, CO 80150

EVOCATIVE INC
1400 65TH ST #150
EMERYVILLE, CA 94608
EVOLUTIONARY TECHNOLOGIES
                                       Page 302
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INTERNATIONAL INC
PO BOX 671122
DALLAS, TX 75267-1122
EXACTBID INC
341 PIERCY RD
SAN JOSE, CA 95138
EXACTBID, INC.
[Address to Be Provided]
EXCELENCIA IN EDUCATION INC
1752 N ST NW 6TH FLR
WASHINGTON, DC 20036

EXECUTIVE CHARGE INC
1440 39TH ST
BROOKLYN, NY 11218
EXECUTIVE ENTERPRISES
TWO SHAW'S COVE
NEW LONDON, CT 06320-4675

EXECUTIVE JET AVIATION, INC.
[Address to Be Provided]

EXECUTIVE JET SALES, INC.
[Address to Be Provided]

EXECUTIVE LINGUIST AGENCY INC
500 S SEPULVEDA BLVD
MANHATTAN BEACH, CA 90266-6976

EXECUTIVE PRESS INC
THE CORPORATE COUNSEL
PO BOX 21639
CONCORD, CA 94521-0639

EXECUTIVE PRESS INC
PO BOX 21639
CONCORD, CA 94521

EXPANETS OF N AMERICA LLC
EXPANETS OF NORTH AMERICA LLC
DEPT 1261
DENVER, CO 80271-1261

EXPEDIA TRAVEL INC
PO BOX 847677
DALLAS, TX 75284-7677
EXPERIAN
PO BOX 73774
CHICAGO, IL 60673-7774
EXPERIAN CREDIT DATA OPERATIONS
EXPERIAN
DEPT 1971
LOS ANGELES, CA 90088-1971
EXPERIAN EMARKETING SERVICES
EXPERIAN
22807 NETWORK PLACE
                                       Page 303
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CHICAGO, IL 60673-1228
EXPERIAN INFORMATION SOLUTIONS
EXPERIAN
EXPERIAN MARKETING SERVICES
DEPT 6133
LOS ANGELES, CA 90088-6133
EXPERIAN MARKETING SERVICES
21221 NETWORK PLACE
CHICAGO, IL 60673-1212
EXPERIAN-SCOREX LLC
ATTN CASH APPLICATIONS MGR
475 ANTON BLVD
COSTA MESA, CA 92626

EXPERIENT INC
CONFERON INC
2500 ENTERPRISE PKWY E
TWINSBURG, OH 44087

EXPERIOR
1360 ENERGY PARK DR 2ND FL
ST PAUL, MN 55108-5252

EXPO EXPERTS LLC
7809 COOPER RD
CINCINNATI, OH 45242

EXPRESS CONSOLIDATION INC
ATTN FAIRSHARE
413 NE 3RD ST
DELRAY BEACH, FL 33483

EXPRESS CONSTRUCTION CO INC
355 118TH AVE SE #100
BELLEVUE, WA 98005

EXPRESS MESSENGER SYSTEMS INC
DBA CALIFORNIA OVERNIGHT
ATTN CHEAHN HAWKINS
PO BOX 5023
HAYWARD, CA 94540
EXPRESS MESSENGER SYSTEMS INC
DBA ONTRAC
2280 TERMINAL ROAD
ROSEVILLE, MN 55113
EXPRESS MESSENGER SYSTEMS INC
EXPRESS MESSENGER SYSTEM INC
PO BOX 3043
SALT LAKE CITY, UT 84104
EXPRESS TITLE COMPANY
6110 EXECUTIVE BLVD #612
ROCKVILLE, MD 20852
EYE OF THE ISLANDS PHOTOGRAPHY
45-628 ANOI RD
KANEOHE, HI 96744

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EYEBROWZ
K T FOSTER
PO BOX 11323
ATLANTA, GA 30310
EYMANN ALLISON FENNESSY
HUNTER JONES PS
2208 W 2ND AVE
SPOKANE, WA 99204-0917

EZ MORTGAGE & LOAN CORPORATION
6320 MILWAUKEE AVE
CHICAGO, IL 60646
F BARR BIGGS MAI
PO BOX 12231
JACKSON, MS 39236-2231
F&C ENTERPRISES
DBA APPLE SPICE JUNCTION
2235 S 1300 W #A
SALT LAKE CITY, UT 84119

F5 NETWORKS INC
C/O BANK OF AMERICA
PO BOX 406097
ATLANTA, GA 30384-6097

F5 NETWORKS, INC.
[Address to Be Provided]

FACILITIES PROTECTION SYSTEMS
1150 W CENTRAL AVE #D
BREA, CA 92821-2259

FACTIVA INC
DOW JONES & CO
PO BOX 300
PRINCETON, NJ 08543-0300
FACTORY MUTUAL INSURANCE CO
75 REMITTANCE DR #6174
CHICAGO, IL 60675-6174

FACTSET RESEARCH SYSTEMS INC
PO BOX 414756
BOSTON, MA 02241-4756

FAIR HOUSING CENTER OF THE
GREATER PALM BEACHES
1300 W LANTANA RD #200
LANTANA, FL 33462
FAIR HOUSING COUNCIL
OF ORANGE COUNTY
201 S BROADWAY
SANTA ANA, CA 92701

FAIR HOUSING COUNCIL
RIVERSIDE COUNTY
PO BOX 1068
RIVERSIDE, CA 92502

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FAIR HOUSING COUNCIL OF OREGON
1020 SW TAYLOR ST #700
PORTLAND, OR 97205
FAIR HOUSING OF MARIN
615 B ST
SAN RAFAEL, CA 94901
FAIR ISAAC AND COMPANY INC
PO BOX 201129
DALLAS, TX 75320-1129
FAIRFAX HOUSE OWNERS INC
88 FROEHLICH FARM BLVD 4TH FL
WOODBURY, NY 11797

FAIRFIELD CHAMBER OF COMMERCE
1111 WEBSTER ST
FAIRFIELD, CA 94533

FAIRMONT FUNDING LTD
39 37TH ST
NEW YORK, NY 10018
FAIRVIEW POLICE DEPARTMENT
59 ANDERSON AVE
FAIRVIEW, NJ 07022

FAISAL HABIB
149 POST AVE
WESTBURY, NY 11590
FAITH AND ACTION FOR STRENGTH
TOGETHER
PO BOX 10421
ST PETERSBURG, FL 33733
FAITH BASED COMMUNITY
DEVELOPMENT CORPORATION
2195 OCEANSIDE BLVD
OCEANSIDE, CA 92054-4405

FAITH CENTER FOR
COMMUNITY DEVELOPMENT INC
475 RIVERSIDE DR #500
NEW YORK, NY 10115

FALKIN ASSOCIATES INC
10303 MERIDIAN AVE N #104
SEATTLE, WA 98133
FALLBROOK CHAMBER OF COMMERCE
223 E MISSION RD
FALLBROOK, CA 92028
FALLON & ASSOCIATES PC
372 GRANITE AVE
PO BOX 267
MILTON, MA 02186
FALLS CONSUMER CREDIT MANAGEMNT
1650 S ARLINGTON #B
ACRON, OH 44312
                                       Page 306
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FAME ASSISTANCE CORP
1968 W ADAMS BLVD
LOS ANGELES, CA 90018
FAMILIES IN SCHOOLS
1545 WILSHIRE BLVD #811
LOS ANGELES, CA 90017

FAMILY & COMMUNITY SVCS INC DBA
CCCS OF PORTAGE COUNTY
143 GOUGLER AVE
KENT, OH 44240
FAMILY AND CHILDRENS
ASSOCIATION
100 E OLD COUNTY RD
MINEOLA, NY 11501
FAMILY BUDGET COUNSELING INC
3410B NORTH HARBOR CITY BLVD
MELBOURNE, FL 32935

FAMILY COUNSELING CENTER OF
BREVARD INC
DBA CCCS OF BREVARD COUNTY
507 N HARBOR CITY BLVD
MELBOURNE, FL 32935

FAMILY COUNSELING SERVICES
OF GREATER MIAMI INC
7412 SUNSET DR
MIAMI, FL 33143

FAMILY COURT
5TH JUDICIAL CT
PO BOX 192
COLUMBIA, SC 29202

FAMILY CREDIT COUNSELING CORP
4850 N STATE RD 7 #G104
LAUDERDALE LAKES, FL 33319
FAMILY CREDIT COUNSELING SVC
4306 CHARLES ST
ROCKFORD, IL 61108

FAMILY EQUALITY COUNCIL
PO BOX 206
BOSTON, MA 02133
FAMILY FINANCIAL
FAMILY FINANCIAL EDUC FDTN
EDUCATION FOUNDATION
PO BOX 2125
EVANSTON, WY 82930-2125

FAMILY FOUNDATIONS
FAMILY COUNSELING SERVICES
DBA CCCS OF JACKSONVILLE
1639 ATLANTIC BLVD
JACKSONVILLE, FL 32207-0000

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FAMILY GUIDANCE CENTER
CCCS OF CENTRAL NEW JERSEY
1931 NOTTINGHAM WAY
HAMILTON, NJ 08619
FAMILY LIFE RESOURCES
5802 E FOWLER AVE #D
TAMPA, FL 33617

FAMILY LIFE SERVICES
PO BOX 2467
FARGO, ND 58108-2467
FAMILY MEANS CCCS
1875 NORTHWESTERN AVE S
STILLWATER, MN 55082

FAMILY NETWORK INC
AFFINITY SOLUTIONS
EMPIRE STATE BUILDING
350 FIFTH AVENUE #2212
NEW YORK, NY 10118

FAMILY SERCICE INC DBA
CCCS OF MADISON WI
128 E OLIN AVE #100
MADISON, WI 53713-1483

FAMILY SERVICE AGENCY INC DBA
CONSUMER CREDIT COUNSELING
PO BOX 16615
LITTLE ROCK, AR 72231

FAMILY SERVICE CENTER DBA
CCCS OF COLUMBIA
1800 MAIN STREET
COLUMBIA, SC 29202

FAMILY SERVICE DBA
CCCS OF UPPER OHIO VALLEY
51 ELEVENTH ST
WHEELING, WV 26003
FAMILY SERVICE OF RACINE INC
420 SEVENTH STREET
RACINE, WI 53403

FAMILY SERVICES INC
CCCS OF CHARLESTON SC
4925 LACROSS RD #215
NORTH CHARLESTON, SC 29406
FAMILY SERVICES OF KING COUNTY
615 2ND AVE #150
SEATTLE, WA 98104
FAMILY SERVICES OF LONG BEACH
5500 E ATHERTON ST #316
LONG BEACH, CA 90815
FAMILY SERVICES OF PIEDMONT INC
CCCS OF GREATER GREENSBORO
315 E WASHINGTON ST
                                       Page 308
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GREENSBORO, NC 27401
FAMILY SERVICES OF SO WISCONSIN
& NO ILLINOIS INC DBA
CCCS OF BELOIT JANESVILLE
423 BLUFF ST
BELOIT, WI 53511
FAMILY SUPPORT PAYMENT CENTER
PO BOX 109001
JEFFERSON CITY, MO 65110
FAMILY SUPPORT REGISTRY
COLORADO FAMILY SUPPORT REGIST
PO BOX 2171
DENVER, CO 80201-2171

FAMILY SUPPORT REGISTRY
COLORADO FAMILY SUPT REGISTRY
PO BOX 2171
DENVER, CO 90201

FAMILY SUPPORT REGISTRY - GA
PO BOX 1800
CARROLLTON, GA 30112-1800

FAMILY SUPPORT TRUSTEE
PO BOX 7622
SAN FRANCISCO, CA 94120-7622

FAMILY SVC ASSN OF HOWARD CNTY
CCCS OF NORTH CENTRAL INDIANA
618 S MAIN ST
KOKOMO, IN 46901

FAMILY SVC ASSN OF SHEBOYGAN
CCCS OF FAMILY SERVICE ASSOC
1930 N 8TH ST #100
SHEBOYGAN, WI 53081
FAMILY YMCA OF THE DESERT
43930 SAN PABLO AVE
PALM DESERT, CA 92260

FANFARE MEDIA WORKS
ADCART
PO BOX 5990
VALENCIA, CA 91385-5990

FANNIE MAE
ATTN LOCKBOX 403207
6000 FELDWOOD DR
COLLEGE PARK, GA 30349

FANNIE MAE
3900 WISCONSIN AVE
WASHINGTON, DC 20016

FARELLA BRAUN & MARTEL LLP
235 MONTGOMERY ST 30TH FL
SAN FRANCISCO, CA 94104
FARESTART
                                       Page 309
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700 VIRGINIA ST
SEATTLE, WA 98101

FARLEIGH WADA & WITT PC
121 SW MORRISON ST #600
PORTLAND, OR 97204
FARMWORKERS COORDINATING
COUNCIL OF PALM BEACH COUNTY
1010 10TH AVE N #1
LAKE WORTH, FL 33460
FARRELLS HOME HEALTH CENTER INC
2326 WHEATON WAY
BREMERTON, WA 98310

FASKEN MARTINEAU DUMOULIN LLP
66 WELLINGTON ST W #4200
TORONTO, M5K 1N6 CANADA

FAST CASH ADVANCE
8548 S CICERO AVE
BURBANK, IL 60459
FATHOM COMMUNICATIONS LLC
437 MADISON AVE 2ND FL
NEW YORK, NY 10022

FATHOM COMMUNICATIONS, LLC
[Address to Be Provided]

FATTIES DELI INC
BARRE DELI PLUS
4661 OAK ORCHARD RD
ALBION, NY 14411

FAY L CHAPMAN
2003 E EATON PL
SEATTLE, WA 98112
FAYETTE COUNTY
CHAMBER OF COMMERCE
200 COURTHOUSE SQ
FAYETTEVILLE, GA 30214
FCC INC
DBA ALLIED VIDEO PRODUCTIONS
245 DIVISION ST NE
SALEM, OR 97301
FDIC RULES AND REGULATIONS
FEDERAL DEPOSIT INSURANCE CORP
PO BOX 880910
DALLAS, TX 75388-0910
FEDERACION DE CLUBES
JALISCIENCES
10357 GRIDLEY ROAD
SANTA FE SPRINGS, CA 90670-4101
FEDERAL DEPOSIT INSURANCE CORP
FDIC RULES AND REGULATIONS
PO BOX 70966
                                       Page 310
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CHARLOTTE, NC 28272-0966
FEDERAL DIRECT
ATTN JOHN LAGRECA
95 MAIN AVE
CLIFTON, NJ 07014
FEDERAL EXPRESS CORP
PO BOX 94515
PALATINE, IL 60094-4515
FEDERAL HOME LOAN MORTGAGE CORP
FREDDIE MAC
FREDDIE MAC
PO BOX 93388
CHICAGO, IL 60673-3388

FEDERAL HOME LOAN MORTGAGE CORP
8200 JONES BRANCH DR
MCLEAN, VA 22102
FEDERAL INSURANCE COMPANY
15 MOUNTAIN VIEW RD.
WARREN, NJ 07059

FEDERAL RESERVE BANK
OF SAN FRANCISCO
101 MARKET ST MS 560
SAN FRANCISCO, CA 94105

FEDERATED FINANCIAL SERVICES
FEDERATED FINANCIAL SVCS INC
3275 W HILLSBORO BLVD #110
DEERFIELD BEACH, FL 33442

FEDERATED INVESTORS MANAGEMENT
1001 LIBERTY AVE 20TH FL
PITTSBURGH, PA 15222

FEDERATED MORT CO OF AMERICA
101 TOWER DR
EDGEWATER, NJ 07020
FEDERATION OF CONGREGATIONS
UNITED TO SERVE
142 E JACKSON ST
ORLANDO, FL 32801

FEDERATION OF ZACATECAN
INTERNATIONAL BENEFIT
ORGANIZATIONS INC
1332 N MILLER AVE
LOS ANGELES, CA 90063

FEDERICO SOLIZ JR
DBA TROPHY SOURCE
9714 WINDRUSH DR
SPRING, TX 77379
FEDEX
FEDERAL EXPRESS CORP
PO BOX 371461
PITTSBURGH, PA 15250-7461
                                       Page 311
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FEDEX
FEDERAL EXPRESS CORP
PO BOX 660481
DALLAS, TX 75266-0481

FEDEX
FEDERAL EXPRESS CORP
PO BOX 7221
PASADENA, CA 91109-7321
FEDEX CUSTOM CRITICAL
PO BOX 371627
PITTSBURGH, PA 15251-7627

FEDEX ERS
FEDERAL EXPRESS CORP
500 ROSS ST
ATTN BOX 371741
ROOM #154-0455
PITTSBURGH, PA 15250-7741

FEDEX FREIGHT EAST
4103 COLLECTION CENTER DR
CHICAGO, IL 60693

FEDEX FREIGHT WEST
DEPT CH
PO BOX 10306
PALATINE, IL 60055-0306

FEDEX FREIGHT WEST
DEPT LA
PO BOX 21415
PASADENA, CA 91185-1415

FEDEX KINKOS INC
FEDEX
CUSTOMER ADMINISTRATION SVCS
PO BOX 672085
DALLAS, TX 75267-2085

FEDEX NATIONAL LTL
PO BOX 95001
LAKELAND, FL 33804-5001
FEIN SUCH KAHN & SHEPHARD PC
7 CENTURY DR #201
PARSIPPANY, NJ 07054
FEIWELL & HANNOY PC
PO BOX 7232
DEPT L 167
INDIANAPOLIS, IN 46206
FEIWELL AND HANNOY
FEIWELL & HANNOY PC
251 N ILLINOIS ST #1700
INDIANAPOLIS, IN 46204
FELDMAN & ASSOCIATES
33 E 33RD ST #802
NEW YORK, NY 10016
                                    Page 312
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FELDMAN FRANDEN WOODARD
FARRIS & BOUDREAUX
525 S MAIN
1000 PARK CENTRE BLDG
TULSA, OK 74103-4514
FELDMAN LAW FIRM
10100 SANTA MONICA BLVD #2490
LOS ANGELES, CA 90067
FELKER ISH RITCHIE & GEER PA
911 OLD PENOS TRAIL
SANTA FE, NM 87505

FELNER CORPORATION
BUILDING MAINTENANCE & SUPPLY
35 BRENTWOOD AVE
FAIRFIELD, CT 06825

FELTMAN GEBHARDT GREER ZEIMANTZ
421 W RIVERSIDE AVE #1400
SPOKANE, WA 99201
FELTON A. SPEARS
[Address to Be Provided]
FERGAL STACK
[Address Information Redacted]

FERGUS HENEHAN
93 SAN MARINO DR
SAN RAFAEL, CA 94901

FERIA DE LA SALUD
240 EAST 1 AVE #223
HIALEAH, FL 33010

FERIKES & BLEYNAT PLLC
21 BROAD ST
ASHEVILLE, NC 28801

FERNANDO HERNANDEZ
[Address Information Redacted]
FERRANDINO & SON INC
71 CAROLYN BLVD
FARMINGDALE, NY 11735

FERRAUD INDUSTRIES INC
DBA VALLEY PLUMBING CO
46 780 CLINTON ST
INDIO, CA 92201

FFS CAPITAL INC
DBA FAIRWAY FINANCIAL SOLUTIONS
400 E ROYAL LN #290
IRVING, TX 75039
FGS-CA INC
DBA FREEDOM GRAPHIC SYSTEMS
5401 JURUPA ST
ONTARIO, CA 91761
                                       Page 313
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FGS-DALLAS INC
PO BOX 201573
DALLAS, TX 75320-1573
FHR REAL ESTATE CORPORATION
DBA THE FAIRMONT OLYMPIC HOTEL
411 UNIVERSITY ST
SEATTLE, WA 98101

FIDELITY CAPITAL FUNDING INC
2603 CAMINO RAMON #350
SAN RAMON, CA 94583
FIDELITY INVEST INSTITUTIONAL
OPERATIONS COMPANY
PO BOX 73307
CHICAGO, IL 60673-7307
FIDELITY INVESTMENTS
INSTITUTIONAL OPERATIONS CO
FBO WAMU SAVINGS PLAN
82 DEVONSHIRE ST
BOSTON, MA 02109

FIDELITY NATIONAL DATA SVCS
FIDELITY NATIONAL INFORMATION
C/O SITEXDATACOM IDM FNDS CORP
FILE 74543 8122 PO BOX 60000
SAN FRANCISCO, CA 94160

FIDELITY NATIONAL DEFAULT
FIDELITY CLASSIC
SOLUTIONS
15661 RED HILL AVE #201
TUSTIN, CA 92780
FIDELITY NATIONAL DEFAULT SLTNS
3220 EL CAMINO REAL
IRVINE, CA 92602

FIDELITY NATIONAL FIELD
FIDELITY NATIONAL INFORMATION
SERVICES INC
30825 AURORA RD #140
SOLON, OH 44139-2733

FIDELITY NATIONAL FORECLOSURE
FIDELITY NTL FORECLOSURE SLTNS
SOLUTIONS
DEPT 1313
LOS ANGELES, CA 90084-1313
FIDELITY NATIONAL INFORMATION
SERVICES
PAYMENT PROCESSING CENTER
PO BOX 18012
ASHBURN, VA 20146
FIDELITY NATIONAL TITLE
FIDELITY CLASSIC
INSURANCE COMPANY
ONE SE 3RD AVE 25TH FL
                                       Page 314
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MIAMI, FL 33131-1714
FIDELITY NATIONAL TITLE
FIDELITY CLASSIC
1300 DOVE ST #310
NEWPORT BEACH, CA 92660
FIDELITY NATIONAL TITLE
FIDELITY CLASSIC
3500 SW 188TH #300
LYNNWOOD, WA 98037
FIDELITY NATIONAL TITLE
FIDELITY CLASSIC
6060 SEPULVEDA BLVD #100
VAN VUYS, CA 91411

FIDELITY NATIONAL TITLE
FIDELITY CLASSIC
LAND RECORDS DIVISION
1525 WALNUT HILL LN 3RD FL
IRVING, TX 75038

FIDELITY NATIONAL TITLE
FIDELITY CLASSIC
PO BOX 355
COOS BAY, OR 97420

FIDELITY NATIONAL TITLE
FIDELITY CLASSIC
PO BOX 505
ASTORIA, OR 97103

FIDELITY NATIONAL TITLE
FIDELITY CLASSIC
SALEM OFFICE
198 COMMERCIAL ST SE #200
SALEM, OR 97301

FIDELITY NATIONAL TITLE COMPANY
FIDELITY CLASSIC
800 WILLAMETTE #500
EUGENE, OR 97401

FIDELITY NATIONAL TITLE COMPANY
FIDELITY CLASSIC
OF OREGON INC
1001 SW 5TH AVE #400
PORTLAND, OR 97204
FIDELITY NATIONAL TITLE INS CO
FIDELITY CLASSIC
2763 CAMINO DEL RIO S
SAN DIEGO, CA 92108
FIDELITY NTL FORECLOSURE SLTNS
DBA FIS DESKTOP
PROCESS MANAGEMENT
LOCKBOX DEPT 9277
LOS ANGELES, CA 90084-9277

FIDELITY NTNL FORECLOSURE SLNTS
FIDELITY NTL FORECLOSURE SLTNS
                                       Page 315
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DBA FIS DESKTOP INVOICE MNGMT
DEPT #2651
LOS ANGELES, CA 90084-2651
FIDELITY TITLE COMPANY
FIDELITY CLASSIC
PO BOX 1682
YAKIMA, WA 98907

FIELDS FEHN & SHERWIN
11755 WILSHIRE BLVD 15TH FL
LOS ANGELES, CA 90025-6338
FIELDWORK DALLAS
15305 DALLAS PRKY #850
ADDISON, TX 75001

FIELDWORK NETWORK
35401 EAGLE WAY
CHICAGO, IL 60678-1354
FIELDWORK SEATTLE INC
5150 CARILLON POINT
KIRKLAND, WA 98033

FIESTA EDUCATIVA INC
163 S AVE 24 #201
LOS ANGELES, CA 90031

FIESTA RENTALS
2744 HILLSBORO RD
WEST PALM BEACH, FL 33405

FIESTAS PATRONALES Y PARADAS
DEL PUERTO RICO INC
DBA PUERTO RICO CULTURAL PARADE
PO BOX 2170
LUTZ, FL 33548

FIFTH AVENUE BUILDING CO LLC
623 5TH AVE
NEW YORK, NY 10022
FIFTH AVENUE COMMITTEE INC
621 DEGRAW ST
BROOKLYN, NY 11217

FIFTH WARD COMMUNITY
REDEVELOPMENT
4300 LYONS AVE #300
PO BOX 21502
HOUSTON, TX 77020
FIFTH WARD ENRICHMENT PROG INC
4014 MARKET STREET #105
HOUSTON, TX 77020

FIGLEAF EDUCATIONAL FESTIVALS
PO BOX 4647
FRESNO, CA 93744

FILE PACK & TRANSPORT INC
PO BOX 2267
                                       Page 316
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BRENHAM, TX 77834
FILENET CORPORATION
[Address to Be Provided]
FILESOURCE
2366K N GLASSELL ST
ORANGE, CA 92865

FILM INDEPENDENT INC
9911 W PICO BLVD 11TH FL
LOS ANGELES, CA 90035
FILOMENA MONTANINO
SCARLETT & GUCCIARDO
7700 CONGRESS AVE #3212
BOCA RATON, FL 33487
FILTERFRESH CHICAGO
1500 HIGGINS RD #D
ELK GROVE VILLAGE, IL 60007

FINAL ASSEMBLY INC
7101 HONOLD CIR
GARDEN GROVE, CA 92841

FINANCE AND COMMERCE
SDS-12-2619
PO BOX 86
MINNEAPOLIS, MN 55486-2619

FINANCE DIVISION
OFFICE OF FINANCIAL RECOVERY
PO BOX 9501
OLYMPIA, WA 98507-9501

FINANCENTER INC
1860 E RIVER RD #200
TUCSON, AZ 85718
FINANCIAL ACCOUNTING
STANDARDS BOARD
PO BOX 630420
BALTIMORE, MD 21263-0420
FINANCIAL ACCOUNTING
STANDARDS BOARD
ATTN ACCOUNTS RECEIVABLE
PO BOX 30816
HARTFORD, CT 06150
FINANCIAL COUNSELORS OF AMERICA
3294 POPLAR AVE #304
MEMPHIS, TN 38111
FINANCIAL FREEDOM CHRISTIAN
FINANCIAL FREEDOM CCS
COUNSELING SERVICES
767 S SR7 #20
MARGATE, FL 33068

FINANCIAL HELP SERVICES INC
1501 N UNIVERSITY AVE #764
                                       Page 317
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LITTLE ROCK, AR 72207
FINANCIAL HELP SERVICES INC
4543 CHARLOTTE HWY #116
LAKE WYLIE, SC 29710

FINANCIAL INDUSTRY REGULATORY
FINANCIAL INDUSTRY REGULATORY AUTHORITY
AUTHORITY INC
PO BOX 7777 8705
PHILADELPHIA, PA 19175-8705
FINANCIAL INDUSTRY REGULATORY
FINANCIAL INDUSTRY REGULATORY AUTHORITY
AUTHORITY DISPUTE RESOLUTION
ONE LIBERTY PLAZA
165 BROADWAY 52ND FL
NEW YORK, NY 10006
FINANCIAL INDUSTRY REGULATORY A
FINANCIAL INDUSTRY REGULATORY AUTHORITY
PO BOX 7777-W9850
PHILADELPHIA, PA 19175-9850
FINANCIAL INDUSTRY REQULATORY
FINANCIAL INDUSTRY REGULATORY AUTHORITY
AUTHORITY INC
DBA FINRA DISPUTE RESOLUTION
W3690 PO BOX 7777
PHILADELPHIA, PA 19175-3690

FINANCIAL INDUSTRY REQULATORY
FINANCIAL INDUSTRY REGULATORY AUTHORITY
AUTHORITY INC
601 UNION ST #1616
SEATTLE, WA 98101
FINANCIAL INFO SVC CTR INC DBA
CCCS OF MENASHA
PO BOX 335
MENASHA, WI 54952-0335

FINANCIAL MARKETS ASSOCIATION
333 SECOND ST NE #104B
WASHINGTON, DC 20002
FINANCIAL MORTGAGE CONSULTANTS
111 DEERWOOD DR #110
SAN RAMON, CA 94583
FINANCIAL OPERATIONS NETWORKS
DBA ACCOUNTS PAYABLE NETWORK
2100 RIVEREDGE PKWY STE 380
ATLANTA, GA 30328
FINANCIAL PROFORMAS, INC.
[Address to Be Provided]

FINANCIAL SERVICES CENTERS
OF IL LLC
1513 SIBLEY BLVD
CALUMET, IL 60409

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FINANCIAL SERVICES ROUNDTABLE
FINANCIAL SERVICE CORPORATION
1001 PENNSYLVANIA AVE NW #500 S
WASHINGTON, DC 20004
FINE BOGGS & PERKINS LLP
2450 S CABRILLO HIGHWAY #100
HALF MOON BAY, CA 94019

FINGER & FINGER
158 GRAND ST
WHITE PLAINS, NY 10601
FINLANDIA DAYS
PO BOX 3354
LANTANA, FL 33465-3354

FINSPHERE CORPORATION
505 106TH AVE NE #200
BELLEVUE, WA 98004
FIRCOSOFT INC
17 STATE ST 26TH FL
NEW YORK, NY 10004

FIRE CHIEF EQUIPMENT CO INC
PO BOX 659
REDMOND, WA 98073-0659

FIREFLY COMMUNICATIONS LLC
923 CENTER ST NE
CONYERS, GA 30012

FIRMDECISIONS LLC
41 E 11TH ST 11TH FLOOR
NEW YORK, NY 10003
FIRST ADVANTAGE CREDCO LLC DBA
CBA INFORMATION SOLUTIONS
PO BOX 509114
SAN DIEGO, CA 92150-9114

FIRST ADVANTAGE REALTY AND
FINANCE INC
10940 FAIR OAKS BLVD #700
FAIR OAKS, CA 95628

FIRST AID 2000
PO BOX 803010
SANTA CLARITA, CA 91380-3010
FIRST AMERICAN COMMERCIAL REAL
ESTATE SERVICES
PO BOX 167548
IRVING, TX 75016-7548
FIRST AMERICAN CORELOGIC INC
DBA FIRST AMERICAN DOCUMENT SLN
PO BOX 849028
DALLAS, TX 75284-9028

FIRST AMERICAN CORELOGIC INC
PO BOX 847239
                                       Page 319
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DALLAS, TX 75284-7239
FIRST AMERICAN CORELOGIC INC
10360 OLD PLACEVILLE RD #100
SACRAMENTO, CA 95827

FIRST AMERICAN CORELOGIC INC
4 FIRST AMERICAN WAY
ATTN HANK HANDMAN
SANTA ANA, CA 92707
FIRST AMERICAN CORPORATION
DBA FIRST AMERICAN TITLE CO
1866 N LAKEWOOD DR
COUER D ALENE, ID 83816

FIRST AMERICAN CREDCO INC
FIRST AMERICAN LOSS
PO BOX 509019
SAN DIEGO, CA 92150-9019
FIRST AMERICAN DEFAULT
FIRST AMERICAN FIELD SERVICES
INFORMATION SERVICES LLC
1 FIRST AMERICAN WAY
WESTLAKE, TX 76262
FIRST AMERICAN DOC SOLUTIONS
PO BOX 849028
DALLAS, TX 75284-9028

FIRST AMERICAN DOC SOLUTIONS
PO BOX 849710
DALLAS, TX 75284-9710

FIRST AMERICAN FIELD SERVICES
PO BOX 202057
DALLAS, TX 75320

FIRST AMERICAN HERITAGE
FIRST AMERICAN HERITAGE TITLE
950 S CHERRY ST #1400
DENVER, CO 80246

FIRST AMERICAN R E SOLUTIONS
FIRST AMERICAN LOSS
PO BOX 847239
DALLAS, TX 75284-7239

FIRST AMERICAN RE SOLS LLC DBA
FIRST AMERICAN LOSS
VENDORSCAPE
PO BOX 671023
DALLAS, TX 75267-1023
FIRST AMERICAN REAL
BAKER & BRINKLEY
ESTATE SOLUTIONS
PO BOX 847239
DALLAS, TX 75284-7239

FIRST AMERICAN REAL
FIRST AMERICAN LOSS
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ESTATE SOLUTIONS LLC MRAC
PO BOX 849911
DALLAS, TX 75284-9911
FIRST AMERICAN REAL ESTATE
BAKER & BRINKLEY
SOLUTIONS LP
4 FIRST AMERICAN WAY
SANTA ANA, CA 92707

FIRST AMERICAN REAL ESTATE
FIRST AMERICAN LOSS
INFORMATION SERVICES INC
PO BOX 200079
DALLAS, TX 75320-0079

FIRST AMERICAN REAL ESTATE
FIRST AMERICAN LOSS
TAX SERVICE
PO BOX 200079
DALLAS, TX 75320-0079

FIRST AMERICAN REAL ESTATE
FIRST AMERICAN LOSS
2210 ENTERPRISE DR
FLORENCE, SC 29501
FIRST AMERICAN REAL ESTATE SOL
FIRST AMERICAN LOSS
ISC DIVISION
PO BOX 846077
DALLAS, TX 75284-6077

FIRST AMERICAN SMS
SMS BUSINESS SUPPORT SYSTEMS
BUSINESS SUPPORT
PO BOX 3708
ORANGE, CA 92857-0708

FIRST AMERICAN TITLE
COMPANY OF MARIN
781 LINCOLN AVE #120
SAN RAFAEL, CA 94901

FIRST AMERICAN TITLE
INSURANCE COMPANY
3866 S 74TH ST
TACOMA, WA 98409

FIRST AMERICAN TITLE
NATIONAL COMMERCIAL SVCS DIV
ATTN ACCTS RECEIVABLE
2101 4TH AVE #800
SEATTLE, WA 98121
FIRST AMERICAN TITLE
NATIONAL DEFAULT TITLE SVCS
FILE #50124
LOS ANGELES, CA 90074-0124
FIRST AMERICAN TITLE
17225 EL CAMINO REAL #100
HOUSTON, TX 77058
                                      Page 321
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FIRST AMERICAN TITLE CO
FIRST AMERICAN TITLE
LENDERS ADVANTAGE EQUITY DIV
PO BOX 15209
CLEVELAND, OH 44115-0209
FIRST AMERICAN TITLE CO
FIRST AMERICAN TITLE
27775 DIEHL RD
WARRENVILLE, IL 60555
FIRST AMERICAN TITLE CO INC
FIRST AMERICAN TITLE COMPANY
785 ALAMO DR #180
VACAVILLE, CA 95688

FIRST AMERICAN TITLE COMPANY
JP MORGAN CHASE
2710 MEDIA CENTER DR BLD 6 #120
ATTN FAT-SCD-001 BOX 100275
LOS ANGELES, CA 90065

FIRST AMERICAN TITLE COMPANY
FIRST AMERICAN TITLE
1 SOUTH CHURCH AVE #1900
TUCSON, AZ 85701

FIRST AMERICAN TITLE COMPANY
FIRST AMERICAN TITLE
DBA RYLAND TITLE COMPANY
1141 E MAIN ST #108 E
DUNDEE, IL 60118

FIRST AMERICAN TITLE COMPANY
FIRST AMERICAN TITLE
LENDERS ADVANTAGE A/R
OPTIMA INFORMATION SOLUTITONS
LOCKBOX FILE #050372
LOS ANGELES, CA 90074

FIRST AMERICAN TITLE COMPANY
FIRST AMERICAN TITLE CO
ATTENTION A/R
11175 AZUSA CT
RANCHO CUCAMONGA, CA 91730

FIRST AMERICAN TITLE COMPANY
OF EAST IDAHO
PO BOX 307
REXBURG, ID 83440
FIRST AMERICAN TITLE COMPANY
23 N MAIN ST
PO BOX 279
ANGELA CAMP, CA 95222

FIRST AMERICAN TITLE INS CO
FIRST AMERICAN TITLE
FIRST AMERICAN LENDERS
FILE #50499
LOS ANGELES, CA 90074-0499

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FIRST AMERICAN TITLE INS CO
FIRST AMERICAN TITLE
13450 W SUNRISE BLVD
SUNRISE, FL 33323
FIRST AMERICAN TITLE INS CO
FIRST AMERICAN TITLE CO
JACKSON - JOSEPHINE COUNTY
PO BOX 250
MEDFORD, OR 97501
FIRST AMERICAN TITLE INS OF OR
FIRST AMERICAN TITLE CO
DOUGLAS COUNTY #41 071
1700 NW GRADEN VALLEY BLVD #204
PO BOX 1325
ROSEBURG, OR 97470
FIRST AMERICAN TITLE INSURANCE
FIRST AMERICAN TITLE
8300 N MOPAC #150
AUSTIN, TX 78759

FIRST AMERICAN TITLE INSURANCE
FIRST AMERICAN TITLE
COMPANY
16 S MISSION
WENATCHEE, WA 98801

FIRST AMERICAN TITLE INSURANCE
FIRST AMERICAN TITLE
COMPANY
3859 CENTERVIEW DR #300
CHANTILLY, VA 20151

FIRST AMERICAN TITLE INSURANCE
FIRST AMERICAN TITLE
COMPANY OF OREGON
454 COMMERCIAL ST
COOS BAY, OR 97420

FIRST AMERICAN TITLE INSURANCE
FIRST AMERICAN TITLE
LENDERS ADVANTAGE
OPTIMA INFORMATION SOLUTIONS
LOCKBOX FILE #050372
LOS ANGELES, CA 90074

FIRST AMERICAN TITLE INSURANCE
FIRST AMERICAN TITLE CO
222 SW COLUMBIA ST #400
PORTLAND, OR 97201
FIRST AMERICAN TITLE INSURANCE
FIRST AMERICAN TITLE CO
COMPANY OF OREGON
ATTN ACCTS RECEIVABLE
1225 CRATER LAKE AVE 101
MEDFORD, OR 97504
FIRST AMERICAN TITLE INSURANCE
FIRST AMERICAN TITLE CO
COMPANY OF OREGON
                                       Page 323
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LINCOLN OFFICE WILLAMETTE DIV
1605 N COAST HWY
NEWPORT, OR 97365
FIRST AMERICAN TITLE INSURANCE
FIRST AMERICAN TITLE CO
COMPANY OF OREGON
395 SW BLUFF DR #100
BEND, OR 97702

FIRST AMERICAN TITLE INSURANCE
FIRST AMERICAN TITLE CO
COMPANY OF OREGON
600 COUNTRY CLUB RD
EUGENE, OR 97401

FIRST AMERICAN TITLE INSURANCE
FIRST AMERICAN TITLE CO
COMPANY OF OREGON
PO BOX 1750
BROOKINGS, OR 97415

FIRST AND GOAL INC
ATTN FRANK PUNJANI
800 OCCIDENTAL AVE S #100
SEATTLE, WA 98134
FIRST AND UNION
98 UNION ST #307
SEATTLE, WA 98101

FIRST ASSISTANT ATTORNEY GNRL
RICHARD J HUGHES JUSTICE CMPLX
25 MARKET ST
PO BOX 119
TRENTON, NJ 08625
FIRST BANC FUNDING COMPANY LLC
GC LENDING
1750 E MAIN ST
ST CHARLES, IL 60174

FIRST BANK OF HIGHLAND PARK
COMPUTER SALES INT'L ASSIGNMENT
PO BOX 1005
HIGHLAND PARK, IL 60035-1005

FIRST BEECH HILLS CORP
57 28 246TH CRESCENT
DOUGLASTON, NY 11362
FIRST CALL MORTGAGE COMPANY
100 BRICKSTONE SQ 5TH FLOOR
ANDOVER, MA 01810
FIRST CAPITAL GROUP DBA
FIRST FINANCIAL
11766 WILSHIRE BLVD #300
LOS ANGELES, CA 90025
FIRST CAPITAL HOME EQUITIES LLC
4146 LIBRARY RD #C
PITTSBURGH, PA 15234
                                       Page 324
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FIRST CAPITAL LENDING INC
2442 DUPONT DR
IRVINE, CA 92612
FIRST CAPITAL MORTGAGE LLC
AMERICAS FIRST CAPITAL MRTG LLC
4 WALTER E FORAN BLVD #201
FLEMINGTON, NJ 08822

FIRST CHOICE FINANCE SERVICE LP
210 MARSALA COURT
CANTON, MI 48187
FIRST COAST CHAPTER OF IAAP
INTERNATIONAL ASSOC OF
INTL ASC OF ADMIN PROFESSIONALS
PO BOX 19635
JACKSONVILLE, FL 32245

FIRST COAST PROMOTIONS
3948 SUNBEAM RD #5
JACKSONVILLE, FL 32257
FIRST COLORADO TITLE CO LLC
2760 29TH ST
BOULDER, CO 80301-1202

FIRST CONNECTICUT FINANCIAL LLC
79 BENSON RD
FAIRFIELD, CT 06824
FIRST CONSUMER DEBT CONSLD
DBA CREDIT COUNSLG OF AMERICA
PO BOX 854
SYOSSET, NY 11791
FIRST CONTACT INC
3000 CORPORATE EXCHANGE DR
COLUMBUS, OH 43231

FIRST CONTINENTAL MORTGAGE LLC
FIRST CONTINENTAL MORTGAGE
1108 KANE CONCOURSE #220
BAY HARBOR ISLAND, FL 33154
FIRST CORPORATE SEDANS INC
60 E 42ND ST #2424
NEW YORK, NY 10165-0011
FIRST COURIER & LOGISTICS
PO BOX 11267
PLEASANTON, CA 94588-2728

FIRST DATA CORPORATION
CASH TAX INC ACCTS RECEIVABLE
PO BOX 1832
ENGLEWOOD, CO 80150-1832
FIRST DATA PAYMENT SERVICES LLC
PO BOX 2127
ENGLEWOOD, CO 80150-2127

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FIRST DATA RESOURCES INC
FIRST DATA RESOURCES LLC
6902 PINE ST PS-26
OMAHA, NE 68106-2855
FIRST DATA RESOURCES INC
FIRST DATA RESOURCES LLC
PO BOX 3366
OMAHA, NE 68176-0400

FIRST DATA RESOURCES LLC
RON METSCHKE
6200 S QUEBEC ST
GREENWOOD VILLAGE, CO 80111

FIRST DATA RESOURCES LLC
PO BOX 3366
OMAHA, NE 68176-0400
FIRST DATA SOLUTIONS
PO BOX 8334
OMAHA, NE 68108-0334

FIRST FEDERAL BANK OF CA
12555 W JDFFRESON
LOS ANGELES, CA 90066
FIRST FLAGLER MORTGAGE &
FINANCECORP
1335 OLD DIXIE HWY #32B
LAKE PARK, FL 33403
FIRST IDAHO TITLE COMPANY
469 WASHINGTON ST
MONTPELIER, ID 83254

FIRST ILR LLC
HILTON BLOOMINGDALE
INDIAN LAKES RESORT
250 W SCHICK RD
BLOOMINGDALE, IL 60108

FIRST INDEPENDENT BANK
ATTN DOMESTIC COLLECTIONS
BANK OPERATIONS 1 2BOCSS
PO BOX 8904
VANCOUVER, WA 98668

FIRST INDEPENDENT MORTGAGE
COMPANY
11225 6TH ST #110
BELLEVUE, WA 98004
FIRST LINE PRINTING INC
PO BOX 15184
SPRING HILL, FL 34604-0114

FIRST MEDIATION CORPORATION
16501 VENTURA BLVD #606
ENCINO, CA 91436

FIRST MORTGAGE CORP OF CHICAGO
3124 IRVING PARK
                                      Page 326
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CHICAGO, IL 60618
FIRST NATIONAL BANK
IN FAIRFIELD
ATTN SANDY WORLEY
PO BOX 1007
FAIRFIELD, IA 52556
FIRST NATIONAL REALTORS MORTG
16430 VENTURA BLVD #100
ENCINO, CA 91436
FIRST NATIONS DVLPMT INSTITUTE
FIRST NATIONS DEVELOPMENT INST
703 THIRD AVE #B
LONGMONT, CO 80501

FIRST NET FINANCIAL INC
2105 BASCOM AVE STE 380
CAMPBELL, CA 95008
FIRST PREMIER BANK
ATTN CHAD MCKEE
PO BOX 5514
SIOUX FALLS, SD 57117-5514

FIRST PRIORITY FINANCIAL INC
158 LINWOOD PLAZA #308
FORT LEE, NJ 07024

FIRST SCRIPT NETWORK SERVICES
24160 NETWORK PLACE
CHICAGO, IL 60673-1241

FIRST SECURITY GROUP
DBA DALTON WHITFIELD BANK
ATTN GWEN HUGHES
PO BOX 1929
DALTON, GA 30722
FIRST SOURCE MORTGAGE
3790 VIA DE LA VALLE #108
DEL MAR, CA 92014

FIRST SOUTHERN HOME LENDING INC
FIRST NATIONAL HOME LENDING INC
8790 GOVERNORS HILL DR 207
CINCINNATI, OH 45249

FIRST SWITZERLAND FINANCIAL LTD
3205 CLARK ST
CHICAGO, IL 60657
FIRST UNIVERSITY MORTGAGE INC
4109 A BRIDGEPORT WAY W
UNIVERISTY PLACE, WA 98466

FIRSTDIGITAL
PO BOX 1499
SALT LAKE CITY, UT 84110-1499

FIRSTLINE MORTGAGE INC
3200 BRISTOL STE 750
                                       Page 327
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COSTA MESA, CA 92626
FIRSTSOURCE ADVANTAGE LLC
205 BRYANT WOODS SOUTH
AMHERST, NY 14228

FIS CREDIT SERVICES
FIDELITY NATIONAL INFORMATION
FILE 74543 8116
PO BOX 6000
SAN FRANCISCO, CA 94160
FISERV EFT
FISERV SOLUTIONS INC
PO BOX 5037-04
PORTLAND, OR 97208

FISERV INC
WALNUT CENTER
19935 E WALNUT DR N
WALNUT, CA 91795

FISERV LENDING SOLUTIONS
FISERV SOLUTIONS INC
DBA CREDSTAR
75 REMITTANCE DR #6970
CHICAGO, IL 60675-6970

FISERV LENDING SOLUTIONS INC
FISERV SOLUTIONS INC
DBA CREDSTAR
75 REMITTANCE DR #6977
CHICAGO, IL 60675-6977

FISERV SOLUTIONS INC
DBA INTEGRATED LOAN SERVICES
ACCTS RECEIVABLE
27 INWOOD RD
ROCKY HILL, CT 06067
FISERV SOLUTIONS INC
FISERV INSURANCE SOLUTIONS
75 REMITTANCE DR #6934
CHICAGO, IL 60675-6934
FISHER & PHILLIPS LLP
ATTORNEYS AT LAW
1500 RESURGENS PLAZA
945 E PACES FERRY RD
ATLANTA, GA 30326
FISHER SWEETBAUM LEVIN &
SANDS PC
1125 17TH ST #2100
DENVER, CO 80202
FISHNET SECURITY INC
PO BOX 411835
KANSAS CITY, MO 64141-1835
FITCH INC
FITCH RISK MANAGEMENT INC
GENERAL POST OFFICE
                                     Page 328
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 26858
NEW YORK, NY 10087-6858

FITCH INFORMATION INC
C/O HSBC BANK USA
GENERAL POST OFFICE
PO BOX 30057
NEW YORK, NY 10087-0057

FITCH RATINGS
FITCH RISK MANAGEMENT INC
ATTN DANIELLE QUINTERO
ONE STATE ST PLAZA 30TH FL
NEW YORK, NY 10004

FITZGERALD
FITZGERALD ELECTRO-MECHANICAL
ELECTRO-MECHANICAL CO INC
PO BOX 1109
OAKLEY, CA 94561
FIVE BORO FLAG
BANNER & SIGN INC
220-34 JAMAICA AVE
QUEENS VILLAGE, NY 11428

FIVE STAR DEBT MANAGEMENT SVCS
PO BOX 1218
SYOSSET, NY 11791

FIVE STAR PARKING
501 W C ST
SAN DIEGO, CA 92101

FIVE STAR SEALING & PAVING INC
3610 RIVIERA CIRCLE
BONITA SPRINGS, FL 34134

FJC
DBA MENTORING IN MEDICINE INC
111 E 210TH ST
ROSENTHAL SE ROOM 201
BRONX, NY 10467

FL DEPT OF ED
OFFICE OF STUDENT FIN ASST
PO BOX 277412
ATLANTA, GA 30384-7412

FL DEPT OF FINANCIAL SERVICES
BUREAU OF UNCLAIMED PROPERTY
200 E GAINES ST
LARSON BLDG
TALLAHASSEE, FL 32399-0358
FLAGG MANAGEMENT INC
353 LEXINGTON AVE #1002
NEW YORK, NY 10016
FLAGSHIP FINANCIAL GROUP LLC
251 RIVERPARK DR #100
PROVO, UT 84604

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FLAMM TEIBLOOM & STANKO LTD
20 N CLARK ST #2200
CHICAGO, IL 60602
FLAVIA LACOCO
430 LINWOOD AVE
MONROVIA, CA 91016
FLEET BUSINESS CREDIT, LLC
ONE S WACKER DR
CHICAGO, IL 60606
FLEETWOOD NEIGHBORHOOD ASSOC
PO BOX 307
MT VERNON, NY 10552

FLETCH FUNDING INC
MORTGAGE NET SEATTLE
1115 LAKE WSHNGTN BLVD SOUTH
SEATTLE, WA 98144
FLETCHER ENT LLC
FLETCHER ENTERPRISES LLC
DBA THE OFFICE PRODUCTS DEALER
1360 MCDERMOTT RD
KUNA, ID 83634
FLIGHT EXPRESS INC
PO BOX 1823
ORLANDO, FL 32802-1823

FLIK INTERNATIONAL CORP
PO BOX 91337
CHICAGO, IL 60693-1337

FLINN FERGUSON CORPORATE REAL E
Flinn Ferguson Corporate Real Estate
601 UNION ST #5151
SEATTLE, WA 98101
FLINT TONER
1911 FOOTHILL BLVD #210
LA VERNE, CA 91750

FLOORING RESOURCES CORPORATION
600 WEST PRATT BLVD
ELK GROVE VILLAGE, IL 60007

FLORENCE COUNTY PROGRESS INC
PO BOX 100549
FLORENCE, SC 29502-0549
FLORENCE FAMILY YMCA
PEE DEE INTERNATIONAL FESTIVAL
JOAN BILLHEIMER 1ST RELIANCE B
2170 W PALMETTO ST
FLORENCE, SC 29501

FLORENCE FLOWER SHOP INC
408 WOODLAND DR
FLORENCE, SC 29501
FLORENCE LITTLE THEATRE
                                       Page 330
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PO BOX 4029
FLORENCE, SC 29502

FLORENCE MIDDAY SERTOMA CLUB
PO BOX 5822
FLORENCE, SC 29502
FLORENCE MUSEUM
558 SPRUCE ST
FLORENCE, SC 29501
FLORENCE SCHOOL DISTRICT ONE
APTS INVITATIONAL
319 S DARGAN ST
FLORENCE, SC 29506

FLORENCE TENNIS ASSOCIATION
PO BOX 14035
FLORENCE, SC 29505

FLORIDA ALLIANCE FOR COMMUNITY
DEVELOPMENT CORPORATION INC
126 W ADAMS ST #601
JACKSONVILLE, FL 32202

FLORIDA ASSOCIATION
OF REALTORS
PO BOX 725025
ORLANDO, FL 32872-5025

FLORIDA ATTORNEY GENERAL'S OFFICE
ATTN BANKRUPTCY DEPARTMENT
PL 01 THE CAPITOL, 400 S. MONROE ST.
TALLAHASSEE
FL, 32399-1050 850-414-3300

FLORIDA BANKERS ASSOCIATION
PO BOX 11117
TALLAHASSEE, FL 32302-3117
FLORIDA BAR
651 E JEFFERSON ST
TALLAHASSEE, FL 32399

FLORIDA CHAPTER OF AMERICAN
ASSOCIATION OF BLACKS IN ENERGY
21 W CHURCH ST T16
JACKSONVILLE, FL 32202

FLORIDA COMMUNITY COLLEGE
AT JACKSONVILLE
STUDENT RECORDS
940 N MAIN ST
JACKSONVILLE, FL 32202
FLORIDA COMMUNITY LOAN FUND
3107 EDGEWATER DR #2
ORLANDO, FL 32804
FLORIDA CONSORTIUM OF
CHARTER SCHOOLS INC
1126 S FEDERAL HIGHWAY #170
FT LAUDERDALE, FL 33316
                                       Page 331
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FLORIDA COUNCIL ON ECONOMIC
EDUCATION INC
1211 N WEST SHORE BLVD #305
TAMPA, FL 33607

FLORIDA DEPARTMENT OF
COMMUNITY AFFAIRS
PO BOX 850001
ORLANDO, FL 32885-0149
FLORIDA DEPARTMENT OF REVENUE
5050 W TENNESSEE ST
TALLAHASSEE, FL 32399

FLORIDA DEPT OF AGRICULTURE
STATE OF FLORIDA
AND CONSUMER SERVICES
MAYO BUILDING RM 121
407 S CALHOUN ST
TALLAHASSEE, FL 32399-0800

FLORIDA DEPT OF FINANCIAL SVCS
PO BOX 850001
ORLANDO, FL 32885-0284

FLORIDA DEPT OF REVENUE
PO BOX 8045
TALLAHASSEE, FL 32314-8045

FLORIDA DEPT OF STATE
PO BOX 6327
TALLAHASSEE, FL 32314

FLORIDA DEPT. OF REVENUE GENERAL TAX ADMIN.
ATTN BANKRUPTCY DEPARTMENT
1379 BLOUNTSTOWN HIGHWAY
TALLAHASSEE
FL, 32304-2716 850-488-6800
FLORIDA EDUCATION FOUNDATION
325 W GAINES ST #501D
TALLAHASSEE, FL 32399-0400

FLORIDA HOME TRUST MORTGAGE INC
1961 NW 150 AVE #105
PEMBROKE PINES, FL 33027

FLORIDA HOUSING COALITION INC
1367 E LAFAYETTE ST #C
TALLAHASSEE, FL 32301
FLORIDA HOUSING FINANCE CORP
227 N BRONOUGH ST #5000
TALLAHASSEE, FL 32301
FLORIDA MEMORIAL UNIVERSITY
CAREER FAIR 2008
15800 NW 42 AVE
MIAMI GARDENS, FL 33054-6100

FLORIDA MINORITY COMMUNITY
REINVESTMENT COALITION
                                       Page 332
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
3308 PAXTON AVE
TAMPA, FL 33611

FLORIDA SUPPORTIVE
HOUSING COALITION
2868-1 MAHAN DR
TALLAHASSEE, FL 32308
FLORIDA SURPLUS LINES
SERVICE OFFICE
PO BOX 850001
ORLANDO, FL 32885-0287
FLORIDA TAXWATCH INC
106 N BRONOUGH ST
TALLAHASSEE, FL 32301-7723

FLORIDA TREND
PO BOX 1997
MARION, OH 43306-8097
FLORIDAFIRST
5901 MIAMI LAKES DR E
MIAMI LAKES, FL 33014

FLOWER BASKETS BY BECKY
204 RUSSELL ST
DARLINGTON, SC 29532

FLOWER HOLDINGS
DBA CARITHERS FLOWER SHOP
PO BOX 6529
MARIETTA, GA 30065

FLOWER IN POT
218 N TOM GASQUE AVE
MARION, SC 29571

FLOWERS & CO INC
PO BOX 87068
HOUSTON, TX 77287-7068

FLOWERS N THINGS
WEDDING RAPTURE
69 SMITH ST
PERTH AMBOY, NJ 08861

FLOYD H GARDNER
3418 KEOTA DR
ORLANDO, FL 32839-8722
FLSDU
PO BOX 8500
TALLAHASSEE, FL 32314
FLUDDS SUMMERSETT SECURITY INC
1212 W EVANS ST
FLORENCE, SC 29501-3322
FLX COURIER SYSTEMS
FLIGHT EXPRESS INC
PO BOX 3308
ORLANDO, FL 32802-3308
                                      Page 333
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
FM GLOBAL
P.O. BOX 7500
JOHNSTON, RI 02910
FM IDAHO CO LLC
DBA IMPACT RADIO GROUP
TESTER BROADCASTING GROUP
5660 FRANKLIN RD #200
NAMPA, ID 83687
FM MORTGAGE INC
1227 VALLEY BLVD #108
ALHAMBRA, CA 91803

FMA ALLIANCE LTD
11811 NORTH FREEWAY #900
HOUSTON, TX 77060
FNC
PO BOX 1000
DEPT 131
MEMPHIS, TN 38148-0131
FNMA
FANNIE MAE
FANNIE MAE
950 E PACES FERRY RD #1900
ATLANTA, GA 30326

FOCUSFRAME INC
DEPT CH 22561
PASADENA, CA 91185-2561

FOCUSVISION WORLDWIDE INC
1266 E MAIN ST
STAMFORD, CT 06902

FOELL ELDER
3818 E LA PALMA AVE
ANAHEIM, CA 92807

FOLDEN ENTERPRISES INC
2111 LINCOLN AVE
SAN JOSE, CA 95125
FOLEY & LARDNER
FOLEY & LARDNER LLP
US BANK CENTER
777 E WISCONSIN AVE
MILWAUKEE, WI 53202-5306
FOLEY & LARDNER
FOLEY & LARDNER LLP
321 N CLARK ST #2800
CHICAGO, IL 60610

FOLEY & LARDNER LLP
PO BOX 2193
ORLANDO, FL 32802-2193

FOLEY PUBLICATIONS INC
1720 S BELLAIRE ST #601
                                    Page 334
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DENVER, CO 80222
FOLLIERI CAPITAL LLC
350 PARK AVE 25TH FL
NEW YORK, NY 10022

FOLSOM CHAMBER OF COMMERCE
200 WOOL ST
FOLSOM, CA 95630

FONG BROTHERS PRINTING INC
320 VALLEY DR
BRISBANE, CA 94005
FONTANA CHAMBER OF COMMERCE
8491 SIERRA AVE
FONTANA, CA 92335
FONTANA UNIFIED SCHOOL DISTRICT
15551 SUMMIT AVE
FONTANA, CA 92336

FONTANA UNIFIED SCHOOL DISTRICT
9680 CITRUS AVE
FONTANA, CA 92335

FONTANA UNIFIED SCHOOL DISTRICT
9680 CITRUS AVE
FONTANA, CA 92335

FOOD AND FINANCE HIGH SCHOOL
525 W 50TH ST
NEW YORK CITY, NY 10019

FOOD BANK FOR THE NEW YORK
CITY FOOD FOR SURVIVAL
90 JOHN ST #702
NEW YORK, NY 10038

FOOD FETISH
10650 BURBANK BLVD
N HOLLYWOOD, CA 91601
FOOD FOR THE POOR INC
6401 LYONS RD
COCONUT REEK, FL 33073

FOOTBALL NORTHWEST LLC
DBA SEATTLE SEAHAWKS
11220 NE 53RD ST
KIRKLAND, WA 98033
FOOTHILL APARTMENT ASSOC
2500 E FOOTHILL BLVD #206
PASADENA, CA 91107
FOOTHILL POST&SHIP
26741 PORTOLA PKWY #1E
FOOTHILL RANCH, CA 92610-1763
FORDHAM UNIVERSITY
ATHLETIC DEPARTMENT
441 EAST FORDHAM ROAD
                                       Page 335
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BRONX, NY 10458
FORE CURE INC
3003 S ERIN DR
OAKTON, VA 22124

FORENSIC ANALYTICAL CONSULTING
SERVICES INC
PO BOX 49177
SAN JOSE, CA 95161-9177
FORESEE RESULTS INC
625 AVIS DR #200
ANN ARBOR, MI 48108

FOREST HILLS JEWISH CENTER
106-06 QUEENS BLVD
FOREST HILLS, NY 11375
FOREVER GREEN INTERIORS INC
PO BOX 8075
MEDFORD, OR 97504

FORM4 ARCHITECTURE INC
126 POST ST 3RD FL
SAN FRANCISCO, CA 94108-4704
FOROUGH A TAYERI
4168 FULTON
SHERMAN OAKS, CA 91423

FORREST L SARTAIN
ROTHSCHILD & ASSOCIATES PLLC
1222 16TH AVE S #120
NASHVILLE, TN 37212-2926

FORREST M BAILEY
4000 MONTGOMERY DR #F
SANTA ROSA, CA 95405
FORREST M BAILEY
4000 MONTGOMERY DR #F
SANTA ROSA, CA 95405

FORREST R CHISM
C III MORTGAGE CO
500 CARSON PLAZA DR #118
CARSON, CA 90746

FORRESTER RESEARCH INC
DEPT CH 10334
PALATINE, IL 60055-0334
FORSEE RESULTS INC
[Address to Be Provided]
FORSTER & GARBUS
PO BOX 9030
500 BI COUNTY BLVD #300
FARMINGDALE, NY 11735-3931

FORSYTH COUNTY TAX COMMISSIONER
BOBBY GENE GILBERT
                                       Page 336
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110 E MAIN ST #130
CUMMING, GA 30040

FORT BEND INDEPENDENT
FORT BEND INDEPENDENT SCHL DIST
SCHOOL DISTRICT
16431 LEXINGTON BLVD
SUGARLAND, TX 77479

FORT BEND INDEPENDENT SCHL DIST
DRABEK ELEMENTARY SCHOOL
11325 LAKE WOODBRIDGE DR
SUGARLAND, TX 77498
FORT COLLINS
CHAMBER OF COMMERCE
225 S MELDRUM ST
FT COLLINS, CO 80521
FORT LEE EDUCATION FOUNDATION
210 WHITEMAN ST
FORT LEE, NJ 07024

FORT WORTH CHAPTER TSCPA
CONTINUING EDUCATION CORP
1701 RIVER RUN #607
FORT WORTH, TX 76107

FORT WORTH HISPANIC
CHAMBER OF COMMERCE
C/O MEMBERSHIP
1327 N MAIN ST
FORT WORTH, TX 76106-8576

FORT WORTH INDEPENDENT SCH DIST
FORT WORTH INDEPENDENT SCHL DIS
DBA WEST CREEK ELEMENTARY SCH
3401 WALTON
FORT WORTH, TX 76133
FORTENBERRY LAMBERT INC
6923 SHANNON WILLOW RD #400
CHARLOTTE, NC 28226

FORTENT AMERICAS INC
SEARCHSPACE CORP
99 PARK AVE 11TH FL
NEW YORK, NY 10016

FORTUNA ENTERPRISES LP
DBA LA AIRPORT HILTON
5711 W CENTURY BLVD
LOS ANGELES, CA 90045

FORTY NINER SHOPS INC
6049 E 7TH ST
LONG BEACH, CA 90840

FORUM SYSTEMS INC
5 BURLINGTON WOODS DR #205
BURLINGTON, MA 01803
FOSTER PEPPER PLLC
                                       Page 337
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1111 3RD AVE #3400
SEATTLE, WA 98101

FOSTER PEPPER TOOZE LLP
601 SW 2ND AVE #1800
PORTLAND, OR 97204-3171
FOTOART
760 W 16TH ST #D
COSTA MESA, CA 92627
FOUNDATION FOR AFRICAN
AMERICAN ART
PO BOX 150153
DALLAS, TX 75315

FOUNDATION FOR CLOVIS SCHOOLS
1450 E HERNODN
CLOVIS, CA 93612

FOUNDATION OF WEST
CHESTER CLUB MEN INC
36 WARWICK RD
BRONXVILLE, NY 10708

FOUNTAIN COUNTY RECORDER'S
FOUNTAIN COUNTY RECORDER&#39S
OFFICE
301 4TH ST
PO BOX 183
COVINGTON, IN 47932
FOUNTAIN VALLEY
CHAMBER OF COMMERCE
11100 WARNER #204
FOUNTAIN VALLEY, CA 92708
FOUR CORNERS REALTY FINANCIAL
161 FASHION LN # 101
TUSTIN, CA 92780

FOUR UNLIKELY FRIENDS
DBA SWIRLZ CUPCAKES
705 W BELDEN
CHICAGO, IL 60614
FOX ENTERTAINMENT GROUP INC
20TH CENTURY FOX LICENSING
2121 AVENUE OF STARS #430
LOS ANGELES, CA 90067
FOX JOHNS LAZAR PEKIN
TREADGOLD & WEXLER
525 B ST #1500
SAN DIEGO, CA 92101
FOXX BUILDING SERVICES INC
1240 N JEFFERSON ST #M
ANAHEIM, CA 92807-1632
FRAGOMEN DELREY BERNSEN & LOEWY
99 WOOD AVENUE SOUTH
PO BOX 4110
                                       Page 338
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ISELIN, NJ 08830
FRAMEWORK INC
[Address to Be Provided]
FRAMEWORKS COMMUNITY DVLPMT
CORPORATION INC
701 TILLERY ST #A-7B BOX 15
AUSTIN, TX 78702

FRANCE PUBLICATIONS INC
DBA S E REAL ESTATE BUSINESS
TWO SECURITIES CENTRE
3500 PIEDMONT ROAD #415
ATLANTA, GA 30305

FRANCE PUBLICATIONS INC
DBA WESTERN REAL ESTE BUSINES
TWO SECURITITES CENTRE
3500 PIEDMONT RD #415
ATLANTA, GA 30305

FRANCE PUBLICATIONS INC
HEARTLAND REAL ESTATE BUSINESS
TWO SECURITIES CENTRE
3500 PIEDMONT RD #415
ATLANTA, GA 30305

FRANCE PUBLICATIONS INC
3500 PIEDMONT RD #415
ATLANTA, GA 30305
FRANCES GOLDOFSKY
IRA TOKAYER AS ATTORNEY FOR
IRVING AND FRANCES GOLDOFSKY
601 SW 2ND ANE #1940
PORTLAND, OR 97204

FRANCHISE TAX BOARD
COURT ORDERED DEBT COLLECTIONS
PO BOX 1328
RANCHO CORDOVA, CA 95741-1328
FRANCHISE TAX BOARD
RANCHO CORDOVA CONTRACT ADMIN
PO BOX 1237
RANCHO CORDOVA, CA 95741-1237

FRANCHISE TAX BOARD
VEHICLE REGISTRATION COLLECTION
PO BOX 419001
RANCHO CORDOVA, CA 95741-9001
FRANCHISE TAX BOARD
300 S SPRING #5704
LOS ANGELES, CA 90013-1204

FRANCHISE TAX BOARD
PO BOX 2952
CASE# 303489877 SS# 303489877
SACRAMENTO, CA 95812-9974
FRANCHISE TAX BOARD SACRAMENTO
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STATE OF CALIFORNIA
PO BOX 942867
SACRAMENTO, CA 94267-2021
FRANCIS & MAILMAN
FRANCIS & MAILMAN PC
LAND TITLE BLDG 19TH FL
100 S BROAD ST
PHILADELPHIA, PA 19110

FRANCIS MARION UNIVERSITY FNDTN
FRANCIS MARION COLLEGE FNDTN
PO BOX 100547
FLORENCE, SC 29501-0547

FRANCISCO R ROMERO
6226 PASSEO ENCANTADA
CAMARILLO, CA 93012
FRANCISCO REYES AND
LETICIA REYES
1037 E 220TH ST
CARSON, CA 90745
FRANCOTYP POSTALIA INC
DEPT 4272
CAROL STREAM, IL 60122-4272

FRANK A KARWOSKI
3308 HORSESHOE DR
LONGWOOD, FL 32779-5820
FRANK DURHAM
78 CLINTON AVE
BROOKLYN, NY 11205

FRANK EDWARDS
11 SW 6TH ST
DELRAY BEACH, FL 33444
FRANK FREED SUBIT & THOMAS LLP
705 2ND AVE #1200
SEATTLE, WA 98104

FRANK N MAGID ASSOCIATES INC
NW 5535
PO BOX 1450
MINNEAPOLIS, MN 55485-5535

FRANK VELLA, JR
[Address Information Redacted]
FRANK W. BAIER
[Address Information Redacted]
FRANKEL & TENNANT
765 BAKER ST
COSTA MESA, CA 92626
FRANKLIN B REYNOLDS AND DAVID
AND WENDY HAFNER
389 MAIN ST
WASHINGTON, VA 22747
                                       Page 340
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FRANKLIN COUNTU REGISTER OF
DEEDS
140 MAIN ST #5
FARMINGTON, ME 04938

FRANKLIN COUNTY REGISTER
OF DEEDS
315 S MAIN ST
OTTAWA, KS 66067
FRANKLIN COVEY
PO BOX 25127
SALT LAKE CITY, UT 84125-0127

FRANKLIN COVEY
PO BOX 31456
SALT LAKE CITY, UT 84131-0456
FRANKLIN TOWNSHIP
CHAMBER OF COMMERCE
675 FRANKLIN BLVD
SOMERSET, NJ 08873
FRANKLIN W SHOICHET
ONE UNION SQUARE
600 UNIVERSITY ST #2100
SEATTLE, WA 98101

FRANKS NURSERIES & FLOWERS LLC
9411 RESEDA BLVD
NORTHRIDGE, CA 91324

FRANZEN AND SALZANO PC
40 TECHNOLOGY PKWY S #202
NORCROSS, GA 30092-2906
FRED A DREGER
DBA FRED A DREGER & COMPANY
592 S BRYAN ST
ELMHURST, IL 60126

FRED H BECK & ASSOCIATES LLC
8924 BLAKENEY PROFESSIONAL DR
CHARLOTTE, NC 28277
FRED KENST
1702 MARINER WAY
TARPON SPRINGS, FL 34689
FRED KINDER
2814 PANORAMA DR
CARROLLTON, TX 75007

FRED LAMBRIGHT
DBA FRED LAMBRIGHT CONSULTING
6114 LA SALLE AVE
OAKLAND, CA 94611
FREDDIE MAC
BANK ONE NA
ATTN FREDDIE MAC 28103
1 BANK ONE PLAZA
                                      Page 341
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CHICAGO, IL 60673
FREDDIE MAC
8250 JONES BRANCH DR
MCLEAN, VA 22102

FREDERIC W COOK & CO INC
90 PARK AVE
NEW YORK, NY 10016

FREDERICK E BUCK JR
GRAPHIC PARTNERS OF TEXAS
PO BOX 260915
PLANO, TX 75026-0915

FREDERICK SANFORD
12349 OLIVA RD
SAN DIEGO, CA 92128-3121
FREE & CLEAR INC
PO BOX 49324
SAN JOSE, CA 95161

FREEDMAN ANSELMO LINDBERG
& RAPPE LLC
PO BOX 3228
NAPERVILLE, IL 60566-7228

FREEDOM COMMUNICATIONS INC
FREEDOM NEWSPAPERS INC
DBA THE ORANGE COUNTY REGISTER
PO BOX 7154
PASADENA, CA 91109-7154

FREEDOM DEBT MANAGEMENT
941A CLINT MOORE RD
BOCA RATON, FL 33487

FREEDOM FINANCIAL MORTGAGE
LENDING LLC
8145 SAGINAW ST # B
GRAND BLANC, MI 48439
FREEDOM GRAPHIC SYSTEMS INC
UNITED STATES POSTAL SERVICE
1101 S JANESVILLE ST
PO BOX 246
MILTON, WI 53563-0246

FREEDOM MORTGAGE CORPORATION
907 PLEASANT VLY AVE #3
MOUNT LAUREL, NJ 08054
FREEDOM NEWSPAPERS INC
DBA THE ORANGE COUNTY REGISTER
625 N GRAND AVE
SANTA ANA, CA 92701

FREEDOM SPEAKERS & TRAINERS
2424 AMERICAN LN
MADISON, WI 53704
FREEDOMVOICE SYSTEMS
                                      Page 342
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169 SAXONY RD #206
ENCINITAS, CA 92024

FREELAND CHAMBER OF COMMERCE
PO BOX 361
FREELAND, WA 98249
FREEMAN DECORATING SERVICES INC
FREEMAN COMPANIES
PO BOX 650036
DALLAS, TX 75265-0036
FREEPORT FARMS DEVELOPMENT CO
3126 O ST
SACRAMENTO, CA 95816

FREIDOUN BOLDAJI
LIEN RELEASE LLC
2740 CHAIN BRIDGE RD
VIENNA, VA 22181
FREIHEIT & HO ARCHITECTS INC
10230 NE POINTS DRIVE #300
KIRKLAND, WA 98033

FREIRE & GONZALEZ PA
1800 W 49TH ST #311
HIALEAH, FL 33012

FREMONT CHAMBER OF COMMERCE
39488 STEVENSON PL #100
FREMONT, CA 94539

FRESH AIR FUND
633 3RD AVE
NEW YORK, NY 10017
FRESH AIRE AIR FRESHENERS
19363 SW WILLAMETTE DR #162
WEST LINN, OR 97068

FRESH SPIRIT WELLNESS FOR
WOMEN
5100 WESTHEIMER #200
HOUSTON, TX 77056
FRESNO AREA HISPANIC FOUNDATION
1028 N FULTON AVE #101
FRESNO, CA 93728
FRESNO ASSN OF REALTORS
6720 N WEST AVE
FRESNO, CA 93711

FRESNO COUNTY
FRESNO COUNTY RECORDER
2221 KERN ST
FRESNO, CA 93721
FRESNO DEPART OF CHILD SUPPT
PO BOX 24003
FRESNO, CA 93779-4003

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
FRESNO OXYGEN & WELDING SUPPLY
PO BOX 1666
FRESNO, CA 93717
FRESNO URBAN NEIGHBORHOOD
DEVELOPMENT CORP
1401 DIVISADERO
FRESNO, CA 93721

FRIEDMAN & MACFADYEN
210 E REDWOOD ST #400
BALTIMORE, MD 21202-3399
FRIENDS IT IS
18010 SAN FERNANDO MISSION BLVD
GRANADA HILLS, CA 91344

FRIENDS OF LEAD
FREE CHILDREN INC
301 WEST 107TH ST #4E
NEW YORK, NY 10025

FRIENDS OF THE FOUNDATION OF
THE CA AFRICAN AMERICAN MUSEUM
600 STATE DR
EXPOSITION PARK
LOS ANGELES, CA 90037

FRIENDS OF THE LEVITT PAVILION
87 N RAYMOND AVE #250
PASSADENA, CA 91103
FRIENDS OF THE MANUAL
ARTS ACADEMIES
523 W 6TH ST #1134
LOS ANGELES, CA 90014
FRIENDS OF THIRD PLACE COMMONS
PMB 309 17171 BOTHELL WY NE
LAKE FOREST PARK, WA 98155

FROBOESE REALTY GROUP
1667 S MISSION RD #H
FALLBROOK, CA 92028-4114
FROHNMAYER DEATHERAGE
PRATT JAMIESON & CLARKE PC
2592 E BARNETT RD
MEDFORD, OR 97504-8345
FRONTLINE PHOTOGRAPHY LLC
3510 FIRST AVE NW
SEATTLE, WA 98107

FROST BROWN TODD LLC
PO BOX 70087
LOUISVILLE, KY 40270-0087

FROST NATIONAL BANK
CENTRAL ADJUSTMENT TPC
ATTN VICKI BALL
2735 AUSTIN HWY
SAN ANTONIO, TX 78218
                                       Page 344
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FROST VALLEY YMCA
40 S FULLERTON AVE
MONTCLAIR, NJ 07042
FS ISAC
PO BOX 710780
COLUMBUS, OH 43271-0780

FSGBANK NA
FIRST SECURITY GROUP
ATTN CINDY SAIN
4535 HWY 58
CHATTANOOGA, TN 37416

FSH COMMUNICATIONS LLC
PO BOX 5743
CAROL STREAM, IL 60197-5743
FT INTERACTIVE DATA CORP
PO BOX 98616
CHICAGO, IL 60693

FT PUBLICATIONS INC DBA
FINANCIAL TIMES
PO BOX 1627
NEWBURGH, NY 12551-1627

FTB
7575 METROPOLITAN DR #201
SAN DIEGO, CA 92108-4402
FTE LLC
DBA ALDEN MANAGEMENT GROUP
150 PAULARINO AVE #194
COSTA MESA, CA 92626
FUERZA EN DIVERSIDAD
353 E EAST 10TH ST PMB 518
GILROY, CA 95020

FUJITSU COMPUTER
PRODUCTS OF AMERICA INC
C/O BANK OF AMERICA
PO BOX 841850
DALLAS, TX 75284-1850

FUJITSU SOFTWARE TECHNOLOGY CORPORATION
[Address to Be Provided]
FULCRUM ENVIRONMENTAL CONSULTNG
207 W BOONE AVE
SPOKANE, WA 99201

FULCRUM FOUNDATION
710 9TH AVE
SEATTLE, WA 98104

FULE OYEFULE
1959 CLOVERFIELD #226
SANTA MONICA, CA 90404
FULTON COUNTY
                                       Page 345
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BUSINESS LICENSE TAX
141 PRYOR ST #1085
ATLANTA, GA 30303
FULTON COUNTY CLERK
136 PRYOR ST SW
ATLANTA, GA 30303
FULTON COUNTY POLICE DEPARTMENT
FULTON COUNTY CLERK OF SUPERIOR COURT
130 PEACHTREE ST SW
C/O ALARM UNIT
ATLANTA, GA 30303
FULTON COUNTY SUPERIOR COURT
136 PRYOR ST SW
RM TG200
ATLANTA, GA 30303
FULTON NOSTRAND UNITED
MERCHANTS ASSOC
1368 FULTON ST 5TH FLOOR
BROOKLYN, NY 11216
FULTON RIVER DISTRICT ASSOC
PO BOX 617611
CHICAGO, IL 60661

FUN SERVICES INC
12345 HURON ST
WESTMINSTER, CO 80234
FUNASIA LP
187 GEORGIAN DR
COPPELL, TX 75019

FUND FOR COLORADOS FUTURE
475 7TH ST #1040
DENVER, CO 80202
FUNDTECH CORPORATION
30 MONTGOMERY ST #501
JERSEY CITY, NJ 07302

FUSE EVENTS
1435 MEADE AVE
SAN DIEGO, CA 92116

FUTURE LEADERS INSTITUTE
1201 MARTIN LUTHER KING JR WAY
OAKLAND, CA 94612
FUTURE LEADERS OF AMERICA
702 COUNTY SQUARE DR #103
VENTURA, CA 93003
G FRANKLIN LEMOND JR PC
AS ATTORNEYS FOR
MATTHEW & JESSICA KLASE
1900 THE EXCHANGE SE #480
ATLANTA, GA 30339
G MITCHELL OWENS MAI RM
                                        Page 346
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21151 PRAIRIE VIEW LANE
TRABUCO CANYON, CA 92679

G NEIL
PO BOX 451179
SUNRISE, FL 33345-1179
GABLE & GOTWALS
A PROFESSIONAL CORP
100 W 5TH ST #1100
TULSA, OK 74103-4217
GAIL S SHELLY
14911 MOORPARK ST #3
SHERMAN OAKS, CA 91403

GAIL SLOAN
[Address to Be Provided]
GAINES GRUNER PONZINI & NOVICK
FBO ESTATE OF T NEALON
ONE NORTH BROADWAY #1201
WHITE PLAINS, NY 10601
GALATA INC
916 N FLAGLER AVE
HOMESTEAD, FL 33030

GALLERY SYSTEMS INC
261 W 35TH ST
NEW YORK, NY 10001-1902
GALLIVAN GALLIVAN & OMELIA LLC
101 YESLER WY #507
SEATTLE, WA 98104

GALLOWAY RESEARCH SERVICES INC
4751 HAMILTON WOLF #100
SAN ANTONIO, TX 78229
GALVESTON COUNTY CLERKS OFFICE
600 59TH ST #2001 2ND FL
GALVESTON, TX 77551

GAMACHE ENTERPRISES INC
544 29TH AVE
SAN FRANCISCO, CA 94121

GAMER PUBLISHING GROUP
JOURNAL REGISTER EAST INC DBA
PO BOX 8715
NEW HAVEN, CT 06531-0715
GANNETT NJ NEWSPAPERS
3601 HWY 66
BOX 1550
NEPTUNE, NJ 07754-1556

GANNON GRAPHICS INC
3333 POST RD
WARWICK, RI 02886
GANZ WOLKENBREIT & FREIDMAN LLP
                                       Page 347
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ONE COLUMBIA CIRCLE
ALBANY, NY 12203

GARBAN CORPORATES
HARBORSIDE FINANCIAL CENTER
1100 PLAZA 5 12TH FL
JERSEY ITY, NJ 07311-4996
GARBETT BRONSTEIN STIPHANY
ALLEN & ROZA
80 SW 8TH ST #3100
MIAMI, FL 33130
GARDEN GROVE
CHAMBER OF COMMERCE
12866 MAIN ST #102
GARDEN GROVE, CA 92840
GARDEN GROVE UNIFIED S D
GARDEN GROVE UNIFIED SCHOOL
PETERS 4-6 ELEMENTARY SCHOOL
13200 NEWHOPE
GARDEN GROVE, CA 92843
GARDENA POLICE DEPARTMENT
ATTN ALARM PERMITS
1718 W 162ND ST
GARDENA, CA 90247

GARDENA POLICE FOUNDATION
PO BOX 3069
GARDENA, CA 90247

GARDERE WYNNE SEWELL LLP
1000 LOUISIANA #3400
HOUSTON, TX 77002-5011
GARGIULOS RESTAURANT
2911 W 15TH ST
BROOKLYN, NY 11224

GARLAND CHAMBER OF COMMERCE
914 S GARLAND AVE
GARLAND, TX 75040
GARLAND ISD BEST FOUNDATION
501 S JUPITER RD
GARLAND, TX 75042

GARLINGTON LOHN & ROBINSON PLLP
199 W PINE
PO BOX 7909
MISSOULA, MT 59807-7909

GARMENT WORKER CENTER
1250 S LOS ANGELES ST #213
LOS ANGELES, CA 90015

GARTH J RIDGE TRUST ACCT
251 FLORIDA ST #301
BATON ROUGE, LA 70801
GARTHCHESTER REALTY LTD
                                       Page 348
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209 GARTH RD
SCARSDALE, NY 10583

GARTNER GROUP INC DBA
COMPUTER FINANCIAL CONSULT INC
PO BOX 911319
DALLAS, TX 75391-1319
GARVEY SCHOOL DISTRICT
ARLENE BITELY ELEMENTARY SCHOOL
7501 E FERN ST
ROSEMEAD, CA 91770
GARVEY SCHOOL DISTRICT
ELEDRIGE RICE ELEMENTARY SCHOOL
2150 N ANGELUS AVE
ROSEMEAD, CA 91770
GARVEY SCHUBERT BARER
1191 2ND AVE 18TH FL
SEATTLE, WA 98101-2939

GARY BROWN & ASSOCIATES INC
1313 CAMPBELL RD BLDG B
HOUSTON, TX 77055

GARY COULOMBE
WEEKS AND ASSOCIATES TRUSTEE
2103 MAIN ST
STRATFORD, CT 06615

GARY DON CRUMM
DBA CORPORATE FUNDAMENTALS
15031 S 25TH ST
PHOENIX, AZ 85048

GARY L FINLEY
FINLEY &ASSOCIATES
PO BOX 860362
PLANO, TX 75086-0362

GARY LEE ROPER
PO BOX 6
WHITTIER, CA 90212
GARY R BEVERIDGE
755 PARADISO CT
SOQUEL, CA 95073

GASKA INC
100 W BROADWAY #950
GLENDALE, CA 91210
GATEWAY AREA BUSINESS ASSN
11124 NE HALSEY
PMB 478
PORTLAND, OR 97220

GATEWAY CITIES PARTNERSHIP INC
8303 ALONDRA BLVD #B
PARAMOUNT, CA 90723
GATEWAY EDUCATIONAL SERVICES
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PO BOX 17870
HONOLULU, HI 96817

GATEWAY LENDING INC
113 MAIN ST #223
ALHAMBRA, CA 91801
GATEWAY MORTGAGE CORP
1707 QUINCY AVE #141
NAPERVILLE, IL 60540
GAVIN N LEWIS
THE LAW OFFICES OF
GAVIN N LEWIS
1612 RAVENWOOD COURT
ALEDO, TX 76008

GAY & LESBIAN
ELDER HOUSING CORPORATION
1602 N IVAR AVE
HOLLYWOOD, CA 90028

GAY LESBIAN BISEXUAL &
PRIDE FEST
TRANSGENDER COMM CTR OF CO
PO BOX 9798
DENVER, CO 80209

GAY MENS HEALTH CRISIS INC
119 W 24TH ST
NEW YORK, NY 10011-1913
GAYDOS CHURNSIDE & BALTHROP
440 E BROADWAY #300
PO BOX 1499
EUGENE, OR 97440
GAZELLE COURT REPORTING SRVCS
2807 ALLEN ST #727
DALLAS, TX 75204

GAZETTE NEWSPAPERS INC
5225 E 2ND ST
LONG BEACH, CA 90803
GBH COMMUNICATIONS INC
PO BOX 1110
GLENDALE, CA 91209

GC GLOBAL LLC
25 8TH AVE
BROOKLYN, NY 11217
GC SERVICES
GC SERVICES LP
PO BOX 32500
COLUMBUS, OH 43232-0500

GC SERVICES LP
6330 GULFTON
HOUSTON, TX 77081
GCR CUSTOM RESEARCH LLC
                                     Page 350
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
308 SW 1ST AVE 4TH FL
PORTLAND, OR 97204-3400

GDH FINANCIAL CORP
152 CARRILLO ST
SANTA BARBARA, CA 93101
GE CAPITAL
PO BOX 31001-0273
PASADENA, CA 91110-0273
GE CAPITAL INFO TECH SOLUTIONS
GE CAPITAL INFORMATION TECH
IKON FINANCIAL SERVICES
PO BOX 650073
DALLAS, TX 75265-0073

GE IKON FINANCIAL SERVICES
IOS CAPITAL
PO BOX 536732
ATLANTA, GA 30353-6732

GE INFORMATION SERVICES
DBA GXS
PO BOX 640371
PITTSBURGH, PA 15264-0371
GE MORTGAGE INSURANCE
GENWORTH FINANCIAL SERVICES INC
PO BOX 277232
ATLANTA, GA 30384-7232
GEAR 4 SCHOOLS
1525 CAPITAL DR #103
CARROLLTON, TX 75006

GECF LOAN LEASE HOLDING INC
SHARP ELECTRONICS FINANCIAL SE
PO BOX 642333
PITTSBURGH, PA 15264-2333

GEMSTONE SYSTEMS INC
1260 NW WATERHOUSE AVE #200
BEAVERTON, OR 97006
GENE DOELING TRUSTEE # 07 60567
PO BOX 423
FARGO, ND 58107

GENE KOHUT TRUSTEE 07-45275
21 KERCHEVAL AVE #285
GROSSE POINTE FARMS, MI 48236
GENE LITLE
CAPITOL TRUST MORTGAGE
155 E CAMPBELL AVE #101
CAMPBELL, CA 95008

GENERAL CONSTRUCTION SERVICES L
GENERAL CONSTRUCTION SERVICES LLC
118 ASTER TR
SAN ANTONIO, TX 78256

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GENERAL ELECTRIC CAPITAL COMPANY
500 W MONROE ST
CHICAGO, IL 60661
GENERAL ELECTRIC CAPITAL CORPORATION
10 RIVERVIEW DR
DANBURY, CT 06810
GENERAL MICROSYSTEMS INC
3220 118TH AVE SE #100
BELLEVUE, WA 98005-4198
GENERAL PARTNER BANKRUPTCY
RESEARCH CENTER
LAW OFFICES OF MICHAEL J BROOKS
10 NW LEJUENE RD #620
MIAMI, FL 33126
GENERAL REVENUE CORPORATION
PO BOX 495999-1AWG
CINCINNATI, OH 45249-5999

GENERAL REVENUE CORPORATION AWG
PO BOX 495930
CINCINNATI, OH 45249-5930

GENERATIONE CONSULTING LLC
GENERATIONE TECHNOLOGIES LLC
2607 W 22ND ST #47
OAK BROOK, IL 60523

GENESIS COMPUTER
CONSULTANTS INC
32 MORRIS RD
TAPPAN, NY 10983

GENESIS FINANCIAL MANAGEMENT
14025 RIVEREDGE DR #505
TAMPA, FL 33637
GENESIS HOUSING DEVT CORP
3763 S WABASH
CHICAGO, IL 60653

GENESIS TECHNOLOGIES
2942 MACARTHUR BLVD
NORTHBROOK, IL 60062-2005

GENESSEE ORLEANS COUNCIL ON
ALCOHOLISM & SUBSTANCE ABUSE
438 W AVE
ALBION, NY 14411
GENEVIEVE DUSING
15903 CALLE MONTANA
GREEN VALLEY, CA 91390-1016

GENPACT INTERNATIONAL INC
ATTN GAURAV SHARMA
40 OLD RIDGEBURY RD 3RD FL
DANBURY, CT 06810
GENTRY MAGAZINE
                                       Page 352
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18 MEDIA INC
618 SANTA CRUZ AVE
MENLO PARK, CA 94025
GENUS CREDIT MANAGEMENT
AMERICAN FINANCIAL SOLUTIONS
P.O. BOX 30428
DEPT 153
CHARLOTTE, NC 28230

GENWORTH FINANCIAL SERVICES INC
PO BOX 277231
ATLANTA, GA 30384-7231
GENX CAPITAL CORP
5219 MELVIN AVE
TARZANA, CA 91356
GEORGE A LOTTIER GOLF
FOUNDATION CORP
875 OLD ROSWELL RD C100 BLVD
ROSWELL, GA 30076

GEORGE BAKER
DBA EL DORADO FLORIST
1439 N EL DORADO ST
STOCKTON, CA 95202

GEORGE E GUNN JR
DBA GEG LAND SURVEYING
1919 WELBY WAY
TALLAHASSEE, FL 32308

GEORGE HORETH
FREDERICK GASTON ESQ
GASTON & GASTON 222 ASH ST
SAN DIEGO, CA 92101

GEORGE JACKSON AND ORA JACKSON
C/O THE GIBSON LAW FIRM PLL
447 NORTHPARK DR
RIDGELAND, MS 39157
GEORGE L PERLMUTTER
AND VIOLET M PERLMUTTER
SIDNEY L KAIN
4568 E CAMP LOWELL DR
TUCSON, AZ 85712

GEORGE M REIBER TRUSTEE
CHAPTER 13 TRUSTEE
PO BOX 490
MEMPHIS, TN 38101

GEORGE MASON UNIVERSITY
INSTRUCTIONAL FOUNDATION INC
THE CAPITOL CONNECTION
KELLEY DR GMU MS1D2
FAIRFAX, VA 22030-4444
GEORGE P KATSURAKES
LAW OFFICE
56 MIDDLESEX TURNPIKE
                                       Page 353
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BURLINGTON, MA 01803
GEORGE SCHOETTLE
7814 CUSTER RD W
TACOMA, WA 98499

GEORGE SWANSON
77320 BLACK MOUNTAIN TRL
INDIAN WELLS, CA 92210

GEORGE VICTOR CARLSON
1ST NATIONAL ATM
816 SE RIVER FOREST CT
OAK GROVE, OR 97267

GEORGE W NEAL
CHAPTER 13 TRUSTEE
PO BOX 30
MEMPHIS, TN 38101

GEORGE WASHINGTON UNIVERSITY
FINANCIAL SRVCS RESEARCH PRGM
SCHOOL OF BUSINESS #551
2201 G ST NW
WASHINGTON, DC 20052

GEORGESON INC
GEORGESON SHAREHOLDER COMM INC
36758 TREASURY CNTR
CHICAGO, IL 60694-6700

GEORGESON SHAREHOLDER COMMUNICATIONS INC.
[Address to Be Provided]

GEORGIA AFFORDABLE HOUSING CORP
1475 NE PEACHTREE ST
ATLANTA, GA 30309

GEORGIA ATTORNEY GENERAL'S OFFICE
ATTN BANKRUPTCY DEPARTMENT
40 CAPITAL SQUARE, SW
ATLANTA
GA, 30334-1300 404-656-3300

GEORGIA DEPARTMENT OF REVENUE
PROCESSING CENTER
PO BOX 740317
ATLANTA, GA 30374-0317

GEORGIA DEPARTMENT OF REVENUE
SALES AND USE TAX DIVISION
PO BOX 105296
ATLANTA, GA 30348-5296

GEORGIA DEPARTMENT OF REVENUE
1800 CENTURY BLVD NE #18100
ATLANTA, GA 30345-3205

GEORGIA DEPARTMENT OF REVENUE
PO BOX 105136
ATLANTA, GA 30348-5136
GEORGIA DEPT OF EDUCATION
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
EXCELLENCE RECOGNITION
205 JESSE HILL JR DR SE 2070TTE
ATLANTA, GA 30334
GEORGIA DEPT OF INSURANCE
GEORGIA INSURANCE DEPARTMENT
AGENT LICENSING
908 W TOWER FLOYD BLDG
2 MARTIN LUTHER KING JR DR
ATLANTA, GA 30334
GEORGIA DEPT OF REVENUE
GEORGIA DEPARTMENT OF REVENUE
CENTRALIZED TAXPAYER ACCOUNTING
PO BOX 740320
ATLANTA, GA 30374-0320

GEORGIA DEPT OF REVENUE
UNCLAIMED PROPERTY SECTION
PROPERTY TAX DIVISION
4245 INTL PKWY #A
HAPRVILLE, GA 30354-3918

GEORGIA DEPT. OF REVENUE
ATTN BANKRUPTCY DEPARTMENT
1800 CENTURY BLVD NE
ATLANTA
GA, 30345-3205 404-417-6400

GEORGIA INSURANCE DEPARTMENT
PREMIUM TAX UNIT
916 W TOWER #2
2 MARTIN LUTHER KING JR DR
ATLANTA, GA 30334

GEORGIA PARTNERSHIP FOR
EXCELLENCE IN EDUCATION
233 PEACHTREE ST #2000
ATLANTA, GA 30303
GEORGIA STATE TRADE ASSOCIATION
OF NONPROFIT DEVELOPERS INC
600 W PEACHTREE ST 1950
ATLANTA, GA 30308
GEORGIA STATE UNIVERSITY
GEORGIA STATE
SPRING CAREER EXPO 2008
ATTN CYNETTA FREEMAN
PO BOX 3988
ATLANTA, GA 30302-3988
GEORGIA SUPERIOR COURT CLERKS
COOPERATIVE AUTHORITY
PO BOX 277212
ATLANTA, GA 30384-7212

GERALD BUCHANAN
PORTERFIELD HARPER MILLS
MOTLOW PA
22 INVERNESS CENTER PKWY #600
BIRMINGHAM, AL 35253

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GERALD D BARRONE
79 CCEAN VISTA
NEWPORT BEACH, CA 92660
GERALD MITCHELL
CAPITOL GARAGE COFFEE CO
1500 K ST
SACRAMENTO, CA 95814

GERALD ODONNELL
CHAPTER 13 TRUSTEE
PO BOX 34780
ALEXANDRIA, VA 22334
GERALD PROSCH
9090 CELESTE RD
SARALAND, AL 36571
GERALDINE GATEHOUSE
MILESTONES
1145 OAK DR
VISTA, CA 92084

GERALDINE WISHARD
1912 BOYD ST
DALLAS, TX 75224
GERI FRIEDMAN ESQ
6 ANCHORAGE LANE 6B
OYSTER BAY, NY 11797

GERRI M NEWELL ESQ
9016 EAST INDIANA #C
SPOKANE VALLEY, WA 99212

GERSON LAW FIRM
9255 TOWNE CENTRE DR #300
SAN DIEGO, CA 92121-3036

GESS MATTINGLY & ATCHINSON PSC
201 W SHORT ST
LEXINGTON, KY 40507
GETRONICSWANG CO LLC
DBA GETRONICS
4904 PAYSPHERE CIR
CHICAGO, IL 60661

GETTY HOUSE FOUNDATION
605 IRVING BLVD
LOS ANGELES, CA 90005
GETTY IMAGES INC
PO BOX 953604
ST LOUIS, MO 63195-3604
GFI MORTGAGE BANKERS INC
50 BROADWAY 4TH FL
NEW YORK, NY 10004
GFK NOP LLC
BOX 512381
PHILADELPHIA, PA 19175-2381
                                      Page 356
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GGP HOMART INC DBA
GGP LAKELAND INC
3800 US HIGHWAY 98 N #304
LAKELAND, FL 33809

GHR SYSTEMS INC
PO BOX 88519
MILWAUKEE, WI 53288-0519

GIBBONS NEUMAN BELLO SEGALL &
ALLEN
3321 HENDERSON BLVD
TAMPA, FL 33609

GIBSON DUNN & CRUTCHER LLP
DEPARTMENT 0723
LOS ANGELES, CA 90084-0723
GIBSON DUNN & CRUTCHER LLP
DEPARTMENT 0723
LOS ANGELES, CA 90084-0723

GIDEL & KOCAL
CONSTRUCTION CO INC
574 DIVISION ST
CAMPBELL, CA 95008

GIDEON MAXIM
PRESENTATION TECHNOLOGY
149 PROSPECT PARK SW #6
BROOKLYN, NY 11218

GIFFEN & KAMINSKI LLC
1717 E NINTH ST #2100
CLEVELAND, OH 44114
GIFTCERTIFICATES COM
ATTN ACCOUNTS RECEIVABLE
11510 BLONDO STREET #103
OMAHA, NE 68164

GIFTCERTIFICATES COM
PO BOX 49206
SAN JOSE, CA 95161-9206
GIFTS BY DESIGN INC
151 WESTERN AVE W #350
SEATTLE, WA 98119
GIG HARBOR/PENINSULA AREA
CHAMBER OF COMMERCE
3311 HARBORVIEW DR #101
GIG HARBOR, WA 98332
GILBERT AYALA
1613 143RD PL SE
MILL CREEK, WA 98012
GILBERT CONSTRUCTION
615 S COIT ST 29501
PO BOX 3009
FLORENCE, SC 29502-3009
                                     Page 357
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
GILBERT D GRIMMETT MAI AICP
PO BOX 1207
MONTCLAIR, NJ 07042
GILBERT L YUNGER JR
PO BOX 1070
LAURIE, MO 65038

GILLY JEANS INC
320 S ST
PHILADELPHIA, PA 19147
GILROY CHAMBER OF COMMERCE
7471 MONTEREY ST
GILROY, CA 95020

GILROY HIGH SCHOOL GRAD NIGHT
PO BOX 545
GILROY, CA 95020
GIRL SCOUTS NORTH NEW JERSEY
GSNNJ TROOP 1011
116 LENOX AVE
NEW MILFORD, NJ 07646

GIRL SCOUTS OF
DELAWARE RARITAN TROOP 1512
PO BOX 7728
WEST TRENTON, NJ 08628

GIRL SCOUTS SAN DIEGO
IMPERIAL COUNCIL INC
1231 UPAS ST
SAN DIEGO, CA 92103

GIRL SCOUTS-TOTEM COUNCIL
601 VALLEY ST
PO BOX 900961
SEATTLE, WA 98109

GIRLS STATE ALUMNAE FOUNDATION
PO BOX 712002
SAN DIEGO, CA 92171
GIRLS TODAY WOMEN TOMORROW
LEADERSHIP MENTORING PROGRAM
2130 E FIRST ST #305
LOS ANGELES, CA 90033
GKL CORPORATE RESEARCH INC
PO BOX 1913
SACRAMENTO, CA 95812-1913

GKL RESIDENT AGENTS FILINGS INC
PO BOX 3679
CARSON CITY, NV 89702

GLADSTONE EDUCATION FOUNDATION
17789 WEBSTER RD
GLADSTONE, OR 97027
GLE ASSOCIATES INC
                                       Page 358
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3109 W DR MLK JR BLVD #550
TAMPA, FL 33607

GLEAVES SWEARINGEN
POTTER & SCOTT LLP
PO BOX 1147
EUGENE, OR 97440-1147
GLEN D. SIMECEK
[Address Information Redacted]
GLEN J HARROD
12 PARAISO COURT
SALINAS, CA 93901

GLENARM COMPANIES INC DBA
THE APARTMENT DIRECTORY
2515 S WESTERN AVE #13
SAN PEDRO, CA 90732

GLENDALE BOARD OF REALTORS
5830 W PALMAIRE AVE
GLENDALE, AZ 85301
GLENDALE CHAMBER OF COMMERCE
200 S LOUISE ST
GLENDALE, CA 91205

GLENDALE CHAMBER OF COMMERCE
PO BOX 249
7105 N 59TH AVE
GLENDALE, AZ 85311

GLENDALE EDUCATIONAL FOUNDATION
501 W GLENOAKS BLVD #143
GLENDALE, CA 91202
GLENDALE KIWANIS CLUB
5525 W GLENDALE AVE #101
GLENDALE, AZ 85302

GLENN E HEILIZER
5 N WABASH AVE #1304
CHICAGO, IL 60602
GLEN-WILD CONTRACTING CO INC
109 BARRISTER DR
BUTLER, NJ 07405

GLESBY/MARKS LEASING
GLESBY MARKS LTD
PO BOX 4346 DEPT 502
HOUSTON, TX 77210-4346

GLOBAL 360 INC
PO BOX 671246
DALLAS, TX 75267-1246

GLOBAL COMPLIANCE SERVICES
PO BOX 60941
CHARLOTTE, NC 28260-0941
GLOBAL CONCEPTS
                                       Page 359
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 7247-6038
PHILADELPHIA, PA 19170-6038

GLOBAL CONTACT SERVICES LLC
118-B S MAIN ST
SALISBURY, NC 28144
GLOBAL CROSSING
TELECOMMUNICATIONS
PO BOX 742501
CINCINNATI, OH 45274-2501
GLOBAL ENVIRONMENTAL
TRAINING & CONSULTING
1520 W CAMERON AVE #240
WEST COVINA, CA 91790

GLOBAL EQUITY LENDING INC
ATTN DAVID STOCKLEY
6465 E JOHNS CROSSING
JOHNS CREEK, GA 30097

GLOBAL FINANCIAL SERVICES
[Address to Be Provided]

GLOBAL FUNDING INC
1 WASHINGTON ST
DALY CITY, CA 94014

GLOBAL KIDS INC
137 E 25TH ST 2ND FL
NEW YORK CITY, NY 10010

GLOBAL KNOWLEDGE TRAINING LLC
GLOBAL KNOWLEDGE
13279 COLLECTIONS CENTER DR
CHICAGO, IL 60693-3279

GLOBAL MARKET DISTRIBUTORS
STAMP-CONNECTION.COM
109 NE ROBERTS AVE
GRESHAM, OR 97030
GLOBAL MARKET INSITE INC
1100 112TH AVE NE #100
BELLEVUE, WA 98004

GLOBAL MORTGAGE INC
9700 ROCKSIDE RD #275
VALLEY VIEW, OH 44125
GLOBAL MORTGAGE LLC
12639 136TH ST
SCOTTSDALE, AZ 85259
GLOBAL ORGANIZATION OF PEOPLE
OF INDIAN ORIGIN
DBA GOPIO
98 LYNAM RD
STAMFORD, CT 06903

GLOBAL PARKING SERVICES INC
PO BOX 4723
                                     Page 360
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DEERFIELD BEACH, FL 33442
GLOBALSTAR USA
PO BOX 30519
LOS ANGELES, CA 90030-0519

GLORIA EASTMAN
880 DUCKABUSH RIVER RD
BRINNON, WA 98320

GLORIA LAGE
WEINSTEIN WEINE IGNAL
NAPOLITANO & SHAPIRO
350 FAIRFIELD AVE
BRIDGEPORT, CT 06604

GLSEN INC
90 BROAD ST 2ND FL
NEW YORK, NY 10004

GMRI INC
DBA OLIVE GARDEN
5410 E BROADWAY
TUCSON, AZ 85711

GMT BONANZA CORP
UNILOAN MORTGAGE
2235 GELLERT BLVD
SOUTH SAN FRANCISCO, CA 94080

GO FOR BROKE NATL EDUCATION CTR
370 AMAPOLA AVE #110
TORRANCE, CA 90501

GO PARKING INC
875 N MICHIGAN AVE #3760
CHICAGO, IL 60611

GOAHEAD SOLUTIONS LLC
400 OYSTER POINT BLVD #407
SOUTH SAN FRANCISCO, CA 94080

GODS GIFTED HANDS
4209 MATTNICK DR
BAKERSFIELD, CA 93313
GOIS BROADCASTING LLC
WORC
122 GREEN ST #2R
WORCESTER, MA 01604
GOLBECK ROTH PLLC
1200 5TH AVE #1900
SEATTLE, WA 98101
GOLD BEACH AREA
CHAMBER OF COMMERCE
PO BOX 489
GOLD BEACH, OR 97444
GOLD COAST CREDIT CNSLG INC
6542 HYPOLUXO RD #288
LAKE WORTH, FL 33467
                                       Page 361
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GOLD COAST SCHOOL
OF INSURANCE INC
5600 HIATUS RD
TAMARAC, FL 33321

GOLD COUNTRY MEDIA
PLACER COMMUNITY NEWSPAPERS
ATTN ACCOUNTS RECEIVABLE
PO BOX 5910
AUBURN, CA 95604-5910
GOLD GRAPHICS
C/O ACCTG DEPT
PO BOX 225
SANTA CLARA, CA 95052-0225

GOLD HOUSE REALTY AND MORTGAGE
18488 PROSPECT RD #10
SARATOGA, CA 95070
GOLD MEDAL JACKSONVILLE INC
5599 COMMONWEALTH AVE
JACKSONVILLE, FL 32254

GOLD VALUE CALIFORNIA RLTY INC
PRUDENT HOME LOANS
17404 VENTURA BLVD. # 100
ENCINO, CA 91316

GOLDBECK MCCAFFERTY & MCKEEVER
#5000 MELLON INDPENDENCE CENTER
701 MARKET ST
PHILADELPHIA, PA 19106-1532

GOLDBERG SEGALLA LLP
665 MAIN ST #400
BUFFALO, NY 14203

GOLDEN APPLE FOUNDATION
FOR EXCELLENCE IN TEACHING
8 S MICHIGAN AVE #700
CHICAGO, IL 60603

GOLDEN EAGLE NATIONWIDE
IMPLEMENTATION SOLUTIONS
880 WEST CROWTHER AVE
PLACENTIA, CA 92870

GOLDEN GATE SOFTWARE INC
DEPT CH 17656
PALATINE, IL 60055-7656
GOLDEN GATE UNIVERSITY
536 MISSION STREET
SAN FRANCISCO, CA 94105

GOLDEN ISLES ASSOCIATION OF
REALTORS
7 GLYNN AVE
BRUNSWICK, GA 31520
GOLDEN POLICE DEPARTMENT
                                       Page 362
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911 10TH ST
GOLDEN, CO 80401

GOLDEN RAIN FOUNDATION OF
LAGUNA WOODS
24351 EL TORO RD
LAGUNA WOODS, CA 92654
GOLDEN RULE HOUSING & COMMUNITY
DEVELOPMENT CORP INC
417 E 2ND ST
SANFORD, FL 32771
GOLDEN STATE DEBT MANAGEMENT
1625 W OLYMPIC BLVD STE 1035
LOS ANGELES, CA 90015

GOLDEN STATE WARRIORS
1011 BROADWAY
ATTN ACCOUNTS RECEIVABLE
OAKLAND, CA 94607-4019

GOLDEN STATE WATER COMPANY
PO BOX 9016
SAN DIMAS, CA 91773-9016

GOLDEN WEXLER & BUATTI PC
900 MERCHANTS CONCOURSE #208
WESTBURY, NY 11590

GOLDEN WEXLER & SARNESE PC
GOLDEN WEXLER & BUATTI PC
ATTORNEYS AT LAW
377 OAK ST
GARDEN CITY, NY 11530

GOLDENGATE SOFTWARE, INC.
[Address to Be Provided]

GOLDIN MANAGEMENT
25 8TH AVE
BROOKLYN, NY 11217
GOLDMAN & GRANT
205 W RANDOLPH #1100
CHICAGO, IL 60606

GOLDMAN SACHS & CO
180 MAIDEN LANE
NEW YORK, NY 10038
GOLDSAND AGENCY LLC
1000 N DIVISION ST
PO BOX 431
PEEKSKILL, NY 10566
GOLDSTEIN BUCKLEY CECHMAN
RICE & PURTZ P A
PO BOX 2366
FORT MYERS, FL 33902-2366

GOLDSTEIN INVESTMENT TRUST
PO BOX 79213
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WAVERLEY, MA 02479
GOLF SAVINGS BANK
10230 NE POINTS DR #530
KIRKLAND, WA 98033

GOMER MONTERROSO
BENJAMIN BLAKEMAN
3055 WILSHIRE BLVD #405
LOS ANGELES, CA 90010
GOMEZ & STEIDER BANCORP INC
2641 N KEDZIE AVE
CHICAGO, IL 60647

GOMEZ INC
PO BOX 83164
WOBURN, MA 01813-3164
GONZAGA UNIVERSITY
SCHOOL OF BUSINESS AD9
SPOKANE, WA 99258

GONZAGA UNIVERSITY
UNIVERSITY RELATIONS
502 W BOONE
SPOKANE, WA 99258

GONZALEZ SAGGIO & HARLAN LLP
225 E MICHIGAN 4TH FL
MILWAUKEE, WI 53202
GOOD HILL MASTER FUND, L.P.
[Address to Be Provided]

GOOD HILL PARTNERS
[Address to Be Provided]

GOOD NEWS MORTGAGE INC
10 POINTE DR
BREA, CA 92821

GOOD SEED MINISTRIES
600 W GARFIELD BLVD
CHICAGO, IL 60609
GOODBRAND LENDING CORPORATION
26041 CAPE DR #250-F
LAGUNA NIGUEL, CA 92677
GOODCITY NFP
5049 W HARRISON ST
CHICAGO, IL 60644

GOODIES FROM GOODMAN
11390 GRISSOM LN
DALLAS, TX 75229

GOODMAN SOLUTIONS INC
1430 SPRING HILL RD #300
MCLEAN, VA 22102
GOODSILL ANDERSON QUINN
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&STIFEL
1099 ALAKEA ST #1800
ALII PL
HONOLULU, HI 96813
GOODSON HOLDING COMPANY DBA
DELAWARE COUNTY DAILY TIMES
PO BOX 347
500 MILDRED AVE
PRIMOS, PA 19018-0347
GOODSTEIN MANAGEMENT INC
211 E 46TH ST
NEW YORK, NY 10017

GOODWILL INDUSTRIES OF
ORANGE COUNTY CA
410 N FAIRVIEW
SANTA ANA, CA 92703

GOODWILL INDUSTRIES OF DENVER
6850 N FEDERAL BLVD
DENVER, CO 80221
GOODWILL INDUSTRIES OF KYOWVA
CCCS OF HUNTINGTON
PO BOX 7365
HUNTINGTON, WV 25776-7365

GOODWILL LONGBEACH SOUTH BAY
DBA LINKS
800 W PACIFIC COAST HWY
LONG BEACH, CA 90806

GOODWIN PROCTER LLP
EXCHANGE PLACE
53 STATE ST
BOSTON, MA 02109

GOODWIN PROCTER LLP
901 NEW YORK AVE N W
WASHINGTON, DC 20001
GORDON ASSOCIATES INSURANCE SVC
1600 BRIDGE PKWY #103
REDWOOD CITY, CA 94065

GORDON CHIN
DBA OLD TOWN CAFE
GOLDEN STAR CATERING
343 MAIN ST
SALINAS, CA 93901
GORDON CHIN
60 CASTRO ST
SAN FRANCISCO, CA 94114

GORDON FEINBLATT ROTHMAN
HOFFBERGER & HOLLANDER
233 E REDWOOD ST
BALTIMORE, MD 21202
GORDON KEITH HUNT
                                       Page 365
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4037 WEXFORD LOOP SE
OLYMPIA, WA 98501

GORDON R GLASCOCK
DBA SOUND ON FILM &VIDEO
1200 NW NORCROSS WAY
SEATTLE, WA 98177-5234
GORDON WOODS INDUSTRIAL
WELDING SUPPLY INC
7254 COLDWATER CANYON BLVD
NO HOLLYWOOD, CA 91605-4203
GORDONS COPY PRINT
29 W 400 N
BOUNTIFUL, UT 84010

GOULDS FLORIST
354 BROADWAY
LYNNFIELD, MA 01940
GOULSTON & STORRS
400 ATLANTIC AVE
BOSTON, MA 02110-3333

GOURMET DIVAS CATERING LLC
PO BOX 246
REX, GA 30273

GOURMONDO CATERING CO
309 S CLOVERDALE #B24
SEATTLE, WA 98108

GOVERNMENT FINANCE OFFICE ASSOC
OF TEXAS DBA
TEXAS MUNICIPAL LEAGUE
1821 RUTHERFORD LN #400
AUSTIN, TX 78754-5128

GOVERNOR CONFERENCE ON HOUSING
NEW JERSEY HOUSING &
& COMMUNITY DEVELOPMENT
637 S CLINTON AVE
PO BOX 18550
TRENTON, NJ 08650
GOVT OF THE VIRGIN ISLANDS
#18 KONGENS GLADE
ST THOMAS, 00802 VI
GPS VALUATION SERVICES INC
32 SOUNDWAY DR
ROCKY POINT, NY 11778

GRACE ANN POLENSKI
MARCUS W CORWIN P A ATTORNEY
TRUST ACCOUNT
1515 S FEDERAL HWY
BOCA RATON, FL 33432
GRACE JANG MEE WAH JANG &
SHIRLEY KUSUMI
3951 VENTURA COURT
                                       Page 366
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PALO ALTO, CA 94036
GRACELAND COLLEGE CNTR FOR
PRFSNL DVLPMT &LIFELONG LEARNG
SKILLPATH SEMINARS
PO BOX 804441
KANSAS CITY, MO 64180-4441
GRACEWORKS LUTHERAN SVC DBA
CCCS OF GREATER MIAMI VALLEY
3131 S DIXIE DR #300
DAYTON, OH 45439
GRACRE
10231 TELEGRAPH RD
GLEN ALLEN, VA 23059

GRAEBE HANNA & WELBORN PLLC
4350 LASSITER AT N HILLS AVE
#375
RALEIGH, NC 27609

GRAEBEL COMPANIES INC
2631 PAYSPHERE CIRCLE
CHICAGO, IL 60674

GRAHAM VAAGE & CISNEROS
500 N BRAND BLVD #1030
GLENDALE, CA 91203

GRAHAM WALKER
1539 DALMATIA DR
SAN PEDRO, CA 90732

GRAINGER
PO BOX 419267
DEPT 839775384
KANSAS CITY, MO 64141-6267

GRAMATAN MANAGEMENT INC
2 HAMILTON AVE #217
NEW ROCHELLE, NY 10801
GRANADA HILLS
CHAMBER OF COMMERCE
17723 CHATSWORTH ST
GRANADA HILLS, CA 91344

GRAND AVENUE ECONOMIC
COMMUNITY DEVELOPMENT CORP
5104 N ORANGE BLOSSOM
TRAIL #206
ORLANDO, FL 32810

GRAND LODGE & BALLROOM INC
DBA GRAND BALLROOM
187 HIGH ST NE
SALEM, OR 97301
GRAND OCCASIONS
4584 W JACQUELYN AVE
FRESNO, CA 93722

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GRANDE COMMUNICATIONS
PO BOX 671259
DALLAS, TX 75267-1259
GRANITE CITY & STEEL EMPLOYEE
FEDERAL CREDIT UNION
3970 MARYVILLE RD
GRANITE CITY, IL 62040

GRANITE CONSTRUCTION INSP LLC
10770 E BRIARWOOD AVE #280
CENTENNIAL, CO 80112
GRANITE LOAN MANAGEMENT LLC
10770 E BRIARWOOD AVE #280
CENTENNIAL, CO 80112

GRANITE PARTNERS FOR OAKWOOD
BLVD PHASE II
181 W MADISON #3900
CHICAGO, IL 60606

GRANT THORNTON LLP
PO BOX 51552
LOS ANGELES, CA 90051

GRANTMAKERS FOR EDUCATION
720 SW WASHINGTON ST #605
PORTLAND, OR 97205

GRANTS PASS & JOSEPHINE COUNTY
CHAMBER OF COMMERCE
1995 NW VINE ST
PO BOX 970
GRANTS PASS, OR 97528-0290

GRAPHIC SIGNS
FASTSIGNS
5020 KIRBY DR
HOUSTON, TX 77098

GRAPHIC SYSTEMS INC
4493 S 134TH PL
SEATTLE, WA 98168-6204
GRAPHICS PRESS LLC
DEPT #6132
LOS ANGELES, CA 90084-6132

GRAY LINE OF SEATTLE
4500 W MARGINAL WAY SW
SEATTLE, WA 98106-1511
GRAY LINE OF SEATTLE
4500 W MARGINAL WAY SW
SEATTLE, WA 98106-1511

GRAY ROBINSON PA
GRAY HARRIS & ROBINSON
301 E PINE ST #1400
PO BOX 3068
ORLANDO, FL 32802

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GRAYHAWK CONSTRUCTION INC
9606 NE 180TH ST
BOTHELL, WA 98011
GREAT AMERICAN EQUITY MORTGAGE
1035 BOYCE RD #220
PITTSBURGH, PA 15241
GREAT AMERICAN FINANCE
205 W WACKER DR #322
CHICAGO, IL 60606
GREAT AMERICAN INSURANCE CO.
580 WALNUT ST.
12TH FLOOR
CINCINNATI, OH 45202

GREAT BUSINESS FORMS INC
DBA NATIONAL BANKERS SUPPLY
43430 N I-94 SERVICE DR
BELLEVILLE, MI 48111

GREAT FLOORS COMMERCIAL SALES
6215 S 228TH ST
KENT, WA 98032

GREAT LAKES – MUNICH RE
PLANTATION PLACE
30 FENCHURCH ST.
LONDON EC3 3AJ, UK

GREAT LAKES INTER
TRIBAL COUNCIL
2401 12TH ST NW
ALBUQUERQUE, NM 87104

GREAT LAKES PUBLISHING INC
212 KENT ST 3RD FL
PORTLAND, MI 48875
GREAT LAKES REALTY ADVISORY
GROUP INC
448 W WASHINGTON AVE 2ND FL
MADISON, WI 53703
GREAT NORTHERN INSURANCE CO. (CHUBB)
15 MOUNTAIN VIEW RD.
WARREN, NJ 07059

GREAT SAN DIEGO BUSINESS
GREATER SAN DIEGO BUSINESS
DEVELOPMENT COUNCIL DBA COUNCIL
FOR SUPPLIER DIVERSITY
9903 BUSINESSPARK AVE #105
SAN DIEGO, CA 92131
GREATER ANTELOPE VALLEY
ASSN OF REALTORS
1112WEST AVE #M4
PALMDALE, CA 93551

GREATER AUBURN GRESHAM
DEVELOPMENT CORP
                                       Page 369
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1159 W 79TH ST
CHICAGO, IL 60620

GREATER AUSTIN
CHAMBER OF COMMERCE
ATTN EVENTS
210 BARTON SPRINGS RD #400
AUSTIN, TX 78704

GREATER AUSTIN HISPANIC
CHAMBER OF COMMERCE
2800 S IH-35 #260
AUSTIN, TX 78704-6536
GREATER BAKERSFIELD
CHAMBER OF COMMERCE
PO BOX 1947
BAKERSFIELD, CA 93303
GREATER BALTIMORE
BOARD OF REALTORS
1306 BELLONA AVE
LUTHERVILLE, MD 21093
GREATER BOSTON APPRAISALS INC
121B TREMONT ST
BRIGHTON, MA 02135

GREATER BOSTON VALUATION
PO BOX 487
DEDHAM, MA 02026
GREATER BOTHELL CHAMBER
OF COMMERCE
PO BOX 1203
BOTHELL, WA 98041
GREATER BRIDGEPORT
BOARD OF REALTORS
961 HUNTINGTON TURNPIKE
BRIDGEPORT, CT 06610

GREATER CINCINNATI NORTHERN KY
APARTMENT ASSN
525 W 5TH ST #1
COVINGTON, KY 41011

GREATER COLUMBIA
ASSOCIATION OF REALTORS
1717 ST JULIAN PLACE
COLUMBIA, SC 29204
GREATER CONCORD CHAMBER
OF COMMERCE
2280 DIAMOND BLVD #200
CONCORD, CA 94520

GREATER DALLAS ASIAN
AMERICAN CHAMBER OF COMMERCE
ECO DEV & EDU MEED CENTER
1327 N PEAK ST
DALLAS, TX 75204

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GREATER DALLAS HISPANIC
CHAMBER OF COMMERCE
4622 MAPLE AVE #207
DALLAS, TX 75219
GREATER DAYTON APARTMENT ASSN
2555 S DIXIE DR #100
DAYTON, OH 45409

GREATER DELRAY BEACH
CHAMBER OF COMMERCE
64 A SE FIFTH AVE
DELRAY BEACH, FL 33483
GREATER DENVER CHAMBER
DENVER METRO CHAMBER FOUNDATION
OF COMMERCE
1445 MARKET ST
DENVER, CO 80202

GREATER EDMONDS
CHAMBER OF COMMERCE
PO BOX 146
EDMONDS, WA 98020

GREATER ELIZABETH
CHAMBER OF COMMERCE
C/O INDEPENDENCE COMMUNITY BANK
456 N BROAD ST
ELIZABETH, NJ 07208

GREATER FAIRFIELD COUNTY CMLS
CONSOLIDATED MULTIPLE
101 MERRITT 7 CORPORATE PARK
NORWALK, CT 06851-1059

GREATER FLORENCE
CHAMBER OF COMMERCE
PO BOX 948
FLORENCE, SC 29503

GREATER FRESNO AREA CHAMBER
OF COMMERCE
2331 FRESNO ST
FRESNO, CA 93721
GREATER GOLDEN
CHAMBER OF COMMERCE
1010 WASHINGTON AVE
GOLDEN, CO 80401
GREATER GREENVILLE
ASSOCIATION OF REALTORS INC
50 AIRPARK COURT
GREENVILLE, SC 29607
GREATER HARTFORD
ASSOCIATION OF REALTORS INC
433 S MAIN ST #106
WEST HARTFORD, CT 06110

GREATER HOLLYWOOD
CHAMBER OF COMMERCE
                                       Page 371
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330 N FEDERAL HWY
HOLLYWOOD, FL 33020-4617

GREATER HOUSTON FAIR
HOUSING CENTER INC
PO BOX 292
HOUSTON, TX 77001-0292
GREATER HOUSTON PARTNERSHIP
PO BOX 297653
HOUSTON, TX 77297
GREATER HOUSTON URBAN
REDEVELOPMENT CORPORATION
7220 HOMESTEAD RD
HOUSTON, TX 77028

GREATER HUNTINGTON PARK AREA
CHAMBER OF COMMERCE
6330 PACIFIC BLVD #208
HUNTINGTON PARK, CA 90255

GREATER INWOOD PARTNERSHIP
PO BOX 38553 #255
HOUSTON, TX 77238-8553

GREATER JAMAICA DEVT CORP
90-04 161 ST
JAMAICA, NY 11432

GREATER KIRKLAND
CHAMBER OF COMMERCE
401 PARKPLACE #102
KIRKLAND, WA 98033

GREATER LAKE WORTH CHMBR OF COM
501 LAKE AVE
LAKE WORTH, FL 33460

GREATER LANTANA
CHAMBER OF COMMERCE
212 IRIS AVE
LANTANA, FL 33462

GREATER LAS VEGAS
ASSOCIATION OF REALTORS
1750 E SAHARA AVE
LAS VEGAS, NV 89104

GREATER MIAMI CHAMBER
OF COMMERCE
OMNI INTERNATIONAL COMPLEX
1601 BISCAYNE BLVD
MIAMI, FL 33132-1260
GREATER NEW HOPE MISSIONARY
BAPTIST CHURCH
3032 MONTE CARLO TRAIL
ORLANDO, FL 32805
GREATER OHARE ASSOCIATION
ELK GROVE CHAMBER OF COMMERCE
OF INDUSTRY AND COMMERCE
                                       Page 372
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1050 BUSSE RD #100
BENSENVILLE, IL 60106

GREATER PALM BAY
CHAMBER FOUNDATION INC
4100 DIXIE HWY NE
PALM BAY, FL 32905
GREATER PALM RIVER POINT
COMMUNITY DEVELOPMENT CORP
7454 PALM RIVER RD
TAMPA, FL 33619
GREATER PHOENIX BLACK
CHAMBER OF COMMERCE
201 E WASHINGTON ST #350
PHOENIX, AZ 85004
GREATER PHOENIX GAY AND LESBIAN
CHAMBER OF COMMERCE
PO BOX 2097
PHOENIX, AZ 85001-2097

GREATER PHOENIX URBAN LEAGUE
1402 S 7TH AVE
PHOENIX, AZ 85007-3902
GREATER REDDING CHAMBER
OF COMMERCE
747 AUDITORIUM DR
REDDING, CA 96001
GREATER RIVERSIDE
CHAMBER OF COMMERCE
3985 UNIVERSITY AVE
RIVERSIDE, CA 92501
GREATER SACRAMENTO
URBAN LEAGUE
3725 MARYSVILLE BLVD
SACRAMENTO, CA 95838

GREATER SAN ANTONIO
BUILDERS ASSOCIATION
3625 PAESANOS PKWY
SAN ANTONIO, TX 78231

GREATER SAN DIEGO BUSINESS
ASSOCIATION INC
3737 5TH AVE #205
SAN DIEGO, CA 92103
GREATER SAN DIEGO BUSINESS
DEVELOPMENT COUNCIL
9903 BUSINESSPARK AVE #105
SAN DIEGO, CA 92131

GREATER SAN FERNANDO VALLEY
CHAMBER OF COMMERCE
7120 HAYVENHURST AVE #114
VAN NUYS, CA 91406
GREATER SARASOTA
                                       Page 373
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SARASOTA CHAMBER OF COMMERCE
CHAMBER OF COMMERCE
1945 FRUITVILLE RD
SARASOTA, FL 34236
GREATER SEATTLE
CHAMBER OF COMMERCE
1301 FIFTH AVE #2500
SEATTLE, WA 98101

GREATER SEATTLE BUSINESS ASSOC
450 E PINE ST #322
SEATTLE, WA 98122
GREATER SPOKANE LOW INCOME
HOUSING DEVELOPMENT CONSORTIUM
829 W BROADWAY
SPOKANE, WA 99201
GREATER UKIAH CHAMBER
OF COMMERCE
200 S SCHOOL ST
UKIAH, CA 95482
GREATER UNIVERSITY
CHAMBER OF COMMERCE
4710 UNIVERSITY WAY NE #212
SEATTLE, WA 98105

GREATER WATERBURY
BOARD OF REALTORS INC
161 N MAIN ST 2ND FL
WATERBURY, CT 06702

GREATLAND CORPORATION
PO BOX 1157
GRAND RAPIDS, MI 49501-1157

GREATSCHOOLS INC
301 HOWARD ST #1440
SAN FRANCISCO, CA 94105

GREEN & HALL
1851 E FIRST ST 10TH FL
SANTA ANA, CA 92705
GREEN DOT PUBLIC SCHOOLS
350 S FIGUEROA ST #213
LOS ANGELES, CA 90071
GREEN GROWING THINGS LTD
8501 E ILIFF AVE
DENVER, CO 80231

GREEN RIVER COMMUNITY
YOUNG MENS CHRISTIAN ASSN
COLLEGE FOUNDATION
12401 SE 320TH ST
AUBURN, WA 98092
GREENBAUM ROWE SMITH RAVIN
DAVIS & HIMMEL LLP
METRO CORPORATE CAMPUS I
                                      Page 374
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 5600
WOODBRIDGE, NJ 07095-0988

GREENBERG TRAURIG
GREENBERG TRAURIG LLP
2375 E CAMELBACK RD #700
PHOENIX, AZ 85016
GREENBERG TRAURIG LLP
1000 LOUISIANA #1800
HOUSTON, TX 77002
GREENBERG TRAURIG LLP
2200 ROSS AVE #5200
DALLAS, TX 75201

GREENBERG TRAURIG PA
GREENBERG TRAURIG LLP
ATTORNEYS AT LAW
1221 BRICKELL AVE
MIAMI, FL 33131

GREENBRIAR APPRAISAL CO
14780 MEMORIAL DR #123
HOUSTON, TX 77079

GREENBRIDGE FOUNDATION
PO BOX 46535
SEATTLE, WA 98146-0535

GREENE ESPEL PLLP
200 S 6TH ST #1200
MINNEAPOLIS, MN 55402

GREENHOUSE REPORTING INC
363 7TH AVE 20TH FL
NEW YORK, NY 10001

GREENLEAF VALUATION GROUP INC
600 UNIVERSITY ST #310
SEATTLE, WA 98101

GREENPATH DEBT SOLUTIONS
38505 COUNTRY CLUB DR STE 210
FARMINGTON HILLS, MI 48331
GREENPATH DEBT SOLUTIONS INC
GREENPATH DEBT SOLUTIONS
38505 COUNTRY CLUB DR #210
FARMINGTON HILLS, MI 48331
GREENROSE INC
DBA CONROYS FLOWERS
2983 HARBOR RD
COSTA MESA, CA 92626
GREENSPOON MARDER PA
TRADE CENTRE SOUTH #700
100 W CYPRESS CREEK RD
FT LAUDERDALE, FL 33309

GREG CAMAS
[Address Information Redacted]
                                      Page 375
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GREG L OSTERGAARD
1520 2ND AVE W
SEATTLE, WA 98119
GREG MALCOLM & ASSOCIATES INC
1243 KYLEMORE LANE
SNELLVILLE, GA 30078

GREG SAYEGH
[Address Information Redacted]
GREGG E BIENSTOCK CITY MARSHALL
36-35 BELL BLVD
BAYSIDE, NY 11361

GREGG GOLDTHORPE
FBO SUN SENIOR NEWS
5310 SHERBROCK WAY
ANTELOPE, CA 95843
GREGORIO POMPA ADMNTR OF
THE ESTATE OF MARIA C POMPA
BERRY H EDWARDS
PO BOX 1210
ANTHONY, TX 79821
GREGORY BASS
6227 108TH ST
FOREST HILLS, NY 11375

GREGORY BUSHANSKY
[Address to Be Provided]

GREGORY CORNICK
[Address Information Redacted]
GREGORY HODGES
12592 OLALLA VALLEY RD SE
OLALLA, WA 98359

GREGORY MARTIN
11500 103RD AVE SW
VASHON, WA 98070
GREGORY SLOAN
[Address to Be Provided]

GREMAR CITY CENTER PARKING
CCP VALIDATIONS DEPT
PO BOX 9277
PORTLAND, OR 97207-9277
GREMAR CITY CENTER PARKING
DBA PARKING MANAGEMENT CO
PO BOX 8219
PORTLAND, OR 97207-8219

GRETCHEN HOLLAND
TRUSTEE #02 11059
301 N MAIN ST #1904
GREENVILLE, SC 29601

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GRETCHENS SHOEBOX EXPRESS
3922 6TH AVE S
SEATTLE, WA 98108
GREYHOUND ADOPTION CENTER
PO BOX 2433
LA MESA, CA 91943
GREYSTONE INVST ASSOC II INC
DBA VILLA SORRISO
168 W COLORADO BLVD
PASADENA, CA 91105
GREYSTONE VALUATION SERVICES
200 NORTHCREEK #550
3715 NORTHSIDE PKWY NW
ATLANTA, GA 30327
GRID ALTERNATIVES
1610 HARRISON ST #C
OAKLAND, CA 94612

GRIFFIN COOGAN & VENERUSO PC
51 PONDFIELD RD
BRONXVILLE, NY 10708

GRINDA F COLEMAN
334 MIZELL ST
DUNCANVILLE, TX 75116

GROSS & WELCH PC LLO
1500 OMAHA TOWER
2120 SOUTH 72ND ST
OMAHA, NE 68124-2342

GROUP 1 SOFTWARE INC
PO BOX 79676
BALTIMORE, MD 21279-0676

GROUP HEALTH
OCCUPATIONAL MEDICINE
PO BOX 34584
SEATTLE, WA 98112

GROUP MACKENZIE ENGINEERING INC
PO BOX 14310
PORTLAND, OR 97293

GROUP ONE MORTGAGE INC
900 INDIANTOWN RD #110
JUPITER, FL 33477
GROUP TRAVEL RESOURCES
5694 MISSION CENTER RD #379
SAN DIEGO, CA 92108
GROUP9 INC
444 OXFORD VALLEY ROAD #300
LANGHORNE, PA 19047
GRUBB & ELLIS COMPANY
445 S FIGUEROA #3300
LOS ANGELES, CA 90071
                                       Page 377
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GRUBB & ELLIS COMPANY
601 UNION ST #1400
SEATTLE, WA 98101
GRUMMAN BUTKUS ASSOCIATES
1011 N MAYFAIR RD #300
WAUWATOSA, WI 53226-3431

GSD CONTRACTING INC
4675 ANGLERS AVENUE
FORT LAUDERDALE, FL 33312
GSP MARKETING TECHNOLOGIES
PO BOX 850001
ORLANDO, FL 32885-0213

GTC II LLC
2920 E CAMELBACK RD #200
PHOENIX, AZ 85016
GUADALUPE COUNTY DISTRICT COURT
ATTN COURT COST
101 E COURT ST #308
SEGUIN, TX 78155

GUARANTEE MORTGAGE CORP
601 VAN NESS AVE #P
SAN FRANCISCO, CA 94102

GUARANTEE MORTGAGE CORP
636 4TH ST
SAN FRANCISCO, CA 94107

GUARANTY ABSTRACT SERVICES LLC
884 MERRICK RD
BALDWIN, NY 11510

GUARDHILL FINANCIAL CORP
950 3RD AVE 24TH FL
NEW YORK, NY 10022

GUARDIAN NORTHWEST TITLE ESCROW
FIRST AMERICAN TITLE CO
1301-B RIVERSIDE DR
PO BOX 1667
MOUNT VERNON, WA 98273

GUATEMALAN MAYA QUETZAL
ORGANIZATON INC
DBA IGLESIA ADVENTISTA
2727 GEORGIA AVE
WEST PALM BEACH, FL 33405

GUIDANCE SOFTWARE INC
23741 NETWORK PL
CHICAGO, IL 60673-1213

GUIDE DOGS OF THE DESERT
60735 DILLON RD
WHITE WATER, CA 92263
GUIDESTAR PHILANTHROPIC
                                       Page 378
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RESEARCH INC
4801 COURTHOUSE ST #220
WILLIAMSBURG, VA 23188
GUILD LABORATORIES INC
550 S HILL ST #1188
LOS ANGELES, CA 90013
GULF COAST PARTNERS INC
DBA TEXAS STAR DOCUMENT SVCS
555 N CARACAHUA ST TOWER 2 #225
CORPUS CHRISTI, TX 78478
GULF COAST PRESORT
PO BOX 740989
HOUSTON, TX 77274-0989

GUNSTER YOAKELY & STEWART
225 WATER ST #1750
JACKSONVILLE, FL 32202
GUNSTER YOAKLEY & STEWART PA
GUNSTER YOAKELY & STEWART
777 S FLAGLER DR #500 E
WEST PALM BEACH, FL 33401

GUYOTTE REALTY
DBA REMAX BAYSIDE
PO BOX 1667 AT RTE 3 & 104
MEREDITH, NH 03253

GVA MARQUETTE ADVISORS
333 S 7TH ST #2300
MINNEAPOLIS, MN 55402

GWEN THOMAS
753 FLORAL DR
ORLANDO, FL 32803

GWENDOLYN Y. AUSTIN
[Address Information Redacted]

GWINNETT COUNTY
BUSINESS LICENSE
PO BOX 1045
LAWRENCEVILLE, GA 30046

GWINNETT HOUSING
RESOURCE PARTNERSHIP
THE IMPACT GROUP
1845 SATELLITE BLVD #100
DULUTH, GA 30097
GYLLING CONSULTING INC
951 HIDDEN VALLEY TERRACE
CLE ELUM, WA 98922

H & W COMPUTER SYSTEMS INC
PO BOX 46019
BOISE, ID 83711

H ANDREW KIM
1320 SUN DIAL DR
                                       Page 379
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TUSTIN, CA 92782
H C SERRES INC
11222 SE 30TH
BELLEVUE, WA 98004

H J TROPHIES & AWARDS INC
3414 E THOMAS
PHOENIX, AZ 85018

H LEE MOFFITT CANCER CENTER
12902 MAGNOLIA DR
TAMPA, FL 33612
H LEE STALLINGS
16915 PRINCE PINE CT
HOUSTON, TX 77059
H M VREELAND AND SON INSURANCE
AGENCY INC
PO BOX 2628
PETALUMA, CA 94953-2628

H S A COMMERICAL INC
233 S WACKER DR #350
CHICAGO, IL 60606
H2 ENVIRONMENTAL
CONSULTING SVCS INC
13122 6TH ST
CHINO, CA 91710
HA DUONG
LIETO & GREENBERG TRUSTEE
40 REEF RD
FAIFIELD, CT 06824
HABITAT FOR HUMANITY
BREVARD COUNTY
4450 L ENTERPRISE COURT
MELBOURNE, FL 32934

HABITAT FOR HUMANITY
INTERNATIONAL JACKSONVILLE
2404 HUBBARD ST
JACKSONVILLE, FL 32206

HABITAT FOR HUMANITY
OF COLLIER COUNTY
11145 TAMIANI TRL E
NAPLES, FL 34113
HABITAT FOR HUMANITY
SUMMIT AND WASATCH COUNTIES
PO BOX 682704
PARK CITY, UT 84068

HABITAT FOR HUMANITY INTEL INC
SOUTH PUGET SOUND
210 THURSTON AVE NE
OLYMPIA, WA 98501
HABITAT FOR HUMANITY INT'L
                                      Page 380
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HABITAT FOR HUMANITY INT&#39L
OF EAST KING COUNTY
PO BOX 817
REDMOND, WA 98073-0817
HABITAT FOR HUMANITY INTL INC
ORANGE COUNTY
2200 S RITCHEY
SANTA ANA, CA 92705

HABITAT FOR HUMANITY NEW YORK
334 FUMAN ST
BROOKLYN, NY 11201
HABITAT FOR HUMANITY OF LEE
COUNTY
1288 N TAMIAMI TR
NORTH FORT MYERS, FL 33903
HABITAT FOR HUMANITY RIVERSIDE
2121 ATLANTA AVE #B3
RIVERSIDE, CA 92507

HABITAT FOR HUMANITY SAN
FRANCISCO
78 OCEAN AVE
SAN FRANCISCO, CA 94112

HABITAT FOR HUMANITY SCAA
CO FANNIE MAE
135 N LOS ROBLES AVE
PASADENA, CA 91101

HABITAT FOR HUMANITY-SEATTLE
SOUTH KING COUNTY
15439 53RD AVE S #B
TUKWILA, WA 98168

HACIENDA COMMUNITY
DEVELOPMENT CORPORATION
5136 NE 42ND AVE
PORTLAND, OR 97218
HADASSAH SOUTHERN NEVADA
CHAPTER
5524 IDLE AVE
LAS VEGAS, NV 89107

HAGADONE CORPORATION
NORTH IDAHO BUSINESS JOURNAL
PO BOX 7000
COEUR D'ALENE, ID 83816-1929
HAI R AND NANCY L JENSEN AND
JENSEN & ASSOCIATES
C/O JENSEN & ASSOCIATES
814 CALLE MENDOZA
SAN CLEMENTE, CA 92672
HAIGHT BROTHERS INC
N 739 HELENA
SPOKANE, WA 99202

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HAIGHT BROWN & BONESTEEL LLP
PO BOX 45068
LOS ANGELES, CA 90045-0068
HAITIAN LAWYERS ASSOCIATION
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NORTH MIAMI BEACH, FL 33162
HAITIAN NEIGHBORHOOD
CENTER SANT LA INC
5000 BISCAYNE BLVD #110
MIAMI, FL 33137
HAL REALTY III INC
2025 FIRST AVE #700
SEATTLE, WA 98121

HALE LANE ATTORNEYS AT LAW
5441 KIETZKE LN2ND FL
RENO, NV 89511
HALIFAX DEVELOPMENT LLC
4201 E YALE #200
DENVER, CO 80222

HALL ESTIL HARDWICK GABLE
GOLDEN & NELSON PC
320 S BOSTON AVE #400
TULSA, OK 74103-3708

HALL LETTER SHOP
5200 ROSEDALE HWY
BAKERSFIELD, CA 93308

HALLORAN & SAGE LLP
225 ASYLUM ST
HARTFORD, CT 06103-4303

HAMLIN & ASSOCIATES INC DBA
MELS MARKET & JOELLES ESPRESSO
1001 4TH AVE PLAZA #50
SEATTLE, WA 98154
HAMMERSCHMIDT AMARAL & JONAS
137 N MICHIGAN ST
SOUTH BEND, IN 46601

HAMPTON TECHNOLOGIES LLC
FINANCIAL EQUIP DIVISION
19 INDUSTRIAL BLVD
MEDFORD, NY 11763
HANCHETT PUBLISHING INC DBA
CLOVERDALE REVEILLE
PO BOX 157
CLOVERDALE, CA 95425

HANDS 2 HELP INC
925 NW 125TH ST
MIAMI, FL 33168

HANDS FOR HOPE
PO BOX 812198
                                      Page 382
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
LOS ANGELES, CA 90081
HANDS ON NETWORK, INC.
[Address to Be Provided]
HANKIN HANDWERKER & MAZEL PLLC
7 PENN PLAZA #904
NEW YORK, NY 10001

HANLEY & GOBLE LLP
233 BROADWAY #2701
NEW YORK, NY 10279
HANLEY WOOD LLC
PO BOX 75324
BALTIMORE, MD 21275-5324

HANNIBALS RESTAURANT & CATERING
11070 WHITE ROCK RD
RANCHO CORDOVA, CA 95670
HANNOVER RE
P.O. BOX 61 03 69
30603 HANOVER,    GERMANY

HANSELL TIERNEY INC
2955 80TH AVE SE #205
MERCER ISLAND, WA 98040

HANSEN & COMPANY
PO BOX 2687
HOLLISTER, CA 95024-2687

HANSEN BRADSHAW MALMROSE AND
ERICKSON PC
559 W 500 S
BOUNTIFUL, UT 84010

HANSEN MORTON ANNAND INC
333 SW 5TH #404
PORTLAND, OR 97204

HANSEN QUALITY LOAN SRVC LLC
FIS VALUATION SOLUTIONS
DEPT 8009
LOS ANGELES, CA 90084-8009

HANSON MEDIA INTERNATIONAL
DBA HMI LEGAL VIDEO
4260 VIA ARBOLADE #328
LOS ANGELES, CA 90042
HAP INC
322 MAIN ST
SPRINGFIELD, MA 01105-2403
HAPCON INC DBA BONDED ROOFING
C/O INTERNATIONAL CITY BANK
249 E OCEAN BLVD
LONG BEACH, CA 90802

HAPPY DELIS LLC
DBA MCALISTERS DELI OF
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SAN ANTONIO LEGACY
18402 US HWY 281 N
SAN ANTONIO, TX 78259
HAPPY DOG ADVERTISING
181 POST RD W
WESTPORT, CT 06880
HARBOR PACIFIC VALUATION
SERVICES INC
PO BOX 129
ANGELS CAMP, CA 95222
HARBOR PT CHARITABLE FOUNDATION
C/O RAYMOND KALISKI
2 HARBOR POINT DR
MILL VALLEY, CA 94941
HARBOR TECH MORTGAGE INC
4423 POINT FOSDICK DR #208
GIG HARBOR, WA 98335

HARBOUR CREDIT COUNSELING SVCS
PO BOX 9228
VIRGINIA BEACH, VA 23450-9228

HARBOUR PLANNING GROUP LLC
2 ADAMS PL #100
QUINCY, MA 02169

HARGIS ENGINEERS INC
600 STEWART ST #1000
SEATTLE, WA 98101

HARLAND DATAPRINT INC
PO BOX 910
MILTON, WA 98354

HARLAND FINANCIAL SOLUTIONS
PO BOX 535120
ATLANTA, GA 30353-5120

HARLEM BUSINESS ALLIANCE INC
275 LENOX AVE 2ND FL
NEW YORK, NY 10027
HARLEM CONGREGATIONS FOR
COMMUNITY IMPROVEMENT INC
2854 FREDERICK DOUGLASS BLVD
NEW YORK, NY 10039
HARLEM TEXTILE WORKS LTD
PO BOX 1090
COLLEGE STATION
NEW YORK, NY 10030
HARLIN PARKER
519 E 10TH ST
PO BOX 390
BOWLING GREEN, KY 42102-0390

HARLOW ADAMS & FREIDMAN PC
300 BIC DR
                                       Page 384
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MILFORD, CT 06461
HARMIK ABDALIAN
DBA ARTOGRAPHIX
436 W COLORADO ST #114
GLENDALE, CA 91204
HARMONY PROGRAM
C/O THE DOE FUND 345 E 102ND ST
3RD FL
NEW YORK, NY 10029
HAROLD GRUBER ESQ
92 PROSPECT PLACE #1
BROOKLYN, NY 11217

HAROLD HOLBROOK
[Address Information Redacted]
HAROLD J BARKLEY JR
PO BOX 55849
JACKSON, MS 39296-5849

HAROLD STARKEY JR
78521 KENTIA PALM
PALM DESERT, CA 92211
HARPAL S BUAL
IMPERIAL LIMOUSINE SERVICE
14446 59TH AVE S
SEATTLE, WA 98168
HARRIED & HUNGRY INC
PO BOX 12795
SEATTLE, WA 98111

HARRIETTE A COLE TRUSTEE
OF HARRIETTE ASHTON COLE TRUST
2014 TREVINO AVE
OCEANSIDE, CA 92056

HARRINGTON & ASSOCIATES
1500 NE IRVING #410
PORTLAND, OR 97232-4278
HARRINGTON ANDERSON & DEBLASIO
ATTORNEYS AT LAW
1737 NE BROADWAY
PORTLAND, OR 97232-1486
HARRINGTON HOPPE & MITCHELL LTD
PO BOX 6077
YOUNGSTOWN, OH 44501-6077

HARRIS COUNTY ALARM DETAIL
PO BOX 4049
HOUSTON, TX 77210-4049

HARRIS COUNTY PROFESSIONAL
GASES INC
PO BOX 692413
HOUSTON, TX 77269-2413

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HARRIS INDUSTRIAL GASES
8475 AUBURN BLVD
CITRUS HEIGHTS, CA 95610
HARRIS JERNIGAN & GENO PLLC
587 HIGHLAND COLONY PARKWAY
PO BOX 3380
RIDGELAND, MS 39158-3380

HARRISON CHAVIS & ASSOC INC
6021 W BROAD ST
RICHMOND, VA 23230
HARRISON COUNTY RECORDER
200 W HOUSTON
MARSHALL, TX 75670

HARRISON FRIENDS OF THE OPERA
PO BOX 10
HARRISON, NY 10528
HARRISON SCOTT PUBLICATIONS INC
5 MARINE VIEW PLAZA #400
HOBOKEN, NJ 07030-5795

HARRY H SUMNER PLLC
PO BOX 824
TUPELO, MS 38804-0824

HARRY PFLAUMER
6580 BUCKLEY DR
CAMBRIA, CA 93428

HARRY R MCCUE
UNITED STATES MAGISTRATE JUDGE
655 WEST BROADWAY 19TH FL
SAN DIEGO, CA 92101

HARRY'S KEY SERVICE INC
HARRY&#39S KEY SERVICE INC
2213 MAIN ST
VANCOUVER, WA 98660
HARTE HANKS SHOPPER
HARTE-HANKS SHOPPERS INC
DBA PENNYSAVER
PO BOX 1149
BREA, CA 92822-1149

HARTE-HANKS SHOPPERS INC
PENNYSAVER
SOUTHERN CALIFORNIA DIVISION
DEPT 6082
LOS ANGELES, CA 90088-6082
HARTFORD INSURANCE COMPANY
200 HOPMEADOW ST
SIMSBURY, CT 06089
HARTFORD LIFE
HARTFORD LIFE & ACCIDENT
ATTN IMPACT FINANCIAL UNIT
200 HOPMEADOW ST
                                       Page 386
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SIMSBURY, CT 06089
HARTFORD MORTGAGE SERVICES INC
108 PACIFICA #200
IRVINE, CA 92618

HARTFORD STEAM & BOILER
ONE STATE ST.
HARTFORD, CT 06102

HARTLEB-PRASAD COPORATION
SIERRA PACIFIC MORTGAGE CORP
9045 ELK GROVE BLVD
ELK GROVE, CA 95624

HARTMAN NEWSPAPERS LP
DBA BAYSHORE SUN
820 S 8TH ST
LA PORTE, TX 77571-4956

HARVARD BUSINESS REVIEW
PO BOX 60001
TAMPA, FL 33660-0001
HARVEST FIRE INTERNATIONAL
OUTREACH MINISTRIES INC
2260 NW 183RD ST
MIAMI, FL 33056

HARVEY H CHAPMAN
2375 RANGE AVE #100
SANTA ROSA, CA 95403

HARVEY NASH INC
FILE 30726
PO BOX 60000
SAN FRANCISCO, CA 94160-0726

HARVEY SENDER TRUSTEE #07 12057
1999 BROADWAY #2305
DENVER, CO 80202

HARVEY WEITZ
25 SUTTON PL S APT 8F
NEW YORK, NY 10022
HASLER FINANCIAL SERVICES LLC
PO BOX 45850
SAN FRANCISCO, CA 94145-0850
HASLER INC
CMRS HASLER
PO BOX 3808
MILFORD, CT 06460-8708
HASTINGS COHAN WALSH AND
LOVALLO LLP
440 MAIN ST
RIDGEFIELD, CT 06877
HATCH & PARENT
21 E CARRILLO ST
PO DRAWER 720
                                       Page 387
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SANTA BARBARA, CA 93102-0720
HATCHETT & FAGAN DIRECT INC
DIRECT RESPONSE MARKETING
PO BOX 360956
BIRMINGHAM, AL 35236
HAUGE & HASSAIN INC
1140 NW 46TH ST
SEATTLE, WA 98107
HAUPPAUGE INDUSTRIAL ASSOC
225 WIRELESS BLVD
HAUPPAGE, NY 11788

HAUSER & ASSOCIATES
591 BROADWAY #3A
NEW YORK, NY 10012
HAUSER & MOUSZES
PO BOX 1397
WOODBRIDGE, CA 95258-1397

HAVANA CLUB
DESIGNASHIRT COM
905 N SCOTTSDALE RD
TEMPE, AZ 85281

HAVEN FOR WOMENS CENTER
619 13TH ST
MODESTO, CA 95354
HAVER ANALYTICS INC
60 E 42ND ST 33RD FL
NEW YORK, NY 10165

HAVER ANALYTICS, INC.
[Address to Be Provided]

HAWAII DEPARTMENT OF TAXATION
PO BOX 3559
HONOLULU, HI 96811-3559
HAWAII STATE TAX COLLECTOR
OAHU DISTRICT OFFICE
PO BOX 1530
HONOLULU, HI 96806-1530

HAWAIIAN TELECOM INC
VERIZON
1177 BISHOP ST
HONOLULU, HI 96813-2808
HAWK BUILDING
PO BOX 2318
WOODINVILLE, WA 98072

HAWKEYE ELECTRIC INC
1394 N FARRELL CT #104
GILBERT, AZ 85233

HAWLEY TROXELL ENNIS & HAWLEY
877 MAIN ST #1000
                                     Page 388
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PO BOX 1617
BOISE, ID 83701-1617

HAYDEN CHAMBER OF COMMERCE
157 W HAYDEN AVE #103
HAYDEN, ID 83835
HAYDER H FARAJ
DBA THE ARCHITECTS STUDIO
3718 TULLER AVE
W LOS ANGELES, CA 90034
HAYNES & BOONE LLP
PO BOX 841399
DALLAS, TX 75284-1399

HAYWARD APPRAISAL CO INC
151 N TUSTIN AVE #A
TUSTIN, CA 92780

HAYWARD CAPITAL INC
31878 DEL OBISPO ST #112
SAN JUAN CAPISTRANO, CA 92675
HAYWARD CHAMBER OF COMMERCE
22561 MAIN ST
HAYWARD, CA 94541

HAZE WEED
1940 SE 2ND ST
ASTORIA, OR 97103
HBI OFFICE INTERIORS
DBA NUMARK OFFICE INTERIORS
3600 136TH PL SE BLDG 4
BELLEVUE, WA 98006-1469
HCC
8 FOREST PARK DR.
P.O. BOX 4018
FARMINGTON, CT 06034

HDA LOOSELEAF INC
DBA HDA PROMOTIONAL PRODUCTS
PO BOX 1023
BOTHELL, WA 98041

HDG ASSOCIATES
DBA HOTEL MAR MONTE
1111 E CABRILLO BLVD
SANTA BARBARA, CA 93103
HEADSETS.COM INC
1 DANIEL BURNHAM CRT #400C
SAN FRANCISCO, CA 94109
HEALING GARDEN
47 HALSEY ST
NEWARK, NJ 07102
HEALTH AFFAIRS
PO BOX 148
CONGERS, NY 10920-0148
                                     Page 389
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HEARST NEWSPAPER PARTNERSHIP LP
DBA SAN ANTONIO EXPRESS NEWS
PO BOX 2171
SAN ANTONIO, TX 78297-2171

HEARST NEWSPAPERS PARTNERSHIP
HEARST NEWSPAPER PARTNERSHIP LP
DBA THE HOUSTON CHRONICLE
PO BOX 80086
PRESCOTT, AZ 86304-8086
HEARST NEWSPAPERS PARTNERSHIP
HEARST NEWSPAPER PARTNERSHIP LP
SAN ANTONIO EXPRESS NEWS
PO BOX 80088
PRESCOTT, AZ 86304-8088
HEART FOR HONDURAS
22601 LUTHERAN CHURCH RD
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HEARTLAND COMMUNITY
BANKERS ASSOCIATION
700 S KANSAS AVE #512
TOPEKA, KS 66603
HEAVNER SCOTT BEYERS & MIHLAR
PO BOX 740
DECATUR, IL 62525

HECKAMAN & NARDONE INC
PO BOX 27603
LANSING, MI 48909

HEI HOSPITALITY FUND HOLDING LP
DBA HILTON LONG BEACH &
EXECUTIVE MEETING CENTER
701 W OCEAN BLVD
LONG BEACH, CA 90831

HEIDI BERG AND
EDWIN BURKHARDT ESQ
C/O EDWIN BURKHARDT ESQ
1370 STEWART ST
SEATTLE, WA 98109

HEIDI J DANEKAS
370 PARADISE DR
BURBANK, WA 99323
HEIDRICK & STRUGGLES INC
1133 PAYSHERE CIRCLE
CHICAGO, IL 60674
HELABA INVEST KAPITALANLAGEGESELLSCHAFT
[Address to Be Provided]

HELEN RAFTERY
DBA HARRIETTE A COLE TRUSTEE OF
HELEN RAFTERY TESTAMENTARY TRST
2014 TREVINO AVE
OCEANSIDE, CA 92056
                                       Page 390
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HELEN YACK
[Address to Be Provided]
HELGA AUSIN
7080 TWIN FAWN TRAILS
VACAVILLE, CA 95688
HELLENDER ENTERPRISES
DBA AMBASSADOR MAPS
7040 W PALMETTO PARK #4 PMB 205
BOCA RATON, FL 33433
HELLER EHRMAN LLP
HELLER EHRMAN WHITE & MCAULIFFE
FILE NO 73536
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SAN FRANCISCO, CA 94160-3536
HELLER EHRMAN WHITE & MCAULIFFE
BERNARD L. RUSSELL
333 BUSH ST
SAN FRANCISCO, CA 94104
HELLER EHRMAN WHITE & MCAULIFFE
FILE# 73536
SAN FRANCISCO, CA 94160-3536

HELLER EHRMAN WHITE & MCAULIFFE
FILE# 73536
PO BOX 60000
SAN FRANCISCO, CA 94160-3536

HELLER EHRMAN WHITE & MCAULIFFE
[Address to Be Provided]

HELLMUTH OBATA & KASSABAUM INC
HOK GROUP INC
PO BOX 200119
DALLAS, TX 75320-0119

HELMSING LEACH HERLONG
NEWMAN & ROUSE
PO BOX 2767
MOBILE, AL 36652
HELP MINISTRIES
DBA DEBT FREE
PO BOX 22054
TEMPE, AZ 85285
HELP MINISTRIES INC DBA
DEBT FREE
1148 W BASELINE RD
MESA, AZ 85210
HELPING HAND HOUSE
PO BOX 710
PUYALLUP, WA 98371
HELPING HANDS COMPUTER
OUTREACH INC
4080 FOREST VIEW DR
                                       Page 391
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CONYERS, GA 30094
HELPLINE YOUTH COUNSELING INC
12440 E FIRESTONE BLVD #1000
NORWALK, CA 90650

HEMAR ROUSSO & HEALD LLP
15910 VENTURA BLVD 12TH FL
ENCINO, CA 91436-2829

HEMET SAN JACINTO
ASSOCIATION OF REALTORS INC
146 S HARVARD ST
HEMET, CA 92543

HEMISPHERE REAL ESTATE INC
1000 PONCE DE LEON BLVD #206
CORAL GABLES, FL 33134
HEMLOCK PRINTERS USA INC
18000 INTERNATIONAL BLVD #404
SEATTLE, WA 98188

HENDERSON CHAMBER OF COMMERCE
590 S BOULDER HWY
HENDERSON, NV 89015
HENRY BROS ELECTRONIC INC
DBA HBE NATIONAL SAFE
1511 E ORANGETHORPE AVE #A
FULLERTON, CA 92831
HENRY COUNTY TAX COMMISSIONER
ANDY PIPKIN
140 HENRY PKWY
PO BOX 488
MCDONOUGH, GA 30253

HENRY DALEY CITY MARSHALL
1 CROSS ISLAND PLAZA
ROSEDALE, NY 11422

HENRY E HUNTINGTON
LIBRARY AND ART GALLERY
1151 OXFORD RD
SAN MARINO, CA 91108

HENRY GALLERY ASSOCIATION
UNIVERSITY OF WASHINGTON
PO BOX 351410
SEATTLE, WA 98195
HENRY GUTERSON
PO BOX 11755
BAINBRIDGE ISLAND, WA 98110
HENRY JOHNSON AND PEARL JOHNSON
C/O THE GIBSON LAW FIRM PLL
447 NORTHPARK DR
RIDGELAND, MS 39157

HENRY OBERHEIM AND MARY CAMPION
FRANK P SAJAH LLC
                                       Page 392
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251 N AVE W
WESTERFIELD, NJ 07090

HENRY W GRADY FOUNDATION
50 HURT PLAZA #803
ATLANTA, GA 30303
HERALD NEWS PUBLISHING INC
DBA FONTANA HERALD NEWS
PO BOX 549
FONTANA, CA 92334
HERBERG INC
NORTHSTAR MORTGAGE & REALTY
950 BASCOM AVE #2112
SAN JOSE, CA 95128

HERBERT F FOX
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MUKILTEO, WA 98275
HERBERT L BROWN
2428 N MARTIN L KING BLVD
NORTH LAS VEGAS, NV 89032

HERBERT W MERRILL
DBA MERRILL CONSULTANTS
10717 CROMWELL DR
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HERITAGE CASUALTY INSURANCE CO
200 N MARTINGALE RD
SCHAUMBURG, IL 60173

HERITAGE HEALTH & HOUSING INC
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HERITAGE OPERATING LP
METROLIFT PROPANE
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FLORENCE, KY 41042
HERMAN MILLER
WORKPLACE RESOURCE
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LATINOAMERICANA
611 W CIVIC CENTER DR
SANTA ANA, CA 92701
HERMES SARGENT BATES LLP
901 MAIN ST #5200
DALLAS, TX 75202

HERMINIA ARZATE
8581 CALLE FELIZ
RANCHO CUCAMONGA, CA 91730

HERRICK FEINSTEIN LLP
2 PARK AVE
                                      Page 393
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NEW YORK, NY 10016
HERSHEL PRICE
C/O SHEEHAN BARNETT HAYS
DEAN & PENNINGTON PSC
114 S 4TH ST
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HERZOG CARP & MCMANUS PC
PO BOX 218845
HOUSTON, TX 77218-8845
HESPERIA CHAMBER OF COMMERCE
16816-D MAIN ST
HESPERIA, CA 92345

HESS APPRAISAL & CONSULTING INC
1824 HAWKBROOK DR
SAN DIMAS, CA 91773

HEWITT ASSOCIATES LLC
PO BOX 95135
CHICAGO, IL 60694-5135
HEWLETT PACKARD
PO BOX 932956
ATLANTA, GA 31193-2956

HEWLETT PACKARD CO
HEWLETT PACKARD
PO BOX 101149
ATLANTA, GA 30392-1149

HEWLETT PACKARD COMPANY
HEWLETT PACKARD
FILE #19689
LOS ANGELES, CA 90074-9689

HICKS SPORTS MARKETING GROUP
ATTN ACCOUNTING
PO BOX 975107
DALLAS, TX 75397-5107
HICO DISTRIBUTING OF
COLORADO INC
2245 W COLLEGE AVE
ENGLEWOOD, CO 80110

HICO OF DALLAS
2642 ANDJON DR
DALLAS, TX 75220
HIDAY & RICKE P A
HIDAY & RICKE PA
PO BOX 550858
JACKSONVILLE, FL 32255-0858

HIDAY & RICKE PA
PO BOX 550858
JACKSONVILLE, FL 32255-0858

HIGER LICHTER & GIVNER LLP
18305 BISCAYNE BLVD #402
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AVENTURA, FL 33160
HIGH PERFORMANCE LENDING INC
28494 WESTINGHOUSE STE 306
VALENCIA, CA 91355

HIGH TECH SALES INC
21081 TRAILWOOD CT
PO BOX 1467
WHITNEY, TX 76692
HIGHER EDUCATION STUDENT
ASSISTANCE AUTHORITY
PO BOX 529
NEWARK, NJ 07101-0529

HIGHER PLAIN COMMUNITY
DEVELOPMENT
1879 97 GLENWOOD AVE SE
ATLANTA, GA 30316
HIGHLAND APPRAISALS INC
175 MAIN ST #711 8
WHITE PLAINS, NY 10601

HIGHLAND PUBLISHING INC
HIGHLAND COMMUNITY NEWS
27268 E BASE LINE
HIGHLAND, CA 92346

HIGHLANDS RANCH
CHAMBER OF COMMERCE
300 W PLAZA DR #225
HIGHLANDS RANCH, CO 80129

HILDA BULTER
AND HER ATTORNEY DEBORAH GREER
722 CHASE DR
CORPUS CHRISTI, TX 78412
HILDA DIAZ
LAPIDUS & LAPIDUS
211 S BEVERLY DR #211
BEVERLY HILLS, CA 90212
HILDING KIPNIS LYON & KELLY
11975 EL CAMINO REAL #200
SAN DIEGO, CA 92130

HILL FARRER & BURRILL LLP
ONE CA PLAZA
300 S GRAND AVE 37TH FL
LOS ANGELES, CA 90071-3147

HILLCREST MORTGAGE COMPANY
971 THIRD ST
BEAVER, PA 15009

HILLCREST PRESBYTERIAN
MISSION FUND
10404 34TH AVE SW
SEATTLE, WA 98146

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HILLER SALES & MARKETING INC
DBA MARKET FORCE INFORMATION
PO BOX 2147
BOULDER, CO 80306
HILLIARD FARBER & CO INC
45 BROADWAY
NEW YORK, NY 10006

HILLMAN GROUP LLC
ACCOUNTS RECEIVABLE
PO BOX 1597
UNION, NJ 07083-1597
HILLSBOROUGH CNTY BRD COMMSSNER
HOUSING & COMMUNITY CODE ENFCMT
FALSE ALARM SECTION
10119 WINDHORST RD
TAMPA, FL 33619

HILLSBOROUGH COMMUNITY COLLEGE
2112 N 15TH ST
TAMPA, FL 33605
HILLSBOROUGH COUNTY
DOUG BELDEN TAX COLLECTOR
PO BOX 172920
TAMPA, FL 33672-0920

HILLSBOROUGH COUNTY PUBLIC
MINTZ ELEMENTARY SCHOOL
SCHOOLS FBO DOVER ELEMENTARY
901 E KENNEDY BLVD
TAMPA, FL 33602

HILLSBOROUGH COUNTY PUBLIC SCHS
MINTZ ELEMENTARY SCHOOL
TAMPA BAY BOULEVARD ELEMENTARY
3111 W TAMPA BAY BLVD
TAMPA, FL 33607

HILLVIEW ESTATE INC
HILLVIEW FINANCE
DAN NGUYEN
2487 ALVIN AVE
SAN JOSE, CA 95121

HINES OLYMPUS CORPORATE CENTER
PO BOX 60000 FILE 30882
SAN FRANCISCO, CA 94160
HIRISE ENGINEERING PC
50 CHARLES LINDBERGH BLVD #503
UNIONDALE, NY 11553
HISCOCK & BARCLAY LLP
ONE PARK PLACE
300 S STATE ST
SYRACUSE, NY 13202-2078
HISPANAS ORGANIZED FOR
POLITICAL EQUALITY
634 S SPRING STREET #920
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LOS ANGELES, CA 90014
HISPANIC ASSOC OF REALTORS
615 SAMLL HILL #104
GRAND PRIARIE, TX 75050

HISPANIC BUSINESS INIATIVE
FUND OF GREATER ORLANDO INC
315 E ROBINSON ST #190
ORLANDO, FL 32801
HISPANIC BUSINESS INITIATIVE
FUND INC
7402 N 56TH ST #425
TAMPA, FL 33617

HISPANIC CHAMBER EDUCATION FDTN
924 W COLFAX AVE #201
DENVER, CO 80204

HISPANIC CHAMBER OF COMMERCE
OF METRO ORLANDO
315 E ROBINSON ST #190
ORLANDO, FL 32801

HISPANIC CHAMBER OF COMMERCE
OF PALM BEACH COUNTY
809 NORTH DIXIE HWY 2ND FLR
W PALM BEACH, FL 33401

HISPANIC CHAMBER OF COMMERCE
924 W COLFAX AVE #201
DENVER, CO 80204

HISPANIC COALITION CORP
5659 W FLAGLER
MIAMI, FL 33134

HISPANIC DEVELOPMENT CORP
563 ORANGE ST
NEWARK, NJ 07107

HISPANIC FAMILY CENTER
SOUTHERN NWE JERSEY INC
2850 FEDERA ST
CAMDEN, NJ 08105

HISPANIC FEDERATION INC
55 EXCHANGE PL 5TH FL
NEW YORK, NY 10005
HISPANIC INFORMATION CENTER OF
PASSAIC INC
186 GREGORY AVE
PASSAIC, NJ 07055
HISPANIC METROPOLITAN
CHAMBER OF COMMERCE
PO BOX 1837
PORTLAND, OR 97207

HISPANIC MULTI-PURPOSE SERVICE
CENTER
                                       Page 397
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911 E 23RD ST
PATERSON, NJ 07513

HISPANIC PUBLIC RELATIONS ASSOC
660 S FIGUEROA ST #1140
LOS ANGELES, CA 90017
HISPANIC SCHOLARSHIP FUND
700 S FLOWER ST #2106
LOS ANGELES, CA 90017
HISPANIC SEAFAIR ORGANIZATION
C/O RIOS CANTOR PS
811 FIRST AVE #200
SEATTLE, WA 98104

HISPANIC UNITY OF FLORIDA INC
5840 JOHNSON ST
HOLLYWOOD, FL 33201

HISPANIC WOMENS NETWORK OF
TEXAS
PO BOX 327
AUSTIN, TX 78767-0327

HISTORIC MISSION INN CORP
DBA MISSION INN
3649 MISSION INN AVE
RIVERSIDE, CA 92501

HISTORIC ROSER PARK
NEIGHBORHOOD ASSOCIATION
C/O MICHAEL MANLOWE
859 9TH AVE S
SAINT PETERSBURG, FL 33701

HISTORIC SANFORD WELCOME CENTER
230 E FIRST ST
SANFORD, FL 32771
HISTORICAL SOCIETY OF SEATTLE
& KING COUNTY DBA MUSEUM
OF HISTORY & INDSTRY
2700 24TH AVE E
SEATTLE, WA 98112
HITACHI CONSULTING
PO BOX 972980
DALLAS, TX 75397-2980
HITACHI DATA SYSTEMS CORP
ACCOUNTS RECEIVABLES
PO BOX 99257
CHICAGO, IL 60693
HITCHCOCK BOWMAN & SCHACHTER
21515 HAWTHORNE BLVD #1030
TORRANCE, CA 90503
HIV & AIDS LEGAL
SERVICES ALLIANCE INC
3550 WILSHIRE BLVD #750
LOS ANGELES, CA 90010
                                       Page 398
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HM URBANO & COMPANY
HUMBERTO URBANO
374 EAST H ST #A PMB #422
CHULA VISTA, CA 91910

HMC ACQUISITION PROPERTIES
DBA SAN FRANCISCO MARRIOTT
FISHERMANS WHARF
1250 COLUMBUS AVE
SAN FRANCISCO, CA 94133
HMONG SISTERHOOD OF FRESNO
5499 E HEDGES AVE #101
FRESNO, CA 93727

HOBART LEGAL SERVICES LLC
ESQUIRE DEPOSITION SERVICES LLC
DBA ESQUIRE DEPOSITION SVCS
2850 RED HILL AVE #120
SANTA ANA, CA 92705

HOBE SOUND CHAMBER OF COMMERCE
PO BOX 1507
HOBE SOUND, FL 33475

HOBERMAN MILLER GOLDSTEIN &
HOBERMAN MILLER GOLDSTEIN
LESSER PC
226 W 26TH ST 8TH FL
NEW YORK, NY 10001
HODGE AND ASSOCIATES
PO BOX 487
OXFORD, OH 45056

HOEVEL & ASSOCIATES
3725 N WESTERN AVE
CHICAGO, IL 60618
HOGAN & HARTSON LLP
COLUMBIA SQUARE
555 13TH ST NW
WASHINGTON, DC 20004-1109
HOGUE & MUMMITH INC
DBA ALT WORLDWIDE
10821 COMPOSITE DR
DALLAS, TX 75220
HOHAB INC
DBA HOUSE OF HELIUM & BALLOONS
9721 COUNTY RD 5723
CASTROVILLE, TX 78009
HOLIDAY INN - SELECT
2712 SW FREEWAY
HOUSTON, TX 77098
HOLLAND & HART LLP
PO BOX 17283
DENVER, CO 80217-0283

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HOLLAND & KNIGHT LLP
PO BOX 864084
ORLANDO, FL 32886-4084
HOLLAND DEAN BELL
3220 YOUNG CHARLES DR
FLORENCE, SC 29501
HOLLENBECK POLICE
BUSINESS COUNCIL INC
2015 E 1ST ST
LOS ANGELES, CA 90033
HOLLENBECK YOUTH CENTER
HOLLENBECK POLICE
2015 E FIRST STREET
LOS ANGELES, CA 90033
HOLLISTER GROUP LLC
8150 LEESBURG PIKE #503
VIENNA, VA 22182

HOLLYWOOD CHAMBER OF COMMERCE
7018 HOLLYWOOD BLVD
HOLLYWOOD, CA 90028

HOLLYWOOD COMMUNITY
HOUSING CORPORATION
1640 N WILCOX AVE
HOLLYWOOD, CA 90028

HOLSINGER & ASSOCIATES
101 W ILLINOIS AVE #1
MORRIS, IL 60450

HOME BUILDERS ASSOCIATION OF
MARION-POLK BUILDING
MARION & POLK COUNTIES
385 TAYLOR ST NE
SALEM, OR 97301

HOME BUILDERS ASSOCIATION OF
SARASOTA COUNTY INC
395 COMMERCIAL CT #AE
VENICE, FL 34292
HOME CONSULTANTS INC
HCI MORTGAGE
150 WHITE PLAINS RD
TARRYTOWN, NY 10591
HOME CONSULTANTS INC
HCI MORTGAGE
473 EASTON TPKE #A
LAKE ARIEL, PA 18436
HOME FUNDING GROUP LLC
1719 RT 10 EAST
PARSIPPANY, NJ 07054
HOME OWNERSHIP FOR
PERSONAL EMPOWERMENT
21231 HAWTHORNE BLVD
                                     Page 400
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TORRANCE, CA 90503
HOME SAVING MORTGAGE CORP
13220 BELCHER RD S #8
LARGO, FL 33773

HOME SHOPPING NETWORK
1 HSN DR
ST PETERSBURG, FL 33729

HOMEBRICKS INC
345 SPEAR ST #700
SAN FRANCISCO, CA 94105
HOMELAND FUNDING SOLUTIONS INC
20 CENTERVILLE RD #102
WARWICK, RI 02886
HOMELIFE INTERNATIONAL
MORTGAGE COMPANY INC
5950 HAZELTINE NATL DR #270
ORLANDO, FL 32822

HOMEMAKERS MORTGAGE INC
16880 BERNARDO DR #210
SAN DIEGO, CA 92127
HOMEOWNER PRESERVATION FNDTN
8400 NORMANDALE LAKE BLVD #250
MINNEAPOLIS, MN 55437

HOMES & LAND MAGAZINE
220 S GLENDORA AVE #J
GLENDORA, CA 91741

HOMES & LAND OF
GREATER LONG BEACH
5318 E 2ND ST #418
LONG BEACH, CA 90802
HOMES IN PARTNERSHIP INC
235 E 5TH ST
PO BOX 761
APOPKA, FL 32704
HOMESIGHT
5117 RAINIER AVE S
SEATTLE, WA 98118

HOMESTAR MORTGAGE INC
4909 MURPHY CANYON RD #460
SAN DIEGO, CA 92123
HOMESTEAD APPRAISAL SERVICES
CATHY PUTEGNAT
PO BOX 2778
EWA BEACH, HI 96706

HOMESTEAD COMMUNITY LAND TRUST
2017 E SPRUCE ST
SEATTLE, WA 98122
HOMESTEAD MORTGAGE INC
                                      Page 401
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HOMESTEAD MORTGAGEINC
11411 124TH #118
KIRKLAND, WA 98034
HOMESTONE MORTGAGE INC
11250 KIRKLAND WAY
KIRKLAND, WA 98033
HOMETOWN EDUCATION
FOUNDATION INC
810 PRADERA WY
SAN RAMON, CA 94583
HOMEWARD BOUND PHOENIX
2302 W COLTER ST
PHOENIX, AZ 85015

HONG LAW PLC
101 2ND ST SE #600
PO BOX 1307
CEDAR RAPIDS, IA 52406

HONOR LEGION POLICE DEPARTMENT
STATE OF NEW JERSEY
ATTN JAMES HOMWEY JR
PO BOX 2419
WEST PETERSON, NJ 07424-2419

HOPE CENTER INC
666 SW 4TH ST
MIAMI, FL 33130
HOPE COMMUNITIES INC
2543 CALIFORNIA ST
DENVER, CO 80205

HOPE COMMUNITY INC
174 E 104TH ST
NEW YORK, NY 10029-4914
HOPELINK
16225 NE 87TH ST #A1
REDMOND, WA 98052-3536

HOPKINS LAWRENCE & BAILEY PC
1981 MARCUS AVE #201
LAKE SUCCESS, NY 11042

HORACE DEL VALLE
1800 EDMOND ST #128
LAS VEGAS, NV 89146
HORACIO SALINAS PHOTOGRAPHY
325 W 37TH ST #3F
NEW YORK, NY 10018
HORIZON BUSINESS SOLUTIONS INC
9800 RODDEN RD
OAKDALE, CA 95361
HORIZON CONTRACTING GROUP LLC
1 W ST #100
NEW YORK, NY 10004
                                      Page 402
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
HORNALL ANDERSON DESIGNWKS INC
710 SECOND AVE #1300
SEATTLE, WA 98104
HORNBLOWER CRUISES & EVENTS
HORNBLOWER CRUISES
2431 W COAST HWY #101
NEWPORT BEACH, CA 92663

HORNECKER COWLING HASSEN
AND HEYSELL LLP
717 MURPHY RD
MEDFORD, OR 97504

HORNSBY LEVY APPRAISAL GROUP
811 3RD ST
SANTA ROSA, CA 95404
HOSPICE OF ORLEANS
14080 RT 31 W
PO BOX 489
ALBION, NY 14411
HOSPICE OF THE NORTH COAST
5441 AVE ENCINAS #A
SAN MARCOS, CA 92008

HOST DEVELOPMENT INC
3835 NE HANCOCK #101
PORTLAND, OR 97212
HOTEL RFP SOLUTIONS
11506 20TH AVE SW
SEATTLE, WA 98146

HOTSOS ENTERPRISES LTD
1701 W NORTHWEST HWY #240
GRAPEVINE, TX 76051-8107
HOULIHAN & OMALLEY APPRAISAL CO
141 PARKWAY DRIVE
BRONXVILLE, NY 10708

HOUSE OF BLUES CONCERTS INC
GIBSON AMPHITHEATRE
100 UNIVERSAL CITY PLAZA
5454 3RD FL
UNIVERSAL CITY, CA 91608
HOUSING & CREDIT COUNSELING INC
CCCS
1195 SW BUCHANAN #203
PO BOX 4369
TOPEKA, KS 66604-0369
HOUSING & NEIGHBORHOOD
DEVELOPMENT SERVICES INC
15 S ESSEX AVE
ORANGE, NJ 07050

HOUSING & SERVICES INC
461 PARK AVE S 6TH FL
                                       Page 403
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NEW YORK, NY 10016
HOUSING ACTION ILLINOIS
11 E ADAMS #1501
CHICAGO, IL 60603

HOUSING AND COMMUNITY
DEVELOPMENT NETWORK OF NJ
145 W HANOVER ST
TRENTON, NJ 08618
HOUSING AND EDUCATION
ALLIANCE INC
550 N REO ST #300
TAMPA, FL 33609

HOUSING AND NEIGHBORHOOD
DEVELOPEMENT SERVICES OF
CENTRAL
6900 S ORANGE BLOSSOM TRL #300
ORLANDO, FL 32809

HOUSING CALIFORNIA
801 12TH ST #210
SACRAMENTO, CA 95814

HOUSING COLORADO
PO BOX 9610
DENVER, CO 80209

HOUSING CONSORTIUM OF
EVERETT AND SNOHOMISH COUNTY
PO BOX 1326
EVERETT, WA 98206

HOUSING DEVELOPMENT CONSORTIUM
OF SEATTLE-KING COUNTY
1402 3RD AVE #709
SEATTLE, WA 98101
HOUSING FOR MESA
251 W MAIN #2
MESA, AZ 85210

HOUSING FOR NEVADA
285 E WARM SPRINGS #100
LAS VEGAS, NV 89119

HOUSING HOPE
5830 EVERGREEN WAY
EVERETT, WA 98203
HOUSING INDUSTRY FOUNDATION
538 A VALLEY WAY
MILPITAS, CA 95035-4106
HOUSING LEADERSHIP COUNCIL
OF SAN MATEO COUNTY
139 MITCHELL AVE #108
SO SAN FRANCISCO, CA 94080

HOUSING LEADERSHIP COUNCIL OF
PALM BEACH COUNTY INC
                                      Page 404
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1555 PALM BEACH LAKES BLVD #950
PO BOX 1709
W PALM BEACH, FL 33402
HOUSING OPPORTUNITIES
PROJECT FOR EXCELLENCE INC
18441 NW 2ND AVE #218
MIAMI GARDENS, FL 33169

HOUSING OPPORTUNITIES COLLAB
4305 UNIVERSITY AVE #550
SAN DIEGO, CA 92105
HOUSING PARTNERSHIP
DEVELOPMENT CORPORATION
450 7TH AVE #2401
NEW YORK, NY 10123
HOUSING PARTNERSHIP FOR
MORRIS COUNTY
2 EAST BLACKWELL STREET #12
DOVER, NJ 07801

HOUSING PARTNERSHIP INC
2001 W BLUE HERON BLVD
RIVIERA BEACH, FL 33404
HOUSING RESOURCES BOARD
OF BAINBRIDGE INTER-PARISH
PO BOX 11391
BAINBRIDGE ISLAND, WA 98110
HOUSING RESOURCES GROUP
1651 BELLEVUE AVE
SEATTLE, WA 98122

HOUSING TRUST OF SANTA CLARA
COUNTY INC
95 S MARKET ST #550
SAN JOSE, CA 95113

HOUSING WORKS
925 S CITRUS AVE
LOS ANGELES, CA 90036
HOUSTON A+ CHALLENGE
1415 LOUISANA BOX 9
HOUSTON, TX 77002

HOUSTON AREA COURIER INC
Action Courier & Logistics LLC
PO BOX 218728
HOUSTON, TX 77218

HOUSTON AREA URBAN LEAGUE INC
1301 TEXAS AVE
HOUSTON, TX 77002

HOUSTON ASTROS BASEBALL CLUB
SEASON TICKET SERVICES
PO BOX 4811
HOUSTON, TX 77001-4811

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HOUSTON CASUALTY GROUP
13403 NORTHWEST FREEWAY
HOUSTON, TX 77040
HOUSTON CITIZENS
CHAMBER OF COMMERCE
2808 WHEELER ST
HOUSTON, TX 77004

HOUSTON HISPANIC CHAMBER
OF COMMERCE
1801 MAIN ST #1075
HOUSTON, TX 77002
HOUSTON INTERNATIONAL FESTIVAL
ATTN ACCOUNTING DEPT
4203 MONTROSE BLVD #200
HOUSTON, TX 77006
HOUSTON LIVESTOCK SHOW & RODEO
PO BOX 20070
HOUSTON, TX 77225-0070

HOUSTON NORTHWEST
CHAMBER OF COMMERCE
14511 FALLING CREEK #205
HOUSTON, TX 77014

HOUSTON READ COMMISSION
5330 GRIGGS RD
BOX 75
HOUSTON, TX 77021

HOUSTON REAL ESTATE ASSN INC
5330 GRIGGS #D-107
HOUSTON, TX 77021
HOUSTON ZOO INC
1513 N MCGREGOR
HOUSTON, TX 77030

HOWARD A KIPNIS
DBA KIPNIS LAW FIRM
11975 EL CAMINO REAL #200
SAN DIEGO, CA 92130
HOWARD BALDWIN
6223 ORCHID LANE
DALLAS, TX 75230
HOWARD C RILE JR
100 OCEANGATE #670
LONG BEACH, CA 90802-4312

HOWARD CHARLES JOHNSON
PO BOX 12184
CHANDLER, AZ 85248

HOWARD L STOMEL
4900 BISSONNET #209
BELLAIRE, TX 77401
HOWARD RICE NEMEROVSKI
                                      Page 406
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CANADY FALK & RABKIN
3 EMBARCADERO CTR 7TH FL
SAN FRANCISCO, CA 94111-4024
HOWARD S WRIGHT CONSTRUCTION CO
HOWARD S WRIGHT CONSTRUCTORS LP
PO BOX 3764
SEATTLE, WA 98124-2264

HOWARD S WRIGHT CONSTRUCTION CO
HOWARD S WRIGHT CONSTRUCTORS LP
3960 INDUSTRIAL BLVD #600
WEST SACRAMENTO, CA 95691
HOWARD S WRIGHT CONSTRUCTION CO
HOWARD S WRIGHT CONSTRUCTORS LP
425 NW 10TH AVE #200
PORTLAND, OR 97209
HOWARD S WRIGHT CONSTRUCTORS LP
PO BOX 34449
SEATTLE, WA 98124-1449

HOWARD S WRIGHT CONSTRUCTORS LP
455 N 3RD ST #280
PHOENIX, AZ 85004
HOWLAND HOMES LLC
19237 AURORA AVE N
SHORELINE, WA 98133

HOWREY LLP
1299 PENNSYLVANIA AVE NW
WASHINGTON, DC 20004-2402

HOWREY SIMON ARNOLD & WHITE LLP
HOWREY LLP
1299 PENNSYLVANIA AVE NW
WASHINGTON, DC 20004-2402
HOWROYD WRIGHT EMPLOYMENT
DBA APPLEONE EMPLOYMENT SVCS
327 W BROADWAY
GLENDALE, CA 91209-9048
HOY CHICAGO
14848 COLLECTIONS CENTER DR
CHICAGO, IL 60693-0148

HP FINANCIAL SERVICES COMPANY
PO BOX 402575
ATLANTA, GA 30384-2575
HPT TRS IGH-2 INC
INTERCONTINENTAL HOUSTON
GALLERIA
2222 WEST LOOP S
HOUSTON, TX 77027
HPT TRS IHG-1
STAYBRIDGE SUITES
7301 NE 41ST ST
VANCOUVER, WA 98662
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HRDQ
2002 RENAISSANCE BLVD #100
KING OF PRUSSIA, PA 19406-2756
HSA ENTERPRISES INC
9350 S DIXIE HWY PENTHOUSE 3
MIAMI, FL 33156

HSB CO
21045 NETWORK PLACE
CHICAGO, IL 60673-1210
HSBC
BEST BUY
DBA BEST BUY
ATTN LAUREN STANLEY
700 WOOD DALE RD
WOOD DALE, IL 60191

HSBC BANK
PO BOX 1224 7TH FLR ADJUSTMENTS
BUFFALO, NY 14240
HSBC BANK USA
452 5TH AVE TOWER 5
NEW YORK, NY 10018

HSBC CARD SERVICE
1301 E TOWER RD
SCHAUMBURG, IL 60173
HSCHOOL 4 PERFORMING & VIS ARTS
4001 STANFORD STREET
HOUSTON, TX 77006

HSW BUILDERS LLC
730 SW BONNET WAY #3000
BEND, OR 97702
HTC INC
DBA A HEAVENLY TOUCH CLEANING
PO BOX 5232
FALMOUTH, VA 22403-5232
HUB FORD LINCOLN MERCURY
600 N COIT ST
FLORENCE, SC 29501

HUBBARD SIGHT & SOUND AV INC
DBA SIGHT & SOUND PRODUCTIONS
11193 ST JOHNS INDUSTRIAL PKY N
JACKSONVILLE, FL 32246

HUC SKIRBALL CULTURAL CENTER
2701 N SEPULVEDA BLVD
LOS ANGELES, CA 90049-6833

HUD LENDER APPROVAL &
RECERTIFICATION DIVISION
ROOM B133 P3214
451 7TH ST SW
WASHINGTON, DC 20410
                                       Page 408
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
HUDIBERG CHEVROLET INC
6000 TINKLER DIAGONAL
MIDWEST CITY, OK 73110
HUDSON COOK LLP
7250 PARKWAY DR 5TH FL
HANOVER, MD 21076-1343

HUDSON COUNTY REGISTRATION
595 NEWARK AVE #105
JERSEY CITY, NJ 07306
HUDSON GLOBAL RESOURCES MANAGEMENT INC.
[Address to Be Provided]

HUEY-JEN CHIU
[Address Information Redacted]
HUFFINES CHEVROLET SUBARU INC
PO BOX 338
LEWISVILLE, TX 75067

HUGH FISHER
LAW OFFICES OF MICHAEL J
OCONNOR
8118 DATAPOINT DR
SAN ANTONIO, TX 78229

HUGHES WATTERS & ASKANASE LLP
333 CLAY 29TH FL
HOUSTON, TX 77002-4168

HULBERG & ASSOCIATES INC
1 ALMADEN BLVD #700
SAN JOSE, CA 95113
HULL AND ASSOCIATES
6200 SAVOY #440
HOUSTON, TX 77036

HULL HOUSE ASSOCIATION
1030 W VAN BUREN
CHICAGO, IL 60607
HULL TOWILL NORMAN
BARRETT & SALLEY
PO BOX 1564
AUGUSTA, GA 30903-1564
HUMAN FACTORS INTERNATIONAL INC
410 W LOWE AVE
PO BOX 2020
FAIRFIELD, LA 52556
HUMAN INVESTMENT PROJECT INC
C/O JUDY FONG
364 S RAILROAD AVE
SAN MATEO, CA 94401
HUMAN RIGHTS CAMPAIGN
HUMAN RIGHTS CAMPAIGN INC
NATIONAL
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2433 E WHITTON AVE
PHOENIX, AZ 85016

HUMAN RIGHTS CAMPAIGN INC
1640 RHODE ISLAND AVE NW
WASHINGTON, DC 20036
HUMAN SERVICES COALITION
OF DADE COUNTY INC
260 NE 17 TERRACE #200
MIAMI, FL 33132
HUMANE SOCIETY SPCA
OF BEXAR COUNTY
4804 FREDERICKSBURG RD
SAN ANTONIO, TX 78229

HUMBLE POLICE ASSOCIATION
310 BENDER AVE
HUMBLE, TX 77338
HUMBOLDT ASSN OF REALTORS
527 W WABASH AVE
EUREKA, CA 95501

HUMPHREY AND ASSOCIATES INC
2ND FL REGIONS BANK BLDG
400 RACETRACK RD NW
FORT WALTON BEACH, FL 32547-1566

HUNEME SCHOOL DISTRICT
ART HAYCOX SCHOOL
5400 PERKINS RD
OXNARD, CA 93033

HUNGER ACTION LOS ANGELES
961 S MARIPOSA #205
LOS ANGELES, CA 90006

HUNGER DEFENSE FUND
26450 RUETHER AVE #208
SANTA CLARITA, CA 91350
HUNT & HENRIQUES
151 BERNAL RD#8
SAN JOSE, CA 95119

HUNT COUNTY CLERK
PO BOX 1316
GREENVILLE, TX 75403
HUNT LEIBERT CHESTER
& JACOBSON PC
50 WESTON ST
HARTFORD, CT 06120
HUNTERDON COUNTY CHAMBER OF
COMMERCE
2200 RT31 #15
FLEMINGTON, NJ 08833

HUNTON & WILLIAMS LLP
RIVERTON PLAZA EAST TOWER
                                        Page 410
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951 E BYRD ST
RICHMOND, VA 23219-4074

HURRICANE SPORTS PROPERTIES
PO BOX 1467
JEFFERSON CITY, MO 65102
HURRICANES WRESTLING CLUB
300 W CRAWFORD ST
MEBANE, NC 27302
HUSCH BLACKWELL SANDERS LLP
PO BOX 790379
ST LOUIS, MO 63179

HUTCHINGS COURT REPORTERS LLC
6055 E WASHINGTON BLVD 8TH FL
LOS ANGELES, CA 90040
HYATT CORP
HYATT HOTELS & RESORTS
DBA GRAND HYATT SEATTLE
PO BOX 94706
SEATTLE, WA 98124

HYATT CORPORATION
HYATT HOTELS & RESORTS
DBA HYATT VALENCIA
24500 TOWN CENTER DR
VALENCIA, CA 91355

HYATT HOTELS & RESORTS
HYATT REGENCY SAN FRANCISCO
PO BOX 31001-0923
PASADENA, CA 91110-0923

HYATT HOTELS AND RESORTS
HYATT HOTELS & RESORTS
HYATT REGENCY CENTURY PLAZA
DEPT 6278
LOS ANGELES, CA 90084-6278

HYATT REGENCY HOTEL DFW
HYATT HOTELS & RESORTS
ATTN PEGGY GUTIERREZ CATERING
2334 N INTERNATIONAL PKWY
DFW AIRPORT, TX 75261

HYATT VALENCIA
HYATT HOTELS & RESORTS
FILE 50162
LOS ANGELES, CA 90074-0162
HYDE & SWIGART TRUST ACCOUNT
411 CAMINO DEL RIO S #301
SAN DIEGO, CA 92108

HYGIENETICS ENVIRONMENTAL
33 ARCH ST 29TH FLR
BOSTON, MA 02110

HYPERION SOFTWARE OPERATIONS INC.
[Address to Be Provided]
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HYPERION SOLUTIONS CORPORATION
DEPT 33389
PO BOX 39000
SAN FRANCISCO, CA 94139-3389

HYUNDAI MOTOR AMERICA
ANTHONY SONNETT
SONNETT &ASSOCIATES
333 S GRAND AVE #3550
LOS ANGELES, CA 90071
I 85 NORTH BOARD OF REALTORS
3219 MAYSVILLE RD
PO BOX 1056
COMMERCE, GA 30529

I FRATELLI RISTORANTE & WINE
I FRATELLI CORPORATION
BAR
7701 N MACARTHUR BLVD
IRVING, TX 75063

I PAY TECHNOLOGIES LLC
ATTN FRANCINE BOULE
PO BOX 10
ELIZABETHTOWN, KY 42702

I R C S O FALSE ALARM
REDUCTION OFFICE
4055 41ST AVE
VERO BEACH, FL 32960

I/O CONCEPTS INC
2125 112TH AVE NE 2ND FL
BELLEVUE, WA 98004
I2 INC
1430 SPRING HILL RD #600
MCLEAN, VA 22102

IBEX CONSTRUCTION LLC
1372 BROADWAY
NEW YORK, NY 10018
IBM
IBM CORPORATION
BOX 360091
PITTSBURG, PA 15250-0091
IBM CORPORATION
PO BOX 534151
ATLANTA, GA 30353-4151

IBM CORPORATION
PO BOX 643600
PHILADELPHIA, PA 15264-3600

IBM CORPORATION
PO BOX 676673
DALLAS, TX 75267-6673
IBM CORPORATION
                                      Page 412
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1350 CENTER DRIVE #100
ATLANTA, GA 30338

IBM CORPORATION
500 1ST AVE
PITTSBURGH, PA 15219
IBM CORPORATION
DEPT 1896
PO BOX 61000
SAN FRANCISCO, CA 94161
IBM CREDIT LLC
[Address to Be Provided]

IC SYSTEM INC
444 HWY 96 E
BOX 64444
ST PAUL, MN 55164-0444

ICAN POSITIVE PROGRAMS FOR
CHANDLERS YOUTH
201 S WASHINGTON ST
CHANDLER, AZ 85225

ICAP CAPITAL MARKETS LLC - A/R
ICAP SERVICES NORTH AMERICA LLC
HARBORSIDE FINANCIAL CENTER
GENERAL POST PO BOX 30961
NEW YORK, NY 10087-0961

ICAP ELECTRONIC BROKING LLC
1100 PLAZA FIVE
JERSEY CITY, NJ 07311

ICE DELIVERY SYSTEMS INC
INNER CITY EXPRESS
2574 SEABOARD AVENUE
SAN JOSE, CA 95131
ICE SYSTEMS INC
PO BOX 11126
HAUPPAUGE, NY 11788

ICM INC
53 W JACKSON #601
CHICAGO, IL 60604

ICMI INC
PO BOX 6177
ANNAPOLIS, MD 21401
ICMS GROUP INC
PO BOX 3829
COEUR D ALENE, ID 83816
ICON ADVISORY GROUP INC
401 D N EDGEWORTH ST
GREENSBORO, NC 27401
ICORP INDUSTRIES
22720 VENTURA BLVD #100
WOODLAND HILLS, CA 91364
                                       Page 413
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ICT GROUP INC
MIKE CLEVELAND
100 BRANDYWINE BLVD
NEWTOWN, PA 18940

ICT GROUP INC
SMARTLINE DIVISION
PO BOX 23237
NEWARK, NJ 07189
ID ANALYTICS INC
15110 AVENUE OF SCIENCE
SAN DIEGO, CA 92128

IDA HANDLEY ELEMENTARY SCHOOL
GARLAND HIGH SCHOOL
3725 BROADWAY BLVD
GARLAND, TX 75043

IDAHO BUSINESS REVIEW
SUBSCRIPTION SERVICES
SDS 12 2632
PO BOX 86
MINNEAPOLIS, MN 55486-2632

IDAHO CHILD SUPPORT RECEIPTING
PO BOX 70008
BOISE, ID 83707-0108

IDAHO DEPARTMENT OF FINANCE
700 W STATE ST 2ND FL
PO BOX 83720
BOISE, ID 83720

IDAHO DEPT OF INSURANCE
IDAHO DEPARTMENT OF FINANCE
PO BOX 83720
ATTN 3RD FLOOR
BOISE, ID 83720

IDAHO NEVADA COMMUNITY DVLPMT
FINANCIAL INSTITUTION INC
PO BOX 413
POCATELLO, ID 83204-0413
IDAHO PARTNERS FOR HOME
BUYER EDUCATION INC
565 W MYRTLE ST
PO BOX 7585
BOISE, ID 83707
IDAHO STATE BAR
PO BOX 895
BOISE, ID 83701
IDAHO STATE TAX COMMISSION
UNCLAIMED PROPERTY SECTION
800 PARK BLVD PLAZA IV
BOISE, ID 83712

IDAHO STATE TAX COMMISSION
PO BOX 76
                                      Page 414
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
BOISE, ID 83707
IDC FINANCIAL PUBLISHING INC
PO BOX 140
HARTLAND, WI 53029

IDEALIST ENTERPRISES INC
PO BOX 10 1187
CHICAGO, IL 60610

IDEARC MEDIA CORP
ATT ACCT RECEIVABLE DEPT
PO BOX 619009
DFW AIRPORT, TX 75261-9009

IDEX GLOBAL SERVICES INC
160 SANSOME STREET 6TH FL
SAN FRANCISCO, CA 94104
IEX CORPORATION
PO BOX 10135
UNIONDALE, NY 11555-0135

IGATE MASTECH INC
1000 COMMERCE DR #500
PITTSBURGH, PA 15275
IGLESIA CRISTIANA HISPANA DEL
NORTE DE ORLANDO INC
1643 DISCIPLES POINT
CASSELBERRY, FL 32707
IGNACIO FLORES MARTIN
1249 E 223RD ST
CARSON, CA 90745

IIA PUGET SOUND CHAPTER
C/O CHARLOTTA ROVELSTAD
PO BOX 21228
SEATTLE, WA 98111-3028

IIS
1650 WABASH AVE #D
SPRINGFIELD, IL 62704
IKON CAPITAL INC
IOS CAPITAL
DBA IOS CAPITAL INC
PO BOX 650073
DALLAS, TX 75265-0073
IKON DOCUMENT SERVICES
IKON OFFICE SOLUTIONS
PO BOX 532545
ATLANTA, GA 30353-2545
IKON DOCUMENT SERVICES
IKON OFFICE SOLUTIONS
PO BOX 676466
DALLAS, TX 75267-6466

IKON OFFICE SOLUTIONS
LDS WESTERN DISTRICT SEG
                                     Page 415
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 31001-0743
PASADENA, CA 91110-0743

IKON OFFICE SOLUTIONS
NORTHWEST DISTRICT
PO BOX 7414
PASADENA, CA 91109-7414
IKON OFFICE SOLUTIONS
NORTHWEST DISTRICT SEA
PO BOX 31001-0850
PASADENA, CA 91110-0850
IKON OFFICE SOLUTIONS
SOUTHEAST DISTRICT
PO BOX 532530
ATLANTA, GA 30353-2530
IKON OFFICE SOLUTIONS
TEXAS/LOUISIANA DISTRICT
PO BOX 660342
DALLAS, TX 75266-0342

IKON OFFICE SOLUTIONS
WESTERN REGION
PO BOX 7414
PASADENA, CA 91109-7414

IKON OFFICE SOLUTIONS
PO BOX 827164
PHILADELPHIA, PA 19182-7164
IKON OFFICE SOLUTIONS
PO BOX 827577
PHILADELHIA, PA 19182-7577

ILL INC DBA
COMPLETE MUSIC AND VIDEO
1580 SAWGRASS CORPORATE PKWY
#130
SUNRISE, FL 33323

ILLINOIS BUSINESS
ROUNDTABLE EDUCATIONAL FOUNDTN
200 E RANDOLPH #2200
CHICAGO, IL 60601

ILLINOIS CPA SOCIETY
550 W JACKSON #900
CHICAGO, IL 60661-5716
ILLINOIS DEPARTMENT OF REVENUE
OFFICE COLLECTION SECTION
PO BOX 64449
CHICAGO, IL 60664-0449
ILLINOIS DEPT OF HUMAN SERVICES
ILLINOIS ATTORNEY GENERAL
160 N LASALLE ST #N1000
CHICAGO, IL 60601

ILLINOIS DEPT OF INSURANCE
320 W WASHINGTON ST
                                       Page 416
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SPRINGFIELD, IL 62767-0001
ILLINOIS DEPT OF REVENUE
FLORIDA DEPARTMENT OF REVENUE
RETAILERS OCCUPATION TAX
SPRINGFIELD, IL 62796-0001
ILLINOIS DEPT OF REVENUE
PO BOX 19035
SPRINGFIELD, IL 62794-9006
ILLINOIS GOVERNMENT FINANCE
OFFICERS ASSOCIATION
NIU NAPERVILLE CAMPUS
1120 E DIEHL RD #134
NAPERVILLE, IL 60563-9347

ILLINOIS REAL ESTATE JOURNAL
LAW BULLETIN PUBLISHING CO
415 N STATE ST
CHICAGO, IL 60610-9741

ILLINOIS SECRETARY OF STATE
LICENSE RENEWAL
3701 WINCHESTER RD
SPRINGFIELD, IL 62707-9700
ILLINOIS SECRETARY OF STATE
SECURITIES DEPARTMENT
JEFFERSON TERRACE #300A
300 WEST JEFFERSON ST
SPRINGFIELD, IL 62702

ILLINOIS STATE UNIVERSITY
DBA ISU CAREER CENTER
JOB FAIR REGISTRAR
2520 CAREER CENTER
NORMAL, IL 61790-2520

ILLINOIS STUDENT
ASSISTANCE COMMISSION
PO BOX 904
ATTN STUDENT LOAN COMMISSN SVCS
DEERFIELD, IL 60015
ILN INDUSTRIES
9000 SUNSET BLVD #415
WEST HOLLYWOOD, CA 90069

ILOG INC
C/O WELLS FARGO BANK
NW 5315
PO BOX 1450
MINNEAPOLIS, MN 55485-5315
ILR CORNELL UNIVERSITY
ILR ACCOUNTS RECEIVABLE
PO BOX 6838
ITHACA, NY 14851-6838
IMAGE PRINTING SOLUTIONS
60 BUNSEN
IRVINE, CA 92618
                                       Page 417
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IMAGESOURCE INC
612 5TH AVE SW
OLYMPIA, WA 98501
IMAGINATION SPECIALTIES INC
230 GREAT CIRCLE RD #248
NASHVILLE, TN 37228

IMAGING TECHNOLOGIES SERVICES
DBA SYNQ SOLUTIONS
PO BOX 13444
ATLANTA, GA 30324
IMAKE CONSULTING, INC.
[Address to Be Provided]

IMATCH SEARCH LLC
1417 4TH AVE #810
SEATTLE, WA 98101
IMG TECHNOLOGIES INC
8019 SOLUTIONS CENTER
CHICAGO, IL 60677-8000

IMHOF & ASSOCIATES INC
7720 PAINTER AVE #A
WHITTIER, CA 90602

IMODERATE RESEARCH TECHNOLOGIES
DBA IMODERATE LLC
3773 CHERRY CREEK DR N #927E
DENVER, CO 80209

IMPACTWEATHER INC
PO BOX 751869
HOUSTON, TX 77275-1869

IMPART MEDIA GROUP INC
C/O FRONTIER BANK
PO BOX 34047
SEATTLE, WA 98124
IMPART MEDIA GROUP INC
1300 N NORTHLAKE WAY
SEATTLE, WA 98103

IMPERIAL COUNTY
DEPT OF CHILD SUPPORT SERVICES
2795 S FOURTH ST
EL CENTRO, CA 92243
IMPERIAL COUNTY CLERK/RECORDER
940 MAIN ST RM 202
EL CENTRO, CA 92243-2865
IMPERIAL PARKING INDUSTRIES INC
6420 WILSHIRE BLVD #210
LOS ANGELES, CA 90048
IMPERIUM STAFFING INC
1981 CENTRAL DR #504
BEDFORD, TX 76921
                                       Page 418
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
IN CHEOL SHIN
GIRARD GIBBS LLP
601 CALIFORNIA ST 14TH FL
SAN FRANCISCO, CA 94108

IN CLUB ENTERTAINMENT INC
2655 S MARYLAND PKWY #201
LAS VEGAS, NV 89109

IN PARALLEL INC
7215 116TH AVE SE
NEWCASTLE, WA 98056
INCAHOOTS INC
905 NE BAKER ST
MCMINNVILLE, OR 97128
INCENTIVE INNOVATIONS, A DIVISION OF AMCOR SUNCLIPSE NORTH AMERICA
[Address to Be Provided]
INCENTIVES BY DESIGN INC
1920 OCCIDENTAL AVE S #A
SEATTLE, WA 98134

INCHARGE DEBT SOLUTIONS
2101 PARK ENTER DR #320
ORLANDO, FL 32835

INCISIVE FINANCIAL PUBLISHING
HAYMARKET HOUSE
28-29 HAYMARKET
LONDON, SW1Y 4RX UK

INCREDIBLE SOUTHERN POUNDCAKES
Southern Poundcakes Inc
543 COUNTRY CLUB DR
STOCKBRIDGE, GA 30281

INDEPENDENCE COUNTY
PO BOX 2155
BATESVILLE, AR 72503
INDEPENDENT COLLEGES
OF WASHINGTON
600 STEWART ST #600
SEATTLE, WA 98101

INDEPENDENT LIVING RESOURCES
2410 SE 11TH AVE
PORTLAND, OR 97214-5308
INDEPENDENT MORTGAGE LLC
180 NEEDHAM ST
NEWTON, MA 02464
INDIA ASSOCIATION OF LONG
ISLAND INC
43 ERICK AVE
HEWLETT, NY 11557

INDIAN DENTAL ASSOCIATION
4195 CHINO HILLS DR #522
                                      Page 419
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CHINO HILLS, CA 91709
INDIAN RIVER COMMUNITY
COLLEGE FOUNDATION
3209 VIRGINIA AVE
FT PIERCE, FL 34981
INDIAN RIVER COUNTY
CHAMBER OF COMMERCE
PO BOX 2947
VERO BEACH, FL 32961
INDIAN RIVER LAGOON ENVIRONTHON
780 SE INDIAN ST
STUART, FL 34997

INDIAN ROCKS ROTARY FOUNDATION
PO BOX 968
INDIAN ROCKS BEACH, FL 33785

INDIAN WELLS
CHAMBER OF COMMERCE
45200 CLUB DR #D
INDIAN WELLS, CA 92210

INDIANA ASSOCIATION
OF MORTGAGE BROKERS INC
5980 W 71ST ST #200
INDIANAPOLIS, IN 46278

INDIANA DEPT OF REVENUE
100 N SENATE AVE
INDIANAPOLIS, IN 46204

INDIGO FINANCIAL GROUP INC
3400 PINE TREE #104
LANSING, MI 48911

INDIO CHAMBER OF COMMERCE
82921 INDIO BLVD
INDIO, CA 92201

INDOFF OFFICE INTERIORS
PO BOX 842808
KANSAS CITY, MO 64184-2808
INDSOFT INC
3615 N 16TH ST #23
PHOENIX, AZ 85016
INDUSTRIAL BUILDING SERVICES
3511 NE 22 AVE #300
FT LAUDERDALE, FL 33308-6226

INDY CREDIT COUNSELORS INC
5337 W 38TH ST
INDIANAPOLIS, IN 46254

INDY STEALTH SYSTEMS INC
PO BOX 19603
SEATTLE, WA 98109
INERGY PROPANE LLC
                                       Page 420
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
DBA F&S PROPANE
PO BOX 1168
WATERBURY, CT 06721-1168
INFINITE DIMENSIONS
2375 BUTTON GWINNETT DR
ATLANTA, GA 30340
INFINITE MASSAGE LLC
60 29TH ST #234
SAN FRANCISCO, CA 94110
INFINITY BROADCASTING CORP
CBS RADIO/KFWB NEWSRADIO
PO BOX 100734
PASADENA, CA 91189-0734

INFINITY DATA SOLUTIONS LLC
13217 C ST
OMAHA, NE 68144
INFINITY LAND SERVICES LLC
974 E 27TH ST
BROOKLYN, NY 11210

INFO STOR INC
PO BOX 8430
SANTA ROSA, CA 95407

INFO SYSTEMS INC
INFORMATION SYSTEMS MANAGMENT
6400 SE LAKE RD #450
PORTLAND, DE 97222

INFOARMOR INC
8129 E DEL BARQUERO DR
SCOTTSDALE, AZ 85258

INFOBLOX INC
NW 5649
PO BOX 1450
MINNEAPOLIS, MN 55485-5649
INFOCENTRICITY INC
7250 REDWOOD BLVD #113
NOVATO, CA 94945

INFOFLOW INC
JOY THOMAS
16263 N 108TH PL
SCOTTSDALE, AZ 85259
INFOLOAN INC
20100 STEVENS CREEK BLVD #100
CUPERTINO, CA 95014
INFOPRINT SOLUTIONS CO LLC
PO BOX 644225
PITTSBURGH, PA 15264-4225
INFOR GLOBAL SOLUTIONS
PO BOX 933774
ATLANTA, GA 31193-3751
                                     Page 421
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INFOR GLOBAL SOLUTIONS
[Address to Be Provided]
INFOR GLOBAL SOLUTIONS INC
NW 5421
PO BOX 1450
MINNEAPOLIS, MN 55485-5421

INFORMA GLOBAL MARKETS
PO BOX 32259
HARTFORD, CT 06150-1828
INFORMA RESEARCH SERVICES INC
PO BOX 32807
HARTFORD, CT 06150-2807

INFORMATICA CORP
PO BOX 49085
SAN JOSE, CA 95161-9085
INFORMATICA CORPORATION
INFORMATICA CORP
ATTN EDUCATIONAL SERVICES
PO BOX 712512
CINCINNATI, OH 45271-2512
INFORMATION LEASING CORPORATION
1023 W 8 ST
CINCINNATI, OH 45023

INFOSOFT GROUP INC
DBA METROCHICAGOJOBS COM
23811 NETWORK PL
CHICAGO, IL 60673-1238

INFOSYS BPO LTD
PROGEON LIMITED
C/O BANK OF AMERICA LOCKBOX SVC
13539 COLLECTIONS CENTER DR
CHICAGO, IL 60693

INFOTEK SOLUTION INC DBA
SECURITY COMPASS INC
JEFFERSON SQUARE BUILDING
621 SHREWSBURY AVE
SHREWSBURY, NJ 07702

INFOTRAK
DBA MORTGAGETRAK
PO BOX 847338
BOSTON, MA 02284-7338
INFUSIONDEV CORP
291 BROADWAY 13TH FL
NEW YORK, NY 10007

INGALLINAS BOX LUNCH EXPRESS
135 S LUCILE ST
SEATTLE, WA 98108

INGHAM COUNTY REGISTER OF DEEDS
PO BOX 195
                                       Page 422
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MASON, MI 48854
INGLET BLAIR LLC
PO BOX 203047
HOUSTON, TX 77216-3047

INGLEWOOD AIRPORT AREA
CHAMBER OF COMMERCE
330 E QUEEN ST
INGLEWWOD, CA 90301-1891
INITIAL TROPICAL PLANTS INC
PO BOX 95409
PALATINE, IL 60095-0409

INITIATIVE FOR A
COMPETITIVE INNER CITY
727 ATLANTIC AVE #600
BOSTON, MA 02111

INITIATIVE FOR AFFORDABLE
HOUSING DEKALB INC
1434 SCOTT BLVD #200
DECATUR, GA 30030

INITIATIVES FOR COMMUNITY
DEVELOPMENT INC
630 WEST 173RD ST
NEW YORK, NY 10032

INJURY FREE INC
8751 NE 144TH CT
BOTHELL, WA 98011

INLAND BUSINESS SYSTEMS
1500 N MARKET BLVD
SACRAMENTO, CA 95834-1912

INLAND EMPIRE RESIDENTIAL
RESOURCES INC
116 W INDIANA AVE
SPOKANE, WA 99205-4827
INLAND EMPIRE ROTO ROOTER 13
8930 CENTER AVE
RANCHO CUCAMONGA, CA 91730

INLAND NORTHWEST
REAL ESTATE GUIDE LLC
8106 E TONY LANE
SPOKANE, WA 99217
INLAND NORTHWEST PARTNERS
PO BOX 164
LIBERTY LAKE, WA 99019
INLAND PUBLISHING
HOMES & LAND MAGAZINE
466 ORANGE ST #365
REDLANDS, CA 92374

INMAN GROUP INC
DBA INMAN NEWS
                                     Page 423
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1100 MARINA VILLAGE PKWY #102
ALAMEDA, CA 94501

INNER CITY ARTS
720 KOHLER ST
LOS ANGELES, CA 90021
INNOVA TRAINING &
CONSULTING INC
PO BOX 19
LOGAN, IA 51546
INNOVATIVE CONTRACTORS INC
601 N CONGRESS AVE #102A
DELRAY BEACH, FL 33445

INNOVATIVE HOUSING INC
1214 SW WASHINGTON ST
PORTLAND, OR 97205

INNOVATIVE SYSTEMS INC
790 HOLIDAY DR
PITTSBURGH, PA 15220-8127
INNOVIS DATA SOLUTIONS INC
PO BOX 535595
PITTSBURGH, PA 15253-5595

INQUILINOS BORICUAS EN ACCION
405 SHAWMUT AVE
BOSTON, MA 02118
INQUIRA INC
851 TRAEGER AVE #125
SAN BRUNO, CA 94066

INROADS INC
INROADS PACIFIC NW REGION INC
10 SO BROADWAY #300
ST LOUIS, MO 63102-1734

INROADS PACIFIC NW REGION INC
111 SW COLUMBIA 7TH FL
PORTLAND, OR 97201
INSIDE OUT COMMUNITY ARTS INC
2210 LINCOLN BLVD
VENICE, CA 90291

INSIDER MORTGAGE CORP
9605 SCRANTON RD # 801
SAN DIEGO, CA 92121
INSIGHT DIRECT USA INC
6820 S HARL AVE
TEMPE, AZ 85283

INSIGHT DIRECT USA INC
PO BOX 713096
COLUMBUS, OH 43271-3096

INSIGHT FINANCIAL MARKETING
12731 DIRECTORS LOOP
                                     Page 424
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WOODBRIDGE, VA 22192
INSIGHT MARKETING SYSTEMS
PTY LTD
12 171 FITZROY STREET
ST KILDA, VICTORIA 3182 AUSTRALIA
INSOURCE LLC
100 NORTHFIELD DR #305
WINDSOR, CT 06095
INSPIRING MINDS FOUNDATION
4450 CALIFORNIA PL
LONG BEACH, CA 90807

INSTANTIATIONS INC
18101 SW BOONES FERRY RD #200
PORTLAND, OR 97224
INSTITUTE FOR COMMUNITY CHANGE
316 OCCIDENTAL AVE S #300
SEATTLE, WA 98104

INSTITUTE FOR DEBT RELIEF
LAWYERS UNITED FOR DEBT RELIEF
PO BOX 81589
CHICAGO, IL 60681

INSTITUTE FOR LATINO STUDIES
RESEARCH & DEVELOPMENT INC
553 MAIN ST
PATERSON, NJ 07503

INSTITUTE FOR STUDENT
ACHIEVEMENT INC
1 HOLLOW LANE #100
LAKE SUCCESS, NY 11042

INSTITUTE FOR SUPPLY MANAGEMENT
PO BOX 22160
TEMPE, AZ 85285-2160

INSTITUTE FOR THE NATIONAL
BLACK BUSINESS COUNCIL INC
600 CORPORATE PT #1010
CULVER CITY, CA 90230

INSTITUTE OF CERTIFIED BANKERS
PO BOX 79518
BALTIMORE, MD 21279-0518
INSTITUTE OF CERTIFIED BANKERS
PO BOX 79569
BALTIMORE, MD 21279-0569
INSTITUTE OF INTERNAL AUDITORS
SAN FERNANDO VALLEY CHAPTER
PO BOX 133
WOODLAND HILLS, CA 91365
INSTITUTE OF MGMT & ADMIN INC
1 WASHINGTON PARK #1300
NEWARK, NJ 07102-3130
                                       Page 425
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INSTITUTE OF REAL ESTATE MGMT
72236 EAGLE WAY
CHICAGO, IL 60678-1722
INSTITUTIONAL INVESTOR INC
INSTITUTIONAL INVESTORS
DBA INSTITUTIONAL INVESTOR NEWS
PO BOX 5030
BRENTWOOD, TN 37024-9555
INSTITUTIONAL INVESTORS
NEWSLETTERS
COMPLIANCE REPORTER
PO BOX 5018
BRENTWOOD, TN 37024-9552

INSTITUTO FAMILIAR DE LA RAZA
2919 MISSION ST
SAN FRANCISCO, CA 94110
INTEGON
PO BOX 3199
WINSTON-SALEM, NC 27102

INTEGRA REALTY
INTEGRA REALTY RESOURCES
RESOURCES DFW LLP
PO BOX 99388
FORT WORTH, TX 76199-0388

INTEGRA REALTY RESOURCES
CINCINNATI/DAYTON INC
8241 CORNELL RD #210
CINCINNATI, OH 45249-2235

INTEGRA REALTY RESOURCES
COLUMBUS
1900 CROWN PARK CT
COLUMBUS, OH 43235

INTEGRA REALTY RESOURCES
ORLANDO
28 W CENTRAL BLVD #300
ORLANDO, FL 32801-2431
INTEGRA REALTY RESOURCES
SAN FRANCISCO
101 MONTGOMERY ST #1800
SAN FRANCISCO, CA 94104
INTEGRA REALTY RESOURCES
214 W TREMONT AVE #200
CHARLOTTE, NC 28203
INTEGRA REALTY RESOURCES
5123 VIRGINIA WAY #B23
BRENTWOOD, TN 37027
INTEGRA REALTY RESOURCES NEVADA
INTEGRA REALTY RESOURCES
8367 W FLAMINGO RD #100
LAS VEGAS, NV 89147
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INTEGRATED BENEFITS INSTITUE
595 MARKET ST #810
SAN FRANCISCO, CA 94105
INTEGRATED PAYMENT SYSTEMS INC, NKA FIRST DATA PAYMENT SERVICES LLC
[Address to Be Provided]
INTEGRATED PROP ANALYSIS INC
2061 BUSINESS CENTER DR #104
IRVINE, CA 92612
INTEGRATED REALTY RESOURCES
550 N REO ST #220
TAMPA, FL 33609

INTEGRATED RESEARCH INC
ATTN ACCOUNTS RECEIVABLE
8055 E TUFTS AVE #950
DENVER, CO 80237
INTEGRITY HOME LOANS OF
CENTRAL FLORIDA
2605 W LAKE MARY BLVD
LAKE MARY, FL 32746

INTEGRITY MORTGAGE GROUP
9663 TIERRA GRANDE ST #304
SAN DIEGO, CA 92126

INTEGRITY MORTGAGE INC
108 DAYTON #105
EDMONDS, WA 98026

INTEGRITY MORTGAGE INC
180 W DAYTON #105
EDMONDS, WA 98020

INTELLICHOICE MORTGAGE
SERVICES LLC
2920 7TH ST
PHOENIX, AZ 85029
INTELLIDEBT
PO BOX 1187
SYOSSET, NY 11791

INTELLITRACK INC
224 SCHILLING CIR #130
HUNT VALLEY, MD 21031
INTERACT COMMERCE CORPORATION NKA BEST SOFTWARE
[Address to Be Provided]

INTERACTIVE TKO INC
1505 LBJ FREEWAY #250
DALLAS, TX 75234

INTERACTIVEPARTY COM INC
215 CENTRAL AVE #C&D
FARMINGDALE, NY 11735
INTERBAY ENTERPRISES INC
                                     Page 427
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PO BOX 571
SEFFNER, FL 33583-0571

INTERBRAND DESIGN FORUM
INTERBRAND DESIGN FORUM LLC
21593 NETWORK PLACE
CHICAGO, IL 60673-1215
INTERCALL INC
PO BOX 281866
ATLANTA, GA 30384-1866
INTERCALL INC
15272 COLLECTIONS CENTER DR
CHICAGO, IL 60693

INTERCOMMUNITY MERCY HOUSING
2505 3RD AVE #325
SEATTLE, WA 98121

INTERCONTINENTAL HOTELS DBA
STAYBRIDGE SUITES
7301 NE 41ST ST
VANCOUVER, WA 98662

INTERFAITH COUNCIL
FOR ACTION INC
138 SPRING ST
PO BOX 790
OSSINING, NY 10562

INTERFAITH HOUSING COALITION
PO BOX 720206
DALLAS, TX 75372

INTERGALACTIC MORTGAGE CORP
DBA MORTGAGE USA
6310 SAN VICENTE BLVD #290
LOS ANGELES, CA 90048
INTERIM COMMUNITY
DEVELOPMENT ASSOCIATION
310 MAYNARD AVE S
SEATTLE, WA 98104
INTERIOR ARCHITECTS INC
PO BOX 49328
SAN JOSE, CA 95161-9328

INTERIOR GREENSCAPES INC
PO BOX 356
MERIDIAN, ID 83680
INTERIOR LANDSCAPING OF HOUSTON
9337 B KATY FRWY #265
HOUSTON, TX 77024

INTERIOR PLANTSCAPE COMPANY
375 SHORELINE HIGHWAY
MILL VALLEY, CA 94941

INTERLINK HOME LOAN INC
1964 ABORN RD
                                       Page 428
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
SAN JOSE, CA 95121
INTERMOUNTAIN CONSULTANTS INC
5300 DTC PKWY #230
GREENWOOD VILLAGE, CO 80111

INTERMOUNTAIN NATIVE AMERICAN
ASSOCIATION 10 05 99
261 E 300 S #255
SALT LAKE CITY, UT 84111
INTERNAL REVENUE SERVICE
FRESNO SERVICE CENTER
FRESNO, CA 93888

INTERNAL REVENUE SERVICE
INTERNAL REVENUE SERVICE (UT)
OGDEN UT, UT 84201
INTERNAL REVENUE SERVICE
KCSC
KANSAS CITY, MO 64999

INTERNAL REVENUE SERVICE
LEVY PROCEEDS
960 ELLENDALE DR #A
MEDFORD, OR 97504-8216

INTERNAL REVENUE SERVICE
S M RICHARDS
400 W BAY ST STOP 5117
JACKSONVILLE, FL 32202

INTERNAL REVENUE SERVICE
PO BOX 24017
FRESNO, CA 93779-4017
INTERNAL REVENUE SERVICE
1111 CONSTITUTION AVE NW
WASHINGTON MUTUAL INC
WASHINGTON, DC 20224

INTERNAL REVENUE SERVICE
9833 POPLARS AVE NW #105
SILVERDALE, WA 98383
INTERNAL REVENUE SERVICE
PO BOX 9941
STOP 5300
OGDEN, UT 84409
INTERNAL REVENUE SERVICE
AUSTIN, TX 73301

INTERNAL REVENUE SERVICE - OH
PO BOX 145566
CINCINNATI, OH 45250-5566

INTERNAL REVENUE SERVICE-MO
PO BOX 219236
KANSAS CITY, MO 64121
INTERNAL REVENUE SERVICE-PA
                                     Page 429
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 219690
KANSAS CITY, MO 64121-9690

INTERNATIONAL
DIVERSIFIED FUNDING
7450 HUNTINGTON PARK DR #200
COLUMBUS, OH 43235
INTERNATIONAL ASSOCIATION OF
ADMINISTRATIVE PROFESSIONALS
PO BOX 802804
KANSAS CITY, MO 64180-2804
INTERNATIONAL ASSOCIATION OF
INTL ASSOC OF FINANCIAL
FINANCIAL CRIMES INVESTIGATORS
1020 SUNCAST LN #102
EL DORADO HILLS, CA 95762
INTERNATIONAL BUSINESS
IBM CORPORATION
MACHINES CORPORATION
1 NEW ORCHARD RD
ARNONK, NY 10504

INTERNATIONAL BUSINESS MACHINES
IBM CORPORATION
C/O PNC BANK NA
IBM CORP
500 1ST AVE
PITTSBURGH, PA 15219
INTERNATIONAL BUSINESS MACHINES
IBM CORPORATION
DBA IBM CORPORATION
1200 5TH AVE
SEATTLE, WA 98101

INTERNATIONAL COUNCIL OF
SHOPPING CENTERS
PO BOX 26958
NEW YORK, NY 10087-6958
INTERNATIONAL DISTRICT
EMERGENCY CENTER
PO BOX 14103
SEATTLE, WA 98114

INTERNATIONAL DISTRICT HOUSING
ALLIANCE AND SOCIAL SERVICES
606 MAYNARD AVE S #105
SEATTLE, WA 98104
INTERNATIONAL FINANCIAL
SERVICES ASSOCIATION
9 SYLVAN WAY #130
PARSIPPANY, NJ 07054

INTERNATIONAL FOP ASSOCIATION
PO BOX 196217
WINTER SPRINGS, FL 32719-6217
INTERNATIONAL FOUNDATION
                                       Page 430
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OF EMPLOYEE BENEFIT PLANS INC
PO BOX 68-9952
MILWAUKEE, WI 53268-9952
INTERNATIONAL FOUNDATION OF
INTERNATIONAL FOUNDATION
EMPLOYEE BENEFIT PLANS INC
DBA CEBS PROGRAM INTEL FNDTN
PO BOX 68 9955
MILWAUKEE, WI 53268-9955
INTERNATIONAL GASES
& CRYOGENICS
DBA ALLIANCE GAS PRODUCTS
PO BOX 23804
OAKLAND, CA 94623-0804

INTERNATIONAL GOSPEL
INDUSTRY RETREAT INC
10097 CLEARY BLVD #284
FORT LAUDERDALE, FL 33324

INTERNATIONAL HONDURAN & CNTRL
AMERICAN PARADE COMMITTEE INC
PO BOX 6013
BRONX NEW YORK, NY 10451
INTERNATIONAL INVESTMENT &
FINANCIAL INC
1455 MONTEREY PASS RD. #201
MONTEREY PARK, CA 91754
INTERNATIONAL MAILING
EQUIPMENT INC
336 N 12TH ST
SACRAMENTO, CA 95814
INTERNATIONAL NETWORK SERVICES INC.
[Address to Be Provided]
INTERNATIONAL RESCUE
COMMITTEE INC
4535 30TH ST #110
SAN DIEGO, CA 92116
INTERNATIONAL RISK MANAGEMENT
INSTITUTE INC
12222 MERIT DR #1450
DALLAS, TX 75251-2276
INTERNATIONAL SOS
ASSISTANCE INC
PO BOX 11568
PHILADELPHIA, PA 19116
INTERNATIONAL SPEAKERS
BUREAU INC
ATTN ISB ACCOUNTING
1401 ELM ST #4150
DALLAS, TX 75202

INTERNATIONAL SPORTS PROPS INC
540 N TRADE ST
                                      Page 431
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WINSTON SALEM, NC 27101
INTERNATIONAL STRATEGY &
INVESTMENT GROUP INC
ATTN: STEVE KILLORIN
40 W 57TH ST 18TH FLOOR
NEW YORK, NY 10019
INTERNATIONAL TRADE EDUCATION
PROGRAMS
3786 LA CRESCENTA AVE #103
GLENDALE, CA 91208
INTERSECTIONS INC
ATTN ACCOUNTS RECEIVABLE
14901 BOGLE DR
CHANTILLY, VA 20151
INTERSECTIONS INC
MICHAEL R. STANFIELD
14901 BOGLE DR
CHANTILLY, VA 20151

INTERVOICE BRITE INC
PO BOX 201305
DALLAS, TX 75320
INTERVOICE BRITE INC
PO BOX 201305
DALLAS, TX 75320-1305

INTERWEST FINANCIAL GROUP INC
501 COLORADO AVE #170
SANTA MONICA, CA 90401

INTEX SOLUTIONS INC
110 A STREET
NEEDHAM, MA 02494-2807

INTIMAN THEATRE
PO BOX 19760
201 MERCER
SEATTLE, WA 98109

INTRALINKS
PO BOX 414476
BOSTON, MA 02241-4476

INTRANET INC
ACI WORLDWIDE
13589 COLLECTIONS CENTER DR
CHICAGO, IL 60693
INTRANET PRODUCTS
USER GROUP INC
C/O LENNIS COURTNEY
PO BOX 176
TOPEKA, KS 66601
INTRANET, INC. (FKA ACI WORLDWIDE)
[Address to Be Provided]
INTREPID LEARNING SOLUTIONS
                                     Page 432
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411 FIRST AVE S #300
SEATTLE, WA 98104

INTUIT
PO BOX 45595
SAN FRANCISCO, CA 94145-0595
INVEST IN OUR CHILDREN INC
19039 NW 77 PL
HIALEAH, FL 33015
INVESTMENT LENDING INC
915 S 500 EAST #100
AMERICAN FORT, UT 84003

INVESTMENT TRAINING &
CONSULTING INSTITUTE INC
7700 SHAWNEE MISSION PKWY #212
OVERLAND PARK, KS 66202

INVESTORS TITLE COMPANY INC
INVESTORS TITLE COMPANY
219 S CENTRAL AVE
CLAYTON, MO 63015

INVESTORTOOLS INC
100 BRIDGE ST PLAZA
YORKVILLE, IL 60560

INYO MONO TITLE COMPANY
873 N MAIN ST
BISHOP, CA 93514

IONA COLLEGE
715 N AVE
NEW ROCHELLE, NY 10801-1890
IOWA DEPT OF REVENUE
SALES USE TAX PROCESSING
PO BOX 10412
DES MOINES, IA 50306-0412

IPAYDEBT
9433 BEE CAVES RD
BLDG 3 #101A
AUSTIN, TX 78733

IPC INFORMATION SYSTEMS, INC.
[Address to Be Provided]
IPC NETWORK SERVICES INC
PO BOX 35634
NEWARK, NJ 07193-5634

IPREO HOLDINGS LLC
DBA I-DEAL LLC
PO BOX 26886
NEW YORK, NY 10087-6886
IPREO HOLDINGS LLC
DBA I-DEAL LLC
NEW YORK, NY 10087-6886

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
IPSA INTERNATIONAL INC
206 E VIRGINIA AVE
PHOENIX, AZ 85004
IRA TOKAYER
FBO IRVING & FRANCES GOLDOFSKY
42 W 38TH ST #802
NEW YORK, NY 10018

IREM
INST OF REAL ESTATEMANAGEMENT
PUBLICATION ORDERS
430 N MICHIGAN AVE
CHICAGO, IL 60611-4090

IRENA CALINESCU
FINE ARTS CONSERVATION
4949 HOLLYWOOD BLVD #210
LOS ANGELES, CA 90027

IRENE HAYES
WADLEY & SMYTHE LEMOULT INC
30 E 30TH ST
NEW YORK, NY 10016

IRINA SHENKAR DBA
E AND I LENDING CO
3738 IRVING ST #101
SAN FRANCISCO, CA 94122

IRIS LIBBY RECRUITMENT
CONSULTANTS CORP
252 7TH AVE #5I
NEW YORK, NY 10001

IRISE
DEPT LA 22474
PASADENA, CA 91185-2474

IRISH OUTREACH SAN DIEGO INC
2725 CONGRESS ST 2G OR
PO BOX 370842
SAN DIEGO, CA 92110

IRMA W DOBBYN
AND EDWARD T DOBBYN
19061 VALDEZ DR
TARZANA, CA 91356

IRON MOUNTAIN
IRON MOUNTAIN INTELL PROP MGMT
P O BOX 27131
NEW YORK, NY 10087-7131

IRON MOUNTAIN INFO MGMT INC
IRON MOUNTAIN
DBA IRON MOUNTAIN RECORDS MGMT
PO BOX 6150
NEW YORK, NY 10249-6150
IRON MOUNTAIN INFO MGMT INC
IRON MOUNTAIN
IM OFF SITE DATA PROTECTION
                                      Page 434
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PO BOX 27129
NEW YORK, NY 10087-7129

IRON MOUNTAIN INTELLECTUAL
IRON MOUNTAIN
PROPERTY MANAGEMENT INC
PO BOX 27131
NEW YORK, NY 10087-7131

IRON MOUNTAIN OFF SITE
IRON MOUNTAIN
DATA PROTECTION
PO BOX 915026
DALLAS, TX 75391-5026

IRON MOUNTAIN OSDP SACRAMENTO
IRON MOUNTAIN
PO BOX 601018
LOS ANGELES, CA 90060-1018

IRON MTN DATA PROTECTION SACTO
PO BOX 601018
LOS ANGELES, CA 90060-1018
IRON MTN RECORDS MANAGEMENT
PO BOX 27128
NEW YORK, NY 10087-7128

IROQUOIS TRAIL COUNCIL INC
BOY SCOUTS OF AMERICA
45 LIBERTY ST #2
BATAVIA, NY 14020

IRS J WARNER
225 W BROADWAY 3RD FLR
GLENDALE, CA 91204
IRS ENVIRONMENTAL OF WA INC
PO BOX 15216
SPOKANE VALLEY, WA 99215-5216

IRS-CINCINNATI
PO BOX 145566
CINCINNATI, OH 45214
IRVINE CHILDRENS FUND
14301 YALE AVE
IRVINE, CA 92604

IRVING DFW INDIAN LIONS
CLUB FOUNDATION INC
PO BOX 155005
IRVING, TX 75015-5005

IRVING GOLDOFSKY
C/O IRA TOKAYER ATTORNEY
42 W 38TH ST #802
NEW YORK, NY 10018
IRVING INDEPENDENT SCHOOL
DISTRICT
PO BOX 152637
IRVING, TX 75015-2637
                                      Page 435
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ISACA PUGET SOUND CHAPTER
PO BOX 1037
SEATTLE, WA 98101
ISCEBS
INTL SOCIETY OF CERTIFIED
EMPLOYEE BENEFIT SPECIALISTS
PO BOX 681092
MILWAUKEE, WI 53268-1092
ISEC PARTNERS INC
115 SANSOME ST #1005
SAN FRANCISCO, CA 94104

ISELA RAZO
2455 EASTERN BLVD
BROWNSVILLE, TX 78521
ISIS DESIGN INC
4000 CHESTNUT AVE
LONG BEACH, CA 90807

ISIXSIGMA LLC
321 HIGH SCHOOL RD NE B3 #434
BAINBRIDGE ISLAND, WA 98110
ISLA LIPANA & CO
PRICEWATERHOUSECOOPERS
8767 PASEO DE ROXAS
PHIAMLIFE TOWER
MAKATI CITY,

ISLAND MASTER LOCKSMITHS INC
311 N BROADWAY
JERICHO, NY 11753
ISLANDWOOD
4450 BLAKELEY AVE NE
BAINBRIDGE ISLAND, WA 98110

ISLES
10 WOOD ST
TRENTON, NJ 08618
ISM BARSA INC
5415 OBERLIN DR
SAN DIEGO, CA 92121

ISMAEL RIVERA
MILFORD LAW LLC
250 BROAD ST
MILFORD, CT 06460

ISO CLAIMS SERVICES INC
DBA ACI DIVISION
24 OLD KINGS RD N
PALM COAST, FL 32137
ISO STRATEGIC SOLUTIONS INC
C/O INSURANCE SERVICES OFFICE
545 WASHINGTON BLVD A/R 12-8
JERSEY CITY, NJ 07310
                                     Page 436
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ISSA RAZZAGHI
130 STEDMAN PL
MONROVIA, CA 91016
ISSAQUAH SCHOOLS FOUNDATION
PO BOX 835
ISSAQUAH, WA 98027-0835

ISSUE MANAGEMENT COUNCIL
207 LOUNDOUN ST SE
LEESBURG, VA 20175-3115
IT ASCENT INC
PO BOX 1089
SAN JOSE, CA 95108-1089

ITECH SOLUTIONS INC
8 HIDDEN OAK DR
FARMINGTON, CT 06032
ITS A GAS INC
1620 N EUCLID AVE
UPLAND, CA 91784

ITS ALL ABOUT THE KIDS
FOUNDATION INC
PO BOX 7087
WEST ORANGE, NJ 07052

IVAMS
8287 WHITE OAK AVE780
RANCHO CUCAMONGA, CA 91730

IVEY DIGITAL & PHOTO IMAGING
424 8TH AVE N
SEATTLE, WA 98109

IVEY IMAGING LLC
IVEY SERIGHT INTL INC
PO BOX 84382
SEATTLE, WA 98124-5682
IVIZE OF SAN FERNANDO VALLEY
IVIZE LLC
200 S TRYON ST #10
CHARLOTTE, NC 28202

IW GROUP INC
8687 MELROSE AVE #G540
WEST HOLLYWOOD, CA 90069
IXI CORPORATION
ACCOUNTING DEPARTMENT
7927 JONES BRANCH DR #400
MCLEAN, VA 22102

IXI CORPORATION
[Address to Be Provided]
IZT MORTGAGE, INC.
2700 YGNACIO VALLEY RD. 280
WALNUT CREEK, CA 94598
                                    Page 437
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J ANTHONY ENTERPRISES LTD
PO BOX 609
CORNELIUS, NC 28031
J B HUDCO INC
PO BOX 270930
FLOWER MOUND, TX 75027

J B PAINTING & WATERPROOFING
303 JIM MORAN BLVD
DEERFIELD BEACH, FL 33442
J BRADFORD MILLER EMPIRE
ENTERTAINMENT INC
560 BRADWAY #202
NEW YOURK, NY 10012
J D HERBERGER & ASSOCIATES PC
11767 KATY FRWY #920
HOUSTON, TX 77079

J EDWARD FRANKUM
INNISBROOK
36750 US 19 N #2777
PALM HARBOR, FL 34684
J F MORROW
PO BOX 591309
SAN ANTONIO, TX 78259-1309

J FITZGERALD & ASSOCIATES
31 ATLANTA ST
MARIETTA, GA 30060

J H PREMIER CONSTRUCTION INC
5826 GARDENDALE
HOUSTON, TX 77092

J J BLAKE TECHNICAL SVCS LLC
298 FIFTH AVE 7TH FL
NEW YORK, NY 10001
J J PHOTOCOPY SERVICE INC
1545 WILSHIRE BLVD #804
LOS ANGELES, CA 90017

J M ADJUSTMENT SERVICES LLC
48303 VAN DYKE
SHELBY TOWNSHIP, MI 48317
J MICHAEL VALLEE TRUST ACCOUNT
603 N HIGHWAY 101 #G
SOLANA BEACH, CA 92075
J S PALUCH COMPANY INC
PO BOX 2703
SCHILLER PARK, IL 60176
J.P. MORGAN SECURITIES INC.
[Address to Be Provided]
J2 GLOBAL COMMUNICATIONS INC
                                      Page 438
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DBA EFAX COM
PO BOX 51873
LOS ANGELES, CA 90051-6173
JA WORLDWIDE
205 E 42ND ST #203
NWE YORK, NY 10017
JACK HENRY & ASSOC INC-MONETT
PO BOX 503328
ST LOUIS, MO 63150-3328
JACK J ALBENZE
104 WOODSIDE DR
MCMURRACY, PA 15317

JACK K MERRILL ESQ
439 WORCESTER RD
FRAMINGHAM, MA 01701

JACK L COHEN TRUST ACCOUNT
LAW OFFICES OF JACK L COHEN
322 ROUTE 46 W #210
PARSIPPANY, NJ 07054-2340

JACK LITZELFELTER JR
DBA JACKSON CONSULTING GROUP
1744 RIDGE RD
JACKSON, MO 63755

JACK MORTON WORLDWIDE
PO BOX 7247 8686
PHILADELPHIA, PA 19170-8686

JACK NADEL INC
DEPT 9649
LOS ANGELES, CA 90084-9649

JACK NADEL INC
PO BOX 60935
LOS ANGELES, CA 90060-0935

JACK POE COMPANY INC
400 N SAINT PAUL ST #440
DALLAS, TX 75201
JACKSON COUNTY COURTHOUSE
RECORDS DEPT
415 E 12TH ST #104
KANSAS CITY, MO 64106
JACKSON DEMARCO TIDUS
PECKENPAUGH
2030 MAIN ST #1200
PO BOX 19704
IRVINE, CA 92623-9704

JACKSON LEWIS LLP
PO BOX 34973
NEWARK, NJ 07189-4973

JACKSON NATIONAL LIFE INSURANCE
1 CORPORATE WAY
                                       Page 439
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                                       Page 445
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                                       Page 446
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WHITE PLAINS, NY 10601
JON WAAGE TRUSTEE # 03 09785
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                                      Page 456
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SOUTH YARMOUTH, MA 02664
JOSEPH H BALDIGA TRUSTEE
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                                       Page 458
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
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C/O JP MORGAN CHASE TREASURY
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BETHEL, CT 06801

JTV LITIGATION SERVICES INC
1543 W OLYMPIC BLVD #423
                                      Page 459
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C/O MITCHELL PAGE ESQ
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JULIE J GEISTLINGER
                                     Page 460
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FRESNO HOME & GARDEN SHOW
4120 DOUGLAS BLVD #306 349
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JUNIOR ACHIEVEMENT
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HOUSTON, TX 77292
JUNIOR ACHIEVEMENT INC
JUNIOR ACHIEVEMENT OF THE
400 OYSTER POINT BLVD #419
SOUTH SAN FRANCISCO, CA 94080
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JUNIOR ACHIEVEMENT OF
DALLAS INC
1201 W EXECUTIVE DR
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JUNIOR ACHIEVEMENT OF
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4756 MISSION GORGE PL
SAN DIEGO, CA 92120
JUNIOR ACHIEVEMENT OF
SOUTHERN NEVADA
840 GRIER DR #350
LAS VEGAS, NV 89119

JUNIOR ACHIEVEMENT OF
THE CHISHOLM TRAIL
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JUNIOR ACHIEVEMENT OF
THE COLUMBIA EMPIRE INC
PO BOX 70
PORTLAND, OR 97440

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THE INLAND NORTHWEST INC
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651 W WASHINGTON BLVD #404
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JUNIOR ACHIEVEMENT OF ROCKY
MOUNTAIN
1445 MARKET ST #200
DENVER, CO 80202-1716

JUNIOR ACHIEVEMENT OF SO CAL
JUNIOR ACHIEVEMENT SO CAL
301 E 17TH ST #202
COSTA MESA, CA 92627
JUNIOR ACHIEVEMENT OF UTAH INC
641 E SOUTH TEMPLE
SALT LAKE CITY, UT 84102

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JUNIOR ACHIEVEMENT SO CAL
6250 FOREST LAWN DR
LOS ANGELES, CA 90068
JUNIOR ACHIEVEMENT WORLDWIDE
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PUERRTORRIQUENA INC
PUERTO RICAN ACTION BOARD INC
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JWT SPECIALIZED COMMUNICATOINS
FILE 56434
LOS ANGELES, CA 90074-6434
K & A APPRAISAL COMPANY
419 S 17TH ST
PHILADELPHIA, PA 19146
                                      Page 463
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
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13 EMILIA CIRCLE
ROCHESTER, NY 14606

K D SALES INC
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                                       Page 464
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
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KANSAS STATE TREASURER
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                                       Page 465
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DBA KATHY CASEY FOOD STUDIOS
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                                      Page 466
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
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KBM WORKSPACE
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KEITH SETTLE & COMPANY
4967 VEJAR DR
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KEITH VILLAMIL
15266 VALEDA DR
LA MIRADA, CA 90638

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
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KEMARK FINANCIAL SERVICES INC
ONE BLUE HILL PLAZA 11TH FL
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SMITHTOWN, NY 11787

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
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PO BOX 128
KENT, WA 98035-0128
KENT D VORONAEFF MAI DBA
VORONAEFF APPRAISAL COMPANY
PO BOX 50567
EUGENE, OR 97405
KENTUCKY REVENUE CABINET
SALES & USE TAX SECTION
PO BOX 181 STATION 53
FRANKFORT, KY 40620-0181

KENTUCKY STATE
KENTUCKY REVENUE CABINET
FRANKFORT, KY 40619-0007
KENTUCKY STATE TREASURER
DEPT OF REVENUE
OFFICE OF PROPERTY VALUATION
200 FAIR OAKS LN #32
FRANKFORT, KY 40620

KENTUCKY STATE TREASURER
UNCLAIMED PROPERTY DIVISION
CAPITOL ANNEX #183
FRANKFORT, KY 40601

KENTUCKY STATE TREASURER
PO BOX 718
FRANKFORT, KY 40602-0718

KEPHART APPRAISAL SERVICE INC
960 LOMOND DR
MUNDELEIN, IL 60060
KERI CLARK WRITER
5712 ANN ARBOR NE
SEATTLE, WA 98105
KERIN & FAZIO LLC
363 REEF RD
FAIRFIELD, CT 06824

KERN COUNTY RECORDER
KERN COUNTY CLERK
1655 CHESTER AVE
BAKERSFIELD, CA 93301
KERN COUNTY SUPERINTENDENT OF
SCHL EDUCATIONAL SRVCS FOUNDN
1300 17TH ST
BAKERSFIELD, CA 93301
                                     Page 470
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KERN ECONOMIC DEVELOPMENT CORP
2700 M ST #200
PO BOX 1229
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KERNS PEARLSTINE
ONORATO HLADIK LLP
425 W MAIN ST
PO BOX 29
LANSDALE, PA 19446-0029
KESLER CREATIVE INC
PO BOX 11621
BAINBRIDGE ISLAND, WA 98110

KESSLER FINANCIAL SERVICES LP
855 BOYLSTON STREET
BOSTON, MA 02116

KESSLER PACIFIC LLC
855 BOYLSTON STREET
BOSTON, MA 02116
KEVIN JOHNSON DBA
EDEN PLANT MAINTENANCE
21351 PECORARO LOOP
BEND, OR 97701

KEVIN P KANE & ASSOCIATES
5757 W CENTURY BLVD 7TH FL
LOS ANGELES, CA 90045

KEY BANK
KEYBANK NATIONAL ASSOCIATION
127 PUBLIC SQUARE 11TH FL
CLEVELAND, OH 44114

KEY CODE MEDIA INC
11530 VENTURA BLVD
STUDIO CITY, CA 91604

KEY EQUIPMENT FINANCE
OR ORACLE CREDIT CORP
PO BOX 74534
CLEVELAND, OH 44194-4534

KEY EQUIPMENT FINANCE
PO BOX 74713
CLEVELAND, OH 44194-0796
KEY EQUIPMENT FINANCE, A DIVISION OF KEY CORPORATE CAPITAL INC.
66 S PEARL ST
ALBANY, NY 12207
KEY EVALUATION INC
288 SUNRISE HIGHWAY
ROCKVILLE CENTRE, NY 11570
KEY EVENTS INC
14800 EDBROOKE
DOLTON, IL 60419

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
KEY FINANCIAL INVESTMENTS CO
312 MAY ST # 101
CHICAGO, IL 60607
KEYCORP REAL ESTATE CAPITAL MKT
KEY COMMERCIAL MORTGAGE
DBA KEY BANK REAL ESTATE
CAPITAL MARKETS
911 MAIN ST #1500
KANSAS CITY, MO 64105
KEYNOTE SYSTEMS INC LOCKBOX
DEPT 33407
PO BOX 39000
SAN FRANCISCO, CA 94139-3407

KEYSTONE CHALLENGE FUND INC
2005 S FLORIDA AVE
LAKELAND, FL 33803

KEYSTONE CONSULTING GROUP
299 CHESTNUT ST
NORTH ATTLEBORO, MA 02760
KEYSTONE MORTGAGE GROUP
KMG MORTGAGE SERVICES INC
27782 VISTA DEL LAGO #29
MISSION VIEJO, CA 92692

KFOG RADIO SAN FRANCISCO
LOCKBOX CMP SUS1 KFOG
SAN FRANCISCO MARKET
PO BOX 643660
CINCINNATI, OH 45264-3660

KFORCE INC
1001 E PALM AVE
TAMPA, FL 33605

KFS EDUCATION SERVICES LLC
ONE BLUE HILL PLAZA 11TH FL
PO BOX 1686
PEARL RIVER, NY 10965-8686

KHANNA INC
RMCFINANCIALCOM
1036 A ST
HAYWARD, CA 94541

KHOI NGUYEN INC DBA
AMADOR VALLEY VENDING
6978 SIERRA CT
DUBLIN, CA 94568

KI YOP LIM & JULLIA SONG LIM
33183 POPPY ST
TEMECULA, CA 92592

KICK & HALLER INC
DBA MINUTEMAN PRESS
3000 HEMPSTEAD TURNPIKE
LEVITTOWN, NY 11756

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KIDDER MATHEWS & SEGNER INC
DBA GVA KIDDER MATHEWS
12886 INTERURBAN AVE S
SEATTLE, WA 98168
KIDNEY & UROLOGY FOUNDATION
OF AMERICA
152 MADISON AVE #201
NEW YORK, NY 10016

KIDS LOVE STICKERS
MEDIBADGE INC
PO BOX 12307
OMAHA, NE 68112-0307

KIDS UNLIMITED OF OREGON
1 EAST MAIN ST
MEDFORD, OR 97501
KIER & WRIGHT CIVIL ENGINEERS
AND SURVEYORS INC
1233 QUARRY LANE #145
PLEASANTON, CA 94566-8475
KILBOURNE & TULLY P C
120 LAUREL ST
BRISTOL, CT 06010

KILEY COMPANY
2681 DOW AVE #E
TUSTIN, CA 92780
KILMER VOORHEES & LAURICK
732 NW 19TH AVE
PORTLAND, OR 97209

KIM HEMPE
AFFAIR ALA CARTE
537 S DUSTIN PL
ANAHEIM, CA 92806

KIMBALL APPRAISAL GROUP INC
DBA INTEGRA REALLY RESOURCES
120 E WASHINGTON ST #525
SYRACUSE, NY 13202
KIMBERLY A. CANNON
[Address Information Redacted]

KIMBERLY BOOKER
AND VARNUM RIDDERING SCHMIDT &
HOWLETT LLP
5319 STONEHAVEN RD
SAN ANTONIO, TX 78230
KIMBERLY CREDIT COUNSELING INC
2540 METROCENTRE BLVD #1
WEST PALM BEACH, FL 33467
KIMBERLY HENN
14415 4TH AVE COURT E
TACOMA, WA 98374

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KIMBERLY RAMIREZ
20601 CRESCENT WAY
GROVELAND, CA 95321
KIMBERLY S. MATHYS
[Address Information Redacted]
KIMCO REALTY CORP
23 MAUCHLY #100
IRVINE, CA 92618
KINDERCARE LEARNING CENTERS INC
650 NE HOLLADAY ST #1400
PORTLAND, OR 97232

KINDERING CENTER
16120 NE 8TH ST
BELLEVUE, WA 98008
KING COUNTY BAR ASSOCIATION
DBA KCBA
1200 5TH AVE #600
SEATTLE, WA 98101
KING COUNTY BAR ASSOCIATION
LABOR AND EMPLOYMENT SECTION
PO BOX 66321
SEATTLE, WA 98166

KING COUNTY BAR ASSOCIATION
1200 FIFTH AVE #600
SEATTLE, WA 98101

KING COUNTY BAR FOUNDATION
KING COUNTY BAR ASSOCIATION
1200 5TH AVE #600
SEATTLE, WA 98101

KING COUNTY FINANCE &
BUSINESS OPERATIONS DIVISION
500 4TH AV #620
MS ADM FI 0620
SEATTLE, WA 98104-2387

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19351 8TH AVE NE #106
POULSBO, WA 98370

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KING OF KINGS
137 11 161ST ST
JAMAICA, NY 11434

KINGMAN PEABODY
PIERSON & FITZHARRIS
505 MADISON ST #300
SEATTLE, WA 98104
KINGS BAY YM-YWHA
                                       Page 474
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
3495 NOSTRAND AVE
BROOKLYN, NY 11229

KINGS COUNTY CITY REGISTER
210 JORALEMON ST 1ST FL RM 2
BROOKLYN, NY 11201
KINGS TITLE & ASTRACT CO INC
111 W 3RD ST
RUSHVILLE, IN 46173
KINSALE HOLDINGS INC
DBA APARIANT
850 MONTGOMERY ST #300
SAN FRANCISCO, CA 94133

KINSEL LAW OFFICES PLLC
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KIRBY & MCGUINN APC
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KIRBY RENTAL SERVICE
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JACKSONVILLE, FL 32256

KIRBY SMITH & ASSOCIATES INC
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IN HOUSING
125 STATE ST #B
KIRKLAND, WA 98033

KIRKLAND WEST LLC
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NEW YORK, NY 10017
KIRKPATRICK & LOCKHART
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KIRKPATRICK & LOCKHART
PRESTON GATES ELLIS LLP
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KIRKPATRICK & LOCKHART LLP
KIRKPATRICK & LOCKHART
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KIRKPATRICK & LOCKHART LLP
KIRKPATRICK & LOCKHART
                                       Page 475
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1601 K ST NW
WASHINGTON, DC 20006

KIRSCHENBAUM & KIRSCHENBAUM PC
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GARDEN CITY, NY 11530
KIRSHNER & ASSOCIATES LLC
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KISSIMMEE CHAMBER OF COMMERCE
CELEBRATION AREA COUNCIL
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KISSIMMEE, FL 34744

KISSIMMEE VALLEY LIVESTOCK
SHOW AND FAIR INC
1911 KISSIMMEE VALLEY LANE
KISSIMMEE, FL 34744
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GREATER COPIAGUE
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COPIAGUE, NY 11726

KIWANIS CLUB OF BELLINGHAM
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BELLINGHAM, WA 98227

KIWANIS CLUB OF LITTLE HAVANA
FOUNDATION INC
1400 SW 1ST ST
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KIWANIS CLUB OF MASPETH
MICHAEL J FALCO ESQ
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KIWANIS CLUB OF PALM SPRINGS
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PALM SPRINGS, CA 92263

KIWANIS CLUB OF TIERRASANTA
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KIWANIS OF LITTLE HAVANA
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ASSOCIATION
4509 S 6TH ST
KLAMATH FALLS, OR 97603
KLEBERG BANK
                                       Page 476
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ATTN COLLECTIONS DEPT
PO BOX 7669
CORPUS CHRISTI, TX 78467
KLEIN & RADOL LLC
15 ENGLE ST #102
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KLEIN & SALLAH LLC
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ZUERCHER LLC
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301 N MAIN
WICHITA, KS 67202-4888

KLINEDINST PC
501 W BROADWAY #600
SAN DIEGO, CA 92101

KNAPP PETERSEN & CLARKE
500 N BRAND BLVD 20TH FL
GLENDALE, CA 91203-1904

KNIGHT BONDPOINT INC
LOCKBOX ACCOUNT
PO BOX 19335
NEWARK, NJ 07195-0335

KNOLL ARENSON OFFICE FURNITURE
PO BOX 822037
PHILADELPHIA, PA 19182-2037

KNOLL INC
PO BOX 277778
ATLANTA, GA 20284-7778
KNOWLEDGE MOSAIC LLC
5508 35TH AVE NE #200
SEATTLE, WA 98105

KNOWLEDGE SYSTEMS CORPORATION
1258 BENSON RD
GARNER, NC 27529
KNOX ATTORNEY SERVICE INC
2250 4TH AVE
SAN DIEGO, CA 92101
KNOX COUNTY REGISTER OF DEEDS
400 W MAIN ST #225
KNOXVILLE, TN 37902
KOA LEI INC
DBA WESTSIDE RENTALS
1020 WILSHIRE BLVD
SANTA MONICA, CA 90401
                                      Page 477
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                 WMI - Creditor Matrix 081009 (redacted for filing).txt
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&HALUCK LLP
PO BOX 19799
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KOLB & ASSOCIATES PC
49 HIGH ST
EAST HAVEN, CT 06512-2316

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PO BOX 99702
SEATTLE, WA 98139-0702
KON TIKI INN
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PISMO BEACH, CA 93449

KONICA MINOLTA BUSINESS
SOLUTIONS USA INC
FILE 50252
LOS ANGELES, CA 90074-0252

KONNER TEITELBAUM & GALLAGHER
462 SEVENTH AVE 12TH FL
NEW YORK, NY 10018
KORANGY PUBLISHING
DBA THE REAL DEAL MAGAZINE
158 W 29TH ST 4TH FL
NEW YORK, NY 10001
KOREAN CHURCHES FOR
COMMUNITY DEVELOPMENT
3550 WILSHIRE BLVD #500
LOS ANGELES, CA 90010

KORSKO LAW FIRM PA
11350 66TH ST N #106
LARGO, FL 33373
KOSTE WILLIAMS LLC
25 CHANNEL CENTER ST #1008
BOSTON, MA 02210
KOTIS DESIGN
6414 204TH ST SW #200
LYNNWOOD, WA 98036

KP CORPORATION
PO BOX 45778
SAN FRANCISCO, CA 94145-0778

KP CORPORATION
20014 70TH AVE S
KENT, WA 98032
KP CORPORATION
                                       Page 478
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
3700 SEAPORT BLVD
WEST SACRAMENTO, CA 95691

KPMG LLP
DEPT 0511
PO BOX 120001
DALLAS, TX 75312-0511
KPMG LLP
DEPT 0522
PO BOX 120001
DALLAS, TX 75312-0522
KPMG LLP
DEPT 0576
PO BOX 120001
DALLAS, TX 75312-0576
KPMG LLP
DEPT 0922
PO BOX 120001
DALLAS, TX 75312-0922

KPMG LLP
DEPT 0939
PO BOX 120001
DALLAS, TX 75312-0939

KPMG LLP
DEPT 0970
PO BOX 120001
DALLAS, TX 75312-0970

KPMG LLP
DEPT# 0771
PO BOX 120001
DALLAS, TX 75312-0771

KPOD LLC
1345 NORTHCREST DR
CRESCENT CITY, CA 95531

KR MARTIN & SONS LOCKSMITHS INC
2234A W PARK ROW DR
PANTEGO, TX 76013
KRAMM & ASSOCIATES INC
2224 THIRD AVE
SAN DIEGO, CA 92101
KRASOW GARLICK & HADLEY
ONE STATE ST
HARTFORD, CT 06103

KRAUSE MOORHEAD AND DRAISEN P A
207 E CALHOUN ST
ANDERSON, SC 29621

KRAYON KIDS MUSICAL THEATER
1404 SEVENTH ST
OREGON CITY, OR 97045
KRIEG DEVAULT LLP
                                       Page 479
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
ONE INDIANA SQUARE #2800
INDIANAPOLIS, IN 46204-2079

KRIM & KRIM LAW OFFICES
100 GRADEN CITY PLAZA
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AMERICAN RED CROSS AUTH PROVDR
222 SAN LUIS ST SW
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KRISTINA CURRIER
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BRUSH PRAIRIE, WA 98606

KRISTYN HUMPHREYS
BNI NETWORKING CHAPTER
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OGDEN, UT 84414
KRM INFORMATION SERVICES INC
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EAU CLAIRE, WI 54702

KRONOS OPTIMAL HEALTH COMPANY
2390 E CAMELBACK RD # B440
PHOENIX, AZ 85016

KRYS BOYLE PC
600 17TH ST #2700 S TOWER
DENVER, CO 80202

KSARRA, L.L.C.
[Address to Be Provided]

KTS SERVICES INC DBA
KTS NETWORK SOLUTIONS INC
11132 WINNERS CIRCLE #103
LOS ALAMITOS, CA 90720

KUHN ACQUISITIONS
KUHN FLOWERS
PO BOX 47705
JACKSONVILLE, FL 32247
KUK HWAN JUNG
2809 LAKE VILLE DR
FLOWER MOUND, TX 75022
KURASZ CONSULTING INC
4020 SE INTERNATIONAL WAY #C101
MILWAUKIE, OR 97222

KURT KNABKE
EXECUTIVE MORTGAGE
2355 SAN RAMON VALLEY BLVD #204
SAN RAMON, CA 94583
KURT SCHUMACHER
[Address Information Redacted]
KWANZAA HERTIGAGE FOUNDATION
                                       Page 480
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 513978
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KYLE CARVER
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SEATTLE, WA 98115
KYOTO SYMPOSIUM ORGANIZATION
PO BOX 3303
LA JOLLA, CA 92038-3303
L & R AUTO PARKS INC
515 S FLOWER #3200
LOS ANGELES, CA 90071

L A GAY AND LESBIAN
COMMUNITY SERVICES CENTER
1625 N SCHRADER BLVD
LOS ANGELES, CA 90028

L D ANDREWS
308 A S ELM ST
GREENSBORO, NC 27401
L LOVE
IRS
501 W OCEAN BLVD
LONG BEACH, CA 90802

L. JAY AGNES
[Address to Be Provided]
LA CASA DE DON PEDRO INC
75 PARK AVE
NEWARK, NJ 07104

LA CHAPELLE CREDIT SERVICE
PO BOX 1653
GREEN BAY, WI 54305
LA COMM REINVESTMENT COMMITTEE
DBA COMM FINANCIAL RESOURCE CTR
4060 S FIGUEROA ST
LOS ANGELES, CA 90037
LA COUNTY ALLIANCE FOR THE
MENTALLY ILL NATIONAL ALLINACE
ON MENTAL ILLNESS
PO BOX 741029
LOS ANGELES, CA 90004
LA CUNA INC
3180 UNIVERSITY AVE #260
SAN DIEGO, CA 92104
LA HABRA JOURNAL
LA HABRA AREA
PO BOX 44
LA HABRA, CA 90633
LA HABRA POLICE DEPT
ALARM PERMIT RENEWAL
150 N EUCLID
                                       Page 481
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LA HABRA, CA 90631
LA JOLLA FINANCE CORP
864 PROSPECT ST
LA JOLLA, CA 92037

LA LU ENTERPRISES INC
CROWN TROPHY CORPORATE
AWARDS & PROMOTIONS
7300 S ALTON WAY #C
CENTENNIAL, CO 80112
LA MESSENGER SERVICE INC
7456 N WAUKEGAN RD
NILES, IL 60714

LA NEGRITA PRODUCTIONS LLC
9 ROGER RD
EDISON, NJ 08817

LA NEIGHBORHOOD HOUSING SERVICE
3926 WILSHIRE BLVD #200
LOS ANGELES, CA 90010
LA PORTE-BAYSHORE
CHAMBER OF COMMERCE
PO BOX 996
LAPORTE, TX 77572-0996

LA QUINTA CHAMBER OF COMMERCE
78-275 CALLE TAMPICO #B
LA QUINTA, CA 92253

LA VERNE CHAMBER OF COMMERCE
2078 BONITA AVE
LA VERNE, CA 91750
LAB SAFETY SUPPLY INC
PO BOX 5004
JANESVILLE, WI 53547-5004

LACA STATE OF NEW YORK INC
1112 GARRISON AVENUE
BRONX, NY 10474
LADIES WHO LUNCH
63 FAIR OAKS ST
SAN FRANCISCO, CA 94110

LADY GATORS SOFTBALL CLUB INC
7117 CATALINA WAY
LAKEWORTH, FL 33467
LADYBUG PHOTOGRAPHY
PO BOX 573
MANCHESTER, WA 98353

LAFAYETTE CHAMBER OF COMMERCE
100 LAFAYETTE CIRCLE #103
LAFAYETTE, CA 94549

LAFAYETTE TITLE AND ESCROW LLC
1101 PROFESSIONAL DR
                                       Page 482
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
WILLIAMSBURG, VA 23185
LAFROMBOISE NEWSPAPERS INC DBA
THE CHRONICLE
PO BOX 580
CENTRALIA, WA 98531
LAGRECA & QUINN REAL ESTATE
SERVICES INC
200 PENNSYLVANIA AVE #110
ORELAND, PA 19075
LAGUNA ESCROW SERVICES
31752 S COAST HYW #300
LAGUNA BEACH, CA 92651

LAKE COUNTY RECORDER
2293 N MAIN ST BLDG A 2ND FL
CROWN POINT, IN 46307

LAKE COUNTY TAX COLLECTOR
BOB MCKEE
PO BOX 327
TAVARES, FL 32778

LAKE ELSINORE VALLEY
CHAMBER OF COMMERCE
132 W GRAHAM AVE
LAKE ELSINORE, CA 92530

LAKE FOREST PARK ROTARY CLUB
PO BOX 55983
SEATTLE, WA 98155-0983

LAKE HIGHLANDS JUNIOR HIGH PTA
10233 E NORTHWEST HWY #140
DALLAS, TX 75238

LAKE MIRROR CLASSIC
ATTN GINNY ASKEW
100 E MAIN ST
LAKELAND, FL 33081
LAKE OSWEGO BLUEPRINT LLC
PO BOX 2032
SALEM, OR 97308

LAKEPORT REGIONAL
CHAMBER OF COMMERCE
PO BOX 295
LAKEPORT, CA 95453-0295
LAKESIDE COMMUNITY DEVELOPMENT
CORPORATION
1652 W WALLEN AVE
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LAKEVIEW HOSPITAL AUXILIARY
LAUREL BECK
630 E MEDICAL DR
BOUNTIFUL, UT 84010
LAKEWOOD CHAMBER OF COMMERCE
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
4650 STEILACOOM BLVD SW #109
LAKEWOOD, WA 98499-4008

LAKEWOOD CHAMBER OF COMMERCE
PO BOX 160
LAKEWOOD, CA 90714-0160
LAKEWOOD POLICE DEPARTMENT
231 3RD ST
LAKEWOOD, NJ 08701-3220
LAMBDA LEGAL
DEFENSE & EDUCATION FUND INC
120 WALL ST #1500
NEW YORK, NY 10005-3904

LAMM COM
DBA GLOBAL SIGNS
4100 STEVE REYNOLDS BLVD #D
NORCROSS, GA 30093
LAMP 1 ASSOCIATES INC DBA
LAWSON AND ASSOCIATES
1901 S BASCOM AV #1600
CAMPBELL, CA 95008

LAMP INC
DBA LAMP COMMUNITY
527 S CROCKER ST
LOS ANGELES, CA 90013

LAND AMERICA FINANCIAL GROUP
TRANSNATION TITLE INSURANCE CO
COMMERCIAL LENDER SERVICES
5600 COX RD
GLEN ALLEN, VA 23060
LAND TITLE CO OF ISLAND COUNTY
MT VERNON ABSTRACT & TITLE CO
PO BOX 1138
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GLENDALE, CA 91203
LANDAMERICA ASSESSMENT CORP
NATIONAL ASSESSMENT CORP
ATTN COMMERCIAL SERVICES
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LANDAMERICA COMMONWEALTH
LANDAMERCIA COMMONWEALTH
15119 MEMORIAL DR #106
HOUSTON, TX 77079

LANDAMERICA COMMONWEALTH
LANDAMERCIA COMMONWEALTH
1920 MAIN ST #1200
IRVINE, CA 92614
LANDAMERICA COMMONWEALTH
                                      Page 484
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
LANDAMERCIA COMMONWEALTH
209 AVENIDA DEL MAR #202
SAN CLEMENTE, CA 92672
LANDAMERICA LAWYERS TITLE
OF SAN ANTONIO INC
12400 NETWORK BLVD #101
SAN ANTONIO, TX 78249

LANDAMERICA LAWYERS TITLE
12360 E BURNSIDE
PORTLAND, OR 97233
LANDAMERICA LAWYERS TITLE
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UNIONDALE, NY 11555-0024

LANDAMERICA ONESTOP
3585 ATLANTA AVE
ATTN BOX 932384
HAPEVILLE, GA 30354
LANDAMERICA TAX & FLOOD
ACCOUNT DEPT
1123 S PARKVIEW DR
COVINA, CA 91724
LANDAMERICA TRANSNATION TITLE
TRANSNATION TITLE INSURANCE CO
14450 NE 29TH PL
BELLEVUE, WA 98007
LANDAMERICA VALUATION CORP
BUTLER BURGHER INC
ATTN COMMERCIAL SERVICES
5600 COX ROAD
RICHMOND, VA 23060
LANDAMERICA VALUATION CORP
3701 EXECUTIVE CENTER DR #200
AUSTIN, TX 78731

LANDMARK FINANCIAL
LANDMARK BUSINESS GROUP INC
11440 W BERNARDO CT #300
SAN DIEGO, CA 92127
LANDMARK VALUATION GROUP
PO BOX 530037
ORLANDO, FL 32803-4637
LANDMARK VALUATION INC
5226 S JEBEL WAY
CENTENNIAL, CO 80015
LANDMARK WEST INC
45 W 67TH ST
NEW YORK, NY 10023
                                      Page 485
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LANDS END BUSINESS OUTFITTERS
PO BOX 217
DODGEVILLE, WI 53533-0217
LANDSCIENCE INC
2124 NE 123RD ST #210
NORTH MIAMI, FL 33161

LANE GUIDE
PO BOX 70610
RENO, NV 89570-0610
LANE POWELL PC
1420 5TH AVE #4100
SEATTLE, WA 98101-2338

LANE SERVICES LLC
LANE STRATEGIC RENOVATION
5555 GLENRIDGE CONNECTOR #700
ATLANTA, GA 30342-4728

LANG RICHERT & PATCH
PO BOX 40012
FRESNO, CA 93755-0012

LANGUAGE LINE SERVICES INC
DBA LANGUAGE LINE SERVICES
PO BOX 16012
MONTEREY, CA 93942-6012

LANIER WORLDWIDE INC
PO BOX 4245
CAROL STREAM, IL 60197-4245

LANIER WORLDWIDE, INC DBA RICOH CORP
[Address to Be Provided]

LAO FAMILY COMMUNITY DVLMPT INC
1551 23RD AVE
OAKLAND, CA 94606

LAPIDUS & LAPIDUS
211 S BEVERLY DR #211
BEVERLY HILLS, CA 90212
LARGO MID PINELLAS
CHAMBER OF COMMERCE
151 3RD ST NW
LARGO, FL 33770
LARRY A G JOHNSON
2535 E 21ST ST
TULSA, OK 74114
LARRY KELLNER
[Address Information Redacted]

LARRY LIEBZEIT
TRUSTEE #07-30340
PO BOX 845
APPLETON, WI 54912

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LARRY PATTERSON
[Address to Be Provided]

LAS BEST
200 N SPRING ST #M120
LOS ANGELES, CA 90012
LAS PLANTAS INC DBA
THE PLANT TENDER
PO BOX 20062
SALEM, OR 97307
LAS VEGAS PUBLICATIONS LLC
8689 W SAHARA #260
LAS VEGAS, NV 89117

LASALLE BANK
327 PLAZA REAL #225
BOCA RATON, FL 33432

LASALLE BANK NA
COLLATERAL SERVICES
5259 PAYSPHERE CIRCLE
CHICAGO, IL 60674-0034

LASALLE BANK NA
135 S LASALLE ST #1511
CHICAGO, IL 60603

LASERMAX ROLL SYSTEMS INC
LASERMAX ROLL SYSTEMS
PO BOX 85000-2105
PHILADELPHA, PA 19178-2105

LASHER HOLZAPFEL SPERRY &
EBBERSON
2600 2 UNION SQUARE
601 UNION ST
SEATTLE, WA 98101-4000
LASON SYSTEMS INC
PO BOX 535153
ATLANTA, GA 30353-5153

LATAH COUNTY SHERIFFS OFFICE
PO BOX 8068
MOSCOW, ID 83843

LATIN ACADEMY OF RECORDING
ARTS & SCIENCES INC
3841 NE 2ND AVE #301
MIAMI, FL 33137
LATIN AMERICAN ASSOCIATION
2750 BUFORD HWY
ATLANTA, GA 30324

LATIN BUSINESS ASSOCIATION
120 S SAN PEDRO ST #530
LOS ANGELES, CA 90012

LATIN CHAMBER OF COMMERCE
300 NORTH 13TH ST
                                     Page 487
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LAS VEGAS, NV 89101
LATIN CHAMBER OF COMMERCE OF
BROWARD COUNTY
121 S 61ST TERRACE
HOLLYWOOD, FL 33023
LATIN UNITED COMMUNITY
HOUSING ASSOCIATION
3541 W NORTH AVE
CHICAGO, IL 60647
LATINA CENTER
3919 ROOSEVELT AVE
RICHMOND, CA 94805

LATINO BROADCASTING ORG
DBA FIDELITY 95 7 FM WBVL
PO BOX 452935
KISSIMMEE, FL 34745
LATINO EDUCATIONAL ACHEIVEMENT
PROJECT
PO BOX 98000 MS 99-285
DES MOINES, WA 98198

LATTE DA COFFEE SHOP & DESSERT
BAR
2100 MAIN ST
PORTERDALE, GA 30070

LAURA L ROSENBAUM
THOUGHT TO ACTION STRATEGIES
601 OCEAN PARK BLVD
SANTA MONICA, CA 90405

LAUREN E BLOOD
DBA LATITUDE 99
PO BOX 3287
RENTON, WA 98056

LAURIE K. HANSON
[Address Information Redacted]

LAURIE MYER
C/O THE PINNACLE GROUP
2509 MONTAVISTA PL W
SEATTLE, WA 98199

LAURIE R MOSS &
GREG L OSTERGAARD
1520 2ND AVE W
SEATTLE, WA 98119

LAURIN S SCHWEET
80TH AVE PROFESSIONAL BLDG
2955 80TH AVE SE #102
MERCER ISLAND, WA 98040
LAVINIA BEARDSLEY
64 BEECH TREE HILL RD LLP
SHELTON, CT 06484

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LAVONNE EILEEN KOESTER
9477 HEDGES DR
ALTA LOMA, CA 91701
LAW BULLETIN PUBLISHING CO
415 N STATE ST
CHICAGO, IL 60610
LAW BULLETIN PUBLISHING CO DBA
LAW BULLETIN PUBLISHING CO
MINNESOTA REAL ESTATE JOURNAL
5353 WAYZATA BLVD #307
MINNEAPOLIS, MN 55416
LAW OFC OF DONALD W HEYRICH PLL
LAW OFC OF DONALD W HEYRICH PLLC
701 5TH AVE
SEATTLE, WA 98168
LAW OFFICE OF
ERSKINE & FLEISHER
55 WESTON RD #300
FORT LAUDERDALE, FL 33326
LAW OFFICE OF EUGENE K YAMAMOTO
1555 LAKESIDE DR #64
OAKLAND, CA 94612

LAW OFFICE OF JAMES D GUESS
411 HEIMER RD
SAN ANTONIO, TX 78232
LAW OFFICE OF JERRY JARZOMBEK
TRUST ACCOUNT
714 W MAGNOLIA AVE
FORT WORTH, TX 76014
LAW OFFICE OF KEITH S SHINDLER
1040 S MILWAUKEE AVE #110
WHEELING, IL 60090-6373

LAW OFFICE OF KIRK A CULLIMORE
KIRK A CULLIMORE
PO BOX 65655
SALT LAKE CITY, UT 84165
LAW OFFICE OF MELISSA A FERRIS
PO BOX 547816
ORLANDO, FL 32854-7816
LAW OFFICE OF PETER J NICHOLS P
LAW OFFICE OF PETER J NICHOLS PS
2611 NE 113TH ST #300
SEATTLE, WA 98125
LAW OFFICE OF ROBERT A
GOLDSTEIN
110 WALL ST 23RD FL
NEW YORK, NY 10005
LAW OFFICE OF ROBERT C
DOUGHERTY
1130 SW MORRISON ST #210
                                        Page 489
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PORTLAND, OR 97205-2213
LAW OFFICE OF ROBERT C PATE
802 N CARANCAHUA #1350
CORPUS CHRISTI, TX 78470-0165

LAW OFFICES OF
GEORGE D STRAGGAS
PAUL A GRAMMATICO ESQ
5000 BIRCH ST #420
NEWPORT BEACH, CA 92660
LAW OFFICES OF
HUGH BRECKENRIDGE
4199 CAMPUS DR #700
IRVINE, CA 92612

LAW OFFICES OF CHAPMAN AND
CHAPMAN AND CUTLER
CUTLER LLP
201 S MAIN ST #2000
SALT LAKE CITY, UT 84111-2266

LAW OFFICES OF CHARLES NATHAN
100 24B ELGAR PLACE
BRONX, NY 10475
LAW OFFICES OF COHEN MCNEILE
PAPPAS & SHUTTLEWORTH PC
4601 COLLEGE BLVD #200
LEAWOOD EXECUTIVE CENTRE
LEAWOOD, KS 66211-1650

LAW OFFICES OF DOUGLAS JAFFE
402 W BROADWAY 4TH FL
SAN DIEGO, CA 92101
LAW OFFICES OF FAKHIMI & ASSOC
3 HUTTON CENTRE DR #620
SANTA ANA, CA 92707

LAW OFFICES OF JOHN K KALLMAN
JOHN K KALLMAN
221 N LASALLE ST #1200
CHICAGO, IL 60601
LAW OFFICES OF JOSEPH M KAR PC
TRUST ACCOUNT
15250 VENTURA BLVD #1220
SHERMAN OAKS, CA 91403
LAW OFFICES OF JUDITH LONNQUIST
1218 3RD AVE #1500
SEATTLE, WA 98101
LAW OFFICES OF LAWRENCE J MIX
57 NORTH ST
DANBURY, CT 06810
LAW OFFICES OF LOYST P FLETCHER
3660 WILSHIRE BLVD #826
LOS ANGELES, CA 90010

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LAW OFFICES OF MARK BRIFMAN
CLIENT TRUST ACCOUNT
15545 DEVONSHIRE ST #202
MISSION HILLS, CA 91395-0447
LAW OFFICES OF MCNATT GREENE
AND PETERSON
PO DRAWER 1168
VIDALIA, GA 30475-1168

LAW OFFICES OF MICHAEL DEITCH
AND ASSOCIATES PC
800 RIO GRANDE
AUSTIN, TX 78701

LAW OFFICES OF MICHAEL J
OCONNOR
8118 DATAPOINT DR
SAN ANTONIO, TX 78229

LAW OFFICES OF NICHOLAS HEIMAN
A C TRUST ACCOUNT
4727 WILSHIRE BLVD #403
LOS ANGELES, CA 90010

LAW OFFICES OF PETER E ZIMNIS
1245 WHITEHORSE MERCERVILLE RD
#412
TRENTON, NJ 08619

LAW OFFICES OF PETER T DAMORE
279 CAMBRIDGE ST
BURLINGTON, VT 01801

LAW OFFICES OF RICHARD M
LOVELACE JR PA
1310 2ND AVE
PO BOX 1704
CONWAY, SC 29526-1704
LAW OFFICES OF SEAN E JUDGE
20301 VENTURA BLVD #338
WOODLAND HILLS, CA 91364

LAW OFFICES OF SOHNEN & KELLY
2 THEATRE SQUARE #230
ORINDA, CA 94563

LAW OFFICES OF STEVEN M SCHAIN
2401 PENNSYLVANIA AVE #1A1
PHILADELPHIA, PA 19130
LAW OFFICES OF TONRY & GINART
DBA TONRY & GINART AND
BURTON COSSE SR
2114 PARIS RD
CHALMETTE, LA 70043

LAW OFFICES OF&ANDREU & PALMA
701 SW 27TH AVE #900
MIAMI, FL 33135
LAW SEMINARS INTERNATIONAL
                                      Page 491
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800 5TH AVE #101
SEATTLE, WA 98104

LAWMEMO.COM INC
PO BOX 1031
SALEM, OR 97308-1031
LAWNDALE CHRISTIAN
DEVELOPMENT CORPORATION
3843 W OGDEN AVE
CHICAGO, IL 60623
LAWRENCE COMMUNITY WORKS INC
168 NEWBURY ST
LAWRENCE, MA 01841

LAWRENCE M OLIVIER
CLIFF FRAD FRANK FREED SUBIT &
THOMAS LLP
705 2ND AVE #1200
SEATTLE, WA 98104-1798

LAWRENCE PROPERTIES
150 W 30TH ST 2ND FL
NEW YORK, NY 10001

LAWS & MURDOCH PA
200 S ARKANSAS AVE
PO BOX 3000
RUSSELLVILLE, AR 72811

LAWSON SOFTWARE AMERICAS INC
PO BOX 2395
CAROL STREAM, IL 60132-2395

LAWSON SOFTWARE, INC.
[Address to Be Provided]

LAWTON PRINTING INC
4111 E MISSION
SPOKANE, WA 99202

LAXALT & NOMURA LTD
9600 GATEWAY DR
RENO, NV 89521
LAZERQUICK PRINTING
1204 STEWART ST
SEATTLE, WA 98101
LB COMMERCIAL REALTY
277 CLOSTER DOCK RD
CLOSTER, NJ 07624

LBM SYSTEMS LLC
145 CHERRY ST
NEW CANAAN, CT 06840

LCN TECHNOLOGY
450 DUCLID AVE
SAN FRANCISCO, CA 94118
LE TIP ARVADA
                                      Page 492
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8031 WADSWORTH BLVD #5 9
ARVADA, CO 80003

LE TIP ARVADA & INTERNATIONAL
LE TIP ARVADA
8909-A COMPLEX DR
SAN DIEGO, CA 92123
LEADER GROUP CO
290 FAIRWAY CIRCLE
WESTON, FL 33326
LEADER PUBLICATIONS
DBA LAW JOURNAL PRESS
PO BOX 18105
NEWARK, NJ 07191-8105

LEADERSHIP EDUCATION
FOR ASIAN PACIFICS INC
327 E 2ND ST #226
LOS ANGELES, CA 90012-4210

LEADERSHIP HOUSTON INC
3015 RICHMOND #200
HOUSTON, TX 77098

LEADERSHIP IN LENDING
DBA THE SRS GROUP
PO BOX 5353
WALNUT CREEK, CA 94596-1353

LEADERSHIP SERVICES LTD
219 CONEJO RD
SANTA BARBARA, CA 93103

LEADERSHIP TOMORROW SEATTLE
1301 5TH AVE #2500
SEATTLE, WA 98101-2611

LEADING EFFECT LLC
8532 N IVANHOE ST #205
PORTLAND, OR 97203
LEAGUE CITY CHAMBER OF COMMERCE
260 PARK AVE
LEAGUE CITY, TX 77573

LEAGUE OF UNITED LATIN
AMERICAN CITIZENS
1019 W GARDNER
HOUSTON, TX 77009
LEAGUE OF UNITED LATIN AMERICAN
CITIZENS INSTITUTE INC
201 E MAIN #605
EL PASO, TX 79901

LEARN IT! INC
LEARN IT INC
33 NEW MONTGOMERY ST #300
SAN FRANCISCO, CA 94105
LEARNING LEADERS INC
                                       Page 493
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
80 MAIDEN LN #1100
NEW YORK, NY 10038-4811

LEBANON AREA CHAMBER
OF COMMERCE
1040 PARK ST
LEBANON, OR 97355
LEBLANC ASSOCIATES INC
DBA GOLDEN GATES OFFICE SYSTEMS
927 HOWARD ST
SAN FRANCISCO, CA 94103
LECG LLC
PO BOX 952423
ST LOUIS, MO 63195

LEE ANAV CHUNG LLP
THE EMPIRE STATE BLDG
350 5TH AVE #5411
NEW YORK, NY 10118

LEE ANAV CHUNG LLP
350 FIFTH AVE # 5411
NEW YORK, NY 10118

LEE COUNTY BOCC
27300 OLD 41
BONITA SPRINGS, FL 34135

LEE COUNTY SHERIFFS OFFICE
FALSE ALARM REDUCTION UNIT
14750 SIX MILE CYPRESS PKWY
FORT MYERS, FL 33912

LEE COUNTY TAX COLLECTOR
PO BOX 1549
FT MEYERS, FL 33902-1549

LEE ENEMARK
REALTY WORLD SELZER REALTY
350 E GOBBI ST
UKIAH, CA 95482

LEE FAMILY INVESTMENTS
[Address to Be Provided]

LEE HECHT HARRISON LLC
LEE HECHT HARRISON, LLC
DEPT CH# 10544
PALATINE, IL 60055-0544
LEE HECHT HARRISON, LLC
DEPT CH #10544
PALATINE, IL 60055-0544
LEE HIGH SCHOOL
NORTH EAST INDEPENDENT
1400 JACKSON KELLER RD
SAN ANTONIO, TX 78213

LEE KALINSKY
[Address to Be Provided]
                                       Page 494
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LEE SMART COOK
MARTIN & PATTERSON
1800 ONE CONVENTION PL
701 PIKE ST
SEATTLE, WA 98101-2585
LEE SUNDQUIST
DBA ACADEMY BACKFLOW SERVICE
LEE SUNDQUIST AWWA 08817
PO BOX 1528
LAKESIDE, CA 92040
LEECHIU & ASSOCIATES INC
88 CORPORATE CENTER UNIT 907
SEDENO COR VALERO STS
SALCEDO VILLAGE MAKATI CITY,   1227 PHILIPPINES
LEE'S HILL TITLE SERVICES LLC
LEE&#39S HILL TITLE SERVICES LLC
10701 SPOTSYLVANIA AVE #102
FREDERICKSBURG, VA 22408

LEETE & LEMIEUX PA
ATTORNEYS AT LAW
PO BOX 7740
PORTLAND, ME 04112

LEFEVERS VIEWPOINT GROUP INC
4040 E CAMELBACK RD #220
PHOENIX, AZ 85018
LEFRAK CITY MERCHANTS ASSOC
PO BOX 730634
ELMHURST, NY 11373

LEGACY FINANCIAL CORPORATION
7500 GREENWAY CENTER DR #520
GREENBELT, MD 20770
LEGACY FOUNDATION
PO BOX 3033
SEATTLE, WA 98122

LEGACY HOUSE INT'L DISTRICT
LEGACY HOUSE INT&#39L DISTRICT
VILLAGE SQUARE ASSOCIATION
PO BOX 3302
SEATTLE, WA 98114
LEGACYTEXAS TITLE CO
3512 PRESTON RD #200
PLANO, TX 75093

LEGAL ELEMENTS OF DALLAS
600 N PEARL ST #S102
DALLAS, TX 75201

LEGALINK INC
A MERRILL COMPANY
FILE 70206
LOS ANGELES, CA 90074-0206

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LEGALINK INC
A MERRILL COMPANY
PO BOX 277951
ATLANTA, GA 30384-7591
LEGEND LIMOUSINES INC
1930 VETS HWY #4
ISLANDIA, NY 11749

LEGEND MORTGAGE CORPORATION
8380 MELROSE AVE #303
LOS ANGELES, CA 90069
LEGENDS DOCUMENT SOLUTIONS
PO BOX 2759
SAN RAMON, CA 94583

LEGGAT MCCALL & WERNER
INTEGRA REALTY RESOURCES
313 CONGRESS ST #100
BOSTON, MA 02210

LEGGETT & PLATT INC
SORE FIXTURES GROUP
DBA GENESIS FIXTURES
3842 REDMAN DR
FORT COLLINS, CO 80524

LEGISLATIVE INTENT SERVICE INC
712 MAIN ST #200
WOODLAND, CA 95695
LEHMAN COLLEGE FOR THE
PERFORMING ARTS
250 BEDFORD PARK BLVD W
BRONX, NY 10468
LEHNER/MARTIN INC
PO BOX 25207
SANTA ANA, CA 92799-5207

LEMBECK APPRAISAL & CONSULTING
111 W NORTH RIVER DR #204
SPOKANE, WA 99201
LEMERY GREISLER LLC
50 BEAVER ST 2ND FLR
ALBANY, NY 12207

LENCEL CORPORATION
10484 BROCKWOOD RD
DALLAS, TX 75238
LENDERSOURCE INC
DBA LEADMAILBOX COM
517 S LUCIA AVE
REDONDO BEACH, CA 90277

LENDING BEE INC
8159 SANTA MONICA BLVD #201
WEST HOLLYWOOD, CA 90046
LENDING INDUSTRY DIVERSITY
                                      Page 496
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CONFERENCE INC
1325 G ST NW #500
WASHINGTON, DC 20005
LENDING TEAM MORTGAGE INC
1533 TARAVAL STREET
SAN FRANCISCO, CA 94116
LENNY WILKENS FOUNDATION
LENNY WILKENS CELEBRITY
3150 RICHARDS RD #200
BELLEVUE, WA 98005
LENOX FINANCIAL MORTGAGE LLC
6 PIEDMONT CTR #6
ATLANTA, GA 30305

LEO BURNETT USA INC
91451 COLLECTION CENTER DR
CHICAGO, IL 60693
LEO HIGH SCHOOL
JEFFREY ZEHE
55 W MONROE ST #1800
CHICAGO, IL 60603

LEO JOHN ZIPP
8533 SUGARMAN DR
LA JOLLA, CA 92037

LEON ROSENBLATT
[Address to Be Provided]

LEON S ANGVIRE
3642 LOWRY RD
LOS ANGELES, CA 90027
LEON THOMAS JR
270 BEL AIR DR #23
VACAVILLE, CA 95687

LEONARD CORREIA
110 STANCIL DR
ANGIER, NC 27501
LEONARD J CALIGIURI
2031 SAN ONOFRE DR
CAMARILLO, CA 93012

LEONARD KEY & KEY PLLC
DAVISON REGELEY LLP
900 8TH ST #1102
WICHITA FALLS, TX 76307

LEONARD SPRINKLES
LEONARD B. SPRINKLES
MEDIATION MASTERS
96 N 3RD ST #300
SAN JOSE, CA 95112
LEONARD STREET AND DEINARD
150 S 5TH ST #2300
MINNEAPOLIS, MN 55402
                                     Page 497
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LEOPARDO COMPANIES INC
5200 PRAIRIE STONE PKWY
HOFFMAN ESTATES, IL 60192
LEOTHA CLARK
2023 N BELHAVEN AVE
LOS ANGELES, CA 90059

LERCH BATES INC
8089 S LINCOLN #300
LITTLETON, CO 80122
LERNER SAMPSON & ROTHFUSS, CO
PO BOX 1985
CINCINNATI, OH 45264-1985

LES SCHWAB TIRE CENTER
10340 SW CANYON RD
BEAVERTON, OR 97005
LESLIE A BLAU
PC CLIENT FUNDS ACCOUNT
FBO CURRENCY MANAGEMENT CO LTD
140 S DEARBORN ST #1610
CHICAGO, IL 60603
LESLIE LANTANO
801 N COLUSA DR
WALNUT, CA 91789

LESSLEY ENTERPRISES LLC
DBA SIGNS NOW #271
3330 SATELLITE BLVD #13
DULUTH, GA 30096

LESTER & ROSALIE ANIXTER CENTER
DBA CHICAGO HEARING SOCIETY
6677 N LINCOLN AVE #400
LINCOLNWOOD, IL 60712

LET THERE BE LIGHTS
45 E PUTNAM AVE #121
GREENWICH, CT 06830
LEUKEMIA & LYMPHOMA SOCIETY
KALANI CHIROPRACTIC
2100 OUTLET CENTER DR #330
OXNARD, CA 93036
LEUKEMIA & LYMPHOMA SOCIETY
4360 NORTHLAKE BLVD #109
PALM BEACH GARDENS, FL 33410

LEUKEMIA & LYMPHOMA SOCIETY
530 DEXTER AVE N #300
SEATTLE, WA 98109

LEV FOUNDATION
LEAGUE OF EDUCATION VOTERS
FOUNDATION
2505 3RD AVE #326
SEATTLE, WA 98212
                                       Page 498
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LEVEL 3 COMMUNICATIONS
DEPT 182
DENVER, CO 80291
LEVI STRAUSS & CO
233 MICHIGAN AVE #1200
CHICAGO, IL 60601

LEVINE BLASZAK BLOCK & BOOTHBY
2001 L ST NW #900
WASHINGTON, DC 20036
LEVINSON ARSHONSKY & KURTZ LLP
15303 VENTURA BLVD #1650
SHERMAN OAKS, CA 91403

LEVITT PAVILLION OF THE
FRIENDS OF THE LEVITT PAVILION
PERFORMING ARTS
85 E HOLLY ST
PASADENA, CA 91103

LEVY OFF: EL MONTE
SHERIFF'S DEPT
LA COUNTY
11234 E VALLEY BLVD RM 114
EL MONTE, CA 91731

LEVY OFF: HUNTINGTON PARK
SHERIFF'S DEPT LA COUNTY
6548 MILES AVE RM 108
HUNTINGTON, CA 90255

LEVY OFFICER:SAN BERNARDINO
CENTRAL DIVISION
SHERIFF'S COURT SVCS BUREAU
351 N ARROWHEAD AVE
SAN BERNARDINO, CA 92415
LEVY PREMIUM FOOD SERVICE LP
LEVY RESTAURANTS AT
RAYMOND JAMES STADIUM
4116 N HIMES AVE
TAMPA, FL 33607
LEVY RESTAURANTS
LEVY PREMIUM FOODSERVICE LP
WRIGLEY FIELD
3721 N CLARK ST
CHICAGO, IL 60613
LEVY RESTAURANTS
7000 COLISEUM WAY
OAKLAND, CA 94621
LEVYING OFF: OAKLAND
CHARLES PLUMMER SHERIFF
1225 FALLON ST #104
OAKLAND, CA 94612

LEVYING OFFICER
EDWARD N BONNER SHERIFF
                                      Page 499
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PLACER CO SHERIFF CIVIL
PO BOX 6990
AUBURN, CA 95604
LEVYING OFFICER
SHERIFFS CIVIL DIVISION
2200 FRESNO ST
PO BOX 1788
FRESNO, CA 93717

LEVYING OFFICER - CHATSWORTH
SHERIFF'S DEPARTMENT
LOS ANGELES COUNTY
9425 PENFIELD AVE
CHATSWORTH, CA 91311

LEVYING OFFICER BOB BROOKS
CIVIL DIVISION
HALL OF JUSTICE RM 101
800 S VICTORIA AVE
VENTURA, CA 93009

LEVYING OFFICER FULLERTON
ORANGE COUNTY SHERIFF
1275 N BERKELEY RM 360
FULLERTON, CA 92832
LEVYING OFFICER INDIO
RIVERSIDE COUNTY SHERIFF
SHERIFF COURT SERVICES-EAST
46-200 OASIS ST RM B15
INDIO, CA 92201

LEVYING OFFICER LA COUNTY
42011 4TH ST WEST
LANCASTER, CA 93534
LEVYING OFFICER SAN JOSE
LAURIE SMITH CIVIL DIVISION
SANTA CLARA COUNTY SHERIFF
55 W YOUNGER AVE
SAN JOSE, CA 95110
LEVYING OFFICER SHERIFFS DEPT
1 REGENT ST
INGLEWOOD, CA 90301

LEVYING OFFICER SHERIFFS DEPT
4848 E CIVIC CENTER WY
LOS ANGELES, CA 90022
LEVYING OFFICER: BEVERLY HILLS
LOS ANGELES COUNTY
SHERIFF'S OFFICE
9355 BURTON WAY
BEVERLY HILLS, CA 90210

LEVYING OFFICER: MARTINEZ
CONTRA COSTA COUNTY
920 MELLUS ST
MARTINEZ, CA 94553
LEVYING OFFICER:ORANGE COUNTY
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909 N MAIN ST
SANTA ANA, CA 92701

LEVYING OFFICER:POMONA
LOS ANGELES COUNTY
SHERIFF'S OFFICE
350 W MISSION BLVD
POMONA, CA 91766

LEVYING OFFICER-BURBANK
SHERIFF'S DEPT
LA COUNTY SHERIFF'S OFFICE
300 E OLIVE
BURBANK, CA 91502

LEVYING OFFICER-FRENCH CAMP
SHERIFF'S CIVIL DIVISION
7000 MICHAEL CANLIS BLVD
FRENCH CAMP, CA 95231-9781

LEVYING OFFICER-LAGUNA HILLS
ORANGE COUNTY SHERIFF
23141 MOULTON PKWY #120
LAGUNA HILLS, CA 92653

LEVYING OFFICER-LOS ANGELES
SHERIFF'S DEPT LA COUNTY
110 N GRAND AVE RM 525
LOS ANGELES, CA 90012

LEVYING OFFICER-NEWPORT BEACH
ORANGE COUNTY MARSHALL
HARBOR DIVISION
4601 JAMBOREE BLVD RM 108
NEWPORT BEACH, CA 92660

LEVYING OFFICER-SACRAMENTO
3341 POWER INN RD #313
SACRAMENTO, CA 95826-3889
LEVYING OFFICER-SAN FERNANDO
SHERIFF'S OFFICE
900 3RD ST
SAN FERNANDO, CA 91340
LEVYING OFFICER-VAN NUYS
SHERIFF'S DEPT LA COUNTY
14400 ERWIN ST MALL
VAN NUYS, CA 91401
LEVYING OFFICER-W COVINA
SHERIFF'S DEPT
LOS ANGELES COUNTY
1427 W COVINA WAY
WEST COVINA, CA 91790
LEVYING OFFICER-WESTMINSTER
ORANGE COUNTY MARSHALL
8141 13TH ST
WESTMINSTER, CA 92683

LEWIS AND ROCA
1 SOUTH CHURCH AVE #700
                                     Page 501
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TUCSON, AZ 85701
LEWIS BRISBOIS BISGAARD & SMITH
221 N FIGUEROA ST #1200
LOS ANGELES, CA 90012

LEWIS COUNTY ASSN OF REALTORS
2451 KRESKY #F
CHEHALIS, WA 98532

LEWIS COUNTY TITLE CO INC
PO BOX 1165
CHEHALIS, WA 98532
LEWIS L HENRIKSON
& SUSAN G HENRIKSON
2440 CERRO SERENO
EL CAJON, CA 92019
LEWIS OPERATING CORP
PO BOX 670
UPLAND, CA 91785-0670

LEWIS, BRISBOIS, BISGAARD & SMITH LLP
[Address to Be Provided]

LEWTAN TECHNOLOGIES
300 FIFTH AVE
WALTHAM, MA 02451

LEXCEL SOLUTIONS INC
4110 N SCOTTSDALE RD #360
SCOTTSDALE, AZ 85251

LEXINGTON
100 SUMMER ST.
BOSTON, MA 02110

LEXINGTON MORTGAGE
LEXINGTON CAPITAL CORPORATION
PO BOX 9496
NEWPORT BEACH, CA 92658-9496
LEXISNEXIS COURTLINK INC
PO BOX 7247-6882
PHILADELPHIA, PA 19170-6882

LEXISNEXIS RISK MANAGMENT INC
LEXIS NEXIS RISK MANAGEMENT
DBA LN PUBLIC RECORDS
PO BOX 7247-6640
PHILADELPHIA, PA 19170-6640
LEXMARK
740 WEST NEW CIRCLE RD
LEXINGTON, KY 40550

LF HARRIS & CO INC
6312 W CHEYENNE AVE
LAS VEGAS, NV 89108

LG CONSULTING SERVICES LLC
6 NICKERSON ST #301
                                        Page 502
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SEATTLE, WA 98109
LGE PERFORMANCE SYSTEMS INC
DBA HUMAN PERFORMANCE INSTITUTE
9757 LAKE NONA RD
ORLANDO, FL 32827
LH MORTGAGE
231 W 10TH ST
TRACY, CA 95376
LI COUNCIL OF CHURCHES
1644 DNETON GREEN
HEMPTEAD, NY 11550

LIBERIA ECONOMIC AND SOCIAL
DEVELOPMENT INC
2356 N DIXIE HWY
PO BOX 222738
HOLLYWOOD, FL 33020
LIBERTY FINANCIAL GROUP INC
205 108TH AVE NE #270
BELLEVUE, WA 98004

LIBERTY INSURANCE UNDERWRITERS
55 WATER ST.
18TH FLOOR
NEW YORK, NY 10041

LIBERTY MUTUAL
176 BERKELEY ST.
BOSTON, MA 02117

LIBRARY SERVICES
PROFESSIONAL LIBRARY SERVICES
331 SOUTH RODEO DR
BEVERLY HILLS, CA 90212

LICHTENSTEIN & SCHINDEL
158 W BOSTON POST RD
MAMARONECK, NY 10543
LIDDLE & ROBINSON LLP
800 THIRD AVE
NEW YORK, NY 10022

LIDIA R. OWENS
1400 PINNACLE CT., #208
PT RICHMOND, CA 94801
LIEBERT CORPORATION
PO BOX 70474
CHICAGO, IL 60673-0001
LIEBERT GLOBAL SERVICES
PO BOX 70474
CHICAGO, IL 60673-0001
LIEN RELEASE LLC
LIEN RELEASE LLC AND STEPHEN
2740 CHAIN BRIDGE RD
VIENNA, VA 22181
                                       Page 503
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LIETO & GREENBERG TRUSTEE
LIETO AND GREENBERG LLP
40 REEF RD
FAIRFIELD, CT 06824

LIETO AND GREENBERG
LIETO AND GREENBERG LLP
40 REEF RD
FAIRFIELD, CT 06824
LIFE CAMP INC
SQPA
177TH ST & BAISLEY BLVD
JAMAICA, NY 11434

LIFE INSURANCE CO
OF NORTH AMERICA
PO BOX 8500 #3705
PHILADELPHIA, PA 19178
LIFECLINIC INTERNATIONAL INC
4032 BLACKBURN LANE
BURTONSVILLE, MD 20866

LIFESPAN CREDIT COUNSELING
1900 FAIRGROVE AVE RT F
HAMILTON, OH 45011-1966

LIFETIME LENDING INC
851 BURLWAY RD #501
BURLINGAME, CA 94010

LIFT POWER INC
PO BOX 6548
JACKSONVILLE, FL 32236
LIGHTFOOT FRANKLIN & WHITE LLC
THE CLARK BUILDING
400 20TH ST N
BIRMINGHAM, AL 35203-3200

LIGHTHOUSE CREDIT FDTN INC
PMB 153 10500 ULMERTON RD #726
LARGO, FL 33771
LIGHTHOUSE SYSTEMS INC
900 N FRANKLIN ST #304
CHICAGO, IL 60610
LIGHTNING PRESS INC
140 FURLER ST
TOTOWA, NJ 07512

LIGHTSPEED ONLINE RESEARCH INC
180 MOUNT AIRY RD #100
BASKING RIDGE, NJ 07920

LINC HOUSING CORP
110 PINE AVE #525
LONG BEACH, CA 90802
LINCOLN AREA
                                      Page 504
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CHAMBER OF COMMERCE
511 5TH ST
LINCOLN, CA 95648
LINCOLN COUNTY COMMUNITY DVLPT
PO BOX 1457
NEWPORT, OR 97365-0011
LINCOLN PARK CHAMBER OF COMMRC
BUSINESS DEVELOPMENT INSTITUE
1925 N CLYBOURN #301
CHICAGO, IL 60614
LINDA ANN GILBERT
1302 RENE CT
SUGARLAND, TX 77479

LINDA F BURNSED
9479 HIGHWAY 96
FRANKLIN, TN 37064
LINDA J MONTGOMERY
399 SADDLEHORN TR
PALM DESERT, CA 92211

LINDA MCKELL
[Address to Be Provided]

LINDA O’BRIEN
[Address Information Redacted]

LINDA POWERS
WELSSBERG & MEYERS LLC TRUST
9369 SHERIDAN ST #656
COOPER CITY, FL 33024

LINDON CITY
100 N STATE ST
LINDON CITY, UT 84042
LINDQUIST & VENNUM PLLP
4200 IDS CENTER
80 SOUTH EIGHTH ST
MINNEAPOLIS, MN 55402
LINEBARGER GOGGAN
BLAIR & SAMPSON
233 S WACKER DR #4030
CHICAGO, IL 60606
LINEN LLC
DBA LINEN BUILDING
1402 W GROVE ST
BOISE, ID 83702
LINN SCHISEL & DEMARCO
860 SW 143RD ST
SEATTLE, WA 98166
LINWOOD H MCNEILL
94 TWISTED OAK DR
SIMI VALLEY, CA 93065

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LIONBRIDGE TECHNOLOGIES INC
1050 WINTER ST
WALTHAM, MA 02451
LIONBRIDGE US INC
#2571
PO BOX 8500
PHILADELPHIA, PA 19178-2571

LIONEL SAWYER & COLLINS
300 S 4TH ST #1700
LAS VEGAS, NV 89101
LIPPER INC
GPO BOX 35552
NEWARK, NJ 07193-5552

LIPSON NEILSON JACOBS & COLE PC
3910 TELEGRAPH RD #200
BLOOMFIELD HILLS, MI 48302
LISA COLLINS
LONG & MATHIES LAW FIRM PC
415 E MAIN ST
PO BOX 250
BOONVILLE, IN 95321
LISA GOCHA TRUSTEE #07-08713
675 E 16TH ST #255
HOLLAND, MI 49423

LISA LASSAGNE
CENTRAL SIGNING SERVICE
PO BOX 1214
CONDORD, CA 94522-1214

LISA R DENVER
2205 THORLEY PL
PALOS VERDES ESTATES, CA 90274
LISA ROSS
2346 4TH AVE
PORT ANGELES, WA 98362

LISA WINN
5925 N KENMORE #1
CHICAGO, IL 60660

LISAS BON APPETIT INC
3511 PACIFIC COAST HWY #G
TORRANCE, CA 90505
LITCHAVEE CARTEWISE
DBA TUEY WISE
DEBRA H LEWIS ESQ
1815 AMALFI DR
ENCINITAS, CA 92024

LITCHFIELD BELL GRAND LLC
AMERICOR INVESTMENT GROUP
7595 E MCDONALD DR #130
SCOTTSDALE, AZ 85250

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
LITIGATION RESOURCES OF AMERICA
LITIGATION RESOURCES OF
DBA U S LEGAL SUPPORT
PO BOX 8205
PASADENA, CA 91109-8205

LITTLE BUGGA CREATIVE INC
PO BOX 2245
BREMERTON, WA 98310

LITTLE HAITI HOUSING ASSOC INC
181 NE 82ND ST FL-2
MIAMI, FL 33138
LITTLE NECK DOUGLASTON LIONS
CLUB
PO BOX 630330
LITTLE NECK, NY 11363
LITTLE SAIGON TV NETWORK
3005 CADILLAC AVE BLDG O #108B
COSTA MESA, CA 92626

LITTLE VILLAGE COMMUNITY
DEVELOPMENT CORP
2756 S HARDING
CHICAGO, IL 60623

LITTLER MENDELSON PC
PO BOX 45547
SAN FRANCISCO, CA 94145-0547
LITTLER MENDELSON PC
PO BOX 45547
SAN FRANCISCO, CA 94145-0547

LIVE NATION MARKETING INC
2000 W LOOP S #1300
HOUSTON, TX 77027
LIVE TECHNOLOGY HOLDINGS INC
16 STERLING LAKE RD
TUXEDO PARK, NY 10987

LIVEPERSON INC
462 7TH AVE 3RD FL
NEW YORK, NY 10018

LIVING INTERIORS
CHRISTINE FOWLIE
6740 GRIFFIN CREEK RD
MEDFORD, OR 97501
LIVING INTERIORS
PO BOX 13186
SACRAMENTO, CA 95813

LIVONA A LOPSHIRE
DBA DESERT LOCKSMITHS
PO BOX 20245
SPARKS, NV 89433
LIZARDOS ENGINEERING ASSOCIATES
                                       Page 507
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200 OLD COUNTRY RD #670
MINEOLA, NY 11501-4293

LIZZYBILL INC
GELATO CAFE
17821 SKY PARK CIRCLE #B
IRVINE, CA 92614
LJC INC DBA
PRESCOTT H PEIRCE CO
PO BOX 40608
PROVIDENCE, RI 02940
LLOYDS
ONE LIME ST
LONDON, EC3M 7HA UK

LM CONSULTANTS INC
750 E BUNKER CT #100
VERNON HILLS, IL 60061-1835
LMI NOTARY SERVICE
208 JAMES ST #B
SEATTLE, WA 98104

LOAN ADMINISTRATION NETWORK
18952 MACARTHUR BLVD #100
IRVINE, CA 92612

LOAN PERFORMANCE
PO BOX 844139
DALLAS, TX 75284-4139

LOAN PROFESSORS
667 N 1ST STREET
SAN JOSE, CA 95112
LOAN PROTECTOR
GENERAL AGENCY INC
6325 COCHRAN RD #1
SOLON, OH 44139

LOANFAC MORTGAGE INC
3700 WILSHIRE BLVD #570
LOS ANGELES, CA 90010
LOANPERFORMANCE, A SUBSIDIARY OF FIRST AMERICAN REAL ESTATE SOLUTIONS
[Address to Be Provided]

LOANSTAR FINANCIAL CORPORATION
3081 MADISON ST
CARLSBAD, CA 92008
LOCAL ECONOMIC AND
EMPLOYMENT DEVELOPMENT COUNCIL
1866 N MARCEY ST
CHICAGO, IL 60614

LOCAL INITIATIVES
LOCAL INITIATIVES SUPPORT CORP
SUPPORT CORPORATION
10 W ADAMS #100
JACKSONVILLE, FL 32202
                                      Page 508
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LOCAL INITIATIVES
LOCAL INITIATIVES SUPPORT CORP
SUPPORT CORPORATION
2640 FOUNTAIN VIEW #220
HOUSTON, TX 77057
LOCAL INITIATIVES SUPPORT
LOCAL INITIATIVES SUPPORT CORP
CORPORATION LOS ANGELES
1055 WILSHIRE AVE #1600
LOS ANGELES, CA 90017
LOCAL INITIATIVES SUPPORT
LOCAL INITIATIVES SUPPORT CORP
CORPORATION PHOENIX
101 N 1ST AVE #990
PHOENIX, AZ 85003
LOCAL INITIATIVES SUPPORT
LOCAL INITIATIVES SUPPORT CORP
CORPORATION PUGET SOUND
401 2ND AVE S #301
SEATTLE, WA 98115

LOCAL INITIATIVES SUPPORT
LOCAL INITIATIVES SUPPORT CORP
CORPORATION SAN FRANCISCO
369 PINE #350
SAN FRANCISCO, CA 94104

LOCAL INITIATIVES SUPPORT CORP
1 N LASALLE 12TH FL
CHICAGO, IL 60602

LOCAL INITIATIVES SUPPORT CORP
150 E 2ND AVE #911
MIAMI, FL 33131

LOCAL INITIATIVES SUPPORT CORP
450 B ST #1010
SAN DIEGO, CA 92101
LOCAL INITIATIVES SUPPORT CORP
501 7TH AVE 7TH FL
NEW YORK, NY 10018

LOCAL INITIATIVES SUPPORT CORP
60 PARK PL #501
NEWARK, NJ 07102
LOCKE REYNOLDS LLP
PO BOX 7058
INDIANAPOLIS, IN 46207
LOEB & LOEB LLP
345 PARK AVE
NEW YORK, NY 10154-0037
LOFTINS BUSINESS FORMS INC
LOFTIN WEB GRAPHICS
789 GATEWAY CENTER WAY
SAN DIEGO, CA 92102
                                      Page 509
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LOGAN CITY SCHOOL DISTRICT
ELLIS ELEMENTARY SCHOOL
348 W 300 N
LOGAN, UT 84321

LOGAN SQUARE NEIGHBORHOOD
ASSOCIATION INC
2840 N MILWAUKEE AVE
CHICAGO, IL 60618
LOGICAL SOLUTIONS INC
407 INTERNATIONAL PKWY #406
RICHARDSON, TX 75081

LOGISTICS INC
DBA RELIABLE DELIVERY
6774 BRANDT ST
ROMULUS, MI 48174

LOK PETALUMA MARINA
HOTEL COMPANY LLC
SHERATON HOTEL PETALUMA
745 BAYWOOD DR
PETALUMA, CA 94954

LOMINGER LIMITED INC
ATTN ACCOUNTS RECEIVABLE
NW 5854
PO BOX 1450
MINNEAPOLIS, MN 55485-5854
LOMPOC VALLEY BOARD OF REALTORS
139 N G ST
LOMPOC, CA 93436

LOMPOC VALLEY CHAMBER
OF COMMERCE
PO BOX 626
LOMPOC, CA 93438-0626

LONDON MARKETS
ONE LIME ST
LONDON, EC3M 7HA UK
LONDON STOCK EXCHANGE PLC
10 PATERNOSTER SQ   3RD FL
LONDON, EC4M 7LS UK

LONE PEAK MORTGAGE CORPORATION
6925 UNION PARK CENTER #600
MIDVALE, UT 84047
LONE STAR ACCESS INC
C/O JOSEPH HUSBAND
603 W 13TH 1A
PMB 313
AUSTIN, TX 78701-1796
LONE STAR REPORTERS INC
DBA ABILENE COURT REPORTERS
PO BOX 5337
ABILENE, TX 79608
                                       Page 510
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
LONG & MATHIES LAW FIRM PC
415 E MAIN ST
PO BOX 250
BOONVILLE, IN 95321

LONG & NEYHART PC
107 CHURCH ST
PO BOX 196
BLACKSBURG, VA 24063-0196
LONG BEACH AREA
CHAMBER OF COMMERCE
ONE WORLD TRADE CENTER #206
LONG BEACH, CA 90831-0206

LONG BEACH LESBIAN & GAY PRIDE
PO BOX 2050
LONG BEACH, CA 90801

LONG BEACH POLY HIGH SCHOOL
BASEBALL BOOSTER CLUB
3130 CLAREMORE AVE
LONG BEACH, CA 90808

LONG ISLAND ASSOCIATION INC
300 BROADHOLLOW RD
MELVILLE, NY 11747

LONG ISLAND BOARD
OF REALTORS INC
300 SUNRISE HWY
WEST BABYLON, NY 11704

LONG ISLAND BUSINESS NEWS
2150 SMITHTOWN AVE #7
RONKONKOMA, NY 11779-7358

LONG ISLAND HOUSING
PARTNERSHIP INC
180 OSER AVE NE #800
LONG ISLAND, NY 11788
LONG RANGE SYSTEMS INC
PO BOX 202056
DALLAS, TX 75320-2056

LONG SERVICES CORPORATION
21414 68TH AVE S
KENT, WA 98032-2416
LONGLEAF COMMUNITY BANK
1401 FAYETTEVILLE RD
ROCKINGHAM, NC 28379
LONGRIDGE FINANCIAL INC
7768 SKYHILL DR
LOS ANGELES, CA 90068
LONNIE CARRADINE
HERMAN HERMAN KATZ & COTLAR
820 OKEEFE AVEA
NEW ORLEANS, LA 70113
                                      Page 511
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LOOMIS FARGO & CO
DEPT LA 21819
PASADENA, CA 91185-1819
LOONEY & COMPANY
US LEGAL SUPPORT
PO BOX 671053
DALLAS, TX 75267-1053

LORDFLY INC
DBA BAD ANIMALS SEATTLE
2212 4TH AVE
SEATTLE, WA 98121

LOREN E DUTTON
ART DIRECTION
6323 37TH AVE SW
SEATTLE, WA 98126

LOREN MILLER BAR FOUNDATION
GARVEY SCHUBERT BARER
ATTN CARLA DEWBERRY
1191 SECOND AVE 18TH FL
SEATTLE, WA 98101

LORENTZ BRUUN CO INC
DBA LORENTZ BRUUN CONSTRUCTION
3611 SE 20TH AVE #300
PORTLAND, OR 97202

LORETTA CLEMENTS
1729 E PALM CANYON DR #119
PALM SPRINGS, CA 92264

LORETTA K RUST
10039 SR 97A
WENATCHEE, WA 98801

LORIE KEITER
2878 N EMPIRE AVE
LOVELAND, CO 80538
LORMAN BUSINESS CENTER INC
DBA LORMAN EDUCATION SERVICES
DEPT 5382
PO BOX 2933
MILWAUKEE, WI 53201-2933

LORRAINE MCCLOUD
946 SPRINGFIELD DR
MILLBRAE, CA 94030
LOS ANGELES AREA CHAMBER OF
COMMERCE FOUNDATION
350 S BIXEL ST
LOS ANGELES, CA 90017

LOS ANGELES BUSINESS COUNCIL
2029 CENTURY PARK E #1240
LOS ANGELES, CA 90067
LOS ANGELES CITY COLLEGE
                                      Page 512
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
855 N VERMONT AVE
LOS ANGELES, CA 90029

LOS ANGELES CO TAX COLLECTOR
PO BOX 54018
LOS ANGELES, CA 90054-0018
LOS ANGELES COALITION TO END
HUNGER &HOMELESSNESS
2500 WILSHIRE BLVD #1155
LOS ANGELES, CA 90057
LOS ANGELES CONSERVATION CORPS
PO BOX 15868
LOS ANGELES, CA 90015

LOS ANGELES COUNTY
LOS ANGELES COUNTY COMMISSION
500 W TEMPLE ST
866 KENNETH HAHN HALL OF ADM
LOS ANGELES, CA 90012

LOS ANGELES COUNTY BAR ASSN
PO BOX 55020
LOS ANGELES, CA 90055-2020

LOS ANGELES COUNTY CLERK
12400 IMPERIAL HWY
NORWALK, CA 90650

LOS ANGELES COUNTY COMMISSION
ON DISABILITIES
383 KENNETH HAHN HALL OF ADMIN
500 W TEMPLE ST
LOS ANGELES, CA 90012

LOS ANGELES COUNTY RECORDER
REGISTRAR RECORDER
PO BOX 53115
LOS ANGELES, CA 90053-0115

LOS ANGELES COUNTY SUPERIOR
COURT CLERK OF COURT
111 NORTH HILL ST
LOS ANGELES, CA 90017
LOS ANGELES FAMILY
HOUSING CORPORATION
7843 LANKERSHIM BLVD
NORTH HOLLYWOOD, CA 91605
LOS ANGELES INTERNATIONAL
CHARTER HIGH SCHOOL
625 COLEMAN AVE
LOS ANGELES, CA 90042
LOS ANGELES JUNIOR CHAMBER OF
LOS ANGELES AREA CHAMBER OF
COMMERCE CHARITY FOUNDATION
201 S FIGUEROA ST #300
LOS ANGELES, CA 90012
LOS ANGELES LDC INC
                                      Page 513
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1055 W 7TH ST #1940
LOS ANGELES, CA 90017

LOS ANGELES MUSIC & ART SCHOOL
3630 E 3RD ST
LOS ANGELES, CA 90063
LOS ANGELES OPERATION HOPE
OPERATION HOPE
707 WILSHIRE BLVD #3030
LOS ANGELES, CA 90017
LOS ANGELES OPPORTUNITIES
INDUSTRIALIZATION CENTER INC
2930 W IMPERIAL HWY #515
INGLEWOOD, CA 90303

LOS ANGELES PHILHARMONIC ASSN
151 S GRAND AVE
LOS ANGELES, CA 90012
LOS ANGELES POLICE
MEMORIAL FOUNDATION
1880 N ACADEMY DR
LOS ANGELES, CA 90012

LOS ANGELES POLICE PROTECTIVE
DBA THE THIN BLUE LINE
TRADE NEWS INTERNATIONAL INC
4444 RIVERSIDE DR #202
BURBANK, CA 91505
LOS ANGELES SENTINEL INC
3800 CRENSHAW BLVD
LOS ANGELES, CA 90008

LOS ANGELES TIMES COMMUNICATION
LOS ANGELES TIMES
DBA LOS ANGELES TIMES
PO BOX 60062
LOS ANGELES, CA 90060-0062

LOS ANGELES UNIFIED SCHOOL DIST
MAIN STREET ELEMENTARY SCHOOL
129 E 53RD ST
LOS ANGELES, CA 90011

LOS ANGELES UNIFIED SCHOOL DIST
WASHINGTON PREP HIGH SCHOOL
10860 S DENKER AVE
LOS ANGELES, CA 90047
LOS ANGELES UNIFIED SCHOOL DIST
4201 WILSHIRE BLVD#335
LOS ANGELES, CA 90010
LOS ANGELES UNIFIED SCHOOL DSTR
LOS ANGELES UNIFIED SCHOOL DIST
NINTH STREET ELEMENTARY SCHOOL
820 TOWNE AVE
LOS ANGELES, CA 90021
LOS ANGELES URBAN BANKERS
                                       Page 514
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CHARITABLE NONPROFIT CORP
PO BOX 71189
LOS ANGELES, CA 90071
LOS ANGELES URBAN LEAGUE
3450 MOUNT VERNON DR
LOS ANGELES, CA 90008
LOS BANOS CHAMBER OF COMMERCE
503 J ST
LOS BANOS, CA 93635
LOS OSOS-BAYWOOD PARK
CHAMBER OF COMMERCE
PO BOX 6282
LOS OSOS, CA 93412

LOUIS AND COMPANY
PO BOX 2253
BREA, CA 92822-2253
LOUIS FREEDMAN
ATTORNEY FOR PLAINTIFF
PO BOX 3228
NAPERVILLE, IL 60566-7228

LOUISE ARNESON
C/O WASHINGTON TRUST BANK
ACCT# 2319002239
PO BOX 2127
SPOKANE, WA 99210
LOUISE JOHNSON
C JOHNSON & COMPANY
1100 SOLVAY AISLE
IRVINE, CA 92606
LOUISIANA ATTORNEY
DISCIPLINARY BOARD
LOUISIANA BAR CENTER
601 SAINT CHARLES AVE
NEW ORLEANS, LA 70130-3404
LOUISIANA DEPARTMENT OF REVENUE
PO BOX 3550
BATON ROUGE, LA 70821-3550

LOUISIANA DEPT OF INSURANCE
INSURANCE PREMIUM TAX DIVISION
PO BOX 94214
BATON ROUGE, LA 70804-9214
LOUISIANA DEPT OF REVENUE
DAN JESOLVA
2648 E WORKMAN AVE #438
WEST COVINA, CA 91791

LOUISIANA DEPT OF REVENUE
FLORIDA DEPARTMENT OF REVENUE
PO BOX 3138
BATON ROUGE, LA 70821-3138
LOUISIANA DEPT OF REVENUE
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FLORIDA DEPARTMENT OF REVENUE
PO BOX 91011
BATON ROUGE, LA 70821-9011
LOUISIANA DEPT OF REVENUE
PO BOX 201
BATON ROUGE, LA 70821-0201
LOUISIANA DEPT OF TREASURY
UNCLAIMED PROPERTY DIVISION
626 MAIN ST
BATON ROUGE, LA 70801
LOUISIANA PUBLIC
SERVICE COMMISSION
PO BOX 91154
BATON, LA 70821-9154
LOUISIANA SECRETARY OF STATE
COMMERCIAL DIVISION
PO BOX 94125
BATON ROUGE, LA 70804-9125

LOUISIANA STATE BAR ASSOCIATION
601 ST CHARLES AVE
NEW ORLEANS, LA 70130-3404
LOVE BEAL & NIXON PC
PO BOX 32738
OKLAHOMA CITY, OK 73123

LOVELL LEWIS
JORDAN & FALGOUT ATTORNEYS FOR
LOVELL AND JENNIFER LEWIS
PO BOX 265
MERIDIAN, MS 39302
LOW BALL & LYNCH
FBO RUSSELL W WALTON
2 LOWER RAGSDALE DR #110
MONTEREY, CA 93940

LOW INCOME INVESTMENT FUND
100 PINE ST #1800
SAN FRANCISCO, CA 94111
LOW.COM INC
ATTN ACCOUNTS RECEIVABLE
515 S FLOWER ST #4400
LOS ANGELES, CA 90071
LOWE ENTERPRISES
MID ATLANTIC INC
1101 CONNECTICUT AVE NW #250
WASHINGTON, DC 20036
LOWES
PO BOX 1111
N WILKESBORO, NC 28656
LOWNDES DROSDICK DOSTER KANTOR
AND REED
PO BOX 2809
                                       Page 516
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ORLANDO, FL 32802-2809
LOWRY COMMUNITY LAND TRUST
1730 GAYLORD STREET
DENVER, CO 80206

LOYALTY FINANCIAL SERVICES INC
8550 FLAGLER ST #103
MIAMI, FL 33144

LOYOLA UNIVERSITY CHICAGO
CAREER DEVELOPMENT CENTER
ATTN JAKE LIVENGOOD
6525 N SHERIDAN RD
CHICAGO, IL 60626

LRP PUBLICATIONS
DEPT 170
PO BOX 24668
W PALM BEACH, FL 33416-4668
LSI A LENDER PROCESSING
LSI A LENDER PROCESSING SERVICES CO
SERVICES CO
2550 N REDHILL AVE
SANTA ANA, CA 92705
LSI CREDIT SERVICES
FILE #74543-8116
PO BOX 60000
SAN FRANCISCO, CA 94160
LSI TITLE AGENCY INC
LENDERS SERVICE INC
2550 N RED HILL AVE
SANTA ANA, CA 92705
LT JOSEPH PETROSINO LODGE #2741
77 FULTON ST #27L
NEW YORK, NY 10038

LT LEGAL SUPPORT SERVICES INC
2529 W MARCH LANE #201
STOCKTON, CA 95207
LTB II LLC
2475 TOWNSGATE RD #150
WESTLAKE VILLAGE, CA 91361

LTSC COMMUNITY DEVELOPMENT CORP
231 E 3RD ST #G106
LOS ANGELES, CA 90013
LUANDA WESLEY
PO BOX 5364
OAKLAND, CA 94650

LUCE FORWARD HAMILTON
& SCRIPPS LLP
600 W BROADWAY #2600
SAN DIEGO, CA 92101
LUCILA TORRES DE CAMACHO
                                       Page 517
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11025 NW 43RD LANE
DORAL, FL 33178

LUCILLE DEANS
538 WOODLAWN ST SE
GRAND RAPIDS, MI 49507
LUCILLE MCGUIRE
2125 AVE RIVERA
SANTA MARIA, CA 93458
LUCKY LADY INTERACTIVE EVENTS
7815 S 180TH ST
KENT, WA 98032

LUCY BUITRAGO
PO BOX 619
401 INGLEWOOD AVE #101
REDONDO BEACH, CA 90278

LUIS H SANCHEZ
3441 WINDHAM CIR
STOCKTON, CA 95209
LUIS J VALDEZ
PREMIER REALTY EXECUTIVES
1103 SANTAFE WAY
SALINAS, CA 93901

LUIS SANTOS
JOHN M VERDECCHIA ESQ
1206 WESTMINSTER ST
PROVIDENCE, RI 02909

LUIS TIPACTI
DBA HOLLYWOOD WAY SOCCER
15130 VENTURA BLVD #328
SHERMAN OAKS, CA 91403-3301

LUMAN HELFMAN FAYER & TUCKER
ATTORNEYS AT LAW
140 GRAND ST #405
WHITE PLAINS, NY 10601

LUNDY AND DAVIS
713 S PEAR ORCHARD RD #203
RIDGELAND, MS 39157

LUPING PENG
18 EL DORADO ST APT B
ARCADIA, CA 91006
LUSHI LLC & WILEY G
LASTRAPES JR ESQ
701 POYDRAS ST #3770
NEW ORLEANS, LA 70139

LUTHERAN ALLIANCE
TO CREATE HOUSING
8757 15TH AVE NW
SEATTLE, WA 98117
LUTHERAN SOCIAL SVC OF MINN DBA
                                       Page 518
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CCCS OF DULUTH LSS FNCL CSL SVC
600 ORDEAN BUILDING
424 WEST SUPERIOR
DULUTH, MN 55802
LUTITIA SCOTT
507 E STOCKBRIDGE
KALAMAZOO, MI 49001

LUZ ZAPIEN
[Address to Be Provided]
LVI ENVIRONMENTAL SERVICES INC
401 S SECOND ST
EVERETT, MA 02149

LVI ENVIRONMENTAL SERVICES INC
462 GETTY AVE
CLIFTON, NJ 07011

LYDA SWINERTON BUILDERS INC
PO BOX 791070
SAN ANTONIO, TX 78279-1070
LYNDA COM INC
4171 MARKET ST #C
VENTURA, CA 93003

LYNDA UNGER
DBA DESERT SANDS PUBLISHING
HOMES & LAND MAGAZINE
1943 N CAMPUS AVE #B200
UPLAND, CA 91784

LYNDEN AIR FREIGHT INC
PO BOX 84167
SEATTLE, WA 98124

LYNDONVILLE LIONS CLUB
PO BOX 371
LYNDONVILLE, NY 14098

LYNE A LEWIS & ASSC RE SRVS INC
ON LINE MORTGAGE
7509 DRAPER #A
LA JOLLA, CA 92037

LYNN ANDREWS
ETC CONSULTING
406 ATHOL AVE
OAKLAND, CA 94606
LYNN DYCHE
2747 KRING DR
SAN JOSE, CA 95125
LYNN E BURKHOLDER
1111 NOB HILL AVE N
SEATTLE, WA 98109
LYNN MACY
26175 AUGUSTA WAY
LAKE ARROWHEAD, CA 92352
                                       Page 519
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LYNN WEINER ANDERSON
PO BOX 12365
MILL CREEK, WA 98082
LYNNE HARRISON
[Address to Be Provided]
LYONS DOUGHTY & VELDHUIS PC
DAVID R LYONS
136 GAITHER DR #100
PO BOX 1269
MT LARUEL, NJ 08054
LYONS DOUGHTY & VELDHUIS PC
136 GAITHER DR #100
PO BOX 1269
MT LARUEL, NJ 08054
M & M MORTGAGE SERVICES INC
13380 SW 131 ST #123
MIAMI, FL 33186

M & T BANK
1 FOUNTAIN PLAZA 3RD FL
BUFFALO, NY 14203
M A GOULD & ASSOCIATES
17822 E 17TH ST #106
TUSTIN, CA 92780

M B D COMMUNITY HOUSING CORP
1762 BOSTON RD
BRONX, NY 10460

M D GIBSON & ASSOCIATES PC
2500 W LOOP S #400
HOUSTON, TX 77027

M ELAINA MASSEY
TRUSTEE # 02 51397
PO BOX 1717
BRUNSWICK, GA 31521

M EMERY MARTY
254 NORTHAMPTON M
WEST PALM BEACH, FL 33417

M F JOAN REDICAN
6630 HAYWOOD ST
TUJUNGA, CA 91042
M GILL & ASSOCIATES INC
OPERATOR OF THE MBCD
4770 BISCAYNE BLVD #1050
MIAMI, FL 33137

M L CAIN & ASSOCIATES INC
10312 SW 134TH PLACE
MIAMI, FL 33186

M3 HVAC
DBA M3 MECHANICAL
                                    Page 520
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600A WEST TAFT AVE
ORANGE, CA 92865-4228

MA DEPT OF REVENUE
MASSACHUSETTS DEPT OF REVENUE
CHILD SUPPORT ENFORCEMENT
PO BOX 55140
BOSTON, MA 02205-5140

MABUHAY ALLIANCE INC
9630 BLACK MTN RD #G
SAN DIEGO, CA 92126
MAC A MCGRATH
& LOIS LANDRUM
5350 KEN SEALY DR #F170
COTTONDALE, AL 35453
MAC LOCKSMITH INC   DBA
MAC LOCKSMITH INC     DBA
BEACH LOCKSMITH
222 N ATLANTIC AVE
COCOA BEACH, FL 32931
MAC SOURCE COMMUNICATIONS INC
MAC SOURCE INC
23619 NETWORK PL
CHICAGO, IL 60673-1236

MACABE ASSOCIATES INC
1201 THIRD AVE #950
SEATTLE, WA 98101

MACARTHUR BUSINESS ALLIANCE
DBA MBA
PO BOX 472
BOHEMIA, NY 11716

MACDILL FEDERAL CREDIT UNION
C/O KASS SHULER SOLOMON SPECTOR
FOYLE & SINGER PA
PO BOX 800
TAMPA, FL 33601

MACDONALD HOAGUE & BAYLESS
1500 HOGE BUILDING
705 2ND AVE
SEATTLE, WA 98104-1745

MACDONALD MILLER
FACILITY SOLUTIONS
PO BOX 47983
7717 DETROIT AVE SW
SEATTLE, WA 98146-7983
MACDONALD MILLER COMPANY INC
MACDONALD MILLER
PO BOX 47983
SEATTLE, WA 98146
MACDONALD MILLER FACILITY SLTNS
MACDONALD MILLER
PO BOX 47983
                                       Page 521
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7717 DETROIT AVE SW
SEATTLE, WA 98146

MACDOWELL & ASSOCIATES
3636 BIRCH ST #290
NEWPORT BEACH, CA 92660
MACHINE ENTERTAINMENT INC
2820 THORNDYKE AVE W
SEATTLE, WA 98199
MACHOL & JOHANNES
DOMINION PLAZA
600 17TH ST #850 S
DENVER, CO 80202-5442

MACK CALI 365 PASSAIC
PO BOX 23229
NEWARK, NJ 07189

MACKENZIE PARTNERS INC
105 MADISON AVE
NEW YORK, NY 10016
MACKENZIE S BOTTUM & ASSOC INC
16051 ADDISION ROAD, #203
ADDISON, TX 75001

MACKINNEY SYSTEMS INC
4411 E STATE HWY D #F
SPRINGFIELD, MO 65809
MACQUARIE EQUIPMENT FINANCE LLC
GPO DRAWER 67-865
DETROIT, MI 48267

MACROECONOMIC ADVISORS
231 S BEMISTON AVE #900
ST LOUIS, MO 63105
MACVEAN LEWIS SHERWIN
& MCDERMOTT
34 GROVE ST
PO BOX 310
MIDDLETOWN, NY 10940
MADAVE GROUP FASHION & MUSIC
690 SW 1ST COURT #2309
MIAMI, FL 33130
MADDEN CORPORATION
DBA PAMS DELIVERY SERVICE
16812 MILLIKAN AVE
IRVINE, CA 92606-5012
MADELINE MONGELLI
2934 OLNEY PL
BURBANK, CA 91504
MADELINE RECKERT
DBA ASL ASSOCIATES
9087 BERENS ST
JACKSONVILLE, FL 32210
                                       Page 522
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MADERA CHAMBER OF COMMERCE
120 NORTH E ST
MADERA, CA 93638
MADIBA INC
23461 SOUTH POINT DR #180
LAGUNA HILLS, CA 92653

MADISON HARBOR
ALC ATTORNEY CLIENT TRUST ACCT
17702 MITCHELL N #100
IRVINE, CA 92614
MADISON HOTEL LLC
DBA RENAISSANCE MADISON HOTEL
515 MADISON ST
SEATTLE, WA 98104
MADISON SQUARE GARDEN LP
RADIO CITY MUSIC HALL
GENERAL POST OFFICE
PO BOX 26067
NEW YORK, NY 10087-6067

MADISON SQUARE GARDEN LP
4 PENN PLAZA
NEW YORK, NY 10001

MADISON TITLE AGENCY LLC
1125 OCEAN AVE
LAKEWOOD, NJ 08701

MADISONS GRILL
1109 SE MADISON
PORTLAND, OR 97214
MADSEN ROOF COMPANY INC
PO BOX 277730
SACRAMENTO, CA 95827-7730

MAE LEE
MEI MEI COOKIE CO
4114 12TH AVE S
SEATTLE, WA 98108
MAGNET EDUCATIONAL CHOICE
ASSOCIATION INC
1500 BISCAYNE BLVD #237
MIAMI, FL 33132
MAGNET STREET
285 W LOOP RD
WHEATON, IL 60187
MAG-TEK INC
20725 S ANNALEE AVE
CARSON, CA 90746
MAGUIRE PROPERTIES
PACIFIC ARTS PLAZA LLC
3200 PARK CENTER DR #30
COSTA MESA, CA 92626
                                      Page 523
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MAGUIRE PROPERTIES
PACIFIC ARTS PLAZA LLC
3200 PARK CTR DR #30
COSTA MESA, CA 92626

MAIL POST
704 228TH AVE NE
SAMMAMISH, WA 98074

MAIL TRIBUNE
OTTAWAY NEWSPAPERS INC
PO BOX 1108
MEDFORD, OR 97501-0299

MAILHANDLER SERVICES INC
4005 6TH AVE S
SEATTLE, WA 98108
MAILING SYSTEMS
4737 SHAVANO OAK #105
SAN ANTONIO, TX 78249

MAIN EVENT ENTERTAINMENT
ALL ACCESS ENTERTAINMENT
2130 SAWTELLE BLVD #304
LOS ANGELES, CA 90025

MAIN SOFT INC
PO BOX 360853
BIRMINGHAM, AL 35236
MAINLINE INFORMATION SYS INC
PO BOX 402989
ATLANTA, GA 30384-2989

MAINSTREET LTD CORONADO
1013 PARK PL
CORONADO, CA 92118
MAINSTREET MEDIA GROUP LLC
DBA SOUTH VALLEY NEWSPAPERS
PO BOX 22365
GILROY, CA 95021-2365
MAITLAND AREA CHAMBER OF
COMMERCE
110 N MAITLAND AVE
MAITLAND, FL 32751
MAJESTIC TROPHY CO INC
215 N LAUREL AVE
ONTARIO, CA 91762

MAKE A DIFFERENCE
5151 N 19TH AVE #200
PHOENIX, AZ 85015

MAKE A WISH FOUNDATION OF
ALASKA MONTANA NORTHERN IDAHO
WASHINGTON
811 1ST AVE #520
SEATTLE, WA 98104
                                     Page 524
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MAKE A WISH FOUNDATION OF
GREATER LOS ANGELES
1875 CENTURY PARK E #950
LOS ANGELES, CA 90067

MALCOLM BROTTMAN
179 FLORAL AVE
PLAINVIEW, NY 11803

MALHEUR BELL
PO BOX 249
ONTARIO, OR 97914-0249
MALNATI ORGANIZATION
3685 WOODHEAD DR
NORTHBROOK, IL 60062
MAMAS HANDS
PO BOX 40464
BELLEVUE, WA 98015

MAMIE DAVIS TRUSTEE
PO BOX 863049
ORLANDO, FL 32886-3049

MANATEE ASSOCIATION OF REALTORS
MANATEE COUNTY BOARD
4732 SR 64 E
BRADENTON, FL 34208

MANATEE CHAMBER OF COMMERCE
222 10TH ST W
PO BOX 321
BRADENTON, FL 34206-0321

MANATEE COUNTY FALSE ALARM UNIT
600 US HIGHWAY 301 BLVD W #202
BRADENTON, FL 34205
MANATT PHELPS & PHILLIPS LLP
11355 W OLYMPIC BLVD
LOS ANGELES, CA 90064-1614

MANCHEE & MANCHEE LLP
12221 MERIT DR #950
DALLAS, TX 75251

MANDATORY POSTER AGENCY
MANDADORY POSTER AGENCY DBA
DBA AZ LABOR LAW POSTER SERVICE
5859 W SAGINAW HWY #343
LANSING, MI 48917-2460

MANHATTAN HISPANIC CHAMBER OF
COMMERCE
PO BOX 3494 GCS
NEW YORK CITY, NY 10163
MANHATTAN NEWSPAPER GROUP LLC
79 MADISON AVE 16TH FLR
NEW YORK, NY 10016

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MANN & STEVENS PC
550 WESTCOTT ST #560
HOUSTON, TX 77007
MANN BRACKEN LLC
5355 TOWN SENTER RD #1002
BOCA RATON, FL 33486
MANTECA BULLETIN
PO BOX 1958
MANTECA, CA 95336-1958
MANY MANSIONS A CALIFORNIA
NON PROFIT CORPORATION
1459 E THOUSAND OAKS BLVD
BLDG C
THOUSAND OAKS, CA 91362
MAP RESOURCES INC
MACVAN PUBLISHING
929 W COLORADO AVE
COLORADO SPRINGS, CO 80905

MAPLE PARK DOCS BASEBALL LEAGUE
PO BOX 4312
FLORENCE, SC 29502
MAPLE RIDGE MORTGAGE SRVCS LLC
20 TRAFALGAR SQUARE #110
NASHUA, NH 03063

MAPLES AND CALDER
PO BOX 309 UGLAND HOUSE
S CHURCH ST GEORGE TOWN
GRAND CAYMAN,   CAYMAN ISLANDS

MAPLES FINANCE LTD
PO BOX 1093GT QUEENSGATE HOUSE
SOUTH CHURCH ST
GEORGETOWN, GRAND CAYMAN CAYMAN ISLANDS

MARC MCCALL
HILLIS CLARK MARTIN &
PETERSON
500 GALLAND BLDG 1221 2ND AVE
SEATTLE, WA 98101-2925

MARC P GERSHMAN
141 E MAIN ST
HUNTINGTON, NY 11743
MARCEL J SCONTRINO
RALPH W THOMPSON III
580 CALLE PRINCIPAL 1ST FLR
MONTEREY, CA 93940
MARCELLA FLEMING REED PLLC
DBA MFR LAW GROUP
PO BOX 13980
MILL CREEK, WA 98082

MARCH OF DIMES
MARCH OF DIMES BIRTH DEFECTS FN
                                       Page 526
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1173 FOREST AVE
STATEN ISLAND, NY 10310

MARCH OF DIMES BIRTH DEFECTS
MARCH OF DIMES BIRTH DEFECTS FN
NATIONAL FOUNDATION
1050 SANSOME ST 4TH FL
SAN FRANCISCO, CA 94111

MARCH OF DIMES BIRTH DEFECTS FN
240 STONERIDGE DR
ONE GREYSTONE BLDG #206
COLUMBIA, SC 29210-8013
MARCIA L LANSDON
2645 PALMWOOD CIRCLE
THOUSAND OAKS, CA 91362
MARCIA MEOLI
TRUSTEE #07 05832
PO BOX 1559
HOLLAND, MI 49422

MARCO MAGALLANES
137 S LAFAYETTE PK PI #1
LOS ANGELES, CA 90057
MARCOA PUBLISHING HOUSTON INC
MARCOA PUBLISHING INC
PO BOX 509100
SAN DIEGO, CA 92150
MARCUS W CORWIN P A ATTORNEY
TRUST ACCOUNT
1515 S FEDERAL HWY
BOCA RATON, FL 33432
MARGARET C PHAM
2787 MOORPARK AVE
SAN JOSE, CA 95128

MARGARET CHWALOWSKI
AND JOE CHWALOWSKI
1417 48TH ST
SACRAMENTO, CA 95819-4103
MARGARET M GALLAGHER
LAW OFFICES OF
THOMAS G SMITH
2106 NEW RD #E 8
LINWOOD, NJ 08221
MARGARET MARTIN
154 SAN TROPEZ
LAGUNA BEACH, CA 92561
MARGARET ODO
16228 SPINNING AVE
TORRANCE, CA 90504
MARGARET OSMER-MCQUADE
WASHINGTON MUTUAL-LEGAL DEPT
1301 2ND AVE - WMC3501
                                       Page 527
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
SEATTLE, WA 98101
MARGARET OSMER-MCQUADE
[Address Information Redacted]
MARGARET P FRANKLIN
10 NEW ENGLAND BUSINESS CENTER
#205
ANDOVER, MA 01810

MARGARET RODGERS
10938 NE 157TH ST
BOTHELL, WA 98011
MARGARET RODGERS
10938 NE 157TH ST
BOTHELL, WA 98011
MARGULIS TRUST ACCOUNT
14236 CEDAR SPRINGS DR
CHESTERFIELD, MO 63017

MARIA D AVILA
1025 PEPPERHILL RD
PASADENA, CA 91007

MARIA JENNINGS
11005 TINKER AVE
TUJUNGA, CA 91042

MARIA ROBLES
1017 S SIMMONS AVE
LOS ANGELES, CA 90022

MARIA ROSAS
J MICHAEL VALLEE TRUST ACCOUNT
603 N HIGHWAY 101 #G
SOLANA BEACH, CA 92075

MARIA SANCHEZ
370 BUSHWICK AVE #9G
BROOKLYN, NY 11206
MARICOPA COMMUNITY COLLEGES
DBA CHANDLER GILBERT COMM COLLG
2626 E PECOS RD
CHANDLER, AZ 85225

MARICOPA COUNTY RECORDER
111 S 3RD AVE 1ST FL #103
PHOENIX, AZ 85003
MARILYLN RUDE
DBA CONCORD COMMERCIAL SERVICES
5213 STREAMWOOD LN
PLANO, TX 75093

MARILYNN A PYLANT
1852 S DON CARLOS
MESA, AZ 85202

MARIN INDEPENDENT JOURNAL
150 ALAMEDA DEL PRADO
                                       Page 528
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 6150
NOVATO, CA 94948-6150

MARINA CHAMBER OF COMMERCE
PO BOX 425
211 HILLCREST
MARINA, CA 93933
MARINA INTERNATIONAL
MARINA CHAMBER OF COMMERCE
FESTIVAL OF THE WINDS
PO BOX 425
MARINA, CA 93933
MARINA WARE
[Address to Be Provided]

MARIO BORDENAVE
AND ALMA BORDENAVE
5262 IVYWOOD DR
LA PALMA, CA 90623

MARION (WAMU CAPTIVE)
100 BANK STREET
SUITE 610
BURLINGTON, VT 05401
MARION A OLSON JR
CHAPTER 13 TRUSTEE
PO BOX 1897
SAN ANTONIO, TX 78297
MARION COUNTY CLERK OF COURT
PO BOX 295
MARION, SC 29571

MARION COUNTY RECORDER
200 E WASHINGTON ST #721
INDIANAPOLIS, IN 46204
MARION INSURANCE COMPANY INC
MARSH MANAGEMENT SERVICES
100 BANK ST #610
BURLINGTON, VT 05402-0530
MARION L BAHNER
17352 CHESTNUT AVE
SNOHOMISH, WA 92886

MARION OLSON JR
TRUSTEE # 02 54981
PO BOX 1897
SAN ANTONIO, TX 78297

MARIS & LANIER PC
5910 N CENTRAL EXPY #1310
DALLAS, TX 75206

MARISA FARPON
8355 STATION VILLAGE LANE #4114
SAN DIEGO, CA 92108
MARITZ INC
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1375 N HIGHWAY DR
FENTON, MO 63099

MARITZ INC
5757 COLLECTION CENTER DR
CHICAGO, IL 60693
MARITZ RESEARCH INC
MARITZ INC
5757 COLLECTIONS CTR DR
CHICAGO, IL 60693
MARITZ TRAVEL COMPANY
5757 COLLECTIONS CENTER DR
CHICAGO, IL 60693

MARK A OEHRLEIN APPRAISALS INC
7301 OHMS LN #510
MINNEAPOLIS, MN 55439

MARK A ROBINSON ESQ
ONE RIVERFRONT PLAZA #1950
401 W MAIN ST
LOUISVILLE, KY 40202

MARK A. REINHARDT
[Address Information Redacted]

MARK BRUEGGEMANN
2011 MALL ST #B
COLLINSVILLE, IL 62234
MARK C CROWLEY
2425 VIA SIENA
LA JOLLA, CA 92037

MARK D BARRY & ASSOCIATES
7628 SW 32ND #200
PORTLAND, OR 97219
MARK E NEFF LAW OFFICES PC
224 W LOCUST ST
BOONVILLE, IN 47601

MARK GROTHE
DBA TRADE SHOWS NORTHWEST
PUYALLUP HOME SHOW
27013 PACIFIC HWY #280
DES MOINES, WA 98198
MARK GRYSKA
NIGRO & WESTFALL
1793 BLOOMINGDALE RD
GLENDALES HEIGHTS, IL 60139
MARK H LINDSAY
MARIN HOME AND LAND APPRAISAL
950 BUTTERFIELD RD
SAN ANSELMO, CA 94960
MARK J AVERY
DBA MARKETPAY ASSOCIATES
2401 15TH ST #300
                                      Page 530
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DENVER, CO 80202
MARK NELSON
[Address to Be Provided]
MARK OF DISTINCTION INC
PO BOX 678461
DALLAS, TX 75267

MARK R LILLGE
DBA CREATIVE MARKETING CONCEPTS
572 MARKET ST
SAN FRANCISCO, CA 94104
MARK SHAPIRO
TRUSTEE #07 64631
24901 NORTHWESTER HIGHWAY #611
SOUTHFIELD, MI 48075
MARK SMEDLEY
7704 88TH PL SE
MERCER ISLAND, WA 98040

MARK TISCHHAUSER PA
DBA THE TISCHHAUSER LAW GROUP
2005 PAN AM CIRCLE DR #200
TAMPA, FL 33607

MARK-EASE PRODUCTS COMPANY INC
PO BOX 607
STOCKTON, CA 95201
MARKET CONTRACTORS LTD
10250 NE MARX ST
PORTLAND, OR 97220

MARKET PLACE CENTER LTD
INN AT THE MARKET
86 PINE ST
SEATTLE, WA 98101

MARKET RATES INSIGHT INC
PO BOX 9107
SAN RAFAEL, CA 94912-9107
MARKET SOLUTIONS GROUP INC
5111 N SCOTTSDALE RD #204
SCOTTSDALE, AZ 85250

MARKETING COMMUNICATIONS
EXECUTIONS INTERNATIONAL
PO BOX 58530
SEATTLE, WA 98138-1530

MARKETPLACE LAGUARDIA LP
ONE WELLS AVE #205
NEWTON, MA 02549

MARKETRESEARCH.COM
ACCOUNTS RECEIVABLE
11200 ROCKVILLE PL #504
ROCKVILLE, MD 20852

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MARKETWATCH.COM, INC.
[Address to Be Provided]

MARKIT GROUP LIMITED
LEVEL 5
2 MORE LONDON RIVERSIDE
LONDON, SE1 2AP UK
MARKUN ZUSMAN & COMPTON LLP
180 MONTGOMERY ST 3RD FLR
SAN FRANCISCO, CA 94104
MARKUS KRUIS MEDIATION
402 W BROADWAY #700
SAN DIEGO, CA 92101

MARLEEN RITCHIE
1000 IRONWOOD DR
LAS VEGAS, NV 89108

MARLENA REYES
THOMAS D WILSON
186 MONTAGUE ST 4TH FL
BROOKLYN, NY 11201

MARRIOTT
MARRIOTT HOTEL SERVICES INC DBA
1965 MARRIOTT DR
LOUISVILLE, TN 37777

MARRIOTT AUSTIN SOUTH
4415 S HWY 35
AUSTIN, TX 78744

MARRIOTT HOTEL SERVICES INC
MARRIOTT HOTEL SERVICES INC DBA
DBA DENVER MARRIOTT WEST
1717 DENVER WEST MARRIOTT RD
GOLDEN, CO 80401
MARRIOTT HOTEL SERVICES INC DBA
WAILEA BEACH MARRIOTT RESORT &
SPA
3700 WAILEA ALANUI
WAILEA, HI 96753
MARSH GLOBAL MARKETS LTD
ATTN DEBORAH BLADCHETTE-SMITH
CRAIG APPIN HOUSE
PO BOX HM 2444
HAMILTON, HM JX BERMUDA
MARSH MANAGEMENT SERVICES INC
MMC
PO BOX 19022
NEWARK, NJ 07195-0022

MARSH USA
PO BOX 3871
SEATTLE, WA 98124-3871

MARSHA BJERKAN
SIMPLY TLC CONSULTING
                                       Page 532
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6741 RAINBOW AVE
MISSION HILLS, KS 66208

MARSHA JOLLIFF
258 GALLERY WAY
TUSTIN, CA 92782
MARSHALL DAVID HUBBS
PO BOX 637
SOUTHINGTON, CT 06489
MARSHALL DENNEHEY WARNER
COLEMAN AND GOGGIN
ACCOUNTING DEPARTMENT
1845 WALNUT ST
PHILADELPHIA, PA 19103-4717

MARTA/ATU LOCAL 732 EMPLOYEES RETIREMENT SYSTEM
[Address to Be Provided]

MARTHA BRONITSKY
CHAPTER 13 TRUSTEE
PO BOX 341
MEMPHIS, TN 38101-0341

MARTHA E VON ROSENSTIEL PC
649 SOUTH AVE UNIT 7
SECANE, PA 19018

MARTHA STEWART LIVING
PO BOX 60311
TAMPA, FL 33660-0311

MARTHA V. BAGGS
[Address Information Redacted]

MARTHAS VINEYARD MORTGAGE CO
107 BEACH RD #101
TISBURY, MA 02568
MARTIK ARSEN YEGHISHIAN
OPTION ONE LENDING
11908 VENTURA BLVD #210
STUDIO CITY, CA 91604
MARTIN & RAYNOR P C
1228 CEDARS CT #A
CHARLOTTESVILLE, VA 22903-4801

MARTIN A BIENSTOCK
CITY MARSHAL #75
36-35 BELL BLVD
PO BOX 610700
BAYSIDE, NY 11361-0700
MARTIN ASSOCIATES INC
110 HIGHWAY 35 #3
RED BANK, NJ 07701
MARTIN COUNTY EDUCATION FNDTN
PO BOX 291
STUART, FL 34995

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MARTIN COUNTY TAX COLLECTOR
3485 SE WILLOUGHBY BLVD
STUART, FL 34994
MARTIN D HODGE
PO BOX 5364
SPANAWAY, WA 98387
MARTIN LEIGH LAWS & FRITZLEN PC
400 PECKS PLAZA
1044 MAIN ST #900
KANSAS CITY, MO 64105-2135
MARTIN LUTHER KING JR
COORDINATING COMMITTEE OF
WEST PALM BEACH INC
1444 8TH ST
WEST PALM BEACH, FL 33401
MARTIN LUTHER KING JR
POOR PEOPLES CHURCH OF LOVE
PO BOX 4672
ATLANTA, GA 30301
MARTIN LUTHER KING JR
STEERING COMMITTEE
PO BOX 500
SANFORD, FL 32772

MARTIN LUTHER KING JR COMMUNITY
CHOIR SAN DIEGO
PO BOX 40362
SAN DIEGO, CA 92164-0362

MARTIN LUTHER KING JR CTR FOR
NON VIOLENT SOCIAL CHANGE INC
449 AUBURN AVE NE
ATLANTA, GA 30312-1590

MARTIN M HOKANSON
6611 PORTWEST DR #140
HOUSTON, TX 77024
MARTIN MARKETING CORP
PO BOX 684
MORGAN HILL, CA 95038

MARTIN PRINGLE OLIVER WALLACE &
BAUER LLP
100 N BROADWAY #500
WICHITA, KS 67202
MARTIN SASS INC DBA
US MONITOR SERVICE
86 MAPLE AVE
NEW CITY, NY 10956-5036

MARTIN SEIFERT
TRUSTEE #07-11121
444 E MAIN ST
FT WAYNE, IN 46802
MARTIN YACK
                                       Page 534
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
[Address to Be Provided]
MARTINEZ SHARMAT & ASSOCIATES I
18245 W ST
LANSING, IL 60438

MARTINO TIRE CO
MTC MANAGEMENT CO
8397 BAYMEADOWS RD
JACKSONVILLE, FL 32256
MARVIN PALMER
TRUSTEE OF PALMER FAMILY TRUST
5220 176TH ST SW #5
LYNNWOOD, WA 98037

MARY A PHIPPS
8502 E CHAPMAN AVE #205
ORANGE, CA 92869

MARY ANN PACKARD
PO BOX 81
15 JEWELL ST
CORNWALL, CT 06753

MARY BATES
LAW OFFICES OF NICHOLAS HEIMAN
A C TRUST ACCOUNT
4727 WILSHIRE BLVD #403
LOS ANGELES, CA 90010

MARY CATHERINE BLOGIN
645 MANHATTAN PL #208
BOULDER, CO 80303

MARY E PUGH
WASHINGTON MUTUAL-LEGAL DEPT
1301 2ND AVE - WMC3501
SEATTLE, WA 98101
MARY E RAUCH
DBA MARY D RAUCH COMMUNICATIONS
8423 KINGSWAY ST
SAN ANTONIO, TX 78254
MARY ELENA MALLO
12732 SW 61ST TERRACE
MIAMI, FL 33183

MARY ERICKSON COMMUNITY HOUSING
PO BOX 775
SAN CLEMENTE, CA 92674-0775
MARY IDA TOWSON CHAP 13 TTEE
THE EQUITABLE BLDG
100 PEACHTREE ST #2700
ATLANTA, GA 30303

MARY JEAN LECLERCQ
973 S WAGON TRAIL RD
EVERGREEN, CO 80439
MARY LOUISE TOUHEY
                                       Page 535
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
439 MAIN ST
MEDINA, NY 14103

MARY MOTHER OF THE POOR
FOUNDATION
629 W AVE 26
LOS ANGELES, CA 90065
MARY PATTERSON
[Address to Be Provided]
MARYANNE L DUNHAM
6238 SEABOURNE DR
HUNTINGTON BEACH, CA 92648

MARYLAND ASSOCIATION
OF MORTGAGE BROKERS
720 LIGHT ST
BALTIMORE, MD 21230

MARYLAND CHILD SUPPORT ACCOUNT
PO BOX 17396
BALTIMORE, MD 21297-1396
MARYS FLOWERS & GIFTS LLC
404 S DARGAN ST
FLORENCE, SC 29506

MASPETH CHAMBER OF COMMERCE
PO BOX 780265
MASPETH, NY 11378
MASS GLASS & DOOR SERVICE INC
PO BOX 88255 DEPT A
CHICAGO, IL 60680-1255

MASS MARKETING INC
7209 DIXIE HWY
FAIRFIELD, OH 45014-5596
MASSACHUSETTS ASSOCIATION OF
COMMUNITY DEVELOPMENT CORP
89 SOUTH ST 4TH FL
BOSTON, MA 02111
MASSACHUSETTS CAPITAL MTGE
75 MCNEIL WAY #105
DEDHAM, MA 02026

MASSACHUSETTS DEPT OF REVENUE
CUSTOMER SERVICE BUREAU
PO BOX 7031
BOSTON, MA 02204

MASSACHUSETTS DEPT OF REVENUE
PO BOX 7025
BOSTON, MA 02204

MASSACHUSETTS MORTGAGE
BANKERS ASSOCIATION
76 CANAL ST #301
BOSTON, MA 02114

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MASSACHUSETTS MORTGAGE ASSOCS
607 NORTH AVE BLDG 14 2ND FLR
WAKEFIELD, MA 01880
MASSACHUSETTS PENSION RESERVES INVESTMENT MANAGEMENT BOARD
[Address to Be Provided]
MASTERCARD INTERNATIONAL
JAMIE CALLANAN PYMT SYSTEM
INTEGRITY OPERATIONS
2000 PURCHASE ST
PURCHASE, NY 10577
MASTERMARK
PO BOX 24104
SEATTLE, WA 98124-0104

MASTROIANNI FAMILY ENT LTD DBA
JAYS FINE CUISINE & SPECIAL EVT
10581 GARDEN GROVE BLVD
GARDEN GROVE, CA 92843

MATCH MAIL PRODUCTIONS INC
1745 W PENHALL WAY
ANAHEIM, CA 92801-6744

MATEL MANUFACTURING INC
12811 S FIGUEROA
LOS ANGELES, CA 90061

MATHESON TRI GAS INC
PO BOX 845502
DALLAS, TX 75284-5502

MATLIN LLC
DBA MATLIN REALTY
ATTN JOHN HURLBUT
7007 N GRAHAM RD #110
INDIANAPOLIS, IN 46220
MATT MCDONALD
[Address to Be Provided]
MATTEOS FAMILY STYLE RISTORANTE
ITALIANO & CATERING
15510 CROSSBAY BLVD
HOWARD BEACH, NY 11414

MATTHEW & JESSICA KLASE
3757 RIVARIDGE DR
MARIETTA, GA 30062
MATTHEW “SCOTT” GASPARD
[Address Information Redacted]
MATTHEW B JACOBSON
168 BOSTON ST #9
SEATTLE, WA 98109
MATTHEW BENDER & CO INC
LEXISNEXIS MATTHEW BENDER
PO BOX 7247-0178
PHILADELPHIA, PA 19170-0178
                                       Page 537
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MATTHEW R AYLWORTH
ATTNY FOR CREDITOR
PO BOX 22338
4023 W 1ST AVE
EUGENE, OR 97402
MATTHEW SCOTT GASPARD
[Address Information Redacted]

MATTHEW SUTTON
PO BOX 576
MEDFORD, OR 97501
MATTHEWS & MATTHEWS
191 NEW YORK AVE
HUNTINGTON, NY 11743
MATTIE ELLIS
BILLY D PRICE P C
5489 BLAIR RD #425
DALLAS, TX 75231

MAUREEN RICCARDI
4811 FAWN VALLEY CT
ARLINGTON, TX 76017
MAURER FOUNDATION FOR BREAST
HEALTH EDUCATION INC
114 OLD COUNTRY RD #400
MINEOLA, NY 11501
MAVIS GROVER
893 AMHERST AVE
HEMET, CA 92544

MAXIM PROPERTIES
ESCROW DIVISION
319 MAIN ST
EL SEGUNDO, CA 90245

MAXIMUM MORTGAGE INC
1400 DUTTON AVE #5
SANTA ROSA, CA 95401
MAXSAM INC
6947 COAL CREEK PKWY SE #3300
NEWCASTLE, WA 98059-3159

MAXWELL FINANCIAL INC
19510 VENTURA BLVD #109
TARZANA, CA 91356
MAXWELL KATES INC
9 EAST 38TH STREET, 6TH FLOOR
NEW YORK, NY 10016

MAYA REALTY CORPORATION
CENTENNIAL MORTGAGE GROUP
22320 FOOTHILL BLVD #330
HAYWARD, CA 94541
MAYER BROWN LLP
                                      Page 538
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2027 COLLECTION CTR DR
CHICAGO, IL 60693-0020

MAYFLOWER DISTRIBUTING CO INC
DBA ALL AMERICAN BALLOON SUPPLY
1155 MEDALLION DR
MENDOTA HEIGHTS, MN 55120
MAYFLOWER PARK HOTEL
405 OLIVE WAY
SEATTLE, WA 98101
MAYNARD COOPER & GALE PC
1901 6TH AVE N
2400 AMSOUTH HARBERT PLAZA
BIRMINGHAM, AL 35203-2602

MAZZETTI & ASSOCIATES INC
CONSULTANTS & ENGINEERS
530 BUSH ST #300
SAN FRANCISCO, CA 94108-3623

MB & PB HOLDING LLC
DBA CRAVEPARTY
1805 12TH AVE W #A
SEATTLE, WA 98119
MBA CHALLENGE FOR CHARITY
UNIVERSITY OF WASHINGTON
110 MACKENZIE HALL BOX 353200
SEATTLE, WA 98195-3200
MBMS INC
PO BOX 3255
BUFFALO, NY 14240-3255

MBNA AMERICA
1100 N KING ST
WILMINGTON, DE 19884
MC JAB INC
FIRST CALIFORNIA FUNDING
4550 KEARNY VILLA RD #215
SAN DIEGO, CA 92123
MC MORTGAGE INC
MORTGAGE CENTRAL
4500 CAMPUS DR #626
NEWPORT BEACH, CA 92660
MCBRIDE ELECTRIC & DATA SVCS
PO BOX 51837
LOS ANGELES, CA 90051-6137

MCCALLA RAYMER LLC
SIX CONCOURSE PKWY #3200
ATLANTA, GA 30328

MCCARTHY KOMENDERA ASSOC
623 S LYNNWOOD TR
CEDAR PARK, TX 78613
MCCASLIN-HILL CONSTRUCTION INC
                                       Page 539
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
1301 W BELTLINE RD #117
CARROLLTON, TX 75006

MCCLATCHY NEWSPAPERS INC
THE SACRAMENTO BEE
DBA THE FRESNO BEE
PO BOX 11016
FRESNO, CA 93771-1016

MCCOLLISTER'S TRANSPORTATION
MCCOLLISTER&#39S TRANSPORTATION
SYSTEMS INC
PO BOX 822685
PHILADELPHIA, PA 19182-2685

MCCORMICK & SCHMICKS
MCCORMICK & SCHMICK RES CRP DBA
9404 E MARGINAL WAY
SEATTLE, WA 98108

MCCORMICK LENDING GROUP
MORTGAGE QUEST
14362 FRANK LLOYD WRIGHT BLVD
SUITE 1000
SCOTTSDALE, AZ 85260

MCCOY TURNAGE & ROBERTSON APLC
5469 KEARNY VILLA RD #206
SAN DIEGO, CA 92123

MCCOY WEAVER WIGGINS CLEVELAND
ROSE RAY PLLC
PO BOX 87009
FAYETTEVILLE, NC 28304-7009

MCCRACKEN FINANCIAL SOFTWARE, INC.
[Address to Be Provided]

MCCRACKEN FINANCIAL SOLUTIONS
8 SUBURBAN PARK DR
BILLERICA, MA 01821

MCCRACKEN FINANCIAL SOLUTIONS
8 SUBURBAN PARK DR
BILLERICA, MA 01821
MCCULLOUGH HILL PS DBA
FIKSO KRETSCHMER SMITH DIXON PS
2025 1ST AVE #1130
SEATTLE, WA 98121-2100
MCDASH ANALYTICS INC
1601 ARAPAHOE ST 9TH FL
DENVER, CO 80202
MCDASH ANALYTICS LLC
1601 ARAPAHOE ST 9TH FL
DENVER, CO 80202
MCDERMOTT WILL & EMERY
LLP LOCKBOX NEW YORK
PO BOX 7247 6755
PHILADELPHIA, PA 19170-6755
                                       Page 540
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MCDONALD HOPKINS CO
600 SUPERIOR AVE E #2100
CLEVELAND, OH 44114
MCEWEN GISVOLD LLP
1600 STANDARD PLAZA
1100 SW SIXTH AVE
PORTLAND, OR 97204

MCGHEE PRODUCTIVITY SOLUTIONS
PO BOX 630737
HIGHLANDS RANCH, CO 80163-0737
MCGLINCHEY STAFFORD LLC
DEPT 5200
PO BOX 2153
BIRMINGHAM, AL 35287-5200
MCGRAW HILL CONSTRUCTION INC
BUSINESS WEEK
DBA MCGRAW HILL REGIONAL PUBS
NORTHWEST CONSTRUCTION
PO BOX 74999
CLEVELAND, OH 44194-4999

MCHUGH CHAPMAN & MONTALBANO LLC
140 WASHINGTON ST
MIDDLETOWN, CT 06457

MCI
MCI Communications Services
PO BOX 371392
PITTSBURGH, PA 15251-7392

MCI
MCI Communications Services
27117 NETWORK PLACE
CHICAGO, IL 60673
MCI COMMUNICATION SERVICES INC
MCI Communications Services
VERIZON BUSINESS SERVICES
500 TECHNOLOGY DR #870
WELDON SPRINGS, MO 63304
MCI COMMUNICATIONS SERVICES
VERIZON BUSINESS SERVICES
PO BOX 371873
PITTSBURGH, PA 15250-7873
MCI COMMUNICATIONS SERVICES
PO BOX 600670
JACKSONVILLE, FL 32260
MCI COMMUNICATIONS SERVICES
PO BOX 650355
DALLAS, TX 75265
MCI COMMUNICATIONS SERVICES INC
MCI Communications Services
27732 NETWORK PL
CHICAGO, IL 60673-1277
                                       Page 541
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MCI COMMUNICATIONS SERVICES INC
MCI Communications Services
DBA VERIZON BUSINESS SERVICES
PO BOX 730296
DALLAS, TX 75373-0296
MCI COMMUNICATIONS SERVICES INC
MCI Communications Services
PO BOX 371322
PITTSBURGH, PA 15250-7322
MCI COMMUNICATIONS SERVICES INC
MCI Communications Services
PO BOX 371355
PITTSBURGH, PA 15250-7355

MCI WORLDCOM COMMUNICATIONS INC
SCA SERVICES
PO BOX 382123
PITTSBURGH, PA 15250-8123

MCI WORLDCOM CONFERENCING
MCI Communications Services
PO BOX 70129
CHICAGO, IL 60673-0129
MCINTOSH-SULLIVAN CO INC DBA
ZEE MEDICAL SERVICE COMPANY
4221 W SIERRA MADRE #104
FRESNO, CA 93722-3978
MCKAY CHADWELL PLLC
600 UNIVERSITY ST #1601
SEATTLE, WA 98101

MCKAY SIMPSON LAWLER
FRANKLIN & FOREMAN PLLC
PO BOX 2488
RIDGELAND, MS 39158

MCKAYS PRICE N PRIDE FRESHMART
PO BOX 1080
COOS BAY, OR 97420
MCKEE & SCHALKA
1200 6TH AVE #1805
SEATTLE, WA 98101

MCKEE NELSON LLP
PO BOX 651223
STERLING, VA 20165-1223
MCKEE NELSON LLP
PO BOX 651223
STERLING, VA 20165-1223

MCKENZIE BUSINESS ASSOCIATION
PO BOX 473
SPRINGFIELD, OR 97477

MCKINLEY SCHOOL
FOUNDATION OF SAN DIEGO
                                       Page 542
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3045 FELTON ST
SAN DIEGO, CA 92104

MCKINSEY & COMPANY INC US
PO BOX 7247-7255
PHILADELPHIA, PA 19170-7255
MCKINSEY & COMPANY INC US
PO BOX 7247-7255
PHILADELPHIA, PA 19170-7255
MCKINSTRY SERVICE
PO BOX 24567
SEATTLE, WA 98124

MCLAGAN PARTNERS INC
PO BOX 13471
NEWARK, NJ 07188-0471
MCLAGAN PARTNERS INC
PO BOX 905188
CHARLOTTE, NC 28290-5188

MCLAUGHLIN & STERN LLP
260 MADISON AVE
NEW YORK, NY 10016
MCMAHON SUROVIK SUTTLE
BUHRMANN HICKS GILL & CANNON
PO BOX 3679
ABILENE, TX 79604
MCMANEMIN & SMITH DBA
MCELREE SAVAGE SMITH
600 N PEARL ST #1600
DALLAS, TX 75201-2890
MCMANEMIN CURRAN TOMKO &
TARSKI LLP DBA
CURRAN TOMKO TARSKI LLP
1700 PACIFIC AVE #4545
DALLAS, TX 75201
MCMINNVILLE CHAMBER OF COMMERCE
417 NW ADAMS
MCMINNVILLE, OR 97128

MCNAMEE LOCHNER
TITUS & WILLIAMS PC
PO BOX 459
ALBANY, NY 12201-0459
MCR BUDGET COUNSELORS INC
9111 BROADWAY
SUITE CC
MERRILLVILLE, IN 46410

MCROBERTS & COMPANY OF TEXAS LP
5551 YALE BLVD #200
DALLAS, TX 75206-5015

MCSHAN FLORIST INC
10311 GARLAND RD
                                       Page 543
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PO BOX 18085
DALLAS, TX 75218-0430

MDA HOLDINGS LLC
MARSHALL &SWIFT
PO BOX 26307
LOS ANGELES, CA 90026-0307
MDI MARKETING DISPLAYS INTNL
PO BOX 576
FARMINGTON, MI 48332-0576
MDS REALTY ADVISORS
ATTN MIKE MCDEAVITT
4891 PACIFIC HWY #111
SAN DIEGO, CA 92110

MDSTRESKI LLC
DBA STRESKI REPORTING & VIDEO
75 12TH ST
WHEELING, WV 26003

MEADOWBROOK FREEWAY
CIVIC ASSOCIATION
ATTN MELVIN SCHULTE
8302 DILLON
HOUSTON, TX 77061

MEADOWBROOK MORTGAGE CORP
6001 ADAMS RD. #135
BLOOMFIELD HILLS, MI 48304
MEADOWLANDS AQUISITION CORP DBA
HOWARD PRESS
PO BOX 829159
PHILADELPHIA, PA 19182-9159
MEADOWLANDS BOARD OF REALTORS
97 CHESTNUT ST
RUTHERFORD, NJ 07070

MEC ENTERPRISES INC
DBA FINANCIAL BULDING SERVICES
2961 CENTER PORT CIRCLE
POMPANO BEACH, FL 33064
MEDGAR EVERS COLLEGE OF THE
QUEENS COLLEGE
CITY UNIVERSITY NY
1650 BEDFORD AVE
BROOKLYN, NY 11235
MEDIA HOLDINGS GROUP INC
DBA COMPLIANCE WEEK
77 N WASHINGTON ST
BOSTON, MA 02114

MEDIA MOJO INC
1346 THE ALAMEDA #7 106
SAN JOSE, CA 95126

MEDIA MOSAIC INC
DBA THE MOSAIC COMPANY
                                       Page 544
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555 S RENTON VILLAGE PLACE #280
RENTON, WA 98057

MEDIA NEWS GROUP
DAILY BREEZE
PO BOX 4286
WOODLAND HILLS, CA 91365-4286
MEDIEVAL TIMES
7662 BEACH BLVD
BUENA PARK, CA 90620
MEDINA & THOMPSON
1071 ALSTON RD
SANTA BARBARA, CA 93108

MEDINA & THOMPSON
1071 ALSTON RD
SANTA BARBARA, CA 93108

MEDINA HEALTH CARE FOUNDATION
200 OHIO ST
MEDINA, NY 14103
MEDINA PARENT TEACHER
ASSOCIATION
PO BOX 247
MEDINA, WA 98039

MEDITERRANEAN MARKET INC DBA
BORRACCHINI'S BAKERY
2307 RAINIER AVE S
SEATTLE, WA 98144

MEDSERV INCORPORATED
3801 KIRBY DR STE 344
HOUSTON, TX 77098

MEGA GROUP PRIVATE
INVESTIGATIONS INC
1903 W SILVER LAKE DR
LOS ANGELES, CA 90039
MEGA WORLD MUSIC INC
9155 RAMBLEWOOD DR #324
CORAL SPRINGS, FL 33071

MEGASTAR FINANCIAL CORPORATION
3773 CHERRY CREEK N DR
EAST TOWER #875
DENVER, CO 80209
MEL CURTIS PHOTOGRAPHY
2400 E LYNN ST
SEATTLE, WA 98112
MELAMED DAILEY & MELANWSKI P C
26611 WOODWARD AVE
HUNTINGTON WOODS, MI 48070
MELANGE MARKET INC
DBA MELS MARKET
1201 3RD #210
                                      Page 545
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SEATTLE, WA 98101
MELBA A. BARTEIS
[Address Information Redacted]
MELBOURNE ART FESTIVAL INC
PO BOX 611
MELBOURNE, FL 32902

MELISSA COOK
PO BOX 6306
HAYWARD, CA 94540-6306
MELISSA J. BALLENGER
[Address Information Redacted]

MELLON BANK
DEPT AT 40164
ATLANTA, GA 31192-0164

MELLON INVESTOR SERVICES LLC
ACCOUNTING DEPARTMENT
PO BOX 360857
PITTSBURGH, PA 15251-6857

MELLON INVESTOR SERVICES LLC
BANK OF NEW YORK MELLON
SERVICES REF #192851
PO BOX 358317
PITTSBURGH, NJ 15252-8317

MELLON INVESTOR SERVICES LLC
ACCOUNTING DEPARTMENT
PITTSBURGH, PA 15251-6857

MELO'S GAS AND GEAR
MELOS GAS AND GEAR
4580 STATE RD
BAKERSFIELD, CA 93308
MELVIN LARD
PO BOX 59
BELLAMY, AL 36901

MELVIN W BRUNSON
FBO ANNIE TURNER
63 S ROYAL ST
MOBILE, AL 36602

MEMPHIS AREA LEGAL SERVICES
109 N MAIN #201
MEMPHIS, TN 38103
MEMSHALAH REALTY
17304 PRESTON RD #600
DALLAS, TX 75252

MENEMSHA COMPANIES DBA
CONTRACTOR MANAGEMENT GROUP
4950 W 145TH ST
HAWTHORNE, CA 90250
MENTAL HEALTH HOUSING DVLPMT
                                      Page 546
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CORP INC
603 W MAGNOLIA #204
FORT WORTH, TX 76104
MEPT PICTORIA LLC
TIPTON INTERESTS INC
424 WARDS CORNER RD #220
LOVELAND, OH 45140

MERCED HOUSING TEXAS
212 W LAUREL ST
SAN ANTONIO, TX 78212
MERCED SYSTEMS INC
333 TWIN DOLPHIN DRIVE #500
REDWOOD SHORES, CA 94065-1445

MERCER COUNTY HISPANIC ASSC INC
PO BOX 1331
TRENTON, NJ 08607
MERCER DELTA CONSULTING LLC
DBA OLIVER WYMAN
PO BOX 33030
NEWARK, NJ 07188-0030

MERCER DELTA CONSULTING LLC
DBA OLIVER WYMAN
NEWARK, NJ 07188-0030

MERCER HUMAN RESOURCE
MERCER HUMAN
CONSULTING INC
PO BOX 730212
DALLAS, TX 75373-0212

MERCER IS CHAMBER OF COMMERCE
PO BOX 108
MERCER ISLAND, WA 98040-0108
MERCER ISLAND DIRECTORY
PO BOX 442
MERCER ISLAND, WA 98040

MERCER OLIVER WYMAN LLC
PO BOX 3800 28
BOSTON, MA 02241

MERCURY INTERACTIVE
[Address to Be Provided]
MERCURY SETTLEMENT SVCS OF UTAH
6985 UNION ARK CENTER #555
COTTONWOOD HEIGHT, UT 84047
MERCY ENTERPRISE CORPORATION
2069 NE HOYT ST
PORTLAND, OR 97232
MERCY HOUSING INC
540 N EAGLE RD
EAGLE, ID 83616

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MERCY HOUSING MIDWEST
LILLIAN MURPHY
1999 BROADWAY #1000
DENVER, CO 80202
MEREDITH AREA CHAMBER
OF COMMERCE
PO BOX 732
MEREDITH, NH 03253-0732

MERGER & ACQUISITION SRVCS INC
3906 PACES FERRY RD NW
ATLANTA, GA 30327
MERIDIAN APPRAISAL GROUP
1331 SUNDIAL POINT
WINTER SPRINGS, FL 32708
MERIDIAN CHAMBER OF COMMERCE
PO BOX 7
MERIDIAN, ID 83680

MERIDIAN CONSULTING LLC
[Address to Be Provided]

MERIDIAN EDUCATION RESOURCE
GROUP INC
1353 GEORGE W BRUMLEY WAY SE
ATLANTA, GA 30317

MERIDIAN TECHNOLOGIES INC
7800 BELFORT PRKY #180
JACKSONVILLE, FL 32256

MERIDIAS CAPITAL
MERIDIAS CAPITAL INC
375 STEPHANIE ST #10
HENDERSON, NV 89014

MERIDIAS CAPITAL INC
MERIDIAS CAPITAL
1018 ATHERTON DR
SALT LAKE CITY, UT 84123

MERISEL AMERICA
DBA CRUSH CREATIVE
PO BOX 7793
BURBANK, CA 91510

MERKLE INC
PO BOX 64897
BALTIMORE, MD 21264-4897
MERRILL COMMUNICATIONS LLC
CM-9638
ST PAUL, MN 55170-9638

MERRITT HOSPITALITY
DBA EMBASSY SUITES IRVINE
2120 MAIN ST
IRVINE, CA 92614
MERS INC
                                      Page 548
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13059 COLLECTIONS CTR DR
CHICAGO, IL 60693

MESCH CLARK & ROTHSCHILD PC
259 N MEYER AVE
TUCSON, AZ 85701-1090
MESQUITE CHAMBER OF COMMERCE
617 N EBRITE
MESQUITE, TX 75149
MESQUITE POLICE DEPT
ALARM ENFORCEMENT SECTION
PO BOX 850137
MESQUITE, TX 75185-0137

MESSERLI & KRAMER
3033 CAMPUS DR #250
PLYMOUTH, MN 55441

META INTEGRATION TECHNOLOGY INC
650 CASTRO ST #210
MOUNTAIN VIEW, CA 94041
METAMORPHOSIS CONFERENCE INC
13535 S POST OAK RD
HOUSTON, TX 77045

METAVANTE CORPORATION
ATTN ACCOUNTING DEPT
BIN 440
MILWAUKEE, WI 53288-0440

METAVANTE CORPORATION
PO BOX 7236
SIOUX FALLS, SD 57117-7236
METAVANTE CORPORATION
[Address to Be Provided]
METEOR
1099 CHICAGO RD
TROY, MI 48083

METHOD R CORPORATION
532 SILICON DR #102
SOUTHLAKE, TX 76092

METHODOLOGIE INC
808 HOWELL ST #600
SEATTLE, WA 98101
METRIX DEVELOPMENT CORP DBA
METRO CONSTRUCTION COMPANY
2527 W BEVERLY BLVD
MONTEBELLO, CA 90640

METRO CAFE
510 W RIVERSIDE
SPOKANE, WA 99201

METRO CHAMBER COMMUNICATIONS CO
DBA CHAMBER DIRECTORY SERVICE
                                       Page 549
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PO BOX 623
ELLENDALE, TN 38029

METRO FIRE & SAFETY INC
2735 VIA ORANGE WAY #102
SPRING VALLEY, CA 91978
METRO MULTIFAMILY
HOUSING ASSOCIATION
921 W WASHINGTON #818
PORTLAND, OR 97205
METRO NORTH CHAMBER OF COMMERCE
2921 W 120TH AVE #210
WESTMINSTER, CO 80234

METRO PRE SORT INC
3506 NW 35TH AVE
PORTLAND, OR 97210-1640

METRO VOLUNTEERS
444 SHERMAN ST #100
DENVER, CO 80203
METROPOLE MORTGAGE SERVICE
90 THROCKMORTON AVE #22
MILL VALLEY, CA 94941

METROPOLIS FUNDING INC
630 TOWN CENTER DR
JOPPA, MD 21085
METROPOLITAN AFFORDABLE
HOUSING CORPORATION
1600 OAK ST
EUGENE, OR 97401
METROPOLITAN AREA ADVISORY
COMMITTEE ON ANTI POVERTY
OF SAN DIEGO COUNTY INC
22 W 35TH ST #200
NATIONAL CITY, CA 91950
METROPOLITAN FAMILY SERVICES
EVANSTON SKOKIE VALLEY
5210 MAIN ST
SKOKIE, IL 60077

METROPOLITAN FINANCIAL MGMT
AURITON SOLUTIONS
1700 WEST HWY 36 STE 301
ROSEVILLE, MN 55113
METROPOLITAN LENDING INC
10230 NE POINTS DR #310
KIRKLAND, WA 98033

METROPOLITAN MORTGAGE GROUP INC
2930 WETMORE AVE 7TH FL #A
EVERETT, WA 98201

METROPOLITAN ORLANDO URBAN
LEAGUE
                                       Page 550
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2804 BELCO DR
ORLANDO, FL 32808

METROPOLITAN PLANNING COUNCIL
25 E WASHINGTON ST #1600
CHICAGO, IL 60602
METZBOWER WATTS & HULTING
5501 TWIN KNOLLS RD #112
COLUMBIA, MD 21045
METZLER ASSET MANAGEMENT GMBH
[Address to Be Provided]
METZLER I METRO CENTER LP
PO BOX 94157
SEATTLE, WA 98124-6457
MEXICAN AMERICAN
ILLINOIS HISPANIC CHAMBER
CHAMBER OF COMMERCE
OF ILLINOIS INC
33 N LA SALLE #1720
CHICAGO, IL 60602

MEXICAN AMERICAN
UNITY COUNCIL INC
2300 W COMMERCE #200
SAN ANTONIO, TX 78207

MEXICAN AMERICAN CHAMBER
ILLINOIS HISPANIC CHAMBER
OF COMMERCE OF ILLINOIS
DBA ILLINOIS HISPANCIC CHAMBER
111 W WASHINGTON ST #1660
CHICAGO, IL 60602
MEXICAN AMERICAN COMMUNITY
SERVICES AGENCY INC
130 N JACKSON AVE
SAN JOSE, CA 95116

MEXICAN AMERICAN LEGAL
DEFENSE & EDUCATIONAL FUND
634 S SPRING ST
LOS ANGELES, CA 90014

MEXICAN INSTITUTE
OF GREATER HOUSTON INC
4601 CAROLINE ST
HOUSTON, TX 77004
MEYER BROTHERS ROOFING INC
2301 LINCOLN AVE
TACOMA, WA 98421
MEYER GOERGEN & MARRS
7130 GLEN FOREST DR #305
RICHMOND, VA 23226
MG CAPITAL LLC
TOWN CENTER LAKESIDE
C/O VISTA MANAGEMENT
                                      Page 551
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1117 ELDRIDGE PKWY
HOUSTON, TX 77077

MG LLC
TRANZACT
2200 FLETCHER AVE 4TH FL
FORT LEE, NJ 07024
MGIC INVESTOR SERVICES CORP
ATTN CASH RECEIPTS
PREMIUM PROCEING DEPT
PO BOX 566
MILWAUKEE, WI 53201-0566
MGIC INVESTOR SERVICES CORP
ATTN CASH RECEIPTS PREMIUM
PROCEING DEPT
PO BOX 566
MILWAUKEE, WI 53201-0566

MHI HOSPITALITY TRS LLC
JACKSONVILLE PRINCESS
DBA CROWNE PLAZA
JACKSONVILLE RIVERFRONT
1201 RIVERPLACE BLVD
JACKSONVILLE, FL 32207
MI ESCUELITA PRESCHOOL INC
4231 MAPLE AVE
DALLAS, TX 75219

MIAMI BEACH CHAMBER OF COMMERCE
1920 MERIDIAN AVE
MIAMI BEACH, FL 33139

MIAMI DADE AFFORDABLE
HOUSING FOUNDATION INC
19 W FLAGLER ST #311
MIAMI, FL 33130-1720
MIAMI DADE COUNTY
TAX COLLECTOR
140 W FLAGLER ST 12 FL
MIAMI, FL 33130
MIAMI DADE COUNTY RECORDER
CLERK OF THE COURT
22 NW 1ST ST
MIAMI, FL 33128
MIAMI DADE FIRE RESCUE DEPT
FINANCE BUREAU
9300 NW 41ST ST
MIAMI, FL 33178-2414
MIAMI DADE POLICE DEPT
MIAMI DADE CNTY CLERK OF COURTS
7617 SW 117TH AVE
MIAMI, FL 33183
MIAMI EXPRESS
COURIER & EXHIBITS INC
10421 NW 28TH ST #D-115
                                       Page 552
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MIAMI, FL 33172
MIAMI FIRE EQUIPMENT INC
150 SW 27TH AVE
MIAMI, FL 33135

MIAMI INTEGRA INVESTMENTS LLC
PO BOX 533324
ATLANTA, GA 30353-3324

MIAMI LAKES CHAMBER OF COMMERCE
7333 MIAMI LAKES DR PMB222
MIAMI LAKES, FL 33014
MIAMI RIVER DAY FUN
1407 NW 7TH ST #D
MIAMI, FL 33125
MIAMI SHORES VILLAGE
OCCUPATIONAL LICENSE OFFICE
10050 NE 2ND AVE
MIAMI SHORES, FL 33138-2382

MIAMI-DADE NEIGHBORHOOD
HOUSING SERVICES INC
181 NE 82ND ST
MIAMI, FL 33138

MICHAEL A LAWDER
515 OLIVE ST #704
ST LOUIS, MO 63101
MICHAEL A REYNOLDSON
717 W CREMONA
SEATTLE, WA 98119

MICHAEL A. REYNOLDSON
[Address Information Redacted]

MICHAEL COX
DBA MICHAEL E COX & ASSOCIATES
PO BOX 4908
BILOXI, MS 39535

MICHAEL D FINE
131 S DEARBORN ST
CHICAGO, IL 60603

MICHAEL DOAN APC
2850 PIO PICO DR #D
CARLSBAD, CA 92008
MICHAEL DUFF
[Address to Be Provided]
MICHAEL DUNBAR
BANKRUPTCY ESTATE JEREMY BANKS
TRUSTEE #08 01542
531 COMMERCIAL ST #500
WATERLOO, IA 50701

MICHAEL F FAGEN
11153 E DALE LANE
                                       Page 553
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SCOTTSDALE, AZ 85262
MICHAEL G PONDS
502 S PRESIDENT ST
JACKSON, MS 39201

MICHAEL GARCIA
ROBERT F KANE TRUST ACCOUNT
870 MARKET ST #1128
SAN FRANCISCO, CA 94102
MICHAEL H DUNN
1613 E VILLA THERESA DR
PHOENIX, AZ 85022

MICHAEL HELLAND
ALL EUROPEAN APPLIANCE REPAIR
257 ANDOVER ST
SAN FRANCISCO, CA 94110

MICHAEL J CHAMOWITZ AND
RUTH L CHAMOWITZ
118 N ALFRED ST
ALEXANDRIA, VA 22314

MICHAEL J DAVIS
DAVIS LAW LLC
524 TACOMA AVE S
TACOMA, WA 98402

MICHAEL J KUCEY
109 CHICKERING WAY
ROSWELL, GA 30075

MICHAEL K CHO
9924 RAVENNA WAY
CYPRESS, CA 90630

MICHAEL K MURPHY
WASHINGTON MUTUAL-LEGAL DEPT
1301 2ND AVE - WMC3501
SEATTLE, WA 98101
MICHAEL K MURPHY
WASHINGTON MUTUAL-LEGAL DEPT
[Address to Be Provided]
SEATTLE
WA, 98101

MICHAEL K. MURPHY
[Address Information Redacted]
MICHAEL L SHERO
DBA THE GREEN THUMB
3104 161ST AVE SE
BELLEVUE, WA 98008

MICHAEL LANZO TRUSTEE
PO BOX 43
CALDWELL, NJ 07006

MICHAEL LAPSLEY DBA
BIG BOYS MOVING
                                      Page 554
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PO BOX 1201
LAKE ELSINORE, CA 92531

MICHAEL LAW
MCL GRIP & LIGHTING SERVICES
PO BOX 2801
SEAL BEACH, CA 90740-1801
MICHAEL MOORE
269 ANDERSON ST
SAN FRANCISCO, CA 94110
MICHAEL P BUDNEY
364 OAK HILL RD
FITCHBURG, MA 01420

MICHAEL PIERCE
PO BOX 81
15 JEWELL ST
CORNWALL, CT 06753
MICHAEL R WEBSTER
323 TAHOS RD
ORINDA, CA 94563

MICHAEL S FLOTLIN
13899 SE 64TH
BELLEVUE, WA 98006

MICHAEL S. SOLENDER
[Address Information Redacted]
MICHAEL SELSMAN
330 SPALDING DR PENTHOUSE
BEVERLY HILLS, CA 90212

MICHAEL T EGGLESTON
3808 41ST AVE NE
SEATTLE, WA 98105
MICHAEL TAYLOR BRADSHAW
32363 COUNTY RD 852
MCKINNEY, TX 75071

MICHAEL TINDELL
2754 RAMADA DR
PASO ROBLES, CA 93446-3919

MICHAEL TURKULL
4707 DAVENPORT AVE
OAKLAND, CA 94619
MICHAEL Y LO
506 N GARFIELD AVE #280
ALHAMBRA, CA 91801
MICHAL MULLOR
23977 SE 10TH ST
SAMMAMISH, WA 98075
MICHAUD COMPANY
431 ORANGE ST
NEW HAVEN, CT 06511
                                      Page 555
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MICHELLE CHOW TRUSTEE #06 40693
5401 N CENTRAL EXPRESSWAY #218
DALLAS, TX 75205
MICHELLE KIRBY
10 MOSS AVE #34
OAKLAND, CA 94611

MICHELLE MANOS DBA
MICHELLE MANOS DESIGN
3637 HERON LAKES COURT
STOCKTON, CA 95219
MICHELLE MCCARTHY
[Address Information Redacted]

MICHELLE ROZOVICS ATTHY AT LAW
263 KING ST
CRYSTAL LAKE, IL 60014
MICHIENZIE & SAWIN LLC
745 BOYLSTON ST
BOSTON, MA 02116

MICHIGAN DEPARTMENT OF TREASURY
DEPT 77569
PO BOX 77000
DETROIT, MI 48277-0569

MICHIGAN DEPT OF TREASURY
PO BOX 30059
LANSING, MI 48909

MICHIGAN MORTGAGE CONSULTANTS
117 CASS AVE. STE. 100
MT. CLEMENS, MI 48043

MICHIGAN SURVEY SPECIALISTS INC
DBA KEM-TEC LAND SURVEYORS
22556 GRATOIT AVE
EASTPOINTE, MI 48021-2312
MICHIGAN TITLE INSURANCE
AGENCY INC
9333 TELEGRAPH RD #100
TAYLOR, MI 48180

MICRO BUSINESS DEVELOPMENT CORP
700 KALAMATH ST
DENVER, CO 80204
MICROBILT CORPORATION
PO BOX 1473
ENGLEWOOD, CO 80150-1473
MICROEDGE INC
PO BOX 200422
PITTSBURGH, PA 15251-0422
MICROMUSE INC.
[Address to Be Provided]

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MICROSOFT LICENSING, GP
[Address to Be Provided]

MICROSOFT SERVICES
PO BOX 844510
BANK OF AMERICA
DALLAS, TX 75284-4510
MICROVOICE APPLICATIONS INC
DBA TELEPHONE SUPPORT SVCS COM
5100 GAMBLE DR #400
MINNEAPOLIS, MN 55416
MID ATLANTIC CAPITAL
317A DELSEA DR
SEWELL, NJ 08080

MID ATLANTIC VALUATION GROUP
PO BOX 588
YORK, PA 17405-0588
MID FAIRFIELD COUNTY
ASSN OF REALTORS INC
19 IMPERIAL AVE
WESTPORT, CT 06880

MID HUDSON CHAPTER OF
APPRAISAL INSTITUTE
6 CAMELOT DR
WARWICK, NY 10990

MIDDLE COUNTY LIBRARY FNDTN
101 EASTWOOD BLVD
CENTEREACH, NY 11720

MIDDLEBERG RIDDLE & GIANNA
717 N HARWOOD #2400
DALLAS, TX 75201

MIDLAND MORTGAGE CO
999 NW GRAND BLVD
OKLAHOMA CITY, OK 73118
MIDNIGHT OIL FILMS LLC
20660 CHICAGO LN NE
SUQUAMISH, WA 98392

MIDNITE EXPRESS
PO BOX 92836
LOS ANGELES, CA 90009-9998
MID-STATE REALTY LLC
DBA CENTURY 21 MID STATE REALTY
C/O JERRE M HOOD
124 AVE NW
WINCHESTER, TN 37398

MIDWEST BANK NOTE COMPANY
DEPT CH 19169
PALATINE, IL 60055-9169

MIDWEST CREDIT & BUDGET
COUNSELING SERVICE INC DBA
                                       Page 557
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METROPOLITAN DEBT SOLUTIONS
3605 DOUGLAS AVE
DES MOINES, IA 50310
MIGUEL P. SUAZO
[Address Information Redacted]
MIKE COMMINS
14419 GREENWOOD AVE N #152
SEATTLE, WA 98133
MIKILO
DBA WILLOW PARK EVENT CENTER
17007 REDWOOD RD
CASTRO VALLEY, CA 94546

MILES & STOCKBRIDGE PC
10 LIGHT ST
BALTIMORE, MD 21202-1487

MILES INDERMILL
9656 SWINTON AVE
NORTH HILLS, CA 91343
MILFORD CHAMBER OF COMMERCE
5 BROAD ST
MILFORD, CT 06460

MILFORD LAW LLC
250 BROAD ST
MILFORD, CT 06460
MILITARY AFFAIRS COMMITTEE
205 N 3RD E
MT HOME, ID 83647

MILITARY DEBT MGMT AGENCY
PO BOX 855
SHALIMAR, FL 32579
MILLER & CHEVALIER
655 15TH ST NW #900
WASHINGTON, DC 20005-5701

MILLER & CHEVALIER
655 15TH ST NW #900
WASHINGTON, DC 20005-5701

MILLER CICERO LLC
21 W 38TH ST 15TH FL
NEW YORK, NY 10018
MILLER ELECTRIC COMPANY
PO BOX 864149
ORLANDO, FL 32886-4149
MILLER LAW GROUP
60 E SIR FRANCIS DRAKE BLVD
#302
LARKSPUR, CA 94939

MILLIMAN USA
MILLIMAN & ROBERTSON INC
                                      Page 558
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15800 BLUEMOUND ROAD #400
BROOKFIELD, WI 53005-6069

MILLWARD BROWN INC
PO BOX 85009465
PHILADELPHIA, PA 19178-9465
MILTON J WOOD FIRE PROTECTION
PO BOX 26219
JACKSONVILLE, FL 32226
MILTON KATZ
LAW OFFICES- AND MADELINE TRESS
1255 POST ST #542
SAN FRANCISCO, CA 94109

MILWAUKIE POLICE DEPT
3200 SE HARRISON ST
MILWAUKIE, OR 97222

MIMI PETTIBONE
DBA STELLAR STYLE
6752 14TH AVE NW
SEATTLE, WA 98117

MIMO BISCAYNE ASSOCIATION INC
686 NE 74TH ST
MIAMI, FL 33138

MINNESOTA ASSOCIATION
OF MORTGAGE BROKERS INC
5200 WILSON RD #300
EDINA, MN 55424

MINNESOTA DEPT OF COMMERCE
UNCLAIMED PROPERTY
85 7TH PL E #600
ST PAUL, MN 55101-3165

MINNESOTA MULTI HOUSING ASSN
1650 W 82ND ST #250
BLOOMINGTON, MN 55431
MINNESOTA SHREDDING LLC
8400 89TH AVE N#430
MINNEAPOLIS, MN 55445

MINORITY ALLIANCE CAPITAL
PO BOX 536732
ATLANTA, GA 30353-6732
MINORITY ALLIANCE CAPITAL LLC
PO BOX 650073
DALLAS, TX 75265-0073
MINORITY BAR ASSOCIATION
COLLABORATION PROJECT
KIM TRAN STAFFORD FREY COOPER
601 UNION ST #3100
SEATTLE, WA 98101

MINORITY EXECUTIVE DIRECTORS
COALITION OF KING COUNTY
                                       Page 559
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 3064
SEATTLE, WA 98114

MINORITY WOMEN BUSINESS
ENTERPRISE ALLIANCE INC
135 E COLONIAL DR 2ND FLR
ORLANDO, FL 32801
MINTZ ELEMENTARY SCHOOL
BLAKE MAGNET SCHOOL
FOR THE ARTS
1701 N BLVD
TAMPA, FL 33607
MINUTEMAN PRESS
30875 E THOUSAND OAKS BLVD
WESTLAKE VILLAGE, CA 91362
MIRA COSTA COLLEGE
ONE BARNARD DRIVE
OCEANSIDE, CA 92056

MIRA HOSPITALITY LLC
DBA BOSTONS RESTAURANT
2180 MT ZION PKWY
MORROW, GA 30260
MIRABELLA & POWERS
ATTORNEYS AT LAW
400 GARDEN CITY PLAZA #405
GARDEN CITY, NY 11530
MIRACLE FAITH CHURCH OF HOPE &
DELIVERANCE
1345B SOUTHERN BLVD
BRONX, NY 10459
MIRAGE PROMOTIONS INC
1408 PAMPLICO HWY
FLORENCE, SC 29505

MIRAGLIA ENTERPRISES INC
DBA MIRAGLIA CATERING &
EVENT PLANNING
2096 BURROUGHS AVE
SAN LEANDRO, CA 94577

MIRICK OCONNELL DEMALLIE &
LOUGEE LLP
100 FRONT ST
WORCESTER, MA 01608-1477
MIS TRAINING INSTITUTE INC
498 CONCORD ST
FRAMINGHAM, MA 01702-2357
MISDU
PO BOX 30350
LANSING, MI 48909-7850
MISSION ECONOMIC DEVELOPMNT ASC
3505 20TH ST
SAN FRANCISCO, CA 94110
                                       Page 560
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MISSION UNIFORM SERVICE
7520 REESE RD
SACRAMENTO, CA 95828-3707
MISSISSIPPI OFFICE OF REVENUE
PO BOX 23050
JACKSON, MS 39225-3050

MISSISSIPPI PUBLIC SVCE COMMSN
501 N WEST ST
JACKSON, MS 39201
MISSISSIPPI STATE
TAX COMMISSION
PO BOX 960
JACKSON, MS 39205-0960
MISSOURI ATTORNEY GENERAL
JAY NIXON
720 OLIVE ST #2150
ST LOUIS, MO 63101

MISSOURI CITY JUNETEENTH
CELEBRATION FOUNDATION INC
PO BOX 1007
MISSOURI CITY, TX 77459

MISSOURI DEPARTMENT OF REVENUE
FLORIDA DEPARTMENT OF REVENUE
DIVSN OF TAXATION & COLLECTION
PO BOX 840
JEFFERSON CITY, MO 65105-0840

MISSOURI DEPARTMENT OF REVENUE
FLORIDA DEPARTMENT OF REVENUE
PO BOX 3365
JEFFERSON CITY, MO 65105-3365

MISSOURI STATE TREASURER
DIVISION OF UNCLAIMED PROPERTY
HARRY S TRUMAN BLDG
301 W HIGH ST #157
JEFFERSON CITY, MO 65101
MITCHELL A DIX ESQ
185 MADISON AVE FL 8
NEW YORK, NY 10016

MITCHELL MOVING & STORAGE
PO BOX 88728
TUKWILA STATION
SEATTLE, WA 98138-2728

MITCHELL S DRUCKER ESQ
ONE SUFFOLK SQUARE #500
ISLANDIA, NY 11749

MITCHELL WILLIAMS
425 W CAPITOL AVE #1800
LITTLE ROCK, AR 72201-3525
MITRATECH HOLDINGS INC
                                      Page 561
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5900 WILSHIRE BLVD #1500
LOS ANGELES, CA 90036

MIYAKO SUSHI
1836 E ROUTE 66
GLENDORA, CA 91740
MJN ENTERPRISES INC
6061 E GRANT RD #121
TUCSON, AZ 85712
MJR COMMUNICATIONS INC
MJR COMMUNICATIONS DBA
DBA MJR MEDIA
1114 N FULTON ST
FRESNO, CA 93728

MK SHANNON AWARDS & REWARDS INC
664-A FREEMAN LANE
PMB 146
GRASS VALLEY, CA 95949

MLS NBSS FREIT MAX D STONE
FAMILY TRUST TIC
1024 W ROBINHOOD DR
STOCKTON, CA 95207
MM&T INVESTMENTS
DBA M&M DOCUMENT CENTER
PO BOX 131
FLORENCE, SC 29503
MN CHILD SUPPORT PAYMNT CENTER
PO BOX 64306
ST PAUL, MN 55164

MN DEPT OF REV
PO BOX 64651
ST PAUL, MN 55164-0651
MNZ JANITORIAL SERVICES INC
3575 CAHUENGA BLVD W #310
LOS ANGELES, CA 90068

MOBILE COMMERCE LIMITED
PO BOX 2151 SHORTLAND ST
AUCKLAND,   NEW ZEALAND

MOBILE MUNCHIES INC
5912 SPENCER HIGHWAY
PASADENA, TX 77505
MOBILE SATELLITE VENTURES LP
PO BOX 791199
BALTIMORE, MD 21279-1199
MODERN PARKING INC
PARKING LEVEL P1
3701 WILSHIRE BLVD
LOS ANGELES, CA 90010

MODERN PARKING INC
PARKING OFFICE
                                       Page 562
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1200 WILSHIRE BLVD #300
LOS ANGELES, CA 90017

MODERN VALUATION TECHNIQUES
268 BUSH ST #1400
SAN FRANCISCO, CA 94104
MODESTO WELDING PRODUCTS
PO BOX 4547
MODESTO, CA 95352
MODULAR MAILING SYSTEMS INC
4913 W LAUREL ST
TAMPA, FL 33607

MOFFATT THOMAS BARRETT
ROCK & FIELDS
101 S CAPITOL BLVD 10TH FL
PO BOX 829
BOISE, ID 83701-0829
MOHSIN MORTGAGE CORP
3075 WASHINGTON RD
BRIDGEVILLE, PA 15017

MOLALLA AREA CHAMBER
OF COMMERCE
PO BOX 578
MOLALLA, OR 97038

MOLALLA TELEPHONE CO
PO BOX 360
MOLALLA, OR 97038

MOLLY J BRODIE
11901 84TH ST SE
SNOHOMISH, WA 98290

MOMENTIVE CONSUMER CREDIT
COUNSELING INC DBA
CCCS OF CENTRAL INDIANA INC
615 N ALABAMA ST #134
INDIANAPOLIS, IN 46204

MOMENTUM SI
ATTN ANITA CUNNINGHAM
4515 SETON CENTER PKWY #175
AUSTIN, TX 78759

MOMENTUM SYSTEMS
41 TWOSOME DR #9
MOORESTOWN, NJ 08057
MONA DESTIN
SAMUEL Z BROWN ATTORNEY TRUST
ACCOUNT
205 E KENNEDY BLVD
LAKEWOOD, NJ 08701
MONET BOUNTHON
& STEPHAN WILLIAMS ESQ
1615 BONANZA ST #211
WALNUT CREEK, CA 94596
                                     Page 563
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MONEY LAUNDERING ALERT
80 SOUTHWEST 8TH ST #2300
MIAMI, FL 33130
MONEY MANAGEMENT INTERNATIONAL
MONEY MGMT INTL INC DBA
DBA CONSUMER CREDIT COUNSELING
9009 W LOOP S #700
HOUSTON, TX 77096
MONEY MANAGEMENT INTL INC
MONEY MGMT INTL INC DBA
DBA AMERICAN CREDIT COUNSELORS
9009 W LOOP S #700
HOUSTON, TX 77096

MONEY MANAGEMENT INTL INC
MONEY MGMT INTL INC DBA
DBA CCCS OF MAINE INC
9009 W LOOP S #700
HOUSTON, TX 77096

MONEY MANAGEMENT INTL INC
MONEY MGMT INTL INC DBA
DBA CCCS OF THE EAST BAY
9009 W LOOP S #700
HOUSTON, TX 77096

MONEY MANAGEMENT INTL INC DBA
MONEY MGMT INTL INC DBA
CCCS OF LEHIGH VALLEY
9009 WEST LOOP SOUTH, SUITE 700
HOUSTON, TX 77096-1719

MONEY MANAGEMENT INTL INC DBA
MONEY MGMT INTL INC DBA
CCCS OF THE GULF COAST AREA INC
9009 WEST LOOP S #700
HOUSTON, TX 77096-1719

MONEY MANAGEMENT INTL INC DBA
MONEY MGMT INTL INC DBA
CCCS SOUTHWEST/PERFECT BALANCE
9009 W. LOOP S #700
HOUSTON, TX 77096-1799

MONEY MANAGEMENT INTL INC DBA
MONEY MGMT INTL INC DBA
CCCS OF LOUISIANA
9009 WEST LOOP SOUTH, SUITE 700
HOUSTON, TX 77096
MONEY MANAGEMENT INTL INC DBA
MONEY MGMT INTL INC DBA
CCCS OF SD &IMPERIAL COUNTIES
9009 W LOOP S #700
HOUSTON, TX 77096
MONEY MANAGEMENT INTL INC DBA
MONEY MGMT INTL INC DBA
CCCS OF SOUTHWESTERN VIRGINIA
9009 W LOOP S #700
                                       Page 564
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HOUSTON, TX 77096
MONEY MGMT INTL INC DBA
CCCS OF GREATER DENVER INC
10065 E HARVARD AVE #210
DENVER, CO 80231-3965
MONEY MGMT INTL INC DBA
CCCS OF GREATER WASHINGTON INC
9009 W LOOP S #700
HOUSTON, TX 77096
MONEY WISE WOMEN EDUCATIONAL
SERVICES
PO BOX 2508
SILVERDALE, WA 98383

MONEYGRAM EXPRESS PAYMENT
1700 LINCOLN ST LOWER LEVEL
DEPT 1788
DENVER, CO 80291-1788

MONEYGRAM INTERNATIONAL INC
MONEYGRAM EXPRESS PAYMENT
6701 PARKWAY CIRCLE MS G02-0023
BROOKLYN CENTER, MN 55430-1741
MONEYGRAM INTERNATIONAL INC
MONEYGRAM EXPRESS PAYMENT
1550 UTICA AVE S
MINNEAPOLIS, MN 55461
MONEYLINE FUNDING INC
6271 VARIEL AVE
WOODLAND HILLS, CA 91367

MONEYWORLD SALES & MRTGES INC
543 PIKANELE ST
LAHAINA, HI 96761
MONICA J. BERGER
[Address Information Redacted]
MONMOUTH COUNTY SPECIAL CIVIL
POST JUDGMENT UNIT
PO BOX 1260
FREEHOLD, NJ 07728

MONROE CHAMBER OF COMMERCE
477 MAIN STREET
MONROE, CT 06468
MONROE COUNTY CLERK
OFFICE BUILDING 101
39 W MAIN ST
ROCHESTER, NY 14614

MONROE COUNTY SHERIFF
INCOME EXECUTION DEPT
130 S PLYMOUTH AVE RM 100
ROCHESTER, NY 14614-1408
MONROE DEUCATION FUNDATION
                                       Page 565
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A NEW JERSEY NON PROFIT CORP
423 BUCKELEW AVE
MONROE, NJ 08831
MONSTER INC
FILE 70104
LOS ANGELES, CA 90074-0104
MONSTER INC
PO BOX 90364
CHICAGO, IL 60696-0364
MONSTER WORKDWIDE INC
MONSTER INC
TMP WORLDWIDE
FILE 70102
LOS ANGELES, CA 90074-0102
MONSTERTRAK
14372 COLLECTIONS CTR DR
CHICAGO, IL 60693

MONTANA ANALYTICS LLC
9020 SCHUTTE CT
CORCORAN, MN 55340

MONTANA DEPARTMENT OF REVENUE
NATURAL RESOURCE & CORP TAX DIV
PO BOX 8021
HELENA, MT 59604-8021

MONTANA DEPARTMENT OF REVENUE
UNCLAIMED PROPERTY
125 ROBERTS ST 3RD FL
HELENA, MT 59601

MONTCLAIR PARKING GARAGE
C/O PO BOX 13192
OAKLAND, CA 94611
MONTCLAIR STATE UNIVERSITY
FOUNDATION INC
1 NORMAL AVE
MONTCLAIR, NJ 07043
MONTEBELLO FINANCIAL SERVICES
CRISTINA DE LORENZO
2404 WHITTIER BLVD
MONTEBELLO, CA 90640
MONTEBELLO HOUSING DEVT CORP
1619 PARAMOUNT BLVD
MONTEBELLO, CA 90640

MONTEREY COUNTY
MONTEREY COUNTY SHERIFS DEPT
SHERIFF'S DEPT-ALARM UNIT
1414 NATIVIDAD RD
SALINAS, CA 93906
MONTEREY COUNTY SHERIFS DEPT
1414 NATIVIDAD ROAD
SALINAS, CA 93906
                                       Page 566
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MONTEREY PENINSULA
CHAMBER OF COMMERCE
380 ALVARADO ST
MONTEREY, CA 93940

MONTGOMERY COUNTY ALARM DETAIL
PO BOX 2178
CONROE, TX 77305-2178

MONTGOMERY G GRIFFIN
LAW OFFICES
620 NEWPORT CENTER DR 11TH FLR
NEWPORT BEACH, CA 92660

MONTGOMERY TOWNSHIP
PO BOX 511
MONTGOMERYVILLE, PA 18936-0511
MONTROSE VERDUGO CITY
CHAMBER OF COMMERCE
3516 N VERDUGO RD
GLENDALE, CA 91208
MONYTEK HUMAN SERVICES INC
PO BOX 340
PENDLETON, OR 97801

MOODY LAW PA TRUST ACCOUNT
FOR BENEFIT OF FRANK J HOLMES
575 N BROADWAY AVE
BARTOW, FL 33831

MOODYS ANALYTICS INC
FBO MOODYS ECONOMY COM
121 N WALNUT ST #500
WEST CHESTER, PA 19380

MOODYS ANALYTICS INC
PO BOX 116647
ATLANTA, GA 30368-6647

MOODY'S INVESTORS SERVICE
MOODY&#39S INVESTORS SERVICE
PO BOX 102597
ATLANTA, GA 30368-0597

MOODY'S KMV CO
[Address to Be Provided]
MOORE & VAN ALLEN PLLC
PO BOX 65045
CHARLOTTE, NC 28265-0045

MOORE BUSINESS COMMUNICATION SERVICES, A DIVISION OF MOORE NORTH AMERICA, INC.
[Address to Be Provided]

MOORE WALLACE
DBA RR DONNELLEY COMPANY
PO BOX 100098
PASADENA, CA 91189-0098
MOORE WALLACE NORTH AMERICA INC
                                       Page 567
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MOORE WALLACE
22955 NETWORK PL
CHICAGO, IL 60673-1229
MORDENTE LAW FIRM LLC
160-29 UNION TURNPIKE
FRESH MEADOWS, NY 11366
MORE DIRECT
PO BOX 918588
ORLANDO, FL 32891-8588
MORE THAN SHELTER
FOR SENIORS INC
240 E VERDUGO AVE #100
BURBANK, CA 91502

MORE THAN SHELTER SERVICES
1000 CORPORATE POINTE #200
CULVER CITY, CA 90230
MORENO VALLEY BLACK CHAMBER
OF COMMERCE
PO BOX 632
MORENO VALLEY, CA 92556

MORENO VALLEY CHAMBER
OF COMMERCE
22500 TOWN CIRCLE #2090
MORENO VALLEY, CA 92553

MOREY PUBLISHING LLC
LONG ISLAND PRESS
575 UNDERHILL BLVD #210
SYOSSET, NY 11791

MORGAN & MORGAN GROUP
MMG TOWER 16TH FLR
URB MARBELLA PO BOX 0832-00232
WORLD TRADE CENTER PANAMA
RUC 702-437-15272, DV87 PANAMA

MORGAN BEEBE & LECK
DBA INTEGRA REALTY RESOURCES
1708 Q ST
SACRAMENTO, CA 95814

MORGAN FINANCIAL INC
MORGAN CAPITAL OF ARIZONA (FN)
127 WEBER DR
CHANDLER, AZ 85226
MORGAN FUNDING CORP
26 JOURNAL SQUARE 2ND FL
NEW JERSEY CITY, NJ 07306
MORGAN HILL CHAMBER OF COMMERCE
PO BOX 786
MORGAN HILL, CA 95038
MORGAN LEWIS & BOCKIUS LLP
PO BOX 79356
CITY OF INDUSTRY, CA 91716-9356
                                       Page 568
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MORGAN LEWIS & BOCKIUS LLP
PO BOX 8500 S-6050
PHILADELPHIA, PA 19178-6050
MORGAN LEWIS & BOCKIUS LLP
1717 MAIN ST #3200
DALLAS, TX 75201

MORGAN SAMUELS COMPANY
9171 WILSHIRE BLVD #320
BEVERLY HILLS, CA 90210
MORGAN STANLEY CREDIT CORP
4708 MERCANTILE DR N
ATTN KELLY HOLLAND
FORT WORTH, TX 76137
MORNINGSIDE ACADEMY
201 WESTLAKE AVE N
SEATTLE, WA 98109

MORNINGSTAR CAPITAL GROUP
201 LOMA SANTA FE #490
SOLANA BEACH, CA 92075

MORNINGSTAR INC
2668 PAYSPHERE CIR
CHICAGO, IL 60674

MORONI & HANDLEY
373 S SCHMALE RD #203
CAROL STREAM, IL 60188

MORRIS COUNTY
CHAMBER OF COMMERCE
25 LINDSLEY DR #105 1ST FL
MORRISTOWN, NJ 07960-4454

MORRIS COUNTY ORGANIZATION FOR
HISPANIC AFFAIRS INC
95-97 BASSETT HWY
DOVER, NJ 07801

MORRIS JAMES LLP
500 DELAWARE AVE #1500
PO BOX 2306
WILMINGTON, DE 19899-2306

MORRIS LEVIN & SON
1816 SO K ST
TULARE, CA 93274
MORRIS ROKOWSKY MANAGEMENT LLC
4819 13TH AVE
BROOKLYN, NY 11219

MORRIS SCHNEIDER & PRIOR
1587 NE EXPWY
ATLANTA, GA 30329

MORRISON & FOERSTER
FILE 72497 PO BOX 60000
                                      Page 569
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SAN FRANCISCO, CA 94160-2497
MORRISON MAHONEY & MILLER LLP
250 SUMMER ST
BOSTON, MA 02210

MORTGAGE ASSET RESEARCH
INSTITUTE LLC
11654 PLAZA AMERICAN DR BOX 553
RESTON, VA 20190
MORTGAGE AUTHORITY OF UTAH LLC
229 ST GEORGE BLVD #101
ST GEORGE, UT 84770

MORTGAGE BANKER ASSOCIATION
MORTGAGE BANKERS ASSN OF AMERIC
6000 FELDWOOD RD
COLLEGE PARK, GA 30349

MORTGAGE BANKERS
MORTGAGE BANKERS ASSN OF AMERIC
ASSOCIATION
PO BOX 403945
ATLANTA, GA 30384-3945

MORTGAGE BANKERS ASSN OF NY INC
MORTGAGE BANKERS ASSN OF AMERIC
PO BOX 7361
HICKSVILLE, NY 11802-7361

MORTGAGE BANKERS ASSOC OF
METROPOLITAN WASHINGTON
PO BOX 1522
OLNEY, MD 20830-1522

MORTGAGE BANKERS ASSOCIATION
MORTGAGE BANKERS ASSN OF AMERIC
1919 PENNSYLVANIA AVE NW 8TH FL
WASHINGTON, DC 20006-3404

MORTGAGE BANKERS ASSOCIATION
MORTGAGE BANKERS ASSN OF AMERIC
PO BOX 403945
ATLANTA, GA 30384-3645
MORTGAGE BANKERS OF SW PA
300 BILMAR DR #100
PITTSBURGH, PA 15205
MORTGAGE CENTER CORP
199 CALIFORNIA DR #20
MILLBRAE, CA 94030

MORTGAGE DATA MANAGEMENT CORP
N56 W24879 N CORPORATE CIRCLE
#200
SUSSEX, WI 53089
MORTGAGE GUARANTY INS CORP
MGIC INVESTOR SERVICES CORP
PO BOX 566
MILWAUKEE, WI 53201-0566
                                       Page 570
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MORTGAGE GUARANTY INS CORP
MGIC INVESTOR SERVICES CORP
270 E KILBOURN AVE
MILWAUKEE, WI 53202

MORTGAGE LENDING ASSOCIATES INC
4200 196TH ST SW STE 200
LYNNWOOD, WA 98036

MORTGAGE LOAN SPECIALISTS INC
711 GRAND AVE #210
SAN RAFAEL, CA 94901
MORTGAGE MAGIC
1625 THE ALAMEDA #900
SAN JOSE, CA 95126
MORTGAGE MANAGEMENT SYSTEMS
1779 UNION ST
SAN FRANCISCO, CA 94123

MORTGAGE MARKET GUIDE LLC
24 S HOLMDEL RD #1B
HOLMDEL, NJ 07733

MORTGAGE MARKETING ASSOC INC
7101 YORK AVE S #330
EDINA, MN 55435

MORTGAGE ORIGINATOR MAGAZINE
16913 E ENTERPRISE DR
PO BOX 17480
FOUNTAIN HILLS, AZ 85269-7480

MORTGAGE ORIGINATOR MAGAZINE
6000 LOMBARDO CENTER DR
THE GENESIS BLDG #420
SEVEN HILLS, OH 44131
MORTGAGE PARTNERSHIP OF AMERICA
DBA LENDERS ONE
TWO CITY PL #30
ST LOUIS, MO 63141
MORTGAGE PLUS OF AMERICA CORP
940 10TH ST # 200
KALAMAZOO, MI 49009

MORTGAGE RESOURCE CENTER INC
DBA ALLREGS
2975 LONE OAK DR #140
EAGAN, MN 55121-2094

MORTGAGE SENSE INC
2 POINTE DR #240
LAKE FOREST, CA 92630

MORTGAGE SOLUTIONS OF NAPLES
2800 DAVIS BLVD #205
NAPLES, FL 34112
MORTGAGE SPECIALISTS
                                       Page 571
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ATTN LISA TRACY
2 MAIN ST
PLAISTOW, NH 03865
MORTGAGE SYSTEMS INC
865 CARMEL DR #116
CARMEL, IN 46032
MORTGAGEDOCS.COM LLC
2595 E PERRIN #116
FRESNO, CA 93720
MORTGAGESEARCH
1018 WASHINGTON ST
SAN DIEGO, CA 92103

MORVILLO ABRAMOWITZ GRAND
IASON & SILBERBERG PC
565 FIFTH AVE
NEW YORK, NY 10017
MOS GROUP INC
DBA MORTGAGE CUTREACH SRVC
337 MAIN ST
FARMINGDALE, NY 11735

MOSCATO OFNER & ASSOCIATES INC
13765 NW CORNELL RD #200
PORTLAND, OR 97229

MOSHOLU JEROME EAST GUN HILL
ROAD DISTRICT MGMT ASSOCIATION
3400 RESERVOIR OVAL E
BRONX, NY 10467

MOSS & BARNETT
4800 WELLS FARGO CENTER
90 S 7TH ST
MINNEAPOLIS, MN 55402
MOSS ADAMS LLP
MOSS-ADAMS LLP
2200 RIMLAND DR #300
BELLINGHAM, WA 98226-6641
MOSS ADAMS LLP
221 STEWART AVE #301
MEDFORD, OR 97501

MOSS ADAMS, LLP
[Address to Be Provided]
MOSS CODILIS LLP
ACCOUNTS RECEIVABLE
6560 GREENWOOD PLAZA BLVD #100
ENGLEWOOD, CO 80111

MOTHER GOOSE BALLOONS & HELIUM
270 ROUTE 9 N #100
MANALAPAN, NJ 07726

MOTHER OF CHRIST
CATHOLIC CHURCH
                                      Page 572
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14141 SW 26TH ST
MIAMI, FL 33175

MOTHERS IN ACTION
200 E SLAUSON AVE
LOS ANGELES, CA 90011
MOUNT CARMEL COMMUNITY DEVLMT
1751 KINGS HIGHWAY RD
CLEARWATER, FL 33755
MOUNT HOPE HOUSING CO INC
2003 05 WALTON AVE
BRONX, NY 10453

MOUNT ROSE PUBLISHING CO
SIERRA NEVADA MEDIA GROUP
DBA SIERRA SUN
PO BOX 2973
TRUCKEE, CA 96160
MOUNTAIN HOME
MILITARY AFFAIRS COMMITTEE
CHAMBER OF COMMERCE
205 N 3RD E
MOUNTAIN HOME, ID 83647
MOUNTAIN LANDS COMMUNITY
HOUSING ASSOC
1960 SIDEWINDER DR #107
PARK CITY, UT 84060
MOUNTAIN RIDGE WOOD PRODUCTS
INC
619 POINT TOWNSHIP DR
NORTHUMBERLAND, PA 17857-8797
MOUNTAIN STATES GROUP INC
FOSTER GRANDPARENTS PROGRAM
1607 W JEFFERSON
BOISE, ID 83702

MOUNTAIN WEST TITLE CO
961 S OREM BLVD
OREM, UT 84058
MOUNTAINVIEW SERVICING GROUP
ATTN CRYSTAL OBRIEN
999 18TH ST #1001
DENVER, CO 80202
MOVE WEST REALTY INC
2185 VENTURA BLVD
CAMARILLO, CA 93010
MOVEMENT CENTRAL FLORIDA INC
4103H DIJON DR
ORLANDO, FL 32808
MOYLE & DRAPER
175 E 4TH S #900
SALT LAKE CITY, UT 84111

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MPO VIDEOTRONICS INC
POP TV LLC
5069 MAUREEN LANE
MOORPARK, CA 93021
MRT SERVICES INC
3905 HARRISON RD #500
LOGANVILLE, CA 30052

MSREF INC
10940 WILSHIRE BLVD #1540
LOS ANGELES, CA 90024
MSTD INC
LANDAMERICA
11602 W CENTER RD #325
OMAHA, NE 68144
MSTD INC
LANDAMERICA
2 CONCOURSE PKWY #400
ATLANTA, GA 30328

MT SHASTA CHAMBER OF COMMERCE
& VISITORS BUREAU
300 PINE ST
MT SHASTA, CA 96067

MT SHASTA SPRING WATER
1878 TWIN VIEW BLVD
REDDING, CA 96003
MT VERNON ABSTRACT & TITLE CO
DBA LAND TITLE CO OF SKAGIT CO
111 E GEORGE HOPPER RD
PO BOX 445
BURLINGTON, WA 98233

MT WOLFF ENTERPRISES
DBA THE UPS STORE
70 S WINOOSKI AVE
BURLINGTON, VT 05401
MTA LONG ISLAND RAIL ROAD
347 MADISON AVE
NEW, YORK 10017

MTECH INFORMATION TECHNOLOGY
#500 1401 1ST ST SE
CALGARY, ALBERTA T2G 2J3 CANADA
MUELLER & COMPANY INC
8220 SW WARM SPRINGS ST #100
TUALATIN, OR 97062-9097
MUJERES UNIDAS EN JUSTICIA
EDUCACION Y REFFORMA INC
28905 S DIXIE HWY
HOMESTEAD, FL 33030
MUKILTEO SCHOOL DISTRICT
PICNIC POINT ELEMENTARY SCHOOL
5819 140TH ST SW
                                       Page 574
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EDMONDS, WA 98206
MULLIN HOARD & BROWN LLP
PO BOX 31656
AMARILLO, TX 79120-1656

MULTI ETHNIC DEVELOPMENT CORP
925 S 200 WEST
SALT LAKE CITY, UT 84101

MULTICUTURAL PROMOTION
&ENTERTAINMENT GROUP INC
2368 W OAKRIDGE RD
ORLANDO, FL 32809

MULTIFACTS
5100 EDINA INDUSTRIAL BLVD
EDINA OFFICE BLDG #222
EDINA, MN 55439

MULTIFAMILY APPRAISAL SERVICES
1 VINCENT DR
CHESTER, NY 10918-1445
MULTIMEDIA HOLDINGS INC
MULTIMEDIA HOLDINGS DBA
DBA FORT COLLINS COLORADOAN
1300 RIVERSIDE AVE
FORT COLLINS, CO 80524

MULTIPLE LISTING SERVICE
LONG ISLAND BOARD
OF LONG ISLAND INC
300 SUNRISE HWY
WEST BABYLON, NY 11704

MULTI-SERVICE CENTER
PO BOX 23699
FEDERAL WAY, WA 98093
MULTNOMAH COUNTY SHERIFF OFFICE
ALARM ORDINANCE UNIT
PO BOX 92153
PORTLAND, OR 97292-2153
MULVANEY & KAHAN
FIRST NATIONAL BANK BUILDING
401 WEST A STREET
SAN DIEGO, CA 92101-7994
MUMPHREY LAW FIRM
AND CHRISTINA RODRIGUE
2000 OLD SPANISH TRAIL #103
SLIDELL, LA 70458
MUNICIPAL MARKET ADVISORS
75 MAIN ST
CONCORD, MA 01742
MUNICIPAL SECURITIES
RULEMAKING BOARD
PO BOX 79864
BALTIMORE, MD 21279-0864
                                       Page 575
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MURIELLO APPRAISAL
AND CONSULTING INC
390 E HIGGINS RD #105
ELK GROVE VILLAGE, IL 60007

MURRAY AREA CHAMBER OF COMMERCE
5250 S COMMERCE DR
MURRAY, UT 84107

MURRAY FRANKE GREENHOUSE
LIST & LIPPITT LLP
1228 15TH ST
DENVER, CO 80202

MUSCULAR DYSTROPHY ASSOCIATION
2801 FRUITVILLE RD #140
SARASOTA, FL 34237
MUSEUMS AT MICHEL
CRADLE OF AVIATION MUSEUM
ONE DAVIS AVE
GARDEN CITY, NY 11530
MUSICIANS FOR EDUCATION INC
4215 MENLO AVE
SAN DIEGO, CA 92105

MUSICK PEELER & GARRETT LLP
ONE WILSHIRE BLVD #2000
LOS ANGELES, CA 90017-3383
MUSKINGHAM COUNTY RECORDER
401 MAIN ST COURTHOUSE
ZANESVILLE, OH 43701

MUTUAL BANCORP
6321 DEL CERRO BLVD
SAN DIEGO, CA 92120
MUTUAL FUNDING CORPORATION
FORTUNE MORTGAGE SERVICE
9 E BROADWAY 2ND FL
NEW YORK, NY 10038
MUURAY FRANKE GREENHOUSELIST
AND LIPPITT LP DBA FRANKE
GREENHOUSE LIST & LIPPITT
1228 15TH ST 2ND FLR
DENVER, CO 80202
MUZAK LLC
PO BOX 601968
CHARLOTTE, NC 28260-1968
MUZAK LLC
PO BOX 601968
CHARLOTTE, NC 28260-1968
MUZAK LLC
PO BOX 70121
LOS ANGELES, CA 90074-0121

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MUZAK LLC
PO BOX 71070
CHARLOTTE, NC 28272-1070
MUZAK MUZICRAFT
PO BOX 4575
SANTA BARBARA, CA 93140
MUZAK NORTH CENTRAL REGION
MUZAK LLC
PO BOX 90423
CHICAGO, IL 60696-0423
MUZAK NORTHERN CALIFORNIA
MUZAK LLC
PO BOX 70128
LOS ANGELES, CA 90074-0128
MUZAK SOUTHERN CALIFORNIA
MUZAK LLC
PO BOX 70131
LOS ANGELES, CA 90074-0131

MVSK INC AND ITS ATTORNEY
JOHNSON DELUCA KNDY & KRSKY PC
6100 WESTHEIMER RD
HOUSTON, TX 77057

MWB COPY PRODUCTS
DBA MWB BUSINESS SYSTEMS
FILE 50897
LOS ANGELES, CA 90074-0897

MY CHEF INC
2772 GOLFVIEW DR
NAPERVILLE, IL 60563
MY HOUSE ENTERPRISES INC
MY HOUSE LENDING
771 DAILY DR #120
CAMARILLO, CA 93010

MYPOINTS.COM INC
1375 E WOODFIELD RD #300
SCHAUMBURG, IL 60173
MYRON CORP
PO BOX 802616
CHICAGO, IL 60680-2616
MYRON PARTMAN
19115 2ND AVE NW
SHORELINE, WA 98177

MYRTLE POINT HERALD
PO BOX 606
MYRTLE POINT, OR 97458

N J STATE FMBA FOUNDATION INC
NJ FIREMENS MUTUAL
PO BOX 203
HASBROUCK HEIGHTS, NJ 07604

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
NA NATIONWIDE MORTGAGE
26361 CROWN VALLEY PKWY # 200
MISSION VIEJO, CA 92691
NACA
[Address to Be Provided]
NAGANO SKI JAPAN
4904 N OAKS BLVD
NORTH BRUNSWICK, NJ 08902
NAGASAKI & ASSOCIATES
2421 W 205TH ST #D201
TORRANCE, CA 90501

NAGGL
215 E 9TH AVE
STILLWATER, OK 74074
NAHREP OF SAN FRANCISCO
1000 VALENCIA ST
SAN FRANCISCO, CA 94110

NAI FANG TSU ROEDAHL
2080 FANG CIRCLE
BEAUMONT, TX 77706
NAIC
NATIONAL ASSOCIATION
P.O. BOX 87-9135
KANSAS CITY, MO 64187-9135
NAKAMOTO PRODUCTIONS
907 20TH STREET
SACRAMENTO, CA 95814

NAMPA CHAMBER OF COMMERCE
312 13TH AVE S
NAMPA, ID 83651
NAMPA SCHOOL DISTRICT 131
SKYVIEW HIGH SCHOOL
LINCOLN ELEMENTARY
94 N CANYON ST
NAMPA, ID 83651
NAMWOLF
207 E MICHIGAN ST #510
MILWAUKEE, WI 53202
NANCY BRAINARD
2419 FEDERAL AVE E
SEATTLE, WA 98102

NANCY HERKERT ESQ
PO BOX 2099
CHAPTER 13 TRUSTEE
MEMPHIS, TN 38101-2099
NANCY HUME CARR
LAW OFFICES OF MICHAEL J
OCONNOR
8118 DATAPOINT DR
                                     Page 578
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SAN ANTONIO, TX 78229
NANCY J WHALEY
CHAPTER 13 TRUSTEE #120
303 PEACHTREE CENTER AVE
ATLANTA, GA 30303
NANCY LLOYD
3214 HIGH VIEW CIR
GREENSBORO, NC 27410
NANDITA BAKHSHI
[Address Information Redacted]
NANTUCKET FUNDING GROUP INC
BRANT POINT MORTGAGE
24 AMELIA DR
NANTUCKET, MA 02554
NAP CAMP CREEK MARKET PLACE LLC
35 JOHNSON FERRY RD
MARIETTA, GA 30068

NAPM-NC
PO BOX 12156
SAN FRANCISCO, CA 94112
NARCISO ALVAREZ
DBA INNOVATIVE PROMOTIONS
21732 DEVONSHIRE ST #1001
CHATSWORTH, CA 91311
NASCHITZ BRANDES
5 TUVAL ST
TEL AVIV, 76897 ISRAEL

NASD
FINANCIAL INDUSTRY REGULATORY AUTHORITY
FINRA
PO BOX 7777 W5050
PHILADELPHIA, PA 19175-5050

NASD DISPUTE RESOLUTION
FINANCIAL INDUSTRY REGULATORY AUTHORITY
DEPT LA 21460
PASADENA, CA 91185-1460

NASD DISPUTE RESOLUTION
FINANCIAL INDUSTRY REGULATORY AUTHORITY
FINRA DISPUTE RESOLUTION
DEPT 40159A
ATLANTA, GA 31192-0159
NASD DISPUTE RESOLUTION INC
FINANCIAL INDUSTRY REGULATORY AUTHORITY
300 S GRAND AVE #900
LOS ANGELES, CA 90071-3135

NASD REGULATION INC
FINANCIAL INDUSTRY REGULATORY AUTHORITY
300 S GRAND AVE #1600
LOS ANGELES, CA 90071

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
NASD REGULATION INC CRD-IARD
FINANCIAL INDUSTRY REGULATORY AUTHORITY
PO BOX 7777-W8705
PHILADELPHIA, PA 19175-8705
NASHEL KATES
NUSSMAN RAPONE & ELLIS LLP
190 MOORE ST #306
HACKENSACK, NJ 07601

NASSAU COUNTY CLERK
240 OLD COUNTRY RD
MINEOLA, NY 11501
NASSAU COUNTY COURTHOUSE
76347 VETERANS WAY
YULEE, FL 32097
NASSAU COUNTY POLICE
ALARM PERMITS
1490 FRANKLIN AVE
MINEOLA, NY 11501

NATALIO EDUARDO SOCARRAS
955 SW 23RD ST APT 1
HIALEAH, FL 33010
NATAWORRY PHOTOGRAPHY LLC
2183 N 122ND PL
SEATTLE, WA 98133

NATE G KRAUT CLIENT TRUST ACCT
LAW OFFICES OF NATE G KRAUT
13746 VICTORY BLVD #309
SHERMAN OAKS, CA 91401

NATHAN ECKSTEIN PTSA
3003 NE 75TH ST
SEATTLE, WA 98115
NATIONAL ALLIANCE OF COMMUNITY
ECONOMIC DEVELOPMENTS ASSOC
2101 WILSON BLVD #610
ARLINGTON, VA 22201-3062
NATIONAL ALLOY & INDUSTRIAL
GASES INC
DBA NATIONAL GASES
1211 MISSISSIPPI ST
SOUTH HOUSTON, TX 77587
NATIONAL AMERICAN INDIAN
HOUSING COUNCIL
50 F ST NW #3300
WASHINGTON, DC 20001
NATIONAL AMERICAN INSURANCE CO
ATTN MARK C HART
PO BOX 9
CHANDLER, OK 74834

NATIONAL ARBITRATION FORUM LLC
DBA FORUM DISPUTE MGNT
                                      Page 580
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PO BOX 50670
MINNEAPOLIS, MN 55405-0670

NATIONAL ARBOR DAY FOUNDATION
PO BOX 80208
LINCOLN, NE 68501-0208
NATIONAL ASSN FOR THE
NATIONAL ASSOC OF BLACK
ADVANCEMENT OF COLORED PEOPLE
PO BOX 1053
MISSOURI CITY, TX 77459
NATIONAL ASSN OF GOVERNMENT
DEFERRED COMP ADMINISTRATORS
PO BOX 1017
LEXINGTON, KY 40588-1017
NATIONAL ASSN OF HISPANIC
REAL ESTATE PROFESSIONALS
298 ROUND TREE COURT
BREA, CA 92821

NATIONAL ASSOC OF BALCK ACCTS
SAN FRANCISCO BAY AREA
505 14TH ST #950
OAKLAND, CA 94612

NATIONAL ASSOCIATION
OF WOMEN NBAS
PO BOX 974683
DALLAS, TX 75397-4683

NATIONAL ASSOCIATION FOR
LATINO COMMUNITY ASSET
BUILDERS RDFC
230 PEREIDA ST
SAN ANTONIO, TX 78210

NATIONAL ASSOCIATION FOR
VARIABLE ANNUITIES
11710 PLAZA AMERICA DR #100
RESTON, VA 20190

NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLOR PEOPLE
DEKALB COUNTY BRANCH
3011 RAINBOW DR #180
DECATUR, GA 30034
NATIONAL ASSOCIATION OF
AFFORDABLE HOUSING LENDERS
1300 CONNECTICUT AVE NW #905
WASHINGTON, DC 20036
NATIONAL ASSOCIATION OF
COLLEGES & EMPLOYERS
62 HIGHLAND AVE
BETHLEHEM, PA 18017-9085
NATIONAL ASSOCIATION OF
INDUSTRIAL & OFFICE PROPERTIES
PO BOX 223353
                                      Page 581
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CHANTILLY, VA 20153-3353
NATIONAL ASSOCIATION OF
INDUSTRIAL & OFFICE PROPERTIES
SOUTH FLORIDA CHAPTER
PO BOX 70187
FORT LAUDERDALE, FL 33307
NATIONAL ASSOCIATION OF
NATIONAL ASSOCIATION
CORPORATE DIRECTORS
1133 21ST ST NW #700
WASHINGTON, DC 20036
NATIONAL ASSOCIATION OF
THE NATIONAL ASSOCIATION OF
REAL ESTATE BROKERS INC
9831 GREENBELT RD #309
LANHAM, MD 20706-6253

NATIONAL ASSOCIATION OF BLACK
JOURNALISTS
PO BOX 28730
SEATTLE, WA 98118

NATIONAL ASSOCIATION OF HOUSING
& REDEVELOPMENT OFFICIALS
PACIFIC NW REGIONAL COUNCIL
10832 36TH AVE SW
SEATTLE, WA 98146-1731

NATIONAL ASSOCIATION OF HOUSING
& REDEVELOPMENT OFFICIALS
UTAH CHAPTER
364 S 100 E
CEDAR CITY, UT 84720
NATIONAL ASSOCIATION OF LATINO
ELECTED OFFICIALS NALEO
EDUCATIONAL FUND
1122 W WASHINGTON BLVD 3RD FL
LOS ANGELES, CA 90015
NATIONAL ASSOCIATION OF STATE
BOARDS OF ACCOUNTANCY INC
150 FOURTH AVE N #700
NASHVILLE, TN 37219-2417

NATIONAL AUTOMATED CLEARING
HOUSE ASSOCIATION
13450 SUNRISE VALLEY DR #100
HERNDON, VA 20171
NATIONAL BLACK MBA ASSOCIATION
75 REMITTANCE DR #6515
CHICAGO, IL 60675-6515

NATIONAL BLACK MBA FOUNDATION
180 N MICHIGAN AVE #1400
CHICAGO, IL 60601

NATIONAL BUSINESS INSTITUTE INC
PO BOX 3067
                                       Page 582
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EAU CLAIRE, WI 54702
NATIONAL BUSINESS SYSTEMS INC
2919 W SERVICE ROAD
EAGAN, MN 55121

NATIONAL CARD COALITION
THE DEMERS GROUP INC
72 NO MAIN ST #301
CONCORD, NH 03301-4983
NATIONAL CENTER FOR BOUNDLESS
PLAYGROUNDS
45 WINTONBURY AVE #202
BLOOMFIELD, CT 06002

NATIONAL CITY BANK
116 ALLEGHENY CTR
46-23-701
PITTSBURGH, PA 15212
NATIONAL CITY BANK OF KENTUCKY
101 S FIFTH ST
5TH FLOOR T05Z
LOUISVILLE, KY 40202

NATIONAL CITY MORTGAGE
NATIONAL CITY BANK
A DIVISION OF NATIONAL CITY BNK
6333 GREENWICH DR #100
SAN DIEGO, CA 92122
NATIONAL COALITION FOR
ASIAN PACIFIC AMERICAN COM DEV
1001 CONNECTICUT AVE NW #730
WASHINGTON, DC 20036
NATIONAL COMMUNITY
REINVESTMENT COALITION
727 15TH ST NW #900
WASHINGTON, DC 20005-2129

NATIONAL COMMUNITY
RENAISSANCE OF CALIFORNIA
9065 HAVEN AVE #100
RANCHO CUCAMONGA, CA 91730

NATIONAL CONFLICT
RESOLUTION CENTER
625 BROADWAY #1221
SAN DIEGO, CA 92101-5419
NATIONAL CONSOLIDATED INC
1500 SE THIRD CT #106
DEERFIELD BEACH, FL 33441
NATIONAL CONSUMER LAW CENTER
7 WINTHROP SQUARE 4TH FL
BOSTON, MA 02110-1245
NATIONAL CONSUMER RESOURCE CTR
3700 COCONUT CREEK PKWY #120
COCONUT CREEK, FL 33066
                                       Page 583
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NATIONAL COUNCIL OF LA RAZA
RAUL YZAGUIRRE BLDG
1126 16TH ST NW
WASHINGTON, DC 20036

NATIONAL COUNCIL OF STATE
HOUSING AGENCIES
444 N CAPITOL ST NW #438
WASHINGTON, DC 20001
NATIONAL CUSTOMER SUPPORT CNTR
UNITED STATES POSTAL SERVICE
U.S. POSTAL SERVICE
6060 PRIMACY PKWY STE 201
MEMPHIS, TN 38188-0001

NATIONAL DEBT COUNSELING CORP
PO BOX 1004
SYOSSET, NY 11791
NATIONAL EMPLOYMENT
LAW INSTITUTE
1601 EMERSON ST
DENVER, CO 80218

NATIONAL ENVELOPE AECO LLC
DBA ATLANTIC ENVELOPE COMPANY
PO BOX 951419
DALLAS, TX 75395-1419

NATIONAL ENVELOPE CORPORATION
PO BOX 9171
UNIONDALE, NY 11555-9171

NATIONAL FIELD
REPRESENTATIVES INC
PO BOX 1440
CLAREMONT, NH 03743
NATIONAL FINANCIAL SVCS CORP
ATTN NATHAN THEROUX
82 DEVONSHIRE ST
BOSTON, MA 02109
NATIONAL FOUNDATION
FOR CREDIT COUNSELING
801 ROEDER RD #900
SILVER SPRING, MD 20910-4491
NATIONAL FOUNDATION FOR
ALTERNATIVE CREDIT SOLUTIONS
DEBT MANAGEMENT
14100 58TH ST N
CLEARWATER, FL 33760
NATIONAL FOUNDATION FOR
CREDIT COUNSELING INC
SPRINGBOARD NON PROFIT CC
4351 LATHAM ST
RIVERSIDE, CA 92501
NATIONAL FOUNDATION FOR
                                      Page 584
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NATNL FNDTN FOR CREDIT CSLG INC
CREDIT COUNSELING INC
3670 MAGUIRE BLVD #103
ORLANDO, FL 32803
NATIONAL GAY & LESBIAN
TASK FORCE FOUNDATION
1700 KALORAMA RD NW
WASHINGTON, DC 20009-2624

NATIONAL GAY & LESBIAN
TASK FORCE FOUNDATION
5455 WILSHIRE BLVD #1505
LOS ANGELES, CA 90036

NATIONAL HISPANA
LEADERSHIP INSTITUTE
1601 N KENT ST #803
ARLINGTON, VA 22209

NATIONAL HISPANIC FOUNDATION
FOR THE ARTS
WATERFRONT CENTER
1010 WISCONSIN AVE NW #210
WASHINGTON, DC 20007

NATIONAL HOUSING & COMMUNITY
DEVELOPMENT LAW PROJECT
614 GRAND AVE #320
OAKLAND, CA 94610

NATIONAL HOUSING CONFERENCE INC
1801 K ST NW #M100
WASHINGTON, DC 20006-1301

NATIONAL INSURANCE PRODUCER
REGISTRY
PO BOX 87 6500
KANSAS CITY, MO 64187-6500
NATIONAL JUNIOR BASKETBALL
1038 E BASTANCHURY RD #141
FULLERTON, CA 92835

NATIONAL LOAN EXCHANGE INC
10 SUNSET HILLS
PROFESSIONAL CENTRE
EDWARDSVILLE, IL 62025

NATIONAL LOW INCOME
HOUSING COALITION
727 15TH ST NW 6TH FL
WASHINGTON, DC 20005

NATIONAL MEDICAL RESOURCES
2700 W CYPRESS CREEK RD # D 128
FT LAUDERDALE, FL 33309

NATIONAL MULTIPLE SCLEROSIS
GREATER WASHINGTON CHAPTER
192 NICKERSON ST #100
SEATTLE, WA 98109

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NATIONAL NOTARY ASSOCIATION
PO BOX 4659
CHATSWORTH, CA 91313-4659
NATIONAL OUTDOOR LEADERSHIP SCL
284 LINCOLN ST
LANDER, WY 82520
NATIONAL POLICE DEFENSE FDTN
STATE TROOPERS COALITION
MEMBERSHIP PROCESSING CENTER
PO BOX 318
ENGLISHTOWN, NJ 07726
NATIONAL PRINT GROUP INC
PO BOX 116424
ATLANTA, GA 30368-6424
NATIONAL QUICK CASH
6029 N LINCOLN AVE
CHICAGO, IL 60659

NATIONAL SOCIETY OF
COMPLIANCE PROFESSIONALS INC
22 KENT RD
CORNALL BRIDGE, CT 06754
NATIONAL SOCIETY OF
NATIONAL SOCIETY OF HISPANIC
HISPANIC MBAS
PO BOX 86744
SAN DIEGO, CA 92138

NATIONAL SOCIETY OF HISPANIC
MBAS
1303 WALNUT HILL LANE #100
IRVING, TX 75038

NATIONAL SYSTEMS RESOURCES
DBA NATIONAL DATA CONVERSION
INSTITUTE
41 MADISON AVE
NEW YORK, NY 10010

NATIONAL TAX VERIFICATION
1700 N DIXIE HWY #151
BOCA RATON, FL 33432

NATIONAL TRAINING & INFORMATION
CENTER
810 N MILWAUKEE AVE
CHICAGO, IL 60622
NATIONAL URBAN LEAGUE INC
120 WALL ST
NEW YORK, NY 10005

NATIONAL VALUATION
CONSULTANTS INC
7807 E PEAKVIEW AVE #200
CENTENNIAL, CO 80111
NATIONAL VALUATION GROUP INC
                                       Page 586
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1502 CANOE BROOK
AUSTIN, TX 78746

NATIONS LENDING CORPORATION
7055 ENGLE RD #501
MIDDLEBURG HEIGHTS, OH 44130
NATIONWIDE COMMUNICATIONS
SERVICES LLC
PO BOX 618133
ORLANDO, FL 32861-8133
NATIONWIDE EQUITIES CORPORATION
10 E MERRICK RD #201
VALLEY STREAM, NY 11580

NATIONWIDE TITLE CLEARING INC
2100 ALT 19 N
PALM HARBOR, FL 34683

NATIVE AMERICAN YOUTH AND
FAMILY CENTER
5135 NE COLUMBIA BLVD
PORTLAND, OR 97218

NATL FOUNDATION FOR TEACHING
THE NATIONAL FOUNDATION FOR
ENTREPRENEURSHIP TO HANDICAPPED
7210 RED RD #207
SOUTH MIAMI, FL 33143

NATNL FNDTN FOR CREDIT CSLG INC
CCC OF SAN FRANCISCO & PENINSLA
595 MARKET ST 15TH FL
SAN FRANCISCO, CA 94105

NATNL SCTY OF BLACK ENGINEER UW
DIANE MARTIN ASSOC DIRECTOR
UW CAREER CNTR UNIVERSITY OF WA
134 MARY GATES HALL BOX 352810
SEATTLE, WA 98195-2810

NAUMANN ENTERPRISES INC
WORLDMARK SIGNS
18512 OK MILL RD
SNOHOMISH, WA 98290

NAVIGANT CONSULTING INC
4511 PAYSPHERE CIRCLE
CHICAGO, IL 60674
NAWBO LA ENTERPRISE INSTITUTE
900 WILSHIRE BLVD #404
LOS ANGELES, CA 90017
NAYLOR LLC
PO BOX 847865
DALLAS, TX 75284-7865
NBPTS
1525 WILSON BLVD #500
ARLINGTON, VA 22209

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
NC DEPT OF STATE
UNCLAIMED PROPERTY PROGRAM
325 N SALISBURY ST
RALIEGH, NC 27603-1385
NC4 INC
100 N SEPULVEDA BLVD
EL SEGUNDO, CA 90245-0919

NCB MANAGEMENT SERVICES INC
1 ALLIED DR
TEVOSE, PA 19053
NCC SERVICES LTD
DBA NCC GROUP INC
1731 TECHNOLOGY DR #880
SAN JOSE, CA 95110
NCDOR
NORTH CAROLINA
NORTH CAROLINA DEPT OF REVENUE
PO BOX 25000
RALEIGH, NC 27640
NCO FINANCIAL SYSTEMS INC
ATTN INVESTIGATIVE DIVISION
PO BOX 931064
CLEVELAND, OH 44193

NCO FINANCIAL SYSTEMS INC
11214 RENNER RD
LENEXA, KS 66219

NCP SOLUTIONS INC
PO BOX 550665
JACKSONVILLE, FL 32255-0665
NCR CORPORATION
14181 COLLECTIONS CENTER DR
CHICAGO, IL 60693

ND CHILD SUPPORT
DISBURSEMENT UNIT
PO BOX 7280
BISMARCK, ND 58507-7280
NDNJ INC
28924 WESTERN AVE #100
RANCHO PALOS VERDES, CA 90275
NEAL HIGGINS
DBA REAL ESTATE REPORT FOR
METROPOLITAN PORTLAND OREGON
PO BOX 607
BEAVERTON, OR 97075
NEAL OLVEY
DBA SEARCH AMERICA
PO BOX 871124
MORROW, GA 30287

NEBRASKA CHILD SUPPORT
PO BOX 82890
                                      Page 588
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LINCOLN, NE 68504-2890
NEBRASKA DEPARTMENT OF REVENUE
PO BOX 94818
LINCOLN, NE 68509-4818

NEBRASKA DEPARTMENT OF REVENUE
PO BOX 98923
LINCOLN, NE 68509-8923

NEBRASKA STATE TREASURER
UNCLAIMED PROPERTY DIVISION
CAPITOL BLDG #2003
LINCOLN, NE 68509

NEBRASKA STUDENT LOAN PROGRAM
C/O WINDHAM PROFESSIONALS INC
ATTN WAGE WITHOLDINGS UNIT
380 MAIN ST
SALEM, NH 03079
NEC GROUP INC
9192 S 300 W #3
SANDY, UT 84070

NEC-MISUBISHI ELECTRONICS DISPLAY OF AMERICA, INC.
[Address to Be Provided]

NED-GREEK INC
THE GREEK THEATRE
2700 NORTH VERMONT AVE
LOS ANGELES, CA 90027

NEER APPRAISAL SERVICES
13865 SW 74TH AVE
MIAMI, FL 33158
NEESE REAL ESTATE SERVICES INC
DBA WESTERN STATES MULTIFAMILY
2455 PARLEYS WAY #210
SALT LAKE CITY, UT 84109

NEGLIA APPRAISALS INC
7711 13TH AVE
BROOKLYN, NY 11228
NEIGHBORHOOD CENTERS INC
PO BOX 271389
HOUSTON, TX 77277-1389
NEIGHBORHOOD ECONOMIC
DEVELOPMENT CORPORATION
783 GRANT ST
EUGENE, OR 97402
NEIGHBORHOOD ECONOMIC DVLPMT
ADVOCACY PROJECT INC
73 SPRING ST #506
NEW YORK, NY 10012
NEIGHBORHOOD FUNDERS GROUP
1301 CONNECTICUT AVE NW #500
WASHINGTON, DC 20036
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NEIGHBORHOOD HOUSE INC
JESSE EPSTEIN BLDG
905 SPRUCE ST
SEATTLE, WA 98104

NEIGHBORHOOD HOUSING
SERVICES OF AUSTIN INC
1106 CLAYTON LN #204E
AUSTIN, TX 78723
NEIGHBORHOOD HOUSING
SERVICES OF CHICAGO
1279 N MILWAUKEE 5TH FL
CHICAGO, IL 60622

NEIGHBORHOOD HOUSING
SERVICES OF PHOENIX
1450 E MCDOWELL RD
PHOENIX, AZ 85006
NEIGHBORHOOD HOUSING
SERVICES OF PROVO INC
39 WEST 300 NORTH
PROVO, UT 84601

NEIGHBORHOOD HOUSING
SERVICES OF SAN ANTONIO
851 STEVES AVE
SAN ANTONIO, TX 78210

NEIGHBORHOOD HOUSING SERVICES
OF NEW YORK CITY
2806 CHURCH AVE
BROOKLYN, NY 11226

NEIGHBORHOOD HOUSING SERVICES
OF NEW YORK CITY INC
307 W 36TH ST 12TH FL
NEW YORK, NY 10018

NEIGHBORHOOD HOUSING SERVICES
OF THE INLAND EMPIRE INC
1390 NORTH D ST
SAN BERNARDINO, CA 92405
NEIGHBORHOOD HOUSING SERVICES
198 W LINCOLN AVE 2ND FL
ANAHEIM, CA 92805
NEIGHBORHOOD HOUSING SVC INC
1401 SHORELINE DR
BOISE, ID 83702

NEIGHBORHOOD NONPROFIT
HOUSING CORPORATION
95 W GOLF COURSE RD #104
LOGAN, UT 84321
NEIGHBORHOOD PARTNERSHIP
HOUSING SVCS INC
320 W G ST #103
ONTARIO, CA 91762
                                     Page 590
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NEIGHBORHOOD PARTNERSHIP FUND
1020 SW TAYLOR #680
PORTLAND, OR 97205
NEIGHBORHOOD RECOVERY
COMMUNITY DEVELOPMENT CORP
5445 ALMEDA RD #505
HOUSTON, TX 77004

NEIGHBORHOOD REINVESTMENT CORP
1325 G ST NW #800
WASHINGTON, DC 20005
NEIGHBORS HELPING NEIGHBORS INC
443 39TH ST
BROOKLYN, NY 11232
NEIL GRANER
E G BRENNAN & CO LLC
16116 RUNNYMEDE ST
VAN NUYS, CA 91406

NEIL LASHKARI
2652 N PARISH PL
BURBANK, CA 91504
NEIL MCKLOSKEY TRUSTEE
#08 24241
PO BOX 1863
GREEN BAY, WI 54305
NELDA SOZA
[Address Information Redacted]

NELSON & FRANKENBERGER PC
3105 E 98TH ST #170
INDIANAPOLIS, IN 46280

NELSON COMMERCIAL REAL ESTATE
4201 E YALE AVE #200
DENVER, CO 80222
NELSON MORCIGLIO
234-92 ST
BROOKLYN, NY 11209

NELSON MULLINS
RILEY & SCARBOROUGH LLP
PO BOX 11009
COLUMBIA, SC 29211
NEOIT.COM INC
2603 CAMINO RAMON #200
SAN RAMON, CA 94583
NEOPOST INC
PO BOX 45800
SAN FRANCISCO, CA 94145-0800
NEOPOST LEASING
PO BOX 45822
SAN FRANCISCO, CA 94145-0822
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NERMINKA HASANIC
[Address Information Redacted]
NETCO INC
25775 W 10 MILE RD #C
SOUTHFIELD, MI 48033
NETDESK CORPORATION
601 UNION ST #2700
SEATTLE, WA 98101-2392
NETJETS AVIATION INC
PO BOX 933300
ATLANTA, GA 31193-3300

NETJETS AVIATION INC
PO BOX 933300
ATLANTA, GA 31193-3300

NETJETS AVIATION, INC.
[Address to Be Provided]

NETSOURCE INC
PO BOX 590665
SAN FRANCISCO, CA 94159
NETVERSANT
JOHN CHELSTOWSKI
NETVERSANT SILICON VALLEY
185 E DANA ST
MOUNTAIN VIEW, CA 94041

NETVERSANT
PO BOX 94474
SEATTLE, WA 98124-6774
NETVERSANT NORTHWEST INC
NETVERSANT
PO BOX 94474
SEATTLE, WA 98124-6774

NETWORK ASSOCIATES
[Address to Be Provided]
NETWORK COMMUNICATIONS INC
DBA RELOCATING IN LAS VEGAS
PO BOX 402168
ATLANTA, GA 30384-2168
NETWORK FINANCIAL INC
3252 BONITA RD #C
CHULA VISTA, CA 91910

NETWORK FINANCIAL SERVICES
MORTGAGE CO
3150 ALMADEN EXPY #255
SAN JOSE, CA 95118
NETWORK GLOBAL LOGISTICS
PO BOX 90912
LOS ANGELES, CA 90009

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NETWORK LENDERS OF AMERICA
255 01 NORTHERN BLVD
LITTLE NECK, NY 11363
NETWORK OF CITY BUSINESS JRNLS
DBA CITY BUSINESS JOURNALS NTWK
PO BOX 198809
ATLANTA, GA 30384-8809

NETWORK PROFESSIONALS INC
NETWORK PROFESSIONALS
CAL HARGREAVES
SIGNS BY TOMORROW
31840 US 19 NORTH
PALM HARBOR, FL 34684

NETWORK PROTOCOL SPECIALISTS
PO BOX 938
MAPLE VALLEY, WA 98038

NEUHEISEL LAW FIRM
64 E BROADWAY RD #245
TEMPE, AZ 85282
NEUSTAR INC
C/O BANK OF AMERICA
PO BOX 409915
ATLANTA, GA 30384-9915

NEVADA ASSOCIATION OF HISPANIC
REAL ESTATE PROFESSIONALS
1290 S JONES #150
LAS VEGAS, NV 89146

NEVADA BANKERS ASSOCIATION
3360 W SAHARA AVE #115
LAS VEGAS, NV 89102

NEVADA BELL
PO BOX 989045
WEST SACRAMENTO, CA 95798-9045

NEVADA COUNTY PUBLISHING CO INC
DBA THE UNION
464 SUTTON WAY
GRASS VALLEY, CA 95945

NEVADA DEPARTMENT OF TAXATION
PO BOX 52609
PHOENIX, AZ 85072-2609
NEVADA DEPT OF TAXATION
1550 E COLLEGE PRKY #115
CARSON CITY, NV 89706
NEVADA FAIR HOUSING
3380 W SAHARA #150
LAS VEGAS, NV 89102
NEVADA MICROENTERPRISE
INITIATIVE
1600 E DESERT INN RD #203
LAS VEGAS, NV 89109
                                       Page 593
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NEVADA REAL ESTATE DIVISION
State of Nevada
NEVADA DIVISION OF INSURANCE
PO BOX 98572
LAS VEGAS, NV 89193-8572
NEVADA SECRETARY OF STATE
State of Nevada
NOTARY TRAINING
101 N CARSON ST #3
CARSON CITY, NV 89701-3714
NEVADA UNCLAIMED PROPERTY
555 E WASHINGTON AVE #4200
LAS VEGAS, NV 89101

NEVADAS CENTER FOR
ENTREPENEURSHIP AND TECHNOLOGY
10315 PROFESSIONAL CIRCLE #100
RENO, NV 89521

NEW ACADEMYCANOGA PARK
21425 COHASSET ST
CANOGA PARK, CA 91303

NEW AMERICA ALLIANCE INC
6688 N CENTRAL EXPRESSWAY #625
DALLAS, TX 75206

NEW AMERICAN CHAMBER OF CMMRCE
26 COURT ST #701
BROOKLYN, NY 11242

NEW AVENUES FOR YOUTH
1220 SW COLUMBIA ST
PORTLAND, OR 97201

NEW BEGINNINGS
PO BOX 75125
SEATTLE, WA 98175

NEW BEGINNINGS OF TAMPA INC
1402 E CHILKOOT
TAMPA, FL 33612
NEW BOSTON MORTGAGE CORP
371 MAIN ST
WAKEFIELD, MA 01880
NEW BRUNSWICK EDUCATION
FOUNDATION INC
225 COMSTOCK ST
NEW BRUNSWICK, NJ 08901
NEW BRUNSWICK PARKING AUTHORITY
ONE PENN PLAZA
NEW BRUNSWICK, NJ 08901
NEW BRUNSWICK TOMORROW
390 GEORGE ST
NEW BRUNSWICK, NJ 08901

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NEW CENTURY MORTGAGE CORP
3337 MICHELSON DR #CN 350
IRVINE, CA 92612
NEW CITY TECHNOLOGY LLC
3465 WAIALAE AVE #330
HONOLULU, HI 96816
NEW COMMUNITY CORPORATION
233 W MARKET ST
NEWARK, NJ 07103
NEW CUSTOMER SERVICE CO INC
NATIONAL ELECTRONICS WARRANTY
22660 EXECUTIVE DR #122
STERLING, VA 20166

NEW DESTINY HOUSING CORPORATION
1140 BROADWAY #1002
NEW YORK, NY 10001
NEW ECONOMICS FOR WOMEN
303 S LOMA DR
LOS ANGELES, CA 90017

NEW HAMPSHIRE DEPT OF HEALTH
AND HUMAN SERVICES
REGIONAL PROCESSING CENTER
PO BOX 9501
MANCHESTER, NH 03108-9501

NEW HAMPSHIRE DEPT OF REVENUE
ADMINISTRATION
PO BOX 637
CONCORD, NH 03302-0637

NEW HAMPSHIRE INSURANCE DEPT
21 SOUTH FRUIT ST #14
CONCORD, NH 03301
NEW HOPE HOUSING INC
1117 TEXAS AVE
HOUSTON, TX 77002

NEW HORIZONS
[Address to Be Provided]

NEW JERSEY AFTER 3 INC
391 GEORGE ST
NEW BRUNSWICK, NJ 08901
NEW JERSEY APARTMENT ASSOC
104 INTERCHANGE PLAZA #201
MONROE TOWNSHIP, NJ 08831
NEW JERSEY BLIND CITIZENS ASSN
18 BURLINGTON AVE
LEONARDO, NJ 07737
NEW JERSEY BOARD OF
REAL ESTATE APPRAISERS
124 HALSEY ST 3RD FL
PO BOX 45032
                                       Page 595
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NEWARK, NJ 07101
NEW JERSEY CHAMBER OF COMMERCE
NEW JERSEY CHAMBER OF
216 W STATE ST
TRENTON, NJ 08608
NEW JERSEY CITIZEN ACTION
EDUCATION FUND INC
744 BROAD ST #2080
NEWARK, NJ 07102
NEW JERSEY COPS LLC
PO BOX 543
WOODBINE, NJ 08270

NEW JERSEY DEPARTMENT OF
BANKING AND INSURANCE
ATTN ROSE A STIADIV OF F & A
PO BOX 325
TRENTON, NJ 08625-0325

NEW JERSEY DIVISION OF TAXATION
FLORIDA DEPARTMENT OF REVENUE
CBT REFUND GROUP
PO BOX 259
TRENTON, NJ 08695-0259

NEW JERSEY DIVISION OF TAXATION
REVENUE PROCESSING CENTER
PO BOX 257
TRENTON, NJ 08646-0257

NEW JERSEY DIVISION OF TAXATION
PO BOX 269
TRENTON, NJ 08695-0269
NEW JERSEY FAMILY SPPT PYT CTR
PO BOX 4880
TRENTON, NJ 08650

NEW JERSEY FIREMANS ASSOCIATION
NEW JERSEY DEPT OF INSURANCE
SURPLUS LINES EXAMINING OFFICE
PO BOX 325
TRENTON, NJ 08625-0325

NEW JERSEY HOUSING &
MORTGAGE FINANCE AGENCY
637 S CLINTON AVE
TRENTON, NJ 08611
NEW JERSEY LAWYERS FUND
NEW JERSEY LAW ENFORCEMENT
C/O LOCKBOX
PO BOX 500
NEWARK, NJ 07101-0500

NEW JERSEY LEAGUE OF
COMMUNITY BANKERS
411 NORTH AVE E
CRANFORD, NJ 07016-2436

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NEW JERSEY ORATORS
215 LENOX PL
SOMERSET, NJ 08873
NEW JERSEY PENNSYLNAVIA
REAL ESTATE JOURNAL
DBA MID ATLANTIC REAL ESTATE JL
PO BOX 26
ACCORD, MA 02018

NEW JERSEY PUBLIC SCHOOL ABD
PO BOX 53
TRENTON, NJ 08601-0053
NEW JERSEY STATE
POLICE BENEVOLENT ASSN INC
158 MAIN ST
WOODBRIDGE, NJ 07095
NEW JERSEY STATE ASSOCIATION OF
NJ POLICE CHIEFS FOUNDATION INC
CHIEFS OF POLICE
ONE GREENTREE CENTRE #201
MARLTON, NJ 08053

NEW JERSEY STATE PBA
NEW JERSEY STATE
FEDERAL AGENTS LOCAL 121
PO BOX 355
FRANKLIN, NJ 07416

NEW LIFE CHURCH ANGELA SKILES
740 E LAMBERT RD #E
LA HABRA, CA 90631

NEW MEXICO PUBLIC REGULATION
COMMISSION
CORPORATIONS BUREAU
PO BOX 1269
SANTA FE, NM 87504-1269

NEW MEXICO SECURITIES DIVISION
2550 CERRILLOS RD
SANTA FE, NM 87504
NEW MEXICO TAXATION
& REVENUE DEPARTMENT
PO BOX 25127
SANTA FE, NM 87504-5127
NEW MEXICO TAXATION
AND REVENUE DEPT
UNCLAIMED PROPERTY OFFICE
1200 S ST FRANCIS DR
SANTA FE, NM 87504
NEW ORLEANS EMPLOYEES’ RETIREMENT SYSTEM
[Address to Be Provided]
NEW STAR MORTGAGE INC
23931 HIGHWAY 99 #B
EDMONDS, WA 98026

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NEW VISIONS COMMUNITY
DEVELOPMENT CORP
950 NW 11TH AVE
FT LAUDERDALE, FL 33311
NEW WEST CONSULTING
1855 E SOUTHERN AVE #207
MESA, AZ 85204

NEW YORK AGENCY FOR
COMMUNITY AFFAIRS INC
2 4 NEVINS ST 2ND FL
BROOKLYN, NY 11217
NEW YORK BANKERS ASSN
ATTN WENDY ANDIA
99 PARK AVE
NEW YORK, NY 10016-1502
NEW YORK CARES
214 W 29TH ST 5TH FL
NEW YORK, NY 10001

NEW YORK CITY
DEPT OF FINANCE
PO BOX 5070
KINGSTON, NY 12402-5070

NEW YORK CITY BRD OF EDUCATION
PROFESSIONAL PERFORMING ARTS HS
NYC DEPT OF EDUCATION
P S 279
1070 E 104TH ST
BROOKLYN, NY 11236

NEW YORK CITY MISSION SOCIETY
105 E 22ND ST 6TH FL
NEW YORK, NY 10010

NEW YORK CITY POLICE AND FIRE PENSION FUNDS
[Address to Be Provided]

NEW YORK CITY PUBLIC SCHOOLS
PROFESSIONAL PERFORMING ARTS HS
IS 238 SUSAN B ANTHONY
88 15 182 ST
HOLLIS, NY 11423

NEW YORK COMMUNITY TRUST
AKA COMMUNITY FUNDS INC
909 3RD AVE 22ND FL
NEW YORK, NY 10022
NEW YORK JUNIOR
TENNIS LEAGUE INC
58-12 QUEENS BLVD #1
QUEENS, NY 11377

NEW YORK LAW
ENFORCEMENT FOUNDATION INC
480 PARK AVE
NEW YORK, NY 10022

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NEW YORK LAW PUBLISHING CO
LEADER PUBLICATIONS
DBA INCISIVE MEDIA
REAL ESTATE GROUP
PO BOX 1643
NEW YORK, NY 10008-1643
NEW YORK LAW PUBLISHING COMPANY
DBA ALM MEDIA INC
PO BOX 18114
NEWARK, NJ 07191-8114
NEW YORK MORTGAGE COALITION
50 BROAD ST #1125
NEW YORK, NY 10004

NEW YORK REGISTER OF DEEDS
66 JOHN ST 13TH FL
NEW YORK, NY 10038

NEW YORK STATE
SALES TAX PROCESSING
JAF BLDG PO BOX 1208
NEW YORK, NY 10116-1208

NEW YORK STATE ASSN
FOR AFFORDABLE HOUSING
5925 BROADWAY
BRONX, NY 10463

NEW YORK STATE ASSOC OF AFRICAN
AMERICAN CHAMBER OF COMMERCE
100 STEVENS AVE #202
MOUNT VERNON, NY 10550

NEW YORK STATE BAR ASSOCIATION
ONE ELK ST
ALBANY, NY 12207

NEW YORK STATE COMPTROLLER
OFFICE OF UNCLAIMED FUND
REMITTANCE CONTROL 2ND FL
110 STATE ST
ALBANY, NY 12236
NEW YORK STATE CORP TAX
NYS LLC LLP FEE
NYS ESTIMATED CORPORATION TAX
PO BOX 4136
BINGHAMPTON, NY 13902-4136
NEW YORK STATE CORPORATION TAX
NEW YORK STATE
PO BOX 22038
ALBANY, NY 12201-2038
NEW YORK STATE CORPORATION TAX
NEW YORK STATE
PROCESSING UNIT
PO BOX 22094
ALBANY, NY 12201-2094
NEW YORK STATE DEPARTMENT OF
                                       Page 599
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TAXATION & FINANCE
CIVIL ENFORCEMENT QUEENS D O
80 02 KEW GARDENS RD
KEW GARDENS, NY 11415
NEW YORK STATE DEPT OF
TAXATION & FINANCE
PROCESSING UNIT
PO BOX 1909
ALBANY, NY 12201-1909
NEW YORK STATE DEPT OF
TAXATION & FINANCE
NYS ASSESSMENT RECEIVABLES
PO BOX 4127
BINGHAMTON, NY 13902-4127

NEW YORK STATE SOCIETY OF
NYSSCPA SUFFOLK CHAPTER
CERTIFIED PUBLIC ACCOUNTANTS
3 PARK AVE 18TH FL
NEW YORK, NY 10016

NEW YORK TEACHER
800 TROY SCHENECTADY RD
LATHAM, NY 12110-2455
NEW YORK UNIVERSITY
15 WASHINGTON PL APT 1H
NEW YORK, NY 10003

NEWAY MENGISTU
6702 SELMA AVE
LOS ANGELES, CA 90028

NEWBANKS INC ORLANDO
505 N MILLS AVE #100
ORLANDO, FL 32803

NEWMAN AND NEWMAN LLP
NEWMAN DICHTER LLP
505 5TH AVE S #610
SEATTLE, WA 98104

NEWPORT BEACH
CHAMBER OF COMMERCE
1470 JAMBOREE RD
NEWPORT BEACH, CA 92660

NEWPORT BEACH ASSOCIATION
OF REALTORS
401 OLD NEWPORT BLVD #100
NEWPORT BEACH, CA 92663

NEWPORT BEACH JAYCEES
PO BOX 8956
NEWPORT BEACH, CA 92658

NEWS BROADCAST NETWORK INC
51 LOCUST AVE #203
NEW CANAAN, CT 06840
NEWS MIRROR PUBLISHING INC
                                     Page 600
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YUCAIPA-CALIMESA NEWS-MIRROR
PO BOX 760
YUCAIPA, CA 92399
NEWSED COMMUNITY DEVT CORP
1029 SANTA FE DR
DENVER, CO 80204
NEWSTAPS LLC
7502 GREENVILLE AVE #500
DALLAS, TX 75231
NEXANS INC.
[Address to Be Provided]

NEXERRA FINANCIAL SERVICES INC
62 N SECOND ST
CAMPBELL, CA 95008
NEXIDIA INC
3565 PIEDMONT RD NE BLDG 2 #400
ATLANTA, GA 30305

NEXSEN PRUET ADAMS
KLEEMEIER PLLC
PO DRAWER 2426
CHARLESTON, SC 29202

NEXSORT INC
711 S VERMONT ST
PALATINE, IL 60067
NEXT STEP HOUSING
216 30TH AVE
SEATTLE, WA 98122

NEXTEL COMMUNICATIONS
SPRINT NEXTEL
PO BOX 4181
CAROL STREAM, IL 60197-4181

NEXTIRAONE LLC
21398 NETWORK PL
CHICAGO, IL 60673-1213
NEXXPOST
6111 12TH AVE S
SEATTLE, WA 98108

NIAGARA COUNTY SHERIFFS DEPT
5526 NIAGARA ST EXT
PO BOX 496
LOCKPORT, NY 14095-0496

NICHE PROPERTIES LLC
1855 FELTON ST
SAN DIEGO, CA 92102

NICKLESS VIDEO PRODUCTIONS INC
11575 NE 22 DR
NORTH MIAMI, FL 33181
NICOLE GONZALEZ
                                       Page 601
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
[Address Information Redacted]
NIE SOLUTIONS LP
NEWSPAPER IN EDUCATION
NATIONAL SERVICE CENTER
8301 BROADWAY ST #219
SAN ANTONIO, TX 78209-2066
NIE SOLUTIONS LP
NEWSPAPERS IN EDUCATION
8301 BROADWAY ST #219
SAN ANTONIO, TX 78209
NIELSEN MEDIA RESEARCH
PO BOX 88961
CHICAGO, IL 60695-8961

NIKKEI CONCERNS
1601 E YESLER WAY
SEATTLE, WA 98122-5640
NIKKI TOLT
DBA ACT MEDIATION
9024 W OLYMPIC BLVD #200
BEVERLY HILLS, CA 90211

NIKON AT JONES BEACH THEATER
LIVE NATION
220 W 42ND ST 8TH FL
NEW YORK, NY 10036

NILES HOLMES PC
3131 TURTLE CREEK BLVD #1000
DALLAS, TX 75219

NINON DEROSA
JONATHAN EVANS CLIENT TRUST AC
12711 VENTURA BLVD #440
STUDIO CITY, CA 91604
NINTH HOUSE INC
PO BOX 39000
DEPT 33110
SAN FRANCISCO, CA 94139-3110
NIPA THONGLOM
17432 HORST AVE
ARTESIA, CA 90701

NISHITH DESAI DBA
NISHITH DESAI ASSOCIATES
220 CALIFORNIA AVE #201
PALO ALTO, CA 94306

NIXON PEABODY LLC
ONE EMBARCADERO CENTER
18TH FLOOR
SAN FRANCISCO, CA 94111-3600
NJ FIREMENS MUTUAL
BENEVOLENT ASSOCIATION
1447 CAMPBELL ST
RAHWAY, NJ 07065
                                      Page 602
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NJ POLICE CHIEFS FOUNDATION INC
830 BEAR TAVERN RD #303
W TRENTON, NJ 08628
NKP CAPITAL GROUP INC
732 DIAMOND BAR BLVD #110
DIAMOND BAR, CA 91765

NO BS COURIERS INC
301 RHODE ISLAND ST #B3
SAN FRANCISCO, CA 94103
NO LIMITS THEATER GROUP INC
9801 WASHINGTON BLVD 2ND FL
CULVER CITY, CA 90232

NOBEL NEIGHBORS
1345 N KARLOV AVE
CHICAGO, IL 60651
NOE GADEA DBA
THE SIERRA READER
PO BOX 507
BISHOP, CA 93514

NOH DESIGN LLC
1321 N MILWAUKEE AVE #477
CHICAGO, IL 60622

NOLA J SHEARER-CARSON
DOUG CARSON
332 E SHERWOOD BLVD
BIG BEAR, CA 92314

NOLO
950 PARKER ST
BERKELEY, CA 94710-2524

NOMIS SOLUTIONS INC
1111 BAYHILL DR #230
SAN BRUNO, CA 94066
NON-PROFIT HOUSING ASSOCIATION
OF NORTHERN CALIFORNIA
369 PINE ST #350
SAN FRANCISCO, CA 94104

NONPROFIT RESOURCE CENTER OF TX
3737 BROADWAY #295
SAN ANTONIO, TX 78209
NOR-CAL MOVING SERVICES
2001 MARINA BOULEVARD
SAN LEANDRO, CA 94577-3204
NORCO DELIVERY SERVICE INC
DBA NORCO DELIVERY SERVICES
PO BOX 4836
ANAHEIM, CA 92803

NORCO INC
PO BOX 15299
                                       Page 603
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BOISE, ID 83715
NORKOM TECHNOLOGIES INC
260 FRANKLIN ST
BOSTON, MA 02110

NORLEASE INC
50 S. LASALLE STREET
CHICAGO, IL 60603

NORRIS MCLAUGHLIN & MARCUS PA
721 ROUTE 202-206
PO BOX 1018
SOMERVILLE, NJ 08876-1018

NORSTAN COMMUNICATIONS INC
SDS 12-0976
PO BOX 86
MINNEAPOLIS, MN 55486-0976

NORTH AMERICAN CONSUMER CREDIT
CREDIT SERVICE
1761 W HILLSBORO BLVD STE 402
DEERFIELD BEACH, FL 33442

NORTH AMERICAN HOME LOANS INC
1400 ABBOTT RD
EAST LANSING, MI 48823

NORTH AMERICAN MEMBERSHIP GROUP
ATTN TONY DEFRANCE
12301 WHITEWATER DRIVE
MINNETONKA, MN 55343

NORTH AMERICAN PRECIS SYNDICATE
EMPIRE STATE BLDG
350 5TH AVE #6500
NEW YORK, NY 10118

NORTH AMERICAN PRESORT
Action Courier & Logistics LLC
PO BOX 218908
HOUSTON, TX 77218

NORTH AMERICAN SECURITIES
ADMINISTRATIVE ASSOCIATION
750 1ST ST #1140
WASHINGTON, DC 20002

NORTH AMERICAN TITLE
760 NW 107 AVE #100
MIAMI, FL 33172
NORTH AMERICAN TITLE CO
NORTH AMERICAN TITLE
1461 N DALY ST #B
ANAHEIM, CA 92806

NORTH AVENUE COLLECTION PARKING
939 W NORTH AVE
CHICAGO, IL 60622-7138
NORTH BEACH
                                       Page 604
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4425 N CROATAN HWY MP3
KITTY HAWK, NC 27949

NORTH BREVARD COUNTY BRANCH
NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE
NORTH BREVARD NAACP PO BOX 957
TITUSVILLE, FL 32781-0957

NORTH CAROLINA ASSN
OF MORTGAGE PROFESSIONALS
3901 BARRETT DR #202
RALEIGH, NC 27609
NORTH CAROLINA CHILD SUPPORT
CENTRALIZED COLLECTIONS
PO BOX 900012
RALEIGH, NC 27675-9012
NORTH CAROLINA DEPT OF REVENUE
PO BOX 25000
RALEIGH, NC 27640-0500

NORTH CENTRAL HOME BUILDERS ASC
PO BOX 2065
WENATCHEE, WA 98807-2065
NORTH CENTRAL WASHINGTON ASSOC
WENATCHEE MULTIPLE LISTING SVC
OF REALTORS
1556 N WENATCHEE AVE #A
WENATCHEE, WA 98801

NORTH COLUMBIA COMMUNITY
ACTION COUNCIL INC
903 W 3RD AVE
MOSES LAKE, WA 98837

NORTH COUNTY INTERFAITH COUNCIL
430 N ROSE
ESCONDIDO, CA 92027

NORTH DAKOTA SECRETARY OF STATE
PO BOX 5513
BISMARCK, ND 58505-5513
NORTH EAST INDEPENDENT
SCHOOL DISTRICT
8961 TESORO DR #317
SAN ANTONIO, TX 78217
NORTH JERSEY CHAMBER OF COMMRCE
NORTH ESSEX CHAMBER OF COMMERCE
BIZ EXPO
3 FAIRFIELD AVE
WEST CALDWELL, NJ 07013

NORTH JERSEY CHAMBER OF COMMRCE
1033 RT 46 E
CLIFTON, NJ 07013

NORTH JERSEY MEDIA GROUP
NORTH JERSEY MEDIA GROUP INC
                                       Page 605
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1 GARRETT MOUNTAIN PLAZA
PO BOX 471
W PATERSON, NJ 07424-0471
NORTH JERSEY MEDIA GROUP INC
ATTN: CASH DEPT
150 RIVER ST
HACKENSACK, NJ 07601-7172

NORTH PALM BEACH COUNTY
CHAMBER OF COMMERCE
800 N HIGHWAY ONE
JUPITER, FL 33477
NORTH POP WARNER FOOTBALL INC
DBA NORTH ASSOCIATION
PO BOX 42357
PHOENIX, AZ 85080
NORTH PUGET SOUND
ASSN OF REALTORS
525 E COLLEGE WAY #J
MOUNT VERNON, WA 98273
NORTH RIVER COMMISSION
3403 W LAWRENCE AVE #201
CHICAGO, IL 60625

NORTH SAN ANTONIO
CHAMBER OF COMMERCE
12930 COUNTRY PRKY
SAN ANTONIO, TX 78216

NORTH SEATTLE CC FOUNDATION DBA
AMERICAN FINANCIAL SOLUTIONS
AMERICAN FINANCIAL SOLUTIONS
PO BOX 30367
DEPT 142
CHARLOTTE, NC 28230
NORTH SEATTLE COMMUNITY
AMERICAN FINANCIAL SOLUTIONS
COLLEGE FOUNDATION DBA
AMERICAN FINANCIAL SOLUTIONS
2815 2ND AVE #280
SEATTLE, WA 98121

NORTH STAR MORTGAGE GROUP INC
9333 BELAIR RD
BALTIMORE, MD 21236
NORTH STATE BUILDING
INDUSTRY ASSOCIATION
1536 EUREKA RD
ROSEVILLE, CA 95661
NORTH TEXAS HOUSING
COALITION INC
2900 LIVE OAK ST 2ND FL
DALLAS, TX 75204

NORTH VALLEY FINANCIAL SERVIC
1699 N CAPITOL AVE #3
                                       Page 606
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SAN JOSE, CA 95132
NORTH VALLEY REGIONAL CHAMBER
OF COMMERCE
9401 RESEDA BLVD #100
NORTHRIDGE, CA 91324
NORTH WIND CONSULTANTS
25 UPPER DOWNS DR
DANIELSON, CT 06239
NORTHCOAST WASHINGTON LLC
DBA THE ROOSEVELT
1531 SEVENTH AVE
SEATTLE, WA 98101

NORTHEAST COALITION
OF NEIGHBORHOODS
4815 NE 7TH AVE
PORTLAND, OR 97211
NORTHEAST DENVER
HOUSING CENTER INC
1735 GAYLORD ST
DENVER, CO 80206

NORTHERN CALIF CHAPTR OF SIOR
SOCIETY OF INDUSTRIAL
35180 MAIDSTONE CRT
NEWARK, CA 94560

NORTHERN CALIFORNIA
COMMUNITY LOAN FUND
870 MARKET ST #677
SAN FRANCISCO, CA 94102

NORTHERN CALIFORNIA
LAND TRUST INC
3126 SHATTUCK AVE
BERKELEY, CA 94705

NORTHERN CALIFORNIA GRANTMAKERS
625 MARKET ST 15TH FL
SAN FRANCISCO, CA 94105
NORTHERN CALIFORNIA HUMAN
NORTHERN CALIFORNIA
RESOURCES ASSOC
425 CALIFORNIA ST #500
SAN FRANCISCO, CA 94104
NORTHERN ILLINOIS
REAL ESTATE MAGAZINE
1244 STATE ST #351
LEMONT, IL 60439
NORTHERN ILLINOIS UNIVERSITY
ALUMNI ASSOCIATION
231 N ANNIE GLIDDEN RD
DEKALB, IL 60115

NORTHERN MANHATTAN
IMPROVEMENT CORP
                                       Page 607
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76 WADSWORTH AVE
NEW YORK, NY 10033

NORTHERN MANHATTAN COALITION
FOR ECONOMIC DEVELOPMENT
600 W 185TH ST 2ND FL
NEW YORK, NY 10033
NORTHERN TRUST COMPANY
350 NORTH ORLEANS
CHECK ADJUSTMENTS 9TH FL
CHICAGO, IL 60654
NORTHGATE CHAMBER OF COMMERCE
NORTHGATE FESTIVAL
11301 3RD AVE
SEATTLE, WA 98125
NORTHPOINT ESCROW & TITLE LLC
14450 NE 29TH PL #200
BELLEVUE, WA 98007

NORTHSIDE INDEPENDENT SCHOOL
WARREN HIGH SCHOOL
DISTRICT
5900 EVERS RD
SAN ANTONIO, TX 78238

NORTHSTAR ENTERPRISES, LLC
109 N. STREET
DANBURY, CT 06810
NORTHSTAR FINANCIAL GROUP INC
NORTHSTAR LENDING
920 ALDER AVE #202B
SUMNER, WA 98390
NORTHWAY FINANCIAL CORP
200 15225 104 AVE
SURREY, BC V3R 6Y8 CANADA

NORTHWAY FINANCIAL CORP LTD
PO BOX 1216
OAKS, PA 19456
NORTHWEST ASIAN WEEKLY FDN
412 MAYNARD AVE
SEATTLE, WA 98104

NORTHWEST BASKETBALL INC
20912 35TH DR SE
BOTHELL, WA 98021
NORTHWEST BUSINESS FOR
CULTURE & THE ARTS
224 NW 13TH AVE #303
PORTLAND, OR 97209

NORTHWEST CHILDRENS FUND
2100 24TH AVE SOUTH #320
SEATTLE, WA 98144
NORTHWEST COMMUNITY
                                     Page 608
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LAND TRUST COALITION
215 W HOLLY ST # H 20
BELLINGHAM, WA 98225
NORTHWEST CONSTRUCTION MGMT INC
PO BOX 3885
WILSONVILLE, OR 97070
NORTHWEST HOUSING ALTERNATIVES
2316 SE WILLARD ST
MILWAUKIE, OR 97222
NORTHWEST MEDIA INC
NORTHWEST MEDIA LP
DBA PENINSULA DAILY NEWS
ADVERTISING
PO BOX 1425
PORT ANGELES, WA 98362-0262
NORTHWEST REAL ESTATE MEDIA INC
KITSAP PENINSULA
REAL ESTATE GUIDE
7136 WINDFLOWER PL
SEABECK, WA 98380

NORTHWEST SOFTWARE INC
1800 NW 169TH PL #150B
BEAVERTON, OR 97006

NORTHWEST WASHINGTON SYNOD
EVANGELICAL LUTHRAN CHURCH
HOLY TRINITY LUTHERAN CHURCH
8501 SE 40TH ST
MERCER ISLAND, WA 98040

NORTHWESTERN FINANCIAL CORP
39111 SIX MILE RD
LIVONIA, MI 48152

NORTHWOOD RENAISSANCE INC
510 24TH ST
WEST PALM BEACH, FL 33407
NORWALK POLICE DEPARTMENT
ONE MONROE ST
NORWALK, CT 06854

NOT QUITE CATERING
3226 42ND AVE SW
SEATTLE, WA 98116
NOTARY PUBLIC ASSOCIATION
PO BOX 1101
CRYSTAL LAKE, IL 60039-1101
NOTARY PUBLIC UNDERWRITERS INC
PO BOX 5378
TALLAHASSEE, FL 32314-5378
NOTEWORLD PROCESSING CENTER
320 SW UPPER TERRACE DR #102
BEND, OR 97702

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NOTIFICATION SYSTEMS INC DBA
EARNS
1650 W 82ND ST #7OO
MINNEAPOLIS, MN 55431-1459
NOVA CONSULTING GROUP INC
PO BOX 1450 NW#7734
MINNEAPOLIS, MN 55485-7734

NOVANTAS LLC
485 LEXINGTON AVE
NEW YORK, NY 10017
NOVASOFT INFORMATION TECHNOLOGY
GROUP INC   ACCTS RECV
DBA MORTGAGEHUB.COM
275 NE VENTURE DR
WAUKEE, IA 50263
NOVATO CHAMBER OF COMMERCE
807 DE LONG AVE
NOVATO, CA 94945

NOVATOO INC
NOVATOO AUDIO VISUAL
PO BOX 88478
CAROL STREAM, IL 60188-8478

NOVIA REALTY & FINANCIAL INC
CITY FINANCIAL NETWORK
3111 MCLAUGHLIN AVE
SAN JOSE, CA 95121

NOVITT SAHR & SNOW LLP
80 02 KEW GARDENS RD #1010
KEW GARDENS, NY 11415
NOVOGRADAC & COMPANY LLP CPA'S
NOVOGRADAC & COMPANY LLP CPA&#39S
246 1ST ST 5TH FL
SAN FRANCISCO, CA 94105

NPRA
PO BOX 755
GARDEN GROVE, CA 92842
NTA INC
305 N OAKLAND AVE
NAPPANEE, IN 46550
NTL ASSOC OF INVESTORS CORP
DBA BETTERINVESTING
711 W 13 MILE RD
MADISON HTS, WI 48071
NTL ASSOC OF INVESTORS CORP
PUGET SOUND CHAPTER
DBA BETTERINVESTING
2131 163RD ST SE
MILL CREEK, WA 98012

NTL ASSOC OF WOMEN BSNS OWNERS
DBA NAWBO LI
                                       Page 610
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1225 FRANKLIN AVE #325
GARDEN CITY, NY 11530

NTL INSTITUTE
300 N LEE ST #300
ALEXANDRIA, VA 22314
NUCO2 INC
PO BOX 9011
STUART, FL 34995
NUMERIC LLC
5 CHRISTY DR
BRANDYWINE BLDG 2 #107
CHADDS FORD, PA 19317

NYASCO PRODUCTS INC
248-45 JAMAICA AVE
BELLEROSE, NY 11426

NYC DEPARTMENT OF FINANCE
PO BOX 5040
KINGSTON, NY 12402-5040
NYC DEPARTMENT OF FINANCE
PO BOX 5150
KINGSTON, NY 12402-5150

NYC HISPANIC CHAMBER
OF COMMERCE
159 E 116TH ST #2
NEW YORK, NY 10029

NYCE PAYMENTS NETWORK LLC
ACCOUNTING DEPARTMENT
BOX 88041
MILWAUKEE, WI 53288-0041

NYCE PAYMENTS NETWORK LLC
ACCOUNTING DEPT
BOX 88041
MILWAUKEE, WI 53288-0041
NYCE PAYMENTS NETWORK LLC
2420 SWEET HOME RD #100
AMHERST, NY 14228-2243

NYS ASSESSMENT RECEIVABLES
PO BOX 4127
BINGHAMTON, NY 13902-4127
NYS CHILD SUPPORT
PROCESSING CENTER
PO BOX 15363
ALBANY, NY 12212-5363
NYS CHIROPRACTIC ASSOCIATION
DISTRICT 6
DR JACKLYN J NORGAN NYSCA EVENT
25 BELLMORE RD
LEVITTOWN, NY 11756
NYS HIGHER EDUCATION
                                       Page 611
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SERVICES CORPORATION
PO BOX 1290
NEWARK, NJ 07101-1290
NYS LLC LLP FEE
STATE PROCESSING CENTER
PO BOX 22076
ALBANY, NY 12201-2076

NYSE MARKET INC
BOX #4006
PO BOX 8500
PHILADELPHIA, PA 19178-4006
NYSHESC
AWG LOCKBOX
GPO
PO BOX 1290
NEWARK, NJ 07101-1290

NYSSCPA SUFFOLK CHAPTER
C/O HOLTZ RUBENSTEIN & CO
125 BAYLIS RD
MELVILLE, NY 11747

NYT MANAGEMENT SERVICES INC DBA
THE PRESS DEMOCRAT
SUBSCRIPTION
PO BOX 30140
LOS ANGELES, CA 90030-0140

O MORRIS SIEVERT
6693 CAMINITO HERMITAGE
LA JOLLA, CA 92037

OACHITA COUNTY RECORDS
145 JEFFERSON ST
CAMDEN, AR 71711

OAK BROOK CHAMBER OF COMMERCE
619 ENTERPRISE DR #100
OAK BROOK, IL 60523
OAK GROVE INSTITUTE FOUNDATION
24275 JEFFERSON AVE
MURRIETA, CA 92562

OAK HILL COMMUNITY DEVELOPMENT
NEIGHBORWORKS HOMEOWNERSHIP
CENTER OF WORCESTER
74 PROVIDENCE ST
WORCESTER, MA 01543
OAK HILL TECHNOLOGY INC
DBA PROMETRIC
4544 S LAMAR #710
AUSTIN, TX 78745

OAK PARK HOUSING CENTER
1041 SOUTH BLVD
OAK PARK, IL 60302
OAKDALE CHAMBER OF COMMERCE
                                       Page 612
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1311 MONTAUK HWY
OAKDALE, NY 11769

OAKDALE CHAMBER OF COMMERCE
590 N YOSEMITE AVE
OAKDALE, CA 95361
OAKDALE EDUCATIONAL FOUNDATION
1570 EAST F ST
OAKDALE, CA 95361
OAKHURST AREA CHAMBER
OF COMMERCE
49074 CIVIC CIR
OAKHUST, CA 93644

OAKLAND ASIAN STUDENTS
EDUCATIONAL SERVICES
PO BOX 31624
OAKLAND, CA 94607
OAKLAND COMMUNITY ORGANIZATION
7200 BANCROFT AVE #2
EASTMONT MALL UPPER LEVEL
OAKLAND, CA 94605

OAKLAND POLICE DEPT
PO BOX 60000
SAN FRANCISCO, CA 94607

OAKLAND UNIFIED SCHOOL DISTRICT
LAKEVIEW ELEMENTARY SCHOOL
EMERSON ELEMENTARY
4803 LAWTON AVE
OAKLAND, CA 94609

OAKLEY CHAMBER OF COMMERCE
OAKLEY ELEMENTARY SCHOOL
PO BOX 1340
OAKLEY, CA 94561

OAKLEY CHAMBER OF COMMERCE
PO BOX 1340
OAKLEY, CA 94561-1340
OAKSTONE CONSTRUCTION INC
4065 YOSEMITE PL
PLACERVILLE, CA 95667

OASIS COMPASSION AGENCY INC
4888 10TH AVE N
GREENACRES, FL 33463
OBERTHUR TECHNOLOGIES OF AMERCA
NW 5118
PO BOX 1450
MINNEAPOLIS, MN 55485-5118

OBLIX, INC NKA ORACLE
[Address to Be Provided]

OBSERVER MEDIA GROUP
2330 ALHAMBRA BLVD
                                       Page 613
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SACRAMENTO, CA 95817
OCAJ INC
333 W BROADWAY #101
LONG BEACH, CA 90802-4437

OCE BUSINESS SERVICES INC
PHIL MARTIE
855 AVENUE OF THE AMERICAS
NEW YORK, NY 10001
OCE BUSINESS SERVICES INC
12534 COLLECTIONS CTR DR
CHICAGO, IL 60693

OCE BUSINESS SERVICES, INC.
[Address to Be Provided]
OCE FINANCIAL SERVICES INC
13824 COLLECTIONS CTR DR
CHICAGO, IL 60693

OCE IMAGISTICS INC
NORTHWEST BUSINESS SYSTEMS
PO BOX 856193
LOUISVILLE, KY 40285-6193
OCE NORTH AMERICA INC
12379 COLLECTIONS CTR DR
CHICAGO, IL 60693

OCEAN BAY COMMUNITY
DEVELOPMENT CORP
434 BEACH 54TH ST
GROUND FLOOR
ARVERNE, NY 11692
OCEAN INSTITUTE
24200 DANA POINT HARBOR DR
DANA POINT, CA 92629

OCEAN MORTGAGE INC
11455 EL CAMINO REAL   #120
SAN DIEGO, CA 92130
OCEANSIDE CULTURAL ARTS FDTN
PO BOX 3054
OCEANSIDE, CA 92051

OCI PARTNERS
PO BOX 464
ALBION, NY 14411
OCTAVIO GUAJARDO
LAW OFFICE OF ARNOLD LEVEY
11103 SAN PEDRO AVE #103
SAN ANTONIO, TX 78216

ODETTE MORTGAGE GROUP
ODETTE AND ASSOCIATES INC
600 LAKE BLVD
TAHOE CITY, CA 96145

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ODETTE PANOSSIAN DBA
RUBINS CUSTOM CORP CATERING
PO BOX 191463
SAN FRANCISCO, CA 94119-1463
ODONNELL FINANCIAL GROUP
GREGORY CHARLES ODONNELL
900 LARKSPUR LANDING CIR #150
LARKSPUR, CA 94939

OFC OF THE CHAPTER 13 TRUSTEE
PO BOX 1717
BRUNSWICK, GA 31521
OFFICE DEPOT
OFFICE DEPOT INC
PO BOX 70025
LOS ANGELES, CA 90074-0025
OFFICE DEPOT INC
PO BOX 70025
SANTA ANA, CA 92725

OFFICE OF
CHAPTER 13 TRUSTEE
1899 PAYSPHERE CIRCLE
CHICAGO, IL 60674

OFFICE OF ATTORNEY GENERAL
DREW EDMONDSON
TRACR 313 NE 21ST ST
OKLAHOMA CITY, OK 73105

OFFICE OF CAREER SVCS EVENTS
NYS LLC LLP FEE
JOBS & INTERNSHIP FAIR REG
SUNY COLLEGE AT BROCKPORT
350 NEW CAMPUS DR
BROCKPORT, NY 14420
OFFICE OF CHILD SUP EN-PIERRE
700 GOVERNORS ST
PIERRE, SD 57501

OFFICE OF RECOVERY-SALT L
PO BOX 45011
SALT LAKE CITY, UT 84145

OFFICE OF RURAL AND
FARMWORKER HOUSING
1400 SUMMITVIEW AVE #203
YAKIMA, WA 98902
OFFICE OF SUPERINTENDENT
THE PROFESSIONAL EDUCATOR
OF PUBLIC INSTRUCTION
OLD CAPITOL BLDG
PO BOX 47200
OLYMPIA, WA 98504-7200
OFFICE OF SUPERINTENDENT
THE PROFESSIONAL EDUCATOR
OF PUBLIC INSTRUCTION
                                     Page 615
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1210 EASTSIDE ST 1ST FL
OLYMPIA, WA 98504-0909

OFFICE OF THE ATTORNEY GENERAL
TX CHILD SUPPORT SDU
PO BOX 659791
SAN ANTONIO, TX 78265-9791
OFFICE OF THE D A STOCKTON
FAMILY SUPPORT DIVISION
PO BOX 50
STOCKTON, CA 95201
OFFICE OF THE TRUSTEE
PO BOX 420
MEMPHIS, TN 38101-0420

OFFICE OF THRIFT SUPERVISION
ATTN PLANNING BUDGET & FINANCE
1700 G ST NW
WASHINGTON, DC 20552

OFFICE OF THRIFT SUPERVISION
ATTN: DINAH CHUAKAY
PO BOX 7165
SAN FRANCISCO, CA 94120-7165
OFFICE OF THRIFT SUPERVISION
2001 JUNIPERO SERRA BLVD #650
DALY CITY, CA 94014-1976

OFFICE TIMESAVERS LLC
1 DANIEL BURNHAM CT #310C
SAN FRANCISCO, CA 94109

OFFICER EDWARD AJAMIAN
477 KENNEDY BLVD
BAYONNE, NJ 07002

OFFICER RICHARD ANTERO
MORRIS CTY SUPERIOR COURT
PO BOX 65
GREENDELL, NJ 07839

OGDEN CITY CORPORATION
2549 S WASHINGTON BLVD #240
OGDEN, UT 84401

OGLETREE DEAKINS NASH
SMOAK & STEWART PC
PO BOX 89
COLUMBIA, SC 29202
OHIO ASSOCIATION
OF MORTGAGE BROKERS
150 BANCORP BLDG
5686 DRESSLER RD NW
NORTH CANTON, OH 44720
OHIO CHILD SUPT PAYMENT CENTRAL
PO BOX 182394
COLUMBUS, OH 43218

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OHIO DEPARTMENT OF COMMERCE
OHIO DIVISION OF REAL ESTATE
DIVISION OF UNCLAIMED FUNDS
77 SOUTH HIGH ST, 20TH FL
COLUMBUS, OH 43215-6108

OHIO DEPARTMENT OF TAXATION
DISSOLUTION UNIT
PO BOX 182382
COLUMBUS, OH 43218-2382
OJAI VALLEY CHAMBER OF COMMERCE
PO BOX 1134
OJAI, CA 93024-1134

OJAI VALLEY YOUTH FOUNDATION
201 CHURCH RD
OJAI, CA 93023
OK GUARANTEED STUDENT LOAN
PO BOX 3010
OKLAHOMA CITY, OK 73101-3010

OKANOGAN COUNTY COMMUNITY
ACTION COUNCIL
PO BOX 1067
OKANOGAN, WA 98840

OKANOGAN COUNTY RECORDS
149 3RD AVE N RM 104
OKANOGAN, WA 98840
OKLAHOMA CLOSING & TITLE SRVCS
601 S HUSBAND
PO BOX 2042
STILLWATER, OK 74074
OKLAHOMA SECRETARY OF STATE
2300 N LINCOLN BLVD RM 101
OKLAHOMA CITY, OK 73105-4897

OKLAHOMA STATE TREASURER
UNCLAIMED PROPERTY DIVISION
4545 N LINCOLN BLVD #106
OKLAHOMA CITY, OK 73105-3413
OKLAHOMA SUPPORT REGISTRY
PO BOX 268809
OKLAHOMA CITY, OK 73126
OKLAHOMA TAX COMMISSION
FRANCHISE TAX
PO BOX 26930
OKLAHOMA CITY, OK 73126-0930
OKLAHOMA TAX COMMISSION
PO BOX 26920
OKLAHOMA CITY, OK 73126
OLD REPUBLIC
307 NORTH MICHIGAN AVE
CHICAGO, IL 60601

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OLD REPUBLIC NANL TITLE INS CO
8850 STANFORD BLVD #2900
COLUMBIA, MD 21045
OLD REPUBLIC NATIONAL TITLE
OLD REPUBLIC NANL TITLE INS CO
100 S ASHLEY DR #700
TAMPA, FL 33602

OLD REPUBLIC TITLE COMPANY
OLD REPUBLIC NANL TITLE INS CO
OF ST LOUIS
620 N MCKNIGHT RD
ST LOUIS, MO 63132-4911

OLD REPUBLIC TITLE COMPANY
OLD REPUBLIC NANL TITLE INS CO
183 PLACERVILLE DR
PLACERVILLE, CA 95667

OLD REPUBLIC TITLE COMPANY
OLD REPUBLIC NANL TITLE INS CO
450 MAIN ST #100
PLEASANTON, CA 94566

OLD REPUBLIC TITLE LTD
OLD REPUBLIC NANL TITLE INS CO
4114 198TH ST SW #4
LYNNWOOD, WA 98036

OLD TIMERS ATHLETIC ASSOCIATION
OF GREENWICH
PO BOX 558
GREENWICH, CT 06830

OLD TOWN DELI
GOLDEN STAR CATERING
343 MAIN ST
SALINAS, CA 93901
OLIGOPOLY PRODUCTIONS INC
2401 PACIFIC COAST HWY #202
HERMOSA BEACH, CA 90254

OLIVE GARDEN
2405 IRON POINT RD
FOLSOM, CA 95630

OLIVER HOLT SONS & DAUGHTERS
CHRISTMAS TREES
8611 AMESTOY AVE
NORTHRIDGE, CA 91325
OLIVER WYMAN
PO BOX 3800 28
BOSTON, MA 02241

OLSEN OLSEN & DAINES
PO BOX 12829
SALEM, OR 97309

OLYMPIA INC
9400 PENFIELD
                                       Page 618
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CHATSWORTH, CA 91311
OLYMPIA THURSTON COUNTY MLSA
4405 7TH AVE SSE #100
LACEY, WA 98503

OLYMPIA-THURSTON COUNTY
ASSOCIATION OF REALTORS
510 STOLL RD
OLYMPIA, WA 98503
OLYMPIAWEST MORTGAGE GROUP INC
8383 WILSHIRE BLVD #412
BEVERLY HILLS, CA 90211

OLYMPIC MORTGAGE CORP
1313 OSBORN RD #250
PHOENIX, AZ 85014
OLYMPIC REPROGRAPHICS
2730 OCCIDENTAL AVE S
SEATTLE, WA 98134

OLYMPIC VIEW PUBLISHING CO LLC
PO BOX 1750
SEQUIM, WA 98382
OLYMPUS PRESS INC
3400 S 150TH ST
SEATTLE, WA 98188

OMALLEYS FLOWER MILL
169 W BONITA AVE
SAN DIMAS, CA 91773

OMAR PROVOST GUARD SHRINERS
PO BOX 13588
FLORENCE, SC 29504-1588

OMEGA EDUCATIONAL FOUNDATION
PO BOX 91302
LOS ANGELES, CA 90009
OMEGA PERFORMANCE CORP
PO BOX 3578
BOSTON, MA 02241-3578

OMELVENY & MYERS LLP
PO BOX 894436
LOS ANGELES, CA 90189-4436
OMGEO LLC
2967 COLLECTIONS CENTER DR
CHICAGO, IL 60693
OMNI TRAINING CORP
JAMES E MAHFOOD
25283 CABOT RD #116
LAGUNA HILLS, CA 92653
OMNIRIM SOLUTIONS INC
1066 W HASTINGS ST #2400
CANADA
                                      Page 619
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VANCOUVER, WA V6E 3X1
OMOSAZE INC
4585 KINSDALE DR
MABLETON, GA 30126

ON HOLD CONCEPTS INC
7121 27TH ST W
TACOMA, WA 98466-4623

ONE CHILD AT A TIME
LEARNINGINSTITUTE
5619 LANKERSHIM BLVD #172
N HOLLYWOOD, CA 91601

ONE ECONOMY CORPORATION
1220 19TH ST NW #610
WASHINGTON, DC 20036
ONE IN A MILLION
DELIVERY SERVICE
1556 HALFORD AVE #171
SANTA CLARA, CA 95051
ONE LEGACY
DBA DONATE LIFE
PO BOX 5410
FULLERTON, CA 92838

ONE LEGAL INC
504 REDWOOD BLVD #223
NAVATO, CA 94947

ONE REEL
100 S KING ST #100
SEATTLE, WA 98104
ONEPASS SOFTWARE INC
1500 ONEPASS DR
WHITE SULPHUR SPRINGS, WV 24986-9738

ONESOURCE BUILDING SERVICE INC
FILE #53673
LOS ANGELES, CA 90074-3673
ONI STOCKTON INC
THE STOCKTON RECORD
THE RECORD TSR SR
PO BOX 7024
CHICOPEE, MA 01021-7024
ONLINE COMMUNITY RESOURCES INC
PO BOX 3286
1211 WASHINGTON
LA GRANDE, OR 97850
ONLINE DATA EXCHANGE DBA
E OSCAR WEB
DEPT 224501
PO BOX 55000
DETROIT, MI 48255-2245
ONLINE DATA EXCHANGE LLC
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ONLINE DATA EXCHANGE DBA
DBA E OSCAR WEB
DEPT 224501
PO BOX 55000
DETROIT, MI 48255-2245

ONLINE RESOURCES CORPORATION
ACCOUNTS RECEIVABLE
PO BOX 630139
BALTIMORE, MD 21263-0139
ONREQUEST IMAGES
1415 WESTERN AVE #300
SEATTLE, WA 98101

ON-SITE SOURCING INC
2016 PAYSPHERE CIRCLE
CHICAGO, IL 60674
ON-SITE SOURCING INC
2016 PAYSPHERE CIRCLE
CHICAGO, IL 60674

ONTARIO CHAMBER OF COMMERCE
500 EAST E ST #200
ONTARIO, CA 91764
ONTARIO COUNTY CLERK
20 ONTARIO ST
CANANDAIGUA, NY 14424

ONTARIO HISPANIC CHAMBER
OF COMMERCE
214 S EUCLID AVE #108
ONTARIO, CA 91762

ONTARIO TEACHERS PENSION PLAN
[Address to Be Provided]

ONTRACK DATA INTERNATIONAL
9023 COLUMBINE RD
EDEN PRAIRIE, MN 55347
OPA LOCKA COMMUNITY
DEVELOPMENT CORPORATION
490 OPA LOCKA BLVD #20
OPA LOCKA, FL 33054

OPEN PAGES INC
201 JONES RD
WALTHAM, MA 02451
OPEN SOFTWARE TECHNOLOGIES INC
PO BOX 162652
ALTAMONTE SPRINGS, FL 32716-2652
OPEN TEXT CORPORATION
PO BOX 66512 AMF O'HARE
CHICAGO, IL 60666-0512
OPENAIR COM INC
BILLING ACCOUNT
PO BOX 51392
                                        Page 621
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BOSTON, MA 02205
OPENPAGES, INC.
[Address to Be Provided]
OPERA NOIR
PO BOX 57769
SHERMAN OAKS, CA 91413

OPERATIONAL RISKDATA EXCHANGE
ASSOCIATION
C/O LENZ & STAEHELIN
BLEICHERWEG 58 CH 8027
ZURICH,   SWITZERLAND

OPEX CORPORATION
305 COMMERCE DR
MOORESTOWN, NJ 08057-4234
OPEX CORPORATION
305 COMMERCE DR
MOORESTOWN, NJ 08057-4234

OPINION RESEARCH NORTHWEST
225 N 9TH ST #200
BOISE, ID 83702
OPPORTUNITY FINANCE CORPORATION
PUBLIC LEDGER BUILDING
620 CHESTNUT ST #572
PHILADELPHIA, PA 19106
OPPORTUNITY KNOCKS
86 SW CENTURY DR
PMB #249
BEND, OR 97702
OPPORTUNITY SHOPPING CENTER
12019 E SPRAGUE AVE
SPOKANE, WA 99206

OPTIC EVENTS INC
14334 126TH AVE NE B102
KIRKLAND, WA 98034
OPTIMA FUNDING GROUP INC
414 HUNGERFORD DRIVE STE    104
ROCKVILLE, MD 20850

OPTIMA INFORMATION SOLTIONS LLC
LOCKBOX FILE 050372
LOS ANGELES, CA 90074
OPTIONS PRICE
REPORTING AUTHORITY
PO BOX 95718
CHICAGO, IL 60694-5718

OR CREDIT & COLLECTION BUREAU
PO BOX 826
260 SW FERRY STREET STE 201
ALBANY, OR 97321

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ORACLE CORPORATION
KENYON ARENS
4460 HACIENDA DR
PLEASANTON, CA 945882761
ORACLE CORPORATION
PO BOX 44471
SAN FRANCISCO, CA 94144-4471

ORAN BROWN
DBA DIVERSITY SOLUTIONS
PO BOX 740948
SAN DIEGO, CA 92174
ORANGE CHAMBER OF COMMERCE
& VISITOR BUREAU
439 E CHAPMAN AVE
ORANGE, CA 92866
ORANGE COUNTY
ORANGE COUNTY BOARD
TAX COLLECTOR
EARL K WOOD
PO BOX 2551
ORLANDO, FL 32802

ORANGE COUNTY ASSN OF REALTORS
25552 LA PAZ RD
LAGUNA HILLS, CA 92653

ORANGE COUNTY BAR ASSOCIATION
CHARITABLE FUND
4685 MACARTHUR COURT #300
NEWPORT BEACH, CA 92660

ORANGE COUNTY BAR ASSOCIATION
PO BOX 17777
IRVINE, CA 92623-7777

ORANGE COUNTY BOARD
OF COUNTY COMMISSIONERS
DIVISION OF BUILDING SAFETY
201 S ROSALIND AVE 1ST FLR
ORLANDO, FL 32802
ORANGE COUNTY BUSINESS COUNCIL
2 PARK PLAZA #100
IRVINE, CA 92614

ORANGE COUNTY CHILD ABUSE
ORANGE COUNTY CHILD
PREVENTION CENTER
500 S MAIN ST #1100
ORANGE, CA 92868
ORANGE COUNTY CHILDRENS
THERAPUTIC ARTS CENTER
208 N BROADWAY
SANTA ANA, CA 92701
ORANGE COUNTY COMMUNITY
HOUSING CORPORATION
1833 E 17TH ST #207
                                      Page 623
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SANTA ANA, CA 92705
ORANGE COUNTY HISPANIC CHAMBER
OF COMMERCE
888 W SANTA ANA BLVD #150
SANTA ANA, CA 92701-4592
ORANGE COUNTY HOUSING &
ORANGE COUNTY BOARD
COMMUNITY DEVELOPMENT
525 E SOUTH ST
ORLANDO, FL 32801
ORANGE COUNTY HUMAN
RELATIONS COUNCIL
1300 S GRAND BLDG B
SANTA ANA, CA 92705
ORANGE COUNTY MATHEMATICS
COUNCIL
15915 MCCORD CIRCLE
FOUNTAIN VALLEY, CA 92708

ORANGE COUNTY MORTGAGE LNDG INC
65 ENTERPRISE #140
ALISO VIEJO, CA 92656
ORANGE COUNTY PARALEGAL ASSN
MEMBERSHIP COORDINATOR
PO BOX 8512
NEWPORT BEACH, CA 92658-8512
ORANGE COUNTY PERFORMING
ARTS CENTER
600 TOWN CENTER DR
COSTA MESA, CA 92626
ORANGE COUNTY RECORDER
12 CIVIC CENTER PLAZA RM 101
SANTA ANA, CA 92701

ORANGE COUNTY RECORDER
401 S ROSALIND AVE
ORLANDO, FL 32802
ORANGE COUNTY SHERIFF
LEVYING OFFICER HARBOR DIVISION
4601 JAMBOREE BLVD RM 108
NEWPORT BEACH, CA 92660
ORANGE COUNTY TAX COLLECTOR
REF #0617091
PO BOX 1438
SANTA ANA, CA 92702
ORANGE COUNTY TEACHERS FEDERAL
CREDIT UNION
15442 DEL AMO
TUSTIN, CA 92780
ORANGE COUNTY TRIAL
LAWYERS ASSOCIATION
25602 ALICIA PKWY #403
                                       Page 624
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LAGUNA HILLS, CA 92653
ORANGE COUNTYS YOUTH
601 S GLENOAKS BLVD #211
BURBANK, CA 91502

ORANGE HOUSING DEVELOPMENT CORP
414 E CHAPMAN AVE
ORANGE, CA 92866

ORANGE POLICE COMMUNITY
SERVICE DIVISION
29 PARK ST
ORANGE, NJ 07050

ORANGEWOOD CHILDRENS HOME
AUXILIARY LA CASA
PO BOX 2204
HUNTINGTON BEACH, CA 92647-2204

ORCA CREATIVE GROUP INC
15000 WOODINVILLE
REDMOND RD NE #B600
WOODINVILLE, WA 98072

ORDWAY CORPORATION
PRINT & FINISHING SOLUTIONS
1632 SLERRA MADRE CIRCLS
PLACENTIA, CA 92870

OREGON CHAPTER COUNCIL
OF RESIDENTIAL SPECIALISTS
5331 SW MCADAM AVE #207
PORTLAND, OR 97239

OREGON CHILDRENS FOUNDATION
219 NW 12TH AVE #203
PORTLAND, OR 97209

OREGON CITY
POLICE DEPARTMENT
PO BOX 3040
OREGON CITY, OR 97045

OREGON DAILY EMERALD
PO BOX 3159
EUGENE, OR 97403

OREGON DEPARTMENT OF JUSTICE
DEPARTMENT OF CHILD SUPPORT
PO BOX 14506
SALEM, OR 97309-0420
OREGON DEPT OF REVENUE SALEM
OREGON DEPARTMENT OF REVENUE
PO BOX 14725
SALEM, OR 97309-5018

OREGON DEPT OF STATE LANDS
UNCLAIMED PROPERTY SECTION
775 SUMMER ST NE #100
SALEM, OR 97301-1279

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OREGON DEPTARTMENT OF REVENUE
955 CENTER ST NE
SALEM, OR 97309-5018
OREGON FOOD BANK INC
PO BOX 55370
PORTLAND, OR 97238-5370
OREGON HOUSING & COMMUNITY
SVCS DEPT
1600 STATE ST
SALEM, OR 97301-0302
OREGON MEDIA PRODUCTION AOC
OREGON MEDIA PRODUCTION ASSOC
901 SE OAK ST #104
PORTLAND, OR 97214
OREGON MICRO ENTERPRISE NETWORK
1020 SW TAYLOR #315
PORTLAND, OR 97205

OREGON MORTGAGE LENDERS ASSN
OREGON MORTGAGE BANKERS ASSN
7327 SW BARNS RD #500
PORTLAND, OR 97225-6119
OREGON MUNICIPAL FINANCE
OFFICERS ASSOC
12725 SW 66TH AVE #107
PORTLAND, OR 97223
OREGON STATE BAR
MULTNOMAH CIRCUIT COURT CLERK
ACCOUNTING DEPARTMENT
5200 SW MEADOWS RD
PO BOX 1689
LAKE OSWEGO, OR 97035-0889

OREGONIAN PUBLISHING CO
OREGONIAN PUBLISHING CO LLC
DIST #07
PO BOX 14653
PORTLAND, OR 97293-0653
OREGONIAN PUBLISHING COMPANY
OREGONIAN PUBLISHING CO LLC
THE OREGONIAN
CEDAR HILLS DIST
PO BOX 1643
BEAVERTON, OR 97075-1643
ORETHA C. BROOKS
[Address Information Redacted]
ORGAIN BELL & TUCKER LLP
470 ORLEANS ST
PO BOX 1751
BEAUMONT, TX 77704-1751
ORGANIC HOLDING CO
ORGANIC HOLDING CO INC
ORGANIC TO GO
                                       Page 626
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DEPT 5051
PO BOX 34936
SEATTLE, WA 98124-1936
ORGANIZACION EN CALIFORNIA
DE LIDERES CAMPESINAS INC
611 S REBECCA ST
POMONA, CA 91766

ORGANIZACION MEXICO
AMERICANA INC
60 JOYCE KILMER AVE
NEW BRUNSWICK, NJ 08901
ORGANIZATION RESOURCES
COUNSELORS INC
6171 W CENTURY BLVD #350
LOS ANGELES, CA 90045
ORIN C. SMITH
[Address Information Redacted]

ORLAND PARK AREA CHAMBER
OF COMMERCE
8799 WEST 151ST ST
ORLAND PARK, IL 60462
ORLANDO FAITH MINISTRIES INTL
2791 N PINE HILLS RD
ORLANDO, FL 32808

ORLANDO HOUSING AUTHORITY
PROPERTIES
390 N BUMBY AVE
ORLANDO, FL 32818

ORLANDO MAGIC LTD
8701 MAITLAND SUMMIT BLVD
ORLANDO, FL 32810-5915
ORLANDO NEIGHBORHOOD
IMPROVEMENT CORPORATION
101 S TERRY AVE
ORLANDO, FL 32805-2254
ORLANDO PLANT SERVICES LLC
EXECUTIVE PLANT SERVICES
PO BOX 568011
ORLANDO, FL 32856-8011
ORLANDO REGIONAL REALTOR ASSN
GREATER ORLANDO ASSOCIATION
LOCKBOX 91-7356
ORLANDO, FL 32891-7356
ORLANDO SENTINEL COMMUNICATIONS
ATTN SHARON CRIMMINGS
633 N ORANGE AVE
ORLANDO, FL 32801
ORLANS ASSOCIATES PC
PO BOX 5041
TROY, MI 48007-5041
                                       Page 627
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ORLEANS BUILDING SERVICES LLC
12334 RIDGE RD
MEDINA, NY 14103
ORLEANS CHAMBER OF COMMERCE
ORLEANS COUNTY
121 N MAIN ST
ALBION, NY 14411

ORLEANS COMMUNITY ACTION
COMMITTEE INC
409 E STATE ST
PO BOX 71
ALBION, NY 14411

ORLEANS COUNTY
CHAMBER OF COMMERCE
ALBION BUSINESS ASSN BANNERS
121 N MAIN ST #110
ALBION, NY 14411

ORLEANS CTY SHERIFFS DEPT
13925 STATE RT 31 #400
ALBION, NY 14411-9386

ORNAMENTAL STONE INC
101 E N BAY RD
PO BOX 641
ALLYN, WA 98524

OROVILLE ASSN OF REALTORS
1835 ROBINSON ST #A
OROVILLE, CA 95965

ORRICK HERRINGTON &
SUTCLIFFE LLP
FILE 72887
PO BOX 61000
SAN FRANCISCO, CA 94161-2887

ORTRONICS INCORPORATED
[Address to Be Provided]

ORVILLE WRIGHT MIDDLE SCHOOL
6550 W 80TH ST
LOS ANGELES, CA 90045

OSCAR H VILLARREAL
ATTORNEY AT LAW
6800 PARK TEN BLVD #244-E
SAN ANTONIO, TX 78213
OSI COLLECTION SERVICES INC
PO BOX 929
BROOKFIELD, WI 53008

OSMC MORTGAGE CORPORATION
3 UNIVERSITY PLAZA #502
HACKENSACK, NJ 07601

OSTROWITZ & OSTROWITZ
FBO PNC BANK NA
                                     Page 628
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225 GORDONS CORNER RD #1J
MANALAPAN, NJ 07726

OSWEGO CHAMBER OF COMMERCE
22 W VAN BUREN ST
OSWEGO, IL 60543
OSWEGO COUNTY CLERK
46 E BRIDGE
OSWEGO, NY 13126
OSWEGOLAND PRAIRIE FEST
313 E WASHINGTON ST
OSWEGO, IL 60543

OT MATADOR INC DBA
OFFICE TIGER GLOBAL REAL ESTATE
C/O JPMORGAN CHASE BANK
PO BOX 905363
CHARLOTTE, NC 28290-5363
OTILIA PRECIADO
23253 1/2 MARIBEL AVE
CARSON, CA 90745

OTIS ELEVATOR
PO BOX 100188
PASADENA, CA 91189-0188

OTIS ELEVATOR CO
OTIS ELEVATOR
13035 GATEWAY DR #157
SEATTLE, WA 98168

OTIS ELEVATOR COMPANY
OTIS ELEVATOR
DEPT LA 21684
PASADENA, CA 91185-1684

OTIS ELEVATOR COMPANY
OTIS ELEVATOR
PO BOX 73579
CHICAGO, IL 60673-7579

OTIS ELEVATOR COMPANY
OTIS ELEVATOR
ATTN TRACIE WENDEL
1 FARM SPRINGS RD
FARMINGTON, CT 06032
OTIS SPUNKMEYER INC
7090 COLLECTIONS DR
CHICAGO, IL 60693

OTTENHEIMER TEPLINSKY
ROSENBLOOM LLC
750 LAKE COOK RD #140
BUFFALO GROVE, IL 60089
OUR CITY WESTON INC
17120 ROYAL PALM BLVD #1
WESTON, FL 33326

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OUR KIDS OF
MIAMI DADE MONROE INC
PO BOX 010951
MIAMIFL, FL 33101
OUR SMALL WORLD FFA
1820 W ORANGEWOOD AVE #210
ORANGE, CA 92868

OUT TAKES DALLAS
3818 CEDAR SPRINGS RD #101 405
DALLAS, TX 75219
OWEN GLEATON EGAN JONES
& SWEENEY LLP
PROMENADE TWO
1230 PEACHTREE ST NE #1400
ATLANTA, GA 30309-3574
OXARC INC
PO BOX 2605
SPOKANE, WA 99220-2605

OXFORD COLLECTION AGENCY INC
DBA OXFORD MANAGEMENT SERVICES
135 MAXESS RD
MELVILLE, NY 11747

OXNARD CHAMBER OF COMMERCE
400 E ESPLANADE DR #302
OXNARD, CA 93036
OXNARD POLICE DEPT
CITY OF OXNARD
251 S C ST
OXNARD, CA 93030
OXUS KABOB HOUSE
430 W GRANT LINE RD
TRACY, CA 95376

P J GIORDANO PC
1800 JOHN F KENNEDY BLVD #300
PHILADELPHIA, PA 19103
PAC CAP MORTGAGE
945 LOS OSOS VLY RD
LOS OSOS, CA 93402

PAC WEST ROOFING INC
10518 NE 114TH CT
VANCOUVER, WA 98662
PACE SOLANO
419 MASON ST #118
VACAVILLE, CA 95688

PACE STAFFING NETWORK INC
2275 116TH NE #200
BELLEVUE, WA 98004

PACER SERVICE CENTER
PO BOX 70951
                                      Page 630
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CHARLOTTE, NC 28272-0951
PACIFIC APPRAISAL GROUP INC DBA
PACIFIC COMMERCIAL GROUP
16 TIMOR SEA
NEWPORT COAST, CA 92657
PACIFIC ASIA MUSEUM
46 N LOS ROBLES AVE
PASADENA, CA 91101
PACIFIC ASIAN CONSORTIUM
IN EMPLOYMENT
1055 WILSHIRE BLVD #1475
LOS ANGELES, CA 90017

PACIFIC BANCORP INC
280 BEVERLY DR #211
BEVERLY HILLS, CA 90212

PACIFIC BAY FINANCIAL
745 PORTOLA DRIVE
SAN FRANCISCO, CA 94127
PACIFIC BCH COMMUNITY DEV CORP
DBA DISCOVER PACIFIC BEACH
1503 GARNET AVE
PACIFIC BEACH, CA 92109

PACIFIC BELL DIRECTORY
AT&T YELLOW PAGES
PO BOX 989046
WEST SAC, CA 95798-9046

PACIFIC BLUE EQUITY INC
1955 THE ALAMEDA
SAN JOSE, CA 95126

PACIFIC COAST
FINANCIAL SERVICES
501 EL CAMINO REAL #226
SAN CLEMENTE, CA 92672
PACIFIC COAST BANKING SCHOOL
10900 NE 4TH ST #2050
BELLEVUE, WA 98004

PACIFIC COAST BUSINESS TIMES
14 E CARRILLO ST #A
SANTA BARBARA, CA 93101
PACIFIC COAST LENDING
28720 RDSIDE DR #300
AGOURA HILLS, CA 91301
PACIFIC COAST REGIONAL URBAN
SMALL BUSINESS DEVT CORP
3255 WILSHIRE BLVD #1501
LOS ANGELES, CA 90010
PACIFIC COMMERCIAL
CONSTRUCTION INC
2262 RUTHERFORD RD #103
                                       Page 631
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CARLSBAD, CA 92008
PACIFIC CONTINENTAL LINK INC
15720 VENTURA BLVD # 612
ENCINO, CA 91436

PACIFIC COURIERS
1706 W ORAGETHORPE AVE
FULLERTON, CA 92833

PACIFIC EQUITY VENTURES INC
CMA FINANCIAL
101 PARKSHORE DR #200
FOLSOM, CA 95630

PACIFIC ISLANDER FESTIVAL ASSC
PO BOX 86046
SAN DIEGO, CA 92138
PACIFIC LENDING SOURCES INC
8146 GREENBACK LN #103
FAIR OAKS, CA 95628

PACIFIC LIFE
ATTN BERND SMITH
700 NEWPORT CENTER DR CP5-1
NEWPORT BEACH, CA 92660-6397

PACIFIC LYNX MORTGAGE
19200 STEVENS CREEK BLVD #220
CUPERTINO, CA 95014
PACIFIC MORTGAGE CORPORATION
401 S MILWAUKEE AVE #250
WHEELING, IL 60090

PACIFIC NETSOFT
1901 S BASCOM AVE #1300
CAMPBELL, CA 95008
PACIFIC NORTHWEST BALLET
301 MERCER ST
SEATTLE, WA 98109

PACIFIC NORTHWEST BANKERS ASSN
PO BOX 22016
SEATTLE, WA 98122-0016

PACIFIC NORTHWEST HR STRATEGIC
FORUM DAVID SNYDER
C/O NORSTROM
1700 7TH AVE #1000
SEATTLE, WA 98101

PACIFIC NORTHWEST TITLE
COMPANY OF WASHINGTON INC
215 COLUMBIA ST
SEATTLE, WA 98104-1511
PACIFIC NORTHWEST TITLE
OF OREGON INC
9020 SW WASHINGTON SQ RD #220
TIGARD, OR 97223
                                      Page 632
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PACIFIC NORTHWEST TITLE
TRI COUNTY
8740 SE SUNNYBROOK BLVD #300
CLACKMAS, OR 97015

PACIFIC NORTHWEST TITLE
2021 NW MYHR RD #300
PO BOX 3607
SILVERDALE, WA 98383
PACIFIC NW INTL SOCIETY OF
CERTIFIED EMPLOYEE BENEFIT
SPECIATLISTS
PO BOX 58530
SEATTLE, WA 98138-1530

PACIFIC NW PGA JUNIOR GOLF FUND
DBA THE FIRST TEE OF OLYMPIA
8000 72ND LN SE
OLYMPIA, WA 98513

PACIFIC PRIDE FOUNDATION
AIDS WALK
126 E HALEY ST A11
SANTA BARBARA, CA 93101
PACIFIC PRODUCTIONS
360 INDIGO PL NW
ISSAQUAH, WA 98027

PACIFIC REAL ESTATE CONSULTANTS
4060 CAMPUS DR #230
NEWPORT BEACH, CA 92660

PACIFIC SCIENCE CTR FOUNDATION
200 2ND AVE N
SEATTLE, WA 98109-4895

PACIFIC SOUTHWEST
ASSOCIATION OF REALTORS
880 CANARIOS CT
CHULA VISTA, CA 91910

PACIFIC TITLE COMPANY
PO BOX 2488
GEARHART, OR 97138

PACIFIC WEST ASSN OF REALTORS
702 W TOWN & COUNTRY RD
ORANGE, CA 92868
PACIFIC WEST LENDING INC
5140 AVENIDAS ENCINAS
CARLSBAD, CA 92008
PACIFIC WESTERN BANCORP INC
7139 KOLL CENTER PKWY #150
PLEASANTON, CA 94566
PACTIFIC NORTHWEST REGIONAL
ECONOMIC CONFERENCE
WASHINGTON STATE REVENUE DEPT
                                       Page 633
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 47459
OLYMPIA, WA 98504-7459

PADRES CONTRA EL CANCER
3479 CAHUENGA BLVD W
LOS ANGELES, CA 90068
PADRES LP
DBA SAN DIEGO PADRES
100 PARK BLVD
SAN DIEGO, CA 92101
PAGLIACCI PIZZA
423 E PIKE ST
SEATTLE, WA 98122

PAKISTAN ASSOCIATION OF
GREATER HOUSTON INC
12638 BISSONNETT #A
HOUSTON, TX 77099
PALLADEO
900 WESTERN AVE
GLENDALE, CA 91201

PALM BEACH BOARD OF REALTORS
140 ROYAL PALM WAY #205
PALM BEACH, FL 33480

PALM BEACH COMMUNITY COLLEGE
ATTN RUTH RUFINO
4200 CONGRESS AVE MS#08
LAKE WORTH, FL 33461

PALM BEACH COUNTY
BOARD OF COUNTY COMMISSIONERS
FINANCE DEPARTMENT
PO BOX 3977
W PALM BEACH, FL 33402
PALM BEACH COUNTY
CLERK OF COURTS
205 N DIXIE HWY
WEST PALM BEACH, FL 33401
PALM BEACH COUNTY
SHERIFF'S OFFICE
PO BOX 24681
W PALM BEACH, FL 33416
PALM BEACH POST
2751 S DIXIE HWY
WEST PALM BEACH, FL 33416

PALM SPRINGS CHAMBER
OF COMMERCE
190 W AMADO RD
PALM SPRINGS, CA 92262-5519
PALM SPRINGS REGIONAL ASSOC
OF REALTORS
4045 RAMON RD
PALM SPRINGS, CA 92264
                                     Page 634
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PALMA LAZAR & ULSH LLP
444 OXFORD VALLEY RD #300
LANGHORN, PA 19047
PALMDALE CHAMBER OF COMMERCE
817 E AVE Q9
PALMDALE, CA 93550

PALMER & DODGE LLP
111 HUNTINGTON AVE
BOSTON, MA 02199-7613
PALMER LOMBARDI & DONOHUE LLP
888 W 6TH ST 12TH FL
LOS ANGELES, CA 90017

PALMER MANAGEMENT GROUP
ATTN JACKIE AOKI - CATERING
2827 PARADISE RD
LAS VEGAS, NV 89109

PALMER SYNFUELS LP
C/O ENVIRONMENT FUEL CORP
13 ELM ST #200
COHASSET, MA 02025-1828
PALMS WEST CHAMBER OF COMMERCE
PO BOX 1062
LOXAHATCHEE, FL 33470

PALO ALTO ART CENTER FOUNDATION
1313 NEWELL RD
PALO ALTO, CA 94303

PALO ALTO POLICE DEPARTMENT
ATT: ALARM OFFICER
275 FOREST AVE
PALO ALTO, CA 94301
PAM HEDGES
DBA HEDGES & ASSOCIATES
27936 GOLDEN RIDGE LN
SAN JUAN CAPISTRANO, CA 92675
PAMELA DEL PAINE
227 N LIMA ST
BURBANK, CA 91505

PAMELA J GAVIN
31206 22ND AVE SW
FEDERAL WAY, WA 98023
PAMELA J MOLVAR
6411 125TH AVE NE
KIRKLAND, WA 98033

PAMELLA R JOHNSON
11009 36TH AVENUE CT EAST
TACOMA, WA 98446

PANORAMA MEDIA NEWS DBA
PANORAMA LATINO NEWS
                                       Page 635
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 409 RIVER ST STATION
PATERSON, NJ 07544-0409

PANORAMIC SOFTWARE INC
336 BON AIR CENTER #367
GREENBRAE, CA 94904
PAPER DIRECT INC
PO BOX 2933
COLORADO SPRINGS, CO 80901-2933
PAR EAST MORTGAGE CO INC
15 TOILSOME LN
EAST HAMPTON, NY 11937

PAR3 COMMUNICATIONS, INC.
[Address to Be Provided]
PARA LOS NINOS
500 LUCAS AVE
LOS ANGELES, CA 90017

PARADIGM DKD TAX GROUP LLC
[Address to Be Provided]

PARADISE ASSN OF REALTORS
6178 CENTER ST
PARADISE, CA 95969

PARADISE VALLEY UNIFIED
SCHOOL DISTRICT #69
LARKSPUR ELEMENTARY SCHOOL
2430 E LARKSPUR DR
PHOENIX, AZ 85308

PARAGON COMMERCIAL BANK
3605 GLENWOOD AVE #100
RALEIGH, NC 27612

PARAMOUNT CHAMBER OF COMMERCE
15357 PARAMOUNT BLVD
PARAMOUNT, CA 90723
PARCEL PLUS
1453 RIVERSTONE PKWY #160
CANTON, GA 30114

PARENT INSTITUTE FOR QUALITY
PARENT INSTITUTE FOR QUALTIY
EDUCATION INC
700 MCHENRY AVE #B
MODESTO, CA 95350
PARENT INSTITUTE FOR QUALTIY
EDUCATION INC
4010 MORENA BLVD #200
SAN DIEGO, CA 92117

PARENT TO PARENT OF PINELLAS
COUNTY INC
UP WITH DOWNS OF PINELLAS
PO BOX 523
LARGO, FL 33779
                                       Page 636
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PARENTS FOR PUBLIC SCHOOLS INC
9 SILLIMAN ST #6
SAN FRANCISCO, CA 94134
PARENTS ORGANIZED
FOR WESTSIDE RENEWAL
235 HILL ST #301
SANTA MONICA, CA 90405

PARK AVENUE MORTGAGE GROUP INC
410 PARK AVE 17TH FL
NEW YORK, NY 10022
PARK CITY CHAMBER/BUREAU
PO BOX 1630
PARK CITY, UT 84060
PARK CITY ESTATES TENANTS CORP
61-55 98TH ST
REGO, PARKNY 11374

PARK RIDGE JUNIOR HAWKS
BASEBALL CLUB INC
1625 S LINDEN
PARK RIDGE, IL 60068
PARK UNIVERSITY ENTERPRISES INC
FRED PRYOR SEMINARS
CAREER TRACK
PO BOX 219468
KANSAS CITY, MO 64121-9468

PARK WEST COMMUNITY ASSOCIATION
LINCOLN PARK FIREMENS COOK OFF
PO BOX 14845
CHICAGO, IL 60614

PARKADE INC
511 W MAIN #202
SPOKANE, WA 99201

PARKCHESTER LITTLE LEAGUE
1936 E TREMONT AVE
BRONX, NY 10462
PARKER STAFFING SERVICES LLC
605 FIFTH AVENUE SOUTH #850
SEATTLE, WA 98104
PARKING CONCEPTS INC
1444 4TH ST
SANTA MONICA, CA 90401

PARKING CONCEPTS INC
2061 ALLSTON WAY
BERKELEY, CA 94704

PARKING NETWORK INC
ATTN ACCOUNTING DEPT
350 S FIGUEROA ST #420
LOS ANGELES, CA 90071

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PARKRIDGE ENDODONTICS PC
10450 PARK MEADOWS DR #102
LONE TREE, CO 80124
PARKVIEW MORTGAGE CORP
411 HEMPSTEAD TPKE #201
WEST HEMPSTEAD, NY 11552
PARKVIEW SERVICES
18551 AURORA AVE N #200
SHORELINE, WA 98133
PARODNECK FOUNDATION FOR SELF
HELP HOUSING & COMMUNITY DVLPMT
121 6TH AVE #501
NEW YORK, NY 10013

PARR WADDOUPS BROWN GEE
& LOVELESS
PO BOX 11019
SALT LAKE CITY, UT 84147

PARRISH HARE ELECTRICAL SUPPLY
PO BOX 560547
DALLAS, TX 75356-0547

PARSONS BEHLE & LATIMER
201 SOUTH MAIN ST #1800
PO BOX 45898
SALT LAKE CITY, UT 84145-0898

PARSONS PHOTOGRAPHY INC
15 S MISSION #3
WENATCHEE, WA 98801

PARTIES PLUS WHOLESALE SALES
PO BOX 773
HUNTINGTON BCH, CA 92648

PARTNER ENGINEERING & SCIENCE
2101 ROSECRANS AVE #4270
EL SEGUNDO, CA 90245
PARTNERCOMM INC
2304 W I-20 #250
ARLINGTON, TX 76017

PARTNERS IN SCHOOL INNOVATION
1060 TENNESSEE ST 2ND FL
SAN FRANCISCO, CA 94107
PARTNERS MORTGAGE INC
271 WAVERLEY OAKS RD #209
WALTHAM, MA 02452
PARTNERSHIP FOR FAMILIES
CHILDREN & ADULTS DBA
CCCS OF THE TN RIVER VALLEY
PO BOX 4522
HUNTSVILLE, AL 35815

PARTNERSHIP FOR FAMILIES
CHILDREN & ADULTS DBA CCCS OF
                                       Page 638
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CHATTANOOGA
2221A OLAN MILLS DR
CHATTANOOGA, TN 37421
PARTNERSHIP FOR LEARNING
500 UNION ST #745
SEATTLE, WA 98101
PARTRIDGE SNOW & HAHN LLP
180 S MAIN ST
PROVIDENCE, RI 02903-7120
PARTY PALS
10427 ROSELLE ST
SAN DIEGO, CA 92121

PASADENA EDUCATIONAL FOUNDATION
351 S HUDSON
PASADENA, CA 91109

PASADENA PLAYHOUSE STATE
THEATRE OF CALIFORNIA INC
600 PLAYHOUSE ALLEY #301
PASADENA, CA 91101

PASADENA TX CHAMBER OF COMMERCE
4334 FAIRMONT PKWY
PASADENA, TX 77504-3306

PASO ROBLES ASSN OF REALTORS
1101 RIVERSIDE AVE STE A
PASO ROBLES, CA 93446

PASO ROBLES CHAMBER OF COMMERCE
1225 PARK ST
PASO ROBLES, CA 93446-2234
PASSAGE EVENTS & PROMOS INC
800 MAYNARD AVE S #100
SEATTLE, WA 98134-1334

PASSPORT UNLIMITED
801 KIRKLAND AVE #200
KIRKLAND, WA 98033
PASTORS ON PATROL OF TAMPA BAY
BEULAH BAPTIST CHURCH
1006 W CYPRESS ST
TAMPA, FL 33606
PATERSON OIC
52 CHURCH ST 4TH FLR
PATERSON, NJ 07505

PATHPOINT SOFTWARE INC
101 N PLAINS INDUSTRIAL RD
BLDG 1-A SECOND FL
WALLINGFORD, CT 06492
PATRICIA A ROCHE
12861 ALTA TIERRA
LOS ALTOS HILLS, CA 94022

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PATRICIA B FRITZ
33265 MILL CREEK RD
PAUMA VALLEY, CA 92061
PATRICIA BURTON
KRAUSE MOORHEAD AND DRAISEN
207 E CALHOUN ST
ANDERSON, SC 29621

PATRICIA GEIST
1636 BRIGHTON GLEN RD
SAN MARCOS, CA 92078-5496
PATRICIA HAMILTON
TRUSTEE #06-40731
PO BOX 3555
TOPEKA, KS 66601
PATRICIA HOENINGS
8205 WOODMUIR DR
WEST PALM BEACH, FL 33412

PATRICIA M COONTS
PITTMAN DUTTON KIRBY
HELLUMS
2001 PARK PL N #1100
BIRMINGHAM, AL 35203

PATRICIA SCHULTE
[Address Information Redacted]

PATRICIA TULLY
TULLY & ASSOCIATES
811 FIRST AVE #404
SEATTLE, WA 98104

PATRICK H BODEN INC
12531 131ST COURT NE
KIRKLAND, WA 98034
PATRICK J O MALLEY
PO BOX 75
WEST ROXBURY, MA 02132

PATRICK O'CONNOR & ASSOC LP
PATRICK O&#39CONNOR & ASSOC LP
2200 NORTH LOOP W #200
HOUSTON, TX 77018

PATRICK PAGE
FULL CIRCLE PROMOTIONS
245-37 147TH AVE
ROSEDALE, NY 11422

PATRICK TOWNSEND & ASSOCIATES
406 LEGION WAY SE
OLYMPIA, WA 98501

PATRIOT COMMUNICATIONS LLC
PO BOX 92899
LOS ANGELES, CA 90009
PATRIOT FUNDING LLC
                                      Page 640
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
495 OLD CONNECTICUT PATH
FRAMINGHAM, MA 01701

PATSY HEFFNER TAX COLLECTOR
PO BOX 422105
KISSIMMEE, FL 34742-2105
PATTERSON BELKNAP WEBB & TYLER
1133 AVE OF THE AMERICAS
NEW YORK, NY 10036-6710
PATTISON SIGN GROUP
555 ELLESMERE ROAD
TORONTO, M1E 4E8 CANADA

PATTISON SIGN GROUP
113 44TH AVE
EDMUNDSTON, NEW BRUNSWICK E3V 3A4 CANADA
PATTISON SIGN GROUP
PO BOX 136
MADAWASKA, ME 04756

PATTON FINANCIAL INC
1595 GILMAN BLVD #6
ISSAQUAH, WA 98027
PAUL B CALENDRILLO
DBA EXCELLENCE IN PRACTICE
535 W 23RD ST #S7E
NEW YORK, NY 10011
PAUL CAMFIELD
DBA CAMFIELD CATERING
910 HICKORYWOOD LN
HOUSTON, TX 77024
PAUL E IRISH
63606 E SQUASH BLOSSOM LN
TUCSON, AZ 85739

PAUL G SULLIVAN
C/O SMITH BARNEY INC
4 MANHATTANVILLE RD
PURCHASE, NY 10577-9998
PAUL HASTINGS
PAUL HASTINGS JANOFSKY
JANOFSKY & WALKER LLP
FIVE PALO ALTO SQUARE 6TH FL
PALO ALTO, CA 94306-2155
PAUL HASTINGS JANOFSKY & WALKER
PAUL HASTINGS JANOFSKY
75 E 55 TH ST
NEW YORK, NY 10022-3205

PAUL J SANCHEZ
150 MAIN ST
PORT WASHINGTON, NY 11050

PAUL MANSDORF
TRUSTEE # 06 42176
                                       Page 641
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1563 SOLANO AVE #703
BERKELEY, CA 94707

PAUL PRENTICE
DBA PRENTICE DESIGN
1619 HARBOR AVE SW #201
SEATTLE, WA 98126
PAUL RICHARD ANDERSON
4171 ADRIATIC
OXNARD, CA 93035
PAUL THOMPSON
400 N FARRELL DR #B208
PALM SPRINGS, CA 92262

PAULA ANN ITAOKA
2323 N 162ND
SHORELINE, WA 98133

PAULA J HUCHISON
[Address Information Redacted]

PAULA QUINTANA
538 GRASS VALLEY ST
SIMI VALLEY, CA 93065
PAULA TADROS FAMILY
LIMITED PARTNERSHIP
620 BUTTERNUT TRAIL
FRANKFORT, IL 60423
PAULDING COUNTY GEORGIA
TAX COMMISIONER
26 COURTHOUSE SQ RM 203
DALLAS, GA 30132
PAYCHECK ADVANCE LLC
2950 SE STARK #120
PACIFICA PLAZA
PORTLAND, OR 97214

PAYCHEX
PO BOX 4482
CAROL STREAM, IL 60197-4482
PAYDAY 2 GO
10605 CONCORD ST #203
KENSINGTON, MD 20895
PAYDAY LOAN STORE
154 N WABASH
CHICAGO, IL 60601

PAYDAY LOAN STORE
628 W 14TH ST
CHICAGO HEIGHTS, IL 60411

PAYDAY LOAN STORE
7001 N CLARK ST
CHICAGO, IL 60626
PAYLER CORP
                                       Page 642
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DBA HSH ASSOCIATES
237 W PRKY 2ND FL
POMPTON PLAINS, NJ 07444
PAYPAL INC
4100 SOLUTIONS CNTR #774100
CHICAGO, IL 60677-4001
PAZANTI HOME MORTGAGE CORP
301 MAIN ST. #207
HUNTINGTON BEACH, CA 92648
PBS ENGINEERING & ENVIRONMENTAL
4412 SW CORBETT
PORTLAND, OR 97239

PBS ENGINEERING & ENVIRONMENTAL
4412 SW CORBETT
PORTLAND, OR 97239

PCG FINANCIAL INC
PLATINUM CAPITAL GROUP
3500 SEPULVEDA BLVD. # E
MANHATTEN BEACH, CA 90266

PCI SERVICES INC
130 TURNER ST BLDG 3 4TH FL
WALTHAM, MA 02453

PDG ARCHITECTS DBA
PROFESSIONAL DESIGN GROUP
3100 WESLAYAN #200
HOUSTON, TX 77027-5752

PEACOCK CONSTRUCTION INC
PO BOX 1818
3421 GOLDEN GATE WAY
LAFAYETTE, CA 94549

PEAK EXPERIENCES INTERNATIONAL
4128 S GRANT ST
ENGLEWOOD, CO 80113
PEAK SEASON INC
539 W PICKETT CIR #300
SALT LAKE CITY, UT 84115

PEAK TECHNOLOGIES INC
PO BOX 8500 S-4955
PHILADELPHIA, PA 19178-4955
PEARCE STEPHENS ASSOCIATES
4 PICDMONT LANE
LITTLE ROCK, AZ 72223
PEARL DISTRICT
BUSINESS ASSOCIATION
PO BOX 4325
PORTLAND, OR 97208
PEE DEE VISIONS FOUNDATION
MAY FLY AIR SHOW
PO BOX 948
                                       Page 643
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FLORENCE, SC 29503
PEER COMMUNICATIONS LLC
2230 CALIFIRNIA ST NW #2AW
WASHINGTON, DC 20008

PEF ASSOCIATES INC
4144 NW 53RD ST
BOCA RATON, FL 33496

PEGASYSTEMS INC
101 MAIN ST
CAMBRIDGE, MA 02142-1590
PEGGY PAULSON
2415 W 182ND ST APT 1
TORRANCE, CA 90504
PENCIL INC
30 W 26TH ST 5TH FL
NEW YORK, NY 10010

PENDER & COWARD DBA
COMMONWEALTH COLLECTION ATTYS
192 BALLARD CT 4TH FL
VIRGINIA BEACH, VA 23462-6557
PENINSULA MORTGAGE LP
62 PENINSULA CENTER
ROLLING HILLS ESTATES, CA 90274

PENINSULA WELDING &
MEDICAL SUPPLY
785 HARCOURT AVE
SEASIDE, CA 93955

PENMARK REALTY CORP
820 2ND AVE 4TH FL
NEW YORK, NY 10017
PENN PARKING INC
7257 PARKWAY DR #100
HANOVER, MD 21076

PENN VALUATION GROUP INC
DBA INTEGRA REALTY RESOURCES
PO BOX 2540
PITTSBURGH, PA 15230

PENNER & ASSOCIATES
1370 N BREA BLVD #205
FULLERTON, CA 92835
PENNISI DANIELS & NORELLI LLP
97 77 QUEENS BLVD #620
REGO PARK, NY 11374

PENNSYLVANIA DEPT OF REVENUE
BUREAU OF CORPORATION TAXES
PO BOX 280407
HARRISBURG, PA 17128-0407
PENNSYLVANIA DEPT OF REVENUE
                                       Page 644
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DEPT 280420
HARRISBURG, PA 17128-0420

PENNSYLVANIA DEPT OF REVENUE
DEPT 280423
HARRISBURG, PA 17128-0423
PENNSYLVANIA HORTICULTURAL SCTY
100 N 20TH ST 5TH FLR
PHILADELPHIA, PA 19103
PENNSYLVANIA SCDU
PO BOX 69112
HARRISBURG, PA 17106

PENSERV PLAN SERVICES INC
PO BOX 8885
GREENVILLE, TX 75404
PENTAGON PLUMBING & MECHANICAL
CORPORATION
7220 AMBOY ROAD
STATEN ISLAND, NY 10307
PENTALPHA FUNDING
ONE GREENWICH OFFICE PARK N
GREENWICH, CT 06831

PENTHOUSE DRAPERY
4033 16TH AVE SW #A
SEATTLE, WA 98106
PENTON LEARNING SYSTEMS LLC
INTL QUALITY & PRODUCTIVITY CTR
535 5TH AVE 8TH FL
NEW YORK, NY 10017-2045
PEOPLE ACTING FOR
COMMUNITY TOGETHER INC
316 NE 26TH TERRACE
MIAMI, FL 33137

PEOPLE EMERGENCY CENTER
COMMUNITY DVLPMT CORP
325 N 39TH ST
PHILADELPHIA, PA 19104

PEOPLE FUND
PO BOX 6432
AUSTIN, TX 78762
PEOPLES FINANCE INC
13005 ARTESIA BLVD #A
CERRITOS, CA 90703
PEOPLES SELF-HELP HOUSING CORP
26 E VICTORIA ST
SANTA BARBARA, CA 93101
PEOPLESOFT, USA INC.
[Address to Be Provided]
PEOPLESUPPORT INC
                                       Page 645
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1100 GLENDON AVE #1250
LOS ANGELES, CA 90024

PEOPLESUPPORT, INC.
[Address to Be Provided]

PEORIA CHAMBER OF COMMERCE
8765 W KELTON LN BLDG C-1
PEORIA, AZ 85382

PEPLER MASTROMONACO LLP
100 FIRST ST 25TH FL
SAN FRANCISCO, CA 94105
PEPPER & NASON
8 HALE ST
CHARLESTON, WV 25301
PEPPER HAMILTON LLP
HAMILTON SQUARE
600 14TH ST NW
WASHINGTON, DC 20005-2004

PEPPER HAMILTON LLP
3000 TWO LOGAN SQUARE
18TH AND ARCH STS
PHILADELPHIA, PA 19103-2799

PERDUE OFFICE INTERIORS
8443 BAYMEADOWS RD
JACKSONVILLE, FL 32256
PERFECT PLASTIC PRINTING CORP
31190 NETWORK PLACE
CHICAGO, IL 60673-1311

PERFORCE SOFTWARE INC
FILE NO 73862
PO BOX 60000
SAN FRANCISCO, CA 94160-3862

PERFORMING ARTS WORKSHOP
FORT MASON CENTER #C265
SAN FRANCISCO, CA 94123
PERKINS & ANCTIL PC
73 PRINCETON ST #306
N CHELMSFORD, MA 01863

PERKINS COIE
1201 3RD AVE 40TH FL
SEATTLE, WA 98101-3099
PERKINS COIE
1201 3RD AVE 40TH FL
SEATTLE, WA 98101-3099

PERKINS THOMPSON HINCKLEY
& KEDDY PA
ONE CANAL PLAZA
PO BOX 426
PORTLAND, ME 04112-0426

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PERREAULT LAW OFFICE
PO BOX 1109
HOLLIS, NH 03049
PERRY WOLBERGER
PO BOX 46396
LOS ANGELES, CA 90046
PERSONAL MONEY MANAGEMENT
PO BOX 25
CROOKSTON, MN 56716
PERSONAL STRENGTHS
PO BOX 2605
CARLSBAD, CA 92018-2605

PERSONAL STRENGTHS PUBLISHING
PO BOX 2605
CARLSBAD, CA 92018-2605

PERSONALYSIS CORPORATION
PO BOX 840921
DALLAS, TX 75284-0921
PERSONNEL CONCEPTS
PO BOX 3353
SAN DIMAS, CA 91773-7353

PERTH AMBOY CHAMBER OF COMMERCE
69 A SMITH ST
PERTH AMBOY, NJ 08861
PERUVIAN AMERICAN COMMITTEE INC
96 BARCLAY ST
PATERSON, NJ 07503

PESTALOZZI LACHENAL PATRY
65 RUE DU RHONE
CP 3199 CH-1211
GENEVA,   SWITZERLAND

PETALUMA AREA CHAMBER
OF COMMERCE
6 PETALUMA BLVD N #A2
PETALUMA, CA 94952
PETALUMA ECUMENICAL PROJECTS
951 PETALUMA BLVD S
PETALUMA, CA 94952
PETER A RASLA
PETER RASLA &ASSOCIATES PLC
19200 VON KARMAN AVE #500
IRVINE, CA 92612
PETER BROUS
KHALIL DIBEE CHAIRED PROFESSOR
OF FINANCE
DEPT OF FINANCE SEATTLE UNIV
SEATTLE, WA 98122

PETER BROUS
PO BOX 222000
                                       Page 647
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SEATTLE, WA 98122
PETER C MCKITTRICK CHAPTER 7 TR
Peter C McKittrick Chapter 7 Trustee
FOR ESTATE OF KIMBERLY D JOST
818 SW 3RD AVE
PMB #249
PORTLAND, OR 97204

PETER D JONES
PO BOX 1805
HEALDSBURG, CA 95448
PETER FREILINGER
[Address Information Redacted]

PETER H STERNITZKY
730 PEBBLE BEACH DR
CLE ELUM, WA 98922

PETER NELSON ANDREWS
7432 CIRCULO SEQUOIA
CARLSBAD, CA 92009
PETER R MONCADO
13635 SOMERSET RD
POWAY, CA 92064

PETER S THRIFFILEY
A PROFESSIONAL LAW CORP
PO BOX 24757
NEW ORLEANS, LA 70184-4757

PETERS FIRST INTERSTATE FLOWERS
999 3RD AVE
SEATTLE, WA 98104
PETERSEN NORTHWEST CORP
DBA PETES TOWING
PO BOX 98783
DES MOINES, WA 98198-0783

PETERSON & ASSOCIATES
COURT REPORTING INC
530 B ST #350
SAN DIEGO, CA 92101

PETITS FOURS INC
DBA FINALES GOURMET DESSERTS
2125 196TH ST SW #119 & #120
LYNNWOOD, WA 98036
PETSMART CHARITIES
19601 N 27TH AVE
PHOENIX, AZ 85027
PETSMART INC
19601 N 27TH AVE
PHOENIX, AZ 85027
PETTER E PETERSON
LIETO & GREENBERG TRUSTEE
40 REEF RD
                                       Page 648
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
FAIRFIELD, CT 06824
PEYTON & PEYTON INC
1370 N BREA BLVD #259
FULLERTON, CA 92835

PFE INTERNATIONAL INC
195 CHASTAIN MEADOWS CT NW #112
KENNESAW, GA 30144

PGA CORRIDOR ASSOCIATION INC
3001 PGA BLVD #200
PALM BEACH GARDENS, FL 33410
PGM & M INC DBA
FIRST FINANCIAL BANCORP
12424 WILSHIRE BLVD #630
LOS ANGELES, CA 90025
PGP CORPORATION
200 JEFFERSON DR
MENLO PARK, CA 94025

PGP VALUATION INC
REAL ESTATE APPRAISERS & CNSLTS
110 SW YAMHILL, #200
PORTLAND, OR 97204

PGP VALUATION INC
110 SW YAMHILL #200
PORTLAND, OR 97204
PGP VALUATION INC
112 WEST 11TH ST #250
VANCOUVER, WA 98660

PGP VALUATION INC
3000 LAVA RIDGE CT #220
ROSEVILLE, CA 95661
PGP VALUATION INC
5796 ARMADA DR #210
CARLSBAD, CA 92008

PHEAA
PO BOX 1463
HARRISBURG, PA 17105

PHI DELTA KAPPA CHAPTER 1133
6230 GANNETDALE DR
LITHIA, FL 33547
PHILADELPHIA BUSINESS JOURNAL
THE BUSINESS JOURNAL
PO BOX 36609
CHARLOTTE, NC 28236-6609

PHILADELPHIA SUBURBAN REALTY
PHILADELPHIA SUBURBAN REALTY APPRISAL GROUP INC
APPRAISAL GROUP INC
928 FITZWATER ST
PHILADELPHIA, PA 19147

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PHILADELPHIA YOUTH NETWORK INC
714 MARKET ST #304
PHILADELPHIA, PA 19106
PHILANTHROPY NORTHWEST
SOCIAL VENTURE PARTNERS
1601 2ND AVE #605
SEATTLE, WA 98101

PHILHARMONIC SOCIETY OF ORANGE
COUNTY
2082 BUSINESS CENTER DR #100
IRVINE, CA 92612
PHILIP BRUCE RAFUL
RAFUL & ASSOCIATES
PO BOX 151425A
SAN RAFAEL, CA 94915-1425
PHILIP F SARAZEN
ASSOCIATES APPRAISAL GROUP
21492 LAKE FOREST DR #B
LAKE FOREST, CA 92630
PHILIP L SANDER
934 NW COOKE AVE
GRANTS PASS, OR 97526

PHILIP O'CONNOR DBA
PHILIP O&#39CONNOR DBA
THE FIRME
226 ROCHESTER ST
COSTA MESA, CA 92627-3137

PHILLABAUM LEDLIN MATTHEWS &
GAFFNEY-BROWN
900 PAULSEN CENTER
421 W RIVERSIDE AVE
SPOKANE, WA 99201
PHILLIP D MATTHEWS
WASHINGTON MUTUAL-LEGAL DEPT
1301 2ND AVE - WMC3501
SEATTLE, WA 98101
PHILLIP D MATTHEWS
WASHINGTON MUTUAL-LEGAL DEPT
[Address to Be Provided]
SEATTLE
WA, 98101
PHILLIP D. MATTHEWS
[Address Information Redacted]

PHILLIP M ADLESON
ADLESON HESS & KELLY
NOTE FILE #208147
577 SALMAR AVE 2ND FL
CAMPBELL, CA 95008
PHILLIP WISEMAN
3700 RIVER RD N#6
SALEM, OR 97303
                                      Page 650
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PHILLIPS & COHEN ASSOC LTD
258 CHAPMAN RD #205
NEWARK, DE 19702
PHILLIPS 66 CONOCO 76
PO BOX 689059
DES MOINES, IA 50368-9059

PHILLIPS MCFALL MCCAFFREY
MCVAY & MURRAH PC
CORPORATE TOWER THIRTEENTH FL
101 N ROBINSON AVE
OKLAHOMA CITY, OK 73102

PHOENIX CONSTRUCTION & MGMT INC
125 EUCALYPTUS DR
EL SEGUNDO, CA 90245
PHOENIX INSURANCE &
SECURITIES SCHOOL INC
8655 EAST VIA DE VENTURA #E175
SCOTTSDALE, AZ 85258
PHOENIX PLANNING &
CONSTRUCTION SERVICES INC
23272 MILL CREEK DR #220
LAGUNA HILLS, CA 92653-1642

PHOENIX POLICE DEPT
CODE ENFORCEMENT UNIT
PO BOX 29380
PHOENIX, AZ 85038-9380

PHOENIX PRIDE INC
PO BOX 16847
PHOENIX, AZ 85011

PHOENIX REVITALIZATION CORP
1310 W HADLEY BLDG B
PHOENIX, AZ 85007

PHONOSCOPE LTD
6105 WESTLINE DR
HOUSTON, TX 77036-3515
PHOTOBUREAU INC
172 GRAND BLVD
SCARSDALE, NY 10583
PHOTOS ETC. CORPORATION
[Address to Be Provided]
PHOTO-TRONICS INC
513 DEXTER AVE N
SEATTLE, WA 98109

PHYLLIS AUSTIN
CRAWFORD HUMAN RESOURCES
1001 SUMMIT BLVD NE
ATLANTA, GA 30319
PHYLLIS H MCLENNAN
                                       Page 651
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
621 S RIVERSIDE DR #8
PALM SPRINGS, CA 92264

PHYLLIS M MULLINS
COURT REPORTER
PO BOX 635
POUNDING MILL, VA 24637
PIA JORGENSEN
[Address Information Redacted]
PIA/LIBERTY INSURANCE UNDERWRITERS
55 WATER ST.
18TH FLOOR
NEW YORK, NY 10041

PIEDMONT KISSIMMEE PARTNERS LP
1380 W PACES FERRY RD #180
ATLANTA, GA 30327

PIEPER ELECTRIC INC
5070 N 35TH ST
MILWAUKEE, WI 53209
PIERCE ATWOOD
1 MONUMENT SQUARE
PORTLAND, ME 04101

PIERCE COUNTY
ALARM TRACKING AND BILLING
PO BOX 26364
COLORADO SPRINGS, CO 80936

PIERCE COUNTY
2401 SO 35TH ST
TACOMA, WA 98409
PIERCE ROBERTS
HARRY H SUMNER PLLC
PO BOX 824
TUPELO, MS 38804-0824

PIERPOINT MEDIAINC
6714 N PITTSBURG
SPOKANE, WA 99217
PIG & PANDA INC
3623 SE 76TH AVE
PORTLAND, OR 97206
PIG ON THE POND INC
PO BOX 121543
CLERMONT, FL 34712-1543

PIGGIN OUT BAR B QUE
9987 MORRISON RD
LAKEWOOD, CO 80227

PIKE COUNTY CLERK OF THE
CHANCERY COURT
PO BOX 309
MAGNOLIA, MS 39652

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PILLAR VALUATION GROUP INC
601B BROOKLYN AVE
MILFORD, OH 45150
PIMA COUNTY RECORDER
115 N CHURCH AVE
TUCSON, AZ 85701
PINECREST PREPARATORY ACADEMY
14417 SW 42ND ST
MIAMI, FL 33175
PINELLAS EDUCATION FOUNDATION
12090 STARKEY RD
LARGO, FL 33773

PINELLAS PARK MID-COUNTY
CHAMBER OF COMMERCE
5851 PARK BLVD
PINELLAS PARK, FL 33781
PINELLAS REALTOR ORGANIZATION
PINELLAS SUNCOAST ASSOCIATION
PO BOX 863752
ORLANDO, FL 32886-3752

PINGHO ASSOCIATES CORP
1660 INTERNATIONAL DR #400
MCLEAN, VA 22102

PINNACLE BANK
ATTN DEBRA WELLS
1811 2ND AVE
JASPER, AL 35501

PINNACLE FINANCIAL CORP
8245 BOONE BLVD #300
VIENNA, VA 22182

PINNACLE FINANCIAL GROUP INC
7825 WASHINGTON AVE S #410
MINNEAPPOLIS, MN 55439
PIONEER CREDIT RECOVERY INC
26 EDWARD ST
PO BOX 158
ARCADE, NY 14009

PIONEER NEWSPAPERS INC DBA
PIONEER PRESS
3132 PAYSPHERE CIRCLE
CHICAGO, IL 60674
PIONEER TITLE COMPANY
OF CALDWELL
610 S KIMBALL AVE
CALDWELL, ID 83605

PIONEER TITLE COMPANY
OF CHELAN-DOUGLAS COUNTY INC
411 N CHELAN AVE
WENATCHEE, WA 98801

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PISMO COAST ASSN OF REALTORS
1356 LONGBRANCH
GROVER BEACH, CA 93433
PISTOL PRODUCTIONS
10641 HATTERAS DR
TAMPA, FL 33615
PISTONE & WOLDER LLP TRUST ACCT
2020 MAIN ST #900
IRVINE, CA 92614
PITE DUNCAN LLP
PO BOX 12289
EL CAJON, CA 92022-2289

PITNEY BOWES
DBA PITNEY BOWES GLOBAL FIN SVC
ATTN RHONDA KOZLOWSKI
1305 EXECUTIVE BLVD #200
CHESAPEKE, VA 23320

PITNEY BOWES
PITNEY BOWES BANK INC
RESERVE ACCOUNT
5101 INTERCHANGE WAY
LOUISVILLE, KY 40229

PITNEY BOWES BANK INC
PURCHASE POWER
PO BOX 856056
LOUISVILLE, KY 40285-6056

PITNEY BOWES CREDIT CORP
DBA PITNEY BOWES RECOVERY
4901 BELFORT RD #120
JACKSONVILLE, FL 32257

PITNEY BOWES CREDIT CORPORATION
27 WATERVIEW DR
SHELTON, CT 06484

PITNEY BOWES CREDIT CORPORATION
ATTN RHONDA KOZLOWSKI
1305 EXECUTIVE BLVD #200
CHESAPEAKE, VA 23320

PITNEY BOWES CREDIT CORPORATION
EASYPERMIT POSTAGE
PO BOX 856042
LOUISVILLE, KY 40285-6042
PITNEY BOWES CREDIT CORPORATION
PO BOX 856460
LOUISVILLE, KY 40285-6460
PITNEY BOWES GLOBAL FINANCIAL
SERVICES LLC
PO BOX 856460
LOUISVILLE, KY 40285-6460

PITNEY BOWES INC
PO BOX 856390
                                       Page 654
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
LOUISVILLE, KY 40285-6390
PITTMAN DUTTON KIRBY & HELLUMS
2001 PARK PL N #1100
BIRMINGHAM, AL 35203

PIVOTAL CORPORATION
DEPT CH 10721
PALANTINE, IL 60055-0721

PJ HUMMEL & CO INC
405 S SHERIDAN
TACOMA, WA 98405
PLACENTIA CHAMBER OF COMMERCE
201-C E YORBA LINDA BLVD
PLACENTIA, CA 92870
PLACER TITLE COMPANY
189 FULWEILER AVE
AUBURN, CA 95603

PLAN-IT INTERACTIVE INC
110 2ND AVE S #A2
PACHECO, CA 94553

PLANT DECOR
3330 VINCENT RD #G
PLEASANT HILL, CA 94523

PLANTATION POLICE DEPT
RECORDS DIVISION
451 NW 70 TERRACE
PLANTATION, FL 33317-2242

PLANTWORKS INC
PO BOX 6662
ELLICOTT CITY, MD 21042-0662

PLAQUEMAKER.COM
8501 BASH ST #1300
INDIANAPOLIS, IN 46250
PLATINUM RATE INC
1636 BOSWORTH AVE
CHICAGO, IL 60622

PLATINUM ROOFING INC
1900 DOBBIN DR
SAN JOSE, CA 95133
PLATT PLUMBING & HEATING INC
61 JOHN ST
BABYLON, NY 11702
PLATTE COUNTY RECORDER OF DEEDS
415 3RD ST #70
PLATTE CITY, MO 64079
PLAZA COMMUNITY CENTER
4018 CITY TERRACE DR
LOS ANGELES, CA 90063

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PLEASANTON CHAMBER OF COMMERCE
777 PETERS AVE
PLEASANTON, CA 94566
PLEASANTON PARTNERS IN
EDUCATION FOUNDATION
333 DIVISION STREET
PLEASANTON, CA 94566

PLEASANTON PARTY RENTALS INC
7066A COMMERCE CIRCLE
PLEASANTON, CA 94588
PLEASANTON VALLEY MORTGAGE
DBA DIVERSIFIED CAPITAL FUNDING
5199 JOHNSON DR #100
PLEASANTON, CA 94588
PLUNKETT & COONEY
38505 WOODWARD #2000
BLOOMFIELD HILLS, MI 48304

PLYMOUTH AND SOUTH SHORE
ASSOCIATION OF REALTORS
48 SCHOOSETT ST
PEMBROKE, MA 02359
PLYMOUTH HOUSING GROUP
2113 3RD AVE
SEATTLE, WA 98121

PLYMOUTH TOWNSHIP
700 BELVOIR RD
PLYMOUTH MEETING, PA 19462

PMI MORTGAGE INSURANCE CO
PMI PLAZA
3003 OAK RD
WALNUT CREEK, CA 94597
PNC BANK NA
ONE PNC PLAZA
27TH FL 249 FIFTH AVE
PITTSBURGH, PA 15222-2707
POCATELLO NEIGHBORHOOD
HOUSING SERVICES
PO BOX 1146
206 N ARTHUR
POCATELLO, ID 83204
POCHTECA MEDIA LLC
714 W OLYMPIC BLVD #609
LOS ANGELES, CA 90015
PODELL SCHWARTZ
SCHECHTER BANFIELD LLP
605 3RD AVE
NEW YORK, NY 10158
POET MAGAZINE INC
DBA S A POET MAGAZINE
ATTN BUSINESS MGR TED RESNICK
                                       Page 656
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11858 WURZBACH RD
SAN ANTONIO, TX 78230

POFF & BOWMAN LLC
PO BOX 24
HAWTHORNE, NJ 07507
POINT & SHIP SOFTWARE INC
500 YGNACIO VALLEY RD #400
WALNUT CREEK, CA 94596
POINT & SOFTWARE
500 YGNACIO VALLEY RD #400
WALNUT CREEK, CA 94596

POINT AND SHIP
[Address to Be Provided]
POINT B SOLUTIONS GROUP LLP
DEPT #270
PO BOX 34935
SEATTLE, WA 98124-1935

POINT FOUNDATION
5757 WILSHIRE BLVD #370
LOS ANGELES, CA 90036
POINTS OF LIGHT FOUNDATION
HANDS ON NETWORK
600 MEANS ST #210
ATLANTA, GA 30318
POINTSEC MOBILE TECHNOLOGIES
2441 WARRENVILLE RD #210
LISLE, IL 60532

POLICE SECURITY EXPO 2006
NJ POLICE CHIEFS FOUNDATION INC
PO BOX 20068
SARASORA, FL 34276-3068

POLICE UNITY TOUR INC
PO BOX 528
FLORHAM PARK, NJ 07932
POLICYLINK
101 BORADWAY
OAKLAND, CA 94607

POLISH AMERICAN ASSOCIATION
3834 N CICERO AVE
CHICAGO, IL 60641
POLISH AMERICAN CHAMBER OF
COMMERCE
4800 N MILWAUKEE AVE #206
CHICAGO, IL 60630

POLIVY & TASCHNER LLC
PO BOX 230294
HARTFORD, CT 06123-0294
POLK COMMUNITY DEVELOPMENT CORP
                                       Page 657
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
204 SW WALNUT
PO BOX 467
DALLAS, OR 97338
POLK COUNTY TAX COLLECTOR
JOE G TEDDER
PO BOX 2016
BARTOW, FL 33831-2016

POLK EDUCATION FOUNDATION AND
BUSINESS PARTNERSHIP INC
1530 SHUMATE DR
BARTOW, FL 33831
POLLY LOCKMAN DESIGN LLC
5538 B BAUDRY ST
EMERYVILLE, CA 94608
POLLY SMITH WINDHAM
C/O THE GIBSON LAW FIRM PLLC
447 NORTHPARK DR
RIDGELAND, MS 39157

POLUNSKY & BEITEL LLP
8000 I H 10 WEST #1600
SAN ANTONIO, TX 78230-3892
POLYPATHS LLC
ONE ROCKEFELLER PLAZA #1700
NEW YORK, NY 10020

POLYTECHNIC HIGH SCHOOL
WEBSTER ELEMENTARY
1600 ATLANTA AVE
LONG BEACH, CA 90813

POMONA CHAMBER OF COMMERCE
101 W MISSION BLVD #223
POMONA, CA 91767
POMONA VALLEY MINING COMPANY
1777 GILLETTE RD
POMONA, CA 91768

POPE & HUGHES
29 W SUSQUEHANNA AVE #110
TOWSON, MD 21204

POPMULTIMEDIA
3421 THORNDYKE AVE W
SEATTLE, WA 98119
POPTV LLC
5069 MAUREEN LANE #A
MOORPARK, CA 93021
PORCARO GROUP INC
1257 WORCESTER RD #312
FRAMINGHAM, MA 01701
PORT ANGELES ASSOC OF REALTORS
127 E 1ST ST #2W
PORT ANGELES, WA 98362
                                      Page 658
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
PORT ANGELES CHAMBER
OF COMMERCE
121 E RAILROAD
PORT ANGELES, WA 98362

PORT CHESTER RYE TOWN COUNCIL
OF COMMUNITY SERVICES
28 ADEE ST
PO BOX 322
PORT CHESTER, NY 10573
PORT ORCHARD CHAMBER
OF COMMERCE
1014 BAY ST #8
PORT ORCHARD, WA 98366-3907

PORTER WRIGHT MORRIS & ARTHUR
250 E 5TH ST #2200
CINCINNATI, OH 45202-5118
PORTERFIELD HARPER MILLS
&MOTLOW PA TRUST
22 INVERNESS PKWY#600
BIRMINGHAM, AL 35253

PORTFOLIO MANAGEMENT ASSOC INC
119 W 57TH ST #200
NEW YORK, NY 10019

PORTFOLIO MORTGAGE INC
0105 EDWARDS VILLAGE BLVD #C207
EDWARDS, CO 81632

PORTIVA CORPORATION
[Address to Be Provided]
PORTLAND BUSINESS JOURNAL
THE BUSINESS JOURNAL
851 SW 6TH AVE #500
PORTLAND, OR 97204

PORTLAND COMMUNITY COLLEGE FDTN
PORTLAND COMMUNITY COLLEGE
PO BOX 19000
PORTLAND, OR 97280-0990

PORTLAND COMMUNITY LAND TRUST
3109 B NE BROADWAY
PORTLAND, OR 97232
PORTLAND HOUSING CENTER
3233 NE SANDY BLVD
PORTLAND, OR 97232-2557
PORTLAND IMPACT INC
10055 E BURNSIDE ST
PORTLAND, OR 97216
PORTLAND METROPOLITAN ASSN
OF REALTORS
5331 SW MACADAM AVE #207
PORTLAND, OR 97239
                                       Page 659
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PORTLAND POLICE
ALARMS
PO BOX 1867
PORTLAND, OR 97207

PORTLAND ROSE FESTIVAL ASSN
5603 SW HOOD AVE
PORTLAND, OR 97239

PORTLAND YOUTH BUILDERS
4816 SE 92ND AVE
PORTLAND, OR 97266
PORTOFINO ITALIAN BISTRO
102 E HAWTHORNE PRKY
VERNON HILLS, IL 60061
PORTRAIT INTERNATIONAL INC
125 SUMMER ST 16TH FL
BOSTON, MA 02110

POST FALLS AREA
CHAMBER OF COMMERCE
510 E 6TH AVE
PO BOX 908
POST FALLS, ID 83877

POSTAL CENTER INTERNATIONAL INC
PO BOX 864376
ORLANDO, FL 32886-4376
POSTAL EXPRESS
PO BOX 864
BELLEVUE, WA 98009

POSTMASTER GMC
1100 KINGS RD
JACKSONVILLE, FL 32203-9651
POSTNET #WA116
12128 N DIVISION
SPOKANE, WA 99218-1905

POTESTIVO & ASSOCIATES
811 S BLVD #100
ROCHESTER HILLS, MI 48307

POTLATCH FUND
801 2ND AVE #304
SEATTLE, WA 98104
POULSBO CHAMBER OF COMMERCE
PO BOX 1063
POULSBO, WA 98370
POWAY UNIFIED SCHOOL DISTRICT
PARTNERS IN EDUCATION PROGRAM
13626 TWIN PEAKS RD
POWAY, CA 92064-3098

POWELL GOLDSTEIN LLP
ACCOUNTS RECEIVABLE
                                       Page 660
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 198923
ATLANTA, GA 30384-8923

POWELL MURPHY PC
322 N OLD WOODWARD
BIRMINGHAM, MI 48009
POWELL VALUATION INC
3220 STATE ST #100
SALEM, OR 97301
POWERDIRECT MARKETING LLC
ATTN ACCOUNTING DEPT
4700 VON KARMAN AVE #100
NEWPORT BEACH, CA 92660

POWERFUL SCHOOLS
3301 S HORTON
SEATTLE, WA 98144

POWERS AWARDS INC
41-700 CORPORATE WAY #C
PALM DESERT, CA 92260
PRACTISING LAW INSTITUTE
810 7TH AVE 25TH FL
NEW YORK, NY 10019

PRATT AREA COMMUNITY COUNCIL
201 DEKALB AVE
BROOKLYN, NY 11205
PRATT FOSSARD JENSEN & MASTERS
3432 CULPEPPER CT #A
SPRINGFIELD, MO 65804

PRAVDA STUDIOS LLC
1406 10TH AVE #200
SEATTLE, WA 98122
PRAXAIR DISTRIBUTION INC
DEPT LA 21511
PASADENA, CA 91185-1511

PRAXAIR DISTRIBUTION INC
PO BOX 120812
DEPT 0812
DALLAS, TX 75312-0812

PRE SORT CENTER OF STOCKTON INC
3806 CORONADO AVE
STOCKTON, CA 95204
PRE TULARE LLC
DBA PREFERRED OUTLETS AT TULARE
1407 RETHERFORD
TULARE, CA 93274

PREBON YAMANE USA INC
PO BOX 2010
JERSEY CITY, NJ 07303-2010
PRECEPT BUILDERS INC
                                       Page 661
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
1909 WOODALL RODGERS FWY #300
DALLAS, TX 75201

PREFERRED MORTGAGE SERVICES INC
ATTN BRENT SCHOLAR
2639 SAVANNAH SPRINGS AVE
HENDERSON, NV 89052
PREFERRED PAVING CO INC
2850 E LA CRESTA AVE
ANAHEIM, CA 92806
PREMIER 1 MORTGAGE LLC
8181 PROFESSIONAL PL #201
LANDOVER, MD 20785

PREMIER CONSUMER CRDT COUNSELNG
1790 W 49 ST #203
HIALEAH, FL 33012

PREMIER LENDING GROUP INC
6B LIBERTY #100
ALISO VIEJO, CA 92656
PREMIER MORTGAGE FUNDING INC
3001 EXECUTIVE DR #330
CLEARWATER, FL 33762

PREMIERE CREDIT OF N AMERICA
PO BOX 19309
INDIANAPOLIS, IN 46219-0309
PREMIERE SPEAKERS BUREAU
100 CORPORATE CENTER DR #120
FRANKLIN, TN 37067

PREMIUM MARKETING INC
2117 2ND AVE
SEATTLE, WA 98121
PREMIUM SETTLEMENTS
PREMIUM SETTLEMENTS LLC
5001 AMERICAN BLVD W #401
BLOOMINGTON, MN 55437
PRESS-TELEGRAM
PO BOX 4408
WOODLAND HILLS, CA 91365

PREST O PECONIC INC
PO BOX 89
RIVERHEAD, NY 11901-0012
PRESTIA & ORNELAS
AND YOLANDA RODRIGUEZ
PO BOX 876
600 S CLOSNER
EDINBURG, TX 78540
PRESTIGE MORTGAGE COMPANY
3531 BONITA BAY BLVD #300
BONITA SPRINGS, FL 34134

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PRESTIGE PUBLISHING INC
DBA HOMES AND LAND MAGAZINE
PO BOX 215
CRYSTAL BAY, NV 89402
PREVOST & SHAFF
15303 DALLAS PKWY #1030
ADDISON, TX 75001

PRG SCHULTZ USA INC
1488 PAYSPHERE CIR
CHICAGO, IL 60674
PRICE WATERHOUSE COOPERS
PRICE WATERHOUSE COOPERS LLP
FINANCIAL ADVISORS INC
8767 PASEO DE ROXAS
PHILAMLIFE TOWER
MAKATI CITY,   PHILIPINES

PRICE WATERHOUSE COOPERS LLP
PO BOX 31001-0068
PASADENA, CA 91110-0068
PRICEWATERHOUSECOOPERS LLP
PRICE WATERHOUSE COOPERS LLP
KORPACZ REAL ESTATE INVESTOR
SURVEY
PO BOX 988
FLORHAM PARK, NJ 07932

PRIDE FEST
PO BOX 9798
DENVER, CO 80209

PRIDE SOUTH FLORIDA
PO BOX 23686
FT LAUDERDALE, FL 33307-4804

PRIMARY LENDING GROUP INC
MORTGAGE ONE
3550 WILSHIRE BLVD #1150
LOS ANGELES, CA 90010

PRIMARY TITLE AGENCY LLC
ESCROW ACCOUNT
13407 FARMINGTON RD #100
LIVONIA, MI 48150

PRIMAVERA SYSTEMS INC
PO BOX 8500 42130
PHILADELPHIA, PA 19178-8500
PRIME ASSOCIATES INC
120 WOOD AVE S #401
ISELIN, NJ 08830

PRIME BANKER REALTY INC
PRIME BANKER MORTGAGE SERVICES
8115 ROMAINE ST #10
LOS ANGELES, CA 90046
PRIME CAPITAL FUNDING LLC
                                      Page 663
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922 BUSTLETON PIKE
FEASTERVILLE, PA 19053

PRIME PACK & SHIP
712 E HIGGINS RD
SCHAUMBURG, IL 60173
PRIME PUBLICATIONS INC
DBA THE MAGAZINE OF SANTA CLARA
28318 CONSTELLATION RD
VALENCIA, CA 91355
PRIME TIME INC
17400 JUDSON RD
SAN ANTONIO, TX 78247

PRIME TIME MORTGAGE INC
2239 COMMERCE PKWY #1
WESTON, FL 33326

PRIME WATERPROOFING ASSOC INC
DBA PRIME WATERPROOFING
ROOFING
12035 E SLAUSON AVE #A
SANTA FE SPRINGS, CA 90670

PRIMMER PIPER EGGLESTON
& CRAMER PC
PO BOX 1489
BURLINGTON, VT 05402

PRIMROSE PRODUCTIONS INC
PRIMROSE MAGAZINE
6955 N DURANGO DR #1115
LAS VEGAS, NV 89149

PRINCE GEORGES COUNTY
PRINCE GEORGE COUNTY LAND
CLERK OF THE CIRCUIT COURT
14735 MAIN ST RM L65
UPPER MARLBORO, MD 20772

PRINCETON ECOM
ATTN: ANN VASY
650 COLLEGE ROAD EAST
PRINCETON, NJ 08540

PRINCETON REGIONAL CHAMBER OF
COMMERCE
9 VANDEVENTER AVE
PRINCETON, NJ 08542
PRINCIPAL MANAGEMENT LLC
801 GRAND AVE 23RD FL
DES MOINES, IA 50392-1450
PRINEVILLE-CROOK COUNTY
CHAMBER OF COMMERCE
390 NE FAIRVIEW
PRINEVILLE, OR 97754

PRINOVA TECHNOLOGIES INC
155 UNIVERSITY AVE #207
                                       Page 664
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TORONTO, ON M5H 3B7 CANADA
PRINTED SYSTEMS INC
DBA PSI PRINTING
6817 SOUTHPOINT PKWY #1601
JACKSONVILLE, FL 32216
PRINTING CONTROL SERVICE INC
DBA PRINTING CONTROL GRAPHICS
PO BOX 88235
TUKWILA, WA 98138-2235
PRINTING TODAY INC
14360 NW SCIENCE PARK DR
PORTLAND, OR 97229-5419

PRIORITY CAPITAL CORPORATION
5950 CANOGA AVE #610
WOODLAND HILLS, CA 91367

PRIORITY MAILING SYSTEMS INC
1843 WESTERN WAY
TORRANCE, CA 90501
PRO CAPITAL MORTGAGE
6160 STONERIDGE MALL RD #230
PLEASANTON, CA 94588

PRO HEATING & AIR COND INC
PO BOX 6526
SPOKANE, WA 99217-0909
PRO SCHOOLS
PROSCHOOLS INSURANCE TRAINING
10225 SW PARKWAY
PORTLAND, OR 97225
PRO SECURITY SERVICES INC
DBA AAA TRANSPORTATION GROUP
PO BOX 930
NEW HYDE PARK, NY 11042

PRO TECK SERVICES LTD
411 WAVERLY OAKS RD #321
WALTHAM, MA 02452
PRO VISION MINISTRIES INC
4422 BALKIN
HOUSTON, TX 77021
PRO-CAPITAL CONSULTING SVCS
71 NORTH AVENUE
NEW ROCHELLE, NY 10801

PROCOURIER INC
PO BOX 712142
LOS ANGELES, CA 90071-2142

PRODESIGN & VENDING
TECHNOLOGIES INC
68 ROUTE 125
KINGSTON, NH 03848

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PROFESSIONAL ASSOCIATES
CONSTRUCTION SVCS INC
1626 E 4TH ST
SANTA ANA, CA 92701
PROFESSIONAL CREDIT SERVICE
RAY KLEIN INC DBA
PO BOX 7548
EUGENE, OR 97401

PROFESSIONAL CREDIT SERVICE
2892 CRESCENT AVE
EUGENE, OR 97408
PROFESSIONAL FOOTBALL PLAYERS
FOUNDATION NO CALIFORNIA
6091 DINAH COURT
ROHNERT PARK, CA 94928
PROFESSIONAL RECOVERY SERVICES
TWO ECHELON PLAZA
221 LAUREL RD #350
VOORHEES, NJ 08043
PROFESSIONAL REFERRAL
ORGANIZATION
PO BOX 1981
SUN CITY, AZ 85372

PROFESSIONAL SERVICE
INDUSTRIES INC
PO BOX 71168
CHICAGO, IL 60694-1168

PROFESSIONAL SPECIALTIES
& INCENTIVES INC
500 N KIMBALL BLDG #101
SOUTHLAKE, TX 76092

PROFESSIONAL SPORTS
PUBLICATIONS
570 ELMONT RD DEPT 203
ELMONT, NY 11003

PROFESSIONAL SRVCS TO ECUADOR
EL NOTICIERO ECUATORIANO
5732 VAN DOREN ST
CORONA, NY 11368

PROFESSIONAL SURVEYING SERVICES
6050 COLTER AVE
CINCINNATI, OH 45230-1717
PROFESSIONALS IN HUMAN
RESOURCES ASSOCIATION
550 N CONTINENTAL BLVD #120
EL SEGUNDO, CA 90245

PROGINET CORPORATION
200 GARDEN CITY PLAZA
GARDEN CITY, NY 11530
PROGRESSION FINANCIAL
                                       Page 666
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
620 EL CAMINO REAL
SAN CARLOS, CA 94070

PROGRESSIVE FINANCIAL SERVICES
PO BOX 070957
CHARLOTTE, NC 28272
PROGRESSIVE FINANCIAL SVCS INC
1919 W FAIRMONT DR BLDG 8
TEMPE, AZ 85282
PROGRESSIVE LENDERS INC
22020 CLARENDON ST #20
WOODLAND HILLS, CA 91367

PROGRESSIVE MORTGAGE INC
5008 62ND AVE E
PUYALLUP, WA 98371
PROGRESSIVE REALTY ADVISORS INC
JAMES J HARDICK
31379 CORTE SONORA
TEMECULA, CA 92592
PROJECT CONTROL ASSOCIATES INC
11 SOUTH ST #3
MORRISTOWN, NJ 07960

PROJECT ENTERPRISE
144 W 125TH ST 4TH FL
NEW YORK, NY 10027
PROJECT GRAD HOUSTON
PO BOX 15568
HOUSTON, TX 77220

PROJECT GRAD LOS ANGELES
10625 ERWIN ST
N HOLLYWOOD, CA 91606
PROJECT KARMA INC
1103 PARK ROW SOUTH SE
ATLANTA, GA 30312

PROJECT LINK INC
PO BOX 4447
TAMPA, FL 33607

PROJECT MANAGEMENT INSTITUTE
4 CAMPUS BLVD
NEWTOWN SQUARE, PA 19073-3299
PROJECT NOW INTERGENERATIONAL
OUTREACH INC
4902 N 22ND ST
TAMPA, FL 33610

PROJECT PATCH
2058 N FARWELL AVE
BOISE, ID 83713

PROJECT TRANSFORMATION
547 E JEFFERSON BLVD
                                       Page 667
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DALLAS, TX 75203
PROLABWEST INC
123 NW 36TH ST
SEATTLE, WA 98107

PROLINE CONSTRUCTION CO INC
2120 S ASH ST #200
DENVER, CO 80222-4930

PRO-LINE MORTGAGE INC.
11201 TAMPA AVE.
NORTHRIDGE, CA 91326
PROMARK DESIGN INC
JEFFREY DOBBERPUHL
2500 NEW BRIGHTON #201
HIGHWAY 88
ST ANTHONY, MN 55418

PROMENADE TOWERS
MUTUAL HOUSING CORP
5225 POOKS HILL RD
BETHESDA, MD 20814

PROMISSOR
GEORGIA INSURANCE DEPT
3300 HIGHLANDS PKWY #130
SMYRNA, GA 30082

PROMISSOR
3 BALA PLAZA W #300
BALA CYNWYD, PA 19004

PROMISSOR
8201 CORPORATE DR
METRO PLEX II #400
LANDOVER, MD 20785

PROMO DIRECT
2291 W 205TH ST #201
TORRANCE, CA 90501
PROPERTIES TITLE LLC
2000 WEBBER ST
SARASOTA, FL 34239

PROPERTY & PORTFOLIO RESEARCH
INC
260 FRANKLIN ST 17TH FL
BOSTON, MA 02110
PROPERTY ADVISORY CONSULTANTS
990 HIGHLAND DR #212L
SOLANA BEACH, CA 92075
PROPERTY OWNERS ASSOCIATION
1250 ROUTE 9 S
HOWELL, NJ 07731
PROPERTY RESEARCH PARTNERS LLC
PROPERTY SHARK
181 NORTH 11TH ST #307
                                      Page 668
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
BROOKLYN, NY 11211
PROPERTY SOLUTIONS INC
323 NEW ALBANY RDR 2B
MOORESTOWN, NJ 08057

PROQUIRE LLC
PO BOX 70071
CHICAGO, IL 60673-0071

PROSIGHT INC
DEPT CH17250
PALATINE, IL 60055-7250
PROSPECT MORTGAGE INC
21 WOLF RD
PROSPECT HEIGHTS, IL 60070
PROTIVITI INC
DBA KNOWLEDGE LEADER
12269 COLLECTIONS CENTER DR
CHICAGO, IL 60693

PROTIVITI, INC.
[Address to Be Provided]

PROVENIR INC
RESPONSE DATA CORPORATION
300 INTERPACE PARKWAY
PARSIPPANY, NJ 07054

PROVIDENT BANK
MC 201
7210 AMBASSADOR RD
BALTIMORE, MD 21244

PROVIDENT TITLE COMPANY
9300 WILSHIRE BLVD #100
BEVERLY HILLS, CA 90212
PROVISO LEYDEN COUNCIL FOR
COMMUNITY ACTION INC
411 W MADISON
PO BOX 950
MAYWOOD, IL 60153
PRUDENT PUBLISHING CO DBA
THE GALLERY COLLECTION
PO BOX 360
RIDGEFIELD PARK, NJ 07660-0360
PRUDENTIAL FEZLER AND RUSSELL
REAL ESTATE INC
2573 BARRINGTON CIRCLE
TALLAHASSEE, FL 32308
PRUDENTIAL OVERALL SUPPLY
PO BOX 11210
SANTA ANA, CA 92711
PRYOR & MANDELUP LLP
675 OLD COUNTRY ROAD
WESTBURY, NY 11590
                                      Page 669
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PS130M PARENTS ASSOCIATION
PROFESSIONAL PERFORMING ARTS HS
143 BAXTER ST
NEW YORK, NY 10013

PSI GROUP INC
1025 POST & PADDOCK
GRAND PRAIRIE, TX 75050-1140

PSI GROUP INC
PO BOX 3480
OMAHA, NE 68103-0480
PTA CALIFORNIA CONGRESS OF
PARENTS TEACHERS & STUDENTS INC
MADERA ELEMENTARY PTA
250 ROYAL AVE
SIMI VALLEY, CA 93065

PTA CALIFORNIA CONGRESS OF
PARENTS TEACHERS & STUDENTS INC
2327 L ST
SACRAMENTO, CA 95816

PTA GEORGIA CONGRESS
114 BAKER ST NE
ATLANTA, GA 30308

PTX I LP
DBA WESTIN DFW AIRPORT
4545 W JOHN CARPENTER FRWY
IRVINE, TX 75063

PUBLIC AFFAIRS COUNCIL
2033 K ST NW #700
WASHINGTON, DC 20006

PUBLIC COMPANY ACCOUNTING
OVERSIGHT BOARD
PO BOX 631116
BALTIMORE, MD 21263-1116
PUBLIC EDUCATION AND
BUSINESS COALITION
1244 GRANT ST
DENVER, CO 80203

PUBLIC EDUCATION NETWORK
601 13TH ST NW #990 NORTH
WASHINGTON, DC 20005
PUBLIC HEALTH FOUNDATION
ENTERPRISES INC
9021 MELROSE AVE #7
WEST HOLLYWOOD, CA 90069

PUBLIC LAW CENTER
601 CIVIC CENTER DR W
SANTA ANA, CA 92701

PUBLIC SCHOOL 130 PRE K
PARENTS ASSOCIATION
                                       Page 670
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143 BAXTER ST
NEW YORK, NY 10013

PUBLIC WORKS DEPT
SIGN PERMIT
CITY OF DEER PARK
PO BOX 700
DEER PARK, TX 77536

PUEBLO COUNTY CLERK AND
RECORDERS OFFICE
215 W 10TH ST
PUEBLO, CO 81003
PUELLO CONSULTING GROUP INC
C/O LUIS PUELLO
649 NAVARRE AVE
CORAL GABLES, FL 33134-3760
PUERTO RICAN ASSOCIATION
FOR HUMAN DEVELOPMENT INC
100 1ST ST
PERTH AMBOY, NJ 08861
PUERTO RICAN CHAMBER OF
COMMERCE OF ILLINOIS
2622 W DIVISION ST
CHICAGO, IL 60622

PUERTO RICAN CHAMBER OF COMMERC
7321 TAYLOR ST
HOLLYWOOD, FL 33024

PUERTO RICAN FAMILY INSTITUTE
145 W 15TH ST
NEW YORK, NY 10011
PUERTO RICAN ORG FOR COMMUNITY
EDUCATIONAL AND ECONOMIC DVLPMT
1126 DICKINSON ST
ELIZABETH, NJ 07201

PUERTO RICAN UNITY FOR PROGRESS
427 BROADWAY
CAMDEN, NJ 08103
PUERTORRIQUENOS ASOCIADOS
FOR COMMUNITY ORGANIZATION INC
390 MANILA AVE
JERSEY CITY, NJ 07302
PUGET SOUND BUSINESS JOURNAL
THE BUSINESS JOURNAL
PO BOX 32547
CHARLOTTE, NC 28254-3682
PUGET SOUND BUSINESS JOURNAL
THE BUSINESS JOURNAL
801 2ND AVE #210
SEATTLE, WA 98104

PUGET SOUND EDUCATIONAL
SERVICE DISTRICT
                                       Page 671
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3601 20TH ST E
FIE, WA 98424

PUGET SOUND HEALTH ALLIANCE
2003 WESTERN AVE #600
SEATTLE, WA 98121
PULLMAN CHAMBER OF COMMERCE
PULLMAN JR MISS
415 N GRAND AVE
PULLMAN, WA 99163
PULP CATERING LLC
3232 NW 74TH ST
SEATTLE, WA 98117

PURE AUDIO INC
2908 FIRST AVENUE
SEATTLE, WA 98121

PUSH AMERICA
PO BOX 241368
CHARLOTTE, NC 28224
PUTNAM COUNTY REGISTER OF DEEDS
300 E SPRING ST
COOKEVILLE, TN 38501

PUYALLUP SCHOOLS FOUNDATION
PO BOX 55
PUYALLUP, WA 98371
PYLES WHATLEY CORPORATION
11551 FOREST CENTRAL #220
DALLAS, TX 75243

PYX FINANCIAL GROUP INC
FINANCIALCADE CORPORATION
CENTRAL CITY #1750
SURREY, BC V3T 5X3 CANADA

Q & A RESEARCH INC
64 DIGITAL DR
NOVATO, CA 94949
Q-LYTICS CONSULTING INC
1011 BROOKSIDE RD #230
WESCONVILLE, PA 18106

QUADSTONE INC.
[Address to Be Provided]
QUAERO CORP
1930 CAMDEN RD #2060
CHARLOTTE, NC 28203
QUAERO CORPORATION
[Address to Be Provided]
QUALITY BUILDING INTERIORS
1012 W BEVERLY BLVD #337
MONTEBELLO, CA 90640

                                       Page 672
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
QUALITY BUSINESS SYSTEMS
6812 185TH AVE NE
REDMOND, WA 98052
QUALITY DATA SYSTEMS INC
1701 DOUTHIT COURT
POWHATAN, VA 23139
QUALITY EDUCATION DATA
SCHOLASTIC INC
PO BOX 3720
JEFFERSON CITY, MO 65102-3720
QUALITY EXPRESS MORTGAGE
PROCESSING CENTER INC
635 STRANDER BLVD
TUKWILA, WA 98188
QUALITY MORTGAGE GROUP INC
272 HARDIE AVE SW
RENTON, WA 98057

QUALYS
QUALYS Inc
1600 BRIDGE PKWY 2ND FL
REDWOOD CITY, CA 94065
QUANTITATIVE MICRO SOFTWARE LLC
4521 CAMPUS DR #336
IRVINE, CA 92612

QUANTITATIVE RISK MGMT GROUP
181 W MADISON ST 41ST FL
CHICAGO, IL 60602

QUANTUM CORPORATION
DEPT 0596
PO BOX 120596
DALLAS, TX 75312-0596
QUANTUM GROUP MORTGAGE & REAL
ESTATE LLC
QUANTUM GROUP LLC
11061 2ND ST #220
BELLEVUE, WA 98004
QUANTUM LOYALTY SYSTEMS INC
926 INCLINE WAY #200
INCLINE VILLAGE, NV 89451
QUATRRO RISK MANAGEMENT INC
CITIBANK N A
1078 3RD AVE
NEW YORK, NY 10021
QUEEN ELLA SHORT
AAFRAM Y SELLERS PLLC
PO BOX 1062
JACKSON, MS 39215-1062
QUEENS CHRONICLE
62-33 WOODHAVEN BLVD
REGO PARK, NY 11374
                                       Page 673
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QUEENS COLLEGE
STUDENT SERVICES CORP
65-30 KISSENA BLVD
FLUSHING, NY 11367

QUEENS COUNCIL ON THE ARTS
ONE FOREST PARK AT OAK RIDGE
WOODHAVEN, NY 11421-1166

QUEENS COUNTY DENTAL SOCIETY
86-90 188TH ST
JAMAICA, NY 11423
QUEENS COUNTY RECORDER
144-06 94TH AVE
JAMAICA, NY 11435
QUEST SOFTWARE
PO BOX 51739
LOS ANGELES, CA 90051-6039

QUEST SOFTWARE INC
QUEST SOFTWARE
PO BOX 51739
LOS ANGELES, CA 90051-6039
QUESTAR DATA SYSTEMS INC
2905 W SERVICE RD
EAGAN, MN 55121

QUESTION MARK CORPORATION
[Address to Be Provided]

QUESTIVA
TAILORED MAIL
155 108TH AVE NE #750
BELLEVUE, WA 98004

QUICKSTART INTELLIGENCE
ACCOUNTING DEPT
16815 VON KARMAN AVE #100
IRVINE, CA 92606-4920

QUIJOTE CORPORATION
QUIXOTE CORPORATION
DBA SENSIS
811 W 7TH ST #300
LOS ANGELES, CA 90017
QUINN EMANUEL URQUHART
OLIVER & HEDGES LLP
865 S FIGUEROA ST FLR 10
LOS ANGELES, CA 90017
QUISUMBING TORRES
12TH FL NET ONE CTR 26TH ST
CORNER 3RD AVE CRESCENT PK WEST
BONIFACIO GLOBAL CTY TAGUIG
MANILA, 1634 PHILIPPINES

QWEST
QWEST COMMUNICATIONS CORP
                                       Page 674
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PO BOX 856169
LOUISVILLE, KY 40285-6169

QWEST
QWEST COMMUNICATIONS CORP
PO BOX 9115
SEATTLE, WA 98111-9255
QWEST
PO BOX 17360
DENVER, CO 80217-0360
QWEST
PO BOX 173638
DENVER, CO 80217-3638

QWEST
PO BOX 29039
PHOENIX, AZ 85038-9039

QWEST
PO BOX 29080
PHOENIX, AZ 85038-9080
QWEST
PO BOX 91155
SEATTLE, WA 98111

QWEST CORPORATION
QWEST
PO BOX 91154
SEATTLE, WA 98111-9254

QWEST INTERPRISE AMERICA
PO BOX 856137
LOUISVILLE, KY 40285-6137
R & H CONSTRUCTION CO
1530 SW TAYLOR ST
PORTLAND, OR 97205

R & R PARTNERS INC
900 S PAVILION CENTER DR #100
LAS VEGAS, NV 89144
R A SMITH & ASSOCIATES INC
NATIONAL SURVEY & ENGINEERING
16745 W BLOEMOUND RD #200
BROOKFIELD, WI 53005-5938
R AND D STRATEGIC SOLUTIONS LLC
PO BOX 414541
BOSTON, MA 02241-0541

R C HEDREEN CO INC DBA
THE SEATTLE HILTON
PO BOX 1927
6TH & UNIVERSITY
SEATTLE, WA 98111
R EDMONDS DBA
RDSI
618 SE 181ST AVE
                                       Page 675
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PORTLAND, OR 97233
R F HAGEARTY & ASSOCIATES INC
92 CONNECTICUT BLVD
PO BOX 280125
EAST HARTFORD, CT 06128-0125
R F L COMMUNICATIONS INC
PO BOX 4514
SKOKIE, IL 60076-4514
R H DONNELLEY
DEX
8400 INNOVATION WAY
CHICAGO, IL 60682-0084

R J PETERSON INC
2406 ALMIRA AVE
FULLERTON, CA 92831

R K LANDERS AND ASSOCIATES INC
108 BUCK CIRCLE
FOLSOM, CA 95630
R KIMBALL MOSIER AS TRUSTEE
FOR FURNICO LLC
111 E BROADWAY #1100
SALT LAKE, UT 84111

R L G ENTERPRISES INC
DBA ZEE MEDICAL SERVICE CO
16631 BURKE LN
HUNTINGTON BEACH, CA 92647

R L HALL LAND TITLE CO INC
221 ADAMS ST
OCONTO, WI 54153

R R DONNELLEY RECEIVABLES INC
PO BOX 100112
PASADENA, CA 91189-0001

R WOOLSEY & ASSOCIATES
DBA HOMES & LAND MAGAZINE
839 S BRIDGE WAY PL
EAGLE, ID 83616-6097

R.S. BASSMAN
[Address to Be Provided]
RACHEL REYNOLDS
21166 SURFWOOD LN
HUNTINGTON BEACH, CA 92646

RACHELSON & WHITE PC
THREE RAVINIA DR #450
ATLANTA, GA 30346

RACO INDUSTRIES
PO BOX 692124
CINCINNATI, OH 45269-2124
RADAR STUDIO LTD
                                      Page 676
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111 W JOHN ST #302
SEATTLE, WA 98119

RADCLIFFE SHERMAN LLC
DBA CARDWEB
PO BOX 61371
FORT MYERS, FL 33906-1371
RADIAN GUARANTY INC
PREMIUM PROCESSING CENTER
PO BOX 823225
PHILADELPHIA, PA 19182-3225
RADIAN SERVICES LLC
RADIAN GUARANTY INC
ATTN ACCOUNTS RECEIVABLE
1601 MARKET STREET
PHILADELPHIA, PA 19103
RADIO DISNEY CHICAGO LLC
12330 COLLECTIONS CENTER
CHICAGO, IL 60693

RADIO ONE INC
RADIO ONE RICHMOND
5900 WILSHIRE BLVD #1900
LOS ANGELES, CA 90036

RADIO ONE OF TEXAS
RADIO ONE OF TEXAS LP
KR0I FM
PO BOX 847339
DALLAS, TX 75284

RADNOR TOWNSHIP
PO BOX 155
WAYNE, PA 19087-0155

RAFFAELE MAIONE AS TRUSTEE OF
THE LLOYD A WALTON LIVING TRUST
5260 N PALM AVE #421
FRESNO, CA 98704
RAGAN COMMUNICATIONS INC
111 E WACKER DR #500
CHICAGO, IL 60601

RAHWAY CENTER MGMT CORP
RAHWAY CENTER PARTNERSHIP
PO BOX 1711
RAHWAY, NJ 07065
RAIN FOREST FANTASY
119 N STATE ST
UKIAH, CA 95482-4415
RAINBOW CHAMBER OF COMMERCE
PO BOX 4917
SAN JOSE, CA 95150-4917
RAINBOW CHAMBER OF COMMERCE
1710 BROADWAY #8
SACRAMENTO, CA 95818
                                       Page 677
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RAINBOW ELECTRIC CORP
1110 BOSTON AVE
LONGMONT, CO 80501
RAINIER CLUB
820 4TH AVE
SEATTLE, WA 98104

RAINIER SCHOLARS
2100 24TH AVE S #210
SEATTLE, WA 98144
RAINMAKER CONSULTANTS LLC
1735 PEACHTREE ST #314
ATLANTA, GA 30309

RAINMAKERS INC
3040 PEACHTREE RD #1403
ATLANTA, GA 30305
RALF HERON
WRIGHT & SHAW PA TRUST ACCOUNT
2735 SANTA BARBARA BLVD #201
CAPE CORAL, FL 33914

RAMESH C BHAMBHRA
360 KIELY BLVD #235
SAN JOSE, CA 95129

RAMEY & FLOCK PC
PO BOX 629
TYLER, TX 75710

RAMONA CONVENT OF THE HOLY NAME
SECONDARY SCHOOL
1701 W RAMONA RD
ALHAMBRA, CA 91803

RAMONA T OBANNAN
48 SOUTH HILLS DR
ALISO VIEJO, CA 92656
RANCHO CORDOVA CHAMBER OF
COMMERCE
2729 PROSPECT PARK DR #117
RANCHO, CORDOVA 95670

RANCHO MIRAGE CHAMBER OF
COMMERCE
42-464 RANCHO MIRAGE LN
RANCHO MIRAGE, CA 92270
RANCHO PENASQUITOS TOWN COUNCIL
FIESTA DE LOS PENASQUITOS
DBA FIESTA DE LOS PENASQUITOS
PO BOX 720332
SAN DIEGO, CA 92172
RANCHO SAN DIEGO JAMUL CHAMBER
OF COMMERCE
3855 AVOCADO BLVD #230
LA MESA, CA 91941
                                       Page 678
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RANCHO SANTIAGO COMM CLGE DIST
SANTIAGO CANYON COLLEGE
8045 E CHAPMAN AVE
ORANGE CA, CA 92869

RANCHO SOUTHEAST ASSOCIATION
OF REALTORS
11812 S ST #200
CERRITOS, CA 90703
RANDALL G GRIMM
45 NICOLE DR
DENVILLE, NJ 07834-9509

RANDALL MICHELSON PHOTOGRAPHY
650 N BRONSON AVE #142
LOS ANGELES, CA 90004
RANDALL S NEWMAN PC
THE TRUMP BLDG 40 WALL ST
61ST FL
NEW YORK, NY 10005
RANDALL WACHSMUTH
[Address to Be Provided]
RANDY J HODNETT
422 HOOPER RD
DEVILLE, LA 71328

RANDY MELBY
[Address Information Redacted]

RAPID EXPRESS COURIER SYSTEMS
PO BOX 5796
SANTA ROSA, CA 95402

RAPID LIGHT PRODUCTIONS
8613 192ND DR SE
SNOHOMISH, WA 98290

RAPID REPORTING
PO BOX 33462
FT WORTH, TX 76162
RAPID TYPOGRAPHERS
RAPID LASGRAPHICS
505 BEACH STREET
SAN FRANCISCO, CA 94133
RAPIDFORMS INC
PO BOX 88042
CHICAGO, IL 60680-1042
RAPP COLLINS WORLDWIDE
437 MADISON AVE 4TH FL
NEW YORK, NY 10022
RAPPAPORT HERTZ CHERSON
& ROSENTHAL PC
118-35 QUEENS BLVD #1250
FOREST HILLS, NY 11375
                                      Page 679
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RAQUEL ESQUIVEL
CONFIDENTIAL
22907 CALBERT ST
WOODLAND HILLS, CA 91367

RAQUEL URRUTIA
6087 KINGMAN AVE
BUENA PARK, CA 90621

RARITAN BAY AREA YMCA
365 NEW BRUNSWICK AVE
PO BOX 148
PERTH AMBOY, NJ 08861

RAS ASSOCIATES INC
PO BOX 5064
PARSIPPANY, NJ 07054
RAUXA DIRECT LLC
275A MCCORMICK AVE
COSTA MESA, CA 92626

RAY E COMPO
DAVIS SANDS & COLLINS P C
911 MAIN ST #1720
KANSAS CITY, MO 64105

RAY M HARROD
25765 PASEO ESTRIBO
MONTEREY, CA 93940
RAY QUINNEY & NEBEKER
PO BOX 45385
SALT LAKE CITY, UT 84145-0385

RAYMOND CASTILLO
ENDLESS MUSIC ENTERTAINMENT
331 RAVENSMERE AVE
LAS VEGAS, NV 89123

RAYMOND HANDLING CONCEPTS CORP
DBA RAYMOND ADVANCED MATERIALS
HANDLING
41400 BOYCE RD
FREMONT, CA 94538-3152

RAYMOND OBUCHOWSKI
TRUSTEE #08 10606
PO BOX 60
BETHEL, VT 05032
RBS CITIZENS NA
RIEMER & BRAUNSTEIN
THREE CENTER PLAZA
BOSTON, MA 02108

RCDH OF PENNSYLVANIA DBA
A R HUGHES & COMPANY
1201 E HECTOR ST
CONSHOHOCKEN, PA 19428
RDP REAL ESTATE SERVICES INC
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AFFILIATED FINANCIAL SERVICES
31255 CEDAR VALLEY DR. #215
WESTLAKE VILLAGE, CA 91362
REACH COMMUNITY DEVELOPMENT INC
1135 SE SALMON ST
PORTLAND, OR 97214
READ2SUCCEED INC
13205 SW 137 AVE #131
MIAMI, FL 33186
REAL CAPITAL ANALYTICS
139 5TH AVE 6TH FL
NEW YORK, NY 10010

REAL ESTATE BOARD OF NEW YORK
570 LEXINGTON AVE
NEW YORK, NY 10022

REAL ESTATE BOOK OF AV
PO BOX 4908
LANCASTER, CA 93534
REAL ESTATE COUNCIL FOUNDATION
5430 LBJ FREEWAY #100
DALLAS, TX 75240

REAL ESTATE COUNSELING INC
INTEGRA REALTY RESOURCES
1718 PEACHTREE ST NW #175
ATLANTA, GA 30309-2409

REAL ESTATE DIRECTORY INC
DBA REDNEWS
5909 WEST LOOP S #135
BELLAIRE, TX 77401

REAL ESTATE GRAPHICS INC
7644 W 78TH ST
MINNEAPOLIS, MN 55439

REAL ESTATE MEDIA INC
520 8TH AVE 17TH FL
NEW YORK, NY 10018
REAL ESTATE WEST INC
DBA KATHLEEN PARSONS
AT REAL ESTATE WEST
905 MANHATTAN BEACH BLVD
MANHATTAN BEACH, CA 90266
REAL MEX
118 E HOSPITALITY LANE
SAN BERNARDINO, CA 92408
REAL MORTGAGE & INVESTMENT
SPECIALISTS INC
4165 4TH AVE
HIALEAH, FL 33013

REAL PROPERTY CONSULTANTS OF LI
100 BEDELL PL
                                       Page 681
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MELVILLE, NY 11747
REAL TAX SERVICES INC
DBA A PLUS BOOKKEEPING
20735 SHADOW MILL CT
KATY, TX 77450
REALEC TECHNOLOGIES INC
2510 RED HILL AVE
SANTA ANA, CA 92705
REALINFO LLC
16W361 S FRONTAGE RD #129A
BURR RIDGE, IL 60527-5830

REALPOINT
ATTN BOX 3001
116 WELSCH ROAD
HORSHAM, PA 19044

REALTOR ASSOCIATION
OF MARTIN COUNTY
43 SW MONTEREY RD
STUART, FL 34994

REALTOR ASSOCIATION
OF THE WEST SOUTH SUBURBAN
CHICAGOLAND
6655 S MAIN ST
DOWNERS GROVE, IL 60516

REALTOR ASSOCIATION OF GREATER
FT MYERS & THE BEACH INC
2840 WINKLER AVE
FORT MYERS, FL 33916

REALTORS ASSOC OF ST LUCIE INC
ST LUCIE ASSOC OF REALTORS
6666 S US 1 #1
PORT ST LUCIE, FL 34952

REALTOUCH INC
DBA SENDSATIONS CARD CO
1074 N INDUSTRIAL PARK DR
OREM, UT 84057
REALTY ADVENTURES INC
DBA LEE & ASSOCIATES
5000 N PKWY CALABASAS #100
CALABASAS, CA 91302
REALTY BANCORP EQUITIES TLG
LLC
21800 BURBANK BLVD #330
WOODLAND HILLS, CA 91367
REASE PORTER
C/O THE GIBSON LAW FIRM PLLC
447 NORTHPARK DR
RIDGELAND, MS 39157

REATA REAL ESTATE SERVICES LP
CB RICHARD ELLIS INC
                                      Page 682
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ATTN MONA LOWE
7330 SAN PEDRO #710
SAN ANTONIO, TX 78216
REB INTERNATIONAL LLC
84-33 116TH ST
RICHMOND, NY 11418
REBECCA FRANKLIN
DBA WOMEN LOOKING AHEAD NEWS MA
PO BOX 767277
ROSWELL, GA 30076
REBUILDING TOGETHER
METRO DENVER INC
4100 E MISSISSIPPI AVE #710
DENVER, CO 80246
REBUILDING TOGETHER
WASHINGTON COUNTY INC
12555 SW 4TH ST
BEAVERTON, OR 97005

REBUILDING TOGETHER HOUSTON
811 RUSK #1730
HOUSTON, TX 77002
REBUILDING TOGETHER SEATTLE
811 HARRISON ST
SEATTLE, WA 98109

REBUILDING TOGETHER TAMPA BAY
2906 W BAY TO BAY BLVD #A
TAMPA, FL 33629

REBUILDING TOGETHER W/CHRISTMAS
REBUILDING TOGETHER TAMPA BAY
IN APRIL GREATER MIAMI INC
1533 SUNSET DR #150
MIAMI, FL 33143

RECALL SECURE
RECALL SECURE DESTRUCTION SVCS
DESTRUCTION SERVICES INC
PO BOX 79245
CITY OF INDUSTRY, CA 91716-9245

RECALL SECURE DESTRUCTION SVCS
ATTN: ACCOUNTS RECEIVABLE
PO BOX 79245
CITY OF INDUSTRY, CA 91716-9245
RECALL TOTAL INFORMATION MNGT
PO BOX 101057
ATLANTA, GA 30392-1057
RECORD SEARCHLIGHT
BRV INC
DEPT LA 21065
PASADENA, CA 91185-1065

RECORDER OF DEED
JEFFERSON COUNTY
                                       Page 683
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PO BOX 100
HILLSBORO, MO 63050

RECRUITSOFT, INC. NKA TALEO CORP
[Address to Be Provided]

RED APPLE CONSTRUCTION INC
PO BOX 430
YAKIMA, WA 98907

RED LINE COURIER INC
10550 SEPULVEDA BLVD #203
MISSION HILLS, CA 91345
RED LION HOTEL
1415 5TH AVENUE
SEATTLE, WA 98101
RED PINE INC
134 N CHARLOTTE ST
LOMBARD, IL 60148

REDFORD PROPERTIES III
AMBER RUSTON CB RICHARD ELLIS
2755 E COTTONWOOD PKWY #100
SALT LAKE CITY, UT 84121
REDLANDS BICYCLE CLASSIC INC
415B TENNESSEE ST
REDLANDS, CA 92373

REDLANDS CHAMBER OF COMMERCE
1 EAST REDLANDS BLVD
REDLANDS, CA 92373

REDLANDS CHRISTIAN SCHOOL
1145 N CHURCH ST
REDLANDS, CA 92374

REDONDO BEACH VISITORS BUREAU
200 N PACIFIC COAST HWY
REDONDO BEACH, CA 90277
REED ELSEVIER INC
DBA LEXISNEXIS COURTLINK
PO BOX 7247 6882
PHILADELPHIA, PA 19170-6882

REED ELSEVIER INC DBA
REED ELSEVIER INC
LEXISNEXIS
PO BOX 2314
CAROL STREAM, IL 60132-2314

REED ELSEVIER INC DBA
REED ELSEVIER INC
LEXISNEXIS
PO BOX 7247-7090
PHILADELPHIA, PA 19170-7090
REED ELSEVIER INC DBA
REED ELSEVIER INC
LEXISNEXIS
                                        Page 684
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PO BOX 894166
LOS ANGELES, CA 90189-4166

REED ELSEVIER INC DBA
REED ELSEVIER INC
THE PARKER DIRECTORY
PO BOX 7247-0466
PHILADELPHIA, PA 19170-0466

REED SMITH LLP
2500 ONE LIBERTY PL
1650 MARKET ST
PHILADELPHIA, PA 19103-7301
REED SMITH LLP
PO BOX 7777-W4055
PHILADELPHIA, PA 19175-4055
REED WEITKAMP SCHELL & VICE
500 W JEFFERSON ST #2400
LOUISVILLE, KY 40202-2812

REEDLEY CHAMBER OF COMMERCE
1158 G ST
REEDLEY, CA 93654

REEDLEY DOWNTOWN ASSOCIATION
PO BOX 615
REEDLEY, CA 93654

REEDLEY ROTARY CLUB
PO BOX 1161
REEDLEY, CA 93654

REFUGEE WOMENS ALLIANCE
4008 MARTIN LUTHER KING JR WAY
SEATTLE, WA 98108

REGED INC
ATTN ACCOUNTS RECEIVABLE
75 REMITTANCE DR #6981
CHICAGO, IL 60675-6981
REGEN SPINAL REHABILITATION PC
DOMBROWSKI AND SORENSEN
670 N CLARK ST
CHICAGO, IL 60610

REGENCY ENTERPRISES INC
DBA REGENCY LIGHTING
23661 NETWORK PLACE
CHICAGO, IL 60673-1213
REGENCY PROPERTIES LP
DBA SURF & SAND HOTEL
1555 S COAST HWY
LAGUNA BEACH, CA 92651

REGENTS OF THE UNIV OF CALIF
CALIFORNIA CONTINUING
EDUCATION OF THE BAR
300 FRANK H OGAWA PLAZA #410
OAKLAND, CA 94612-2047
                                      Page 685
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REGENTS OF THE UNIVERSITY OF
UNIVERISTY OF CA RIVERSIDE
CALIFORNIA RIVERSIDE
900 UNIVERSITY AVENUE
RIVERSIDE, CA 92521
REGENTS OF THE UNIVERSITY OF CA
REGENTS UNIVERSITY OF CA
HARRT AT UCLA
PO BOX 951478
LOS ANGELES, CA 90095-1478
REGENTS UNIVERSITY OF CA
LOS ANGELES
UNIVERSITY OF CA AT LOS ANGELES
10920 WILSHIRE BLVD 5TH FL
LOS ANGELES, CA 90024
REGINA MONTOYA
WASHINGTON MUTUAL LEGAL DEPT
1301 2ND AVE - WMC3501
SEATTLE, WA 98101
REGINA MONTOYA
WASHINGTON MUTUAL LEGAL DEPT
[Address to Be Provided]
SEATTLE
WA, 98101

REGINA T. MONTOYA
[Address Information Redacted]

REGIONAL CONGREGATIONS
& NEIGHBORHOOD ORGANIZATION
TRAINING CENTER
1061 E 54TH ST
LOS ANGELES, CA 90011

REGIONAL INCOME TAX AGENCY
PO BOX 89475
CLEVELAND, OH 44101-6475
REGISTER OF DEEDS
OF DAVIDSON COUNTY
501 BROADWAY RM 501
METRO COURTHOUSE
NASHVILLE, TN 37203

REGISTER OF DEEDS
206 COURT ST
CHILTON, WI 53014
REICHEL REALTY & INVESTMENT INC
DAN CASEY
8845 N MILITARY TRAIL #100
PALM BEACH GARDENS, FL 33410

REID & HELLYER
PO BOX 1300
RIVERSIDE, CA 92502-1300
REID APPRAISAL
                                       Page 686
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23236 LYONS AVE #205
SANTA CLARITA, CA 91321

REINHART BOERNER VANDEUREN
NORRIS & RIESELBACH
PO BOX 2965
MILWAUKEE, WI 53201-2965
REINHOLD P WOLFF
ECONOMIC RESEARCH INC
4303 NE 1ST TERRACE #3
OAKLAND PARK, FL 33334
REIS SERVICES LLC
530 5TH AVE 5TH FLOOR
NEW YORK, NY 10036

REKITTA PETERS
HARRY WIDMANN
TWO LAKEWAY CENTER #590
3850 N CAUSEWAY BLVD
METAIRIE, LA 70002

REKLAMA
5802 SE POWELL BLVD
PORTLAND, OR 97206-2858
REKON TECHNOLOGIES
23 E COLORADO BLVD #203
PASADENA, CA 91105

RELAY INC
1507 WOODSON RD
ST LOUIS, MO 63114

RELAY INC
375 HUDSON ST 13TH FL
NEW YORK, NY 10014

RELIABLE ABSTRACT CORP
6500 JERICHO TURNPIKE #209
COMMACK, NY 11725
RELIANCE FINANCIAL GROUP
20863 STEVENS CREEK BLVD #560
CUPERTINO, CA 95014

RELIANT ENERGY RETAIL SERVICES
PO BOX 650475
DALLAS, TX 75265-0475
RELIGIOUS COMMUNITY SERVICES
503 S MARTIN LUTHER KING JR AVE
CLEARWATER, FL 33756
RELS SETTLEMENT SERVICES
ATI TITLE
5700 SMETANA DR #400
MINNETONKA, MN 55343
REM CORPORATION
PO BOX 970
DOWNERS GROVE, IL 60515
                                       Page 687
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REMEDY INTERACTIVE INC
480 GATE FIVE RD #130
SAUSALITO, CA 94965
RENAISSANCE
ENTREPRENEURSHIP CENTER
275 5TH AVE
SAN FRANCISCO, CA 94103-4120

RENAISSANCE PUBLICATION
DBA BEST OF THE BAY TELEVISION
25 METRO DR #550
SAN JOSE, CA 95110

RENE GILLIAND
2241 W 46TH ST
LOVELAND, CO 80538
RENE J BAILEY
RESIDENTIAL LENDING SOURCE
2650 JAMACHA RD #147-120
EL CAJON, CA 92019
RENE OCHOA
DES PLAINES PARK DISTRICT
36 GREENLAWN AVE
BENSENVILLE, IL 60106

RENEE GEOFFROY
HYDE & SWIGART
411 CAMINO DEL RIO S #301
SAN DIEGO, CA 92108

RENEE T. JOHNSON
[Address Information Redacted]
RENTACRATE
124 PROSPECT ST
WALTHAM, MA 02453

RENTAL HOUSING ASSN OF
PUGET SOUND
529 WARREN AVE N
SEATTLE, WA 98109
RENTAL HOUSING ASSOCIATION
480 FRANCISCO ST
SAN FRANCISCO, CA 94133
RENTON POLICE DEPARTMENT
1055 S GRADY WAY
RENTON, WA 98055

RENTON SCHOOL DISTRICT
MCKNIGHT MIDDLE SCHOOL
300 SW 7TH ST
RENTON, WA 98057
RENTON TECHNICAL COLLEGE
3000 NE 4TH ST
BUSINESS OFFICE J114
RENTON, WA 98056
                                      Page 688
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REPAIR SOLUTIONS CO
PO BOX 1845
NAMPA, ID 83653-1845
REPUBLIC MORTGAGE INSURANCE CO
LOCKBOX #402958
6000 FELDWOOD RD
ATLANTA, GA 30384-2958

REPUBLIC PARKING NORTHWEST
2815 2ND AVE #100
SEATTLE, WA 98107
REPUBLIC PARKING NORTHWEST INC
AMPCO SYSTEM PARKING
ATTN WAMU RICK ROLLER
2815 2ND AVE #100
SEATTLE, WA 98121

REPUBLIC PARKING NORTHWEST INC
1301 2ND AVE
SEATTLE, WA 98101
REPUBLIC PARKING SYSTEM INC
1905 SHERMAN ST #1040
DENVER, CO 80203

REPUTATION INSTITUTE INC
62 WILLIAM ST 9TH FL
NEW YORK, NY 10005
RESEARCH FNDTN CITY UNVSTY NY
RESEARCH FOUNDATION OF THE CITY
BRONX COMMUNITY COLLEGE
W 181ST ST & UNIVERSITY AVE
GOULD RESIDENCE HALL RM 517
BRONX, NY 10543

RESEARCH IN MOTION CORPORATION
12432 COLLECTION CTR DR
CHICAGO, IL 60693
RESEDA AUTOMOTIVE
6726 RESEDA BLVD
RESEDA, CA 91335

RESIDENTIAL MANAGEMENT GROUP
DBA DOUGLAS ELLMAN PROPERTY MGT
675 THIRD AVE
NEW YORK, NY 10017
RESIDENTIAL MANAGEMENT INC
1651 CONEY ISLAND AVE
BROOKLYN, NY 11230
RESIDENTIAL MORTGAGE CAPITAL
FIRST SECURITY LOAN CORP
FIRST SECURITY LOAN
6210 STONERIDGE MALL RD #120
PLEASANTON, CA 94588
RESIDENTIAL MORTGAGE CAPITAL
                                       Page 689
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FIRST SECURITY LOAN CORP
NORTH COAST MORTGAGE
80 E SIR FRANCIS DRAKE BLVD #3B
LARKSPUR, CA 94939
RESIDENTIAL WHOLESALE MRTGE INC
11234 EL CAMINO REAL #100
SAN DIEGO, CA 92130

RESOLUTION ECONOMICS LLC
9777 WILSHIRE BLVD #600
BEVERLY HILLS, CA 90212
RESOURCE MORTGAGE CORPORATION
1419 BURLINGAME AVE #R
BURLINGAME, CA 94010

RESOURCE ONE INC
30 JERICHO EXECUTIVE PLAZA
STE 400E
JERICHO, NY 11753

RESOURCES AUDIT SOLUTIONS, LLC AND ITS AFFILIATE, RESOURCES GLOBAL PROFESSIONALS
[Address to Be Provided]

RESOURCES CONNECTION INC
RESOURCES GLOBAL PROFESSIONALS
FILE #55221
LOS ANGELES, CA 90074-5221

RESOURCES FOR
COMMUNITY DEVELOPMENT
2730 TELEGRAPH AVE
BERKELEY, CA 94705

RESPONSE ENVELOPE INC
FILE 56454
LOS ANGELES, CA 90074-6454

RESPONSETEK NETWORKS CORP
#863 409 GRANVILLE ST
VANCOUVER, BC V6C 1T2 CANADA
RESTAURANT SERVICES COMPANY INC
DBA SKOOL LUNCH DELI & BAKERY
229 W 4800 S
MURRAY, UT 84107

RESTAURANTS ON THE RUN INC
27432 ALISO CREEK RD #200
ALISO VIEJO, CA 92656
RESTORE CONSTRUCTION SERVICES
417 AVENIDA CRESPI
SAN CLEMENTE, CA 92672
RESURGENT CAPITAL SERVICES
15 SOUTH MAIN ST #700
GREENVILLE, SC 29601
RETAIL CONSTRUCTION & SIGNAGE
28 KANSAS ST
HACKENSACK, NJ 07601
                                       Page 690
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RETAILER ONE ON ONE
C/O VICKI JALONEN
REAL PROPERTY SPECIALISTS
6700 CONROY RD #230
ORLANDO, FL 32835
RETIREMENT HOUSING FOUNDATION
911 N STUDEBAKER RD
LONG BEACH, CA 90815
REUTERS AMERICA INC
PO BOX 10410
NEWARK, NJ 07193-0410

REUTERS AMERICA LLC
REUTERS AMERICA INC
GENERAL POST OFFICE
PO BOX 26803
NEW YORK, NY 10087-6803
REUTERS TELERATE
GPO BOX 10410
NEWARK, NJ 07193-0410

REVAC INC
BRIAN A GINTER
5921 COVERDALE WAY #N
ALEXANDRIA, VA 22310

REVAL COM INC
100 BROADWAY 22ND FLR
NEW YORK, NY 10005

REVENUE ENHANCEMENT GROUP INC
530 S MAIN ST #105
ORANGE, CA 92868

REVIVE CREDIT COUNSELING INC
5257 BUCKEYSTOWN PIKE #140
FREDERICK, MD 21704

REVOLUTION INC
421 FAIRVIEW AVE N
SEATTLE, WA 98109
REXCORP
106/108-110 CORPORATE PARK DR
PO BOX 30988
NEW YORK, NY 10087-0988
REY FEO SCHOLARSHIP COMMITTEE
11514 JONES MALTSBERGER RD
SAN ANTONIO, TX 78216
REYNOLDSTOWN REVITALIZATION
CORPORATION
PO BOX 89092
ATLANTA, GA 30312
REZA AGHAMIRZADEH
[Address Information Redacted]

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RHINO IMAGING
130 W 29TH ST 7TH FL
NEW YORK, NY 10001
RHINO LAMINATES INC
20840 N BOCA RIDGE DR
BOCA RATON, FL 33428
RHODE ISLAND GENERAL TREASURER
DEPT OF BUSINESS REGULATION
SECURITIES DIVISION
233 RICHMOND ST #231
PROVIDENCE, RI 02903-4231
RHODE ISLAND TAXATION DIVISION
ONE CAPITOL HILL #9
PROVIDENCE, RI 02908-5811
RHONDA MCGLASHAN
5501 DAMARCUS BLVD #433
DUBLIN, CA 94568

RIA
THOMSON TAX & ACCOUNTING
PO BOX 6159
CAROL STREAM, IL 60197-6159
RICARDO GAUSIN
51 E DAKOTA #106
FRESNO, CA 93704

RICARDO MARTINEZ
CID
1699 CORAL WAY #510
MIAMI, FL 33145-2860

RICHARD & JUDY JORGENSEN
DBA BECKYS FLOWERS
1079 SUNRISE AVE #J
ROSEVILLE, CA 95661

RICHARD A FOWLER
DBA AMERICAN CLASSIC CATERING
26100 NEWPORT BLVD #A 12 22
MENIFEE, CA 92585
RICHARD ALLEN JONES
DBA LAW OFCS OF RICHARD A JONES
1801 E 17TH ST
SANTA ANA, CA 92705
RICHARD BAUMGART TRUSTEE
#08 12905
1801 E 9TH ST #1100
CLEVELAND, OH 44114
RICHARD BLUNCK
[Address Information Redacted]
RICHARD BOSTON TRUSTEE 06-05392
27 N 8TH ST
RICHMOND, IN 47374

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RICHARD BRAMLEY
DBA CORNWALL PACKAGE STORE
JUNCTIONS OF RT 7 & 4
CORNWALL BRIDGE, CT 06754
RICHARD C WILLIAMS
548 2ND ST
MANHATTAN BEACH, CA 90266

RICHARD CAPUANO CITY MARSHALL
62-59 WOODHAVEN BLVD
REGO PARK, NY 11374
RICHARD CAREAGA
[Address Information Redacted]

RICHARD E NIERENBERG
2860 216TH AVE SE
SAMMAMISH, WA 98075

RICHARD F HOHLT
1747 PENNSYLVANIA AVE NW #900
WASHINGTON, DC 20006
RICHARD GELINAS
287 E BAY BLVD
PORT HUENEME, CA 93041

RICHARD GENABITH OFFICER
PO BOX 317
BERKELEY HEIGHTS, NJ 07922
RICHARD GRAVES
43 E GARZAS RD
CARMEL VALLEY, CA 93924

RICHARD GREGORY SKINNER
601 W MERCER PL #301
SEATTLE, WA 98119
RICHARD J AND KAREN FICARELLI
14923 TADDOCK DR
WELLINGTON, FL 33414

RICHARD J LAMPERT
2 SUTTON PLACE
PLEASANTVILLE, NY 10570

RICHARD J MARGENOT ESQ
537 STEAMBOAT RD #100
GREENWICH, CT 06830
RICHARD KURZ MAI SRA
1910 17TH AVE
SAN FRANCISCO, CA 94116-1242
RICHARD M WOLZ
4367 NW 113TH AVE
SUNRISE, FL 33323
RICHARD MATTIOLI
HIS ATTORNEY FRANCIS & MAILMAN
LAND TITLE BLDG 19TH FL
                                      Page 693
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100 S BROAD ST
PHILADELPHIA, PA 19110

RICHARD MEAGLIA
688 WEST FOOTHILL BLVD
MONROVIA, VA 91016
RICHARD MILLS & ASSOCIATES INC
DBA RMA GROUP
12130 SANTA MARGARITA CT
RANCHO CUCAMONGA, CA 91730
RICHARD P JOBLOVE PA
12372 SOUTHWEST 82ND AVE 1ST FL
MIAMI, FL 33156-5223

RICHARD PFEIFFER
DBA PRIDECHICAGO
3712 N BROADWAY PMB 544
CHICAGO, IL 60613
RICHARD POLLAK
4541 COUNTY RD 138A
ALVIN, TX 77511-8950

RICHARD SCHNEIDER ENTERPRISES
27875 BERWICK DR # A
CARMEL, CA 93923-8518

RICHARD SCIBILIA
DBA RICHIES LOCKSMITH SERVICES
36 PINETREE LANE
ROSLYN HEIGHTS, NY 11577

RICHARD SPREISER
ALTFELD BATTAILE & GOLDMAN PC
250 N MEYER
TUCSON, AZ 85701

RICHARD ZIMMER
ZIMMER CONSTRUCTION CONSULTANTS
129 NW 13TH ST #20
BOCA RATON, FL 33432

RICHARDS BRANDT MILLER & NELSON
PO BOX 2465
SALT LAKE CITY, UT 84110-2465

RICHARDS LAYTON & FINGER PA
PO BOX 551
WILMINGTON, DE 19899
RICHARDS RALPH & SCHWAB
175 E HAWTHORN PKWY #345
VERNON HILLS, IL 60061
RICHARDSON INDEPENDENT SCHOOL
DISTRICT
400 S GREENVILLE
RICHARDSON, TX 75081

RICHARDSON REPORTING SERVICE
1640 GRANT ST #100
                                       Page 694
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DENVER, CO 80203
RICHMOND APARTMENT OWNERS ASSO
RICHMOND APARTMENT OWNERS ASSOCIATION
PO BOX 74821
RICHMOND, VA 23236
RICK DER PHOTOGRAPHY
50 MENDELL ST #10
SAN FRANCISCO, CA 94124
RICK NYE PHOTOGRAPHY
324 E 800 S
OREM, UT 84097

RICKY ALEXANDER
707 TORRANCE BLVD #200
REDONDO BEACH, CA 90277
RICKY L CARPENTER
33585 ROUTE 800
NEW MATAMORAS, OH 45767

RICOH AMERICAS CORP
PO BOX 4245
CAROL STREAM, IL 60197-4245
RICOH BUSINESS SOLUTIONS INC
3633 136TH PL SE
BELLEVUE, WA 98006

RICOH BUSINESS SYSTEMS
RICOH AMERICAS CORP
PO BOX 100663
PASADENA, CA 91189-0663

RICOH CORPORATION
RICOH AMERICAS CORP
DBA RICOH BUSINESS SYSTEMS
PO BOX 730366
DALLAS, TX 75373-0366

RICOH CORPORATION
RICOH AMERICAS CORP
LANIER PROFESSIONAL SERVICES
PO BOX 101960
ATLANTA, GA 30392-1960

RIDDELL WILLIAMS PS
1001 4TH AVENUE PLAZA #4500
SEATTLE, WA 98154-1192
RIDGE ABSTRACT CORP
1815 FLATBUSH AVE
BROOKLYN, NY 11210
RIDGEWOOD TIMES PRINTING &
PUBLISHING CO INC
PO BOX 299
QUEENS, NY 11386

RIFE CARBONIC CO
2259 AURORA RD
                                        Page 695
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MELBOURNE, FL 32935-3361
RILEY & ASSOCIATES LLC
10 BROOKES AVE
GAITHERSBURG, MD 20877

RINCON VALLEY EDUCATION FNDNT
ATTN LINDA OPEKA
PO BOX 5574
SANTA ROSA, CA 95409
RISHER INC
DBA RISHER HELIUM
1316 W WHITTIER BLVD
MONTEBELLO, CA 90640

RISK & INS MGMT SOCIETY INC
PO BOX 95000 2345
PHILADELPHIA, PA 19195-2345

RISK MANAGEMENT ASSOCIATION
LBX 1140 PO BOX 8500
PHILADELPHIA, PA 19178-1140
RISK MANAGEMENT ASSOCIATION
1801 MARKET ST #300
PHILADELPHIA, PA 19103-1628

RISKMETRICS GROUP
RISKMETRICS GROUP
PO BOX 98238
CHICAGO, IL 60693

RITA G PETERSON
LIETO & GREENBERG TRUSTEE
40 REEF RD
FAIRFIELD, CT 06824

RITA L BLIGH
7160 DEER POINT LN
WEST PALM BEACH, FL 33411

RITCH MUELLER
BLVD MANUEL A CAMACHO 24-20 FLR
, DF 11000 MEXICO
RITNER KRIECHBAUM DBA
BALLOONS & HELIUM
8707 KINGSPOINT
DALLAS, TX 75238
RITZ CARLTON HOTEL COMPANY LLC
DBA RITZ CARLTON AMELIA ISLAND
4750 AMELIA ISLAND PKWY
AMELIA ISLAND, FL 32034
RIVERHEAD CHAMBER OF COMMERCE
542 E MAIN ST #2
RIVERHEAD, NY 11901
RIVERMARK COMMUNITY
CREDIT UNION
8505 SW CREEKSIDE PL
                                       Page 696
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BEAVERTON, OR 97008
RIVERSIDE CNTY EMPLOYMENT EXPO
RIVERSIDE COUNTY EMPLOYMENT EXPO
PO BOX 10970
INDIO, CA 92201
RIVERSIDE COUNTY SUPERIOR COURT
4050 MAIN ST
RIVERSIDE, CA 92501
RIVERSIDE MEDIA INC
6101 SW FWY #124
HOUSTON, TX 77057

RIVERSIDE POLICE OFFICERS ASSOC
1965 CHICAGO AVE #B
RIVERSIDE, CA 92507
RIVERVIEW LEASE LOAN HOLDING
GE CAPITAL
GE CAPITAL
PO BOX 31001-0278
PASADENA, CA 91110-0278

RJ BRANIFF CORP
DBA AUTOMATED BUSINESS SYSTEMS
1426 ANTOINE
HOUSTON, TX 77055-5126

RJM ACQUISITIONS LLC
575 UNDERHILL BLVD #224
SYOSSET, NY 11791

RJS FINANCIAL GROUP INC
SHIELD MORTGAGE
6170 CORNERSTONE CT E #261
SAN DIEGO, CA 92121

RLI INSURANCE COMPANY
9025 NORTH LINDBERGH DRIVE
PEORIA, IL 61615
RMA
RISK MANAGEMENT ASSOCIATION
1801 MARKET ST #300
PHILADELPHIA, PA 19103

RMA GULF COAST CHAPTER
RISK MANAGEMENT ASSOCIATION
1900 WEST LOOP S #100
HOUSTON, TX 77027
RMC PROJECT MANAGEMENT INC
500 E TRAVELERS TRAIL PKWY #100
BURNSVILLE, MN 55337

RMIC CORPORATION
REPUBLIC MORTGAGE INSURANCE CO
PO BOX 402406
ATLANTA, GA 30384-2406
RMR FINANCIAL LLC
                                        Page 697
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DBA PRINCETON CAPITAL
16780 LARK AVE
LOS GATOS, CA 95032
ROARING FORK MORTGAGE GROUP INC
520 E COOPER AVE #201
ASPEN, CO 81611
ROBB D SCHARBAU
12815 NE 124TH ST #J
KIRKLAND, WA 98034
ROBERT “ROB” H. MOORE
[Address Information Redacted]

ROBERT A MERRING
3489 WINDSOR COURT
COSTA MESA, CA 92626
ROBERT ALEXANDER
[Address to Be Provided]

ROBERT AND TERRY NICHOLLS
6034 JACKSON
TAYLOR, MI 48180

ROBERT B WILSON
28 TEABERRY LN
RANCHO SANTA MARGARITA, CA 92688

ROBERT BAILEY
555 WASHINGTON AVE #4A
NEW YORK, NY 10033

ROBERT BAUER
[Address to Be Provided]
ROBERT BRANDT
DBA LIVE DEMO'S COMPANY
16515 ARMINTA ST
VAN NUYS, CA 91406

ROBERT BUCK
& DORIE BUCK
159 E 216TH ST
CARSON, CA 90745

ROBERT C TAYLOR JR
955 BLANCO CIRCLE #B
SALINAS, CA 93901
ROBERT C WOOD
DBA EAGLES LANDING FLORAL DSGN
1060 EAGLES LANDING PKWY #250
STOCKBRIDGE, GA 30281
ROBERT C. BJORKLUND
[Address Information Redacted]
ROBERT D DRAVES
CORNERSTONE REALTY ANALYSTS
18732 CRENSHAW BLVD
TORRANCE, CA 90504
                                        Page 698
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ROBERT D MCKINLEY
MCKINLEY & ASSOCIATES
25129 THE OLD RD #307
STEVENSON RANCH, CA 91381

ROBERT D MURPHY ASSOC INC
34 APPLETON AVE
PROSPECT HILL
BEVERLY, MA 01915
ROBERT D VIGIL
INPHO - INFORMATION ON HOLD
2788 N 32ND ST
SPRINGFIELD, OR 97477

ROBERT DAVIDS
ARC PROVIDER
17847 BULLOCK ST
ENCINO, CA 91316
ROBERT F KANE TRUST ACCOUNT
870 MARKET ST #1128
SAN FRANCISCO, CA 94102

ROBERT F SHEROD
DBA ROBERTS AWARDS &
ADVERTISING SPECIALTIES
1455 HAYS ST
SAN LEANDRO, CA 94577-3626

ROBERT H FISHER LLC
PO BOX 280143
SAN FRANCISCO, CA 94128-0143

ROBERT HALF INTERNATIONAL INC
5720 STONERIDGE DR #3
PLEASANTON, CA 94588-2700

ROBERT J COLEMAN
PO BOX 546
LA CANADA, CA 91012
ROBERT J OROVITZ DBA
HAYT HAYT & LANDAU
7765 SW 87TH AVE #101
MIAMI, FL 33173

ROBERT J SHARP
325 E PACES FERRY RD #1603
ATLANTA, GA 30305
ROBERT J. WILLIAMS
[Address Information Redacted]
ROBERT K SOLODARE OFFICER
PO BOX 270
CHATHAM, NJ 07928
ROBERT KETTENMANN
7 WESTNMINSTER RD
CHATHAM, NJ 07928

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ROBERT L ANDERSON
1204 175TH PL NE
BELLEVUE, WA 98008
ROBERT L RAY
1003 E COOLEY DR #101
COLTON, CA 92324
ROBERT L. GARBER
[Address to Be Provided]
ROBERT LLAMAS
1110 SILVA LANE
ALAMEDA, CA 94502

ROBERT M WOELM III
2631 SALMON DR
LOS ALAMITOS, CA 90720
ROBERT MORGAN FOUTS
FOUTS FINANCIAL
991-C LOMAS SANTA FE DR
SOLANO BEACH, CA 92075
ROBERT MORRIS
856 BURGDORF DR
AMBLER, PA 19002

ROBERT MURRAY
C/O THE GIBSON LAW FIRM PLLC
447 NORTHPARK DR
RIDGELAND, MS 39157

ROBERT P COCCO
437 CHESTNUT ST #1006
PHILADELPHIA, PA 19106
ROBERT R MCCORMICK TRIBUNE FNDT
ORLANDO MAGIC YOUTH FOUNDATION
8701 MAITLAND SUMMIT BLVD
ORLANDO, FL 32810

ROBERT R POHLS
ROBERT R PLHLS & ASSOCIATES
12657 ALCOSTA BLVD #150
SAN RAMON, CA 94583

ROBERT ROSS
[Address to Be Provided]
ROBERT S NELSON
900 CHERRY AVE #300
SAN BRUNO, CA 94066

ROBERT SCOTT HOOVER DBA
R S H MORTGAGE
2092 NEWBURY RD
NEWBURY PARK, CA 91320
ROBERT SOLIMINE
MARSHALL BADGE #62
9006 5TH AVE
BROOKLYN, NY 11209
                                       Page 700
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ROBERT SOLOMON INC
SECURARATECOM
500 STATE COLLEGE BLVD #1100
ORANGE, CA 92868

ROBERT TUAN TRAN DO
ALL STATE HOME LOANS
8011 ELSIE AVE
SACRAMENTO, CA 95828
ROBERT TURNER
THE FERGUSON FIRM
2003 WESTERN AVE #203
SEATTLE, WA 98121

ROBERT V SCHOOS
12516 177TH AVE NE
REDMOND, WA 98052

ROBERT W THURSTON
39 POPPY RD
CARMEL VALLEY, CA 93924
ROBERT W WARNER & ASSOCIATES PC
707 E MAPLE RD #102
TROY, MI 48083

ROBERT ZEPPIERI
22703 CANYON LAKE DR S
CANYON LAKE, CA 92587
ROBERTA NAPOLITANO AS CH 7
TRUSTEE FOR ATLANTIC
COMMUNICATIONS INC
350 FAIRFIELD AVE
BRIDGEPORT, CT 06604

ROBIN BANANDO
DBA BANANA GRIP EQUIPMENT
173 MCKINLEY PL
MONROVIA, CA 91016
ROBIN C HOLT
DBA ROBCO OF SAN ANTONIO
PO BOX 18924
SAN ANTONIO, TX 78218

ROBIN HAYES
PO BOX 301
HUDSON, IN 46747
ROBIN ROSLUND
DBA ARNE ROSLUND PHOTOGRAPHY
141 NW 20TH ST #B 13
BOCA RATON, FL 33431

ROBIN THOMAS
BARBER & BARBER
107 BEARD ST
POTEAU, OK 74953
ROBINSON BRADSHAW & HINSON
                                       Page 701
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101 N TRYON ST #1900
CHARLOTTE, NC 28246

ROBISON BELAUSTEGUI
SHARP & LOW
71 WASHINGTON ST
RENO, NV 89503
ROBODOCS COM
610 NEWPORT CTR DR #300
NEWPORT BEACH, CA 92660
ROCCO CONTRACTING COMPANY INC
923 WINDSOR TRAIL
ROSWELL, GA 30076

ROCHELLE LEE FUND
5153 N CLARK ST #206
CHICAGO, IL 60640

ROCHESTER AREA COLLEGES INC
4245 E AVE
ROCHESTER, NY 14618
ROCK SPRINGS NEWS
PO BOX 4083
APOPKA, FL 32704

ROCKCASTLE COUNTY CLERK
205 E MAIN ST
MOUNT VERNON, KY 40456
ROCKINGHAM COUNTY RECORDER
10 ROUTE 125
BRENTWOOD, NH 03833

ROCKLAND COUNTY BUILDERS &
REMODELERS ASSOCIATION
337 N MAIN ST
NEW CITY, NY 10956

ROCKLAND HOUSING ACTION
COALITION INC
95 NEW CLARKSTOWN RD
NANUET, NY 10954
ROCKLAND PARENT CHILD CENTER
137 FIRST AVE
NYACK, NY 10960
ROCKLEDGE HOTEL PROPERTIES INC
DBA W SEATTLE HOTEL
1112 4TH AVE
SEATTLE, WA 98101
ROCKWALL POLICE DEPT
ALARMS FINE
205 W RUSK
ROCKWALL, TX 75087
ROCKY MOUNTAIN HDC
142 W 5TH AVE
DENVER, CO 80204
                                      Page 702
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
ROD NORTHCUTT
BREVARD COUNTY TAX COLLECTOR
PO BOX 2500
TITUSVILLE, FL 32781-2500

ROD SWANSON
504 THE GLADE
ORINDA, CA 94563

RODERICK JONES
WATTS LAW GROUP
700 29TH ST SOUTH #201
BIRMINGHAM, AL 35233

RODERICK WATKINS
2049 STRAND ROAD
WALNUT CREEK, CA 94596
RODEY DICKASON SLOAN
AKIN & ROBB PA
201 3RD ST NW #2200
PO BOX 1888
ALBUQUERQUE, NM 87103

RODNEY C SLUTZKY
33 N DEARBORN ST #800
CHICAGO, IL 60602

RODOLFO MIRO ATTORNEY
PO BOX 9065
BRANDON, FL 33509

RODRICK BURNS-SMITH
C/O BRIAN J FARRELL
SUCCESSOR TEMP GUARDIAN
538 RIVERDALE AVE
YONKERS, NY 10705

ROE CASSIDY COATES & PRICE PA
PO BOX 10529
GREENVILLE, SC 29603
ROE MINOR REALTY
CONSULTANTS INC
1131 SE 3RD AVE
FORT LAUDERDALE, FL 33316-1109

ROE WALLACE ESTEVE
TAROFF & TAITZ LLP
31 OAK ST 2ND FLR
PO BOX 352
PATCHOGUE, NY 11772

ROETZEL & ANDRESS
222 S MAIL ST
AKRON, OH 44308

ROGELIO MARQUEZ
AND ROSA I MARQUEZ
1000 S CONCORD ST
LOS ANGELES, CA 90023

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
ROGEN
8 WEST 38TH ST 12TH FLOOR
NEW YORK, NY 10018
ROGER MOORE TRUST ACCOUNT
1751 FRANKLIN ST
DENVER, CO 80218
ROGER W JOHNSON
22628 MOSIER RD
SEDRO WOOLLEY, WA 98284
ROGERS & TAYLOR APPRAISERS INC
300 WHEELER RD #302
HAUPPAUGE, NY 11788-4300

ROGERS PARK COMMUNITY DEV CORP
ROGERS PARK COMMUNITY COUNCIL
1530 W MORSE AVE
CHICAGO, IL 60626
ROGERS TOWNSEND & THOMAS PC
PO BOX 100200
COLUMBIA, SC 29210

ROGOSIN INSTITUTE INC
DRYFUS HEALTH FOUNDATION
205 E 64TH ST #404
NEW YORK, NY 10065

ROGUE VALLEY ASSN OF REALTORS
629 FRANQUETTE ST
MEDFORD, OR 97501

ROLFE & LOBELLO PA
PO BOX 40546
JACKSONVILLE, FL 32203-0546

ROLFS PATISSERIE INC
4343 W TOUHY AVE
LINCOLNWOOD, IL 60712

ROLLING STONE
PO BOX 30895
NEW YORK, NY 10087-0895
ROMAN CATHOLIC ARCHBISHOP
OF LA NATIVITY SCHOOL
10907 ST LOUIS DR
EL MONTE, CA 91731
ROMES PIZZA
5999 DEZAVALA #111
SAN ANTONIO, TX 78249
ROMOWNERS INC
129A STERLING ST
BEACON, NY 12508
ROMULO MABANTA BUENAVENTURA
SAYOC & DE LOS ANGELES
8741 PASEO DE ROXAS
30TH FL CITIBANK TOWER
                                      Page 704
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MAKATI CITY,
RON P GAILEY
29916 61ST AVE S
AUBURN, WA 98001

RON WURZER
4877 24TH AVE S
SEATTLE, WA 98108

RONALD ARCHER
730 57TH ST #1C
BROOKLYN, NY 11220
RONALD CANTER ESQ
WOLPOFF & ABRAMSON
702 KING FARM BLVD 5TH FL
ROCKVILLE, MD 20850
RONALD FLYNN
6321 SEAVIEW AVE NW #19
SEATTLE, WA 98107

RONALD J FREEL
FLOAT MGMT ROUNDTABLE
PO BOX 875
NEW YORK, NY 10268-0875

RONALD J GEORGE
57 NORTH ST #313
DANBURY, CT 06810
RONALD J LEAMON
7324 12TH AVE NW
SEATTLE, WA 98117

RONALD MCDONALD HOUSE
520 SAND HILL RD
PALO ALTO, CA 94304
RONALD MCDONALD HOUSE CHARITIES
RONALD MCDONALD HOUSE
OF SOUTHERN CALIFORNIA
383 S BATAVIA ST
ORANGE, CA 92868-3904
RONALD MOSES
116 JOHN ST 15TH FL
NEW YORK, NY 10038
RONALD STICKA TRUSTEE #06 61767
PO BOX 10990
EUGENE, OR 97440

RONALD VAUGHN
FBO RONALD & JANIS VAUGHN
25748 WOODVILLA PL
SOUTHFIELD, MI 48075
RONALD W ERICKSON
1903 WASHINGTON ST
EAST BRIDGEWATER, MA 02333

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RONALD WILLIAMS
LAW OFFICES OF ANTHONY SPERBER
1808 6TH ST
BERKELEY, CA 94710
RONDA J WINNECOUR
CHAPTER 13 TRUSTEE WD PA
PO BOX 1132
MEMPHIS, TN 38101-1132

ROOF SYSTEM SERVICES INC
1621 BLOUNT RD
POMPANO BEACH, FL 33069
ROSE ASSOCIATES INC
200 MADISON AVE 5TH FL
NEW YORK, NY 10016
ROSE AVENUE ELEMENTARY
220 S DRISKILL ST
OXNARD, CA 93030

ROSE BARNETT
C/O THE GIBSON LAW FIRM PLLC
447 NORTHPARK DR
RIDGELAND, MS 39157
ROSE COMMUNITY DEVELOPMENT CORP
5215 SE DUKE ST
PORTLAND, OR 97206-7564

ROSE INTERNATIONAL INC
16401 SWINGLEY RIDGE RD #300
CHESTERFIELD, MO 63017

ROSE LAW FIRM
120 EAST FOURTH ST
LITTLE ROCK, AR 72201-2893

ROSE LAW FIRM
120 EAST FOURTH ST
LITTLE ROCK, AR 72201-2893
ROSE M CLARK
1021 RADCLIFFE AVE
BAKERSFIELD, CA 93305

ROSE M PADILLA
4618 BROOKWOOD NE
ALBUQUERQUE, NM 87109
ROSE PARK NEIGHBORHOOD ASSOC
PO BOX 3157
LONG BEACH, CA 90814
ROSE SCHWIMER
THE LAW OFFICES OF SCOTT E
SCHWIMER
8621 WILSHIRE BLVD #1000
BEVERLY HILLS, CA 90211

ROSELLE BUSINESS ALLIANCE
PO BOX 579B
                                       Page 706
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RARITAN RD
ROSELLE, NJ 07203

ROSELLE CHAMBER OF COMMERCE
135 E HIGHLAND PKWY
ROSELLE, NJ 07203
ROSEN & LIVINGSTON
275 MADISON AVE #500
NEW YORK, NY 10016
ROSENBERG & ESTIS PC
733 3RD AVE 14TH FL
NEW YORK, NY 10017

ROSENDIN ELECTRIC INC
PO BOX 49070
SAN JOSE, CA 95161-9070
ROSEVILLE CHAMBER OF COMMERCE
650 DOUGLAS BLVD
ROSEVILLE, CA 95678

ROSSBERG LAW OFFICE LLC
417 CENTRAL AVE #2A
GREAT FALLS, MT 59401
ROSSI DOSKOCIL & FINKELSTEIN
400 OCEANGATE #1000
LONG BEACH, CA 90802

ROSWELL B PERKINS
C/O DEBEVOISE & PLIMPTON
919 THIRD AVENUE
NEW YORK, NY 10022-3904

ROTARY BOYS & GIRLS CLUB
BOYS & GIRLS CLUB
ROTARY BRANCH
201 19TH AVE
SEATTLE, WA 98122

ROTARY CLUB OF CORONADO
PO BOX 180487
CORONADO, CA 92178
ROTARY CLUB OF CRESCENT CITY
PO BOX 573
CRESCENT CITY, CA 95531
ROTARY CLUB OF MARYSVILLE
PO BOX 630
MARYSVILLE, CA 95901

ROTARY CLUB OF MORRIS PLAINS
PO BOX 153
MORRIS PLAINS, NJ 07950

ROTARY CLUB OF NORWALK
PO BOX 1243
NORWALK, CA 90650
ROTARY CLUB OF SEATTLE
                                     Page 707
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1215 4TH AVE #1118
SEATTLE, WA 98161

ROTARY CLUB OF TAMPA EAST
PO BOX 1446
THONOTOSASSA, FL 33592
ROTHGERBER JOHNSON & LYONS LLP
ONE TABOR CENTER #3000
1200 17TH ST
DENVER, CO 80202
ROTHSCHILD & ASSOCIATES PLLC
1222 16TH AVE S #120
NASHVILLE, TN 37212-2926

ROUTH CRABTREE OLSEN PS
PO BOX 4143
BELLEVUE, WA 98009-4143

ROWELL FOSTER CHILDREN FUND INC
5850 W 3RD ST #178
LOS ANGELES, CA 90036
ROY LARSON JR DBA
BEND AWARDS & ENGRAVING
642 NE 1ST ST
BEND, OR 97701

ROYAL AMERICAN PRODUCTS
6812 SAN FERNANDO RD
GLENDALE, CA 91201

RPM WHOLESALE
NL INC
3201 DANVILLE BLVD #195
ALAMO, CA 94507

RRTI INC DBA
WASH CLUB COIN LAUNDRY
12231 ACADEMY RD NE #301-303
ALBUQUERQUE, NM 87111-7239
RS FOR DMS & P INC
GAINES STANLEY
3915 LEMMON AVENUE #200
DALLAS, TX 75219

RS INVESTMENTS INC
9 ANGELICA CT
PRINCETON, NJ 08540
RS PARKING SYSTEMS INC
401 GOLDEN ISLES DR #209
HALLANDALE, FL 33009
RSA SECURITY INC
RSA SECURITY INCORPORATED
PO BOX 024835
MIAMI, FL 33102-4835

RSA SECURITY INCORPORATED
RADBOUT BUEMER
                                       Page 708
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RSA SECURITY B.V.
PLANETENBAAN 2
MAARSSEN,   NETHERLANDS
RSA SECURITY INCORPORATED
PO BOX 49951
ATLANTA, GA 31192-9951
RSB FINANCIAL INC
TRISTAR FINANCIAL
39899 BALENTINE DR #345
NEWARK, CA 94560
RSK USA INC
EXECUTIVE PLANT SERVICES
PO BOX 616622
ORLANDO, FL 32861
RSM MCGLADREY INC
5155 PAYSPHERE CIR
CHICAGO, IL 60674

RSP & ASSOCIATES LLC
PO BOX 365
WILSONVILLE, OR 97070

RTA JOHNSON COUNTY RECORDER
111 S CHERRY #1200
OLATHE, KS 66061

RTL FINANCIAL INC
800 BELLEVUE WAY NE #325
BELLEVUE, WA 98004

RTM & J INC
4880 LOWER ROSWELL RD #165-244
MARIETTA, GA 30068-4385

RUBEN FLORES
450 WEST DORAN ST #121
GLENDALE, CA 91203

RUBEN HERNANDEZ
BENJAMIN R KAPLAN
30 AVE B
NEW YORK, NY 10009

RUDEN MCCLOSKY SMITH
SCHUSTER & RUSSELL PA
PO BOX 1900
FT LAUDERDALE, FL 33302
RUDOLFI ARTISTS IN MUSIC
ATTN KOTHY GOWLEY
1370 HONSEN AVE
ALOMEDO, CA 94501

RUDYS COUNTRY STORE AND BAR B Q
11570 RESEARCH BLVD
AUSTIN, TX 78759

RUMORES ENTERPRISES
1702 ISBELL LN
                                       Page 709
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ODESSA, FL 33556
RURAL COLLABORATIVE
PO BOX 681256
PARK CITY, UT 84068

RURAL COMMUNITY ASSISTANCE CORP
3120 FREEBOARD DR #201
WEST SACRAMENTO, CA 95691

RURAL HOUSING DEVT CORP
709 N 1890 W #39A
PROVO, UT 84601
RUSH MOORE CRAVEN
SUTTON MORRY & BEH
737 BISHOP ST
MAUKA TOWER #2400
HONOLULU, HI 96813

RUSH MOORE CRAVEN
SUTTON MORRY & BEH LLP
ATRIUM COURT, SUITE 103
75-167 KALANI STREET
KAILUA-KONA, HI 96740

RUSHING COMPANY
1725 WESTLAKE AVE N #105
SEATTLE, WA 98109

RUSSELL & CAROLYN MENDOZA DBA
SOFTECH SUITES
72040 LONDON RD
COTTAGE GROVE, OR 97424

RUSSELL BROWN
TRUSTEE # 02 09477
PO BOX 36172
PHOENIX, AZ 85067
RUSSELL D CARTER III
2171 W MAIN ST #201
PO BOX 628
CABOT, AR 72023
RUSSELL W WALTON
AND LOW BALL & LYNCH
AND SCHWARTZ & SOMMERS
1791 SAN JUAN CANYON RD
SAN JUAN BAUTISTA, CA 95040
RUSSIAN AMERICAN BUSINESS ASSOC
DBA RUSSIAN SI AD
PO BOX 60320
STATEN ISLAND, NY 10306
RUST CONSULTING INC
625 MARQUETTE AVE #880
MINNEAPOLIS, MN 55402
RUSTY ROCCA DBA
LIGHT & SOUND SOLUTIONS
4460 W SHAW AVE #196
                                       Page 710
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FRESNO, CA 93722
RUTH A SHARP PC
ATTNY FOR PLAINTIFF
PO BOX 25099
COLORADO SPRINGS, CO 80936
RUTH L CHAMOWITZ
118 N ALFRED ST
ALEXANDRIA, VA 22314
RUTHERFORD COUNTY CHANCERY CRT
ATTN JOHN BRATCHER - CLERK
RM 302 JD BLD 20 PUBLIC SQ N
MURFREESBORO, TN 37130

RWC CONSULTING GROUP LLC
PO BOX 1188
BOERNE, TX 78006-1188

RYAN CAMERON FOUNDATION INC
PO BOX 550469
ATLANTA, GA 30355
RYAN D ABBOTT
28501 235TH CT SE
MAPLE VALLEY, WA 98058

RYAN HUNTER & PAU
DBA JILLO-RYAN HUNTER & OLSEN
14661 FRANKLIN AVE #150
TUSTIN, CA 92780

RYAN PURCELL
4720 42ND AVE S
SEATTLE, WA 98118
RYAN SWANSON & CLEVELAND PLLC
1201 3RD AVE #3400
SEATTLE, WA 98101-3034

RYANS EXPRESS MOTORCOACH
1637 W BROOK AVE DEPT LA
NORTH LAS VEGAS, NV 89032
RYLEY CARLOCK & APPLEWHITE
ONE N CENTRAL AVE #1200
PHOENIX, AZ 85004-4417

S & L HOME LOANS INC
1799 OLD BAYSHORE HWY #241E
BURLINGAME, CA 94010
S & M COFERERE
DBA LEONARDS OF GREAT NECK
555 NORTHERN BLVD
GREAT NECK, NY 11021

S BENJAMINS & COMPANY INC
3020 OLD RANCH PARKWAY #300
SEAL BEACH, CA 90740
S C DEPARTMENT OF REVENUE
                                      Page 711
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SC DEPT OF REVENUE
CENTRAL LEVY UNIT
COLUMBIA, SC 29214-0213
S G DIVERSIFIED INC
DBA FASTSIGNS
430 W HILLSBORO BLVD
DEERFIELD BEACH, FL 33441

S O S SURVIVAL PRODUCTS
15705 STRATHERN ST #11
VAN NUYS, CA 91406
S R MUTUAL INVESTMENTS
DBA CALIFORNIA COUNTRY CLUB
1509 S WORKMAN MILL RD
WHITTIER, CA 90601-1412
S&O WINE MERCHANTS LLC
DBA THE WINE GALLERY
2411 E COAST HWY #250
CORONA DEL MAR, CA 92625

S&S FINANCIAL INC
SUNDT MORTGAGE GROUP
4810 CAMP LOWELL
TUCSON, AZ 85712

SACHEM CENTRAL SCHOOL DISTRICT
SECHEM CENTRAL SD
212 SMITH RD
LAKE RONKONKOMA, NY 11779

SACRAMENT ASIAN PACIFIC
CHAMBER OF COMMERCE
2012 H ST #202
SACRAMENTO, CA 95814

SACRAMENTO ASSN OF REALTORS
2003 HOWE AVE
SACRAMENTO, CA 95825

SACRAMENTO BUSINESS SVCS CTR
1491 RIVER PARK DR #101
SACRAMENTO, CA 95815
SACRAMENTO COUNTY SHERIFFS DEPT
ALARM ORDINANCE BUREAU
PO BOX 348720
SACRAMENTO, CA 95834-8720
SACRAMENTO DISTRICT
DENTAL SOCIETY
915 28TH ST
SACRAMENTO, CA 95816
SACRAMENTO HOME LOAN
COUNSELING CENTER INC
2003 HOWE AVE #100
SACRAMENTO, CA 95825

SACRAMENTO HOUSING &
REDEVELOPMENT AGENCY
                                       Page 712
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PO BOX 1834
SACRAMENTO, CA 95812-1834

SACRAMENTO HOUSING ALLIANCE
PO BOX 2430
SACRAMENTO, CA 95812
SACRAMENTO MASTER SINGER
PO BOX 417997
SACRAMENTO, CA 95841
SACRAMENTO METROPOLITAN
CHAMBER OF COMMERCE
ONE CAPITOL MALL #300
SACRAMENTO, CA 95814

SACRAMENTO MUTUAL
HOUSING ASSOCIATION
3451 5TH AVE
SACRAMENTO, CA 95817
SACRAMENTO NEIGHBORHOOD
HOUSING SERVICES INC
3453 5TH AVE
SACRAMENTO, CA 95817

SACRAMENTO VALLEY LOCKWORKS INC
10 MAIN ST #2
SACRAMENTO, CA 95838

SADDLE RANCH CHOP HOUSE
1000 UNIVERSAL STUDIOS BVD #195
UNIVERSAL CITY, CA 91608

SAFE ALTERNATIVES FOR EVERYONE
30520 RANCHO CALIFORNIA RD #107
TEMECULA, CA 92591

SAFEGUARD BUSINESS SYSTEMS
SAFEGUARD BUSINESS SYSTEMS INC
PO BOX 88043
CHICAGO, IL 60680-1043
SAFEGUARD CREDIT COUNSELING SER
112 PARKWAY DR S
HAUPPAUGE, NY 11788

SAFEGUARD RECORDS MANAGEMENT
1 BRUSSELS ST
WORCESTER, MA 01610
SAFEHARBOR TECHNOLOGIES INC
SAFEHARBOR TECHNOLOGY CORP
1326 5TH AVE #660
SEATTLE, WA 98101
SAFEHARBOR TECHNOLOGY CORP
ANNETTE JACOBS
150 TECHOLOGY LN
ELMA, WA 98541

SAFEHARBOR TECHNOLOGY CORP
ATTN ACCOUNTS RECEIVABLE
                                       Page 713
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PO BOX 49289
SAN JOSE, CA 95161-9289

SAFESITE INC
9505 JOHNNY MORRIS RD
AUSTIN, TX 78724
SAFETYMAX CORPORATION
DBA CITYAID FIRST AID DIRECT
2256 PALOU AVE
SAN FRANCISCO, CA 94124
SAFETYMAX CORPORATION
2256 PALOU AVE
SAN FRANCISCO, CA 94124

SAFEWAY INC
FILE# 72905
PO BOX 60000
SAN FRANCISCO, CA 94160-2905
SAG HARBOR ABSTRACT LLC
211 ROANOKE AVE
RIVERHEAD, NY 11901

SAHAG MESROB ARMENIAN
CHRISTIAN SCHOOL
PO BOX 221507
SANTA CLARITA, CA 91322

SAINT HOPE ACADEMY
4104 MARTIN LUTHER KING
SACRAMENTO, CA 95820

SALARY COM INC
BOX 83257
WOBURN, MA 01813-3257

SALEM AREA CHAMBER OF COMMERCE
1110 COMMERCIAL ST NE
SALEM, OR 97301-1020

SALEM COMMUNITY
DEVELOPMENT CORP
PO BOX 7364
945 COLUMBIA ST N
SALEM, OR 97303

SALEM ECONOMIC DEVELOPMENT CORP
745 COMMERCIAL ST NE
SALEM, OR 97301
SALEM KEIZER
EDUCATION FOUNDATION
PO BOX 993
SALEM, OR 97308

SALERNO APPRAISAL SERVICE
20 HEARTHSTONE DR
DIX HILLS, NY 11746

SALESGENIE.COM
5711 S 86TH CIRCLE
                                       Page 714
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OMAHA, NE 68127
SALINAS ROTARY CLUB
PO BOX 676
SALINAS, CA 93902-0676

SALINAS VALLEY
CHAMBER OF COMMERCE
119 E ALISA ST
PO BOX 1170
SALINAS, CA 93902
SALLIE MAE SERVICING
PO BOX 66469
INDIANAPOLIS, IN 46266-6469

SALPI B DEVLIN
1725 BLUE CANYON ST
THOUSAND OAKS, CA 91320

SALT LAKE CITY CORPORATION
SALT LAKE CITY
PO BOX 145458
SALT LAKE CITY, UT 84114-5458

SALT LAKE CITY COURTS
333 S 200 E
SALT LAKE CITY, UT 84111

SALT LAKE COMMUNITY DEVT CORP
501 E 1700 S
SALT LAKE CITY, UT 84105

SALT LAKE COUNTY TREASURER
SALT LAKE COUNTY
2001 S STATE ST #N3600
SALT LAKE CITY, UT 84190-4050

SALT LAKE EDUCATION FOUNDATION
440 E 100 S
SALT LAKE CITY, UT 84111

SALT LAKE NEIGHBORHOOD
HOUSING SERVICES INC
622 W 500 N
SALT LAKE CITY, UT 84116

SALVADORAN AMERICAN
LEADERSHIP & EDUCATIONAL FUND
1625 W OLYMPIC BLVD #706
LOS ANGELES, CA 90015
SAM GARCIA DBA
MORTGAGE DAILY COM
3811 TURTLE CREEK BLVD
DALLAS, TX 75219

SAM MCJUNKIN
2000 DOUGLAS DR NE
BAINBRIDGE ISLAND, WA 98110

SAMANTHA BRUNO
DBA WINDOW MONKEY
                                      Page 715
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2920 SILK OAK DR
SARASOTA, FL 34232

SAMCAR
850 WOODSIDE WAY
SAN MATEO, CA 94061
SAM'S CLUB
SAM&#39S CLUB
PO BOX 9001907
LOUISVILLE, KY 40290-1907
SAMS CLUB DIRECT
PO BOX 530930
ATLANTA, GA 30353-0930

SAMUEL & IRENE GREGORY
SAMUEL & IRENE GREGORY &
THE ATNY WILLIAM J BROWN III
WILLIAM J BROWN III
PO BOX 231216
ENCINITAS, CA 92023

SAMUEL E MCJUNKIN DBA
SAM MCJUNKIN
MCJUNKIN PRODUCTIONS
2000 DOUGLAS DR NE
BAINBRIDGE ISLAND, WA 98110

SAMUEL I WHITE PC
209 BUSINESS PARK DR
VIRGINIA BEACH, VA 23462

SAMUEL T LEWIS
LEWIS COMPANY APPRAISERS
PO BOX 6684
115 GIBSON RD
ANNAPOLIS, MD 21401

SAMUEL Z BROWN ATTORNEY TRUST
ACCOUNT
205 E KENNEDY BLVD
LAKEWOOD, NJ 08701

SAN ANTONIO AMATEUR SPORTS
FOUNDATION INC
PO BOX 830386
SAN ANTONIO, TX 78283

SAN ANTONIO BOARD OF REALTORS
9110 IH 10 W
SAN ANTONIO, TX 78230-3112
SAN ANTONIO EDUCATIONAL
PARTNERSHIP
1017 N MAIN AVE #101
SAN ANTONIO, TX 78212

SAN ANTONIO HISPANIC
CHAMBER OF COMMERCE
CASA DE MEXICO INTL BLDG
318 W HOUSTON ST #300
SAN ANTONIO, TX 78205
                                     Page 716
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SAN ANTONIO INDEPENDENT
SCHOOL DISTRICT
141 LAVACA ST
SAN ANTONIO, TX 78210

SAN ANTONIO MISSIONS BASEBALL
5757 HWY 90 N
SAN ANTONIO, TX 78227

SAN ANTONIO POLICE DEPARTMENT
ALARM UNIT
PO BOX 839948
SAN ANTONIO, TX 78283

SAN ANTONIO SPURS
ONE AT&T CENTER
SAN ANTONIO, TX 78219
SAN BENITO CNTY DEPT OF CHILD
SUPPORT SERVICES
2320 TECHNOLOGY PKWY
HOLLISTER, CA 95023-3023
SAN BENITO COUNTY
CHAMBER OF COMMERCE
650 SAN BENITO ST #130
HOLLISTER, CA 95023

SAN BERNARDINO CNTY SUPERIOR CT
303 W 3RD ST
SAN BERNARDINO, CA 92415

SAN BERNARDINO CONVENTION
AND VISITORS BUREAU
ATTN: BARBARA DAUGHERTY
1955 HUNTS LANE #102
SAN BERNARDINO, CA 92408

SAN BERNARDINO COUNTY
SUPERINTENDENT OF SCHOOLS
601 NORTH E ST
SAN BERNARDINO, CA 92410

SAN BERNARDINO COUNTY
SUPERIOR COURT
BIG BEAR DISTRICT
477 SUMMIT BLVD PO BOX 2806
BIG BEAR LAKE, CA 92315
SAN DIEGO ASIAN FILM FOUNDATION
7969 ENGINEER RD #206
SAN DIEGO, CA 92111

SAN DIEGO BLOOD BANK FOUNDATION
440 UPAS ST
SAN DIEGO, CA 92163

SAN DIEGO CHINESE CENTER
428 3RD AVE
SAN DIEGO, CA 92101
SAN DIEGO COMMUNITY
                                       Page 717
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
HOUSING CORPORATION
6160 MISSION GORGE RD #204
SAN DIEGO, CA 92120
SAN DIEGO COMMUNITY COLLEGE
AUXILIARY ORGANIZATION
3375 CAMINO DEL RIO S #240
SAN DIEGO, CA 92108-3883

SAN DIEGO COUNTY
SAN DIEGO COUNTY ASSESSOR
ASSESSOR RECORDER CLERK
PO BOX 121750
SAN DIEGO, CA 92112-1750

SAN DIEGO COUNTY COMMERCIAL
ASSOCIATION OF REALTORS
1024 WALL ST
LA JOLLA, CA 92037

SAN DIEGO COUNTY SALUTE
TO EDUCATION
4300 EL CAJON BLVD
SAN DIEGO, CA 92105

SAN DIEGO COUNTY SHERIFF
325 S MELROSE DR #2400
VISTA, CA 92081

SAN DIEGO CTY APARTMENT ASSOC
8788 BALBOA AVE #B
SAN DIEGO, CA 92123

SAN DIEGO DAILY TRANSCRIPT
ATTN MARY
2131 3RD AVE
SAN DIEGO, CA 92101

SAN DIEGO EAST COUNTY
CHAMBER OF COMMERCE
201 S MAGNOLIA AVE
EL CAJON, CA 92020
SAN DIEGO GRANTMAKERS
4270 EXECUTIVE SQ #200
LA JOLLA, CA 92037

SAN DIEGO HABITAT FOR HUMANITY
10222 SAN DIEGO MISSION RD
SAN DIEGO, CA 92110
SAN DIEGO HOTEL COMPANY LLC DBA
SAND DIEGO MARRIOT GAS LAMP QTR
ATTN: ACCOUNTING
660 K ST
SAN DIEGO, CA 92101

SAN DIEGO HOUSING COMMISSION
3989 RUFFIN RD
SAN DIEGO, CA 92123

SAN DIEGO HOUSING FEDERATION
110 WEST C ST #1013
                                       Page 718
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
SAN DIEGO, CA 92101
SAN DIEGO LA RAZA LAWYERS
ASSOCIATION SCHOLARSHIP FUND
PO BOX 125010
SAN DIEGO, CA 92112-5010
SAN DIEGO MULTI-HOUSING CORP
8788 BALBOA AVE #B
SAN DIEGO, CA 92123
SAN DIEGO MUSEUM OF ART
PO BOX 122107
SAN DIEGO, CA 92112-2107

SAN DIEGO N CHAMBER OF COMMERCE
11650 IBERIA PL #220
SAN DIEGO, CA 92128-2455
SAN DIEGO OPERA ASSOCIATION
1200 3RD AVE 18TH FL
CIVIC CENTER PLAZA
SAN DIEGO, CA 92101-4112
SAN DIEGO REGIONAL DISASTER
FUND
2508 HISTORIC
DECATUR RD #200
SAN DIEGO, CA 92106

SAN DIEGO REPERTORY THEATRE
79 HORTON PLAZA
SAN DIEGO, CA 92101

SAN DIEGO STATE UNIVERSITY
RESEARCH FOUNDATION
5500 CAMPANILE DR MC 8255
SAN DIEGO, CA 92182-8255

SAN DIEGO STATE UNIVERSITY
UNIVERSITY CASHIERS OFFICE
5500 CAMPANILE DR
SAN DIEGO, CA 92182-7426

SAN DIEGO URBAN ECONOMIC CORP
PO BOX 740773
SAN DIEGO, CA 92114

SAN DIEGO URBAN LEAGUE INC
720 GATEWAY CENTER DR
SAN DIEGO, CA 92102
SAN DIMAS CHAMBER OF COMMERCE
PO BOX 175
SAN DIMAS, CA 91773
SAN ENGINEERING LLC
6099 S WINDEMERE ST
LITTLETON, CO 80120
SAN FRAN COUNTY SHERIFFS DEPT
CITY & COUNTY OF SAN FRANCISCO
1 DR CARLTON GOODLETT PL #456
                                       Page 719
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CIVIL DIVISION
SAN FRANCISCO, CA 94102

SAN FRANCISCO
CHAMBER OF COMMERCE NORCALSTOL
235 MONTGOMERY ST 12TH FL
SAN FRANCISCO, CA 94104
SAN FRANCISCO 49ERS FOUNDATION
4949 CENTENNIAL BL
SANTA CLARA, CA 94588
SAN FRANCISCO 49ERS LTD
SAN FRANCISCO FORTY NINERS
MONSTER PARK
490 JAMESTOWN AVE RM 400
SAN FRANCISCO, CA 94124
SAN FRANCISCO APARTMENT ASSN
DBA SAN FRANCISCO APT MAGAZINE
265 IVY ST
SAN FRANCISCO, CA 94102

SAN FRANCISCO BASEBALL ASSOC LP
SAN FRANCISCO GIANTS
24 WILLIE MAYS PLAZA
SAN FRANCISCO, CA 94107

SAN FRANCISCO BAY AREA
SPORTS ORGANIZING COMMITTEE
201 CALIFORNIA ST #1450
SAN FRANCISCO, CA 94111

SAN FRANCISCO CHRONICLE
THE HEARST CORPORATION
MAIL SUBSCRIPTION
PO BOX 80083
PRESCOTT, AZ 86304-8083

SAN FRANCISCO CONSUMER
ACTION INC
221 MAIN ST #480
SAN FRANCISCO, CA 94105

SAN FRANCISCO EDUCATION FUND
47 KEARNEY ST #200
SAN FRANCISCO, CA 94108

SAN FRANCISCO FLORIST INC
120 HOWARD STREET
SAN FRANCISCO, CA 94105
SAN FRANCISCO FORTY NINERS
ATTN ACCOUNTS RECEIVABLE
4949 CENTENNIAL BLVD
SANTA CLARA, CA 95054

SAN FRANCISCO HISPANIC CHAMBER
OF COMMERCE
703 MARKET ST #609
SAN FRANCISCO, CA 94103
SAN FRANCISCO RADIO ASSETS LLC
                                       Page 720
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KGO KSFO AM RADIO
PO BOX 61000 DEPT 1439
SAN FRANCISCO, CA 94161
SAN FRANCISCO STATE UNIVERSITY
DOWNTOWN CAMPUS
ATTN JOHNSON YAO
835 MARKET ST
SAN FRANCISCO, CA 94103

SAN FRANCISCO UNIFIED SCHL DIST
BESSIE CARMICHAEL ELEMENTARY
GLEN PARK ELEMENTARY SCHOOL
151 LIPPARD AVE
SAN FRANCISCO, CA 94131

SAN FRANCISCO UNIFIED SCHL DIST
BESSIE CARMICHAEL ELEMENTARY
OFFICE OF TEACHER AFFAIRS
555 FRANKLIN ST R203
SAN FRANCISCO, CA 94102

SAN GABRIEL CHAMBER OF COMMERCE
620 W SANTA ANITA
SAN GABRIEL, CA 91776

SAN JACINTO COLLEGE CENTRAL
8060 SPENCER HWY
PASADENA, TX 77505

SAN JACINTO COLLEGE SOUTH
CAREER & EMPLOYMENT SERVICES
13735 BEAMER RD ROOM 4218
HOUSTON, TX 77089

SAN JOAQUIN COUNTY HISPANIC
CHAMBER OF COMMERCE
306 E MAIN ST #303
STOCKTON, CA 95202
SAN JOAQUIN PARTNERSHIP INC
2800 W MARCH LANE #470
STOCKTON, CA 95219

SAN JOSE MERCURY NEWS INC
PO BOX 5103
SAN RAMON, CA 94583-0703

SAN JOSE SILICON VALLEY CTR FOR
ENTREPRENEURIAL DEVELOPMENT
1290 PARKMOORE AVE 3TH FL
SAN JOSE, CA 95126
SAN JOSE STATE UNIVERSITY
SJSU CAREER CENTER FOUNDATION
IRENE PECK SPONSORSHIP PROGRAM
ONE WASHINGTON SQUARE
SAN JOSE, CA 95192-0032
SAN JOSE TEACHERS ASSOCIATION
2476 ALMADEN EXPWY
SAN JOSE, CA 95125

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SAN JOSE UNIFIED SCHOOL DIST
DBA LELAND HIGH SCHOOL
6677 CAMDEN AVE
SAN JOSE, CA 95120
SAN JUAN TITLE LLC
PO BOX 29
EASTSOUND, WA 98245

SAN LUIS OBISPO
ASSN OF REALTORS INC
443 MARSH ST
SAN LUIS OBISPO, CA 93401
SAN LUIS OBISPO
CHAMBER OF COMMERCE
1039 CHORRO ST
SAN LUIS OBIS, CA 93401
SAN LUIS OBISPO FARP
FILE 51131
LOS ANGELES, CA 90074-1131

SAN MARCOS CHAMBER OF COMMERCE
939 GRAND AVE
SAN MARCOS, CA 92078-2601
SAN MARINO CHAMBER OF COMMERCE
2304 HUNTINGTON DR #202
SAN MARINO, CA 91108

SAN MARINO POLICE OFFICER ASSOC
2275 HUNTINGTON DR #411
SAN MARINO, CA 91108

SAN MATEO AREA CHAMBER OF
COMMERCE
385 1ST AVE
SAN MATEO, CA 94401
SAN MATEO COUNTY
ASSOCIATION OF REALTORS
850 WOODSIDE WAY
SAN MATEO, CA 94401
SAN MIGUEL FIRE PROTECTION DIST
2850 VIA ORANGE WAY
SPRING VALLEY, CA 91978

SAN PEDRO PENINSULA
CHAMBER OF COMMERCE
390 W 7TH ST
SAN PEDRO, CA 90731

SAN YSIDRO BUSINESS ASSOC
318 EAST SAN YSIDRO BLVD #B
SAN YSIDRO, CA 92173

SANCHEZ & AMADOR LLP
333 S HOPE ST 18TH FLR
LOS ANGELES, CA 90071
SANDE MACALUSO CONSTABLE
                                       Page 722
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PO BOX 67164
ROCHESTER, NY 14617-7164

SANDHILL CONSULTANTS USA LTD
2515 FALCON ST
EAST MEADOW, NY 11554
SANDRA HOWARD
JAMA HALL ATTORNEY IN FACT
FOR SANDRA HOWARD
7535 COOK AVE APT # B
CITRUS HEIGHTS, CA 95814
SANDRA JOHNSON
6840 CALMBANK AVE
LA VERNE, CA 91750

SANDRA LUST
DBA SANDRA DAVID PHOTOGRAPHY
3510 VALENCIA PEAK
SAN ANTONIO, TX 78261

SANDRA TEUSCHER
12389 SINGLE OAK PLACE
LAKESIDE, CA 92040

SANDRA UNGAR
1362 S ELIZABETH ST
DENVER, CO 80210

SANDY CITY BUSINESS LICENSE
10000 CENTENNIAL PKWY
SANDY, UT 84070

SANFORD SEMINOLE COUNTY
CHAMBER OF COMMERCE
400 EAST FIRST ST
SANFORD, FL 32771-1408

SANFORD WITTELS & HEISLER LLP
950 3RD AVE 10TH FL
NEW YORK, NY 10022
SANKARA EYE FOUNDATION
3175 ARCOLA CT
SAN JOSE, CA 95148

SANKEL SKURMAN & MCCARTIN LLP
750 3RD AVE
NEW YORK, NY 10017
SANLI PASOTRE & HILL
1990 S BUNDY DR #800
LOS ANGELES, CA 90025
SAN-MARIN CONSTRUCTION INC
5 SO LINDEN AVE #2
SO SAN FRANCISCO, CA 94080-6407
SANS SOUCI OWNERS CORP
69 09 108 TH ST
FOREST HILLS, NY 11375

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SANTA ANA RALLY & RIDE INC
200 E SANDPOINTE AVE #200
SANTA ANA, CA 92707
SANTA BARBARA ASSOC OF REALTORS
1415 CHAPALA ST
SANTA BARBARA, CA 93101
SANTA BARBARA FOUNDATION
15 E CARRILLO ST
SANTA BARBARA, CA 93101
SANTA BARBARA NEWS-PRESS
PO BOX 1359
SANTA BARBARA, CA 93102-1359

SANTA BARBARA POLICE DEPT
FALSE ALARMS
PO BOX 539
SANTA BARBARA, CA 93102
SANTA CLARA COUNTY
CLERK RECORDER
70 W HEDDING ST 1ST FL
COUNTY GOVT CENTER E
SAN JOSE, CA 95110
SANTA CLARA COUNTY
OFFICE OF AFFORDABLE HOUSING
2310 N 1ST ST #100
SAN JOSE, CA 95131
SANTA CLARA COUNTY
REALTORS FOUNDATION
1651 N FIRST ST
SAN JOSE, CA 95112
SANTA CLARA COUNTY
SANTA CLARA COUNTY ASSOCIATION
ASSOCIATION OF REALTORS
1651 NORTH FIRST ST
SAN JOSE, CA 95112
SANTA CLARITA RUNNERS
PO BOX 800080
SANTA CLARITA, CA 91355

SANTA CLARITA VALLEY
BOYS &GIRLS CLUB
PO BOX 221507
SANTA CLARITA, CA 91322
SANTA CLARITA VALLEY
CHAMBER OF COMMERCE
28460 AVENUE STANFORD #100
SANTA CLARITA, CA 91355

SANTA CRUZ AREA
CHAMBER OF COMMERCE
611 OCEAN ST #1
SANTA CRUZ, CA 95060
SANTA CRUZ ASSN OF REALTORS INC
                                       Page 724
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2525 MAIN ST
SOQUEL, CA 95073

SANTA CRUZ ASSOCIATION OF
SANTA CRUZ ASSN OF REALTORS INC
REALTORS HOUSING FOUNDATION
2525 MAIN ST
SOQUEL, CA 95073

SANTA CRUZ COUNTY
SHERIFF CORONER ALARM
REGISTRATION DESK
6060 GRAHAM HILL RD #D
FELTON, CA 95018

SANTA MARIA ASSOCIATION
OF REALTORS INC
2236 S BROADWAY #E
SANTA MARIA, CA 93454

SANTA MARIA SAFE & VAULT INC
BEE SAFE LOCK & KEY
906 S BROADWAY
SANTA MARIA, CA 93454

SANTA MARIA TIMES
PO BOX 400
SANTA MARIA, CA 93456

SANTA MARIA VALLEY
CHAMBER OF COMMERCE
614 S BROADWAY
SANTA MARIA, CA 93454

SANTA MONICA UNIFIED
SANTA MONICA
SCHOOL DISTRICT
1638 17TH ST
SANTA MONICA, CA 90404
SANTEE CHAMBER OF COMMERCE
10315 MISSION GORGE RD
SANTEE, CA 92071

SANTEE LYNCHES AFFORDABLE
HOUSING AND COMMUNITY DEVT CORP
255 BROAD ST
SUMTER, SC 29150

SANTORO DRIGGS WALCH KEARNY
JOHNSON & THOMPSON
400 S FOURTH ST 3RD FL
LAS VEGAS, NV 89101

SARA KAPLAN
7747 VAN NOORD AVE
NORTH HOLLYWOOD, CA 91605-1934

SARA L SIMSHAUSER
1235 N SUNNYVALE #57
MESA, AZ 85205
SARA LEE CORP
                                       Page 725
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SARA LEE COFFEE & TEA
3500 LACEY RD
ATTN TERRY MANDLE
DOWNERS GROVE, IL 60515
SARA ORTIZ
6504 S 72ND LN
LAVEEN, AZ 85339

SARA Z ROSENBLATT
2370 VIA MARIPOSA W #1D
LAGUNA WOODS, CA 92637
SARASOTA ASSN OF REALTORS INC
3590 S TUTTLE AVE
SARASOTA, FL 34239

SARASOTA COUNTY TAX COLLECTOR
BARBARA FORD COATES
101 S WASHINGTON BLVD
SARASOTA, FL 34236-6940

SARASOTA POLICE DEPARTMENT
ATTN ALARM ENFORCEMENT UNIT
PO BOX 3528
SARASOTA, FL 34230
SARD VERBINNEN & CO LLC
PO BOX 26781
NEW YORK, NY 10087-6781

SARNOFF INFORMATION
TECHNOLOGIES INC
20 CORPORATE PARK #350
IRVINE, CA 92606

SAS INSTITUTE INC
BILL WILLISFORD
TONG HENG TOWER STE 202
BEIJING,   CHINA

SAS INSTITUTE INC
EDUCATION CUSTOMER SERVICE
ATTN POWER OF 3 ADMINISTRATOR
SAS CAMPUS DRIVE
CARY, NC 27513

SAS INSTITUTE INC
PO BOX 406922
ATLANTA, GA 30384-6922
SAS INSTITUTE INC
[Address to Be Provided]

SATCOM GLOBAL FZE
1347 N ALMA SCHOOL RD #150
CHANDLER, AZ 85224-2958

SATTERLEE STEPHENS BURKE &
BURKE LLP
230 PARK AVE
NEW YORK, NY 10169

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SAUNDERS CONSTRUCTION INC
6950 S JORDAN RD
ENGLEWOOD, CO 80112
SAUTER SULLIVAN LLC
ATTORNEYS & COUNSELORS
3415 HAMPTON AVE
ST LOUIS, MO 63139

SAVE LATIN AMERICA INC
3510 BERGENLINE AVE
UNION CITY, NJ 07087
SAVE THE FAMILY FOUNDATION OF
ARIZONA
450 W 4TH PL
MESA, AZ 85201
SAYREP INC
2827 OLD RANCH RD
SAN SNTONIO, TX 78217

SAYREVILLE DOMESTIC VIOLENCE
RESPONSE TEAM
1000 MAIN ST
SAYREVILLE, NJ 08872
SBB NET INC
LOANBRIGHT.COM
27902 MEADOW DRIVE #1
EVERGREEN, CO 80439
SBC COMMUNICATIONS INC
AT&T
DBA AT&T
PO BOX 650502
DALLAS, TX 75265-0502

SBC DATACOMM INC
AT&T DATACOMM INC
PO BOX 8104
AURORA, IL 60507-8104
SBC GLOBAL SERVICES
PO BOX 8102
AURORA, IL 60507-8102

SBC GLOBAL SERVICES
[Address to Be Provided]
SBC INTERNET SERVICES INC
NVPN BILLING DEPT
PO BOX 941127
PLANO, TX 75094-1127
SBC LONG DISTANCE
DBA AT &T LONG DISTANCE
PO BOX 5017
CAROL STREAM, IL 60197
SBCL INC
DBA ZACHARYS
EAST MEADOW SHOPPING PLAZA
                                     Page 727
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HEMPSTEAD TURNPIKE
EAST MEADOW, NJ 11554

SC DEPT OF REVENUE
JAMES CULICK
1452 W EVANS ST
PO BOX 5418
FLORENCE, SC 29502

SC DEPT OF REVENUE
1452 W EVANS ST
PO BOX 5418
FLORENCE, SC 29502-0000
SCADU
PO BOX 98950
LAS VEGAS, NV 89193
SCALLEY & READING
BATES HANSEN & RASMUSSEN
15 W S TEMPLE #600
PO BOX 11429
SALT LAKE CITY, UT 84101
SCARLETT & GUCCIARDO
P A TRUST ACCOUNT
FBO FILOMENA MONTANINO
7700 CONGRESS AVE #3212
BOCA RATON, FL 33487

SCARSDALE CHAMBER OF COMMERCE
PO BOX 635
SCARSDALE, NY 10583

SCENIC COAST ASSN OF REALTORS
830 MORRO BAY BLVD
MORRO BAY, CA 93442

SCHAUMBURG BUSINESS ASSOC
1501 E WOODFIELD RD #115N
SCHAUMBURG, IL 60173

SCHERR & LEGATE PLLC
&GUADALUPE VASQUEZ
109 N OREGON 12TH FLR
EL PASO, TX 79901

SCHERTZ CHAMBER OF COMMERCE
PO BOX 564
SCHERTZ, TX 78154
SCHERTZ POLICE DEPT
ALARM RECORDS
1404A SCHERTZ PKWY
SCHERTZ, TX 78154
SCHIFF HARDIN LLP
6600 SEARS TOWER
CHICAGO, IL 60606
SCHIFFRIN BARROWAY TOPAZ &
KESSLER LLP
280 KING OF PRUSSIA RD
                                     Page 728
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RADNOR, PA 19087
SCHLESINGER ASSOCIATES INC
THE RESEARCH HOUSE
10 PARSONAGE RD #400
EDISON, NJ 08837
SCHLOSSER GEOGRAPHIC SYSTEMS
600 UNIVERSITY ST #3012
SEATTLE, WA 98101
SCHNEPS PUBLICATIONS INC
DBA THE QUEENS COURIER
38-15 BELL BOULEVARD
BAYSIDE, NY 11361

SCHOFIELD & CAMPBELL LLC
6 BEACON ST #720
BOSTON, MA 02108

SCHOLASTIC INC
QUALITY EDUCATION DATA
PO BOX 3720
JEFFERSON CITY, MO 65102-3720

SCHOLASTIC SPORTS INC
CARLSBAD HIGH SCHOOL
8474 COMMERCE AVE
SAN DIEGO, CA 92121

SCHOOL BUSINESS PARTNERSHIP
OF LONG ISLAND INC
18 COTTONTAIL RD
MELVILLE, NY 11747

SCHROEDER ELEMENTARY PTA
15151 COLUMBIA LANE
HUNTINGTON BEACH, CA 92647

SCHWEET RIEKE & LINDE PLLC
2955 80TH AVE SE #102
MERCER ISLAND, WA 98040
SCORE EDUCATIONAL CENTERS
41 61 KISSENA BLVD
FLUSHING, NY 11355

SCOTT A BRANCO
INTEGRITY APPRAISAL GROUP
3 SHADETREE PL
LONG VALLEY, NJ 07853
SCOTT B SUGGS
DARLINGTON CTY CLERK OF COURT
PO BOX 1177
DARLINGTON, SC 29540

SCOTT BARRIE
CREATIVE IMAGE PORTRAIT DESIGN
222 E MAIN ST
PULLMAN, WA 99163
SCOTT BUTLER
                                      Page 729
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OVO STUDIOS
236 HIGH ST
CHAGRIN FALLS, OH 44022
SCOTT C TURNER
4659 225TH AVE SE
SAMMAMISH, WA 98075
SCOTT D KIPERS
27726 COUNTRY LANE RD
LAGUNA NIGUEL, CA 92677
SCOTT HALL
4820 ADHOR LN #J
CAMARILLO, CA 93012

SCOTT HULSE MARSHALL FEUILLE
FINGER & THURMOND PC
1100 CHASE TOWER
PO BOX 99123
EL PASO, TX 79999-9123

SCOTTS SEAFOOD BAR & GRILL
1333 N CALIFORNIA BLVD
WALNUT CREEK, CA 94596

SCOTTS VALLEY CHAMBER
OF COMMERCE
360 KING VILLAGE RD
SCOTTS VALLEY, CA 95066

SCOTTSDALE CHAMBER OF COMMERCE
4725 N SCOTTSDALE RD #210
SCOTTSDALE, AZ 85251

SCOTTSDALE INDEMNITY
8877 NORTH GAINEY CENTER DRIVE
SCOTTSDALE, AZ 85258

SCPD ACCOUNTS RECEIVABLE
STANFORD ADVANCED PROJECT
STANFORD CENTER FOR PRO DVLPMT
496 LOMITA MALL
DURAND BLDG 3RD FL
STANFORD, CA 94305-4036
SCREENVISION DIRECT
PO BOX 22905
ROCHESTER, NY 14692
SCRIPPS RANCH OLD PROS
C/O ALLEN FLANDERS
11717 SCRIPPS CAPE VISTA POINTE
SAN DIEGO, CA 92131
SD COMMERCIAL REALTY ADVISERS
DBA COMMERCIAL REALTY ADVISORS
ATTN RICHARD MURDICK
4275 EXECUTIVE SQUARE #100
LA JOLLA, CA 92037-1476

SEA MAR COMMUNITY HEALTH CTR
1040 S HENDERSON ST
                                       Page 730
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SEATTLE, WA 98108
SEAA
PO BOX 210219
COLUMBIA, SC 29221

SEABORN MARINE TERMINAL
2360 43RD AVE E #411
SEATTLE, WA 98112

SEAL BEACH CHAMBER &
BUSINESS ASSOC
201 8TH ST #120
SEAL BEACH, CA 90740

SEAL BEACH LEISURE WORLD
GOLDEN RAIN NEWS
PO BOX 2069
SEAL BEACH, CA 90740

SEALE & ROSS
PO DRAWER 699
HAMMOND, LA 70404
SEAN KESHISHYAN
DBA TROXELL & ASSOCIATES
1201 N PACIFIC AVE #204
GLENDALE, CA 91202

SEAN KOUTSAKIS
DBA KOUTZ ENTERTAINMENT
8477 CHAMBERLAIN PL
OVIEDO, FL 32765

SEAN OREILLY
DBA OREILLY APPRAISAL
2140 GREAT HIGHWAY
SAN FRANCISCO, CA 94116

SEARCH TO INVOLVE
PILIPINO AMERICANS
3200-A W TEMPLE ST
LOS ANGELES, CA 90026-4522

SEARCHSPACE CORP. NKA FORTENT
[Address to Be Provided]

SEASIDE LENDING INC
24422 DEL PRADO #8
DANA POINT, CA 92629
SEASIDE SAND CITY CHAMBER OF
COMMERCE
505 BROADWAY AVE
SEASIDE, CA 93955
SEASONED CHEF LLC
DBA TASTEFULLY YOURS CATERING
829 S DOOLEY ST
GRAPEVINE, TX 76051

SEATTLE ACADEMIES FOUNDATION
13224 42ND AVE NE #A
                                     Page 731
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SEATTLE, WA 98125
SEATTLE AIRPORT HILTON
HILTON SEATAC AIRPORT
PO BOX C-34960
SEATTLE, WA 98124
SEATTLE ALLIANCE OF BLACK
SCHOOL EDUCATORS
PO BOX 22035
SEATTLE, WA 98122
SEATTLE ART MUSEUM
1300 FIRST AVENUE
SEATTLE, WA 98101

SEATTLE CHILDRENS
THEATRE ASSOCIATION
201 THOMAS ST
SEATTLE, WA 98109
SEATTLE CITY TREASURER
CITY OF SEATTLE
DEPT OF PLANNING & DEVELOPMENT
700 5TH AVE #2000
SEATTLE, WA 98124-4019
SEATTLE DEPOSITION REPORTERS
600 UNIVERSITY ST
ONE UNION SQUARE #320
SEATTLE, WA 98101
SEATTLE FOUNDATION
1200 5TH AVE #1300
SEATTLE, WA 98101-3132

SEATTLE GOODWILL INDUSTRIES
1765 6TH AVE S
SEATTLE, WA 98134-1608
SEATTLE HOSPITALITY SERVICE LLC
1000 DEXTER AVE N #502
SEATTLE, WA 98109

SEATTLE INTL CHILDRENS FESTIVAL
305 HARRISON ST
SEATTLE, WA 98109

SEATTLE KING COUNTY WORKFORCE
DEVELOPMENT COUNCIL
2003 WESTERN AVE #250
SEATTLE, WA 98121
SEATTLE MAILING BUREAU INC
700 SW 34TH ST
RENTON, WA 98057

SEATTLE OPERA
1020 JOHN ST
SEATTLE, WA 98109

SEATTLE PACIFIC UNIVERSITY
CAREER DEVELOPMENT
                                       Page 732
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3307 3RD AVE W #216
SEATTLE, WA 98119

SEATTLE PACIFIC UNIVERSITY
3307 3RD AVE W #201
SEATTLE, WA 98119-1997
SEATTLE PREPARATORY SCHOOL
2400 11TH AVE E
SEATTLE, WA 98102
SEATTLE PUBLIC LIB FOUNDATION
1000 4TH AVE
SEATTLE, WA 98104

SEATTLE REPERTORY THEATER
155 MERCER ST
SEATTLE, WA 98109
SEATTLE SCORES
AMERICA SCORES
14973 INTERURBAN AVE S #203
TUKWILA, WA 98168
SEATTLE SEAHAWKS
PO BOX 4769
SEATTLE, WA 98194

SEATTLE SYMPHONY ORCHESTRA
200 UNIVERSITY ST
PO BOX 21906
SEATTLE, WA 98111-3906

SEATTLE UNIVERSITY
GLOBAL BUSINESS EDGE PROGRAM
ASBE DEPT OF ACCOUNTING
ATTN NADEJE ALEXANDRE
901 12TH AVE PO BOX 222000
SEATTLE, WA 98122-1090
SEATTLE UNIVERSITY
GLOBAL BUSINESS EDGE PROGRAM
901 12TH AVE ADMIN 120
SEATTLE, WA 98122
SEATTLE UNIVERSITY
GLOBAL BUSINESS EDGE PROGRAM
ALBERS PLACEMENT CENTER
901 12TH AVE
PO 222000
SEATTLE, WA 98122
SEATTLE UNIVERSITY SCHL OF LAW
GLOBAL BUSINESS EDGE PROGRAM
CONTINUING LEGAL EDUCATION
SEATTLE UNIV SCHL SULLIVAN HALL
PO BOX 222000
SEATTLE, WA 98122-1090
SEATTLES FINEST POLICE
SECURITY & TRAFFIC CONTROL LLC
10245 ESTATE LN SE
OLALLA, WA 98359
                                       Page 733
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SEATTLES UNION GOSPEL MISSION
PO BOX 202
3800 S OTHELLO
SEATTLE, WA 98111

SEAWAY NATIONAL BANK
3717 PAYSPHERE CIRCLE
CHICAGO, IL 60674

SEBASTIAN EQUITIES GROUP INC
DBA SPRI INVESTIGATIONS
6826 E SUNSET SKY CIRCLE
SCOTTSDALE, AZ 85266

SEBRIS BUSTO JAMES
14205 SE 36TH ST #325
BELLEVUE, WA 98006
SEBY INC
98-14 QUEENS BLVD
REGO PARK, NY 11374

SECRETARY OF STATE
ARKANSAS SECRETARY OF STATE
CORPORATE DIVISION
STATE CAPITOL BUILDING
LITTLE ROCK, AR 72201-1094

SECRETARY OF STATE
CORPORATIONS DIVISION
148 W RIVER ST
PROVIDENCE, RI 02904-2615

SECRETARY OF STATE
HERITAGE 1 BLDG
81 RIVER ST DRAWER 09
MONTPELIER, VT 05609-1104

SECRETARY OF STATE
State of Nevada
202 NORTH CARSON STREET
CARSON CITY, NV 89701

SECRETARY OF STATE
LUCAS BUILDING 1ST FL
DES MOINES, IA 50319

SECRETARY OF STATE
501 S 2ND ST
SPRINGFIELD, IL 62756-5510
SECRETARY OF STATE OF
SOUTH CAROLINA
180 N IRBY ST MSG-G
FLORENCE, SC 29501

SECRETARY OF THE STATE
PO BOX 150470
HARTFORD, CT 06115-0470

SECRETARY OF THE TREASURY PR
UNCLAIMED PROPERTY DIVISION
                                     Page 734
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EDIF CENTRO EUROPA #600
1492 AVE PONCE DE LEON
SAN JUAN, PR 00907-4024
SECTOR INC
DBA NYSE TRANSACT TOOLS
PO BOX 785901
PHILADELPHIA, PA 19178-5901

SECTRAN SECURITY INC
PO BOX 227267
LOS ANGELES, CA 90022-0967
SECURE CAPITAL MORTGAGE INC
16133 VENTUA BLVD # 425
ENCINO, CA 91436

SECURE COMPUTING CORP
NW 7182
PO BOX 1450
MINNEAPOLIS, MN 55485-7182

SECURE PRODUCTS CORPORATION
PO BOX 914
HILLSIDE, IL 60162

SECURITAS SECURITY
ERIC P. ANDERSON
2 CAMPUS DRIVE
PARSIPPANY, NJ 28290

SECURITAS SECURITY SERVICES
OF PUERTO RICO INC
PO BOX 714468
SAN JUAN, PR 00936-8568 PUERTO RICO

SECURITAS SECURITY SERVICES
SECURITAS SECURITY
USA INC
62 LOWELL ST
MANCHESTER, NH 03101

SECURITAS SECURITY SERVICES USA
SECURITAS SECURITY
FILE 57220
LOS ANGELES, CA 90074-7220

SECURITIES INDUSTRY & FINANCIAL
MARKETS ASSOCIATION
COMPLIANCE & LEGAL DIVISION
50 E 42ND ST #706
NEW YORK, NY 10017
SECURITIES INVESTOR
PROTECTION CORPORATION
805 15TH ST NW #800
WASHINGTON, DC 20005-2215

SECURITIES TRAINING CORP
SECURITIES TRAINING CORPORATION
17 BATTERY PL #1025
NEW YORK, NY 10004

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SECURITIES TRAINING CORPORATION
200 W ADAMS ST #1810
CHICAGO, IL 60606-5229
SECURITY IMAGING CORP
13716 32ND AVE #123
SEATTLE, WA 98125
SECURITY TITLE GUARANTY
117 E 4TH AVE
PO BOX 1094
MOSES LAKE, WA 98837
SEDGEWICK CLAIMS MANAGEMENT SERVICES, INC.
[Address to Be Provided]

SEGUS INC
12007 SUNRISE VALLEY DR
RESTON, VA 20191-3446

SEISINT INC DBA
ACCURINT
PO BOX 7247 6157
PHILADELPHIA, PA 19170-6157

SELECT MORTGAGE INC
400 DIXIE HWY., THE ARBOR    #121
BOCA RATON, FL 33432

SELECT PORTFOLIO SERVICING
FAIRBANKS CAPITAL CORPORATION
3815 SW TEMPLE
SALT LAKE CITY, UT 84115

SELF ENHANCEMENT INC
3920 N KERBY AVE
PORTLAND, OR 97227-1255

SELF HELP ENTERPRISES
8445 W ELOWIN COURT
VISALIA, CA 93290

SELL AMERICA CORP
924 SANTA QUETA
SOLANA BEACH, CA 92075
SELLEN CONSTRUCTION CO INC
PO BOX 9970
227 WESTLAKE AVE N
SEATTLE, WA 98109
SELLINGPOINT INDUSTRIES, INC.
313 S FINDLAY STREET
SEATTLE, WA 98108
SEMCO ENTERPRISES INC
PO BOX 181265
CASSELBERRY, FL 32718-1265
SEMCO ENTERPRISES INC
PO BOX 181265
CASSELBERRY, FL 32718-1265

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
SEMINARS INTERNATIONLA
DBA THE SEMINAR GROUP
PO BOX 523
VASHON ISLAND, WA 98070
SEMINOLE COUNTY
RAY VALDES TAX COLLECTOR
PO BOX 630
SANFORD, FL 32772-0630

SENGHET VILAYSAK DBA
DOUGHBOYS DONUTS
7868 AMADOR VALLEY BLVD
DUBLIN, CA 94568

SENIOR COMMUNITY CENTERS
OF SAN DIEGO
525 14TH ST #200
SAN DIEGO, CA 92101

SENIOR SERVICES OF SEATTLE
KING COUNTY
2208 2ND AVE #100
SEATTLE, WA 98121

SENTINEL GEO-SERVICES LLC
2855 MANGUM RD #522
HOUSTON, TX 77092

SENTRUST MORTGAGE LLC
656 QUINCE ORCHARD RD #620
GAITHERSBURG, MD 20878

SENVOY LLC
PO BOX 14607
PORTLAND, OR 97293
SEQUEL FINANCIAL PARTNERS LLC
5105 CHOWEN AVE S
MINNEAPOLIS, MN 55410

SERBIN PRINTING INC
1500 N WASHINGTON BLVD
SARASOTA, FL 34236
SERENA SOFTWARE INC
PO BOX 201448
DALLAS, TX 75320-1448

SERENITY FINANCIAL INC
DBA MPG MORTGAGE
1451 DANVILLE BLVD #202
ALAMO, CA 94507

SERPRO INC
DBA WINGTIP COURIERS INC
225 MILLWELL DR
MARYLAND HEIGHTS, MO 63043
SERVCO COPY CENTERS INC
1150 AVE OF THE AMERICAS #703
NEW YORK, NY 10036

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
SERVERSIDE GRAPHICS INC
9 E 19TH ST 9TH FLR
NEW YORK, NY 10003
SERVICE COMMUNICATIONS INC
DONALD HAARD
10675 WILLOS RD STE 100
REDMOND, WA 98052

SERVICE COMMUNICATIONS INC
10675 WILLOWS RD NE #100
REDMOND, WA 98052
SERVICE CORPS OF RETIRED
EXECUTIVES ASSOCIATION
4707 140TH AVE N #311
CLEARWATER, FL 33762
SERVICE CORPS OF RETIRED
EXECUTIVES ASSOCIATION
521 KINGS RD
NEWPORT BEACH, CA 92663

SERVICE CORPS OF RETIRED
EXECUTIVES ASSOCIATION
550 WEST C ST #550
SAN DIEGO, CA 92101

SERVICE EVERYWHERE
PO BOX 270568
HOUSTON, TX 77277-0568
SERVICE LINK LP
250 COMMERCE 2ND FL
IRVINE, CA 92602

SERVICE PLUS MORTGAGE LTD
8080 BECKETT CENTER DR #324
WEST CHESTER, OH 45069
SERVICE SPECIALTIES II INC
PO BOX 361
MT CLEMENS, MI 48046

SERVICING.COM
DBA MORTGAGE INDUSTRY ADVISORY
80 MAIDEN LN 14TH FL
NEW YORK, NY 10038

SERVICIOS LATIONOS DE
BURLINGTON COUNTY INC
1 HIGH ST
MOUNT HOLLY, NJ 08060

SESAME WORKSHOP
ONE LINCOLN PLAZA
NEW YORK, NY 10023

SETDEPO LLC
PO BOX 934157
ATLANTA, GA 31193
SETH LEWELLING ELEMENTARY SCHL
                                      Page 738
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DBA SETH LEWELLING
ENVIRONMENTAL MAGNET SCHOOL
5325 SE LOGUS RD
MILWAUKIE, OR 97222
SETTLEMENT CORP
CONTACT ACCOUNTING DEPT
88 FROEHLICH FARM BLVD
WOODBURY, NY 11797-2944

SETTLEMENT HOUSING FUND INC
247 W 37TH ST 4TH FLR
NEW YORK, NY 10018
SEVEN ACRES JEWISH SENIOR
CARE SERVICES INC
6200 N BRASEWOOD BLVD
HOUSTON, TX 77074
SEVEN HILLS SCHOOL
975 N SAN CARLOS DRIVE
WALNUT CREEK, CA 94598

SEVERSON & WERSON
ONE EMBARCADERO CENTER
SAN FRANCISCO, CA 94111
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
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                                     Page 740
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SHERIFF OF WESTCHESTER CTY
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SHERRIFFS CIVIL DIVISION
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SHERIFFS CIVIL DIVISION
SHERRIFFS CIVIL DIVISION
                                       Page 742
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MURRIETA, CA 92563
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SILVER BEACH GARDENS CORP
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                                       Page 745
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                                       Page 746
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1081 CAMINO DEL RIO S #114
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                                       Page 747
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1570 CORPORATE DR #B
COSTA MESA, CA 92626
SOFTEL COMMUNICATIONS INC
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                                      Page 752
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ON AFFORDABLE HOUSING
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230 MOSHER AVE
WOODMERE, NY 11598
SOUND PUBLISHING INC
                                      Page 753
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PO BOX 98
BRIGHTWATERS, NY 11718-0098

SOUTH BELT ELLINGTON
SOUTHBELT PRESS INC
CHAMBER OF COMMERCE
10500 SCARSDALE
HOUSTON, TX 77089

SOUTH BRONX OVERALL
ECONOMIC DEVELOPMENT CORP
555 BERGEN AVE 3RD FL
BRONX, NY 10455

SOUTH CAROLINA
DEPARTMENT OF REVENUE
CORPORATION RETURN
COLUMBIA, SC 29214-0100

SOUTH CAROLINA
DEPARTMENT OF REVENUE
DENEEN SELLERS
PO BOX 125
COLUMBIA, SC 29214

SOUTH CAROLINA DEPT OF REVENUE
CORPORATION ESTIMATE
COLUMBIA, SC 29214-0006

SOUTH CAROLINA DEPT OF REVENUE
SALES & USE TAX RETURN
COLUMBIA, SC 29214-0101
SOUTH CAROLINA DEPT OF REVENUE
TAX COMPLIANCE OFFICER
COLUMBIA, SC 29214-0027
SOUTH CAROLINA STATE TREASURER
UNCLAIMED PROPERTY PROGRAM
118 WADE HAMPTON BLDG #216
CAPITAL COMPLEX
COLUMBIA, SC 29201
SOUTH COAST AIR QUALITY
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MANAGEMENT DISTRICT
21865 E COPLEY DR
DIAMOND BAR, CA 91765-4182
SOUTH COAST APARTMENT ASSN
18552 MACARTHUR DR #205
IRVINE, CA 92612
SOUTH COUNTY HOUSING
9015 MURRAY AVE #100
GILROY, CA 95020
SOUTH COUNTY REALTORS ASSN
PO BOX 1156
SAN MARTIN, CA 95046

SOUTH DAKOTA SECRETARY OF STATE
STATE OF SOUTH DAKOTA
500 E CAPITOL AVE
PIERRE, SD 57501-5077
SOUTH DALLAS FAIR PARK INNER
CITY DEVELOPMENT CORPORATION
4907 SPRING AVE
DALLAS, TX 75210

SOUTH ESSEX COUNTY
REGISTER OF DEEDS
36 FEDERAL ST
SALEM, MA 01970

SOUTH FERRY LP #2
[Address to Be Provided]

SOUTH FLORIDA BUSINESS JOURNAL
THE BUSINESS JOURNAL
PO BOX 36609
CHARLOTTE, NC 28236-6609

SOUTH FLORIDA COMMUNITY
DEVELOPMENT COALITION
181 NE 82ND ST
MIAMI, FL 33138

SOUTH FLORIDA FAIR &
PALM BEACH COUNTY EXPO INC
PO BOX 210367
WEST PALM BEACH, FL 33421-0367

SOUTH FLORIDA HISPANIC CHAMBER
OF COMMERCE FOUNDATION INC
301 ARTHUR GODFREY RD #500
MIAMI BEACH, FL 33140

SOUTH FLORIDA URBAN MINISTRIES
2850 SW 27 AVE
MIAMI, FL 33133

SOUTH GATE CHAMBER OF COMMERCE
3350 TWEEDY BLVD
SOUTH GATE, CA 90280
SOUTH JORDAN CHAMBER
                                       Page 755
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OF COMMERCE
1665 W 10600 SOUTH #2
SOUTH JORDAN, UT 84095
SOUTH LOS ANGELES
MULTISERVICES INC
3683 CRENSHAW BLVD #502
LOS ANGELES, CA 90016

SOUTH METRO DENVER
CHAMBER OF COMMERCE
6840 S UNIVERSITY BLVD
CENTENNIAL, CO 80122-4508
SOUTH ORANGE COUNTY REGIONAL
CHAMBER OF COMMERCE
26111 ANTONIO PKWY #400
LAS FLORES, CA 92688
SOUTH ORANGE MAPLEWOOD SCHOOL
DISTRICT S ORANGE MIDDLE SCH
70 N RIDGEWOOD RD
SOUTH ORANGE, NJ 07079
SOUTH ORANGE PERFORMING ARTS
CENTER INC
ONE SOPAC WAY
SOUTH ORANGE, NJ 07079

SOUTH POST OAK BAPTIST CHURCH
THE FOUNTAIN OF PRAISE
13535 S POST OAK RD
HOUSTON, TX 77045

SOUTH SAN ANTONIO
CHAMBER OF COMMERCE
8005 CROUCH RD BLDG 624E
SAN ANTONIO, TX 78235

SOUTH SAN ANTONIO INDEPENDENT
ROYAL GATE ELEMENTARY
SCHOOL DISTRICT
2515 BOBCAT LN
SAN ANTONIO, TX 78224
SOUTH SHORE CHAMBER
OF COMMERCE INC
PO BOX 690625
QUINCY, MA 02169
SOUTH TEXAS HORIZONS LP
NEW HORIZONS
8200 IH 10 WEST #500
SAN ANTONIO, TX 78230
SOUTHCOAST NEWSPAPERS INC
DBA NORTH COUNTY TIMES
PO BOX 54358
LOS ANGELES, CA 90054-0358
SOUTHEAST CAPITAL MORTGAGE CO
900 49TH ST #528
HIALEAH, FL 33012
                                     Page 756
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SOUTHEAST CENTER FOR
TEACHING QUALITYINC
500 MILLSTONE DR #102
HILLSBOROUGH, NC 27278

SOUTHEAST SYMPHONY ASSN INC
PO BOX 284
S PASADENA, CA 91031

SOUTHEASTERN UNIVERSITY INC
1000 LONGFELLOW BLVD
LAKELAND, FL 33801-6034
SOUTHERN ACCENTS INC DBA
LISA DUPAR CATERING
18005 NE 68TH ST #A150
REDMOND, WA 98052-4977
SOUTHERN CALIFORNIA
SOUTHERN CALIFORNIA ASSOCIATION
EMPLOYMENT ROUND TABLE INC
2241 MURPHY HALL
UCLA BOX 951405
LOS ANGLES, CA 90095-1405

SOUTHERN CALIFORNIA ASSOCIATION
OF NON-PROFIT HOUSING
3345 WILSHIRE BLVD #1005
LOS ANGELES, CA 90010-1821

SOUTHERN CALIFORNIA CENTER FOR
NONPROFIT MANAGEMENT
1000 N ALAMEDA ST #250
LOS ANGELES, CA 90012

SOUTHERN CALIFORNIA GRANTMAKERS
SOUTHERN CALIFORNIA ASSOCIATION
1000 N ALAMEDA ST #230
LOS ANGELES, CA 90012

SOUTHERN CALIFORNIA REAL ESTATE
COUNSELORS INC
VOLTZ COMMERCIAL REALTY ADVISOR
27201 TOURNEY RD #201
VALENCIA, CA 91355

SOUTHERN LENDING GROUP INC
SOUTHERN LENDING GROUP
3650 CORAL RIDGE DR #103
CORAL SPRINGS, FL 33065
SOUTHERN NEVADA AOCIATION OF
SOUTHERN NEVADA ASSOCIATION OF
PRIDE INC
5015 W SAHARA AVE #125
LAS VEGAS, NV 89146

SOUTHERN OREGON OIL LLC
DBA OILSTOP #0018
775 MEDFORD CENTER
MEDFORD, OR 97504

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SOUTHFAIR COMMUNITY
DEVELOPMENT CORPORATION
2818 MARTIN LUTHER KING JR BLVD
DALLAS, TX 75215
SOUTHRIDGE COOPERATIVE SECTION
IV INC
33-04 JUNCTION BLVD
JACKSON HEIGHTS, NY 11372

SOUTHWEST BUSINESS CORP
ATTN SUE ECCELL
PO BOX 795027
SAN ANTONIO, TX 78279-5027

SOUTHWEST CORPORATE FCU
6801 PARKWOOD BLVD
PLANO, TX 75024
SOUTHWEST COURIER
6625 S VALLEY VIEW #336
LAS VEGAS, NV 89118

SOUTHWEST COURIER INC
6625 S VALLEY VIEW BLVD #336
LAS VEGAS, NV 89118
SOUTHWEST FINANCIAL CORP
3530 WILSHIRE BLVD #1
LOS ANGELES, CA 90010

SOUTHWEST HISPANIC CULTURE ASN
ATTN ELSA LOPEZ 0 FIESTAS
PATRIAS COMMITTEE
PO BOX 1744
AVONDALE, AZ 85323
SOUTHWEST NEIGHBORHOOD HOUSING
COROPORATION
1000 S LOWELL BLVD
DENVER, CO 80219-3339

SOUTHWEST TEXAS TELEPHONE CO
PO BOX 128
ROCKSPRINGS, TX 78880-0128
SOUTHWEST VALLEY
CHAMBER OF COMMERCE
289 N LITCHFIELD RD
GOODYEAR, AZ 85338
SOUTHWEST YOUTH AND FAMILY SVCS
4555 DELRIDGE WAY SW
SEATTLE, WA 98106
SOUTHWESTERN AUTOMATED CLEARING
SOUTHWESTERN AUTOMATED
PAYMENTSNATION
ATTN AARTI PATEL
1999 BRYAN ST #1500
DALLAS, TX 75201
SOUTHWESTERN BELL
                                       Page 758
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AT&T
TELEPHONE CO LP
DBA SBC SOUTHWEST
PO BOX 660779
DALLAS, TX 75266-0779

SOUTHWESTERN BELL TELEPHONE CO
AT&T
DBA SBC
PO BOX 650516
DALLAS, TX 75265-0516
SOUTHWESTERN BELL TELEPHONE CO
AT&T
SBC
PO BOX 660778
DALLAS, TX 75266-0778
SOWELL GRAY STEPP &
LAFFITTE LLC
PO BOX 11449
COLUMBIA, SC 29211

SPACE COAST ASSN OF REALTORS
105 MCLEOD ST
MERRITT ISLAND, FL 32953
SPACE WALK OF FLORIDA INC
DBA SPACE WALK OF JACKSONVILLE
3218 PEACH DR
JACKSONVILLE, FL 32246
SPACECOAST BUSINESS LLC
PO BOX 410901
MELBOURNE, FL 32941

SPAGHETTI WAREHOUSE
1255 W I-20
ARLINGTON, TX 76017
SPANISH CATHOLIC CENTER INC
924 G ST NW
WASHINGTON, DC 20001

SPANISH COALITION FOR HOUSING
4037 W NORTH AVE
CHICAGO, IL 60639

SPANISH COALITION FOR JOBS INC
2011 W PERSHING RD
CHICAGO, IL 60609-2205
SPANISH SPEAKING UNITY COUNCIL
OF ALAMEDA COUNTY INC
3411 E 12TH ST #200
OAKLAND, CA 94601

SPARKS FLORIST
PO BOX 2477
SPARKS, NV 89432

SPARTAN PROMOTIONAL GROUP INC
711 HALE AVE N
                                      Page 759
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OAKDALE, MN 55128
SPEAKERS COM INC
130 LUBRANO DR #110
ANNAPOLIS, MD 21401

SPECIAL DELIVERY SERVICE INC
5470 LBJ FREEWAY
DALLAS, TX 75240

SPECIAL KIDS OF NY INC
6 SUTTON PL
KATONAH, NY 10536
SPECIALIZED ALTERNATIVES FOR
FAMILIES AND YOUTH OF TEXAS
201 BILLINGS ST, SUITE 510
ARLINGTON, TX 76010
SPECIALTY RISK SERVICES, LLC
[Address to Be Provided]

SPECIALTY TECH PUBLISHERS INC
1225 E KEITH RD UNIT 10
NORTH VANCOUVER, BC V7J 1J3 CANADA

SPECIALTYS CAFE & BAKERY INC
SPECIALTYSDIRECT COM
333 PINE ST 4TH FL
SAN FRANCISCO, CA 94104

SPECIALTYSDIRECT COM
115 SANSOME ST #300
SAN FRANCISCO, CA 94104-3612

SPECTRUM PRESS INC
7 MARBLE ST #B3
WHITMAN, MA 02382

SPEED-OX INC
PO BOX 71246
RICHMOND, CA 94807-1246
SPEEDWAY CHILDRENS CHARITIES
TEXAS CHAPTER
PO BOX 500
FORT WORTH, TX 76101

SPENCER MICHAEL STACEY
DIRECT MEDIA SOURCE
305 MADISON AVENUE #449
NEW YORK, NY 10165
SPENSER COMMUNICATIONS INC
PO BOX 56346
ATLANTA, GA 30343-0346

SPERRY VAN NESS
11999 SAN VICENTE BLVD #100
LOS ANGELES, CA 90049

SPHERION CORPORATION
2050 SPECTRUM BLVD
                                     Page 760
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FORT LAUDERDALE, FL 33309
SPILMAN THOMAS & BATTLE PLLC
300 KANAWHA BLVD E
PO BOX 273
CHARLESTON, WV 25321-0273
SPINNERS ENTERTAINMENT
15 BOILING SPRINGS AVE #1A
EAST RUTHERFORD, NJ 07073
SPIRITOSOS
811 MCLEAN AVE
YONKERS, NY 10704

SPIRO VOUTSARAS
LYCOS MORTGAGE
2001 ABBOTT RD
EAST LANSING, MI 48823

SPOKANE ASSN OF REALTORS
1924 N ASHST
SPOKANE, WA 99205-4206
SPOKANE COUNTY TITLE COMPANY
1010 N NORMANDIE ST #100
SPOKANE, WA 99201

SPOKANE DISTRICT DENTAL SOCIETY
202 E PACIFIC AVE
SPOKANE, WA 99202
SPOKANE HOME BUILDERS ASSN
5813 E 4THAVE #201
SPOKANE, WA 99212-0308

SPOKANE PUBLIC SCHOOLS
SPOKANE SCHOOL DISTRICT #81
ACCOUNTING DEPARTMENT
200 N BERNARD ST
SPOKANE, WA 99201-0282

SPOKANE VALLEY CHAMBER
OF COMMERCE
9507 SPRAGUE AVE
SPOKANE VALLEY, WA 99206

SPONSOR DIRECT LLC
580 WHITE PLAINS RD #600
TARRYTOWN, NY 10591-5181
SPORER LAW FIRM P C &
VALERIE RIPPERGER
108 3RD ST #322
DES MOINES, IA 50309
SPORTS MEDIA CONSULTANTS INC
1322 W CORNELIA AVE
CHICAGO, IL 60657
SPOTLIGHT
ELK GROVE COMMUNITY FOUNDATION
PO BOX 2021
                                       Page 761
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ELK GROVE, CA 95759-2021
SPRING BRANCH ISD
TREASURE FOREST ELEMENTARY
FBO SHADOW OAKS ELEMENTARY
SPRING WOODS MIDDLE SCHOOL
955 CAMPBELL RD
HOUSTON, TX 77024

SPRINGBOARD
NATIONAL FOUNDATION FOR
ATTN FAIR SHARE DEPT
PO BOX 5438
RIVERSIDE, CA 92517-5438

SPRINGBOARD FOR IMPROVING
BAY AREA SCHOOL
SCHOOLS
181 FREMONT ST 2ND FL
SAN FRANCISCO, CA 94105
SPRINGBOARD YOUNG ADULT
MINISTRIES
11600 JONES RD #108 2
HOUSTON, TX 77070

SPRINGFIELD AREA
CHAMBER OF COMMERCE
101 S A ST
SPRINGFIELD, OR 97477

SPRINGFIELD OFFSET INC DBA
THE TENNESSEAN
TELEMATCH
PO BOX 1936
SPRINGFIELD, VA 22159
SPRINGMAN BRADEN WILSON &
PONTIUS PC
1022 BANNOCK ST
DENVER, CO 80204

SPRINGVILLE CITY
BUSINESS LICENSING DEPT
50 S MAIN
SPRINGVILLE, UT 84663

SPRINT
PO BOX 219100
KANSAS CITY, MO 64121-9100
SPRINT
PO BOX 541023
LOS ANGELES, CA 90054-1023
SPRINT
PO BOX 79357
CITY OF INDUSTRY, CA 91716-9357
SPRINT COMMUNICATIONS CO LP
SPRINT
PO BOX 219623
KANSAS CITY, MO 64121-9623
                                       Page 762
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SPRINT COMMUNICATIONS CO LP
SPRINT
PO BOX 88026
CHICAGO, IL 60680-1206

SPSS INC
1213 PAYSPHERE CIRCLE
CHICAGO, IL 60674

SQE TRAINING LLC
PO BOX 2016
ORANGE PARK, FL 32067-2016
SQLSOFT
1750 112TH AVE NE #B101
BELLEVUE, WA 98004
SQLSOFT INC
SQLSOFT
1750 112TH AVE NE #B101
BELLEVUE, WA 98004

SQN PERIPHERALS INC
PO BOX 828520
PHILADELPHIA, PA 19182-8520
SR PARTNERS GARLAND AVENUE LLC
16475 N DALLAS PKWY #550
ADDISON, TX 75001

SR PARTNERS HIGHWAY 26 LLC
16475 N DALLAS PKWY #550
ADDISON, TX 75001

SR PARTNERS HULEN LLC
16475 N DALLAS PKWY #550
ADDISON, TX 75001

SS FOOD GROUP
DBA S&S CATERING
PO BOX 25329
DALLAS, TX 75225

SS&C TECHNOLOGIES INC
DEPARTMENT #5468
PO BOX 30000
HARTFORD, CT 06150-5468

SSB TECHNOLOGIES INC
SSB BART GROUP INC
300 BRANNAN ST #608
SAN FRANCISCO, CA 94107

SSD SYSTEMS
SECURITY SIGNAL DEVICES INC
1740 N LEMON ST
ANAHEIM, CA 92801-1007
SSH COMMUNICATIONS SECURITY INC
FILE# 74372
P.O. BOX 60000
SAN FRANCISCO, CA 94160
                                       Page 763
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SSI USA INC
DBA SPENCER STUART
PO BOX 98991
CHICAGO, IL 60693

SSI USA INC
DBA SPENCER STUART
CHICAGO, IL 60693

ST ALPHONSUS PARISH SCHOOL
5816 15TH AVE NW
SEATTLE, WA 98107
ST ANDREWS HOUSING GROUP
2650 148TH AVE SE
BELLEVUE, WA 98007
ST ANTHONY FOUNDATION
150 GOLDEN GATE AVE
SAN FRANCISCO, CA 94102

ST BENEDICT ELEMENTARY AND
MIDDLE SCHOOL
4811 WALLINGFORD N
SEATTLE, WA 98103
ST CECILIA CATHOLIC SCHOOL
1310 MADISON AVE N
BAINBRIDGE ISLAND, WA 98110

ST DISBURSEMENT UNIT (MISDU)
PO BOX 30350
LANSING, MI 48909-7850

ST JOSEPH PATRON CHURCH
185 SUYDAM ST
BROOKLYN, NY 11221

ST JOSEPHS CHURCH OF PALISADES
6401 PALISADES AVE
WEST NEW YORK, NJ 07093
ST JUDE CATHOLIC CHURCH
ST JUDE HISPANIC AMERICAN CNTR
ATTN REV CELESTION GUTIERREZ
3930 17TH ST
SARASOTA, FL 34232-0333

ST LUCIE CLERK AND RECORDER
4118 CKEECHOBEE RD
FORT PIERCE, FL 34947
ST LUCIE COUNTY
ST LUCIE CHAMBER OF COMMERCE
CHAMBER OF COMMERCE
1850 SW FOUNTAINVIEW BLVD #201
PORT ST LUCIE, FL 34986
ST LUCIE COUNTY EDUCATION
FOUNDATION INC
4204 OKEECHOBEE ROAD
FORT PIERCE, FL 34947
                                      Page 764
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ST LUCIE COUNTY PUBLIC SCHOOLS
FORT PIERCE WESTWOOD HIGH SCHL
4204 OKEECHOBEE RD
FT PIERCE, FL 34947

ST LUCIE COUNTY TAX COLLECTOR
PO BOX 308
FT PIERCE, FL 34954-0308

ST MARYS CIRCUIT COURT
LAND RECORDS
PO BOX 676
LEONARDTOWN, MD 20650

ST MARYS UNIVERSITY
SCHOOL OF LAW
ONE CAMINO SANTA MARIA
SAN ANTONIO, TX 78228

ST NICHOLS NEIGHBORHOOD
PRESERVATION CORPORATION
11 CATHERINE ST
BROOKLYN, NY 11211

ST PETE PRIDE INC
2429 CENTRAL AVE #210
ST PETERSBURG, FL 33713

ST PETERSBURG HIGH SCHOOL
2501 5TH AVE N
ST PETERSBURG, FL 33713

ST PETERSBURG LIONS FOUNDATION
PO BOX 11734
ST PETERSBURG, FL 33733-1734
ST PETERSBURG NEIGHBORHOOD
HOUSING SERVICES
1600 ML KING JR ST S
ST PETERSBURG, FL 33701

ST PIUS V HIGH SCHOOL
500 COURTLANDT AVE
BRONX, NY 10451
ST THOMAS SCHOOL
8300 NE 12TH ST
MEDINA, WA 98039
ST THOMAS UNIVERSITY
ATTN TIM DEPALMA
CAREER SERVICES
16401 NW 37TH AVE
MIAMI GARDENS, FL 33054
ST VINCENT DE PAUL
OF LANE COUNTY INC
PO BOX 24608
EUGENE, OR 97402

ST VINCENTS DAY HOME
1086 8TH ST
                                      Page 765
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OAKLAND, CA 94607-2697
STABBERT YACHT & SHIP LLC
2629 NW 54TH ST #W201
SEATTLE, WA 98107

STACY GERHARDS AND ANTHONY
GERHARDS
13177 VALLEJO COURT
WESTMINSTER, CO 80234
STAFFING INDUSTRY ANALYSTS INC
881 FREMONT AVE #A3
LOS ALTOS, CA 94024

STAFFORD FREY COOPER
601 UNION ST #3100
SEATTLE, WA 98101-1374
STAMFORD BOARD OF REALTORS
35 SIXTH ST
STAMFORD, CT 06905

STAMPS APPRAISAL LLC
PO BOX 272212
FORT COLLINS, CO 80527-2212
STAN TROY FRAZIER
6126 SERENITY LN
MERIDIAN, ID 83642

STAND UP FOR KIDS
ORANGE COUNTY
PO BOX 14398
IRVINE, CA 92623

STANDARD & POOR'S
BUSINESS WEEK
DIVISION-MCGRAW-HILL COMPANIES
2542 COLLECTION CENTER DR
CHICAGO, IL 60693

STANDARD APPRAISAL GROUP INC
75 HWY 35
PO BOX 1046
EATONTOWN, NJ 07724

STANDARD MORTGAGE INC
STANDARD MORTGAGE
18757 BURBANK BLVD #205
TARZANA, CA 91356
STANDARD PARKING
NORTH AVENUE COLLECTION PARKING
100 PINE ST PARKING FACILITY
SAN FRANCISCO, CA 94111

STANDARD PARKING
NORTH AVENUE COLLECTION PARKING
1325 4TH AVE #910
SEATTLE, WA 98101
STANDARD PARKING
                                       Page 766
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NORTH AVENUE COLLECTION PARKING
2020 KITTRIDGE ST #A
BERKELEY, CA 94704
STANDARD PARKING
NORTH AVENUE COLLECTION PARKING
8037 INNOVATION WAY
CHICAGO, IL 60682

STANDARD PARKING INC
NORTH AVENUE COLLECTION PARKING
80 SW 8TH ST
MIAMI, FL 33131
STANDARD PARKING INC
NORTH AVENUE COLLECTION PARKING
80 SW 8TH ST PARKING OFFICE
#100
MIAMI, FL 33131

STANDARD PUBLISHING CORP
SUBSCRIPTION DEPT
155 FEDERAL ST
BOSTON, MA 02110

STANDARD REGISTER
PO BOX 840655
DALLAS, TX 75284-0655

STANDARD VALUATION SERVICES
27 E JERICHO TURNPIKE
MINEOLA, NY 11501

STANLEY ERSKINE ESQUIRE
LAW OFFICE OF ERSKINE
FLEISHER
55 WESTON RD #300
FORT LAUDERDALE, FL 33326

STANLEY HAMMERMAN
HAMMERMAN & HULTGREN PC
3101 N CENTRAL AVE
PHOENIX, AZ 85012

STANLEY M BLAUSER
645 ROSEMONT RINGOES RD
STOCKTON, NJ 08559

STANTEC CONSULTING INC
13980 COLLECTIONS CENTER DR
CHICAGO, IL 60693
STAPLES CREDIT PLAN
STAPLES BUSINESS ADVANTAGE
PO BOX 689020
DES MOINES, IA 50368-9020

STAR COMMUNITY
PUBLISHING GROUP LLC
25 DESHON RD
MELVILLE, NY 11747
STAR PARK LLC
                                       Page 767
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610 SW ALDER #1221
PORTLAND, OR 97205

STAR STRUCK FOUNDATION INC
PO BOX 195
NORCROSS, GA 30091
STAR SYSTEMS INC
1100 CARR RD
MC 1-3-90
WILMINGTON, DE 19809
STAR TELEGRAM OPERATING LTD
DBA FORT WORTH STAR TELEGRAM
7608 ARBOR AVE DB-20
FORT WORTH, TX 76116-5198

STAR TRIBUNE
PO BOX 1255
MINNEAPOLIS, MN 55440
STARBUCKS COFFEE CO
STARBUCKS COFFEE COMPANY
LOC 643365
5065 WOOSTER RD
CINCINNATI, OH 45226
STARBURST ENTERPRISES
PO BOX 351
LOS BANOS, CA 93635

STARCITE INC
1650 ARCH ST 18TH FL
PHILADELPHIA, PA 19103

STARCOM WORLDWIDE
DIV OF LEO BURNETT USA INC
12076 COLLECTIONS CTR DR
CHICAGO, IL 60693
STARNET INSURANCE CO
475 STEAMBOAT ROAD
GREENWHICH, CT 06830

STATE BANK OF COUNTRYSIDE
6734 JOLIET RD
COUNTRYSIDE, IL 60525

STATE BAR OF CALIFORNIA
180 HOWARD ST
SAN FRANCISCO, CA 94105-1639
STATE BAR OF CALIFORNIA
PO BOX 2142
LOS ANGELES, CA 90084-2142
STATE BAR OF GEORGIA
GEORGIA COMMISSION ON CON'T
LAW COMPETENCY
104 MARIETTA ST NW #100
ATLANTA, GA 30303
STATE BAR OF GEORGIA
                                     Page 768
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PO BOX 102054
ATLANTA, GA 30368

STATE BAR OF TEXAS
PO BOX 149335
AUSTIN, TX 78714
STATE BAR OF WISCONSIN
PO BOX 14290
MADISON, WI 53714-0290
STATE BOARD OF ADMINISTRN OF FL
FL HURRICANE CATASTROPHE FUND
PO BOX 850001
ORLANDO, FL 32885-0166

STATE BOARD OF EQUALIZATION
SAN JOSE DISTRICT OFFICE
250 S SECOND ST
SAN JOSE, CA 95113-2706
STATE CENTRAL COLLECTION UNIT
PO BOX 6219
INDIANAPOLIS, IN 46206-6219

STATE COMPTROLLER
TEXAS STATE COMPTROLLER
COMPTROLLER OF PUBLIC ACCOUNTS
PO BOX 149359
AUSTIN, TX 78714-9359

STATE DISBURSEMENT UNIT
PO BOX 5400
CAROL STREAM, IL 60197-5400

STATE LAND DEPT ND
UNCLAIMED PROPERTY DIVISION
1707 N 9TH ST
BISMARK, ND 58501
STATE OF ALASKA
DEPARTMENT OF REVENUE
PO BOX 110420
JUNEAU, AK 99811-0420
STATE OF ALASKA
PO BOX 110808
JUNEAU, AK 99811-0808

STATE OF ARKANSAS
ARKANSAS SECRETARY OF STATE
CORPORATION INCOME TAX SECTION
PO BOX 8093
LITTLE ROCK, AR 72203-8093
STATE OF ARKANSAS
ARKANSAS SECRETARY OF STATE
PO BOX 8054
LITTLE ROCK, AR 72203
STATE OF CALIFORNIA
CALIFORNIA DEPT OF INSURANCE
PO BOX 1139
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SACRAMENTO, CA 95812-1139
STATE OF CALIFORNIA
DEPARTMENT OF INSURANCE
PO BOX 1799
SACRAMENTO, CA 95812-1799
STATE OF CALIFORNIA
DEPARTMENT OF REAL ESTATE
EDUCATION SECTION
PO BOX 18700
SACRAMENTO, CA 95818-7000
STATE OF CALIFORNIA
DEPT OF INDUSTRIAL RELATIONS
SELF-INSURANCE PLANS
2265 WATT AVE #1
SACRAMENTO, CA 95825
STATE OF CALIFORNIA
FRANCHISE TAX BOARD
PO BOX 942857
SACRAMENTO, CA 94257
STATE OF CALIFORNIA
OFFICE OF R/E APPRAISERS
1102 Q ST #4100
SACRAMENTO, CA 95814-6539

STATE OF CALIFORNIA DEPTARTMENT
OF MOTOR VEHICLES
PO BOX 942894
SACRAMENTO, CA 94294-0894

STATE OF CONNECTICUT
DEPT OF CONSUMER PROTECTION
PO BOX 1869
HARTFORD, CT 06144-1869

STATE OF CONNECTICUT DEPT OF
REVENUE SERVICE
25 SIGOURNEY ST
PO BOX 5032
HARTFORD, CT 06106-5032
STATE OF DELAWARE, DIVISION OF REVENUE
ATTN BANKRUPTCY DEPARTMENT
CARVEL STATE OFFICE BLDG., 820 N. FRENCH ST.
WILMINGTON
DE, 19801
STATE OF GEORGIA
DEPT OF BANKING & FINANCE
ATTN ADMINISTRATION DIVISION
2990 BRANDYWINE RD #200
ATLANTA, GA 30341-5565

STATE OF HAWAII
DEPT OF BUDGET & FINANCE
UNCLAIMED PROPERTY BRANCH
250 S HOTEL ST #304
HONOLULU, HI 96813

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STATE OF HAWAII INSURANCE DIV
PO BOX 3614
HONOLULU, HI 96811
STATE OF IDAHO
OFFICE OF THE SEC OF STATE
PO BOX 83720
BOISE, ID 83720-0080

STATE OF INDIANA
DIVISION OF UNCLAIMED PROPERTY
302 W WASHINGTON ST 5TH FL
INDIANAPOLIS, IN 46204-2770
STATE OF IOWA
DEPARMENT OF REVENUE
HOOVER STATE OFFICE BUILDING
PO BOX 10471
DES MOINES, IA 50306-0471

STATE OF KANSAS
DEPARTMENT OF REVENUE
915 SW HARRISON ST
TOPEKA, KS 66625-2007

STATE OF MARYLAND
ASSESSMENT & TAXATION
301 WEST PRESTON ST
BALTIMORE, MD 21201-2395

STATE OF MARYLAND COMPTROLLER
UNCLAIMED PROPERTY UNIT RM 310
301 W PRESTON ST
BALTIMORE, MD 21201-2385

STATE OF MICHIGAN
DEPT OF TREASURY
DEPT 77003
DETROIT, MI 48277-0003
STATE OF MICHIGAN
MICHIGAN DEPT OF TREASURY
DEPT 77889
DETROIT, MI 48277-0889
STATE OF MICHIGAN
UNCLAIMED PROPERTY DIVISION
MICHIGAN DEPARTMENT OF TREASURY
7285 PARSONS DR
DIMONDALE, MI 48821
STATE OF MICHIGAN
PO BOX 30702
LANSING, MI 48909-8202
STATE OF NEBRASKA SEC OF STATE
1301 STATE CAPITOL
LINCOLN, NE 68509-4608
STATE OF NEVADA
BUSINESS LICENSE RENEWAL
PO BOX 52614
PHOENIX, AZ 85072-2614
                                       Page 771
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STATE OF NEVADA
DIVISION OF INSURANCE
788 FAIRVIEW DR #300
CARSON CITY, NV 89701-5491

STATE OF NEVADA
DIVISION OF INSURANCE
PO BOX 98572
LAS VEGAS, NV 89193-8572
STATE OF NEVADA
SECRETARY OF STATE
202 N CARSON ST
CARSON CITY, NV 89701-4201

STATE OF NEW HAMPSHIRE
DEPT OF STATE BUREAU OF
SECURITIES REGULATION
107 N MAIN ST STATE HOUSE RM204
CONCORD, NH 03301-4989

STATE OF NEW JERSEY
BFC
REVENUE PROCESSING CENTER
PO BOX 247
TRENTON, NJ 08646-0247

STATE OF NEW JERSEY
DBA CORPORATION TAX
PO BOX 193
TERNTON, NJ 08646-0793

STATE OF NEW JERSEY
DIVISION OF TAXATION
REVENUE PROCESSING CENTER
PO BOX 261
TRENTON, NJ 08646-0261

STATE OF NEW JERSEY
DIVISION OF TAXATION
FEDERAL OFFSET PROGRAM
PO BOX 283
TRENTON, NJ 08695-0283
STATE OF NEW JERSEY
DIVISION OF TAXATION
PO BOX 193
TRENTON, NJ 08646-0193
STATE OF NEW JERSEY
DIVISION OF TAXATION
PO BOX 666
TRENTON, NJ 08646-0666
STATE OF NEW JERSEY TREASURER
DIVISION OF BANKING
PO BOX 40
TRENTON, NJ 08625
STATE OF NEW MEXICO
STATE OF ALASKA
TAXATION AND REVENUE DEPT
                                       Page 772
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PO BOX 5557
SANTA FE, NM 87502-5557

STATE OF NEW MEXICO
TAXATION & REVENUE DEPT
PO BOX 25128
SANTA FE, NM 87504-5128
STATE OF NEW YORK
NYS LLC LLP FEE
DIVISION OF LICENSING
PO BOX 5061 GPO
NEW YORK, NY 10087-5061
STATE OF NEW YORK MORTGAGE AGCY
641 LEXINGTON AVENUE
NEW YORK, NY 10022
STATE OF OHIO
DEPT OF TAXATION
PO BOX 804
COLUMBUS, OH 43216-0804

STATE OF OREGON
CLACKAMAS CTY CIRCUIT COURT
807 MAIN ST #104
OREGON CITY, OR 97045

STATE OF OREGON
DEPT OF CONSUMER AND BUSI SVCS
FISCAL SERVICES SECTION
PO BOX 14610
SALEM, OR 97309-0445

STATE OF OREGON
EMPLOYMENT DEPT
PO BOX 14009
SALEM, OR 97309-5058

STATE OF OREGON EMPLOYMENT DEPT
875 UNION ST NE RM 112
SALEM, OR 97311-0040
STATE OF RHODE ISLAND
DIVISION OF TAXATION
ONE CAPITAL HILL #21
PROVIDENCE, RI 02908-5813

STATE OF RHODE ISLAND
GENERAL TREASURER
UNCLAIMED PROPERTY DIVISION
40 FOUNTAIN ST 7TH FL
PROVIDENCE, RI 02903

STATE OF RHODE ISLAND
TAX ADMINISTRATOR
RHODE ISLAND DIV OF TAXATION
1 CAPITOL HILL
PROVIDENCE, RI 02908-5800
STATE OF SOUTH DAKOTA
PUBLIC UTILITIES COMMISSION
500 E CAPITOL AVE
                                       Page 773
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PIERRE, SD 57501-5070
STATE OF UTAH
INSURANCE DEPT
STATE OFFICE BLDG #310
SALT LAKE CITY, UT 84114
STATE OF UTAH
UTAH MARTIN LUTHER KING JR
DEPARTMENT OF FINANCIAL INST
PO BOX 146800
SALT LAKE CITY, UT 84114-6800
STATE OF WASHINGTON
DEPARTMENT OF REVENUE
PO BOX 34054
SEATTLE, WA 98124-1054
STATE OF WASHINGTON
DEPT OF LICENSING
PO BOX 9048
OLYMPIA, WA 98507-9048

STATE OF WASHINGTON
DEPT OF REVENUE
PO BOX 34052
SEATTLE, WA 98124-1052

STATE OF WASHINGTON
DEPT OF REVENUE
UNCLAIMED PROPERTY SECTION
6500 LINDERSON WAY #227
TUMWATER, WA 98501

STATE OF WEST VIRGINIA
INCOME TAX DEPARTMENT
PO BOX 2666
CHARLESTON, WV 25330-2666

STATE OF WISCONSIN OFFICE OF
THE COMMISSIONER OF INSURANCE
PO BOX 7873
MADISON, WI 53707-7873

STATE STREET BANK & TRUST KC
ATTN ACCOUNTS RECEIVABLE
801 PENNSYLVANIA AVE
KANSAS CITY, MO 64105-1307

STATE TREASURER
MAINE REVENUE SERVICES
SALES & USE TAX DIV
PO BOX 1065
AUGUSTA, ME 04332-1065
STATE TREASURER
PO BOX 9048
OLYMPIA, WA 98507-9048
STATE TREASURER OF MISSISSIPPI
DIVISION OF UNCLAIMED PROPERTY
1101 A WOOLFOLK BLDG
501 NW ST
                                      Page 774
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JACKSON, MS 39201
STATE TROOPERS FRATERNAL
ASSOCIATION OF NJ INC
2634 HWY 70
MANASQUAN, NJ 08736
STATE TROOPERS NCO
ASSOCIATION OF NJ INC
213 CROSSWICKS RD
BORDERTOWN, NJ 08505
STATE UNIVERSITY OF NEW YORK
NYS LLC LLP FEE
BROCKPORT
350 NEW CAMPUS DR
BROCKPORT, NY 14420
STATE WATER RESOURCES CNTRL BRD
SCP PROGRAM
PO BOX 944212
SACRAMENTO, CA 94244-2120

STATEN ISLAND
CHAMBER OF COMMERCE
130 BAY ST
STATEN ISLAND, NY 10301

STATEN ISLAND
ECONOMIC DEVELOPMENT CORP
900 SOUTH AVE #402
STATEN ISLAND, NY 10314

STATEN ISLAND FAMILY EVENTS INC
10 RICHMOND TERRACE
STATEN ISLAND, NY 10301
STATEN ISLAND JSEC INC
ATTN JOHN MASTELLONE
1141 HYLAN BLVD
STATEN ISLAND, NY 10305

STATEWIDE HISPANIC CHAMBER OF
COMMERCE OF NEW JERSEY
150 WARREN ST #110
JERSEY CITY, NJ 07302

STAWICKI AND STAWICKI
100 AMSTON RD
COLCHESTER, CT 06415
STAYTON AREA ROTARY CLUB
PO BOX 267
STAYTON, OR 97383
STAYTON COOPERATIVE TELEPHONE
475 N 2ND
STAYTON, OR 97383
STAYTON/SUBLIMITY
CHAMBER OF COMMERCE
175 E HIGH ST
STAYTON, OR 97383
                                       Page 775
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STEARNS WEAVER MILLER WEISSLER
ALHADEFF & SITTERSON PA
2200 MUSEUM TOWER
150 W FLAGLER ST
MIAMI, FL 33130
STEELE & ASSOCIATES LLC
8669 E SAN ALBERTO DR #200
SCOTTSDALE, AZ 85258
STELLA COLOR INC
620 S DAKOTA ST
SEATTLE, WA 98108

STELLA NONA INC
2316 HASTE ST
BERKELEY, CA 94704
STELLMACHER & SADOYAMA LTD
1042 FORT ST MALL #300
HONOLULU, HI 96813

STEPHAN WILLIAMS ESQ
1615 BONANZA ST #211
WALNUT CREEK, CA 94596
STEPHANIE M WATSON
250 HARRISON ST #C
DENVER, CO 80206

STEPHANIE MOORE
DBA STEPHANIE MOORE PHOTGRAPHY
108 W 2ND ST #503
LOS ANGELES, CA 90012

STEPHEN A FRITCH & ASSOC PLC
610 LOTUS DR N #D
MANDEVILLE, LA 70471
STEPHEN DANZ & ASSOCIATES
CLIENT TRUST ACCOUNT
11661 SAN VICENTE BLVD #500
LOS ANGELES, CA 90049
STEPHEN E. FRANK
[Address Information Redacted]

STEPHEN FORTUNATO
[Address Information Redacted]
STEPHEN I. CHAZEN
[Address Information Redacted]

STEPHEN J. ROTELLA
[Address Information Redacted]

STEPHEN M GRAHAM DBA
GRAHAM & ASSOCIATES
711 MEDFORD CENTRE PMB416
MEDFORD, OR 97504
STEPHEN PRIBBLE
                                      Page 776
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JAMES F SELBACH PC
2700 BELLEVUE AVE
SYRACUSE, NY 13219
STEPHEN R KISSICK CORP
US DOVER COMPANY
1628 INDEPENDENCE WAY
VISTA, CA 92084

STEPHENS & MICHAELS ASSOCIATES
63 RANGE RD
WINDHAM, NH 03087
STEPHENS MEDIA LLC
DBA LAS VEGAS REVIEW JOURNAL
ADVERTISING DEPT
PO BOX 920
LAS VEGAS, NV 89125-0920
STEPHENS MILLIRONS
HARRISON & GAMMONS PC
PO BOX 307
HUNTSVILLE, AL 35804
STERLING ATM INC
3584 WEST 1820 S
SALT LAKE CITY, UT 84104

STERLING CAPITAL, INC.
1266 E. MAIN ST. 5TH FLOOR
STAMFORD, CT 06902
STERLING COMMERCE (AMERICA), INC.
[Address to Be Provided]

STERLING HOME MORTGAGE LLC
4805 THISTLE LANDING DR #110
PHOENIX, AZ 85044

STERLING NATIONAL MORTGAGE CO
98 CUTTERMILL RD #200
GREAT NECK, NY 11021
STERLING SCOTT WINCHELL
9881 IRVINE CENTER DR
IRVINE, CA 92618

STETSON UNIVERSITY
CAREER SERVICES
421 N WOODLAND BLVD #8395
DELAND, FL 32723
STEVE AND LANA GUREVICH
1425 N ALTA VISTA BLVD APT #212
LOS ANGELES, CA 90046
STEVE BRINTON
[Address Information Redacted]
STEVE K. STEARNS
[Address Information Redacted]
STEVE MARK MILLER
                                       Page 777
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
FINANCE WEST COMPANY
595 BURLINGAME AVE
LOS ANGELES, CA 90049
STEVE MCCAMPBELL
1878 MARTIN CIRCLE #133
SAN MARCOS, CA 92069
STEVE MILLER CONSTRUCTION
ARTUR R HOLLENCAMP 130 W
2ND ST #2107
DAYTON, OH 45402
STEVE R WHITE
2925 MONUMENT BLVD UNIT 48
CONCORD, CA 94520

STEVE ROBBINS
2916 S SHORE DR
PRIOR LAKE, MN 55372
STEVE ROTELLA
[Address Information Redacted]
STEVE SWITZER
DBA INLAND MEDIA GROUP
PO BOX 7082
REDLANDS, CA 92375

STEVEN A SOUZA
ADVANTAGE APPRAISALS
2041 PRIMAVERA PLAZA
FORT MOHAVE, AZ 86426

STEVEN A WOOD
INSIGHT ECONOMICS LLC
PO BOX 3066
DANVILLE, CA 94526

STEVEN AUDINO
[Address Information Redacted]

STEVEN B RABINOFF
58-12 FRANCIS LEWIS BLVD
FLUSHING, NY 11364-1637
STEVEN BURNS DBA
STEVEN BURNS PHOTOGRAPHY
6532 FRIENDS AVE
WHITTIER, CA 90601
STEVEN FINK & ASSOC PC
421 N NORTHWEST HWY #201
BARRINGTON, IL 60010
STEVEN HARRIS
KIRSCHENBAUM & KISCHENBAUM PC
200 GARDEN CITY PLAZA
GARDEN CITY, NY 11530
STEVEN KINDER
DBA EXHIBIT ASSOCIATES
4706 MEMPHIS ST
                                      Page 778
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DALLAS, TX 75207
STEVEN R NORRIS & ASSOCIATES
DBA NORRIS REALTY ADVISORS
101 E GREEN ST #9
PASADENA, CA 91105
STEVEN W LUCKY
4006 SOUTHWOOD ST W
COLLEYVILLE, TX 76034
STEVENS & LEE
PO BOX 679
READING, PA 19603-0679

STEVENS & STEVENS BUSINESS
RECORDS MANAGEMENT INC
PO BOX 388
PINELLAS PARK, FL 33780-0388

STEVENSEN & NEAL REALTORS
COMMUNITY TRUST MORTGAGE
116 CAMPBELL AVE #5
CAMPBELL, CA 95008

STEW COGAN
ARBITRATOR MEDIATOR
800 5TH AVE #4000
SEATTLE, WA 98104-3179

STEWART KWOH
2089 KENILWORTH AVE
LOS ANGELES, CA 90039

STEWART LENDER SERVICES
STEWART MORTGAGE INFORMATION CO
1980 POST OAK BLVD #300
HOUSTON, TX 77056

STEWART M LANDEFELD
[Address Information Redacted]

STEWART M. LANDEFELD
[Address Information Redacted]
STEWART M. LANDEFELD
[Address Information Redacted]

STEWART TITLE
STEWART TITLE OF CALIFORNIA INC
180 N RIVERVIEW DR #100
ANAHEIM, CA 92808-1228
STEWART TITLE
4002 TACOMA MALL BLVD #204
TACOMA, WA 98409

STEWART TITLE AGENCY OF
MI
26555 EVERGREEN RD #400
SOUTHFIELD, MI 48076
STEWART TITLE AND TRUST
                                       Page 779
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3930 E RAY RD #130
PHOENIX, AZ 85044

STEWART TITLE CO OF ILLINOIS
2 NORTH LASALLE #625
CHICAGO, IL 60602
STEWART TITLE INSURANCE CO
STEWART TITLE
707 WESTCHESTER AVE #411
WHITE PLAINS, NY 10604
STEWART TITLE OF CALIFORNIA
STEWART TITLE OF CALIFORNIA INC
ORANGE COUNTY DIVISION
2010 MAIN ST #250
IRVINE, CA 92614
STEWART TITLE OF CALIFORNIA INC
SAN DIEGO
7676 HAZARD CENTER D #620
SAN DIEGO, CA 92108

STEWART TITLE OF OREGON INC
2020 SW 4TH AVE #190
PORTLAND, OR 97201
STILLMAN LAW OFFICE
7091 ORCHARD LAKE RD #270
WEST BLOOMFIELD, MI 48322

STILLWATER COUNTY CLERK AND
RECORDER
400 THIRD AVE N
COLUMBUS, MT 59019

STITES & HARBISON
400 W MARKET ST #1800
LOUISVILLE, KY 40202-3352
STOCKTON CHAMBER OF COMMERCE
445 W WEBER AVE #220
STOCKTON, CA 95203

STOCKTON POLICE DEPARTMENT
BURGLAR ALARM PERMIT RENEWAL
22 E MARKET ST
STOCKTON, CA 95202-2876

STOCKTON UNIFIED SCHOOL DIST
MARTIN LUTHER KING JR
CLEVELAND ELEMENTARY SCHOOL
20 E FULTON ST
STOCKTON, CA 95204
STOEL RIVES LLP
900 SW FIFTH AVENUE #2600
PORTLAND, OR 97204-1268
STOKES EITELBACH & LAWRENCE PS
800 5TH AVE #4000
SEATTLE, WA 98104-3179

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
STOLL STOLL BERNE
LOKTING & SHLACHTER PC
209 SW OAK ST
PORTLAND, OR 97204
STONE MOUNTAIN LATINO FAIR
DBA FERIA LATINA
3523 BUFORD HWY
ATLANTA, GA 30329

STONE OAK TITANS YOUTH SPORTS
ASSOCIATION
17460 IH 35 N #160 372
SCHERTZ, TX 78154

STONE POGRUND & KOREY
221 N LASALLE ST #3200
CHICAGO, IL 60601
STONECASTLE LAND & HOME
FINANCIAL
319 DIABLO RD #220
DANVILLE, CA 94526
STORMO REPORTING INC
4847 ASHBROOK CIRCLE
HIGHLANDS RANCH, CO 80130-8839

STOVALL EDUCATIONAL UPLIFT FDTN
5756 ALADDIN ST
LOS ANGELES, CA 90008
STRAFFORD PUBLICATIONS INC
PO BOX 13729
ATLANTA, GA 30324-0729

STRATEGIC ANALYTICS INC
2935 RODEO PARK DR E
SANTA FE, NM 87505
STRATEGIC ASSET SERVICES LLC
30021 TOMAS #130
RANCHO SANTA MARGARITA, CA 92688

STRATEGIC ECONOMIC DECISIONS
PO BOX 2054
SCOTTSDALE, AZ 85252-2054

STRATEGIC LENDING LLC
234 WEST 540 NORTH
OREM, UT 84057
STRATEGIC MORTGAGE FINANCE GRP
STRATMOR GROUP
DBA STRATMOR GROUP
200 WESTPARK DR #210
PEACHTREE CITY, GA 30269

STRATEGIC RECOVERY GROUP LLC
1201 3RD AVE #725
SEATTLE, WA 98101
STRATEGIC STAFFING SOLUTIONS
                                        Page 781
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
16700 198TH AVE NE
WOODINVILLE, WA 98077

STREET SOLUTIONS INC
ATTN BHAVNA SHAH
2930 PLAZA FIVE
JERSEY CITY, NJ 07311-4043
STREETLIGHTS PRODUCTION
ASSISTANT PROGRAM
650 N BRONSON AVE #B108
HOLLYWOOD, CA 90004
STRIZZIS RESTAURANTS INC
ADMISISTRATIVE OFFICES
7950 DUBLIN BLVD #109
DUBLIN, CA 94568
STROBL & SHARP
300 E LONG LAKE RD #200
BLOOMFIELD HILLS, MI 48304-2376

STROOCK & STROOCK & LAVAN LLP
2029 CENTURY PARK E
LOS ANGELES, CA 90067-3086

STRUCTURE SOLUTIONS INC
1300 SUMMIT AVE #C
PLANO, TX 75074

STUART/MARTIN COUNTY
CHAMBER OF COMMERCE
1650 S KANNER HWY
STUART, FL 34994-7199

STUCTURED EMPLOYMENT AND
ECONOMIC DEVELOPMENT CORP
915 BROADWAY 17TH FL
NEW YORK, NY 10010
STUDIO Z RECORDING INC
1030 48TH ST
SACRAMENTO, CA 95819

SUBLIME MEDIA LLC
111 WEST JOHN ST #301
SEATTLE, WA 98119

SUBROGATION MANAGEMENT TEAM LTD
204 E RHAPSODY
SAN ANTONIO, TX 78216
SUBURBAN ELECTRIC OF ALBION IN
225 E BANK ST
ALBION, NY 14411
SUCCESS VILLAGE APARTMENTS
100 COURT D
BRIDGEPORT, CT 06610
SUCCESSORIES LLC
SUCCESSORIES INC
38646 EAGLE WAY
                                       Page 782
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
CHICAGO, IL 60678-1386
SUDDENLINK
PO BOX 660365
DALLAS, TX 75266-0365

SUE ANN RUMPF
BLVD CAFE
1020 OAK ST
JEFFERSON HILLS, PA 15025
SUFFOLK COUNTY POLICE ATHLETIC
LEAGUE INC
PO BOX 26
YAPHANK, NY 11980-0026

SUFFOLK LOCK & SECURITY
PROFESSIONALS INC
430 MONTAUK HWY
LINDENHURST, NY 11757
SUKHWINDER S NATHOWAL
DBA ALFALFAS PIZZA & DELI
335 E WEBER AVE
STOCKTON, CA 95202

SULAMITH WEITZMAN-STRAUS
4739 SARATOGA AVE
SAN DIEGO, CA 92107

SULLIVAN & COMPANY
645 MADISON AVE
NEW YORK, NY 10022

SULLIVAN & WORCESTER LLP
ONE POST OFFICE SQUARE
BOSTON, MA 02109

SULLIVAN COUNTY CLERK
100 NORTH ST
MONTICELLO, NY 12701

SULLYS CATERING
4712 W RIDGE RD
SPENCERPORT, NY 14559
SUMITRANS CORP
3333 NEW HYDE PARK RD
NEW HYDE PARK, NY 11042
SUMMECH COMMUNITY DVLPMT CORP
633 PRYOR ST
ATLANTA, GA 30312

SUMMIT COUNTY
PO BOX 128
COALVILLE, UT 84017

SUMMIT COUNTY PUBLIC WORKS
1755 S HOYTSVILLE RD
COALVILLE, UT 84107
SUMMIT INVESTMENTS LOAN CORP
                                      Page 783
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
LOANISLAND
209 AVENIDA DEL MAR #207
SAN CLEMENTE, CA 92672
SUMMIT MORTGAGE LLC
SUMMIT MORTGAGE CORP
301 EDGEWATER PL #20
WAKEFIELD, MA 01880

SUMMIT RESOURCES LTD
DBA MANCHESTER FINANCIAL GROUP
1 MARKET PL 33RD FL
SAN DIEGO, CA 92101
SUMMIT RISER SYSTEMS
17981 SKYPARK CIRCLE #H
IRVINE, CA 92614
SUMMIT SYSTEMS INC
22 CORTLANDT ST
NEW YORK, NY 10007

SUMMIT SYSTEMS, INC, A SUSIDIARY OF MISYS
[Address to Be Provided]

SUMNER COUNTY REGISTER OF DEEDS
355 N BELVEDERE DR
GALLATIN, TN 37066

SUMNER GROUP INC
DBA DATAMAX OFFICE SYSTEMS
PO BOX 20527
ST LOUIS, MO 63139

SUMNER PROMOTION ASSOCIATION
PO BOX 506
SUMNER, WA 98390

SUN LAKES CHARITY WEEKEND
850 S COUNTRY CLUB DR
BANNING, CA 92220

SUN LIFE ASSURANCE
SUN LIFE ASSURANCE CO OF CANADA
COMPANY OF CANADA US
SUN LIFE FINANCIAL
PO BOX 9133
WELLESLEY HILLS, MA 02481-9133

SUN MICROSYSTEMS INC
BANK OF AMERICA
DEPT 1489
PO BOX 61000
SAN FRANCISCO, CA 94161
SUN MICROSYSTEMS INC
C/O BANK OF AMERICA LOCKBOX SRV
12120 COLLECTION CENTER DR
CHICAGO, IL 60693-1212
SUN VALLEY TECH SOLUTIONS INC
2737 E GREENWAY RD #5
PHOENIX, AZ 85032
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SUNDANCE SQUARE
201 MAIN ST #700
FORT WORTH, TX 76102
SUNFEST OF PALM BEACH CO INC
525 CLEMATIS ST
W PALM BEACH, FL 33401

SUNGARD AVAILABILITY SVCS LP
PO BOX 91233
CHICAGO, IL 60693
SUNGARD CORBEL
CORBEL
PO BOX 98698
CHICAGO, IL 60693
SUNGARD FINANCIAL SYSTEMS INC
SUNGARD FINANCIAL SYSTEMS LLC
PO BOX 91814
CHICAGO, IL 60693

SUNGARD FINANCIAL SYSTEMS LLC
SUNGARD IN TRADER
91814 COLLECTION CENTER DR
CHICAGO, IL 60693

SUNGARD TREASURY SYSTEMS
PO BOX 7659
CHICAGO, IL 60693
SUNKIST ELEMENTARY SCHOOL
1400 TEAKWOOD ST
PORT HUENEME, CA 93041

SUNNYSIDE CHAMBER OF COMMERCE
PO BOX 4399
SUNNYSIDE, NY 11104
SUNNYSIDE COMMUNITY SERVICES
43-31 39TH ST
SUNNYSIDE, NY 11104

SUNRISE CHAMBER OF COMMERCE
12717 W SUNRISE BLVD #138
SUNRISE, FL 33323

SUNSET CHAPEL
9393 SUNSET DR
MIAMI, FL 33173
SUNSET PARKING SERVICE LLC
SUNSET PARKING SERVICE
ATTN STEVE
PO BOX 12643
SAN DIEGO, CA 92112

SUNSET PROFESSIONAL GIFTS
PO BOX 62406
TAMPA, FL 33662-4068
SUNSET VIEW ELEMENTARY
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711 CENTER PKWY
KENNEWICK, WA 99336

SUNSHINE MORTGAGE CORP
2401 LAKE PARK DR #300
SMYRNA, GA 30080
SUNTRUST BANK
303 PEACHTREE ST #500 5TH FL
MAIL CODE GA ATL 0687
ATTN ANNA BISHOP
ATLANTA, GA 30308
SUNWEST LENDING GROUP
18300 VON KARMAN #900
IRVINE, CA 92612

SUNY ROCHESTER EDUCATIONAL
NYS LLC LLP FEE
OPPORTUNITY CENTER
305 ANDREWS ST
ROCHESTER, NY 14604

SUPER SHOTS PORTRAIT STUDIO
601 W MAIN #203
SPOKANE, WA 99201
SUPERIOR BAG MANUFACTURING CORP
759 E LINCOLN AVE
RAHWAY, NJ 07065

SUPERIOR COURT OF
SAN FRANCISCO
400 MCALLISTER #103
SAN FRANCISCO, CA 94102

SUPERIOR COURT OF CALIFORNIA
COUNTY OF SAN JOAQUIN
CLERK OF COURT
222 E WEBER AVE
STOCKTON, CA 95202

SUPERIOR COURT OF NJ
C/O RALPH TRIONFO
71 HAMILTON ST
PATERSON, NJ 07505

SUPERIOR COURT-NJ SPECIAL CI
C/O GERALD V RAMOTH OFFICER
PO BOX 160
PARAMUS, NJ 07653
SUPERIOR JOB FAIRS
248 COLUMBIA TURNPIKE
FLORHAM PARK, NJ 07932
SUPERIOR TITLE SERVICES INC
LANDMARK TITLE INC
4595 KINSEY DR
TYLER, TX 75703

SUPPA TRUCCHI & HENEIN LLPS
CLIENT TRUST ACCOUNT
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3055 INDIA ST
SAN DIEGO, CA 92103-6013

SUPPORT PAYMENT CLEARINGHOUSE
PO BOX 52107
PHOENIX, AZ 85072
SUPPORTIVE HOUSING
NETWORK OF NEW YORK
475 RIVERSIDE DR #250
NEW YORK, NY 10115
SUPPORTIVE HOUSING ASSOC OF NJ
15 ALDEN ST #12
CRANFORD, NJ 07016

SUPPORTSOFT INC
ACCOUNTS RECEIVABLE
DEPT CH 10967
PALATINE, IL 60055-0967
SUPPORTSOFT, INC.
[Address to Be Provided]
SUPREME COURT CLERK
PO BOX 149335
AUSTIN, TX 78714-9335

SUREWEST
PO BOX 1110
ROSEVILLE, CA 95678-8110
SUREWEST TELEPHONE
PO BOX 30697
LOS ANGELES, CA 90030-0697

SURFRAY INC
ACCT RECEIVABLE
17 REMINGTON RD
FAIR LAWN, NJ 07410

SURVEY SAMPLING INC
PO BOX 150485
HARTFORD, CT 06115-0485
SURVEYMONKEY COM
815 NW 13TH AVE #D
PORTLAND, OR 97209

SURVIVAL INSTINCT
THE NETWORK INC
PO BOX 566
BRONX, NY 10472

SUSAN B HURFORD DBA
HURFORD & COMPANY
31561 TABLE ROCK DR #420
LAGUNA BEACH, CA 92651
SUSAN DIANE JAMES
5481 174 PLACE SE
BELLEVUE, WA 98006

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SUSAN DUMETT
203 BELLEVUE AVE E #21
SEATTLE, WA 98102
SUSAN G KOMEN BREAST CANCER
FOUNDATION INC
449 N PARK CENTER
PO BOX 650309
DALLAS, TX 75225

SUSAN G KOMEN FOUNDATION
SUSANGKOMEN BREAST CANCR FOUND
SF BAY AREA
2347 SADDLEBACK DR
DANVILLE, CA 94506

SUSAN JACKSO
[Address Information Redacted]
SUSAN L COOPER
DBA CITY GREENS
17924 75TH PL W
EDMONDS, WA 98026
SUSAN M POTTEIGER
1541 NW 167TH ST
SHORELINE, WA 98177

SUSAN MAGLEY INC
DBA MAGLEY & ASSOCIATES
543 HOWARD ST 4TH FL
SAN FRANCISCO, CA 94105

SUSAN MILLER DORSEY
LOS ANGELES UNIFIED SCHOOL DIST
HIGH SCHOOL
3537 FARMDALE AVE
LOS ANGELES, CA 90016

SUSAN R. TAYLOR
[Address Information Redacted]

SUSANA ALVARENGA
25908 TOURNAMENT RD #175
VALENCIA, CA 91355
SUSSMAN SHANK LLP
1000 SW BROADWAY #1400
PORTLAND, OR 97205-3089
SUSTAINABLE LONG ISLAND INC
45A SEAMAN AVE
BETHPAGE, NY 11714

SUTHERLAND ASBILL & BRENNAN
1275 PENNSYLVANIA AVE NW
WASHINGTON, DC 20004-2415

SUTHERLAND ASBILL & BRENNAN
999 PEACHTREE ST NE
ATLANTA, GA 30309-3996
SUTTER COUNTY PARENT NETWORK
                                       Page 788
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DBA FAMILY SOUP
1650 SIERRA AVE #106
YUBA CITY, CA 95993
SUYAPA C WELSH
DBA PLASTIC CARD SERVICES
2575 SHADOW MOUNTAIN DR
SAN RAMON, CA 94583

SUZANNE M. KRAHLING
[Address Information Redacted]
SUZANNE SHERIDAN
277A NORTH AVE CARRIAGE HOUSE
WESTPORT, CT 06880

SVETLANA KIBRIK
RANDALL S NEWMAN PC
THE TRUMP BLDG 40 WALL ST
61ST FL
NEW YORK, NY 10005

SVETLANA V. KHOMUTOVA
[Address Information Redacted]

SVM LP
999 E TOUHY AVE #250
DES PLAINES, IL 60018

SWEET SERENITY GOURMET FOODS
BASKETS & GIFTS
155 S CASHUA DR #A
FLORENCE, SC 29501

SWIFT SCRL
AVENUE ADELE 1
1310 LA HULPE
,   BELGIUM

SWIFTVIEW INC
UNIT 20
PO BOX 5000
PORTLAND, OR 97208-5000

SWIFTY PRINTING & DIGITAL
IMAGING INC
2001 3RD AVE
SEATTLE, WA 98121

SWORDS TO PLOWSHARES
1060 HOWARD STREET
SAN FRANCISCO, CA 94103
SWS INVESTMENTS
8608 S TACOMA WAY
LAKEWOOD, WA 98499

SYBASE INC
FILE #72364
PO BOX 60000
SAN FRANCISCO, CA 94160-2364
SYBASE INC.
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SYBASE INC
FILE NO 72364
PO BOX 60000
SAN FRANCISCO, CA 94160-2364
SYMANTEC
FILE 32168 PO BOX 60000
SAN FRANCISCO, CA 94160

SYMANTEC
[Address to Be Provided]
SYMETRA LIFE INSURANCE CO
SAFECO LIFE & INVESTMENTS
777 108TH AVE NE #1200
BELLEVUE, WA 98004-5135

SYMON COMMUNICATIONS INC
500 N CENTRAL EXPWY #175
PLANO, TX 75074
SYMON COMMUNICATIONS, INC.
[Address to Be Provided]
SYNAPTIX SYSTEMS INC
11 RAVEN #200
ALISO VIEJO, CA 92656

SYNCSORT INC
50 TICE BLVD CN18
WOODCLIFF LAKE, NJ 07677
SYNECHRON INC
15 CORPORATE PLACE S #400
PISCATAWAY, NJ 08854

SYNERGISTIC SOFTWARE SYSTEMS
PO BOX 8488
SPOKANE, WA 99203-0488
SYNERGISTICS RESEARCH CORP
2951 FLOWERS RD S #230
ATLANTA, GA 30341

SYNERGISTICS RESEARCH CORP
2951 FLOWERS RD S #230
ATLANTA, GA 30341

SYNERGY FINANCIAL MNGMNT CORP
DIRECTLENDERCOM
16845 VON KARMAN AVE #100
IRVINE, CA 92606
SYNOVATE INC
37090 EAGLE WY
CHICAGO, IL 60678-1370

SYNOVUS FINANCIAL CORP
KAY MITCHELL
PO BOX 120
COLUMBUS, GA 31902
SYNQ SOLUTIONS INC
                                     Page 790
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PO BOX 13444
ATLANTA, GA 30324

SYSTECH DISPLAYS INC
5130 MOSS LN
GRANITE BAY, CA 95746
SYSTEM PARKING INC
120 N LASALLE
CHICAGO, IL 60602
SYSTEM SOURCE
[Address to Be Provided]
SYSTEMATION
2095 S PONTIAC WY
DENVER, CO 80224-2411
SYSTEMS SOURCE INC
2100 SE MAIN ST #100
IRVINE, CA 92614

SYSTEMWARE INC
15301 DALLAS PKWY #1100
ADDISON, TX 75001

SYSTEMWARE INCORPORATED
[Address to Be Provided]

T A DAUER REALTY APPRAISAL SVC
PO BOX 5843
TRENTON, NJ 08638-0843

T MICHAEL NEVILLE & ASSOCIATES
2040 N LOOP W #102
HOUSTON, TX 77018-8109
T MOBILE USA INC
PO BOX 660252
DALLAS, TX 75266-0252

T W ESTES & ASSOCIATES INC
DBA FIESTA PARADE FLOATS
PO BOX 5417
PASADENA, CA 91117-0417
TAB MEDIA MANAGEMENT INC
PO BOX 2265
COLUMBIA, SC 29202-2265
TAB PRODUCTS CO LLC
135 S LASALLE DEPT 3736
CHICAGO, IL 60674-3736

TABOR COMMUNITY SVC INC DBA
CCCS OF CENTRAL PENNSYLVANIA
PO BOX 1676
LANCASTER, PA 17608
TACOMA SYMPHONY ORCHESTRA
738 BROADWAY #301
PO BOX 19
TACOMA, WA 98402
                                      Page 791
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TACOMA-PIERCE COUNTY
CHAMBER OF COMMERCE
PO BOX 1933
TACOMA, WA 98401-1933

TAFT STETTINIUS & HOLLISTER
TAFT STETTINIUS & HOLLISTER LLP
425 WALNUT ST #1800
CINCINNATI, OH 45202
TAGCO INC
PO BOX 306
WILLISTON PARK, NY 11596

TAGS TROPHIES INC
3643 PACIFIC AVE SE
OLYMPIA, WA 98501
TAHERIS PARTNERS
RESTAURANT & CATERING
2999-A OAK RD
WALNUT CREEK, CA 94597
TAHOE SIERRA BOARD OF REALTORS
1810 SQUAW VALLEY RD
PO BOX 3744
OLYMPIC VALLEY, CA 96146

TAKE CHARGE AMERICA INC
TAKE CHARGE AMERICA
PO BOX 83330
PHOENIX, AZ 85071-3330

TAKE WING AND SOAR PRODUCTIONS
45 TIEMANN PL # 3G
NEW YORK, NY 10027

TALEO CORP
PO BOX 35660
NEWARK, NJ 07193-5660

TALLYS FLOWERS & GIFTS INC
2000 SECOND LOOP RD
FLORENCE, SC 29501
TALX CORPORATION
DBA THE WORK NUMBER
4076 PAYSPHERE CIR
CHICAGO, IL 60674
TAMMY TERRY TURSTEE #02 53874
TAMMY TERRY TRUSTEE #02 53874
535 GRISWOLD #2100
DETROIT, MI 48226
TAMPA BAY ACADEMY OF HOPE INC
1702 N NEBRASKA AVE
TAMPA, FL 33602
TAMPA BAY BLACK
WATTS SUMMER FESTIVAL
HERITAGE FESTIVAL
                                       Page 792
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PO BOX 16622
TAMPA, FL 33687

TAMPA BAY CARNAVAL DE
BARRANQUILLA INC
107 HIGHWAY TO BAY BLVD
SAFETY HARBOR, FL 34695
TAMPA BAY COMMUNITY DVLPMT CORP
2139 NE COACHMANJ RD
CLEARWATER, FL 33765
TAMPA METROPOLITAN AREA YMCA
110 E OAK AVE
TAMPA, FL 33602

TANDREA D. MATTHEWS
[Address Information Redacted]
TANNER HUMANITIES CENTER
UNIVERSITY 0F UTAH ALUMNI ASSOC
UNIVERSITY OF UTAH
380 S 1400 E
SALT LAKE CITY, UT 84112

TARALLO & TARALLO
PO BOX 85
AUBURN, MA 01501

TARGETCOM LLC
88176 EXPEDITE WAY
CHICAGO, IL 60695-0001

TARRANT COUNTY CHILD SUPPORT
ANGELITA NILSSON
PO BOX 961014
FORT WORTH, TX 76161-0014

TASSAJARA HILLS FOUNDATION
4675 CAMINO TASSAJARA RD
DANVILLE, CA 94506

TASTY CANDIES INC
500 W CUMMINGS PARK #1250
WOBURN, MA 01801
TATA AMERICAN INTERNATIONAL
TATA AMERICA INTERNATIONAL CORP
TCS AMERICA
12977 COLLECTIONS CENTER DR
CHICAGO, IL 60693
TATA INTERACTIVE SYSTEMS
4TH FL LEELA BUSSINESS PARK
ANDHERI KURLA ROAD ANDHERI E
MUMBAI MAHARASHTRA, 40059 INDIA

TATE & KIRLIN ASSOCIATES INC
2810 SOUTHAMPTON RD
PHILADELPHIA, PA 19154

TATYANA M THOMPSON & ASSOCIATES
1453B 14TH ST
                                       Page 793
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SANTA MONICA, CA 90404
TAUB & TAUB PC
399 PERRY ST #300
CASTLE ROCK, CO 80104

TAX ALLIANCE CONFERENCE
1221 W CAMPBELL RD #135
RICHARDSON, TX 75080-2900

TAX ANALYSTS
400 S MAPLE AVE #400
FALLS CHURCH, VA 22046
TAX COLLECTOR PALM BEACH COUNTY
PO BOX 3353
WEST PALM BEACH, FL 33402
TAX EXECUTIVES INSTITUTE INC
PO BOX 9407
UNIONDALE, NY 11555-9407

TAXATION AND REVENUE DEPT
PO BOX 123
MONROE, LA 71210-0128

TAYLOR CORP
TAYLOR CORPORATION
DBA BROOKHOLLOW
1 STATIONERY PL
REXBURG, ID 83441
TAYLOR FAMILY FOUNDATION
5555 ARROYO ROAD
LIVERMORE, CA 94550

TAYLOR GLOBAL INC
350 FIFTH AVE #3800
NEW YORK, NY 10118
TAYLOR TAYLOR AND TAYLOR INC
6924 LAKESIDE AVE
RICHMOND, VA 23228

TBA GLOBAL EVENTS LLC
ATTN ANNE NEWELL
1000 TOWN CENTER #570
SOUTHFIELD, MI 48075

TBJ FINANCIAL CORPORATION
160 BOVET RD STE 308
SAN MATEO, CA 94402
TBS COURIERS
PO BOX 23400
OAKLAND, CA 94623-0400

TBWA WORLDWIDE INC
DBA TBWA CHIAT DAY
5353 GROSVENOR BLVD
LOS ANGELES, CA 90066
TC SPECIALTIES CO
                                       Page 794
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5911 PHILIPS HWY
JACKSONVILLE, FL 32216-5916

TCIM SERVICES INC
1013 CENTRE RD #400
WILMINGTON, DE 19805
TCM A TIME INC COMPANY
PROFESSIONAL SUBSCRIPTION SVC
PO BOX 60310
TAMPA, FL 33660-0310
TCSC DBA TUKWILA COMMUNITY
SCHOOLS COLLABORATION
4640 S 144TH ST
TUKWILA, WA 98168

TCSDU
PO BOX 659791
SAN ANTONIO, TX 78265-9791
TEACAKE BAKE SHOP
5615 BAY ST
EMERYVILLE, CA 94608

TEACH FOR AMERICA
TEACH FOR AMERICA INC
4520 N CENTRAL AVE #560
PHOENIX, AZ 85012

TEACH FOR AMERICA INC
10 PEACHTREE PLACE 7TH FLR
ATLANTA, GA 30309

TEACH FOR AMERICA INC
1391 SPEER BLVD #220
DENVER, CO 80204

TEACH FOR AMERICA INC
1541 SUNSET DR #201
MIAMI, FL 33143

TEACH FOR AMERICA INC
315 W 9TH ST #950
LOS ANGELES, CA 90015
TEACH FOR AMERICA INC
4669 SW FREEWAY #600
HOUSTON, TX 77027
TEACH FOR AMERICA LAS VEGAS
TEACH FOR AMERICA INC
1785 E SAHARA AVE #460
LAS VEGAS, NV 89104
TEACHERS & WRITERS
COLLABORATIVE
520 EIGHTH AVE #2020
NEW YORK, NY 10018
TEALEAF TECHNOLOGY INC
45 FREMONT ST #1450
SAN FRANCISCO, CA 94105
                                     Page 795
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TEAM AGAINST DRUGS INC DBA
SAY NO TO DRUGS RACE
10153 1/2 RIVERSIDE DR #353
TOLUCA LAKE, CA 91602

TEAM AIR EXPRESS INC
PO BOX 972603
DALLAS, TX 75397-2603

TEAM ELECTRIC INC
PO BOX 81
HARBOR CITY, CA 90710
TEAM FOOT WORKS
EDUCATIONAL & FITNESS CORP
5724 SUNSET DR
MIAMI, FL 33143-5316
TEAM LANCASTER SCHOOL DISTRICT
PARK VIEW MIDDLE SCHOOL
808 W AVE J
LANCASTER, CA 93534
TEAM OF LIFE INC
2136 NW 8TH ST
FORT LAUDERDALE, FL 33311

TEAM SANTA INC
3807 WILSHIRE BLVD #610
LOS ANGELES, CA 90010
TEBO FOODS INC
DBA THE HONEYBAKED HAM COMPANY
3529 US HWY 138
STOCKBRIDGE, GA 30281
TECH PLAN
717 TAYLOR DR
PLANO, TX 75074-6778

TECH RP INC
810 CRESCENT CENTRE #200
FRANKLIN, TN 37067
TECHENTERPRISES
PO BOX 422
KENVIL, NJ 07847

TECHLIT
PO BOX 2085
SEATTLE, WA 98111-2085
TECHNETITLE AGENCY INC
400 TECHNECENTER DR #400
MILFORD, OH 45150

TECHNICAL ADVISORY SERVICE INC
TASA
1166 DEKALB PIKE
BLUE BELL, PA 19422-1853
TECHNOLOGY LEARNING GROUP INC
                                      Page 796
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DBA NEW HORIZONS CLC
12822 SE 32ND ST #200
BELLEVUE, WA 98005-4318
TECHNOLOGY UNLIMITED DEFAULT
1179 ANDOVER PARK W
SEATTLE, WA 98188
TED BILL
2001 E 4TH ST #100
SANTA ANA, CA 92705
TEEL MCCORMACK & MARONEY PLC
87 MURRAY GUARD DR
JACKSON, TN 38305

TEG LVI ENVIRONMENTAL SVCS INC
LVI SERVICES INC
13320 CAMBRIDGE ST
SANTA FE SPRINGS, CA 90670
TEKSYSTEMS INC
PO BOX 198568
ATLANTA, GA 30384-8568

TEKTRON ELECTRICAL SYSTEMS INC
OV FEDEX #155453958
3874 FISCAL CT #100
W PALM BEACH, FL 33404

TEKTRON ELECTRICAL SYSTEMS LLC
5401 N HAVERHILL RD #117
WEST PALM BEACH, FL 33407

TELACU COMMUNITY CAPITAL
1250 GOODRICH BLVD
LOS ANGELES, CA 90022

TELECOM USA
MCI WORLDCOM COMMUNICATIONS INC
23235 NETWORK PL
CHICAGO, IL 60673-1232
TELECOM USA
MCI WORLDCOM COMMUNICATIONS INC
PO BOX 600674
JACKSONVILLE, FL 32260-0674

TELEDEVELOPMENT SERVICES INC
4816 BRECKSVILLE RD #2
RICHFIELD, OH 44286
TELEGENIX INC
PO BOX 828529
PHILADELPHIA, PA 19182-8529
TELEPERFORMANCE USA
P.O. BOX 27926
SALT LAKE CITY, UT 84127-0926
TELEPRESS INC
19241 62ND AVE S
KENT, WA 98032
                                       Page 797
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TELEPRESS INC
19241 62ND AVE S
KENT, WA 98032
TELSOURCE CORP
1139 MOMENTUM PL
CHICAGO, IL 60689-5311

TEMPE SISTER CITIES
PO BOX 14707
SCOTTSDALE, AZ 85267-4707
TEMPLE BAPTIST CHURCH
OF SARASOTA INC
DBA WEST FLORIDA CHRISTIAN SCHL
4311 WILKINSON RD
SARASOTA, FL 34233
TENDERLOIN NEIGHBORHOOD
DEVELOPMENT CORPORATION
201 EDDY ST
SAN FRANCISCO, CA 94102
TENNESSEE DEPARTMENT OF REVENUE
ANDREW JACKSON STATE OFFICE BLD
500 DEADERICK ST
NASHVILLE, TN 37242

TENNESSEE REGULATORY AUTHORITY
ATTN DO NOT CALL REGISTER
PO BOX 198907
NASHVILLE, TN 37219-8907

TERADATA CORP
14753 COLLECTIONS CENTER DR
CHICAGO, IL 60693

TERESA M TORGRIMSON
ELEGANT CREATIONS
1278 HAYDEN BRIDGE RD
SPRINGFIELD, OR 97477
TERRACON INC
PO BOX 931277
KANSAS CITY, MO 64193-1277

TERRENCE M CONNOLLY
CONNOLLY COMMERCIAL
26845 JEFFERSON AVE #A
MURRIETA, CA 92562
TERRENCE PETERS
HARRY WIDMANN
TWO LAKEWAY CNTR #590
3850 N CAUSEWAY BLVD
METAIRLE, LA 70002

TERRI ANN LEEK
DBA AIRY GREETINGS
6619 132ND AVE NE
PMB #200
KIRKLAND, WA 98033
                                       Page 798
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TERRI PARKER
PARKER GRAPHICS
3 HENRY ST
IRVINE, CA 92620

TERRI RUNNING TRUSTEE #08 41020
PO BOX 7035
ST PAUL, MN 55107

TERRI S DECKER
942 PRINCETON ST
SANTA MONICA, CA 90403
TEW REALTY ADVISORS INC
3535 LAWTON RD #115
ORLANDO, FL 32803
TEXAS AFFILIATION OF
AFFORDABLE HOUSING PROVIDERS
814 SAN JACINTO #408
AUSTIN, TX 78701

TEXAS ALLIANCE OF BLACK SCHOOL
EDUCATORS
PO BOX 181
LAMARQUE, TX 77568

TEXAS ARBITRATION MEDIATION
SERVICES
221 N KANSAS #609
EL PASO, TX 79901

TEXAS ASSN OF COMMUNITY
DEVELOPMENT CORPORATIONS
1524 S IH35 #310
AUSTIN, TX 78704

TEXAS ASSOCIATION OF SCH BOARDS
12007 RESEARCH BLVD
AUSTIN, TX 78759

TEXAS BANKERS ASSOCIATION
PO BOX 583
AUSTIN, TX 78767-0583
TEXAS BLACK EXPO INC
9301 SOUTHWEST FWY #250
HOUSTON, TX 77074
TEXAS CHILD SUPT DISB UNIT
PO BOX 659791
SAN ANTONIO, TX 78265-9791

TEXAS COMPTROLLER OF
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
PUBLIC ACCOUNTS
2655 VILLA CREEK DR #270
DALLAS, TX 75234-7316
TEXAS CONTRACT CONSTRUCTION INC
6005 KANSAS
HOUSTON, TX 77007-1009
                                       Page 799
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TEXAS DEMOLAY ASSOCIATION
10212 WINDSOR LANE
HOUSTON, TX 77031-2832
TEXAS DEPARTMENT OF INSURANCE
PO BOX 12875
MC 107-1A
AUSTIN, TX 78711-2875

TEXAS DEPARTMENT OF INSURANCE
200 E 10TH ST MC 107-1A
AUSTIN, TX 78701
TEXAS DEPATMENT OF INSURANCE
PO BOX 12069
AUSTIN, TX 78711-2069
TEXAS GUARANTEED STUDENT
LOAN CORPORATION
PO BOX 659601
SAN ANTONIO, TX 78265-9601

TEXAS LAND TITLE ASSOCIATION
PO BOX 149032
AUSTIN, TX 78714-9032
TEXAS LEAD CENTER
406 E 11TH ST
AUSTIN, TX 78701-2617

TEXAS REAL ESTATE COMMISSION
PO BOX 12188
AUSTIN, TX 78711-2188

TEXAS RIO GRANDE LEGAL AID INC
300 SOUTH TEXAS BLVD
WESLACO, TX 78596

TEXAS SOUTHERN UNIVERSITY
3100 CLEBURNE AVE
HOUSTON, TX 77004
TEXAS STATE COMPTROLLER
UNCLAIMED PROPERTY HOLDER
REPORTING SECTION
PO BOX 12019
AUSTIN, TX 78711-2019

TEXAS STATE COMPTROLLER
PO BOX 12030
AUSTIN, TX 78711-2030
TEXAS STATE SECURITIES BOARD
208 E 10TH ST 5TH FL
AUSTIN, TX 78701

TEXAS WOMENS EMPOWERMENT
FOUNDATION
9516 N FREEWAY
HOUSTON, TX 77037
TG
                                      Page 800
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PO BOX 659601
SAN ANTONIO, TX 78265-9601

THACHER PROFFITT & WOOD
FINANCE DEPT
2 WORLD FINANCIAL CENTER
NEW YORK, NY 10281
THE 200 CLUB OF MORRIS COUNTY
PO BOX 4147
TOMS RIVER, NJ 08756
THE 5TH AVE THEATRE ASSN
1308 5TH AVE
SEATTLE, WA 98101

THE 92ND YOUNG MENS & WOMENS
HEBREW ASSOCIATION
1395 LEXINGTON AVE
NEW YORK, NY 10128
THE ABERNATHY MACGREGOR GRP
PO BOX 30483
NEW YORK, NY 10087-0483

THE ACCELERATED SCHOOL
116 E MARTIN LUTHER KING JR BVD
LOS ANGELES, CA 90011

THE ALLANT GROUP INC
DEPT 20-1082
PO BOX 5940
CAROL STREAM, IL 60197-5940

THE APOLLO THEATER FOUNDATION
253 W 125TH ST
NEW YORK, NY 10027

THE APPRAISAL FOUNDATION
1155 15TH ST NW #1111
WASHINGTON, DC 20005

THE APPRAISAL RESOURCE GRP INC
225 E MASON ST #402
MILWAUKEE, WI 53202
THE ARC OF HUNTERDON FOUNDATION
1322 ROUTE 31 #5
ANNADALE, NJ 08801
THE ARC OF ORLEANS COUNTY
122 CAROLINE ST
ALBION, NY 14411

THE ARCATA POLICE DEPARTMENT
736 F ST
ARCATA, CA 95521

THE ASSOC OF PROFESSIONALS IN
BUSINESS MANAGEMENT
980 N MICHIGAN AVE #1400
CHICAGO, IL 60611-4501

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THE ASSOCIATED COLLEGES OF IL
20 N WACKER DR #1456
CHICAGO, IL 60606
THE AUSTIN MCGUIRE COMPANY
64 WALL STREET #401
NORWALK, CT 06850
THE BALLOONERY INC
1346 E HARDING WAY
STOCKTON, CA 95205-3614
THE BANK OF NEW YORK
FEES & REMITTANCES
PO BOX 11293
NEW YORK, NY 10277-0411

THE BANK OF NEW YORK
FINANCIAL CONTROL BILLING DEPT
PO BOX 19445
NEWARK, NJ 07195-0445

THE BANK OF NEW YORK
FINANCIAL CONTROL BILLING DEPT
PO BOX 19445
NEWARK, NJ 07195-0445
THE BANK OF NEW YORK
INSURANCE TRUST & ESCROW
101 BARCLAY ST - 12W
NEW YORK, NY 10286
THE BANK OF NEW YORK
TRADE &LOAN OPERATIONS DIVS
STANDBY LETTER OF CREDIT DEPT
6023 AIRPORT RD
ORISKANY, NY 13424

THE BANK OF NEW YORK TRUST CO
THE BANK OF NEW YORK
700 S FLOWER ST
LOS ANGELES, CA 90017
THE BASEBALL CLUB OF SEATTLE LP
DBA SEATTLE MARINERS
PO BOX 94256
SEATTLE, WA 98124-6556

THE BASEBALL CLUB OF SEATTLE LP
SEATTLE MARINERS
ATTN GROUP SALES
PO BOX 4100
SEATTLE, WA 98194

THE BASEBALL CLUB OF SEATTLE LP
SEATTLE MARINERS
SAFECO FIELD 1250 1ST AVE S
SEATTLE, WA 98134
THE BELL FOUNDATION INC
ONE FORDHAM PLAZA #903
BRONX, NY 10458

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THE BETTES COMPANY
1163 PACIFIC AVE
GLENDALE, CA 91202
THE BILLY RAVEN FOUNDATION
166 NW 100ST
MIAMI SHORES, FL 33150
THE BOND MARKET ASSOCIATION DBA
THE BOND MARKET ASSN
AMERICAN SECURITIZATION FORUM
360 MADISON AVE
NEW YORK, NY 10017
THE BOYS AND GIRLS CLUB OF
SAN MARCOS
1 POSITIVE PL
SAN MARCOS, CA 92069-2875
THE BREAKFAST GROUP INC
PO BOX 22056
SEATTLE, WA 98122-0056

THE BRIDGE FUND OF NEW YORK INC
BRIDGE FUND OF NEW YORK INC
271 MADISON AVE #907
NEW YORK, NY 10016

THE BUDDY GROUP INC
7 STUDEBAKER
IRVINE, CA 92618
THE BUSINESS JOURNAL
PO BOX 36609
CHARLOTTE, NC 28236-6609

THE CAMPAIGN FOR CARDIANL
SPELLMAN HIGH SCHOOL FOUNDATION
1 CARDINAL SPELLMAN PL
BRONX, NY 10466

THE CAMPUS CLIPPER
137 5TH AVE 9TH FL
NEW YORK, NY 10010
THE CARLISLE GROUP
544 JEFFERSON AVE
SCRANTON, PA 18510

THE CARNEGIE HILL CORP
CARNEGIE FIRST
16427 N SCOTTSDALE BLVD #440
SCOTTSDALE, AZ 85251

THE CENTER FOR STRENGTHENING
TEXAS ASSOCIATION OF SCH BOARDS
THE TEACHING PROFESSION
PO BOX 7052
TACOMA, WA 98417
THE CENTRAL NATIONAL BANK
OF ALVA
PO BOX 68
                                       Page 803
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WOODWARD, OK 73802
THE CHAMBER OF COMMERCE OF
OLD BRIDGE SAYREVILLE S AMBOY
PO BOX 5241
OLD BRIDGE, NJ 08857
THE CHICAGO PUBLIC
EDUCATION FUND
200 W ADAMS #2011
CHICAGO, IL 60606
THE CHILDRENS CLINIC
C/O NORMA CLAPP TREASURER
3921 SIRIUS DR
HUNTINGTON BEACH, CA 92649

THE CHURCH BULLETIN INC
PO BOX 1659
N MASSAPEQUA, NY 11758-1659
THE CITIZENS NATIONAL BANK
ATTN JEAN LUCAN
101 MAIN AVE
AKRON, CO 80720

THE CITY OF NEWARK
DIVISION OF LICENSE AND PERMITS
NEWARK CITY HALL
920 BROAD ST #B17
NEWARK, NJ 07102
THE CITY OF SAN DIEGO
707 BROADWAY #700
SAN DIEGO, CA 92101

THE CITY OF SANFORD HOUSING
AUTHORITY
94 CASTLE BREWER COURT
PO BOX 2359
LARGO, FL 33771

THE CLEAN TEAM COMPANY
KICTeam Inc
3655 PACIFIC HWY #A
SAN DIEGO, CA 92101

THE CLEARING HOUSE PAYMENTS
THE CLEARING HOUSE SRVCE CO LLC
COMPANY LLC
SVPCO
115 BUSINESS PARK DR
WINSTON-SALEM, NC 27107

THE CLEARING HOUSE SRVCE CO LLC
ATTN ACCOUNTS RECEIVABLE
100 BROAD ST
NEW YORK, NY 10004
THE COBBLESTONE GROUP LLC
LADD FINANCIAL
5 SYLVAN ROAD S
WESTPORT, CT 06880
                                       Page 804
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THE COMMUNITY CENTER PROJECT
OF SAN FRANCISCO INC
1800 MARKET ST
SAN FRANCISCO, CA 94102

THE COMMUNITY FOUNDATION
FOR GREATER ATLANTA INC
THE HURT BUILDING
50 HURT PLAZA #449
ATLANTA, GA 30303
THE CONFERENCE BOARD INC
CONFERENCE BOARD INC
PO BOX 4026
CHURCH STREET STATION
NEW YORK, NY 10261-4026
THE CONSORTIUM OF FLORIDA
EDUCATION FOUNDATIONS INC
1206 W HORATIO ST
TAMPA, FL 33606

THE CONSTRUCTION GANG
PO BOX 2566
VANCOUVER, WA 98668
THE CONSTRUCTION GANG
PO BOX 2566
VANCOUVER, WA 98668

THE CORPORATE EXECUTIVE BOARD
3393 COLLECTIONS CENTER DR
CHICAGO, IL 60693

THE CREDIT COUNSELING
FOUNDATION INC
3350 NW 53 ST #103
FORT LAUDERDALE, FL 33309
THE CRONER COMPANY
1028 SIR FRANCIS DRAKE BLVD
KENTFIELD, CA 94904

THE CSI COMPANIES INC
DBA CUSTOM STAFFING INC
PO BOX 277486
ATLANTA, GA 30384-7486

THE CULHANE COMPANY LLC
250 STUYVESANT DR
SAN ANSELMO, CA 94960
THE DAILY JOURNAL CORP
CALIFORNIA LAWYER MCLE
PO BOX 54026
LOS ANGELES, CA 90054-0026

THE DALLAS MORNING NEWS
PO BOX 630054
DALLAS, TX 75263-0054
THE DENTISTS INSURANCE COMPANY
                                      Page 805
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DANIEL WATKINS
711 W 17TH ST #A 12
COSTA MESA, CA 92627
THE DESERT SUN PUBLISHING CO
DBA THE DESERT SUN
PO BOX 2080
PHOENIX, AZ 85001

THE DEVELOPMENT CENTER
16 LAKE VIEW DR
TRABUCO CANYON, CA 92679
THE DOWNEY PATRIOT
JENNIFER DEKAY GIVENS
11525 DOWNEY AVE #A
DOWNEY, CA 90241
THE DOWNTOWN COLLEGE PARK PRTSP
PO BOX 547744
ORLANDO, FL 32854-7744

THE DOWNTOWN WATERFRONT
BUSINESS IMPROVEMENT DISTRICT
4 HUDSON ST
YONKERS, NY 10701
THE DOWNTOWN WOMENS CENTER
325 S LOS ANGELES ST
LOS ANGELES, CA 90013

THE DREYFUSS FIRM PLC
STATE BAR OF CALIFORNIA
7700 IRVINE CENTER DR #710
IRVINE, CA 92680

THE EASTMAN COMPANY
925 N 130TH ST
SEATTLE, WA 98133
THE EDGE CONNECTION INC
COLES COLLEGE OF BUSINESS
1000 CHASTAIN RD #3305
KENNESAW, GA 30144
THE EDUCATION FUND INC
900 NE 125TH ST #110
N MIAMI, FL 33161

THE EFFECTIVENESS INSTITUTE INC
2249 152ND AVE NE
REDMOND, WA 98052
THE ELLENSBURG
CHAMBER OF COMMERCE
609 N MAIN ST
ELLENSBURG, WA 98926

THE ERNEST EUGENE DAVIS TRUST
1808 W MOUNTAIN ST
GLENDALE, CA 91201
THE EVEREST EQUITY COMPANY IN
                                       Page 806
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2 EXECUTIVE BLVD STE 408
SUFFERN, NY 10901

THE EVERGREEN GROUP LLC
1500 A E COLLEGE WAY
PMB 443
MOUNT VERNON, WA 98273
THE EXAMINER MEDIA LLC
PO BOX 611
MOUNT KISCO, NY 10549
THE EXPO GROUP
5931 W CAMPUS CIRCLE DR
IRVING, TX 75063

THE FABIOLUS CAFE
6270 SUNSET BLVD
HOLLYWOOD, CA 90028

THE FAIRMONT SAN FRANCISCO
950 MASON
SAN FRANCISCO, CA 94108
THE FAMILY CENTER
315 W 36TH ST 4TH FL
NEW YORK CITY, NY 10018

THE FAMILY CNTR OF COLUMBUS INC
CCCS OF WEST GA EAST ATLANTA
PO BOX 1825
COLUMBUS, GA 31902

THE FERRARO GROUP
165 WEST LIBERTY ST #110
RENO, NV 89501
THE FIELD LAW FIRM
9442 CAPITAL OF TEXAS HWY N
ARBORETUM PLAZA 1 #500
AUSTIN, TX 78759

THE FIELD MUSEUM
OF NATURAL HISTORY
1400 S LAKE SHORE DR
CHICAGO, IL 60605

THE FILLMORE GROUP
1062 WILLOW ST
SAN JOSE, CA 95125
THE FINANCIAL LIBRARY
PO BOX 2341
BOCA RATON, FL 33427
THE FINANCIAL SVCS ROUNDTABLE
FINANCIAL SERVICE CORPORATION
DEPT# 0504
WASHINGTON, DC 20073-0504
THE FINANCIAL WOMENS ASSOC OF
SAN FRANCISCO SCHOLARSHIP FUND
PO BOX 26143
                                       Page 807
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SAN FRANCISCO, CA 94126
THE FINISHING SHOPPE LLC
FS DISPLAYS
6320 NE 165TH COURT
KENMORE, WA 98028-3971
THE FIRST NATIONAL BANK
PO BOX 147
WAVERLY, OH 45690
THE FLORIDA BAR
FLORIDA BAR
PO BOX 30381
TAMPA, FL 33630-3381

THE FORGE INN
ROUTE 9 NORTH
WOODBRIDGE, NJ 07095

THE FORSYTH DENTAL INFIRMARY
FOR CHILDREN
140 THE FENWAY
BOSTON, MA 02115

THE FOUNDATION FOR
EARLY LEARNING
444 NE RAVENNA BLVD #402
SEATTLE, WA 98115

THE FOUNDATION FOR
SEMINOLE COUNTY PUBLIC SCHOOLS
400 E LAKE MARY BLVD
SANFORD, FL 32773-7127

THE FOUNDATION FOR ORANGE CNTY
PUBLIC SCHOOLS
445 W AMELIA ST #901
ORLANDO, FL 32801
THE FOUNDATION FOR THE CENTER
FOR HISPANIC POLICY RESEARCH
AND DEVELOPMENT
PO BOX 1019
TRENTON, NJ 08606-1019
THE FRIENDS OF THE CHILDRENS
LIBRARY
HUNTINGTON BEACH LIBRARY
7111 TALBERT AVE
HUNTINGTON BEACH, CA 92648
THE FUNDS FOR PUBLIC SCHOOLS
52 CHAMBERS ST RM305
NEW YORK, NY 10007
THE FURGUSON FIRM PLLC
DBA THE FERGUSON FIRM PLLC
2003 WESTERN AVE #203
SEATTLE, WA 98121

THE FUSION GROUP LTD
1910 N COMMERCE PKWY
                                      Page 808
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WESTON, FL 33326
THE GARRIGAN LYMAN GROUP
1524 5TH AVE 4TH FLOOR
SEATTLE, WA 98101

THE GARTMAN LETTER LC
PO BOX 6147
SUFFOLK, VA 23433

THE GEORGIA SOCIETY OF CPAS
3353 PEACHTREE RD NE #400
ATLANTA, GA 30326-1414
THE GIBSON LAW FIRM PLLC AND
DIXIE MICKELL
DIXIE MICKELL
447 NORTHPARK DR
RIDGELAND, MS 39157

THE GILDEANE GROUP INC
CULTURAL DIVERSITY AT WORK
13751 LAKE CITY WAY NE #210
SEATTLE, WA 98125

THE GLBT BAR ASSOCIATION
OF WASHINGTON
PO BOX 1991
SEATTLE, WA 98111

THE GLOBE NEWSPAPER GROUP LLC
1776 FAIRWAY DR
SAN LEANDRO, CA 94577

THE GRACE FOUNDATION OF NY
264 WATCHOGUE RD
STATEN ISLAND, NY 10314

THE GREATER ALLEN AME CATHEDRAL
OF NEW YORK
110-31 MERRICK BLVD
JAMAICA, NY 11433
THE GREATER BRANDON CHAMBER
OF COMMERCE
330 PAULS DR #100
BRANDON, FL 33511-4801

THE GREATER LA AFRICAN AMERICAN
CHAMBER OF COMMERCE
5100 W GOLDLEAF CIRCLE #203
LOS ANGELES, CA 90056
THE GREATER LA AFRICAN AMERICAN
CHAMBER OF COMMERCE EDCTN FUND
LOS ANGELES, CA 90056

THE GREATER MONTGOMERY AREA
CHAMBER OF COMMERCE
1551 AUCUTT RD
MONTGOMERY, IL 60538
THE GREATER PLANT CITY CHAMBER
                                       Page 809
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OF COMMERCE
106 N EVERS ST
PLANT CITY, FL 33563
THE GREATER SAN ANTONIO
GREATER SAN ANTONIO CHAMBER
CHAMBER OF COMMERCE
602 E COMMERCE ST
SAN ANTONIO, TX 78205

THE GREATER SAYVILLE
CHAMBER OF COMMERCE
PO BOX 235
SAYVILLE, NY 11782

THE GREENLINING INSTITUTE
1918 UNIVERSITY
BERKELEY, CA 94704
THE GULOTTA GROUP PLLC
271 MADISON AVE #700
NEW YORK, NY 10016

THE HAMEROFF LAW FIRM PC
3443 E FT LOWELL RD
TUCSON, AZ 85716
THE HAMMEL VALUATION GROUP
701 ORANGE GROVE AVE #105
S PASADENA, CA 91030

THE HARLEM SCHOOL OF THE ARTS
645 ST NICHOLAS AVE
NEW YORK, NY 10030

THE HARTFORD
PO BOX 2917
HARTFORD, CT 06104-2917

THE HEARST CORPORATION
O THE OPRAH MAGAZINE
PO BOX 7831
RED OAK, IA 51591-0831

THE HEATHMAN LODGE
7801 NE GREENWOOD DR
VANCOUVER, WA 98662

THE HEITMAN GROUP INC
2233 WILLAMETTE ST BLDG C
EUGENE, OR 97405
THE HERALD
PO BOX 34665
SEATTLE, WA 98124-1665
THE HIVE GROUP INC
2201 N CENTRAL EXPRESSWAY #180
RICHARDSON, TX 75080
THE HOME MORTGAGE SPECIALIST
1820 N CORP LAKES BLVD #111
WESTON, FL 33326
                                      Page 810
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THE HONEYBAKED HAM CO
PO BOX 7040
TROY, MI 48007-7040
THE HONOLULU ADVERTISER
GANNETT PACIFIC CORP
PO BOX 3350
HONOLULU, HI 96801

THE HONTE GROUP
910 E HAMILTON AVE #250
CAMPBELL, CA 95008
THE HOPE HEART INSTITUTE
1380 112TH AVE NE #200
BELLEVUE, WA 98004
THE HOPP LAW FIRM LLC
PO BOX 8539
DENVER, CO 80201

THE HORD FOUNDATION INC
PO BOX 4671
DANBURY, CT 06813

THE HOUSING ENDOWMENT AND
REGIONAL TRUST SAN MATEO CO
139 MITCHELL AVE #108
SOUTH SAN FRANCISCO, CA 94080

THE IDAHO BUSINESS LEAGUE
PO BOX 536
BOISE, ID 83701-0536

THE IRVINE COMPANY
HYATT REGENCY IRVINE
FILE #53416
LOS ANGELES, CA 90074-3416
THE IRVINE COMPANY LLC
DEPARTMENT #0333
LOS ANGELES, CA 90084-0333

THE JC GROUP INC
DBA SENIOR SCENE MAGAZINE
PO BOX 410481
MELBOURNE, FL 32941

THE JERENDA COMPANY LLC DBA
POSTAL ANNEX+216
816 W FRANCIS AVE
SPOKANE, WA 99205

THE JK GROUP INC
104 MORGAN LN
PLAINSBORO, NJ 08536

THE JK GROUP INC
THE JK GROUP INC DBA
PO BOX 7174
PRINCETON, NJ 08543-7174

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THE JK GROUP INC DBA
WASHINGTON MUTUAL FOUNDATION
CAN CASH PROGRAM
PO BOX 7174
PRINCETON, NJ 08543-7174

THE JK GROUP INC DBA
WASHINGTON MUTUAL FOUNDATION
MATCHING GIFTS PROGRAM
PO BOX 7174
PRINCETON, NJ 08543-7174
THE JOHN ROBERTS COMPANY
9687 EAST RIVER RD
MINNEAPOLIS, MN 55433

THE JUNIOR LEAGUE OF PALM
SPRINGS DESERT COMMUNITIES
PO BOX 2196
PALM DESERT, CA 92261
THE KEN BLANCHARD COMPANIES INC
125 STATE PL
ESCONDIDO, CA 92029

THE KOREA TIMES LOS ANGELES INC
4525 WILSHIRE BLVD #150
LOS ANGELES, CA 90010-3837

THE LAGRANT FOUNDATION
626 W WILSHIRE BLVD #700
LOS ANGELES, CA 90017-2920

THE LAGUNA LENDING GROUP INC
303 BROADWAY #106
LAGUNA BEACH, CA 92651
THE LEAGUE CITY LIONS CLUB
PO BOX 982
LEAGUE CITY, TX 77574-0982

THE LEARNING TREE MULTI
CULTURAL SCHOOL
103 02 NORTHERN BLVD
CORONA, NY 11368
THE LENDERS GROUP
2815 CAMINO DEL RIO S STE 230
SAN DIEGO, CA 92108
THE LITTLE SAIGON NEWS
13861 SEABOARD CIRCLE
GARDEN GROVE, CA 92843

THE LOAN CORPORATION
5950 CANOGA AVE #300
WOODLAND HILLS, CA 91367

THE LOAN MACHINE
1567 SIBLEY BLVD
CALUMET, IL 60409
THE LOANLEADERS OF AMERICA INC
                                       Page 812
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2081 BUSINESS CENTER DR #150
IRVINE, CA 92612

THE LOCATOR SERVICES GROUP LTD
316 NEWBURY ST #32
BOSTON, MA 02115
THE LORAX GROUP INC
29 CALLE DAN LUIS REY
RANCHO SANTA MARGARITA, CA 92688
THE MAR VISTA INSTITUTE
5075 SLAUSON AVE
CULVER CITY, CA 90230

THE MARIANNE FROSTIG CENTER
OF EDUCATIONAL THERAPY
971 N ALTADENA DR
PASADENA, CA 91107

THE MARKET FOUNDATION
PIKE PLACE MARKET
85 PIKE ST RM 500
SEATTLE, WA 98101

THE MATTHEWS COMPANY INC
17220 NEWHOPE ST #108 110
FOUNTAIN VALLEY, CA 92708

THE MAYFLOWER GROUP
ATTN DAVID FUTRELL
C/O ELI LILLY & COMPANY
DROP CODE 1032
INDIANAPOLIS, IN 46285

THE MAYORS FUND TO ADVANCE
NEW YORK CITY
1 CENTRE ST 23RD FL RM 2358
NEW YORK, NY 10007
THE MECHANICS BANK
725 ALFRED NOBEL DR
HERCULES, CA 94547

THE MEDSTAT GROUP, INC.
[Address to Be Provided]

THE MERLAND GROUP
PO BOX 374
WINDERMERE, FL 34786-0374
THE METROPOLITAN MORTGAGE
OFFICERS SOCIETY
SUSAN BARILE NE COMMUNITY BANK
325 HAMILTON AVE
WHITE PLAINS, NY 10601

THE MIAMI HERALD MEDIA COMPANY
CUSTOMER SERVICE CTR
PO BOX 019140
MIAMI, FL 33101-9140
THE MIAMI HERALD MEDIA COMPANY
                                        Page 813
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1 HERALD PLAZA
MIAMI, FL 33132

THE MICHAEL LAW FIRM
1648 UNION ST #201
SAN FRANCISCON, CA 94123
THE MILI GROUP INC
THE MILI GROUP INC.
2272 QUIMBY RDND IN
SAN JOSE, CA 95122
THE MILLARD GROUP
94346 EAGLE WAY
CHICAGO, IL 60678-9430

THE MJ SIMPSON CORPORATION
400 E ATLANTIC BLVD
POMPANO BEACH, FL 33060

THE MONEY TREE FINANCIAL CORP
21 ROBBINS STATION RD
NORTH HUNTINGDON, PA 15642
THE MORTGAGE CENTER OF AMERICA
FINANCIAL GROUP INC
5767 151 ST
MIAMI LAKES, FL 33014

THE MORTGAGE COMPANY
400 SEPULVEDA BLVD #175
MANHATTAN BEACH, CA 90266

THE MORTGAGE ZONE INC
360 VANDERBILT MOTOR PKWY
HAUPPAUGE, NY 11788
THE MOSINEE TELEPHONE COMPANY
410 4TH ST
MOSINEE, WI 54455

THE NASDAQ STOCK MARKET INC
PO BOX 7777-W8130
PHILADELPHIA, PA 19175-8130
THE NATIONAL ASSOCIATION OF
REAL ESTATE BROKERS INC
PO BOX 2417
PLAINFIELD, NJ 07076
THE NATIONAL FOUNDATION FOR
TEACHING ENTERPRENEURSHIP
FAIRCHESTER REGION
70 WEST RED OAK LANE
WHITE PLAINS, NY 10604
THE NEW BRONX CHAMBER OF CMRCE
1200 WATERS PL #305
BRONX, NY 10461
THE NEW CHIEF CORNERSTONE
MINISTRIES
820 S PARK AVE
                                      Page 814
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WINTER GARDEN, FL 34787
THE NEW YORK TIMES
SANTA BARBARA NEWS-PRESS
PO BOX 371456
PITTSBURGH, PA 15250-7456
THE NEWSONG GROUP LTD
1739 S DOUGLASS RD #L
ANAHEIM, CA 92806-6035
THE NILSON REPORT
1110 EUGENIA PL #100
CARPINTERIA, CA 93013

THE NNA FUND
DBA NATIONAL NEIGHBORWORKS ASSN
815 CONENCTICUT AVE NW #200
WASHINGTON, DC 20006

THE NUGGET NEWSPAPER INC
442 E MAIN
PO BOX 698
SISTERS, OR 97759

THE OFFICE PLANNING GROUP INC
11330 SUNRISE PARK DR #B
RANCHO CORDOVA, CA 95742

THE OLYMPIC COLLECTION
11301 OLYMPIC BLVD #204
LOS ANGELES, CA 90064

THE ORANGE COUNTY REGISTER
FREEDOM NEWSPAPERS INC
FILE 56017
LOS ANGELES, CA 90074-6017

THE OREGON NATIVE
AMERICAN BUSINESS AND
ENTREPRENEURIAL NETWORK
11825 SW GREENBURG RD #B3
TIGARD, OR 97223

THE OREGONIAN
OREGONIAN PUBLISHING CO LLC
LAKE GROVE DIST
PO BOX 2510
PORTLAND, OR 97208-2510
THE OREGONIAN
OREGONIAN PUBLISHING CO LLC
SUNNYSIDE DIST
12042 SE SUNNYSIDE RD PMB 484
CLACKAMAS, OR 97015-8382
THE ORIGINAL HONEYBAKED HAM CO
HONEY BAKED HAM COMPANY
PO BOX 403769
ATLANTA, GA 30384-3769

THE ORIN GROUP LLC
10 NORTHWEST AVE #200
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TALLMADGE, OH 44278
THE PACE ORGANIZATION INC
PO BOX 2949
DEL MAR, CA 92014

THE PARAGON GROUP INC
PARAGON MEDIA
PO BOX 3927
SEATTLE, WA 98124-3927
THE PARENT PROJECT FOR MUSCULAR
DYSTROPHY INC RESEARCH INC
1012 N UNIVERSITY BLVD
MIDDLETOWN, OH 45042

THE PART WORKS INC
PO BOX 3605
SEATTLE, WA 98124

THE PASSAIC COUNTY 200 CLUB
79 UNION BLVD
TOTOWA, NJ 07512
THE PLANNING & ZONING
RESOURCE CORPORATION
100 NE 5TH ST
OKLAHOMA CITY, OK 73104

THE PLANT PLACE INC
10704 GOODNIGHT LANE
DALLAS, TX 75220

THE PRESS ENTERPRISE
THE PRESS-ENTERPRISE DBA
PO BOX 12009
RIVERSIDE, CA 92502-2209

THE PRESS-ENTERPRISE COMPANY
THE PRESS-ENTERPRISE DBA
PO BOX 7157
PASADENA, CA 91109-7157
THE PRIEST HOLMES FOUNDATION
MASONPR
PO BOX 15982
SAN ANTONIO, TX 78212

THE PRODUCTION NETWORK INC
ATTN ACCOUNTS RECEIVABLE
1000 N NORTHLAKE WAY
SEATTLE, WA 98103
THE PUBLICATION COMPANY INC
3333 S WADSWORTH BLVD #D-205
LAKEWOOD, CO 80227

THE QUICKAPP CORPORATION
SECURELEND
26527 AGOURA RD #200
CALABASAS, CA 91302
THE RACHEL LAW GROUP PC
                                       Page 816
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2625 CUMBERLAND PKWY #110
ATLANTA, GA 30339

THE REAL ESTATE BOOK
5080 GAVIOTA AVE
ENCINO, CA 91436
THE RED BALLOON COMPANY INC
624 OLIVE WAY
SEATTLE, WA 98101
THE REDSTART COMPANY
ATTN ACCOUNTING
8483 NORTH 68TH EAST AVE
OWASSO, OK 74055

THE REGAL GROUP LLC
14100 PALMETTO FRONTAGE RD
MIAMI LAKES, FL 33016

THE RELIZON COMPANY
STEVE MURAWSKI
220 E MONUMENT AVE
DAYTON, OH 45402

THE RELIZON COMPANY
[Address to Be Provided]

THE RELIZON COMPANY DBA
WORKFLOW ONE
PO BOX 644039
PITTSBURGH, PA 15264-4039

THE RELIZON COMPANY DBA
WORKFLOW ONE
PO BOX 676496
DALLAS, TX 75267-6496

THE RELIZON COMPANY DBA
WORKFLOW ONE
220 E MONUMENT AVE
DAYTON, OH 45402
THE RENAISSANCE COLLABORATIVE
3757 S WABASH AVE
CHICAGO, IL 60653

THE RESURRECTION PROJECT
1818 S PAULINA
CHICAGO, IL 60608
THE RILEY GROUP INC
PAUL DAVID RILEY
17522 BOTHELL WAY NE #A
BOTHELL, WA 98011
THE RITZ CARLTON LAGUNA NIGUEL
ONE RITZ CARLTON DR
DANA POINT, CA 92629
THE RIVER CLUB INC
1 INDEPENDENT DR #3500
JACKSONVILLE, FL 32202
                                      Page 817
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THE RIVERTOWNS ENTERPRISE
PO BOX 418
SCARSDALE, NY 10583
THE ROC GROUP
180 N STETSON ST #1400
CHICAGO, IL 60601-6710

THE ROSS GROUP INC
31225 LA BAYA #201
WESTLAKE VILLAGE, CA 91361
THE ROTARY CLUB OF CHICAGO
FINANCIAL DISTRICT
CHICAGO NEW CHICAGO
65 W JACKSON BLVD BOX 103
CHICAGO, IL 60604
THE RUNABOUT COMPANY INC
PO BOX 2243
TITUSVILLE, FL 32781-2243

THE SACRAMENTO BEE
PAYMENT PROCESSING CENTER
PO BOX 24027
FRESNO, CA 93779-4027

THE SALISH LODGE
AT SNOQUALMIE FALLS
PO BOX 1109
SNOQUALMIE, WA 98065-1109

THE SALVATION ARMY
2320 5TH AVE
SAN DIEGO, CA 92101
THE SALVATION ARMY NW DIVISION
111 QUEEN ANNE AVE N #300
SEATTLE, WA 98109

THE SAN FRANCISCO FOUNDATION
225 BUSH ST #500
SAN FRANCISCO, CA 94104
THE SANTA CLARA COUNTY ASSOC
SANTA CLARA COUNTY ASSOCIATION
OF REALTORS
1651 N 1ST ST
SAN JOSE, CA 95112
THE SEATTLE TIMES
PO BOX 34698
SEATTLE, WA 98124-1698
THE SERVICE SOURCE
PO BOX 279
ADRIAN, MI 49221
THE SHADE TREE INCORPORATED
1 WEST OWENS
NORTH LAS VEGAS, NV 89030

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
THE SHARPER IMAGE
CORPORATE SALES
PO BOX 201967
DALLAS, TX 75320-1967
THE SHERIFF OF ROCKLAND
55 NEW HAMPSTEAD RD
NEW CITY, NY 10956

THE SMP GROUP INC
50 SE OCEAN BLVD #201
STUART, FL 34994
THE SPECTRUM GROUP
20501 VENTURA BLVD #380
WOODLAND HILLS, CA 91364

THE SPOKESMAN REVIEW
PO BOX 2160
SPOKANE, WA 99210
THE STANDARD REGISTER COMPANY
STANDARD REGISTER
PO BOX 91047
CHICAGO, IL 60693

THE STEWART FOUNDATION
PO BOX 54680
ALTANTA, GA 30308

THE STEWART ORGANIZATION
PO BOX 631219
IRVING, TX 75063

THE SURPLUS LINES ASSN OF UTAH
6711 S 1300 E
SALT LAKE CITY, UT 84121

THE TEJANO CENTER FOR
COMMUNITY CONCERNS
2950 BROADWAY
HOUSTON, TX 77020
THE THACKER CORPORATION
COLORADO PRINTING & FLYER
15334 E HINSDALE CR #1B
CENTENNIAL, CO 80112

THE THERRIEN COMPANY INC
12020 113TH AVE NE BLDG C #290
KIRKLAND, WA 98034
THE TORRES LAW FIRM
454 SOLEDAD #200
SAN ANTONIO, TX 78205
THE TOWER GROUP INC
PO BOX 31423
HARTFORD, CT 06150-1423
THE TOWN OF YUCCA VALLEY
57090 29 PALMS HWY
YUCCA VALLEY, CA 92284
                                      Page 819
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THE TRAINER'S WAREHOUSE
OFFICE IMAGES INC
89 WASHINGTON AVE
NATICK, MA 01760

THE ULTIMATE CATERER
52C N MAIN ST
MARLBOLO, NJ 07746

THE UNITED METHODIST CHURCH
HARRIS CHAPEL UNITED METHODIST
CHURCH
2351 NW 26TH ST
OAKLAND PARK, FL 33311

THE UPTIME INSTITUTE INC
2904 RODEO PARK DR E BLDG 100
SANTA FE, NM 87505-6316

THE URBAN ISSUES BREAKFAST
FORUM OF GREATER LOS ANGELES
3870 CRENSHAW BLVD #408
LOS ANGELES, CA 90008

THE URBAN LEAGUE
OF BROWARD COUNTY INC
11 NW 36TH AVE
FT LAUDERDALE, FL 33311

THE URBAN LEAGUE OF
PALM BEACH COUNTY INC
1700 N AUSTRALIAN AVE
W PALM BEACH, FL 33407

THE VALLEY STREAM CHAMBER
OF COMMERCE
PO BOX 1016
VALLEY STREAM, NY 11582
THE VICKEN GROUP INC
FIDELITY FINANCIAL GROUP
800 BRAND BLVD 17TH FL
GLENDALE, CA 91203
THE VICTORY STUDIOS
2247 15TH AVE W
SEATTLE, WA 98119

THE VORTMAN LAW FIRM PLLC
500 UNION ST #500
SEATTLE, WA 98101
THE WALL STREET TRANSCRIPT CORP
48 W 37TH ST 8TH FL
NEW YORK, NY 10018

THE WARREN GROUP
DBA WARREN INFORMATION SVCS
ATTN ACCOUNTS RECEIVABLE
280 SUMMER ST
BOSTON, MA 02210

                                       Page 820
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THE WEILAND FINANCIAL GROUP INC
2275 HALF DAY RD #160
BANNOCKBURN, IL 60015
THE WELLNESS COMMUNITY
3276 MCNUTT AVE
WALNUT CREEK, CA 94596
THE WEST INDIAN AMERICAN DAY
CARNIVAL ASSOCIATION
323-325 ROGERS AVE
BROOKLYN, NY 11225
THE WESTIN
4545 W JOHN CARPENTER FREEWAY
IRVING, TX 75063

THE WESTIN RIVERWALK MGNT CO
420 W WARKET ST
SAN ANTONIO, TX 78205
THE WOODLANDS SERVING CENTRAL
OHIO INC
CCCS OF NEWARK
195 UNION ST STE B1
NEWARK, OH 43055
THE YIELD BOOK INC
PO BOX 13755
NEWARK, NJ 07188-0755

THE YOUNG MENS CHRISTIAN
YOUNG MENS CHRISTIAN ASSN
ASSOCIATION OF GREATER SEATTLE
909 4TH AVE
SEATTLE, WA 98104
THEATRE DEVELOPMENT FUND INC
1501 BROADWAY
NEW YORK, NY 10036

THEATRE FOR A NEW AUDIENCE INC
154 CHRISTOPHER ST #3D
NEW YORK, NY 10014
THELEN REID & PRIEST LLP
ATTORNEYS AT LAW
101 SECOND ST #1800
SAN FRANCISCO, CA 94105-3601
THEO BRANDT SARIF
AND DEBORAH BRANDT SARIF
9108 HILLSBORO DR
LOS ANGELES, CA 90034
THEODORE LISCINSKI JR
TRUSTEE #0615607
265 DAVIDSON AVE #200
SOMERSET, NJ 08873
THERESA SZELIGA
ETHICS SKI
4701 SW ADMIRAL WAY #172
                                      Page 821
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SEATTLE, WA 98116
THERESE P NODAL
1333 WISTERIA DR
METAIRIE, LA 70005-1059

THESSALONIKA FAMILY SERVICES
PO BOX 890326
TEMECULA, CA 92589

THIRD AND UNIVERSITY LP
1201 THIRD AVE #2740
SEATTLE, WA 98101
THISTLE COMMUNITY HOUSING
1845 FOLSOM ST
BOULDER, CO 80302
THOMAS & LISA ROBBIO
THOMAS & LISA ROBBIO &
THE ATNY WILLIAM J BROWN III
WILLIAM J BROWN III
PO BOX 231216
ENCINITAS, CA 92023

THOMAS A PRICE
2016 CALIFORNIA AVE SW
SEATTLE, WA 98116

THOMAS A VALENZUELA
6174 MYRA AVE
BUENA PARK, CA 90620

THOMAS AND GINGER NEWSOME
LAW OFFICES OF WEST GRIGGS
301 S 17TH ST
PO BOX 517
WEST COLUMBIA, TX 77486

THOMAS ATMORE
826 SHELDON ST
EL SEGUNDO, CA 90245
THOMAS B. BREENE
[Address to Be Provided]
THOMAS C LEPPERT
WASHINGTON MUTUAL LEGAL DEPT
1301 2ND AVE - WMC3501
SEATTLE, WA 98101
THOMAS C VALKENET PC
YOUNG & VALKENET
600 WYNDHURST AVE #230
PO BOX 26106
BALTIMORE, MD 21210-9998

THOMAS C. LEPPERT
[Address Information Redacted]
THOMAS CASEY
[Address Information Redacted]

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
THOMAS CASEY
[Address Information Redacted]

THOMAS D STRINGER
DBA STRINGER APPRAISALS
1655 ASHLAND AVE
SANTA MONICA, CA 90405
THOMAS D WILSON
AS ATTNEY FOR MARLENA REYES
186 MONTAGUE ST 4TH FL
BROOKLYN, NY 11201
THOMAS E. MORGAN
[Address Information Redacted]

THOMAS GENOVA
TRUSTEE #08 36169
1136 ROUTE 9
WAPPINGERS FALLS, NY 12590
THOMAS J ALLEN AND CONNIE ALLEN
AND THEIR ATTORNEY ROBERT COCCO
ROBERT P COCCO PC
437 CHESTNUT ST #1006
PHILADELPHIA, PA 19106
THOMAS J KING
CHAPTER 13 TRUSTEE
PO BOX 1102
MEMPHIS, TN 38101-1102
THOMAS M COOKE
1742 APPLEBY RD
INVERNESS, IL 60067

THOMAS M. SCHIEFFER
[Address Information Redacted]

THOMAS PINTO OFFICER
900 EDINBURG RD
TRENTON, NJ 08690
THOMAS PLEMMONS
9423 NE 137TH ST
KIRKLAND, WA 98034

THOMAS REPROGRAPHICS INC
PO BOX 740967
DALLAS, TX 75374-0967
THOMAS RICHARDSON
TRUSTEE #07-40323
PO BOX 5007
ROME, GA 30162
THOMAS RICHARDSON TRUSTEE
PO BOX 51067
KALAMAZOO, MI 49005
THOMAS SUMTER ACADEMY
5265 CANDEN HIGHWAY
REMBERT, SC 29128
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THOMAS TIBBLE
TRUSTEE # 07 01776
2813 W MAIN ST
KALAMAZOO, MI 49006

THOMAS W. CASEY
[Address Information Redacted]

THOMPSON & BILECI LLP
580 CALLE PRINCIPAL 1ST FLOOR
MONTEREY, CA 93940
THOMPSON & KNIGHT LLP
TRUST ACCOUNT
333 CLAY ST #3300
HOUSTON, TX 77002
THOMPSON & KNIGHT LLP
DEPT 70
PO BOX 4346
HOUSTON, TX 77210-4346

THOMPSON & KNIGHT LLP
ONE ARTS PLAZA
1722 ROUTH ST #1500
DALLAS, TX 75202-2533

THOMPSON COBURN
PO BOX 18379M
ST LOUIS, MO 63195
THOMPSON HINE
3900 KEY CENTER
127 PUBLIC SQUARE
CLEVELAND, OH 44114-1291
THOMPSON PROMETRIC
1501 S CLINTON ST 14TH FL
BALTIMORE, MD 21224

THOMSON FINANCIAL LLC
THOMSON TAX & ACCOUNTING
PO BOX 5136
CAROL STREAM, IL 60197-5136
THOMSON FINANCIAL MEDIA
THOMSON TAX & ACCOUNTING
SOURCEMEDIA
DBA MORTGAGE SERVICING NEWS
PO BOX 4871
CHICAGO, IL 60680
THOMSON MEDIA DBA
THOMSON MEDIA INC
NATIONAL MORTGAGE NEWS
PO BOX 4871
CHICAGO, IL 60680
THOMSON MEDIA DBA
THOMSON MEDIA INC
ORIGINATION NEWS
PO BOX 4871IA
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CHICAGO, IL 60680
THOMSON MEDIA DBA
THOMSON MEDIA INC
SOURCEMEDIA
PO BOX 4634
CHICAGO, IL 60680
THOMSON PROFESSIONAL &
THOMSON TAX & ACCOUNTING
REGULATORY INC DBA EMPLOYEE
BENEFITS INSTITUTE OF AMERICA
22817 102ND PL WEST
EDMONDS, WA 98020

THOMSON REUTERS INC
PO BOX 71716
CHICAGO, IL 60694-1716
THOMSON TAX & ACCOUNTING
TTA RESEARCH & GUIDANCE
PO BOX 71687
CHICAGO, IL 60694-1687
THOMSON WEST
WEST PUBLISHING CORPORATION
WEST GROUP PAYMENT CENTER
PO BOX 6292
CAROL STREAM, IL 60197-6292

THORN NETWORK INC
PO BOX 59108
SCHAUMBERG, IL 60173-0108

THOROUGHBRED TECHNOLOGIES INC
10701 CORPORATE DR #288
SUGAR LAND, TX 77477

THOUGHTWORKS INC
3799 PAYSHERE CIRCLE
CHICAGO, IL 60674

THOUSAND OAKS WESTLAKE VILLAGE
REGIONAL CHAMBER OF COMMERCE
600 HAMPSHIRE RD #200
WESTLAKE VILLAGE, CA 91361

THURGOOD MARSHALL
SCHOLARSHIP FUND
90 WILLIAM ST #1203
NEW YORK, NY 10038
THURSTON COUNTY CHAMBER
PO BOX 1427
OLYMPIA, WA 98507
TIBER CREEK ELECTRONIC PAYMENTS
COALITION
1300 CONNECTICUT AVE NW 6TH FL
WASHINGTON, DC 20036

TIBURON POLICE DEPARTMENT
1155 TIBURON BLVD
                                       Page 825
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TIBURON, CA 94920
TICOR TITLE COMPANY
AMERITITLE
1120 PACIFIC AVE
TACOMA, WA 98402
TICOR TITLE COMPANY
AMERITITLE
600 SW 39TH ST #100
RENTON, WA 98057
TICOR TITLE INSURANCE CO
AMERITITLE
11055 BROADWAY #A
CROWN POINT, IN 46307

TICOR TITLE INSURANCE CO
AMERITITLE
1629 SW SALMON ST
PORTLAND, OR 97205

TICOR TITLE INSURANCE COMPANY
AMERITITLE
377 OAK ST #104
GARDEN CITY, NY 11530
TICOR TITLE INSURANCE COMPANY
AMERITITLE
ATTENTION ACCOUNTING
10135 SE SUNNYSIDE RD #210
CLACKAMAS, OR 97015

TICOR TITLE INSURANCE COMPANY
707 SUMMER ST
STAMFORD, CT 06901
TIERRA DEL SOL CENTER FOR
THE HANDICAPPED FOUNDATION
9919 SUNLAND BLVD
SUNLAND, CA 91040

TIFFANY & BOSCO PA
2525 E CAMELBACK RD 3RD FL
PHOENIX, AZ 85016-9240
TIFFANY & COMPANY
PO BOX 27389
NEW YORK, NY 10087-7389
TIM M. CLEARY
[Address Information Redacted]
TIME FOR CHANGE FOUNDATION
2736 BELMONT AVE
SAN BERNARDINO, CA 92407

TIME INC
DBA ENTERTAINMENT WEEKLY
PO BOX 60001
TAMPA, FL 33660-0001
TIME INC
                                      Page 826
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DBA SOUTHERN LIVING
PO BOX 62303
TAMPA, FL 33662
TIME INC
TCM A TIME INC COMPANY
FORTUNE MAGAZINE
PO BOX 60001
TAMPA, FL 33660-0001

TIME INC DBA SPORTS ILLUSTRATED
TCM A TIME INC COMPANY
PO BOX 61357
TAMPA, FL 33661-1357

TIME WARNER CABLE
TIME WARNER CABLE OF NYC
PO BOX 60506
CITY OF INDUSTRY, CA 91716-0506

TIME WARNER CABLE OF NYC
PO BOX 9227
UNIONDALE, NY 11555-9227
TIME WARNER ENTERTAINMENT
TIME WARNER CABLE OF NYC
ADVANCE-NEWHOUSE PARTNERS
DBA TIME WARNER CABLE
PO BOX 660097
DALLAS, TX 75266-0097

TIMELESS PHOTO
1742 W STATE ST
BOISE, ID 83702-3923

TIMES COMMUNITY NEWS
C/O LOS ANGELES TIMES
FILE 54221
LOS ANGELES, CA 90074-4221
TIMES COMMUNITY NEWS
LOS ANGELES TIMES
DBA HUNTINGTON BEACH INDPNDNT
1375 SUNFLOWER AVE
COSTA MESA, CA 92626
TIMES HERALD PUBLISHING CO INC
PO BOX 591
NORRISTOWN, PA 19404
TIMES PUBLISHING CO INC DBA
LAKE COUNTY RECORD-BEE
PO BOX 849
LAKEPORT, CA 95453
TIMGUARD INTERNATIONAL
4150 IRELAND ST
DENVER, CO 80249-8098
TIMOTHY J SIMON
1306 N IRWIN ST
HANFORD, CA 93230

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TIMOTHY R MORSE & ASSOC
3140 S RAINBOW BLVD #402
LAS VEGAS, NV 89146-6234
TIMOTHY S LUCAS
DBA LUCAS FINANCIAL REPORTING
3863 ATTLEY DR
LOUSIVILLE, TN 37777

TIMOTHY TORTORA
170 1/2 S SYCAMORE AVE
LOS ANGELES, CA 90036
TIMOTHY WALSH
WALSH FINANCIAL SERVICES
2665 ARIANE DR #206
SAN DIEGO, CA 92117
TINLEY PARK POLICE DEPT
7850 W 183RD ST
TINLEY PARK, IL 60477

TITAN LEGAL SERVICES
PO BOX 867
TORRANCE, CA 90508

TITANIUM SOLUTIONS LLC
5225 W WILEY POST WAY #150
SALT LAKE CITY, UT 84116

TITLE & CLOSING INC
1801 AMERICAN BLVD E #4
BLOOMINGTON, MN 55425

TITLE GUARANTY COMPANY
OF LEWIS COUNTY
PO BOX 1304
CHEHALIS, WA 98532

TITLESERV
ATTN PATRICIA FRENCH
88 FROELICH FARM BLVD
WOODBURY, NY 11797-2944

TITLEWORKS ABSTRACT INC
18 FAIRVIEW ST
HUNTINGTON, NY 11743

TITUSVILLE AREA CHAMBER OF COMM
2000 S WASHINGTON AVE
TITUSVILLE, FL 32780
TM VENTURES INC
DBA GOLDEN NIGHTS RESTAURANT
7115 BEACH BLVD
BUENA PARK, CA 90620

TMC DEVELOPMENT
WORKING SOLUTIONS
611 FRONT ST
SAN FRANCISCO, CA 94111
TMP DIRECTIONAL MARKETING LLC
                                       Page 828
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PO BOX 90362
CHICAGO, IL 60696-0362

TMW & ASSOCIATES INC
1725 SANGUINETTI LANE #A
STOCKTON, CA 95205-3416
TNS CUSTOM RESEARCH INC
2700 OREGON RD
NORTHWOOD, OH 43619
TODAYS HOTEL CORPORATION DBA
CROWNE PLAZA-SEATTLE
1113 6TH AVE
SEATTLE, WA 98101-3048

TODD BAKER
[Address Information Redacted]
TODD H. BAKER
[Address Information Redacted]

TODD HENRY DBA
AMERICAN MOBIL SOUND ENT
2133 HIGH ST
SELMA, CA 93662
TODD OLIVAS & ASSOCIATES
1000 BRISTOL ST N #17333
NEWPORT BEACH, CA 92660

TODD S JOHNS
PO BOX 55849
JACKSON, MS 39296-5849

TODOS SANTOS BUSINESS ASSOC
SONOMA NATIONAL BANK
1900 GRANT ST
CONCORD, CA 94520
TOGOS
J & J CATERING INC
4101 DUBLIN BLVD #B
DUBLIN, CA 94568
TOHO WATER AUTHORITY
101 N CHURCH ST
KISSIMMEE, FL 34741-5054

TOM & JERRY INC
HOUSE FINDER
PO BOX 1897
NEW YORK, NY 10013

TOM & JERRY INC DBA
TOM & JERRY INC
HOME READER
PO BOX 1828
NEW YORK, NY 10013
TOM MESLOVICH DBA
MEZ MEDIA
11 ENCINAL
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FOOTHILL RANCH, CA 92610
TOM NELSON
DBA SKY HIGH MARKETING
1130 GRASS VALLEY HWY
AUBURN, CA 95630
TOM POWERS
CHAPTER 13 TRUSTEE
PO BOX 1958
MEMPHIS, TN 38101-1958
TOM SNEVA
[Address to Be Provided]

TOMAS RIVERA POLICY INSTITUTE
UNIVERSITY OF SOUTHERN CA
SCHOOL OF POLICY PLANNING & DVL
650 CHILDS WAY LEWIS HALL #102
LOS ANGELES, CA 90089-0626
TOMCHEI TORAH CHAIM BIRNBAUM
1745 52ND ST
BROOKLYN, NY 11204

TOMS RIVER BUSINESS
DEVELOPMENT CORPORATION
218 MAIN ST
TOMS RIVER, NJ 08753

TONY KAMAND REALTY LLC
40 BEY LEA ROAD #C201
TOMS RIVER, NJ 08753

TONYIA AND HAROLD MCCRIMMON
TONYIA AND HAROLD MCCRIMMON
THE LAW OFFICES
OF JAMES A RAINBOLDT
10833 VALLEY VIEW ST #250
CYPRESS, CA 90630

TOOELE CITY CORPORATION
90 N MAIN #227
TOOELE, UT 84074
TO-RO ENTERPRISES INC DBA
OLOUGHLIN TRADE SHOWS INC
PORTLAND HOME & GARDEN SHOW
PO BOX 80750
PORTLAND, OR 97280-1750
TOTAL EXPERIENCE GOSPEL CHOIR
PASTOR PAT WRIGHT
PO BOX 22776
SEATTLE, WA 98122-0776
TOTAL SIGNS OF CLARK COUNTY INC
AAPEX ENGRAVING CO
6300 NE ST JAMES RD #103-A
VANCOUVER, WA 98663

TOTAL SIGNS OF CLARK COUNTY INC
DBA SIGN A RAMA &AAPEX
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6300 NE ST JAMES RD #103 A
VANCOUVER, WA 98663

TOTAL SYSTEM SERVICES INC
1600 1ST AVE.
COLUMBUS, GA 31901
TOTAL SYSTEM SERVICES INC
PO BOX 2506
COLUMBUS, GA 31902-2506
TOTAL TEC SYSTEMS INC
12784 COLLECTIONS CTR DR
CHICAGO, IL 60693

TOTALLY CHOCOLATE INC
2025 SWEET RD
BLAINE, WA 98230
TOTTEN & COMPANY
330 BUSH ST SE
PO BOX 2328
SALEM, OR 97308
TOUCH WORLDWIDE LLC
DBA TOUCH BUSINESS CONSULTING
1415 WESTERN AVE #200
SEATTLE, WA 98101

TOURISM DEVELOPMENT CORP
SOUTHERN CA MAGAZINE GROUP
PERFORMANCES MAGAZINE
3679 MOTOR AVE #300
LOS ANGELES, CA 90034

TOWERS PERRIN
PO BOX 8500 S6110
PHILADELPHIA, PA 19178-6110

TOWERS PERRIN
PO BOX 8500 S6110
PHILADELPHIA, PA 19178-6110
TOWN & COUNTRY HOME LOANS INC
10228 SW CAPITOL HWY
PORTLAND, OR 97219

TOWN OF ADDISON
DBA ADDISON POLICE DEPARTMENT
PO BOX 9010
ADDISON, TX 75001
TOWN OF BABYLON
C/O ELLEN T MCVEETY
200 E SUNRISE HWY
LINDENHURST, NY 11757

TOWN OF CLARKSTOWN
POLICE DEPARTMENT
20 MAPLE AVE
NEW YORK, NY 10956
TOWN OF CLARKSTOWN
                                     Page 831
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10 MAPLE AVE
NEW CITY, NY 10956

TOWN OF CUTLER BAY
10720 CARIBBEAN BLVD #105
CUTLER BAY, FL 33189
TOWN OF DAVIE
ATTN OCCUPATIONAL LICENSES
PO BOX 5917
DAVIE, FL 33310-5917
TOWN OF DAVIE
6591 ORANGE DR
DAVIE, FL 33314

TOWN OF DAVIE POLICE DEPT
1230 S NOB HILL RD
DAVIE, FL 33324

TOWN OF EASTCHESTER
TRAFFIC EXPO
40 MILL ROAD
EASTCHESTER, NY 10709

TOWN OF FOUNTAIN HILLS
16705 E AVE OF THE FOUNTAINS
FOUNTAIN HILLS, AZ 85268

TOWN OF GILBERT
POLICE DEPT ALARM COORDINATOR
75 E CIVIC CENTER DR
GILBERT, AZ 85296

TOWN OF GILBERT
50 E CIVIC CENTER DR
GILBERT, AZ 85296

TOWN OF GREENWICH
ALARM ORDINANCE
PO BOX 2540
GREENWICH, CT 06836-2540
TOWN OF HARRISON
ALARM REGISTRATION BUREAU
HARRISON POLICE DEPARTMENT
650 N ST
HARRISON, NY 10528

TOWN OF HIGHLAND PARK
4700 DREXEL DRIVE
HIGHLAND PARK, TX 75205
TOWN OF JUPITER
210 MILITARY TRAIL
JUPITER, FL 33458

TOWN OF LANTANA
318 S DIXIE HWY
LANTANA, FL 33462

TOWN OF LOS GATOS
SAN JOSE SILICON VALLEY
                                     Page 832
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CHAMBER OF COMMERCE
349 N SANTA CRUZ AVE
LOS GATOS, CA 95030
TOWN OF MIAMI LAKES
15700 NW 67TH AVE #302
MIAMI, FL 33014
TOWN OF PARKER
PO BOX 5602
DENVER, CO 80217-5602
TOWN OF PARKER
20120 EAST MAIN ST
PARKER, CO 80138

TOWN OF SURFSIDE
9293 HARDING AVE
SURFSIDE, FL 33154

TOWNE BARTKOWSKI & DEFIO KEAN
PO BOX 15072
450 NEW KARNER RD
ALBANY, NY 12212-5072

TOWNSHIP OF HUNTINGTON
100 MAIN ST
HUNTINGTON, NY 11743

TOWNSHIP OF IRVINGTON
IRVINGTON OFFICE OF COMMUNITY
346 16TH AVE
TOWNSHIP OF IRVINGTON, NJ 07111

TOWNSHIP OF MIDDLETOWN
MIDDLETOWN PARKS &RECREATION
900 LEONARDVILLE RD
LEONARDO, NJ 07737

TOWNSHIP OF MONTCLAIR
C/O ALARM TRACKING AND BILLING
PO BOX 26364
COLORADO SPRINGS, CO 80936

TOWNSHIP OF OCEAN
BUSINESS LICENSE
399 MONMOUTH RD
OAKHURST, NJ 07755-1589

TOWNSHIP OF SPARTA
POLICE DEPARTMENT
65 MAIN ST
SPARTA, NJ 07871-1986

TPG SOFTWARE INC
PO BOX 4346 DEPT 224
HOUSTON, TX 77210-4346

TPG TELEMANAGEMENT INC
7018 BELMONT CT
BRADENTON, FL 34202
TPI
                                       Page 833
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DBA TELECOM PRODUCTS INC
1136 N FIRST ST
GARLAND, TX 75040
TPN
1000 N NORTHLAKE WAY
SEATTLE, WA 98103
TRACY POLICE DEPARTMENT
CITY OF TRACY
1000 CIVIC CENTER DR
TRACY, CA 95376
TRACY TRUNNELL
TRUSTEE #07-62283
PO BOX 627
COTTAGE GROVE, OR 97424
TRADE ONLY SCREEN PRINTING INC
CURRY GRAPHICS
24835 EICHLER ST
HAYWARD, CA 94545

TRADER PUBLISHING CO DBA
DOMINION ENTERPRISES
SAN ANTONIO EMPLOYMENT GUIDE
PO BOX 461567
SAN ANTONIO, TX 78246-1567

TRADER PUBLISHING CO DBA
DOMINION ENTERPRISES
DALLAS EMPLOYMENT GUIDE
PO BOX 150868
ARLINGTON, TX 76015

TRADEWEB LLC
HARBORSIDE FINANCIAL CENTER
PO BOX 9202
NEW YORK, NY 10087-9202
TRADEWINDS MANAGEMENT GROUP LTD
ATTN DONNA MURE
2525 WAUKEGAN RD #200
BANNOCKBURN, IL 60015
TRADITION NORTH AMERICA INC
ACCOUNTS RECEIVABLE DEPT
75 PARK PLACE
NEW YORK, NY 10007
TRADITIONS LTD.
[Address to Be Provided]
TRAILHEAD MARKETING TEAM
14473 S ELK CREEK RD
PINE, CO 80470

TRAINING CONSULTANTS
PO BOX 20260
FOUNTAIN VALLEY, CA 92708

TRAINING WITH PAY
PO BOX 755
                                       Page 834
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
YUCCA VALLEY, CA 92286
TRANS FIRST
371 CENTENNIAL PKWY
LOUISVILLE, CO 80027

TRANS UNION CORP
DBA TRANS UNION LLC
PO BOX 99506
CHICAGO, IL 60693-9506
TRANS UNION CORP
MICHAEL BLAKEBOROUGH
555 W ADAMS ST. 6TH FLOOR
CHICAGO, IL 60606-2418

TRANS UNION CORP
PO BOX 99506
CHICAGO, IL 60693-9506

TRANS UNION SETTLEMENT
TRANS UNION CORP
SOLUTIONS INC
6200 OAK TREE BLVD
INDEPENDENCE, OH 44131

TRANSACTEL INC
AVENIDA SAMUEL LEWIS Y CALLE
GERARDO ORTEGA
EDIFICIO COMOSA PISO 21
PANAMA CITY, 01009 PANAMA
TRANSAMERICA LIFE INSURANCE CO
ATTN LISA WNEK- MAILSTOP 4340
4333 EDGEWOOD RD NE
CEDAR RAPIDS, IA 52499
TRANSCONTINENTAL DIRECT USA INC
FILE #57530
LOS ANGELES, CA 90074-7530

TRANSCONTINENTAL LENDING
GROUP INC
401 FAIRWAY DR
DEERFIELD BEACH, FL 33441
TRANSCONTINENTAL PRINTING GP
TRANSCONTINENTAL DIRECT USA INC
12233 COLLECTIONS CENTER DR
CHICAGO, IL 60693
TRANSCONTINENTAL TITLE CO
2605 ENTERPRISE RD E #150
CLEARWATER, FL 33759
TRANSFIRST, LLC
[Address to Be Provided]

TRANSNATION TITLE AGENCY OF OR
LANDAMERICA LAWYERS TITLE
12360 E BURNSIDE
PORTLAND, OR 97233

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TRANSNATION TITLE INSURANCE CO
TRANSNATION TITLE OF ARIAONA
1850 N CENTRAL AVE #1210
PHOENIX, AZ 85004
TRANSNATION TITLE INSURANCE CO
32000 NORTHWESTERN HWY #275
FARMINGTON HILLS, MI 48334-1565

TRANSNATION TITLE INSURANCE CO
105 W 3RD AVE
SPOKANE, WA 99201
TRANSUNION CORP
TRANS UNION CORP
DBA TRANSUNION LLC
PO BOX 99506
CHICAGO, IL 60693
TRANSUNION SETTLEMENT
TRANS UNION CORP
SOLUTIONS INC
MDA LENDING SOLUTIONS INC
5688 COLLECTION DR
CHICAGO, IL 60693-0056

TRANSVIRONMENTAL SOLUTIONS INC
PO BOX 5110
DIAMOND BAR, CA 91765

TRANSWEST INVESTIGATIONS INC
2500 WILSHIRE BLVD #1200
LOS ANGELES, CA 90057

TRANSWESTERN 313 WASHINGTON LLC
WACHOVIA BANK WHOLESALE LB
PO BOX 60311
CHARLOTTE, NC 28260-0311

TRANSWORKS INFORMATION SVC LTD
LEVEL 3 MILLENNIUM TOWERS
BROOKEFIELDS ITPL ROAD
BANGALORE, 560 037 INDIA

TRAVELERS
ONE TOWER SQUARE
HARTFORD, CT 06183

TRAVERSO'S GOURMET FOODS
TRAVERSO&#39S GOURMET FOODS
& LIQUORS INC
106 B ST
SANTA ROSA, CA 95401-6176

TRAVIS A HULSEY DIRECTOR
PO BOX 12207
BIRMINGHAM, AL 35202-2207

TRAVOIS INC
HC 50 BOX 4768
RED LODGE, MT 59068
TRAYENDO ESPERANZA INC
                                       Page 836
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
5800 N CHURCH AVE
TAMPA, FL 33614

TRAYLOR MANAGEMENT INC
DBA MAP MASTERS/CENTURY PUB
12120 TECH CTR DR #B
POWAY, CA 92064-7102
TRC ENVIRONMENTAL CORP
21 GRIFFIN RD N
WINDSOR, CT 06095-1512
TREASURE ISLAND CORP
PO BOX 7711
LAS VEGAS, NV 89177-0771

TREASURER CITY & COUNTY
OF DENVER TREASURY DIVISION
PO BOX 17430
DENVER, CO 80217-0430
TREASURER OF ALAMEDA COUNTY
OFFICE OF THE DA
FAMILY SUPPORT DIVISION
PO BOX 2072
OAKLAND, CA 94604
TREASURER OF STATE OF OHIO
DEPARTMENT OF TAXATION
PO BOX 16561
COLUMBUS, OH 43216-6561
TREASURER OF STATE OF OHIO
DEPT OF TAXATION
PO BOX 27
COLUMBUS, OH 43216-0027
TREASURER OF THE ST OF ILLINOIS
UNCLAIMED PROPERTY DIVISION
1 W OLD STATE CAPITAL
PLAZA #400
SPRINGFIELD, IL 62701-1390
TREASURER OF VIRGINIA
DEPT OF PROFESSIONAL &
OCCUPATIONAL REGULATION
3600 W BROAD ST
RICHMOND, VA 23230-1066

TREASURER OF VIRGINIA
DEPT OF TREASURY
DIV OF UNCLAIMED PROPERTY
101 N 14TH ST 4TH FL
RICHMOND, VA 23219
TREASURER OF VIRGINIA
DIVISION OF CHILD SUPT ENFORCMT
PO BOX 570
RICHMOND, VA 23218-0570
TREASURER OF VIRGINIA
PO BOX 7607
MERRIFIELD, VA 22116-7607
                                       Page 837
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TREASURER OF W N Y
W N Y PBA LOCAL 361
PO BOX 88
WEST NEW YORK, NJ 07093

TREASURER ST OF CONNECTICUT
OFFICE OF THE STATE TREASURER
UNCLAIMED PROPERTY DIVISION
55 ELM ST 7TH FL
HARTFORD, CT 06106
TREASURER ST OF NEW JERSEY
UNCLAIMED PROPERTY
50 BARRACK ST 6TH FL
REPORT SECTION
TRENTON, NJ 08695-0214
TREASURER STATE OF IOWA
UNCLAIMED PROPERTY DIVISION
LUCAS STATE OFFICE BLDG
321 E 12TH ST
DES MOINES, IA 50319
TREASURER STATE OF TENNESSEE
UNCLAIMED PROPERTY DIVISION
9TH FL ANDREW JACKSON ST
OFFICE BLDG
NASHVILLE, TN 37243

TREASURY MANAGEMENT
ASSOCIATION OF CHICAGO
8 S MICHIGAN AVE #1000
CHICAGO, IL 60603

TREASURY STATE OF NH
ABANDONED PROPERTY DIVISION
25 CAPITOL ST RM 205
CONCORD, NH 03301-6312
TREEV LLC
MARSHALL & ILSLEY BANK
PO BOX 88379
MILWAUKEE, WI 53288-0379
TREMCO INC
PO BOX 931111
CLEVELAND, OH 44193-0511

TREMONT FINANCIAL LLC
PO BOX 608
SIOUX FALLS, SD 57101
TREPP LLC
ATTN MARIA PAGAN
477 MADISON AVE 18TH FL
NEW YORK, NY 10022

TRESURY STATE OF MAINE
UNCLAIMED PROPERTY DIVISION
39 STATE HOUSE STATION
AUGUSTA, ME 04333-0039

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TREVOR PROJECT INC
9056 SANTA MONICA BLVD #100
W HOLLYWOOD, CA 90069
TRI CITIES HISPANIC CHAMBER OF
COMMERCE
8220 W GAGE BLVD #715
KENNEWICK, WA 99336

TRI COUNTY BOARD OF REALTORS
247 WASHINGTON ST
STOUGHTON, MA 02072
TRI COUNTY ECONOMIC DEVELOPMENT
CORPORATION
3120 COHASSET RD #5
CHICO, CA 95973
TRI COUNTY FAMILY SERVICES
3160 TELEGRAPH RD #104
VENTURA, CA 93003

TRI GAS TECHNOLOGIES
DBA TRI TECH
PO BOX 26444
TAMPA, FL 33623-6444
TRI STATE ENVELOPE CORPORATION
1 ORGLER PLACE
ASHLAND, PA 17921

TRI VALLEY APPRAISAL INC
110 RYAN INDUSTRIAL CT #11
SAN RAMON, CA 94583

TRI VALLEY YMCA BRANCH
YMCA OF THE EAST BAY
4725 FIRST ST #200
PLEASANTON, CA 94566
TRIAD ENGINEERING INC
200 AVIATION DR
WINCHESTER, VA 22602

TRIAD FINANCIAL SERVICES INC
7801 METRO PARKWAY #100
BLOOMINGTON, MN 55425

TRIAD GUARANTY
101 S STRATFORD ROAD
WINSTON-SALEM, NC 27104
TRIAD LAW GROUP TRUST ACCOUNT
126 3RD AVE S #101
EDMONDS, WA 98020
TRIALS INC DBA
DOCUSOURCE
223 E TRAVIS ST
SAN ANTONIO, TX 78205

TRIBUNA NEWSPAPER
8 W ST #201
                                       Page 839
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
DANBURY, CT 06810
TRICERAT SOFTWARE INC
10320 LITTLE PATUXENT PKWY #200
COLUMBIA, MD 21044

TRICITY FAMILY SERVICES
1120 RANDALL RD
GENEVA, IL 60134

TRI-CITY PEOPLES CORPORATION
55 WASHINGTON ST
EAST ORANGE, NJ 07108
TRICOR AMERICA INC
PO BOX 8100 S F I A
SAN FRANCISCO, CA 94128
TRICOR SERVICES LIMITED
LEVEL 28 THREE PACIFIC PL
1 QUEENS RD E
HONG KONG,    CHINA

TRIDENT FINANCIAL GROUP INC
1001 BAYHILL DRIVE #108
SAN BRUNO, CA 94066
TRIDENT TRUST COMPANY VI LTD
PO BOX 5304
ST THOMAS, 00803-5304 VI

TRILEGIANT LOYALTY SOLUTIONS
DBA AFFINION LOYALTY GROUP
PO BOX 281975
ATLANTA, GA 30384-1975

TRILLIUM CONSULTING
1409 140TH PL NE #103C
BELLEVUE, WA 98007
TRIMONT REAL ESTATE ADVISORS
INC
3424 PEACHTREE RD NE #2200
ATLANTA, GA 30326
TRINACRIA INC
DBA GOURMET ITALIA NORTH
40711 MURRIETA HOT SPRINGS RD
MURRIETA, CA 92562
TRINITY CREDIT COUSELING INC
TRINITY CREDIT COUNSELING INC
11229 READING RD
CINCINNATI, OH 45241
TRIPLE A SPECIALTIES INC
1832 S MACDONALD #106
MESA, AZ 85210
TRIRIGA INC
6700 VIA AUSTI PKWY
LAS VEGAS, NV 89119

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
TRISHA DOWNARD
SOUTHWEST MICHIGAN MORTGAGE
36535 VALLEY DR
PAW PAW, MI 49079
TRISTAR FINANCE INC
620 KIRKLAND WAY #204
KIRKLAND, WA 98033

TRI-STATE MORTGAGE
CONSULTANTS LLC
254 N BROADWAY #202
SALEM, NH 03079
TRISYN GROUP LP
PO BOX 8500-54642
PHILADELPHIA, PA 19178-4642
TRITON FUNDING GROUP INC
221 MAIN ST #800
SAN FRANCISCO, CA 94105

TROPHY CASE OF FT MEYERS
11188 CLEVELAND AVE
FT MEYERS, FL 33907

TROPICAL PLANT CO
DBA FLOWERS OF SAN DIMAS
169 W BONITA AVE
SAN DIMAS, CA 91773

TROPICAL REALTY
APPRAISAL SERVICE
6812 W LINEBAUGH AVE
TAMPA, FL 33625

TROPICAL WEST DESIGNS
18533 BURBANK BLVD
TARZANA, CA 91356
TROTT & TROTT PC
DRAWER #1274
PO BOX 79001
DETROIT, MI 48279-1274
TROTTER & MAXFIELD ATTYS LLC
FBO ANISA GRANT
1701 RICHLAND ST
COLUMBIA, SC 29201
TROUTMAN SANDERS LLP
PO BOX 933652
ATLANTA, GA 31193-3652

TROXLER & ASSOCIATES INC
5023 PARKWAY CALABASAS
CALABASAS, CA 90266

TROY FAIN INSURANCE INC
PO BOX 5077
TALLAHASSEE, FL 32314-5077
TROY GROUP INC
                                     Page 841
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3 BRYAN DR
WHEELING, WV 26003

TROYGOULD PC
1801 CENTURY PARK E 16TH FL
LOS ANGELES, CA 90067-2367
TRUCKEE DONNER
CHAMBER OF COMMERCE
10065 DONNER PASS RD
TRUCKEE, CA 96161
TRUDYS FLOWERS
507 OLIVE WY
SEATTLE, WA 98101

TRUE TITLE & ESCROW INC
5110 S YALE AVE #435
TULSA, OK 74135

TRUGREEN LANDCARE
TRUGREEN LANDCARE LLC
A1 1663 PO BOX 1000 DEPT 25
MEMPHIS, TN 38148

TRUGREEN LANDCARE
TRUGREEN LANDCARE LLC
ATTN NATIONAL ACCOUNTS
21486 NETWORK PL
CHICAGO, IL 60673

TRUST ACCOUNT OF COXWELL &
ASSOCIATES
500 N STATE ST
JACKSON, MS 39201

TRUST ACCOUNT OF RICHARD
FEFERMAN
300 CENTRAL AVE
ALBUQUERQUE, NM 87102

TRUSTEES OF MOUNT HOLYOKE
COLLEGE
50 COLLEGE ST
SOUTH HADLEY, MA 01075
TRUSTEES OF THE UNIVERSITY
OF PENNSYLVANIA
DBA THE WHARTON SCHOOL
101 HOWARD ST #500
SAN FRANCISCO, CA 94105
TRUSTWAVE HOLDINGS INC
AMBIRON TRUST WAVE
DEPARTMENT 4912
CAROL STREAM, IL 60122-4912

TSUGLYO TAKIUCHI
13001 LA MIRADA BLVD #355
LA MIRADA, CA 90638

TSYS LOYALTY INC
PO BOX 105267
                                     Page 842
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ATLANTA, GA 30348-5267
TUBE ART DISPLAYS INC
2323 W WASHINGTON AVE
YAKIMA, WA 98903

TUCK M WONG
2445 SUMMIT DR
HILLSBOROUGH, CA 94010

TUCKER ARENSBERG PC
1500 ONE PPG PL
PITTSBURGH, PA 15222
TUCKER ELLIS & WEST LLP
PO BOX 74717
CLEVELAND, OH 44194-4717
TUCSON ASSN OF REALTORS INC
2445 N TUCSON BLVD
TUCSON, AZ 85716

TULARE COUNTY
ASSOCIATION OF REALTORS
2424 E VALLEY OAKS DR
VISALIA, CA 93292
TULLETT PREBON HOLDINGS CORP
ATTN ELLA VEVITSIS
101 HUDSON ST
JERSEY CITY, NJ 07302-3908
TUMBLEWEED COMMUNICATIONS
700 SAGINAW DR
REDWOOD, CA 94063

TUMBLEWEED PUBLISHING INC
DBA SUN POST
126 W YOSEMITE AVE
MANTECA, CA 95336

TUMBLEWOOD PRODUCTIONS LLC
DBA SIGN A RAMA
3460 E SUNSET RD #R
LAS VEGAS, NV 89120
TUMWATER ROTARY CLUB
3528 PIFER RD
OLYMPIA, WA 98501
TUOLUMNE COUNTY ASSOCIATION
OF REALTORS
14195 TUOLUMNE RD
SONORA, CA 95370
TURN COMMUNITY SERVICES
PO BOX 1287
SALT LAKE CITY, UT 84110
TURNER ACCEPTANCE CORP
4410 N RAVENSWOOD AVE
CHICAGO, IL 60640

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TURNER CONSTRUCTION
TURNER CONSTRUCTION COMPANY
2001 N LAMAR #101
DALLAS, TX 75202
TURNER CONSTRUCTION COMPANY
ATTN VICTORIA KLOPFENSTEIN
4263 DACOMA
HOUSTON, TX 77092

TURNER CONSTRUCTION COMPANY
104 INTERCHANGE PLAZA #200
MONROE TOWNSHIP, NJ 08831
TURNER CONSTRUCTION COMPANY
5955 CARNEGIE BLVD #300
CHARLOTTE, NC 28209
TURNSTYLE INC
2219 NW MARKET ST
SEATTLE, WA 98107

TUSA OFFICE SOLUTIONS
MARY K. EDWARDS
100 N FOREST PARK BLVD
FORT WORTH, TX 75007
TUSA OFFICE SOLUTIONS
4201 INTL PKWY
CARROLLTON, TX 75007

TUSCANY FINANCIAL INC
105 FREEPORT RD FL 2
ASPINWALL, PA 15215

TUSTIN POLICE DEPT
ALARM RENEWAL
300 CENTENNIAL WAY
TUSTIN, CA 92780
TUTTLE-ARMFIELD-WAGNER
APPRAISAL & RESEARCH INC
115 E NEW HAVEN AVE
MELBOURNE, FL 32901
TWISTED KNICKERS INC
WIGGLY JIGGLYS ENGLISH PUB
172 S MAIN ST
ALBION, NY 14411
TWO DEGREES LLC
PO BOX 84904
SEATTLE, WA 98124-6204

TWO PARK PLACE LLC
10850 W PARK PL
MILWAUKEE, WI 53224

TYLER COOPER & ALCORN LLP
555 LONG WHARF DR 8TH FL
PO BOX 1936
NEW HAVEN, CT 06509-0906

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TYLER J WOODS APPRAISAL SVCS PC
1915 LIBERTY ST NE
SALEM, OR 97301
TYRONE M MCDONNELL & ASSOC LLC
45 ESSEX ST #3 W
HACKENSACK, NJ 07601
U S CUSTOMS & BORDER PROTECTION
1000 2ND AVE #2100
SEATTLE, WA 98104-1049
U S TAX VERIFICATION INC
201 NW 18TH ST
DELRAY BEACH, FL 33444

U. S. TRUST COMPANY - SPECIAL FIDUCIARY SERVICES
[Address to Be Provided]
UBRAN LEAGUE OF PHILADELPHIA
1818 MARKET ST 20TH FL
PHILADELPHIA, PA 19103

UCI FOUNDATION
U OF CAL IRVINE FOUNDATION
4199 CAMPUS DRIVE 402 UT
IRVINE, CA 92697

UCLA FOUNDATION
UCLA ALUMNI ASSOC
110 WESTWOOD PLAZA
PO BOX 951481
LOS ANGELES, CA 90095-1481

UCLA FOUNDATION
UCLA ALUMNI ASSOC
UCLA COUNCIL OF SUPPORT ORGS
JAMES E WEST ALUMNI CENTER
355 S GRAND AVE #2600
LOS ANGELES, CA 90071

UCN INC
PAYMENT CENTER #5450
PO BOX 410468
SALT LAKE CITY, UT 84141
UGL EQUIS CORPORATION
161 N CLARK ST #2400
CHICAGO, IL 60601
UHEAA
PO BOX 145107
SALT LAKE CITY, UT 84114

UI CAREER & PROFESSIONAL PLANNI
ATTN CASEY TAYLOR
CAREER EXPO PAYMENT
PO BOX 442534
MOSCOW, ID 83844-2534
ULINE INC
2200 S LAKESIDE DR
WAUKEGAN, IL 60085
                                       Page 845
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ULTIMATE PRINTING & GRAPHICS
PO BOX 496688
GARLAND, TX 75049-6688
ULTRA EVENTS LLC
DBA ULTRA EVENTS & STAFFING
40 WYCKOFF ST #22A
BROOKLYN, NY 11201

UMATILLA RESERVATION
HOUSING AUTHORITY
51 UMATILLA LOOP
PENDLETON, OR 97801

UMCA
UNIVERSITY OF WASHINGTON
BOX 353200
SEATTLE, WA 98195

UMOJA STUDENT DEVELOPMENT CORP
2935 W POLK
CHICAGO, IL 60612
UMPQUA COMMUNITY DEVELOPMENT
CORPORATION
605 SE KANE ST
ROSEBURG, OR 97470

UNDER ONE ROOF
549 CASTRO STREET
SAN FRANCISCO, CA 94114

UNICA CORPORATION
RESERVOIR PLACE NORTH
170 TRACER LN
WALTHAM, MA 02451

UNICA CORPORATION
PO BOX 200596
PITTSBURGH, PA 15251-0596

UNI-CARRIER INC
PO BOX 794
WESTMONT, IL 60559
UNICOI REGISTER OF DEEDS
100 S MAIN AVE
ERWIN, TN 37650
UNICORN MORTGAGE LLC
13624 1ST AVE S
BURIEN, WA 98168

UNIFIRST CORPORATION
PO BOX 301219
PORTLAND, OR 97294

UNIFORMED FIREFIGHTERS ASSOC
OF GREATER NEW YORK
204 E 23RD ST
NEW YORK, NY 10010

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UNION BANK OF CALIFORNIA
UNION BANK OF CALIFORNIA NA
1980 SATURN ST
MONLEREY PARK, CA 91755
UNION BANK OF CALIFORNIA NA
CORP TRUST DIVISION
120 S SAN PEDRO ST #410
LOS ANGELES, CA 90012

UNION BANK OF CALIFORNIA NA
TRUST FEE UNIT FA
PO BOX 85243
SAN DIEGO, CA 92186-5243

UNION EQUITY MORTGAGE LLC
308 SOUTH ST
BENTON, AR 72015
UNION LABOR MANAGEMENT
20 COMMERCE DR
CRANFORD, NJ 07016

UNION OF PAN ASIAN COMMUNITIES
1031 25TH ST
SAN DIEGO, CA 92102
UNION OF VIETNAMESE STUDENT
ASSOC OF SOUTHERN CALIFORNIA
12821 WESTERN AVE #H
GARDEN GROVE, CA 92841
UNION PARK ASSOCIATES
6925 UNION PARK CENTER #500
COTTONWOOD HEIGHTS, UT 84047

UNION STATION FOUNDATION
825 E ORANGE GROVE BLVD
PASADENA, CA 91104
UNION TRIBUNE PUBLISHING CO
ATTN CIRCULATION CASHIER
PO BOX 121546
SAN DIEGO, CA 92112-5546
UNION TRUST MORTGAGE SERVICES
567 SYCAMORE VALLEY RD W
DANVILLE, CA 94526

UNION UNITED METHODIST CHURCH
121 NEW YORK AVE
BROOKLYN, NY 11216
UNIQUE MORTGAGE INC
20720 VENTURA BLVD #270
WOODLAND HILLS, CA 91367

UNIQUE PROMOTIONS & AWARDS
2494 TECHNOLOGY DR
ELGIN, IL 60124

UNIRADIO CORP
5030 CAMINO DE LA SIESTA #403
                                      Page 847
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SAN DIEGO, CA 92108
UNISYS
UNISYS CORPORATION
UIPS LLC C/O BANK OF AMERICA
MAIL STOP CA47011057
1655 GRANT ST
CONCORD, CA 94520

UNISYS CORPORATION
PO BOX 538141
ATLANTA, GA 30353-8141
UNISYS CORPORATION
99865 COLLECTIONS CENTER DR
CHICAGO, IL 60696

UNITED ADVERTISING PUBLCTNS INC
DISTINCTIVE HOMES MAGAZINE
PO BOX 9277
CANTON, OH 44711

UNITED ADVERTISING PUBLCTNS INC
HARMON PUBLISHING CO
PO BOX 9277
CANTON, OH 44711
UNITED COLLECTION BUREAU INC
ATTN JOAN OVERCASHIER
5620 SOUTHWYCK BLVD STE 206
TOLEDO, OH 43614
UNITED EQUITIES INC
4545 BISSONNET #100
BELLAIRE, TX 77401

UNITED EQUITY MORTGAGE CORP
5361 N HARLEM AVE
CHICAGO, IL 60656
UNITED FINANCE CO-GP
TX CHILD SUPPORT SDU
PO BOX 659791
SAN ANTONIO, TX 78265-9791
UNITED FINANCE GROUP INC
225 NE MIZNER BLVD #300
BOCA RATON, FL 33432

UNITED FINANCIAL SYSTEMS INC
23123 STATE ROAD 7
SUITE 340
BOCA RATON, FL 33428

UNITED FUNDING CORP
222 MAIN ST
MILFORD, MA 01757

UNITED GENERAL TITLE INSURANCE
200 COMMERCE 2ND FL
IRVINE, CA 92606
UNITED GENERAL TITLE INSURANCE
                                       Page 848
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
851 SUTTON WY
GRASS VALLEY, CA 95945

UNITED GUARANTY RESIDENTIAL
AIG ANNUITY INSURANCE COMPANY
INSURANCE COMPANY OF IOWA
PO BOX 21367
GREENSBORO, NC 27420

UNITED GUARANTY SERVICES
UNITED GUARANTY SVCS INC
ATTN EMERGING MARKETS
PO BOX 21567
GREENSBORO, NC 27420

UNITED GUARANTY SERVICES INC
UNITED GUARANTY SVCS INC
PO BOX 60229
CHARLOTTE, NC 28260-0229

UNITED HEALTHCARE SERVICES INC
DBA OPTUM
SDS 12 2834
PO BOX 86
MINNEAPOLIS, MN 55486-2834

UNITED HEALTHCARE SERVICES INC
PAUL BROWN
9900 BREN RD E
MINNETONKA, MN 55343

UNITED HOME MORTGAGE
CENTER OF FLORIDA INC
8402 HWY 1
PORT ST LUCIE, FL 34952

UNITED INVESTMENTS
SUN YUEN LIU
3808 NORIEGA ST
SAN FRANCISCO, CA 94122

UNITED JEWISH FEDERATION OF
GREATER STAMFORD
1035 NEWFIELD AVE #200
STAMFORD, CT 06905-2591
UNITED METRO MEDIA LLC
DBA JOB NEWS
PO BOX 632896
CINCINNATI, OH 45263-2896
UNITED NATIONAL MORTGAGE
16255 VENTURA BLVD #226
ENCINO, CA 91436
UNITED NATIONS ASSOCIATON OF
SAN DIEGO
UNITED NATIONS BLDG BALBOA PARK
SAN DIEGO, CA 92101
UNITED NEGRO COLLEGE FUND
UNITED NEGRO COLLEGE FND DALLAS
120 WALL ST
                                       Page 849
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NEW YORK, NY 10005
UNITED NEGRO COLLEGE FUND INC
UNITED NEGRO COLLEGE FND DALLAS
1235 N LOOP WEST #1010
HOUSTON, TX 77008-4707
UNITED ONLINE INC
DEPT 0222
PO BOX 120022
DALLAS, TX 75312-0222
UNITED PARCEL SERVICE
PO BOX 7247-0244
PHILADELPHIA, PA 19170-0001

UNITED PARCEL SERVICES
UNITED PARCEL SERVICE
PO BOX 660586
DALLAS, TX 75266-0586
UNITED PARENTS ASSOC OF NY CITY
PUBLIC SCHOOL 139Q
93-06 63RD DR
REGO PARK, NY 11374

UNITED STATES BANKRUPTCY COURT
DAVID COTTINGHAM TRUSTEE
1118 GREENSBORO AVE
TUSCALOOSA, AL 35401

UNITED STATES CATHOLIC
CONFERENCE
1360 MISSION ST #300
SAN FRANCISCO, CA 94103

UNITED STATES CATHOLIC CONFRNCE
SACRED HEART CHURCH YOUTH MSSNS
9460 NE 14TH ST
BELLEVUE, WA 98004

UNITED STATES HISPANIC
CHAMBER OF COMMERCE
2175 K ST NW #100
WASHINGTON, DC 20037
UNITED STATES POSTAL SERVICE
ATTN CHARLES JACKSON
401 TOM LANDRY FREEWAY
DALLAS, TX 75222
UNITED STATES POSTAL SERVICE
ATTN: JOANNE ROMERO
4949 EAST VAN BUREN RM 190
PHOENIX, AZ 85026-9651
UNITED STATES POSTAL SERVICE
BILL TAYLOR
1301 E BARDIN RD
ARLINGTON, TX 76018

UNITED STATES POSTAL SERVICE
BUSINESS REPLY TECHNICIAN
                                       Page 850
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 61202
PHOENIX, AZ 85082-1202

UNITED STATES POSTAL SERVICE
NATIONAL CUSTOMER SUPPORT CTR
ACCOUNTS RECEIVABLE NCOA
6060 PRIMACY PKWY #201
MEMPHIS, TN 38188-0001

UNITED STATES POSTAL SERVICE
PARK CITY POSTMASTER
6440 HWY 224
PARK CITY, UT 84098
UNITED STATES POSTAL SERVICE
POSTMASTER
PO BOX 34200
SEATTLE, WA 98124-1200
UNITED STATES POSTAL SERVICE
POSTMASTER
US POSTAL SERVICE
CITY CENTER STATION
BELLINGHAM, WA 98225

UNITED STATES POSTAL SERVICE
POSTMASTER
1590 ADAMS
COSTA MESA, CA 92626

UNITED STATES POSTAL SERVICE
POSTMASTER
519 SE KANE ST
ROSEBURG, OR 97470

UNITED STATES POSTAL SERVICE
UNITED STATES POST OFFICE
WEST WOOD TOWN CENTER
SEATTLE, WA 98126
UNITED STATES POSTAL SERVICE
US POSTMASTER
450 S DENTON TAP
COPPELL, TX 75019-9998
UNITED STATES POSTAL SERVICE
US POSTMASTER
9534 RESEDA BLVD
CHATSWORTH, CA 91324-9998
UNITED STATES POSTAL SERVICE
US POSTMASTER
35 TAYLOR DR
WAYNE, NJ 07470
UNITED STATES POSTAL SERVICE
US POSTMASTER
4300 BLACK AVE
PLEASANTON, CA 94588
UNITED STATES POSTAL SERVICE
US POSTMASTER
HAUN RD
                                     Page 851
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
SUN CITY, CA 92586
UNITED STATES POSTAL SERVICE
USPS
FINANCE #40 6784
1020 SE 7TH AVE
PORTLAND, OR 97214
UNITED STATES POSTAL SERVICE
USPS
24438 SANTA CLARA ST
HAYWARD, CA 94544
UNITED STATES POSTAL SERVICE
USPS
6411 6TH AVE
TACOMA, WA 98406
UNITED STATES POSTAL SERVICE
USPS DISBURSING OFFICER
ACCOUNTING SERVICE CENTER
2825 LONE OAK PKWY
EAGAN, MN 55121-9640
UNITED STATES POSTAL SERVICE
10500 BEARDSLEE BLVD
BOTHELL, WA 98011-9998

UNITED STATES POSTAL SERVICE
15642 SAND CANYON AVE
IRVINE, CA 92619-9998
UNITED STATES POSTAL SERVICE
800 WAREHOUSE RD
ORALNDO, FL 32803-9998

UNITED STATES POSTAL SERVICE
1110 23RD AVE
SEATTLE, WA 98122
UNITED STATES POSTAL SERVICE
1750 FLANDRO DR
POCATELLO, CA 83201

UNITED STATES POSTAL SERVICE
1801 N ECONLOCKHATCHEE TRL
ORLANDO, FL 32817

UNITED STATES POSTAL SERVICE
3500 W COURT ST
PASCO, WA 99301
UNITED STATES POSTAL SERVICE
3727 S ALASKA ST
SEATTLE, WA 98118
UNITED STATES POSTAL SERVICE
75 W 200 N
LOGAN, UT 84321
UNITED STATES POSTAL SERVICE
770 S 13TH ST
BOISE, ID 83708
                                     Page 852
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UNITED STATES POSTMASTER
UNITED STATES POSTAL SERVICE
UNITED STATES TREASURY
INTERNAL REVENUE SERVICE
ODGEN, UT 84201-0039
UNITED STATES TREASURY
INTERNAL REVENUE SERVICE
ATLANTA, GA 39901
UNITED STATES TREASURY
9350 E FLAIR DR
EL MONTE, CA 91731

UNITED STATES WOUNDED SOLIDERS
FOUNDATION
660 PRESTON FOREST #135
DALLAS, TX 75230
UNITED TEACHER LOS ANGELES
TRADE NEWS INTERNATIONAL INC
4444 RIVERSIDE DRIVE #202
BURBANK, CA 91505

UNITED TELEPHONE CO NJ INC DBA
EMBARQ
PO BOX 660068
DALLAS, TX 75266-0068

UNITED TELEPHONE CO NJ INC DBA
EMBARQ
PO BOX 96064
CHARLOTTE, NC 28296-0064

UNITED TITLE COMPANY
500 N BRAND BLVD #1900
GLENDALE, CA 91203
UNITED TITLE SERVICES
229 E ST GEORGE BLVD #200
ST GEORGE, UT 84770

UNITED TROPHY MFG INC
610 N ORANGE AVE
ORLANDO, FL 32801

UNITED WAY FOR SOUTHEASTERN
MICHIGAN
1212 GRISWOLD ST
DETROIT, MI 48226
UNITED WAY OF
GREATER LOS ANGELES
523 W 6TH ST #345
LOS ANGELES, CA 90014

UNITED WAY OF EASTERN
ORLEANS COUNTY
102 N MAIN ST
ALBION, NY 14411

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UNITED WAY OF KING COUNTY
720 2ND AVE
SEATTLE, WA 98104-2266
UNITED WAY OF METROPOLITAN
ATLANTA INC
100 EDGEWOOD AVE
PO BOX 2692
ATLANTA, GA 30303

UNITED WAY OF NE FLORIDA
1301 RIVERPLACE BLVD #400
PO BOX 41428
JACKSONVILLE, FL 32203-1428

UNITED WAY OF NEW YORK CITY
C/O LILLIAN BARRIOS PAOLI
2 PARK AVE 2ND FL
NEW YORK, NY 10016

UNITED WAY OF ORANGE COUNTY
18012 MITCHELL AVE S
IRVINE, CA 92614
UNITED WAY OF PALM BEACH COUNTY
2600 QUANTUM BLVD
BOYNTON BEACH, FL 33426

UNITED WAY OF TREASURE VALLEY
PO BOX 7963
BOISE, ID 83707-1963
UNITY COURIER SERVICE
3231 FLETCHER DR
LOS ANGELES, CA 90065

UNITY MORTGAGE CORPORATION
1405 RTE. 18 SOUTH
OLD BRIDGE, NJ 08857
UNIV OF WASHINGTON FOUNDATION
UNIVERSITY OF WASHINGTON
BOX 352840
SEATTLE, WA 98195-2840
UNIVERISTY OF CAL DAVIS REGENTS
UC REGENTS
CASHIERS OFFICE UC DAVIS
PO BOX 989062
WEST SACRAMENTO, CA 95798-9062
UNIVERSAL ADCOM LLC
DBA FANFARE SPORTS MARKETING
1861 BROWN BLVD #760
ARLINGTON, TX 76006
UNIVERSAL AMERICAN MORTGAGE
6121 BOLLINGER CYN RD #145
SAN RAMON, CA 94583
UNIVERSAL AMERICAN MTGE CORP
UNIVERSAL AMERICAN MORTGAGE
391 N MAIN ST #200
                                       Page 854
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CORONA, CA 92880
UNIVERSAL MAIL DELIVERY SERVICE
PO BOX 60250
LOS ANGELES, CA 90060-0250

UNIVERSITY CHILD DVLPMT SCHOOL
5062 9TH AVE NE
SEATTLE, WA 98125

UNIVERSITY ENTERPRISES INC
CALIFORNIA STATE
6000 J ST
SACRAMENTO, CA 95819

UNIVERSITY MECHANICAL
CONTRACTORS INC
11611 49TH PL W
PO BOX 67
MULKITEO, WA 98275-4255
UNIVERSITY NEIGHBORHOOD
HOUSING PROGRAM INC
2751 GRAND CONCOURSE
BRONX, NY 10468

UNIVERSITY OF DALLAS
CENTER FOR PROFESSIONAL DEVLPMT
1845 E NORTHGATE DR
IRVING, TX 75062

UNIVERSITY OF ILLINOIS
AT CHICAGO
OFFICE OF CAREER SERVICES
1200 W HARRISON #3050
CHICAGO, IL 60607
UNIVERSITY OF NORTH FLORIDA
1 UNF DR
JACKSONVILLE, FL 32224-7699

UNIVERSITY OF OREGON
UNVERSITY OF OREGON
5263 UNIVERSITY OF OREGON
EUGENE, OR 97403
UNIVERSITY OF PHOENIX
UNIVERSITY OF PHOENIX INC
ALUMNI NETWORK
4615 E ELWOOD
PHOENIX, AZ 85040
UNIVERSITY OF PHOENIX INC
4615 E ELWOOD MS AAP202
PHOENIX, AZ 85040
UNIVERSITY OF S FLORIDA
UNIVERSITY OF SOUTH FLORIDA
FOUNDATION INC JIM WALTER
PARTNERSHIP CENTER
4202 E FOWLER AVE ALC 100
TAMPA, FL 33620

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UNIVERSITY OF SOUTH FLORIDA
COMMERCIAL ACCOUNTS
4202 E FOWLER AVE ADM 131
TAMPA, FL 33620-5800
UNIVERSITY OF SOUTH FLORIDA
FOUNDATION INC BOTANICAL GARDEN
4202 E FOWLER AVE NES 107
TAMPA, FL 33620

UNIVERSITY OF SOUTHERN
UNIVERSITY OF SOUTHERN CALIF
CALIFORNIA
WINDNEY ALUMNI HOUSE
635 CHILDS WAY MC 0461
LOS ANGELES, CA 90044-3714

UNIVERSITY OF SOUTHERN CAL
UNIVERSITY OF SOUTHERN CALIF
CTR FOR EFFECTIVE ORGANIZATIONS
3415 S FIGUEROA ST DCC 200
LOS ANGELES, CA 90089-0871

UNIVERSITY OF SOUTHERN CALIF
INGRID MCCENDON CONF COORDINAT
ELAINE & KENNETH LEVENTHAL
SCHOOL OF ACCOUNTING RM 121C
LOS ANGELES, CA 90089-0441

UNIVERSITY OF SOUTHERN CALIF
3601 TROUSDALE PKWY
STUDENT UNION 203
LOS ANGELES, CA 90089-4890

UNIVERSITY OF TEXAS AT AUSTIN
BUSINESS CAREER SERVICES
ATTN LINDA MORAN
1 UNIVERSITY STATION B6200
AUSTIN, TX 78712
UNIVERSITY OF WASHINGTON
CENTER FOR CAREER SERVICES
134 MARY GATES HALL
BOX 352810
SEATTLE, WA 98195-2810
UNIVERSITY OF WASHINGTON
EXECUTIVE EDUCATION CENTER
BOX 353225
SEATTLE, WA 98195-3225
UNIVERSITY OF WASHINGTON
FOUNDATION
222 MILLER HALL
SEATTLE, WA 98195
UNIVERSITY OF WASHINGTON
HUSKY FOOTBALL
PO BOX 570
SEATTLE, WA 98124-0995

UNIVERSITY OF WASHINGTON
SCHOOL OF BUSINESS ADMIN
                                       Page 856
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
BUSINESS &ECONOMIC DEV PROGRAM
BOX 353200
SEATTLE, WA 98195-3200
UNIVERSITY OF WASHINGTON
TACOMA
KEY BANK PROFESSIONAL DEPT CNTR
1900 COMMERCE ST
TOCOMA, WA 98402-3100

UNIVERSITY OF WASHINGTON
UW EXTENSION REGISTRATION SVCS
PO BOX 45010
SEATTLE, WA 98145-0010

UNIVERSITY OF WASHINGTON
1200 5TH AVE #500
SEATTLE, WA 98101-3133
UNIVERSITY OF WASHINGTON
BOX 353225
SEATTLE, WA 98195-3225

UNIVERSITY OF WASHINGTON
PO BOX 3981
SEATTLE, WA 98124-3981
UNIVERSITY OF WASHINGTON FNDTN
UNIVERSITY OF WASHINGTON
MACKENZIE HALL
BOX 353200
SEATTLE, WA 98195-3200

UNIVERSITY SYSTEM OF GEORGIA
FOUNDATION INC
PO BOX 38001
ATLANTA, GA 30334

UNIVISION COMMUNICATIONS INC
500 FRANK W BURR BLVD #20
ATTN CASH APPLICATION 6TH FL
TEANECK, NJ 07666
UNIVISION RADIO
DBA KLOVE KLNV KLQV
600 W BROADWAY #2150
SAN DIEGO, CA 92101

UNIVISION RADIO BROADCAST TX LP
HBC BROADCASTING TEXAS LP
1777 NE LOOP 410
#400
SAN ANTONIO, TX 78217

UNIVISION RADIO BROADCAST TX LP
HBC BROADCASTING TEXAS LP
DBA LA TREMENDA KLAT 1010 AM
5100 SOUTHWEST FREEWAY
HOUSTON, TX 77056
UNIVISION RADIO BROADCASTING
HBC BROADCASTING TEXAS LP
TEXAS L P
                                       Page 857
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10801 N MOPAC EXPRESSWAY
BUILDING 2 #250
AUSTIN, TX 78759
UNIVISION RADIO ILLINOIS INC
625 N MICHIGAN AVE
CHICAGO, IL 60611
UNLIMITED ENVIRONMENTAL INC
1390 32ND ST
SIGNAL HILL, CA 90755
UNLIMITED SOFTWARE ASSOCIATES
ATTN ACCOUNTS RECEIVABLE
318 E KING ST
MALVERN, PA 19355

UNVERSITY OF OREGON
LUNDQUIST COLLEGE OF BUSINESS
1208 UNIVERSITY OF OREGON
GILBERT HALL
EUGENE, OR 97403-1208

UPLAND CHAMBER OF COMMERCE
433 N 2ND AVE
UPLAND, CA 91786
UPP ENTERTAINMENT MARKETING INC
3401 WINONA AVE
BURBANK, CA 91504

UPPER MANHATTAN MENTAL HLTH CTR
1727 AMSTERDAM AVE #274
NEW YORK, NY 10031

UPPER ROOM OUTREACH MINISTRIES
OF MIAMI INC
3800 NW 199TH ST
MIAMI GARDENS, FL 33055
UPS
UNITED PARCEL SERVICE
PO BOX 894820
LOS ANGELES, CA 90189-4820
UPS FREIGHT
28013 NETWORK PLACE
CHICAGO, IL 60673-1280

UPTILT INC
PO BOX 49005
SAN JOSE, CA 95161-9005
URBAN EDUCATION PARTNERSHIP
315 W 9TH ST #1110
LOS ANGELES, CA 90015

URBAN LEAGUE OF
METROPOLITAN SEATTLE
105 14TH AVE
SEATTLE, WA 98122
URBAN LEAGUE OF ESSEX COUNTY
                                       Page 858
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
508 CENTRAL AVE
NEWARK, NJ 07107

URBAN LEAGUE OF GREATER DALLAS
AND NORTH CENTRAL TEXAS INC
4315 S LANCASTER RD
DALLAS, TX 75216-7195
URBAN LEAGUE OF GREATER DALLAS
YOUNG PROFESSIONALS
PO BOX 131997
DALLAS, TX 75313
URBAN LEAGUE OF LONG ISLAND INC
50 CLINTON ST #205
HEMPSTEAD, NY 11550

URBAN LEAGUE OF METROPOLITAN
DENVER INC
5900 E 39TH AVE
DENVER, CO 80207

URBAN LEAGUE OF PORTLAND
10 N RUSSELL ST
PORTLAND, OR 97227

URBAN LEAGUE OF SPRINGFIELD INC
765 STATE ST
SPRINGFIELD, MA 01109

URBAN VILLAGE PUBLISHING INC
WHITE PLAINS WATCH/TIMES
31 MAMARONECK AVE #601
WHITE PLAINS, NY 10601

URI FINANCIAL INC
1290 SCOTT BLVD #100
SANTA CLARA, CA 95050

URS CORPORATION
DEPT 1028
PO BOX 121028
DALLAS, TX 75312-1028

US ALLOYS CO
PO BOX 5468
WALNUT CREEK, CA 94596-1468

US BANK
US BANK NATIONAL ASSOC
CM-9690
ST PAUL, MN 55170-9690
US BANK CORPORATE TRUST
US BANK NATIONAL ASSN
ONE FEDERAL ST
BOSTON, MA 02110

US BANK NATIONAL ASSN DBA
US BANK NATIONAL ASSOC
US BANK TRUST
CM-9703
ST PAUL, MN 55170-9703
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US BANK NATIONAL ASSOC
1200 ENERGY PARK DR
ST PAUL, MN 55108
US COAST GUARD FINANCE CENTER
USCG INSPECTION FEES
PO BOX 70952
CHARLOTTE, NC 28272-0952

US COFFEE
51 ALPHA PLAZA
HICKSVILLE, NY 11801
US COURT OF APPEALS
NON APPROPRIATED FUND
11TH CIRCUIT
56 FORSYTH ST NW
ATLANTA, GA 30303

US DEPARTMENT OF HUD
PO BOX 105664
ATLANTA, GA 30348
US DEPARTMENT OF LABOR
PO BOX 70933
CHARLOTTE, NC 28272-0933

US DEPT OF EDUCATION
NATIONAL PAYMENT CENTER
PO BOX 4142
GREENVILLE, TX 75403-4142

US DEPT OF HUD
C/O MERCANTILE BANK
1005 CONVENTION PLAZA
ST LOUIS, MO 63101

US DEPT OF HUD
C/O MORRIS-GRIFFIN/FIRST
MADISON SVCS
4111 S DARLINGTON #300
TULSA, OK 74135

US DEPT OF HUD
HUD-FOC DEBT GOVERNMENT
LOCKBOX 979056
1005 CONVENTION PLAZA
ST LOUIS, MO 63197-9000
US DEPT OF THE TREASURY
LINEBARGER GOGGAN BLAIR &
SAMPSON LLP
PO BOX 70971
CHARLOTTE, NC 28272-0971
US DIRECT MAIL MONITOR
DBA COMPEREMEDIA INC
34142 EAGLE WAY
CHICAGO, IL 60678-1341

US DISPATCH CORP
DBA MERCURY COURIERS
                                     Page 860
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752 ALOHA ST
SEATTLE, WA 98109-4312

US FUNDING GROUP-OREGON LLC
14300 1ST ST
VANCOUVER, WA 98684
US GREEN BUILDING COUNCIL
PO BOX 404296
ATLANTA, GA 30384-4296
US PAN ASIAN AMERICAN CHAMBER
OF COMMERCE SOUTHWEST
2114 FRANKLIN DR
ARLINGTON, TX 76011

US PARKING & ASSOCIATES INC
1221 BRICKELL AVE #96
MIAMI, FL 33131

US POSTAGE METER CENTER
PO BOX 800848
SANTA CLARITA, CA 91380-0848
US POSTAL SERVICE
POSTAGE DUE UNIT
SACRAMENTO P & DC
3775 INDUSTRIAL BLVD W
SACRAMENTO, CA 95799

US POSTMASTER
401 FRANKLIN ST
HOUSTON, TX 77201-9998

US POSTMASTER
4151 LAKE WORTH RD
LAKE WORTH, FL 33461-9998

US POSTMASTER
10410 PERRIN BEITEL RD
SAN ANTONIO, TX 78265

US POSTMASTER
15701 SHERMAN WAY
VAN NUYS, CA 91406
US POSTMASTER
1615 BRETT RD
NEW CASTLE, DE 19720
US POSTMASTER
1901 W EVANS ST
FLORENCE, SC 29501

US POSTMASTER
21606 DEVONSHIRE ST
CHATSWORTH, CA 91311

US POSTMASTER
2700 CAPLES AVE
VANCOUVER, WA 98661
US POSTMASTER
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301 UNION ST
SEATTLE, WA 98101

US POSTMASTER
3350 S 2940 E
SALT LAKE CITY, UT 84109
US POSTMASTER
4285 PAYNE AVE
SAN JOSE, CA 95117
US POSTMASTER
470 GOLDEN AVE
COOS BAY, OR 97420

US SMALL BUSINESS
ADMINISTRATION OFFICE OF
CREDIT RISK MANAGEMENT
409 3RD ST SW 8TH FLR
WASHINGTON, DC 20416
US SURVEYOR INC
1951 MOMENTUM PL
CHICAGO, IL 60689-5319

US TELEPACIFIC CORP
TELEPACIFIC COMMUNICATIONS
PO BOX 526015
SACRAMENTO, CA 95852-6015

US TRUST COMPANY N A
U. S. TRUST COMPANY, N.A.
ATTN: MR MANNY ROJO
515 S FLOWER STREET #2700
LOS ANGELES, CA 90071-2291

USA DEBT MANAGEMENT INC.
9900 LAKEWOOD BLVD., SUITE 207
DOWNEY, CA 90240
USA DISTRIBUTORS INC
3510 BERGENLINE AVE
UNION CITY, NJ 07087

USA TODAY
THE TENNESSEAN
PO BOX 79002
BALTIMORE, MD 21279-0002

USC CAREER PLANNING
UNIVERSITY OF SOUTHERN CALIF
& PLACEMENT CENTER
3601 TROUSDALE PKWY STU 110
LOS ANGELES, CA 90089-4897
USINTERNETWORKING INC
DEPT LA 22100 LOCKBOX 22100
PASADENA, CA 91185-2100
USPS DISBURSING OFFICER
UNITED STATES POSTAL SERVICE
ACCOUNTING SERVICE CENTER
PO BOX 21666
                                      Page 862
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EAGAN, MN 55121-0666
UTAH FINANCIAL INC
189 FORT UNION BLVD
MIDVALE, UT 84047

UTAH HOUSING COALITION
230 S 500 W #260
SALT LAKE CITY, UT 84101

UTAH INTERACTIVE INC
PO BOX 410451
SALT LAKE CITY, UT 84141-0451
UTAH MARTIN LUTHER KING JR
COMMISSION
324 S STATE ST #500
SALT LAKE CITY, UT 84112
UTAH STATE TAX COMMISSION
210 N 1950 WEST
SALT LAKE CITY, UT 84134

UTAH STATE TREASURER
UNCLAIMED PROPERTY DIVISION
341 S MAIN ST 5TH FL
SALT LAKE CITY, UT 84111

UVERITECH INC
1743 S GRAND AVE
GLENDORA, CA 91740
V & R SHEET METAL LLC
PO BOX 2841
15133 MARTINSON RD
YELM, WA 98597-8519
V N N C INC
3001 VEAZEY TER NW
WASHINGTON, DC 20008

VACAVILLE BOYS & GIRLS CLUB
1625 ALAMO DR
VACAVILLE, CA 95687
VACAVILLE CHAMBER OF COMMERCE
300 MAIN ST
VACAVILLE, CA 95688

VAGABOND WELDING SUPPLY
55870 YUCCA TRAIL
YUCCA VALLEY, CA 92284
VAHAN MAGTESIAN
TROXELL & ASSOCIATES
1201 N PACIFIC AVE #204
GLENDALE, CA 91202

VALENTI HANLEY & ROBINSON PLLC
401 W MAIN ST #1950
LOUISVILLE, KY 40202
VALERIE RIPPERGER
                                      Page 863
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SPORER LAW FIRM P C
108 3RD ST #322
DES MOINES, IA 50309
VALERIE WHITE
PO BOX 671
MAMMOTH LAKES, CA 93546-0671
VALLEY CREDIT SERVICE INC
PO BOX 2046
SALEM, OR 97308
VALLEY CREST
LANDSCAPE MAINTENANCE
PO BOX 57515
LOS ANGELES, CA 90074-7515

VALLEY ECONOMIC DEVT CTR INC
5121 VAN NUYS BLVD 3RD FL
VAN NUYS, CA 91403-2100
VALLEY FORGE AMBUCS
PO BOX 37
EAGLEVILLE, PA 19408-0037

VALLEY HOMES & INVESTMENTS, I
3140   DEL LA CRUZ BLVD STE
SANTA CLARA, CA 95054

VALLEY INDUSTRY & COMMERCE ASSN
5121 VAN NUYS BLVD #203
SHERMAN OAKS, CA 91403

VALLEY MEDICAL CENTER
400 S 43RD ST
PO BOX 50010
RENTON, WA 98058-4024

VALLEY OF THE SUN
YOUNG MENS CHRISTIAN ASSN
350 N 1ST AVE
PHOENIX, AZ 85003
VALLEY TITLE GUARANTEE
502 N 2ND ST
PO BOX 1625
YAKIMA, WA 98907

VALLEY WIDE MORTGAGE CORP
3420 SHEA BLVD #105
PHOENIX, AZ 85028
VALS MOBILE NOTARY
4651 SE TEAKWOOD ST
HILLSBORO, OR 97123
VALUAMERICA CONSULTING LLC
113 TECHNOLOGY DR
PITTSBUGH, PA 15275-1005
VALUATION INC
4535 SW 96TH AVE
BEAVERTON, OR 97005
                                       Page 864
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VALUATION PLUS INC
444 E BOSTON POST RD #101
MAMARONECK, NY 10543
VAN CAMP MEACHAM & NEWMAN PLLC
2 REGIONAL CIRCLE
PO BOX 1389
PINEHURST, NC 28374

VAN RU CREDIT INC.
ATTN: ACCTS RECEIVABLE
1550 N NORTHWEST HWY STE 335
PARK RIDGE, IL 60068

VANESSA CARDENAS DBA
SUPPLY KIT INTERNATIONAL
PO BOX 55622
SANTA CLARITA, CA 91385

VANESSA CARRADINE
HERMAN HERMAN KATZ & COTLAR
820 OKEEFE AVEA
NEW ORLEANS, LA 70113

VANESSA HAYES
5900 ASHWORTH WAY
CARMICHAEL, CA 95608

VANGUARD VAULTS LA INC
VANGUARD VAULTS
9750 KENT ST
ELK GROVE, CA 95624

VANHOUTEN PHOTOGRAPHY
2620 SW 114TH ST
SEATTLE, WA 98146

VARICENT SOFTWARE INC
36 YORK MILLS RD #200
TORONTO, ON M2P 2E9 CANADA

VARNUM RIDDERING SCHMIDT &
HOWLETT LLP
5835 CALLAGHAN #100
SAN ANTONIO, TX 78228

VAROLII CORPORATION
821 2ND AVE #1000
SEATTLE, WA 98104
VARSITY CONTRACTORS INC
PO BOX 1692
POCATELLO, ID 83204
VARSITY PUBLICATIONS INC
PO BOX 825
PEKIN, IL 61555
VASHON HOUSEHOLD
PO BOX 413
VASHON, WA 98070

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VASHON ISLAND GOLF &
COUNTY CLUB
24615 75TH AVE SW
VASHON, WA 98070
VASHON ISLAND LAVENDER
GROWERS ASSOCIATION
PO BOX 303
ATTN KATY JO STEWARD
VASHON, WA 98070
VASHON-MAURY ISLAND
CHAMBER OF COMMERCE
PO BOX 1035
VASHON, WA 98070

VAUGHN WUNSCH MASULLO
ARCHITECTS, P.A.
2631 E OAKLAND PARK BLVD #209
FT LAUDERDALE, FL 33306
VECA ELECTRIC CO INC
PO BOX 80467
SEATTLE, WA 98108

VECTORSGI INC
STERLING COMMERCE
C/O MARSHALL & ILSLEY BANK
PO BOX 88096
MILWAUKEE, WI 53288-0096

VEDIOR HOLDING US INC
60 HARVARD MILL SQUARE
WAKEFIELD, MA 01880

VEER INC
36854 TREASURY CENTER
CHICAGO, IL 60694-6800

VEIRANO E ADVOGADOS ASSOCIADOS
AV PRESIDENTE WILSON
231-23 AN
RIO DE JANEIRO, 20-031-021 BRAZIL

VELIKANJE HALVERSON PC
IN TRUST FOR AMANDA MCCABE
405 E LINCOLN AVE
PO BOX 22550
YAKIMA, WA 98907
VELOCITA WIRELESS LLC
DBA SKYTEL
PO BOX 70849
CHARLOTTE, NC 28272-0849
VELOCITY EXPRESS 323
PO BOX 660329
DALLAS, TX 75266-0329
VELOCITY EXPRESS INC
VELOCITY 341 47635
PO BOX 4730
CAROL STREAM, IL 60197
                                     Page 866
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VEND WEST SERVICES INC
PO BOX 1137
1175 S 7TH ST
COOS BAY, OR 97420

VENICE COMMUNITY HOUSING CORP
720 ROSE AVE
VENICE, CA 90291-2710

VENTURA CHAMBER OF COMMERCE
801 S VICTORIA AVE #200
VENTURA, CA 93003
VENTURA COUNTY CLERK
800 S VICTORIA ST
VENTURA, CA 93003
VENTURA COUNTY COASTAL
ASSN OF REALTORS
2350 WANKEL WAY
OXNARD, CA 93030

VEOLA EVERETT
2907 N 17TH ST
WACO, TX 76705
VEOLA EVERETT DIANE M SMITH AND
THEIR ATTORNEY MARK S KNAPP
114 N 34TH ST
WACO, TX 76714
VERA & ASSOCIATES INC
PO BOX 650578
MIAMI, FL 33265

VERA NIVA
26148 PRIMROSE WAY
MORENO VALLEY, CA 92555
VERDE STEINBERG & PONTELL LLC
ONE PARKER PLAZA
400 KELBY ST
FORT LEE, NJ 07024
VERDIEM CORPORATION
1601 2ND AVE #701
SEATTLE, WA 98101

VERISIGN INC
PO BOX 840849
DALLAS, TX 75284-0849
VERITEXT ACQUISITION
MIDWEST LITIGATION SERVICES
711 N 11TH ST
ST LOUIS, MO 63101

VERITY INC
PO BOX 201051
DALLAS, TX 75320-1051
VERITY INC
                                       Page 867
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892 ROSS DR
SUNNYVALE, CA 94089

VERIZON
VERIZON NEW YORK INC
PO BOX 15124
ALBANY, NY 12212-5124
VERIZON
PO BOX 1100
ALBANY, NY 12250-0001
VERIZON
PO BOX 28000
LEHIGH VALLEY, PA 18002-8000

VERIZON
PO BOX 4648
TRENTON, NJ 08650-4648

VERIZON
PO BOX 4820
TRENTON, NJ 08650-4820
VERIZON
PO BOX 4830
TRENTON, NJ 08650-4830

VERIZON
PO BOX 4833
TRENTON, NJ 08650-4833
VERIZON
PO BOX 4836
TRENTON, NJ 08650-4836

VERIZON
PO BOX 650457
DALLAS, TX 75265-0457
VERIZON
PO BOX 660720
DALLAS, TX 75266-0720

VERIZON
PO BOX 660748
DALLAS, TX 75286-0748

VERIZON
PO BOX 9688
MISSION HILLS, CA 91346-9688
VERIZON ADVANCED DATA INC
PO BOX 14084A
NEWARK, NJ 07198-0084
VERIZON BUSINESS
MCI Communications Services
PO BOX 371873
PITTSBURGH, PA 15250-7873

VERIZON BUSINESS
LOCKBOX #21
                                     Page 868
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 382008
PITTSBURGH, PA 15250-8008

VERIZON CALIFORNIA
PO BOX 9622
MISSION HILLS, CA 91346-9622
VERIZON DIRECTORIES CORP
PO BOX 619009
DFW AIRPORT, TX 75261-9009
VERIZON INTERNET SOLUTIONS
PO BOX 12045
TRENTON, NJ 08650

VERIZON NEW ENGLAND INC
PO BOX 1
WORCHESTER, MA 01654-0001
VERIZON NEW YORK INC
PO BOX 15025
ALBANY, NY 12212-5025

VERIZON SELECT SERVICES
VERIZON SELECT SERVICES INC
PO BOX 101956
ATLANTA, GA 30392

VERIZON SELECT SERVICES INC
PO BOX 650457
DALLAS, TX 75265-0457
VERIZON SOUTHWEST
VERIZON
PO BOX 920041
DALLAS, TX 75392-0041
VERIZON WIRELE SERVICES LLC
VERIZON WIRELESS SERVICES LLC
1305 SOLUTIONS CENTER
CHICAGO, IL 60677-1303

VERIZON WIRELE SERVICES LLC
VERIZON WIRELESS SERVICES LLC
VERIZON WIRELE
PO BOX 660108
DALLAS, TX 75266-0108

VERIZON WIRELESS
VERIZON WIRELESS SERVICES LLC
PO BOX 25505
LEHIGH VALLEY, PA 18002-5505
VERMONT DEPARTMENT OF TAXES
133 STATE ST
MONTPELIER, VT 05633

VERMONT SLAUSON LOCAL
DEVELOPMENT CORPORATION
5918 S VERMONT AVE
LOS ANGELES, CA 90044-3714
VERMONT ST TREASURERS OFFICE
                                     Page 869
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UNCLAIMED PROPERTY ACCOUNT
OFFICE OF THE STATE TREASURER
133 STATE ST
MONTPELIER, VT 05633-6200
VERNON HILLS PARK DISTRICT
ATTN MONICA DEL ANGEL
294 N EVERGREEN DR
VERNON HILLS, IL 60061

VERO BEACH POLICE DEPT
1055 20TH ST
VERO BEACH, FL 32960-6441
VERONIQUE L GNEBHI ARAK
ALAN J GOLDBERG GOLDBERG
SCUDIERI LINDENBERG & BLOCK PC
45 W 45TH ST #1401
NEW YORK, NY 10036

VEROS REAL ESTATE SOLUTIONS
PO BOX 6496
SANTA ANA, CA 92706
VERSATILE MORTGAGE FUNDING CO
13561 WEST BAYSHORE DR #2050
TRAVERSE CITY, MI 49684

VERTEX INC
W510248
PO BOX 7777
PHILADELPHIA, PA 19175-0248

VEYSMAN & VEYSMAN INC
1425 IRVING ST
SAN FRANCISCO, CA 94122
VIATECH PUBLISHING SOLUTIONS
PO BOX 503433
ST LOUIS, MO 63150-3433

VIATICAL SERVICES INC
43 S POMPANO PKWY PMB#101
POMPANO BEACH, FL 33069
VIC-CHAR CORP
DBA ANTELOPE VALLEY SICKROOM
44814 N DATE AVE
LANCASTER, CA 93534
VICENTE RUIZ
DBA REDWOOD CATERING
2684 MIDDLEFIELD RD ST G
REDWOOD CITY, CA 94064
VICI RABE
DBA ESSENTIAL HEALTH CENTER
121 PELLY AVE N
RENTON, WA 98057
VICKI L WINN
26113 SUMNER BUCKLEY HWY
BUCKLEY, WA 98321
                                      Page 870
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VICTOR BUMANGLAG
295 89TH STREET #100
DALY CITY, CA 94015
VICTOR ELEMENTARY SCHOOL DIST
DBA LIBERTY ELEMENTARY SCHOOL
12900 AMETHYST RD
VICTORVILLE, CA 92392

VICTOR VALLEY
ASSOCIATION OF REALTORS INC
11890 HESPERIA RD
HESPERIA, CA 92345-1897

VICTORIA C SPELLMAN T&I
SERVICES INC
13132 COPPER BROOK WAY
HERNDON, VA 20171

VICTORIA HARRIS INC
110 110TH AVE NE #580
BELLEVUE, WA 98004
VICTORIA L BAILEY
DBA VICKY BAILEY CONSULTING
19109 DELLWOOD DR
EDMONDS, WA 98026

VICTORIA PARTNERS
DBA MONTE CARLO RESORT & CASINO
3770 LAS VEGAS BLVD S
ATTN ACCOUNT RECEIVABLE
LAS VEGAS, NV 89109

VICTORVILLE CHAMBER OF COMMERCE
PO BOX 997
VICTORVILLE, CA 92393-0997

VICTORVILLE PUBLISHING CO &
VICTOR VALLEY PUBLISHING CO PTR
DBA DAILY PRESS/DESERT DISPATCH
PO BOX 1389
VICTORVILLE, CA 92393-1389
VICTORY PARKING
PO BOX 1710
SAN JOSE, CA 95109-1710

VIDEO MONITORING SERVICES
OF AMERICA LP
PO BOX 34618
NEWARK, NJ 07189-4618

VIDEO REPORTER INC
NATIONAL ADVERTISING CENTER
MOVIES SPORTS & MORE
21107 VANOWAN ST
CANOGA PARK, CA 91303
VIDEX INC
1105 NE CIRCLE BLVD
CORVALLIS, OR 97330-4255
                                       Page 871
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VIDTECH AUDIO VISUAL
1974B OHIO ST
LISLE, IL 60532-2150
VIETNAMESE COMMUNITY ACTIVITY
CENTER
6951 MLK JR WAY S #206
SEATTLE, WA 98118

VIEWPOINT MORTGAGE INC
3700 WILSHIRE BLVD # 534
LOS ANGELES, CA 90010
VIF II LAKESIDE LLC
PO BOX 100722
ATLANTA, GA 30384-0722
VIGNETTE CORPORATION
1301 S MOPAC EXPRESSWAY STE 100
AUSTIN, TX 78746

VILES AND BECKMAN LLC
6350 PRESIDENTIAL COURT #A
FORT MYERES, FL 33919

VILLAGE FAMILY SERVICE CENTER
PO BOX 9859
1201-25TH ST S
FARGO, ND 58106-9859

VILLAGE NEWS INC
127 WEST ELDER ST
FALLBROOK, CA 92028

VILLAGE OF ROYAL PALM BEACH
OCCUPATIONAL LICENSES
1050 ROYAL PALM BEACH BLVD
ROYAL PALM BEACH, FL 33411-1678
VILLAGE OF ADDISON
3 FRIENDSHIP PLAZA
ADDISON, IL 60101

VILLAGE OF ALSIP
4500 W 123RD ST
ALSIP, IL 60803

VILLAGE OF ARLINGTON HEIGHTS
33 S ARLINGTON HTS RD
ARLINGTON HEIGHTS, IL 60005
VILLAGE OF BROADVIEW
2350 S 25TH AVE
BROADVIEW, IL 60155
VILLAGE OF BUFFALO GROVE
50 RAUPP BLVD
BUFFALO, IL 60089-2100
VILLAGE OF CALUMET PARK
12409 S THROOP ST
CALUMET PARK, IL 60827
                                       Page 872
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VILLAGE OF ELK GROVE VILLAGE
FINANCE DEPARTMENT
901 WELLINGTON AVE
ELK GROVE VILLAGE, IL 60007

VILLAGE OF FOREST PARK
517 DESPLAINES AVE
FOREST PARK, IL 60130

VILLAGE OF GLEN ELLYN
535 DUANE ST
GLEN ELLYN, IL 60137
VILLAGE OF GLENDALE HEIGHTS
300 CIVIC CENTER PLAZA
GLENDALE HEIGHTS, IL 60139
VILLAGE OF HAZEL CREST
2903 W 175TH ST
HAZEL CREST, IL 60429

VILLAGE OF HEMPSTEAD
99 NICHOLS COURT
HEMPSTEAD, NY 11550

VILLAGE OF HOFFMAN ESTATES
1900 HASSELL RD
HOFFMAN ESTATES, IL 60169-6308

VILLAGE OF LYONS
7801 W OGDEN AVE
LYONS, IL 60534

VILLAGE OF MORTON GROVE
MORTON GROVE POLICE DEPT
ATTN SUPPORT SERVICES
6101 CAPULINA AVE
MORTON GROVE, IL 60053
VILLAGE OF MOUNT PROSPECT
50 S EMERSON ST
MOUNT PROSPECT, IL 60056

VILLAGE OF NILES
1000 CIVIC CTR DR
NILES, IL 60714

VILLAGE OF NORRIDGE
VILLAGE CLERK
4000 N OLCOTT AVE
NORRIDGE, IL 60706-1199
VILLAGE OF NORTHBROOK
1225 CEDAR LN
NORTHBROOK, IL 60062-4582

VILLAGE OF OAK LAWN
9446 S RAYMOND AVE
OAK LAWN, IL 60453

VILLAGE OF ORLAND PARK
ATTN CHRIS KRYGOWSKI BLDG DEPT
                                      Page 873
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14700 S RAVINIA AVE
ORLAND PARK, IL 60462

VILLAGE OF PALATINE
200 E WOOD ST
PALATINE, IL 60067
VILLAGE OF PALMETTO BAY
8950 SW 152 ST
PALMETTO BAY, FL 33157
VILLAGE OF PALMETTO BAY
8950 SW 152 ST
PALMETTO BAY, FL 33167

VILLAGE OF PINECREST FLORIDA
12645 PINECREST PKWY
PINECREST, FL 33156
VILLAGE OF RIDGEWOOD
RIDGEWOOD POLICE DEPARTMENT
131 N MAPLE AVE
RIDGEWOOD, NJ 07450
VILLAGE OF RIVER FOREST
400 PARK AVE
RIVER FOREST, IL 60305

VILLAGE OF SCHAUMBURG
ATCHER MUNICIPAL CENTER
101 SCHAUMBURG CT
SCHAUMBURG, IL 60193-1899

VILLAGE OF SKOKIE
ATTN COLLECTIONS
5127 OAKTON
SKOKIE, IL 60077

VILLAGE OF SOUTH HOLLAND
16226 WAUSAU AVE
SOUTH HOLLAND, IL 60473

VILLAGE OF VERNON HILLS
290 EVERGREEN DR
VERNON HILLS, IL 60061-2999
VILLAGE OF WELLINGTON
12794 W FOREST HILL BLVD 23
WELLINGTON, FL 33414
VILLAGE OF WESTCHESTER
10300 ROOSEVELT RD
WESTCHESTER, IL 60154

VINCENT BUSSEY
[Address to Be Provided]

VINCENT CICERO
2145 80TH ST
BROOKLYN, NY 11214

VINCENT D QUINN & ASSOC INC
111 N ESSEX AVE
                                     Page 874
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
NARBERTH, PA 19072
VINCENT FILIPPELLI
DBA HIGH VOLTAGE SOUNDS
313 N ALBANY AVE
N MASSAPEQUA, NY 11758
VINCENT HUI
[Address Information Redacted]

VINCENZO CASERTA
17333 CHASE ST
NORTHRIDGE, CA 91325
VINCI LAW OFFICE LLC
3091 S JAMAICA CT #150
AURORA, CO 80014
VIOLA JOHNSON
PO BOX 2218
SNOHOMISH, WA 98291-2218

VIOLET THE CLOWN
PO BOX 191
NAPA, CA 94559

VIRGIN ISLANDS OFFICE
OF THE COMMISSIONER
DIVISION OF BANKING
18 KONGENS GADE CHARLOTTE
AMALIE, ST THOMAS 00802 VI
VIRGINIA DEPARTMENT OF TAX
VIRGINIA DEPARTMENT OF TAXATION
PO BOX 27407
RICHMOND, VA 23261-7407
VIRGINIA DEPARTMENT OF TAXATION
PO BOX 1500
RICHMOND, VA 23218-1500

VIRGINIA DOOLEN
[Address Information Redacted]

VIRGINIA G LAWSON
1317 13TH AVE S
SEATTLE, WA 98144

VIRGINIA WINDOW CLEANERS INC
6913 OLD DOMINION DR
MCLEAN, VA 22101
VIRTUAL HOLD TECHNOLOGY LLC
PO BOX 714870
COLUMBUS, OH 43271-4870
VIRTUALPREMISE INC
1900 EMERY ST #300
ATLANTA, GA 30318
VISA USA INC
FILE NO 73583
PO BOX 60000
                                       Page 875
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SAN FRANCISCO, CA 94160-3583
VISALIA CHAMBER OF COMMERCE
220 N SANTA FE AVE
VISALIA, CA 93292

VISALIA COMMUNITY SERVICES
COUNCIL
309 W MAIN ST
VISALIA, CA 93291
VISION CONTRACTING
PO BOX 7883
HOUSTON, TX 77270

VISION ENTERPRISES
LEGAL DEPARTMENT
286 NORTHERN BLVD
GREAT NECK, NY 11021

VISION HUNTINGTON INC
24 WOODBINE AVE #1
NORTHPORT, NY 11768
VISION INSPIRES SYNERGY IN
ORGANIZATIONS NATIONWIDE
PO BOX 6732
EPORT STATION
ELIZABETH, NJ 07206

VISION MEDIA MARKETING
DBA THE MEDIA CENTER
854 8TH ST
SECAUCUS, NJ 07094

VISTA CHAMBER OF COMMERCE
201 WASHINGTON ST
VISTA, CA 92084

VISTA CONVENTION SERVICES
6804 DELILAH RD
PO BOX 3000
PLEASANTVILLE, NJ 08232-0036

VISUAL CREDIT COUNSELING
P O BOX 430
BUCKEYSTOWN, MD 21717

VISUAL SCIENCES INC
DEPT 892232
PO BOX 122232
DALLAS, TX 75312-2232
VISUAL SCIENCES LLC
13450 SUNRISE VALLEY DR
HERNDON, VA 20171

VISUAL SCIENCES LLC
1616 ANDERSON RD
MCLEAN, VA 22102

VITALSMARTS
ATTN MICHAEL POORE
                                     Page 876
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282 W RIVER BEND LN #100
PROVO, UT 84604

VIVA USA INC
3601 ALGONQUIN RD #425
ROLLING MEADOWS, IL 60008
VLADIMIR GRUNTKOVSKIT DBA
OUR NEWS
PO BOX 56505
PORTLAND, OR 97238
VLADISLAV CHERNOGUZ INC
RCI FINANCIAL CORP
369 HAYES ST
SAN FRANCISCO, CA 94102

VMP MORTGAGE SOLUTIONS INC DBA
WOLTERS KLUWER FINANCIAL SVCS
8832 INNOVATION WAY
CHICAGO, IL 60682-0088

VMWARE INC
DEPT CH 10806
PALATINE, IL 60055-0806

VNU BUSINESS MEDIA
BRANDWEEK
NIELSEN
PO BOX 88915
CHICAGO, IL 60695-1915
VOCATIONAL FOUNDATION INC
52 BROADWAY 6TH FL
NEW YORK, NY 10004

VOCATIONAL INSTRUCTION PROJECT
COMMUNITY SERVICES INC
1910 ARTHUR AVE 4TH FL
BRONX, NY 10457

VOGEL LAW FIRM
VOGEL WEIR HUNKE & MCCORMICK
PO BOX 1389
FARGO, ND 58107-1389
VOICE OF VIET NAM IN HOUSTON
2900 TRAVIS ST #A
HOUSTON, TX 77006
VOICECOM TELECOMMUNICATIONS
DBA INTELLIVERSE
8130 INNOVATION WAY
CHICAGO, IL 60682-0081
VOLT MANAGEMENT CORP
VOLT MANAGEMENT CORPORATION
DBA VOLT WORKFORCE SOLUTIONS
FILE #53102
LOS ANGELES, CA 90074-3102

VOLT MANAGEMENT CORPORATION
DBA VOLT TEMPORARY SERVICES
                                      Page 877
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FILE # 53102
LOS ANGELES, CA 90074-3102

VOLUME SERVICES OF AMERICA INC
VOLUME SERVICES AMERICA
DBA CENTERPLATE
24 WILLIE MAYS PLAZA
SAN FRANCISCO, CA 94107

VOLUNTEER ACTION CENTER
OF BROWARD COUNTY
1300 S ANDREW AVE
FT LAUDERDALE, FL 33316
VOLUNTEER FLORIDA INC
401 S MONROE ST
TALLAHASSEE, FL 32301
VOLUNTEER SAN DIEGO
4699 MURPHY CANYON RD
SAN DIEGO, CA 92123

VOLUNTEER USA FOUNDATION INC
516 N ADAMS ST
TALLAHASSEE, FL 32301

VOLUNTEERS OF AMERICA INC
VOLUNTEERS OF AMERICA
2660 LARIMER ST
DENVER, CO 80205

VOLUSIA COUNTY FAIR ASSN INC
3150 E NEW YORK AVE
DELAND, FL 32724-6410

VON ESCH & VON ESCH
810 E COMMONWEALTH AVE
FULLERTON, CA 92831

VONTU INC
475 SANSOME ST #2000
SAN FRANCISCO, CA 94111
VOORHEES VENTURES INC DBA
JVM LENDING
425 EL PINTADO RD
DANVILLE, CA 94526

VORTEX CORPORATION
FILE 1095
1801 W OLYMPIC BLVD
PASADENA, CA 91199-1095
VORYS SATER SEYMOUR & PEASE LLC
PO BOX 73487
CLEVELAND, OH 44193

VOSS PROPERTIES LLC
DBA CENTURY 21 PENISULA REALTY
6110 N LOMBARD
PORTLAND, OR 97203
VOUNDLYN HENDERSON
                                       Page 878
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TANYA GREENE WALLACE
HERMES SARGENT
901 MAIN ST #5200
DALLAS, TX 75202
VP PARTNERS INC
BACK BAY FUNDING
881 DOVER DR # 380
NEWPORT BEACH, CA 92663

V-TECH GROUP INC
111 S SUTTER
STOCKTON, CA 95219
VURV TECHNOLOGY INC
DEPT AT 952378
ATLANTA, GA 31192-2378
VYANET OPERATING GROUP INC
SONITROL
748 GOODPASTURE ISLAND RD
EUGENE, OR 97401

W & D ASSOCIATES LLC
DBA KUDETA
27 TEMPLE ST
NEW HAVEN, CT 06510

W A SHILLING INC
WILLS PLUMBING & TESTING SVC
318 E NAKOMA WAREHOUSE #3
SAN ANTONIO, TX 78216

W A WHITELAW & CO INC
WHITELAW WHOLESALE
20 W JACKSON ST
MEDFORD, OR 97501

W C PINKARD & CO INC
DBA COLLIERS PINKARD
100 LIGHT ST #1400
BALTLMORE, MD 21202
W J CREDIT CONSUMER OF TEXAS
2211 S IH 35 #104
AUSTIN, TX 78741

W M HUYCK
4004-3G CALLE SANRA OESTE
LAGUNA HILLS, CA 92653
W W GRAINGER INC
GRAINGER
DEPT 729 - 850983206
PALATINE, IL 60038-0001
W2007 SEATTLE OFFICE
1111 3RD AVE REALTY LLC
6011 CONNECTION DR
IRVING, TX 75039

WACHOVIA BANK
401 N MARKET ST
                                     Page 879
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PHILADELPHIA, PA 19101
WACHOVIA BANK NATIONAL AOC
WACHOVIA BANK
CORPORATE TRUST DEPT
FINANCE GROUP NC1196
1525 W WT HARRIS BLVD 3C3
CHARLOTTE, NC 28288

WADLEIGH STARR & PETERS PLLC
95 MARKET ST
MANCHESTER, NH 03101
WAGE GARNISHMENT PROCESSING
NC DEPARTMENT OF REVENUE
PO BOX 25000
RALEIGH, NC 27640-0150
WAGERS INC
DBA IDAHO CANDY COMPANY
PO BOX 1217
BOISE, ID 83701-1217

WAGEWORKS INC
1100 PARK PL 4TH FL
SAN MATEO, CA 94403
WAGNER & HUNT PA
PO BOX 934788
MARGATE, FL 33093-4788

WAKE COUNTY REGISTER OF DEEDS
300 S SALISBURY
RALEIGH, NC 27601

WAKEFIELD & ASSOCIATES INC
3091 S JAMAICA CT #200
AURORA, CO 80014

WAKELAND HOUSING &
DEVELOPMENT CORPORATION
1230 COLUMBIA ST #950
SAN DIEGO, CA 92101

WALKUP ELECTRICAL CONSTRUCTION
LLC
3233 SOUTH CASHUA
FLORENCE, SC 29501

WALL STREET JOURNAL - SUBSCRPTN
DOW JONES & CO
PO BOX 7030
CHICOPEE, MA 01021-7030

WALLACE KUHL & ASSOCIATES INC
PO BOX 1137
WEST SACRAMENTO, CA 95691

WALLENE NELSON INC
SYCAMORE CREEK REAL ESTATE SVCS
533 SYCAMORE VALLEY RD
DANVILLE, CA 94526

                                       Page 880
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WALNUT CREEK CHAMBER
OF COMMERCE
1777 BOTELHO DR #103
WALNUT CREEK, CA 94596
WALNUT CREEK LIBRARY FOUNDATION
PO BOX 4979
WALNUT CREEK, CA 94596

WALSH MEDIA INC
DBA JINGLE PHONE PRODUCTIONS
2100 CLEARWATER DR #201
OAK BROOK, IL 60523
WALSH MEDIA INC
2100 CLEARWATER DR #201
OAK BROOK, IL 60523
WALSTEAD MERTSCHING PS
DBA MARK BRUMBAUGH
PO BOX 1549
LONGVIEW, WA 98632

WALT DISNEY WORLD
WALT DISNEY WORLD CAST
DISNEYLAND RESORT
1150 W MAGIC WAY
ANAHEIM, CA 92802

WALTER BERNSTENGEL
DBA NEW LEAF
PO BOX 4134
CHICO, CA 95927

WALTER E. RYAN
[Address to Be Provided]
WALTER HOLLY JR
10853 GARLAND AVE
CULVER CITY, CA 90232

WALZ CERTIFIED MAIL SOLUTIONS
43234 BUSINESS PARK DR #107
TEMECULA, CA 92590-3604
WALZ POSTAL SOLUTIONS INC
43234 BUSINESS PARK DR #107
TEMECULA, CA 92590-3604

WAMU INSTITUTIONAL INVESTOR GROUP
[Address to Be Provided]
WAMU INVESTMENTS FBO
KENNETH HENSLEY A C #N17 280135
1321 WESTWOOD WAY
WOODLAND, CA 95695

WANKER PRODUCTIONS INC DBA
THE BEATNIKS
3620 31ST AVE W
SEATTLE, WA 98199
WAR ON POVERTY - FLORIDA INC
                                       Page 881
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5196 A NORWOOD AVE
JACKSONVILLE, FL 32208

WARD & OLIVO
382 SPRINGFIELD AVE
SUMMIT, NJ 07901
WARD DAMON & POSNER P A
4420 BEACON CIRCLE #100
WEST PALM BEACH, FL 33407
WARD ECONOMIC DEVELOPMENT CORP
PO BOX 7231
LOS ANGELES, CA 90007

WARDROP & WARDROP PC
#150 FREY BLDG
300 OTTAWA AVE NW
GRAND RAPIDS, MI 49503

WARGO & FRENCH LLP
1170 PEACHTREE ST NE #2020
ATLANTA, GA 30309
WARING MCLAUGHLIN INC
DBA WARING ASSOCIATES
1875 LAWRENCE ST #700
DENVER, CO 80202

WARNER SMITH AND HARRIS PLC
PO BOX 1626
FORT SMITH, AR 72902

WARNER WEST PLAZA
C/O YALE MANAGEMENT SVC INC
22020 CLARENDON ST #303
WOODLAND HILLS, CA 91367

WARONKER & ROSEN INC
5730 SW 74TH ST #200
SOUTH MIAMI, FL 33143

WARREN COUNTY CLERK
ATTN RECORDS
429 EAST 10TH ST
BOWLING GREEN, KY 42101

WARREN SERENBETZ
HUNTER HILL WEST ST
HARRISON, NY 10528
WARTER & ASSOCIATES
218 JUNIPERO CT
PO BOX 1487
CAPITOLA, CA 95010
WASHINGTON ARBITRATION &
MEDIATION SERVICE I INC
600 UNIVERSITY ST #900
SEATTLE, WA 98101

WASHINGTON ATTORNEY GENERAL'S OFFICE
ATTN BANKRUPTCY DEPARTMENT
                                       Page 882
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
900 FOURTH ST., STE. 2000
OLYMPIA
WA, 98504-0100 360-753-6200
WASHINGTON BANKERS ASSOCIATION
1601 5TH AVE #1120
SEATTLE, WA 98101
WASHINGTON BASKETBALL
GROUP INC
6022 CLARIDGE
HOUSTON, TX 77096
WASHINGTON BLADE
1408 U ST NW 2ND FLR
WASHINGTON, DC 20009

WASHINGTON COMMUNITY ALLIANCE
FOR SELF HELP
2100 24TH AVE S #380
SEATTLE, WA 98144

WASHINGTON COUNTY
ALARM PERMITS
215 SW ADAMS AVE #32
HILLSBORO, OR 97123
WASHINGTON COUNTY
FINANCE DIVISION
SUITE 330 25 155 N 1ST AVE
HILLSBORO, OR 97124-3072
WASHINGTON COURAGE & RENEWAL
801 23RD AVE S #205
SEATTLE, WA 98144

WASHINGTON DEPT. OF REVENUE
ATTN BANKRUPTCY DEPARTMENT
PO BOX 47464
OLYMPIA
WA, 98504-7464 206-956-3004

WASHINGTON EDUCATION FOUNDATION
1605 NW SAMMAMISH RD #100
ISSAQUAH, WA 98027
WASHINGTON FINANCE OFFICERS
WESTERN ASSN OF STUDENT
ASSOCIATION 2008 CONFERENCE
2601 FOURTH AVE #800
SEATTLE, WA 98121-1280
WASHINGTON FINANCIAL LEAGUE
WESTERN ASSN OF STUDENT
1501 S CAPITOL WAY #203
OLYMPIA, WA 98501-2293

WASHINGTON JEFFERSON PARTNERS
POTTER TAYLOR & COMPANY
ATTN LEASE ADMINISTRATION
1792 TRIBUTE ROAD #270
SACRAMENTO, CA 95815

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
WASHINGTON LOAN CENTER INC
14042 NE 8TH ST # 204
BELLEVUE, WA 98007
WASHINGTON LOW INCOME
HOUSING ALLIANCE
811 1ST AVE #408
SEATTLE, WA 98104

WASHINGTON MTGE LENDERS ASSN
PO BOX 141
OLYMPIA, WA 98507-0141
WASHINGTON MUNICIPAL
WASHINGTON MUNICIPAL TREAS ASSN
TREASURERS ASSOCIATION
2601 4TH AVE #800
SEATTLE, WA 98121-1280
WASHINGTON MUNICIPAL TREASURERS
WASHINGTON MUNICIPAL TREAS ASSN
ASSOC VICKIE STOREY TREASURER
CITY OF CLARKSTON
830 5TH ST
CLARKSTON, WA 99403

WASHINGTON MUTUAL BANK
BANKCARD CENTER
PO BOX 4180
BEAVERTON, OR 97076-4180

WASHINGTON MUTUAL BANK
BANKCARD CENTER
BEAVERTON, OR 97076-4180

WASHINGTON MUTUAL BANK
WASHINGTON MUTUAL BANK FA
WASHINGTON MUTUAL BANK
LEGAL DEPT OPERATING ACCOUNT
MIAMI/CIVIC CENTER
0355LGFL
WASHINGTON MUTUAL BANK FA
WASHINGTON MUTUAL BANK
LEGAL DEPT PETTY CASH ACCOUNT
NSC1175,

WASHINGTON MUTUAL BANKCARD CTR
TELEPRESS INC
CORPORATE EXPRESS WAMU PURCH
ATTN KIM WILSON
12655 SW CENTER ST #180
BEAVERTON, OR 97005
WASHINGTON MUTUAL BANKCARD CTR
WASHINGTON MUTUAL BANK
ATTN KIM WILSON
12655 SW CENTER ST #180
BEAVERTON, OR 97005

WASHINGTON MUTUAL BANKCARD CTR
WASHINGTON MUTUAL BANK
                                       Page 884
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IKON WAMU PURCH
ATTN KIM WILSON
12655 SW CENTER ST #180
BEAVERTON, OR 97005
WASHINGTON MUTUAL BANKCARD CTR
WASHINGTON MUTUAL BANK
XEROX
ATTN KIM WILSON
12655 SW CENTER ST #180
BEAVERTON, OR 97005
WASHINGTON MUTUAL CARD SERVICES
PROVIDIAN FINANCIAL CORPORATION
ATTN TODD SWAIM
PO BOX 660026
DALLAS, TX 75266-0026
WASHINGTON MUTUAL LEADERSHIP
WASHINGTON MUTUAL BANK
CENTER AT CEDARBROOK
ATTN ACCOUNTING DEPARTMENT
18525 36TH AVE S
SEATAC, WA 98188

WASHINGTON OREGON CLAIM SERVICE
PO BOX 25549
SEATTLE, WA 98165-1049

WASHINGTON PARTNERS INC
701 PIKE ST #1650
SEATTLE, WA 98101

WASHINGTON PUBLIC UTILITY
DISTRICTS ASSOCIATION
212 UNION AVE SE 2ND FLR
OLYMPIA, WA 98501

WASHINGTON RESEARCH COUNCIL
DEPT #203
PO BOX 34935
SEAATLE, WA 98124-1935
WASHINGTON ROUNDTABLE
520 PIKE ST #1212
SEATTLE, WA 98101

WASHINGTON SCHOOL PRINCIPALS
EDUCATION FOUNDATION
1021 8TH AVE SE
OLYMPIA, WA 98501-1500
WASHINGTON SECRETARY OF STATE
PO BOX 40234
OLYMPIA, WA 98504-0234
WASHINGTON SELF INSURERS ASSN
1401 4TH AVE E #200
OLYMPIA, WA 98506
WASHINGTON SOCIETY OF CPA'S
WASHINGTON SOCIETY OF CPA&#39S
902 140TH AVE NE
                                       Page 885
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BELLEVUE, WA 98005-3480
WASHINGTON SOFTWARE ALLIANCE
MEMBERSHIP RENEWAL
PO BOX 34935 DEPT 18
SEATTLE, WA 98124-1935
WASHINGTON STATE
INSURANCE COMMISSIONER
5000 CAPITOL BLVD
TUMWATER, WA 98501
WASHINGTON STATE BAR ASSN
PO BOX 84587
SEATTLE, WA 98124-5887

WASHINGTON STATE BOARD
OF ACCOUNTANCY
PO BOX 43113
OLYMPIA, WA 98504-3113
WASHINGTON STATE BUSINESS
LEADERSHIP NETWORK
PO BOX 1344
BELLEVUE, WA 98009-1344

WASHINGTON STATE COALITION
FOR THE HOMELESS
PO BOX 7436
TACOMA, WA 98417-0436

WASHINGTON STATE CONVENTION
& TRADE CENTER
800 CONVENTION PL
SEATTLE, WA 98101

WASHINGTON STATE DEPT OF
COMMUNITY TRADE ECONOMICAL DEV
906 COLUMBIA ST SW
OLYMPIA, WA 98504

WASHINGTON STATE FARM WORKER
HOUSING TRUST
1402 3RD AVE #709
SEATTLE, WA 98101
WASHINGTON STATE HOLOCAUST
EDUCATION RESOURCE CENTER
2031 3RD AVE
SEATTLE, WA 98121
WASHINGTON STATE HOUSING
FINANCE COMMISSION
1000 2ND AVE #2700
SEATTLE, WA 98104-7139
WASHINGTON STATE INSURANCE
PROMISSOR
COMMISSIONER
PO BOX 40257
OLYMPIA, WA 98504-0257
WASHINGTON STATE OFFICE
                                      Page 886
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
OF INSURANCE COMMISSIONER
PO BOX 40257
OLYMPIA, WA 98504-0257
WASHINGTON STATE PATROL
ID SECTION
PO BOX 40257
OLYMPIA, WA 98504-0257

WASHINGTON STATE SUPPT REGISTRY
PO BOX 45868
OLYMPIA, WA 98504-5868
WASHINGTON STATE TREASURER
DEPT OF FINANCIAL INSTITUTIONS
PO BOX 41200
OLYMPIA, WA 98504-1200
WASHINGTON STATE TREASURER
DOL-NOTARY SECTION
PO BOX 9027
OLYMPIA, WA 98507-9027

WASHINGTON STATE TREASURER
MASTER LICENSE SERVICE
PO BOX 9034
OLYMPIA, WA 98507-9034

WASHINGTON STATE UNIVERSITY
WASHINGTON STATE
ACCOUNTING DEVELOPMENT FUND
PO BOX 644729
PULLMAN, WA 99164-4729

WASHINGTON STATE UNIVERSITY
WASHINGTON STATE
CAREER SERVICES EXPO
PO BOX 641061
180 LIGHTLY STUDENT SERVICES BL
PULLMAN, WA 99164-1061

WASHINGTON WOMEN LAWYERS
FOUNDATION
PO BOX 4275
SEATTLE, WA 98194
WASHINGTON WOMEN'S
WASHINGTON WOMEN&#39S
EMPLOYMENT & EDUCATION
3516 S 47TH #205
TACOMA, WA 98409
WASTE CONNECTIONS INC
DBA OLYMPIC DM DISPOSAL
DEPT 1433
LOS ANGELES, CA 90084-1433

WAT BUDDHANUSORN
36054 NILES BLVD
FREMONT, CA 94536

WATAUGA ELEMENTARY SCHOOL
5937 WHITELY RD
                                       Page 887
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WATAUGA, TX 76148
WATAUGA MIDDLE SCHOOL
6300 MAURIE DR
WATAUGA, TX 76148

WATERMARK PRESS
1407 S DEARBORN ST
SEATTLE, WA 98144

WATKINS LUDLAM WINTER
& STENNIS PA
PO BOX 427
JACKSON, MS 39205

WATSON LAW FIRM
2398 E CAMELBACK RD #690
PHOENIX, AZ 85016
WATTS CENTURY LATINO ORG
10360 WILMINGTON AVE
LOS ANGELES, CA 90002

WATTS EQUIPMENT COMPANY INC
PO BOX 2570
MANTECA, CA 95336-2570
WATTS LAW GROUP
700 29TH ST SOUTH #201
BIRMINGHAM, AL 35233

WATTS SUMMER FESTIVAL
944 W 53RD ST
LOS ANGELES, CA 90037

WAUSAU FINANCIAL SYSTEMS INC
NW 5551
PO BOX 1450
MINNEAPOLIS, MN 55485-5551
WAUSAU FINANCIAL SYSTEMS INC
PO BOX 37
MOSINEC, WI 54455-0037

WAVEGROUP SOUND
44140 OLD WARM SPRINGS BLVD
FREMONT, CA 94538

WAY BACK INN FOUNDATION
PO BOX 621
RENTON, WA 98057-0621
WAYNE COUNCIL OF PTOS INC
DBA AP TERHUNE PTO
40 GEOFFREY WAY
WAYNE, NJ 07470

WAYNE COUNTY PROSECUTOR
1441 ST ANTOINE 12TH FLR
DETROIT, MI 48226

WAYNE COUNTY REGISTER OF DEEDS
INTERNATIONAL CENTER BLDG
                                      Page 888
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400 MONROE ST 7TH FL
DETROIT, MI 48226

WAYNE SCHIESS
3000 SIX GUN TR
AUSTIN, TX 78748
WAYNE SMITH EDUCATIONAL
FOUNDATION INC
PO BOX 556
IRVINGTON, NJ 07111
WAYNE STERLING WALLACE
19303 OLYMPIC VIEW DR
EDMONDS, WA 98020

WCR PALM BEACH INC
DBA WOMENS COUNCIL OF REALTORS
JUDY RAMELLA
222 PROFESSIONAL WAY
WELLINGTON, FL 33414

WCR PALM BEACH INC
DBA WOMENS COUNCIL OF REALTORS
7566 SOLIMAR CIRCLE
BOCA RATON, FL 33433
WE ENERGIES
PO BOX 1923
MILWAUKEE, WI 53201-1923

WEATHERVANE SERVICE INC
62 LOWER MAIN ST
MATAWAN, NJ 07747-1039

WEBER & OLCESE PLC
3250 W BIG BEAVER RD #124
TROY, MI 48084

WEBER SCHOOL DISTRICT
KANESVILLE ELEMENTARY SCHOOL
3112 S 3500 W
OGDEN, UT 84401

WEBER SCHOOL DISTRICT
WEST WEBER ELEMENTARY
4178 W 900 S
OGDEN, UT 84404

WEBEX COMMUNICATIONS INC
PO BOX 49216
SAN JOSE, CA 95161
WEBTRENDS CORPORATION
[Address to Be Provided]
WECO SUPPLY COMPANY INC
3735 E VENTURA
FRESNO, CA 93702
WEEKS AND ASSOCIATES TRUSTEE
2103 MAIN ST
STRATFORD, CT 06615
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WEIGHT WATCHERS
NORTH AMERICA INC
BOX 223332
PITTSBURGH, PA 15251-2232

WEIGHT WATCHERS
NORTH AMERICA INC
PO BOX 223295
PITTSBURGH, PA 15251-2295
WEIJIA WU
[Address Information Redacted]
WEIL & KESTENBAUM
42 40 BELL BLVD #302
BAYSIDE, NY 11361
WEINER BRODSKY SIDMAN KIDER PC
1300 19TH ST NW 5TH FL
WASHINGTON, DC 20036-1609

WEINSTEIN SCHNEIDER KANNEBECKER
& LOKUTA
104 W HIGH ST
MILFORD, PA 18337
WEINSTEIN WEINE IGNAL
NAPOLITANO & SHAPIRO
350 FAIRFIELD AVE
BRIDGEPORT, CT 06604
WEISSMANN ABRUZZO LLP
ATTORNEYS AT LAW
445 HAMILTON AVE #1550
WHITE PLAINS, NY 10601
WELLINGTON CHAMBER OF COMMERCE
12230 FOREST HILL BLVD #187
WELLINGTON, FL 33414

WELLS FARGO
WELLS FARGO BANK VOD DEPT
PO BOX 4132
CONCORD, CA 94524
WELLS FARGO BANK
ATTN KEVIN MCCABE
420 MONTGOMERY ST
4TH FL MAC A0101 041
SAN FRANCISCO, CA 94104
WELLS FARGO BANK
WELLS FARGO BANK VOD DEPT
2700 S PRICE RD 2ND FL
CHANDLER, AZ 85286

WELLS FARGO BANK
WELLS FARGO BANK VOD DEPT
DOMESTIC COLLECTIONS
MAC P6102 05B
PO BOX 3055
PORTLAND, OR 97208
                                       Page 890
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WELLS FARGO BANK
WELLS FARGO FUNDING INC
WF 8113
PO BOX 1450
MINNEAPOLIS, MN 55485-8113
WELLS FARGO BANK
PO BOX 272580
CONCORD, CA 94527
WELLS FARGO BANK
PO BOX 4039
CONCORD, CA 94524

WELLS FARGO BANK NA
FIDELITY FILES
PO BOX 1225
CHARLOTTE, NC 28201

WELLS FARGO BANK NA
WELLS FARGO HOME MORTGAGE
TRACI NELSON
8480 STAGECOACH CIRCLE
MAC X3801-03C
FREDERICK, MD 21701
WELLS FARGO BANK VOD DEPT
BARTON KLUGMAN &OETTING LLP
350 S GRAND AVE #2200
LOS ANGELES, CA 90071-1599
WELLS FARGO FINANCIAL
CAPITAL FINANCE
PO BOX 7777
SAN FRANCISCO, CA 94120-7777
WELLS FARGO HOME MORTGAGE
WELLS FARGO BANK VOD DEPT
DEANNA C STARKOSKI
8480 STAGECOACH CIRCLE
FREDERICK, MD 21701
WELLS FARGO HOME MORTGAGE
WELLS FARGO BANK VOD DEPT
MAC X9901-017
2701 WELLS FARGO WAY
MINNEAPOLIS, MN 55467

WELLS FARGO TRUST OPERATIONS
WELLS FARGO BANK VOD DEPT
NW 5159
PO BOX 1450
MINNEAPOLIS, MN 55485-5159
WELTMAN WEINBERG & REIS
PO BOX 71263
CLEVELAND, OH 44191
WENATCHEE WORLD
PO BOX 1511
WENATCHEE, WA 98807

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WENDY E LABONTE
10466 NW 48TH PL
CORAL SPRINGS, FL 33076
WERLIN READING TEAMS FOUNDATION
PO BOX 7407
TACOMA, WA 98471-0407
WERLING ASSOCIATES INC
11845 IH 10 W #407
SAN ANTONIO, TX 78230
WERMAN LAW OFFICE
77 W WASHINGTON #1402
CHICAGO, IL 60602

WERNER AYERS LLP
2000 WEST LOOP S #1550
HOUSTON, TX 77027

WESLEY L PHILLIPS
&MATTHEW A DUNAWAY
PO BOX 130488
BIRMINGHAM, AL 35213

WEST ANGELES COMMUNITY
DEVELOPMENT CORPORATION
6028 S CRENSHAW BLVD
LOS ANGELES, CA 90043

WEST ASSET MANAGEMENT INC
ATTN LEIGH GLOSSON
PO BOX 105818
ATLANTA, GA 30348

WEST BABYLON BEAUTIFICATION
SOCIETY
1333 14TH ST
WEST BABYLON, NY 11704
WEST CONTRA COSTA
BUSINESS DEVELOPMENT CENTER
334 11TH ST
RICHMOND, CA 94801
WEST CONTRA COSTA ASSOCIATION
OF REALTORS
423 46TH ST
RICHMOND, CA 94805-2301
WEST END CONSULTING GROUP LLC
2371 CUMBERLAND RD
SAN MARINO, CA 91108

WEST HARLEM GRP ASSISTANCE INC
1652 AMSTERDAM AVE
NEW YORK, NY 10031

WEST HOLLYWOOD COMMUNITY
HOUSING CORPORATION
8285 SUNSET BLVD #3
WEST HOLLYWOOD, CA 90046-2420

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WEST HUMBOLDT PARK FAMILY &
COMMUNITY DEVEVELOPMENT COUNCIL
3620 W CHICAGO AVE
CHICAGO, IL 60651
WEST INTERACTIVE CORPORATION
PO BOX 3664
OMAHA, NE 68103-0664

WEST ISLANDS REALTY INC
2336 VICTORIA AVE
FORT MYERS, FL 33901
WEST JORDAN CHAMBER OF COMMERCE
CITY OF WEST JORDAN
8000 S REDWOOD RD
W JORDAN, UT 84088
WEST JORDAN CITY ALARM UNIT
8040 S REDWOOD RD
WEST JORDAN, UT 84088

WEST MONROE PARTNERS
175 W JACKSON #2200
CHICAGO, IL 60604

WEST NEW YORK BOARD OF
WEST NEW YORK SCHOOL DISTRICT
EDUCATION
6028 BROADWAY
WEST NEW YORK, NJ 07093
WEST NEW YORK POLICE DEPARTMENT
LICENSING BUREAU
ROOM 26 MUNICIPAL BLDG
428 60TH ST
WEST NEW YORK, NY 07093

WEST PASCO CHAMBER OF COMMERCE
5443 MAIN ST
NEW PORT RICHEY, FL 34652

WEST PERRINE COMMUNITY
DEVELOPMENT CORPORATION
17690 HOMESTEAD AVE
MIAMI, FL 33157

WEST SAN ANTONIO CHAMBER OF
COMMERCE
314 EL PASO
SAN ANTONIO, TX 78207
WEST SUBURBAN ASSOCIATION
FOR THE RETARDED INC
1005 E DIVISION ST
LOMBARD, IL 60148

WEST TELEMARKETING CORPORATION
PO BOX 3726
OMAHA, NE 68103-0726

WEST UNIVERISTY
UNITED METHODIST CHURCH
                                       Page 893
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3611 UNIVERITY BLVD
HOUSTON, TX 77005

WEST VALLEY CITY
3600 S CONSTITUTION BLVD
WEST VALLEY, UT 84119-3720
WEST VIRGINIA
SECRETARY OF STATE
PO BOX 40300
CHARLESTON, WV 25364
WEST VIRGINIA STATE AUDITOR
SECURITIES COMMISSION
OFFICE OF THE STATE AUDITOR
STATE CAPITOL BLDG 1 RM W 100
CHARLESTON, WV 25305
WEST VIRGINIA STATE TAX DEPT
INTERNAL AUDITING DIV
PO BOX 11514
CHARLESTON, WV 25339-1514

WEST VIRGINIA STATE TREASURY
UNCLAIMED PROPERTY DIVISION
ONE PLAYER CLUB DRIVE
CHARLESTON, WV 25305

WEST VIRGINIA TAX DEPARTMENT
SALES TAX UNIT
PO BOX 1826
CHARLESTON, WV 25327-1826

WESTAIR GASES & EQUIPMENT
PO BOX 620338
SAN DIEGO, CA 92162-0338
WESTAR FUNDING CORP
17918 PIONEER BLVD # 200
ARTESIA, CA 90701

WESTCHESTER COMMUNITY
OPPORTUNITY PROGRAM
2269 SAW MILL RIVER RD BLDG 3
ELMSFORD, NY 10523-3833
WESTCHESTER COUNTY
BOARD OF REALTORS INC
59 S BROADWAY
WHITE PLAINS, NY 10601-4412
WESTCHESTER COUNTY CLERK
110 MARTIN LUTHER KING JR #345
WHITE PLAINS, NY 10601
WESTCHESTER COUNTY DEPT
OF PUBLIC SAFETY
SHERIFFS OFFICE
110 DR MLK JR BLVD
WHITE PLAINS, NY 10601

WESTCHESTER INTERFAITH
HOUSING CORP
                                      Page 894
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C/O HOUSING ACTION COUNCIL
55 S BROADWAY 2ND FL
TARRYTOWN, NY 10591
WESTCHESTER PUTNAM MULTIPLE
LISTING SERVICE INC
59 S BROADWAY
WHITE PLAINS, NY 10601-4412

WESTERN ATTORNEY SERVICES
75 COLUMBIA SQUARE
SAN FRANCISCO, CA 94103-4015
WESTERN COMMUNICATIONS INC
DBA CENTRAL OREGON NICKEL ADS
2150 NE STUDIO RD #9
BEND, OR 97701
WESTERN COMMUNICATIONS INC
DBA THE DAILY TRIPLICATE
PO BOX 277
312 H ST
CRESCENT CITY, CA 95531-0277
WESTERN CONTROL SERVICES INC
PO BOX 1352
ENGLEWOOD, CO 80150

WESTERN CORP FED CREDIT UNION
WESCORP
PSO RESEARCH
924 OVERLAND CT
SAN DIMAS, CA 91773-1750

WESTERN MANAGEMENT GROUP
16615 LARK AVE #201
LOS GATOS, CA 95032-7645

WESTERN OFFICE INTERIORS
[Address to Be Provided]

WESTERN OFFICE INTERIORS INC
500 CITADEL DR #250
LOS ANGELES, CA 90040
WESTERN PENSION &
BENEFITS CONFERENCE
PO BOX 58530
SEATTLE, WA 98138-1530
WESTERN PROTECTION INC
337 W 130TH ST
LOS ANGELES, CA 90061

WESTERN SUBURBAN
CHAMBER OF COMMERCE & INDUSTRY
PO BOX 187
LEGRANGE, IL 60525
WESTERN TITLE & ESCROW CO
WESTERN TITLE & ESCROW COMPANY
450 SW POWERHOUSE DR #429
BEND, OR 97702
                                      Page 895
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WESTERN UNION
FORGERY DEPT
PO BOX 6033
ENGLEWOOD, CO 80155

WESTERN UNION FINANCIAL
WESTERN UNION
SERVICES INC
PO BOX 1758
ENGLEWOOD, CO 80150-1758
WESTERN WASHINGTON
WESTERN WASHINGTON UNIVERSITY
UNIVERSITY FOUNDATION
516 HIGH ST
OLD MAIN 445
BELLINGHAM, WA 97225-9034
WESTERN WASHINGTON UNIVERSITY
CAREER SERVICES CENTER
516 HIGH ST
OLD MAIN 280
BELLINGHAM, WA 98225-9002

WESTERN WASHINGTON UNIVERSITY
NEW STUDENT SERVICES
516 HIGH ST
BELLINGHAM, WA 98225-5996

WESTERN WATS
INTERVIEWING CTR LC
701 E TIMPANOGOS PKWY
BLDG M
OREM, UT 84097

WESTERN WINDOW TINTING INC
461 PERRYMONT AVE
SAN JOSE, CA 95125
WESTFEST 2008
PO BOX 701052
WEST VALLEY CITY, UT 84170

WESTFIELD AREA
CHAMBER OF COMMERCE
173 ELM ST 3RD FL
WESTFIELD, NJ 07090

WESTHAB INC
85 EXECUTIVE BLVD
ELMSFORD, NY 10523
WESTON ADAMS LAW FIRM
1501 RICHLAND ST
COLUMBIA, SC 29201

WESTOVER MCCART LTD
301 COMMERCE #2040
FORT WORTH, TX 76102

WESTPORT WESTON CHAMBER
OF COMMERCE
                                     Page 896
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215 MAIN ST
WESTPORT, CT 06880

WESTSIDE TODAY MEDIA GROUP LLC
11661 SAN VICENTE BLVD #G100
LOS ANGELES, CA 90049
WET APPLE PUBLISHING INC
PO BOX 1101
PORT ORCHARD, WA 98366
WETHERHOLT & ASSOCIATES INC
PO BOX 816
KIRKLAND, WA 98083-0816

WETIP INC
PO BOX 1296
RANCHO CUCAMONGA, CA 91729
WEXLER & WEXLER
500 W MADISON ST #2910
CHICAGO, IL 60661-2587

WHATCOM COUNTY AUDITOR
311 GRAND AVE
BELLINGHAM, WA 98225
WHATCOM COUNTY LIBRARY SYSTEM
WHATCOM COUNTY TREASURER
TEEN SERVICES DEPARTMENT
5205 NORTHWEST DR
BELLINGHAM, WA 98226

WHEELCHAIR CLASSICS
CHARITIES INC
83-10 35TH AVE
JACKSON HEIGHTS, NY 11372

WHEELER & SHEEHAN
444 S FLOWER ST #4200
LOS ANGELES, CA 90071

WHEELER HARDWARE COMPANY
2645 FAIRVIEW AVE N
ROSEVILLE, MN 55113
WHEELER PAINTING INC
PO BOX 1043
MAPLE VALLEY, WA 98038
WHIDBEY TELEPHONE COMPANY
PO BOX 329
LANGLEY, WA 98260

WHITE & CASE LLP
23802 NETWORK PL
CHICAGO, IL 60673-1238

WHITE & ROSATA LLC
6600 YORK RD #109
BALTIMORE, MD 21212
WHITE AND WILLIAMS LLP
                                      Page 897
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1800 ONE LIBERTY PL
PHILADELPHIA, PA 19103-7395

WHITE CENTER COMMUNITY
DEVELOPMENT ASSOCIATION
1615 SW CAMBRIDGE ST
SEATTLE, WA 98106
WHITE CENTER JUBILEE DAYS
1612 SW 114TH ST
PMB #198
SEATTLE, WA 98146
WHITE PLAINS
GREENBURGH REALTORS
709 WESTCHESTER AVE #204
WHITE PLAINS, NY 10604-3103
WHITE PLAINS PERFORMING ARTS CR
11 CITY PLACE
WHITE PLAINS, NY 10601

WHITE PLAINS THE CITY OF
DEPARTMENT OF PUBLIC SAFETY
ATTN CODE ENFORCEMENT OFFICER
77 S LEXINGTON AVE
WHITE PLAINS, NY 10601

WHITE SETTLEMENT POLICE DEPT
8900 CLIFFORD ST
FORT WORTH, TX 76108
WHITE-COLLAR CRIME 101 LLC
213 RAMAPOO RD
RIDGEFIELD, CT 06877

WHITEHOUSE MORTGAGE CORP
7350 N CICERO BLVD 2ND FL
LINCOLNWOOD, IL 60172
WHITFIELD & EDDY PLC
316 6TH AVE #1200
DES MOINES, IA 50309-4195

WHITLEY COUNTY RECORDER
220 W VAN BUREN ST
COLUMBIA CITY, IN 46725

WHITMAN COUNTY ASSN OF REALTORS
C/O TREASURER
PO BOX 38
PULLMAN, WA 99163
WHITMAN COUNTY TITLE
130 N GRAND AVE
PULLMAN, WA 99163-0457

WHITTIER AREA CHAMBER
OF COMMERCE
8158 PAINTER AVE
WHITTIER, CA 90602
WHITTIER BOULEVARD ASSOC LLC
                                       Page 898
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PO BOX 226848
LOS ANGELES, CA 90022

WHITTIER COLLEGE
OFFICE OF STUDENT ACTIVITIES
PO BOX 634
WHITTIER, CA 90608
WHOLESALE AMERICA MORTGAGE INC
6200 STONERIDGE MALL RD #200
PLEASANTON, CA 94588
WHOS CALLING INC
PO BOX 3675
SEATTLE, WA 98124-3675

WHYTE HIRSCHBOECK DUDEK SC
555 E WELLS ST #1900
MILWAUKEE, WI 53202-3819

WI SCTF
BOX 74400
MILWAUKEE, WI 53274-0400
WI SCTF (R & D FEE PAYMENTS)
PO BOX 74400
MILWAUKEE, WI 53274-0400

WILCARE MEDIA
3505 S DAIRY ASHFORD #220
HOUSTON, TX 77082
WILDCARD SYSTEMS INC
DBA EFUNDS PREPAID SOLUTIONS
DEPT 9627
LOS ANGELES, CA 90084-9627
WILES ASSOCIATES
2682 N CUSTER RD
MCKINNEY, TX 75071

WILFORD & GESKE PA
7650 CURRELL BLVD #300
WOODBURY, MN 55125
WILFORD HAREWOOD
290 TARRAGON WAY
ATLANTA, GA 30331

WILFRED O KNOTTNERUS
DBA BRIDGFORD KNOTTNERUS & GLSN
30250 RANCHO VIEJO RD #C
SAN JUAN CAPISTRANO, CA 92675

WILFRED O KNOTTNERUS
DBA KNOTTNERUS & ASSOCIATES
30250 RANCHO VIEJO RD #C
SAN JUAN CAPISTRANO, CA 92675-1555
WILFRED O KNOTTNERUS APC
WILFRED O KNOTTNERUS
DBA KNOTTNERUS & ASSOCIATES
30250 RANCHO VIEJO RD #C
                                       Page 899
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
SAN JUAN CAPISTRANO, CA 92675-1555
WILL COUNTY CIRCUIT COURT CLERK
14 W JEFFERSON ST
JOLIET, IL 60431

WILL COUNTY RECORDER OF DEEDS
58 E CLINTON ST #100
JOLIET, IL 60432

WILL INVESTMENT INC
3550 WILSHIRE BLVD STE 1600
LOS ANGELES, CA 90010
WILLAMETTE VALLEY PRODUCTIONS
285 LIBERTY ST NE #300
SALEM, OR 97301
WILLIAM A WALLACE
704 228TH AVE NE #435
SAMMAMISH, WA 98074

WILLIAM BEDENBENDER
2561 N SILVERLEAF WAY
MERIDIAN, ID 83646

WILLIAM BONNEY
TRUSTEE # 03 70041
PO BOX 1548
MUSKOGEE, OK 74402

WILLIAM D SCHULTE
108 S HUDSON PL
LOS ANGELES, CA 90004-1038

WILLIAM D SCHULTE
108 S HUDSON PL
LOS ANGELES, CA 90004-1038

WILLIAM E MURCIA
10833 FORBES AVE
GRANADA HILLS, CA 91344
WILLIAM F LOFTUS ASSOCIATES
120 CHARLOTTE PL
ENGLEWOOD CLIFFS, NJ 07632

WILLIAM G. REED
[Address Information Redacted]
WILLIAM GREGORY MORTGAGE INC
12100 WILSHIRE BLVD. # 200
LOS ANGELES, CA 90025

WILLIAM H BARNWELL
VILES AND BECKMAN LLC
6350 PRESIDENTIAL COURT #A
FORT MYERES, FL 33919
WILLIAM H DODSON II LLC
6000 LAKE FORREST DR NW #300
ATLANTA, GA 30328

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
WILLIAM H PELTOLA JR
5655 LINDERO CANYON DR #103
WESTLAKE VILLAGE, CA 91362
WILLIAM HEITKAMP TRUSTEE
PO BOX 740
MEMPHIS, TN 38101-0740
WILLIAM JR BRESLER
DBA CIRCLEVILLE REALTY
PO BOX 219
CIRCLEVILLE, OH 43113
WILLIAM K STEPHENSON JR
CHAPTER 13 TRUSTEE
PO BOX 280
MEMPHIS, TN 38101-0280
WILLIAM L. LYNCH
[Address Information Redacted]
WILLIAM LEINER
MELAMED DAILEY & MELANOWSKI
26611 WOODWARD AVE
HUNTINGTON WOODS, MI 48070

WILLIAM M BENZ JR
45 SPINDRIFT
CORTE MADERA, CA 94925

WILLIAM MARSH RICE UNIVERSITY
DBA RICE UNIVERSITY
6100 MAIN ST MS-81
HOUSTON, TX 77005-1892

WILLIAM P GOODWIN & ASSOC LLC
PO BOX 703
SAN ANSELMO, CA 94979

WILLIAM RAINEY HARPER COLLEGE
CAREER CENTER
1200 W ALGONQUIN RD
PALATINE, IL 60067

WILLIAM RANDOLL
BRAYTON PURCELL LLP
222 RUSH LANDING RD
NOVATO, CA 94948

WILLIAM SPARKMAN
BILL SPARKMAN SEMINARS
245 W JOHNSON ST #305
PALATINE, IL 60067

WILLIAM STEWART GRAY
6142 HEATHERCREEK WAY
SAN JOSE, CA 95123

WILLIAM T WISLEN
DBA PRO IMAGE
1305 DEXTER AVE N
SEATTLE, WA 98109-3519

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               WMI - Creditor Matrix 081009 (redacted for filing).txt
WILLIAMS & PROCHASKA PC
401 CHURCH ST #2600
NASHVILLE, TN 37219
WILLIAMS BANK INSTALLATIONS
OF FLORIDA INC
1314 E LAS OLAS BLVD #1093
FT LAUDERDALE, FL 33301

WILLIAMS KASTNER & GIBBS
PO BOX 21926
SEATTLE, WA 98111-3926
WILLIAMS LEA INC
14927 COLLECTIONS CENTER DR
CHICAGO, IL 60693

WILLIAMS SERVICE CORP
DBA WILLIAMS RECORDS MANAGEMENT
1925 E VERNON AVE
LOS ANGELES, CA 90058

WILLIAMS VENKER & SANDERS LLC
100 N BROADWAY 21ST FL
ST LOUIS, MO 63102

WILLIAMSBURG CHARTER SCHOOL
424 LEONARD ST 4TH FLR
BROOKLYN, NY 11222

WILLIS ROBINSON
SUPPA TRUCCHI & HENEIN LLP'S
CLIENT TRUST ACCOUNT
3055 INDIA ST
SAN DIEGO, CA 92103-6013

WILLOW GLEN BUSINESS
& PROFESSIONAL ASSOCIATION
PO BOX 8086
SAN JOSE, CA 95155-8086

WILMER CUTLER PICKERING
WILMER HALE
HALE & DORR LLP
PO BOX 4550
BOSTON, MA 02212-4550

WILMINGTON SAVING FUND SOCIETY
2400 PHILADELPHIA PIKE
ATTN KAREN HEVALOW ADJ DEPT
CLAYMONT, DE 19703
WILMINGTON TRUST
FEES & PAYMENT
P.O. BOX 8955
WILMINGTON, DE 19899-8955

WILMINGTON TRUST (CAYMAN) LTD
PO BOX 32322
GEORGETOWN, GRAND CAYMAN KY1-1209 CAYMAN ISLANDS

WILSHIRE BUNDY PLAZA
NORTH AVENUE COLLECTION PARKING
                                       Page 902
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               WMI - Creditor Matrix 081009 (redacted for filing).txt
PARKING FACILITY
12121 WILSHIRE BLVD
LOS ANGELES, CA 90025
WILSHIRE VERMONT STATION
WILSHIRE VERMONT HOUSING
3183 WILSHIRE BLVD
LOS ANGELES, CA 90010

WILSON & ASSOCIATES PLLC
1521 MERRILL DR #D-220
LITTLE ROCK, AR 72211
WILSON APPRAISAL SERVICE LLC
2962 LIMITED LN NW #A
OLYMPIA, WA 98502

WILSON ELSER MOSKOWITZ
EDELMAN & DICKER LLP
ATTN JENNIFER CONNER 17TH FLOOR
150 E 42ND ST
NEW YORK, NY 10017-5639

WILY TECHNOLOGY INC
CA/WILY DIVISION
6000 SHORELINE CRT #200
SOUTH SAN FRANCISCO, CA 94080

WINCHESTER ROTARY CLUB
GOLF TOUNAMENT
PO BOX 288
WINCHESTER, MA 01890

WINDHAM PROFESSIONALS INC
ATTN WAGE WITHOLDING UNIT
380 MAIN ST
SALEM, NH 03079

WINDSOR CAPITAL MORTGAGE CORP
2120 FOOTHILL BLVD #201
LA VERNE, CA 91750

WINDSTREAM CORPORATION
PO BOX 105521
ATLANTA, GA 30348-5521
WINDSTREAM CORPORATION
PO BOX 9001908
LOUISVILLE, KY 40290
WINMARK STAMP & SIGN
PO BOX 651082
SALT LAKE CITY, UT 84165-1082

WINNE BANTA HETHERINGTON
BASRALIAN & KAHN PC
PO BOX 647
HACKENSACK, NJ 07602-0647
WINSTEAD
WINSTEAD SECHREST & MINICK PC
401 CONGRESS AVE #2100
AUSTIN, TX 78701
                                       Page 903
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              WMI - Creditor Matrix 081009 (redacted for filing).txt
WINSTEAD SECHREST & MINICK PC
5400 RENAISSANCE TOWER
1201 ELM ST
DALLAS, TX 75270-2199

WINSTON & CASHATT LAWYERS PS
601 W RIVERSIDE AVE #1900
SPOKANE, WA 99201

WINSTON AND STRAWN LLP
36235 TREASURY CENTER
CHICAGO, IL 60694-6200
WINTER FESTIVAL
2ND ANNUAL DAN MARINO WINE &
FOOD
1675 N COMMERCE PKWY
WESTON, FL 33326

WINTER PARK CHAMBER OF COMMERCE
PO BOX 280
WINTER PARK, FL 32790-0280
WINTER PARK CHAMBER OF COMMERCE
150 NEW YORK AVE
WINTER PARK, FL 32789

WIPRO LIMITED
DEPT 1167
LOS ANGELES, CA 90084-1167
WIPRO SPECTRAMIND SERVICES PVT
REGD OFFICE
239 OKHLA INDUSTRIAL ESTATE
NEW DELHI, 110 020 INDIA
WISCONSIN DEPARTMENT OF REVENUE
WISCONSIN DEPT OF REVENUE
PO BOX 93389
MILWAUKEE, WI 53293-0389

WISCONSIN DEPARTMENT OF REVENUE
PO BOX 8908
MADISON, WI 53708-8908
WISCONSIN DEPT OF REVENUE
PO BOX 93208
MILWAUKEE, WI 53293-0208
WISCONSIN STATE TREASURY
UNCLAIMED PROPERTY DIVISION
1 S PINCKNEY ST #550
MADISON, WI 53703
WISE WOMEN SPEAK
PO BOX 723753
ATLANTA, GA 31139
WITNESS SYSTEMS INC
DBA VERINT AMERICAS
PO BOX 905642
CHARLOTTE, NC 28290-5642
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WL CONCEPTS & PRODUCTION LLC
599 JERUSALEM AVE
UNIONDALE, NY 11553
WM SHUBERT & CO INC
2117 WILLIAMSBRIDGE RD 2ND FL
BRONX, NY 10461-1601

WOLF HALDENSTEIN ADLER FREEMAN
AND HERZ
270 MADISON AVE
NEW YORK, NY 10016
WOLFF OLINS LLC
200 VARICK ST #1001
NEW YORK, NY 10014
WOLPOFF & ABRAMSON
TWO IRVINGTON CENTRE
702 KING FARM BLVD
ROCKVILLE, MD 20850-5775

WOLPOFF & ABRAMSON
5355 TOWN CENTER RD #1002
BOCA RATON, FL 33486
WOLTERS KLUWER FINANCIAL SERVICES, INC.
[Address to Be Provided]

WOMBLE CARLYLE SANDRIDGE & RICE
PO BOX 601879
CHARLOTTE, NC 28260-1879

WOMEN AT WORK
50 N HILL AVE #300
PASADENA, CA 91106

WOMEN FOR HIRE LLC
545 8TH AVE #1220
NEW YORK, NY 10018

WOMEN IN DISTRESS OF
BROWARD COUNTY INC
PO BOX 676
FORT LAUDERDALE, FL 33302

WOMEN IN NEED INC
115 W 31ST ST
NEW YORK, NY 10001
WOMEN IN THE BLACK
ATTN SARA CAMPBELL
24 E 125TH ST
NEW YORK, NY 10035
WOMENS BUSINESS DEVELOPMENT CNT
8 S MICHIGAN #400
CHICAGO, IL 60603
WOMENS BUSINESS ENTERPRISE
WOMENS BUSINESS ENTERPRISES
NATIONAL COUNCIL
                                       Page 905
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PO BOX 630213
BALTIMORE, MD 21263-0213

WOMENS CARE COTTAGE
3151 CAHUENGA BLVD W #105
UNIVERSAL CITY, CA 90068
WOMENS CENTER OF
SAN JOAQUIN COUNTY
620 N SAN JOAQUIN ST
STOCKTON, CA 95202
WOMENS CHAMBER FOUNDATION
WCR PALM BEACH INC
2001 PROFESSIONAL BUILDING
PALM BEACH LAKES BLVD #300B
WEST PALM BEACH, FL 33409
WOMENS COMMUNITY
REVITALIZATION PROJECT
407 FAIRMONT AVE
PHILADELPHIA, PA 19123

WOMENS COUNCIL OF REALTORS
C/O WENDY TAYLOR
621 CAPITOLA AVE
SOQUEL, CA 95010

WOMENS COUNCIL OF REALTORS
NORTHEAST FLORIDA
SARASOTA CHAPTER
C/O CARI FAANES TREASURER
PO BOX 5943
SARASOTA, FL 34277

WOMENS COUNCIL OF REALTORS
PO BOX 28067
SAN JOSE, CA 95159-8067

WOMENS COUNCIL OF REALTORS
PO BOX 28067
SAN JOSE, CA 95159
WOMENS COUNCIL OF REALTORS
PO BOX 3914
CHICO, CA 95927

WOMENS DEVELOPMENT CENTER
4020 PECOS MCLEOD
LAS VEGAS, NV 89121
WOMENS ECONOMIC VENTURES OF
SANTA BARBARA
333 S SALINAS ST
SANTA BARBARA, CA 93103
WOMENS FUND OF
DADE COUNTY INC
2650 SW 27TH AVE #303
MIAMI, FL 33133

WOMENS HOUSING AND ECONOMIC
DEVELOPMENT CORPORATION
                                     Page 906
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WHEDCO AT URBAN HOUSING
50 EAST 168TH
BROX, NY 10452
WOMENS INITIATIVE FOR
SELF EMPLOYMENT
1398 VALENCIA ST
SAN FRANCISCO, CA 94110

WOMENS NATIONAL REPUBLICAN CLUB
DBA 3 WEST CLUB
3 WEST 51ST ST
NEW YORK, NY 10019
WOMENS RESOURCE OF
GREATER HOUSTON
2200 POST OAK BLVD #50
HOUSTON, TX 77056-4700
WOMENS UNIVERSITY CLUB
OF SEATTLE
1105 SIXTH AVE
SEATTLE, WA 98101-3011
WOMENS VENTURE FUND INC
545 8TH AVE SE 17TH FL
NEW YORK, NY 10018

WONDER OF READING
5371 WILSHIRE BLVD #210
LOS ANGELES, CA 90036
WONDERAGENTS INC
CLIENTOR
1075 E BROKAW RD
SAN JOSE, CA 95131
WOOD ASSOCIATES
2133 LAS POSITAS COURT #J
LIVERMORE, CA 94551

WOODARD & BUTLER
PO BOX 1906
WALTERBORO, SC 29488
WOODBRIDGE CHAMBER OF COMMERCE
52 MAIN ST
WOODBRIDGE, NJ 07095

WOODBRIDGE TOWNSHIP
EDUCATION FOUNDATION
PO BOX 338
WOODBRIDGE, NJ 07095

WOODCRAFT RANGERS
2111 PARK GROVE AVE
LOS ANGELES, CA 90007

WOODEN & MCLAUGHLIN LLP
ONE INDIANA SQUARE #1800
INDIANAPOLIS, IN 46204-4208
WOODFOREST NATIONAL BANK
                                       Page 907
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ATTN BEVERLY WARD
PO BOX 2868
CONROE, TX 77305
WOODINVILLE CHAMBER OF COMMERCE
14421 WOODINVILLE REDMOND RD NE
WOODINVILLE, WA 98072
WOODLAND PRK ZOOLOGICAL SOCIETY
601 N 59TH ST
SEATTLE, WA 98103-5858
WOODSTOCK CHAMBER OF COMMERCE
136 CASS ST
WOODSTOCK, IL 60098

WOODSTOCK INSTITUTE
29 E MADISON #1710
CHICAGO, IL 60602

WOODWARD HOBSON & FULTON LLP
2500 NATIONAL CITY TOWER
101 S 5TH ST
LOUISVILLE, KY 40202

WORK OPPORTUNITIES
VOCATIONAL REHABILITATION
6515 202ND SW
LYNNWOOD, WA 98036

WORK TRAUMA SERVICES INC
WTS INC
PO BOX 597008-294
SAN FRANCISCO, CA 94159

WORKING CAPITAL PARTNERS FOR
SELF EMPLOYMENT
MICRO BUSINESS USA
3000 BISCAYNE BLVD #102
MIAMI, FL 33137

WORKMETRO INC
2 W SANTA CLARA ST 1ST FL
SAN JOSE, CA 95113
WORKNET PINELLAS
13805 58TH ST N #2-140
CLEARWATER, FL 33760

WORKSTREAM INC
PO BOX 100802
ATLANTA, GA 30384-0842
WORLD 50 INC
DBA HUMAN RESOURCE 50
DEPT AT 952786
ATLANTA, GA 31192-2786

WORLD AFFAIRS COUNCIL
2200 ALASKAN WAY #450
SEATTLE, WA 98121
WORLD INVESTOR LINK INC
                                       Page 908
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DBA PRECISION IR
LOCKBOX 7391
PO BOX 8500
PHILADELPHIA, PA 19178-7391
WORLD JOURNAL
231 ADRIAN RD
MILLBRAE, CA 94030

WORLD LITERACY CRUSADE OF
FLORIDA
6015 NW 7TH AVE
MIAMI, FL 33127
WORLD SAVINGS BANK FSB
HOME LOAN EXPERTS
550 WARRENVILLE RD #100
LISLE, IL 60532
WORLDATWORK
PO BOX 29312
PHOENIX, AZ 85038-9312

WORLDS FOREMOST BANK
PO BOX 82655
LINCOLN, NE 68501
WORLDWIDE CORPORATE HOUSING LP
DBA OAKWOOD CORPORATE HOUSING
FILE 56739
LOS ANGELES, CA 90074-6739
WORLDWIDE PROCESSORS LLC
DBA PROPERTY RECOVERY
PROFESSIONALS
406 9TH AVE #214
SAN DIEGO, CA 92101

WORMSER KIELY GALEF &
JACOBS LLP
825 3RD AVE
NEW YORK, NY 10022
WRIGHT & SHAW P A TRUST ACCOUNT
2735 SANTA BARBARA BLVD #201
CAPE CORAL, FL 33914

WRIGHT BROS INDUSTRIAL SUPPLY
1745 SAN FELIPE RD #10
HOLLISTER, CA 95023
WRITTEN DEPOSITION SERVICE LP
1750 VALLEY VIEW LANE #210
DALLAS, TX 75234
WYANDANCH HOMES & PROPERTY
DEVELOPMENT CORPORATION
1434 STRAIGHT PATH
WYANDANCH, NY 11798
WYANDOTTE COUNTY REGISTER
OF DEEDS
710 N 7TH ST
                                       Page 909
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KANSAS CITY, KS 66101
WYATT TARRANT & COMBS LLP
PNC PLAZA
500 W JEFFERSON ST #2800
LOUISVILLE, KY 40202-2898
WYATT TARRANT & COMBS LLP
PO BOX 2121
MEMPHIS, TN 38159
WYKAGYL COUNTRY CLUB
1195 NORTH AVE
NEW ROCHELLE, NY 10804

WYLIE MINESTERIAL ALLIANCE
WYLIE CHRISTIAN CARE CENTER
PO BOX 262
WYLIE, TX 75098

WYMAC CAPITAL INC
3478 BUSKIRK AVE #260
PLEASANT HILL, CA 94523
WYOMING CHILD SUPPORT
ENFORCEMENT 46326
PO BOX 1027
CHEYENNE, WY 82003

WYOMING ST TREASURER
UNCLAIMED PROPERTY DIVISION
2515 WARREN AVE #502
CHEYENNE, WY 82002

XEROX - XEROX
[Address to Be Provided]
XEROX CORPORATION
PO BOX 7405
PASADENA, CA 91109-7405

XL SPECIALTY INSURANCE CO.
SEA VIEW HOUSE
70 SEAVIEW AVENUE
STAMFORD, CT 06902
XO COMMUNICATIONS SERVICES INC
FILE 50550
LOS ANGELES, CA 90074-0550
XO COMMUNICATIONS SERVICES INC
14239 COLLECTIONS CENTER DR
CHICAGO, IL 60693

XODUS DBA HOME FOR GOOD
437 5TH AVE S #101
EDMONDS, WA 98020

XPEDITE SYSTEMS INC
XPEDITE SYSTEMS LLC
DBA PREMIER GLOBAL SERVICES
DATA COMMUNICATIONS DIVISION
1268 PAYSPHERE CIRCLE
                                      Page 910
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CHICAGO, IL 60674
XPEDITE SYSTEMS LLC
DBA PREMIERE GLOBAL SERVICES
1268 PAYSPHERE CIR
CHICAGO, IL 60674
XYPRO TECHNOLOGY CORPORATION
3325 COCHRAN ST #200
SIMI VALLEY, CA 93063
YAHOO HOTJOBS
PO BOX 0506
CAROL STREAM, IL 60132-0506

YAKIMA SCHOOL DISTRICT
104 N 4TH AVE
YAKIMA, WA 98902
YALE CHASE MATERIALS HANDLING
2615 PELLISSIER PL
CITY OF INDUSTRY, CA 91749

YALE ROBBINS INC
DBA THE COOPERATOR
102 MADISON AVE 5TH FL
NEW YORK, NY 10016

YAMIN & YAMIN LLP
FOUR MOSS AVE
DANBURY, CT 06810
YAN PENG
18 EL DORADO ST APT B
ARCADIA, CA 91006

YAN PROPERTIES REALTY INC
19730 VENTURA BLVD #16
WOODLAND HILLS, CA 91364
YELLOW BOOK USA PACIFIC
YELLOW BOOK USA
PO BOX 6448
CAROL STREAM, IL 60197-6448
YELLOWSTONE COUNTY RECORDER
217 N 27TH ST
BILLINGS, MT 59101

YERBA BUENA CENTER FOR THE ARTS
701 MISSION ST
SAN FRANCISCO, CA 94103-3138
YERWOOD CENTER INC
90 FAIRFIELD AVE
STAMFORD, CT 06902

YINZI CAI
2250 WEBSTER STREET
PALO ALTO, CA 94301

YMCA OF GREATER NEW YORK
YMCA HARLEM
                                       Page 911
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180 W 135TH ST
NEW YORK, NY 10030

YMCA OF METROPLTAN ATLANTA INC
EAST LAKE FAMILY YMCA
275 E LAKE BLVD
ATLANTA, GA 30317
YMCA OF THE SUNCOAST INC
2469 ENTERPRISE #D
CLEARWATER, FL 33763
YMCA PATERSON
128 WARD ST
PATERSON, NJ 07505

YMCA SAN FRANCISCO
YOUNG MENS CHRISTIAN ASSOC
169 STEUART STREET
SAN FRANCISCO, CA 94105
YOKO KAYAMORI
45465 25TH ST E #141
LANCASTER, CA 93535

YOLANDA ORTIZ
6615 LAND FAIR LANE
RIVERSIDE, CA 92509

YOLANDRA JOHNSON
[Address Information Redacted]
YOLO COUNTY FAMILY SUPPORT DIV
PO BOX 1385
WOODLAND, CA 95776-1385

YORBA LINDA CHAMBER OF COMMERCE
17670 YORBA LINDA BLVD
YORBA LINDA, CA 92886
YORBA LINDA SUNRISE ROTARY
CLUB FOUNDATION
C/O VINCE CAMPION
18872 J & J LANE
YORBA LINDA, CA 92886
YOSEMITE GATEWAY ASSOCIATION
OF REALTORS
PO BOX 480
OAKHURST, CA 93644
YOSEMITE NATIONAL INSTITUTES
111 BARNES POINT RD
PORT ANGELES, WA 98363
YOSHIS INC
DBA BALLOON SPECIALTIES
PO BOX 9544
TACOMA, WA 98409
YOUNG ACTORS THEATRE
2778 D SWEETWATER SPRINGS BLVD
SPRING VALLEY, CA 91977
                                       Page 912
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YOUNG AT ART CHILDRENS STUDIO
6029 N PALM AVE
FRESNO, CA 93704
YOUNG ATHLETES INC
331 E 29TH ST
NEW YORK CITY, NY 10016

YOUNG AUDIENCES-NEW YORK INC
1 E 53RD ST
NEW YORK, NY 10025
YOUNG ELECTRIC SIGN COMPANY
PO BOX 11676
TACOMA, WA 98411-6676

YOUNG FLOWERS
1111 3RD AVE PLAZA
SEATTLE, WA 98101
YOUNG MENS CHRISTIAN
YMCA HARLEM
AOCIATION OF GREATER NEW YORK
238-10 HILLSIDE AVE
BELLEROSE, NY 11426
YOUNG MENS CHRISTIAN ASSN
OF GREATER SEATTLE
909 4TH AVE
SEATTLE, WA 98104
YOUNG MENS CHRISTIAN ASSN
OF METROPOLITAN LOS ANGELES
11336 CORBIN AVE
NORTHRIDGE, CA 91326
YOUNG MENS CHRISTIAN ASSOCIATN
OF BROWARD COUNTY FLORIDA
408 NW 14TH TER
FORT LAUDERDALE, FL 33311

YOUNG TEXANS AGAINST CANCER
2807 ALLEN ST #347
DALLAS, TX 75204
YOUNG WOMENS CHRISTIAN ASSOC
CCCS OF EL PASO
1600 BROWN ST
EL PASO, TX 79902
YOUNG WOMENS CHRISTIAN ASSOC
OF SPOKANE
829 W BROADWAY
SPOKANE, WA 99201
YOUR BEST RATE FINANCIAL LLC
5909 PEACHTREE DUNWOODY RD #700
ATLANTA, GA 30328
YOUR PLACE INCORPORATED
750 22ND AVE S
ST PETERSBURG, FL 33705
                                       Page 913
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YOUSEF HALAVI
DBA TOFIGH MATANA AKHBAR
VA ETELAAT
PO BOX 570047
TARZANA, CA 91357
YOUTH & ADULT ENRICHMENT NTWK
DBA FINANCIAL & DEBT MNGMT SLTN
133 S MAIN ST
PO BOX 1139
MOUNT VERNON, OH 43050
YOUTH BUSINESS WEEK FOUNDATION
CALIFORNIA
5340 SKYLANE BLVD
SANTA ROSA, CA 95403
YOUTH CO OP INC
3525 NW 7TH ST
MIAMI, FL 33125

YOUTH CONSULTATION SERVICE
235 MAIN ST
NEWARK, NJ 07601

YOUTH POLICY INSTITUTE
634 S SPRING ST #621
LOS ANGELES, CA 90014

YOUTH SPORTS GIANTS
2520 CHURCH ST
RIVERDALE, GA 30296

YOUTH UNITED FOR CHANGE
1910 N FRONT ST
PHILADELPHIA, PA 19122

YOUTH WINTERSPORTS ALLIANCE
1600 PARK AVE
PO BOX 681698
PARK CITY, UT 84068
YOUTHCARE
2500 NE 54TH ST #100
SEATTLE, WA 98105

YREKA CHAMBER OF COMMERCE
117 W MINER ST
YREKA, CA 96097
YREKA HOST LIONS CLUB
PO BOX 335
YREKA, CA 96097
YUBA CITY POLICE DEPARTMENT
ATTN: ALARM PERMITS
1545 POOLE BLVD
YUBA CITY, CA 95993
YUBA SUTTER CHAMBER OF COMMERCE
PO BOX 1429
MARYSVILLE, CA 95901
                                       Page 914
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YUCAIPA VALLEY CHAMBER
OF COMMERCE
PO BOX 45
YUCAIPA, CA 92399

YVONNE BANKS DBA
ART CONSULTING SERVICES
216 1ST AVE S #440
SEATTLE, WA 98104
YW HOUSING
3609 MAIN ST
VANCOUVER, WA 98663

YWCA OF GREATER LOS ANGELES
3345 WILSHIRE BLVD #300
LOS ANGELES, CA 90010-1810
Z W C INC
DBA SEALS COMPRESSED GASES
2131 PLACENTIA AVE
PO BOX 10789
COSTA MESA, CA 92627

ZACHARY AYERS
BILL MERRIMAN PLLC
625 MARKET ST
PARKERSBURG, WV 26101

ZAGAT SURVEY LLC
4 COLUMBUS CIRCLE
NEW YORK, NY 10019

ZANTAZ DS INC
PO BOX 83159
WOBURN, MA 01813-3159

ZARZAUR & SCHWARTZ PC
2209 MORRIS AVE
BIRMINGHAM, AL 35202

ZC OPERATIONS LLC DBA
NAYLOR LLC
5950 NW 1ST PL
GAINESVILLE, FL 32607

ZC STERLING
ATTN FINANCIAL ACCOUNTING
210 INTERSTATE N PKWY #400
ATLANTA, GA 30339
ZEE MEDICAL INC
PO BOX 781525
INDIANAPOLIS, IN 46278-8525
ZEE MEDICAL SERVICE COMPANY
107 S BRYANT ST
OJAI, CA 93023-3309
ZEEK'S PIZZA
ZEEK&#39S PIZZA
419 DENNY WAY
                                    Page 915
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SEATTLE, WA 98109
ZEISLER & ZEISLER PC
558 CLINTON AVE
BRIDGEPORT, CT 06605

ZEMANIAN LAW GROUP
600 TOWN POINT CENTER
150 BOUSH ST
NORFOLK, VA 23510
ZENOFF & ZENOFF CHARTERED
53 W JACKSON BLVD #1140
CHICAGO, IL 60604

ZENTA REALTY SERVICES INC
485 LEXINGTON AVENUE #2500
NEW YORK, NY 10017
ZEPHYR ASSOCIATES INC
DEPT 2215
PO BOX 2121
MEMPHIS, TN 38159
ZEUM
221 FOURTH ST
SAN FRANCISCO, CA 94103

ZIP MAIL SERVICES INC
288 HANLEY IND CT
ST LOUIS, MO 63144-1508
ZOCALO A CULTURAL FORUM FOR
THE NEW L A
LIBRARY FOUNDATION OF L A
630 W 5TH ST
LOS ANGELES, CA 90071

ZOOT ENTERPRISES INC
LAUREN D ADAMO
555 ZOOT ENTERPRISE LN
BOZEMAN, MT 59718
ZOOT ENTERPRISES INC
555 ZOOT ENTERPRISES LANE
BOZEMAN, MT 59718

ZORA STARKOVICH
658 NIANTIC AVE
DALY CITY, CA 94014
ZUBI ADVERTISING SERVICES INC
355 ALHAMBRA CIRCLE 10TH FL
CORAL GABLES, FL 33134
ZURCHER ODIO & RAVEN
4TH PISO EDIFICIO LOS BALCONES
PLAZA ROBLE
GAUCHIPELIN
SAN JOSE,   COSTA RICA

ZURICH AMERICAN INSURANCE COMPANY
1400 AMERICAN LANE
                                      Page 916
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SCHAUMBERG, IL 60196
ZZOUNDS MUSIC LLC
65 GREENWOOD AVE
MIDLAND PARK, NJ 07432




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